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 11
                                  UNITED STATES DISTRICT COURT
 12                              CENTRAL DISTRICT OF CALIFORNIA
 13
 14   UNITED STATES OF AMERICA, et al., )
                                        )
 15
                                        )             Civil No. 91-CV-0589 (CJC)
 16              Plaintiff,             )
                                        )             DECLARATION OF MAGDALEN MAK
 17                                     )             IN SUPPORT OF THE UNITED STATES’
 18          v.                         )             MEMORANDUM OF POINTS AND
                                        )             AUTHORITIES IN SUPPORT OF ITS
 19                                     )             MOTION FOR PARTIAL SUMMARY
      SHELL OIL COMPANY, et al.,        )             JUDGMENT AS TO THE AMOUNT OF
 20                                     )             RECOVERABLE RESPONSE COSTS
 21              Defendants.            )

 22
 23
                                DECLARATION OF MAGDALEN MAK
 24
             I, Magdalen Mak, pursuant to 28 U.S.C. § 1746, and based on my personal knowledge,
 25
      declare and state the following:
 26
             1.      I am currently employed as an Accountant in the Accounting Section of the
 27
      Finance Branch of the Mission Support Division by the United States Environmental Protection
 28


                                 DECLARATION OF MAGDALEN MAK
                                              Exhibit 4
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  1   Agency (EPA) Region IX in San Francisco, CA. I have been employed in this position since
  2   July 2006.
  3          2.      My responsibilities include the preparation of the Superfund cost recovery
  4   packages and audit coordination.
  5          3.      I have over thirteen years of experience in the field of government accounting.
  6          4.      I completed the Accounting for Controllers Certificate from the University of
  7   California, Berkeley, University Extension in December 2005.
  8          5.      I received a Master of Business Administration in Computer Information Systems
  9   from Golden Gate University in December 1987. I received a diploma in Sociology from Hong
 10   Kong Baptist College in July 1975.
 11          6.      I attended training seminars and national conferences provided by EPA in regards
 12   to Superfund cost recovery issues. At these conferences, agency policy and guidelines for the
 13   recovery of federal funds under the Comprehensive Environmental Response, Compensation and
 14   Liability Act of 1980, as amended (“CERCLA” or Superfund) are discussed. The processes of
 15   document collection, dissemination and quality assurance review of site cost information are also
 16   presented.
 17          7.      I conduct accounting review and work on compiling costs incurred by Superfund
 18   sites throughout Region IX, which encompasses California, Nevada, Arizona and Hawaii, plus
 19   the Pacific Island territories, including Guam, the Commonwealth of the Northern Mariana
 20   Islands and American Samoa.
 21          8.      I perform professional accounting duties that support Superfund accounting
 22   operations and review costs that EPA incurred in connection with response actions and
 23   enforcement activities under CERCLA. The process involves retrieving, verifying, and
 24   validating cost transactions from the EPA accounting system against the supporting documents
 25   related to Superfund activities of EPA sites in Region IX.
 26          9.      In reviewing and compiling documentation for response costs incurred by the
 27   EPA at Superfund sites, I prepare the itemization of costs EPA incurred and verify each line item
 28                                                     2
                                 DECLARATION OF MAGDALEN MAK


                                                Exhibit 4
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  1   with supporting documentation. This itemization of costs by category is referred to as a Cost
  2   Summary. The Cost Summary with supporting documentation is referred to as a Cost
  3   Documentation Package. In addition, I am responsible for removing cost items if directed to do
  4   so by the Cost Recovery Specialist in the Superfund Division or by the Office of Regional
  5   Counsel.
  6          10.     EPA maintains all records documenting the response costs incurred by EPA. The
  7   Superfund Records Center for EPA Region IX maintains custody of the supporting documents.
  8   As part of the process of collecting cost documentation for the Site, I have used documents that
  9   are official government records and business records. These types of documents are kept in the
 10   course of the regularly conducted activities of EPA. I consistently follow the process for
 11   compilation of costs that we routinely perform for all Superfund sites.
 12          11.     As part of my responsibility for compiling costs, I updated the interest calculated
 13   for a Cost Summary previously reconciled by Yvonne Fong, which covered costs incurred from
 14   July 1, 1990 through June 30, 2004, to calculate interest that has accrued on that Cost Summary
 15   through July 31, 2018. The updated Cost Summary is referred to as the “First Cost Summary,”
 16   and it is attached as Exhibit A.
 17          12.      As part of my responsibility for compiling costs, I also reviewed documentation
 18   and reviewed two reconciled Cost Summaries relating to costs incurred for site response actions
 19   at the McColl Superfund Site (“McColl Site” or “Site”), Site ID No. 0904. One Cost Summary
 20   covers costs incurred from July 1, 2004 through December 31, 2012 (“Second Cost Summary”),
 21   and the other Cost Summary covers costs incurred from January 1, 2013 through July 31, 2018
 22   (“Third Cost Summary”).
 23          13.     The Second Cost Summary (Exhibit B) and the Third Cost Summary (Exhibit C)
 24   attached to this Declaration are true and correct copies of the Cost Summaries that I prepared as
 25   part of my duties as an Accountant for the Superfund program for costs incurred by EPA at the
 26   McColl Site from July 1, 2004 through December 31, 2012 and from January 1, 2013 through
 27
 28                                                     3
                                  DECLARATION OF MAGDALEN MAK


                                                Exhibit 4
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  1   July 31, 2018 respectively. All of the supporting documents related to the Cost Summaries can
  2   be found in the Cost Documentation Packages.
  3          14.     As in other Superfund cases, I followed the procedures described above and
  4   below in reviewing and compiling the Second Cost Summary and the Third Cost Summary with
  5   the respective Cost Documentation Packages. The costs incurred by EPA in connection with the
  6   Site fall into several categories: intramural costs consisting of payroll expenses, travel expenses
  7   and extramural costs consisting of contract costs, and indirect costs. The following paragraphs
  8   below describe more specifically the process I used to review and prepare the Cost Summaries
  9   for the McColl Site.
 10          15.     To prepare and organize the documentation for the expenditures that EPA had
 11   incurred at the Site, I relied on utilizing the Superfund Cost Recovery Package Imaging and On-
 12   line System (“SCORPIOS”). SCORPIOS is a multiuser data management system that EPA
 13   developed to organize the cost information and produce reports that summarize the costs on a
 14   site-specific basis. These site-specific costs are organized by time period into categories such as
 15   EPA payroll, travel, contractual, Interagency Agreements, and state costs associated with the
 16   response actions.
 17          16.     EPA’s costs also include indirect costs. Indirect costs are costs for services that
 18   benefit the Superfund program, but are not directly identified with any one particular site. EPA’s
 19   indirect costs, and the methodology used in calculating them, are set forth in greater details in the
 20   Declaration of Christopher s. Osbourne. Region IX’s indirect cost rate, as determined by EPA
 21   Headquarters, is multiplied against the direct costs incurred for the Superfund site to determine
 22   the amount of indirect costs that will be allocated to that site. EPA Headquarters loads the
 23   indirect cost rate into SCORPIOS.
 24          17.     The types of direct costs contained in the Cost Summary are intramural (i.e.,
 25   employee salary and travel costs) and extramural (i.e., contract costs).
 26          18.     The Second Cost Summary produced for the McColl Site for the period from July
 27   1, 2004 through December 31, 2012 reflects several categories of costs: Regional payroll
 28                                                      4
                                  DECLARATION OF MAGDALEN MAK


                                                 Exhibit 4
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  1   expenses, Headquarters payroll expenses, Regional travel expenses, Environmental Services
  2   Assistance Teams (ESAT), Interagency Agreement (IAG), Records Management Support
  3   Services (RMSS), and other miscellaneous expenses.
  4          19.     The Third Cost Summary produced for the McColl Site for the period from
  5   January 1, 2013 through July 31, 2018 reflects several categories of costs: Regional payroll
  6   expenses, Regional travel expenses, Environmental Services Assistance Team (ESAT),
  7   Interagency Agreement (IAG), Records Management Support Services (RMSS), Contract Lab
  8   Program (CLP) expenses and other miscellaneous expenses.
  9          20.     I prepared the Second Cost Summary and the Third Cost Summary in the
 10   following general manner. First, I prepared a draft cost accounting of the intramural and
 11   extramural costs, based on information I obtained from EPA’s accounting system. To ensure
 12   accuracy of the Cost Summary, I compared the cost item against the source documents. If the
 13   documents did not support any of the cost items, I made appropriate dollars and cents
 14   adjustments after consulting with program staff to ensure the Cost Summary accurately reflects
 15   the supporting documentation. The paragraphs below more specifically describe the process I
 16   used to prepare the Cost Summary.
 17          21.     In preparing the intramural cost portion of the Cost Summary for the Site, I
 18   collected documents from EPA Region IX, and from EPA Headquarters Financial Management
 19   Office. These documents have all been kept in the ordinary course of the regularly conducted
 20   activities of EPA and were collected in a manner consistent with other Superfund sites.
 21          22.     Costs incurred by EPA for employee salaries are derived primarily from
 22   employee timekeeping records, known as the payroll distribution timesheets. When charging
 23   time to a Superfund site, EPA employees are required to record the site/spill identification
 24   number on the payroll distribution timesheets. The printout from the SCORPIOS report lists
 25   site-specific payroll expenditures by employee and includes the employee’s name, pay period,
 26   fiscal year, and number of hours charged.
 27
 28                                                       5
                                 DECLARATION OF MAGDALEN MAK


                                                  Exhibit 4
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  1          23.     Costs incurred by EPA for employee travel are derived from travel vouchers.
  2   Employees on official travel are required to file a travel voucher which indicates the purpose of
  3   the trip, the Superfund code, and the site/spill identification number. Employees certify the
  4   accuracy of their timesheets and travel vouchers by their signatures. Supervisors of the
  5   employees also certify the employees’ timesheets and travel vouchers by their signatures. The
  6   printout from the SCORPIOS report lists site-specific travel expenditures and includes the
  7   employee’s name, the travel authorization number, and amount paid to an employee for travel
  8   expenses.
  9          24.     The supporting documents I have collected for the Site include copies of EPA
 10   employee timesheets, EPA employee travel vouchers, airline tickets and other travel related
 11   receipts. Custody of the supporting documents that I have collected is maintained at EPA
 12   Region IX’s Superfund Records Center.
 13          25.     Regional Payroll Costs (Second Cost Summary, Section 2 and Third Cost
 14   Summary, Section 2):
 15          I retrieved from EPA accounting system information relating to EPA Region IX
 16   employees who charged time to the Site. I next obtained copies of all the corresponding
 17   timesheets, in which the payroll hours charged are presented in the Second Cost Summary,
 18   Section 2 and the Third Cost Summary, Section 2. In the ordinary course of EPA’s business,
 19   timesheets are filled out every two weeks by EPA employees doing Superfund site-related work.
 20   The timesheets reflect the number of hours charged to different Superfund sites. I checked the
 21   number of hours reported by the accounting system against the number of hours reflected in the
 22   timesheets. I ensured that the employee hours reported in the accounting system were indeed the
 23   hours charged on the timesheets to the Site. The regional payroll costs of $109,215.00 for the
 24   period from July 1, 2004 to December 31, 2012, reported in the Second Cost Summary, Section
 25   2, are an accurate accounting of EPA Region IX’s payroll costs incurred for the Site. The
 26   regional payroll costs of $40,981.70 for the period from January 1, 2013 to July 31, 2018,
 27
 28                                                     6
                                 DECLARATION OF MAGDALEN MAK


                                                Exhibit 4
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  1   reported in the Third Cost Summary, Section 2, are an accurate accounting of EPA Region IX’s
  2   payroll costs incurred for the Site.
  3          26.     Headquarters Payroll Costs (Second Cost Summary, Section 3)
  4          I retrieved from EPA’s accounting system information relating to EPA’s Headquarters
  5   employees who charged time to the Site. I next obtained copies of all the corresponding
  6   timesheets, in which the payroll hours charged are presented in the Second Cost Summary,
  7   Section 3. In the ordinary course of EPA’s business, timesheets are filled out every two weeks
  8   by EPA employees doing Superfund site-related work. The timesheets reflect the number of
  9   hours charged to different Superfund sites. I checked the number of hours reported by the
 10   accounting system against the number of hours reflected in the timesheets. I ensured that the
 11   Headquarters employee hours reported in the accounting system were indeed the hours charged
 12   on the timesheets to the Site. The Headquarters payroll costs of $466.86 for the period from July
 13   1, 2004 to December 31, 2012, reported in the Second Cost Summary, Section 3, are an accurate
 14   accounting of EPA’s Headquarters payroll costs incurred for the Site.
 15          27.     Regional Travel Costs (Second Cost Summary, Section 4 and Third Cost
 16   Summary, Section 3):
 17          As I did with the regional personnel costs, I reconciled the information in EPA’s
 18   computerized accounting system regarding regional travel costs with the pertinent supporting
 19   travel documents. I reviewed the documents, presented in the Second Cost Summary, Section 4
 20   and the Third Cost Summary, Section 3, to ensure that each instance of travel was indeed in
 21   connection with the Site. The supporting documents I reviewed include EPA’s authorization to
 22   the employee for any travel taken for the Site and United States Treasury schedules confirming
 23   payments. In the ordinary course of business, travel authorizations are required for any planned
 24   non-local travel. Similarly, in the ordinary course of business, travel vouchers are required to be
 25   filled out for employees to receive reimbursement for allowable travel expenses. The travel
 26   vouchers, as well as copies of airline tickets, and lodging invoices, are reviewed by the Regional
 27   Accounting Office of the Mission Support Division and Cincinnati Finance Center before
 28                                                     7
                                  DECLARATION OF MAGDALEN MAK


                                                Exhibit 4
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  1   reimbursement to ensure that the claimed expenses are allowable. The regional travel costs of
  2   $15,314.59 for the period from July 1, 2004 to December 31, 2012, reported in Second Cost
  3   Summary, Section 4, are an accurate accounting of Region IX’s travel costs incurred for the Site.
  4          28.     The regional travel costs of $3,971.11 for the period from January 1, 2013 to July
  5   31, 2018, reported in the Third Cost Summary, Section 3, are an accurate accounting of Region
  6   IX’s travel costs incurred for the Site.
  7          29.     In preparing the extramural cost portion of the Cost Summaries and Cost
  8   Documentation Packages for the Site, I collected documents from EPA Region IX, EPA’s
  9   Financial Management Field Offices in Research Triangle Park (RTP) Finance Center, North
 10   Carolina and the Cincinnati Finance Center, Cincinnati, Ohio.
 11          30.     EPA expenditures for contractor services are documented by contract vouchers
 12   and invoices. Vouchers are periodic (usually monthly) statements from a contractor for the work
 13   charged under the contract for that time period.
 14          31.     To be paid, a contractor must send an invoice to the EPA payment officer at EPA
 15   National Contractor Payment Division in RTP Finance Center. The EPA National Contractor
 16   Payment Division processes the payment of all national contracts. The National Contractor
 17   Payment Division prepares a treasury schedule which authorizes payment for a particular
 18   invoice. The United States Treasury then issues checks and confirms payment via a paid
 19   treasury schedule.
 20          32.     When a contractor submits an invoice, the costs are generally broken down by
 21   site. The invoice references the voucher number it is associated with, and once the voucher is
 22   approved for payment, the voucher number is then assigned a treasury schedule number and
 23   paid. These vouchers and treasury schedule dates and numbers are identified in the Cost
 24   Summary.
 25          33.     Data for all direct costs are entered into the COMPASS Financial Management
 26   System (“COMPASS”) by the Finance Office at EPA Region IX in San Francisco, and the
 27   Financial Management Field Offices in Cincinnati, Ohio, Research Triangle Park, North
 28                                                      8
                                  DECLARATION OF MAGDALEN MAK


                                                 Exhibit 4
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  1   Carolina, or Las Vegas, Nevada, which make the actual disbursements. As contractor vouchers
  2   for work performed for Region IX are paid, copies of the vouchers and treasury schedules are
  3   scanned into SCORPIOS by the paying finance office.
  4          34.     The site-specific information is extracted from EPA’s accounting system
  5   (COMPASS) and downloaded to produce the SCORPIOS report. The downloaded information
  6   contained in the COMPASS financial system provides the bulk of all EPA cost information in
  7   the SCORPIOS report for the McColl Superfund Site. As costs are incurred for a Superfund site,
  8   they are paid and entered into COMPASS, which is then downloaded into the SCORPIOS
  9   program. SCORPIOS produces a Cost Summary report which shows only paid data. If EPA has
 10   incurred a cost, but for some reason, has not paid it, then that cost will not be reflected in the
 11   SCORPIOS Cost Summary. By definition, all costs that appear in SCORPIOS reports are costs
 12   paid by EPA from the Superfund for particular sites. The SCORPIOS Cost Summary report in
 13   effect summarizes a voluminous set of cost documents reflecting the costs incurred.
 14          35.     Many EPA contractors have national or regional contracts with EPA under which
 15   the contractors are dedicated to work for EPA for a particular period of time and work on many
 16   different sites. These contractors are generally paid on an hourly rate for their personnel, but
 17   often EPA is also billed an overhead figure for general expenditures related to all sites that these
 18   contractors have worked on, such as general employee training or office expenditures. These
 19   costs are called allocated costs and are paid by EPA as part of the contract for services rendered.
 20          36.     Environmental Services Assistance Team (“ESAT”) Costs:
 21   ICF Incorporated (Contract #s EPW06041 and 68-EPW13029) (Second Cost Summary, Section
 22   5 and Third Cost Summary Sections 4-5):
 23
 24          In the ordinary course of business, EPA’s Finance Management Field Office in Research
 25   Triangle Park in North Carolina processes ESAT contract vouchers, makes payments to
 26   contractors such as ICF Incorporated (“ICF”), maintains custody of the vouchers and the United
 27   States Treasury confirmation schedules, enters the accounting information into the EPA
 28                                                       9
                                  DECLARATION OF MAGDALEN MAK


                                                  Exhibit 4
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  1   accounting system, and scans the vouchers and confirmation schedules into SCORPIOS. I
  2   retrieved the information regarding the ICF costs from the EPA accounting system. At about the
  3   same time, I obtained from SCORPIOS copies of ICF’s vouchers and United States Treasury
  4   confirmation schedules. I reviewed the documents against the information from EPA’s
  5   accounting system to ensure that the amounts in the vouchers were indeed billed to the Site and
  6   that the payments were indeed made in the amounts indicated in the vouchers. As to the
  7   allocable costs which are payable to ICF for non-site specific costs to manage the site, such as
  8   program management, equipment, and other costs that benefit more than one site, the
  9   SCORPIOS system computed the allocated cost amount based on the EPA-approved allocation
 10   rate multiplied by the direct costs. The ESAT costs of $5,388.14 on contract number EPW06041
 11   reported in the Second Cost Summary, Section 5 for the period from July 1, 2004 through
 12   December 31, 2012, are accurate accounting of the ESAT costs incurred by EPA for the Site.
 13   The ESAT costs of $2,239.45 on contract number EPW06041 and $2,511.49 on contract number
 14   EPW13029, reported in the Third Cost Summary, Sections 4 and 5 respectively for the period
 15   from January 1, 2013 through July 31, 2018, are an accurate accounting of the ESAT costs
 16   incurred by EPA for the Site.
 17          37.     Interagency Agreement (“IAG”) Costs:
 18
 19   U.S. Department of Justice (“DOJ”) (Second Cost Summary, Section 6 and Third Cost
 20   Summary, Section 6):
 21
 22          I obtained the DOJ cost summary for work performed by DOJ for the Site. The costs for
 23   DOJ were taken from the DOJ cost summary. I reviewed the DOJ cost summary to ensure that
 24   the amounts provided by DOJ were indeed costs associated with the Site. The custody of the
 25   supporting documentation is maintained by DOJ. The DOJ costs of $318,230.79, reported in the
 26   Second Cost Summary, Section 6 for the period from July 1, 2004 through December 31, 2012,
 27   are an accurate accounting of the DOJ costs incurred on the Site as reported by DOJ. The DOJ
 28                                                     10
                                 DECLARATION OF MAGDALEN MAK


                                                Exhibit 4
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  1   costs of $73,970.29, reported in the Third Cost Summary, Section 6 for the period from January
  2   1, 2013 through July 31, 2018 are an accurate accounting of the DOJ costs incurred on the Site as
  3   reported by DOJ.
  4
  5   U.S. Army Corps of Engineers (Contract #s DW96922738, DW96957990, DW96955452,
  6   DW96955536, DW96955588) (Second Cost Summary, Section 7-10 and Third Cost Summary,
  7   Sections 7-8):
  8
  9          In the ordinary course of business, EPA’s Finance Management Field Office in
 10   Cincinnati processes IAG vouchers, makes payments to governmental agencies such as the U.S.
 11   Army Corps of Engineers, maintains custody of the vouchers and the United States Treasury
 12   confirmation schedules, and inputs accounting information into the EPA accounting system. I
 13   retrieved such information from the accounting system. At about the same time, I also obtained
 14   from the Cincinnati office copies of the U.S. Army Corps of Engineers vouchers and United
 15   States Treasury confirmation schedules. I reviewed the documents against the information from
 16   EPA’s accounting system to ensure that the amounts in the vouchers were indeed billed to the
 17   Site and that the payments were indeed made in the amounts indicated in the vouchers. For the
 18   period from July 1, 2004 through December 31, 2012, reported in the Second Cost Summary, the
 19   IAG costs of $40,134.33 reported in Section 7, are an accurate accounting of the costs incurred
 20   on the Army Corps of Engineers contract number DW96922738 for the Site. The IAG credits of
 21   $2,794.74 reported in Section 8, are an accurate accounting of the credits applied to the U.S.
 22   Army Corps of Engineers contract number DW96955452 for the Site. The IAG costs of
 23   $2,894.75 reported in Section 9, are an accurate accounting of the costs incurred on the U.S.
 24   Army Corps of Engineers contract number DW 96955536 for the Site. The IAG costs of
 25   $277,761.32 reported in Section 10, are an accurate accounting of the costs incurred on the U.S.
 26   Army Corps of Engineers contract number DW96955588 for the Site. For the period from
 27   January 1, 2013 through July 31, 2018, reported in the Third Cost Summary, the IAG costs of
 28                                                     11
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                                                Exhibit 4
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  1   $1,310.77, reported in Section 7, are an accurate accounting of the costs incurred on the U.S.
  2   Army Corps of Engineers contract number DW96922738 for the Site. The IAG costs of
  3   $39,053.29, reported in Section 8, are an accurate accounting of the costs incurred on the Army
  4   Corps of Engineers contract number DW96957990 for the Site.
  5          38.     Other Expenditures.
  6   Government Printing Office (Contract Numbers 1963S60038, 1963S80105) (Second Cost
  7   Summary, Section 11and Third Cost Summary, Section 9):
  8
  9          I reviewed the contractor vouchers, treasury schedules, and any other documents related
 10   to the Government Printing Office contract that is included in the cost documentation package, to
 11   ensure that information contained in these documents matched the voucher number, voucher
 12   date, voucher amount, treasury schedule and the amount identified on the Cost Summary. I also
 13   verified that the Cost Documentation Package contains the supporting documents for the
 14   contractor vouchers identified on the Cost Summary. The costs of $2,132.00 on contract number
 15   1963S60038, reported in the Second Cost Summary, Section 11 for the period from July 1, 2004
 16   through December 31, 2012, are an accurate accounting of the Government Printing Office costs
 17   incurred by EPA for the Site. The costs of $1,895.56 on contract number 1963S80105, reported
 18   in the Third Cost Summary, Section 9, are an accurate accounting of the Government Printing
 19   Office costs incurred by EPA for the Site.
 20           For miscellaneous expenses such as classified advertisement in the Bakersfield
 21   California Newspaper and Daily Journal Corporation, I reviewed the purchase order, vendor’s
 22   invoice, bankcard payment and any other supporting documents that are included in the costs
 23   documentation package, to ensure that information contained in these documents matched the
 24   voucher number, voucher date, voucher amount, treasury schedule and that the amount identified
 25   on the Cost Summary is reflected in the accounting system.
 26   The Bakersfield California Newspaper (A8BK0000022) (Second Cost Summary, Section 12):
 27
 28                                                     12
                                 DECLARATION OF MAGDALEN MAK


                                                Exhibit 4
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  1             The costs of $184.224 on the contract number A8BK0000022, reported in the Second
  2   Cost Summary, Section 12 for the period from July 1, 2004 through December 31, 2012, are an
  3   accurate accounting of the Bakersfield California Newspaper costs incurred by EPA for the Site.
  4   Daily Journal Corporation (A8BK0000470, B2BK0000983) (Second Cost Summary, Sections
  5   13-14):
  6             The costs of $307.06 on contract number A8BK0000470 and $623.52 on contract number
  7   B2BK0000983, reported in the Second Cost Summary, Sections 13 and 14, for the period from
  8   July 1, 2004 through December 31, 2012, are an accurate accounting of the Daily Journal
  9   Corporation costs incurred by EPA for the Site.
 10             39.    Records Management Support Services (“RMSS”) Costs
 11             In the ordinary course of EPA’s business, EPA’s Finance Management Field Office in
 12   Research Triangle Park in North Carolina processes vendor vouchers, makes payments to
 13   vendors, maintains custody of the vouchers and the United States Treasury confirmation
 14   schedules, enters the accounting information into the EPA accounting system, and scans the
 15   vouchers and confirmation schedules into SCORPIOS. I retrieved information regarding the
 16   costs of the Contractor’s voucher from the EPA accounting system. At about the same time, I
 17   obtained copies of the Contractor’s vouchers and information of the United States Treasury
 18   confirmation schedules from SCORPIOS. I reviewed the documents against the information
 19   from EPA accounting system to ensure that the amounts in the vouchers were indeed billed to the
 20   Site and that the payments were indeed made to the Contractor in the amounts indicated in the
 21   vouchers.
 22
 23   ASRC Aerospace Corp. (Contract # 68-R9-0101) (Second Cost Summary, Section 15):
 24
 25             The ASRC Aerospace costs of $25,574.67 incurred on contract number 68-R9-0101 and
 26   reported in the Second Cost Summary Section 15, for the period from July 1, 2004 through
 27
 28                                                     13
                                  DECLARATION OF MAGDALEN MAK


                                                Exhibit 4
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  1   December 31, 2012, are an accurate accounting of the ASRC Aerospace costs incurred by EPA
  2   at the Site.
  3
  4   GRB Environmental Services Inc. (Contract # EPR90603) (Second Cost Summary, Section 16):
  5
  6           The GRB Environmental Services Inc. costs of $1,356.65 incurred on contract number
  7   EPR90603 and reported in the Second Cost Summary, Section 16, for the period from July 1,
  8   2004 through December 31, 2012, are an accurate accounting of the GRB Environmental
  9   Services Inc. costs incurred by EPA at the Site.
 10
 11   Toeroek-Herndon Joint Venture (Contract # EPR91202) (Third Cost Summary, Section 10):
 12
 13           The Toeroek-Herndon Joint Venture costs of $49,960.34 incurred on contract number
 14   EPR91202 reported in the Third Cost Summary, Section 10, for the period from January 1, 2013
 15   through July 31, 2018 are accurate accounting of the Toeroek-Herndon Joint Venture costs
 16   incurred by EPA at the Site.
 17
 18           40.    Response Action Contract (“RAC”) Costs:
 19
 20   CH2M Hill, Inc. (Contract # 68-W9-8225) (Second Cost Summary, Section 17):
 21
 22           In the ordinary course of EPA’s business, EPA’s Finance Management Field Office in
 23   Research Triangle Park in North Carolina processes vendor vouchers, makes payments to
 24   vendors, maintains custody of the vouchers and the United States Treasury confirmation
 25   schedules, enters the accounting information into the EPA accounting system, and scans the
 26   vouchers and confirmation schedules into SCORPIOS. I retrieved information regarding the
 27   costs of the vendor’s vouchers from the EPA accounting system. At about the same time, I
 28                                                      14
                                 DECLARATION OF MAGDALEN MAK


                                                Exhibit 4
                                                 0082
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  1   obtained copies of the vendor’s vouchers and information of the United States Treasury
  2   confirmation schedules from SCORPIOS. I reviewed the documents against the information
  3   from the EPA accounting system to ensure that the amounts in the vouchers were indeed billed to
  4   the Site and that the payments were indeed made to the vendor in the amounts indicated in the
  5   vouchers.
  6
  7          The CH2M Hill, Inc. costs of $845.35, reported in the Second Cost Summary, Section 17,
  8   for the period from July 1, 2004 through December 31, 2012, are an accurate accounting of the
  9   CH2M Hill, Inc. costs incurred by EPA for the Site.
 10
 11          41.     Contract Lab Program (“CLP”) Costs:
 12   Computer Sciences Corporation (Contract EPW06046) (Third Cost Summary, Section 11):
 13
 14         In the ordinary course of business, EPA’s Finance Management Field Office in Research
 15   Triangle Park in North Carolina processes CLP contractor vouchers, makes payments to
 16   contractors, maintains custody of the vouchers and the United States Treasury confirmation
 17   schedules, enters the accounting information into the EPA accounting system, and scans the
 18   vouchers and confirmation schedules into SCORPIOS. The Computer Sciences Corporation was
 19   the only CLP contractor receiving payment in the Third Cost Summary. I retrieved the
 20   computed the allocated cost amount based on the EPA-approved allocation rate multiplied by the
 21   direct costs. The CLP costs of $2,928.09 on the contract reported in the Third Cost Summary,
 22   Section 11, for the period from January 1, 2013 to July 31, 2018, are an accurate accounting of
 23   the Computer Sciences Corporation costs incurred by EPA for the Site.
 24          42.     EPA Indirect Costs: (Indirect Costs Summary – Second Cost Summary, Section
 25   18 and Third Cost Summary, Section 12); (Indirect Cost Details – Second Cost Summary,
 26   Section 19 and Third Cost Summary, Section 13):
 27
 28                                                    15
                                 DECLARATION OF MAGDALEN MAK


                                               Exhibit 4
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  1          EPA’s computerized system, designed for this purpose, was used to calculate the indirect
  2   charges (direct costs multiplied by the indirect cost rate) shown in the Second Cost Summary,
  3   Section 18 and the Third Cost Summary, Section 12. The calculation was made based on the
  4   total direct costs charged to the Site, and the indirect rate applicable to each fiscal year as
  5   supplied by EPA’s Headquarters. The total indirect costs of $333,399.77, reported in the Second
  6   Cost Summary, Section 18, are an accurate accounting of the indirect costs associated with the
  7   time period from July 1, 2004 through December 31, 2012. The total indirect costs of
  8   $118,765.40, reported in the Third Cost Summary, Section 12, are an accurate accounting of the
  9   indirect costs associated with the time period from January 1, 2013 through July 31, 2018.
 10          43.     Also included on the Second Cost Summary is the prejudgment interest accrued at
 11   the Site. Interest on EPA’s costs began to accrue on the later of July 1, 2004 or the date the cost
 12   was incurred. Interest was calculated through July 31, 2018, the date on which the Cost
 13   Summary was run. The prejudgment interest on EPA costs in the Second Cost Summary totals
 14   $222,990.48.
 15          44.     Factoring in the costs and interest in the Second Cost Summary, the EPA costs
 16   before prejudgment are in the amount of $1,131,034.30 and the prejudgment interest are in the
 17   amount of $222,990.48. The total direct and indirect costs from July 1, 2004 through December
 18   31, 2012, including prejudgment interests through July 31, 2018, resulted in the total site costs
 19   for the Second Cost Summary of $1,354,024.78.
 20          45.     The total unreimbursed site costs reported in the Third Cost Summary are in the
 21   amount of $337,587.49 for costs from January 1, 2013 through July 31, 2018.
 22          46.     Since the July 1, 1990 through June 30, 2004 Cost Summary was last reconciled
 23   by Yvonne Fong, The United States has continued and is continuing to incur interest costs.
 24   Additionally, two provisional rates used by Ms. Fong to calculate the annual allocation and
 25   indirect costs have been updated to their final rates. These costs and changes can be captured
 26   and calculated by running another Cost Summary at an appropriate time.
 27
 28                                                       16
                                   DECLARATION OF MAGDALEN MAK


                                                  Exhibit 4
                                                   0084
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  1           47.     Exhibit A to this Declaration is a true and correct copy of the First Cost Summary,
  2   which I updated as part of my duties as an Accountant for the Superfund program for costs
  3   incurred by EPA at the McColl Site from July 1, 1990 through June 30, 2004. In the course of
  4   updating the Cost Summary, the provisional rates of the annual allocation and the indirect cost
  5   were replaced by the final rates. The accrued interest was updated on the First Cost Summary
  6   through July 31, 2018.
  7           48.     The annual allocation rates for ICF Technology, Inc. (Contract # 68-D1-0135) in
  8   1996 had changed. They were set at 1.264751 originally, but in the process of updating the First
  9   Cost Summary, the rate for Voucher 130 increased to 1.466645 and Voucher 132 increased to
 10   1.376323 (Section 13). The rate changes resulted in an increase of $125.81, which was reflected
 11   in an increase in the ICF Technology Inc. costs from $153,685.43 to $153,811.24 (Section 13)
 12   for the site.
 13           49.     The change in those annual allocation rates resulted in an increase of $125.81 in
 14   direct costs and an increase of $46.10 in indirect costs in Fiscal Year (“FY”) 1997. The direct
 15   costs increased from $717,859.63 to $717,985.44 in FY 1997 and the indirect costs increased
 16   from $263,023.68 to $263,069.78 in FY 1997. These changes are shown in the EPA Indirect
 17   Cost Summary (Section 52).
 18           50.     Some indirect costs for FY 2002 used a provisional rate of 38.03% and were
 19   updated to the FY 2002 final rate of 36.14% (Section 53). The rate change resulted in a decrease
 20   of $18,675.68, which was reflected as a decrease in indirect costs from $459,127.57 to
 21   $440,451.89 for FY 2002 in the EPA Indirect Costs Summary (Section 52).
 22           51.     The indirect rate for FY 2004 decreased from the provisional rate of 40.84% to
 23   the final rate of 36.58% resulting in a decrease of $3,920.34 in indirect costs from $37,583.76 to
 24   $33,663.42 for FY 2004 in the EPA Indirect Cost Summary (Section 52).
 25           52.     Using all of these rate changes resulted in a net increase of $125.81 for direct
 26   costs and a net decrease of $22,549.92 for indirect costs. These changes were reflected in the
 27   EPA Indirect Costs Summary (Section 52).
 28                                                      17
                                  DECLARATION OF MAGDALEN MAK


                                                 Exhibit 4
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                                    EXHIBIT A




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                                                                                                                      $1,222,232.63
 REGIONAL PAYROLL COSTS ........................................................................................................................................


                                                                                                                    $13,192.56
 HEADQUARTERS PAYROLL COSTS .............................................................................................................................


                                                                                                                          $246,810.66
 REGIONAL TRAVEL COSTS ...........................................................................................................................................


                                                                                                                       $6,382.45
 HEADQUARTERS TRAVEL COSTS ................................................................................................................................

 ALLOCATION TRANSFER IAG
                                                                                                       $62,090.67
           U.S. DEPT. OF HEALTH & HUMAN SERVICES (ATSDR) ...................................................................................

 ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
                                                                                                                              $192,288.17
           CH2M HILL (68-W9-0031) ....................................................................................................................................
                                                                                                                $4,803,066.82
           ICF TECHNOLOGY, INC. (68-W9-0059) ..............................................................................................................
                                                                                                          $635,687.90
           BECHTEL ENVIRONMENTAL INC. (68-W9-0060) ...............................................................................................

 EMERGENCY REMOVAL CLEANUP (ERC)
                                                                                                           $14,121.33
           CET ENVIRONMENTAL SERVICES (68-W1-0012) .............................................................................................

 EMERGENCY RESPONSE UNIT (ERU)
                                                                                                                            $50,035.50
           ROY F. WESTON (68-03-3482) ...........................................................................................................................

 ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
                                                                                                                     $143,463.70
           ICF TECHNOLOGY, INC. (68-01-7456) ...............................................................................................................
                                                                                                                    $153,811.24
           ICF TECHNOLOGY, INC. (68-D1-0135) ...............................................................................................................

 INTERAGENCY AGREEMENT (IAG)
                                                                                                      $348,803.00
           US ARMY CORPS OF ENGINEERS (DW96955310) ...........................................................................................
                                                                                                      $627,841.93
           US ARMY CORPS OF ENGINEERS (DW96955452) ...........................................................................................
                                                                                                        $96,545.48
           US ARMY CORPS OF ENGINEERS (DW96955536) ...........................................................................................
                                                                                                        $69,181.60
           US ARMY CORPS OF ENGINEERS (DW96955588) ...........................................................................................

 NATIONAL ENFORCEMENT INVESTIGATION CENTER (NEIC)
                                                                                                                              $5,093.33
           TECHLAW, INC. (68-W0-0001) ............................................................................................................................
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 OTHER
                                                                                                                           $3.99
         FEDERAL EXPRESS (4U2000NDLX) ..................................................................................................................
                                                                                                                  $1,009,087.02
         PEI ASSOCIATES, INC (68-02-4284) ..................................................................................................................
                                                                                                                             $1,008.82
         ACZ INC LAB DIV (68-03-3267) ...........................................................................................................................
                                                                                                                              $300,000.00
         PRC/SSC (68-C0-0047) .......................................................................................................................................
                                                                                              $38,953.00
         SCIENCE APPLICATIONS INTERNATIONAL CORP. (68-C8-0062) ....................................................................
                                                                                                           $12,250.00
         EDWARD AUL & ASSOCIATES, INC. (68-S2-9006) ............................................................................................
                                                                                                     $207.83
         RONSON MANAGEMENT CORPORATION (68-W3-0023) .................................................................................
                                                                                                                           $3.75
         FEDERAL EXPRESS (8U1020NALX) ..................................................................................................................
                                                                                                $41.00
         CALIFORNIA NEWSPAPER SERVICES BUREAU, INC (91091S0128) ..............................................................
                                                                                             $579.69
         CALIFORNIA NEWSPAPER SERVICES BUREAU, INC (9209PR0182) ..............................................................
                                                                                              $553.67
         CALIFORNIA NEWSPAPER SERVICES BUREAU, INC (93093S0047) ..............................................................
                                                                                             $386.46
         CALIFORNIA NEWSPAPER SERVICES BUREAU, INC (9309PR0028) ..............................................................
                                                                                              $342.00
         CALIFORNIA NEWSPAPER SERVICE BUREAU, INC (9809H8S075) ................................................................
                                                                                              $580.62
         CALIFORNIA NEWSPAPER SERVICE BUREAU, INC (9809H8S076) ................................................................
                                                                                                                   $740.22
         DUN AND BRADSTREET (DU1001NBLX) ...........................................................................................................
                                                                                                        $1,755.00
         U.S. GOVERNMENT PRINTING OFFICE (FRL61283) ........................................................................................

 RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
                                                                                                                $31,820.12
         ASRC AEROSPACE CORP. (68-R9-0101) ...........................................................................................................
                                                                                                                    $419.10
         ASRC AEROSPACE CORP (68-W0-1002) ..........................................................................................................
                                                                                                       $7,018.94
         LABAT-ANDERSON INCORPORATED (68-W4-0028) .........................................................................................
                                                                                                        $43,649.90
         ARMSTRONG DATA SERVICES, INC. (68-W5-0024) .........................................................................................
                                                                                                     $13,785.40
         LABAT-ANDERSON INCORPORATED (68-W9-0052) .........................................................................................

 REMEDIAL (REM)
                                                                                                                              $135,879.78
         CH2M HILL (68-01-7251) .....................................................................................................................................

 STATE COOPERATIVE AGREEMENT (SCA)
                                                                                            $2,836,787.10
         CA DEPT OF TOXICS SUBSTANCES CONTROL (937801) ................................................................................
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                                                                                                 $1,229,850.32
            CA DEPT OF TOXIC SUBSTANCES CONTROL (937802) ..................................................................................
                                                                                           $229,117.45
            CA DEPARTMENT OF TOXIC SUBSTANCES CONTROL (940402) ....................................................................
                                                                                           $136,313.58
            CA DEPARTMENT OF TOXIC SUBSTANCES CONTROL (940403) ....................................................................
                                                                                           $107,659.10
            CA DEPARTMENT OF TOXIC SUBSTANCES CONTROL (940404) ....................................................................
                                                                                           $120,564.24
            CA DEPARTMENT OF TOXIC SUBSTANCES CONTROL (940405) ....................................................................
                                                                                             $49,428.12
            CA DEPARTMENT OF TOXIC SUBSTANCES CONTROL (940406) ....................................................................

 TECHNICAL ASSISTANCE TEAM (TAT)
                                                                                                         $161,186.25
            ECOLOGY AND ENVIRONMENT, INC. (68-01-7368) ..........................................................................................
                                                                                                        $402,739.70
            ECOLOGY AND ENVIRONMENT, INC. (68-W0-0037) ........................................................................................

 TECHNICAL ENFORCEMENT SUPPORT (TES)
                                                                                                 $73,664.06
            SCIENCE APPLICATION INTERNATIONAL CORP. (68-W9-0008) ......................................................................

 CONTRACT LAB PROGRAM (CLP) COSTS
                                                                                                                        $111,128.75
            FINANCIAL COST SUMMARY .............................................................................................................................


                                                                                                                             $5,564,770.51
 EPA INDIRECT COSTS ...........................................................................................................................................


                                                                                     $21,312,924.46
 TOTAL SITE COSTS BEFORE COST RECOVERY COLLECTIONS ...............................................................................


                                                                                                                    ($695,000.00)
 COLLECTIONS/ADJUSTMENTS .....................................................................................................................................


                                                                                                 $20,617,924.46
 EPA COSTS BEFORE PREJUDGMENT INTEREST .......................................................................................................


                                                                                                                               $22,341,954.86
 Prejudgment Interest ...........................................................................................................................................

 Total Site Costs:                                                                                                                $42,959,879.32




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                                                                             0093
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                                                    Fiscal    Pay     Payroll   Payroll
Employee Name                                       Year     Period   Hours     Costs
ADAMS, ELIZABETH                                     1997     21        3.00    123.82
CHIEF, SITE CLEANUP BRANCH                                    22        2.00     82.56
                                                              23        1.00     41.27
                                                              24        3.00    123.82
                                                              25        3.00    123.82
                                                              26        2.00     82.56
                                                              27        1.00     41.28
                                                     1998     01        3.00    123.83
                                                              02        1.00     41.05
                                                              03        2.00     82.11
                                                              04        2.00     82.11
                                                              05        5.00    205.27
                                                              07        1.00     41.05
                                                              08        2.00     85.02
                                                              09        1.00     42.50
                                                              10        3.00    127.52
                                                              14        1.00     42.50
                                                              17        1.00     42.50
                                                              19        1.00     43.87
                                                              20       12.00    526.38
                                                              21        3.00    131.59
                                                              22        5.00    219.32
                                                              23        6.00    263.18
                                                              24        8.00    350.91
                                                              25        2.00     87.72
                                                              26        4.00    175.46
                                                     1999     01        3.00    131.59
                                                              02       12.00    526.38
                                                              03        3.00    131.59
                                                              04        1.00     43.87
                                                              05        9.00    394.77
                                                              06        6.00    252.50
                                                              08       13.00    594.62
                                                              09        8.00    365.93
                                                              10        2.00     91.48
                                                              11        1.00     45.74
                                              Exhibit 4-A
                                                0094
                                                              12       10.00    457.40
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
ADAMS, ELIZABETH                                     1999     13        5.00      228.72
                                                              14        3.00      137.23
                                                              15        3.00      137.23
                                                              16        3.00      137.21
                                                              17        3.00      137.21
                                                              18        1.00       45.73
                                                              21        1.00       45.73
                                                              23        1.00       47.16
                                                              25        1.00       47.16
                                                     2000     08        2.00      100.18
                                                                      169.00    $7,432.45

ANDERSON, STEVEN W.                                  1991     21        4.50      171.22
ATTORNEY ADVISOR (REG JUD & PRESDG OFCR)                      22        0.75       28.54
                                                                        5.25     $199.76

ASAMI, JO                                            1991     04        2.00        67.95
SUPERVISORY ATTORNEY ADVISOR (GENERAL)                        05        5.00       165.76
                                                              06        1.00        31.96
                                                              09        3.00       114.63
                                                              16        0.50        19.12
                                                              18        5.50       210.17
                                                              24        0.50        19.12
                                                     1992     02        2.00        77.42
                                                              05        3.00       110.61
                                                              13        1.50        60.57
                                                              24        4.00       161.53
                                                     1993     18        2.00        84.93
                                                     1994     20        2.00        86.18
                                                     1996     04       24.00     1,032.07
                                                              05       10.00       430.04
                                                              06       18.50       836.75
                                                              07        2.00        90.46
                                                              08       24.00     1,115.35
                                                              09       27.50     1,278.00
                                                              10       20.00       929.46
                                                              11        9.00       418.25
                                              Exhibit 4-A
                                                0095
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
ASAMI, JO                                            1996     12        6.50        302.08
                                                              13        8.50        395.03
                                                              14       10.00        464.74
                                                              15       21.50        999.18
                                                              16       30.50      1,417.43
                                                              17       28.50      1,324.48
                                                              18       19.00        882.98
                                                              19       24.00      1,115.35
                                                              20       18.50        859.75
                                                              21        7.00        325.31
                                                              22       13.50        627.38
                                                              24        1.00         46.48
                                                     1997     06        2.50        110.46
                                                              24       12.00        579.30
                                                                      370.00    $16,790.28

BANDROWSKI, MICHAEL                                  1992     17        5.00       185.99
HEALTH PHYSICIST                                              20        1.00        37.19
                                                              22        2.00        74.40
                                                              24        2.00        74.40
                                                              25        6.00       223.19
                                                              27        1.00        37.21
                                                     1993     05        4.00       145.96
                                                              06        1.00        36.48
                                                              19        4.00       159.18
                                                              20        5.00       198.98
                                                              21        2.00        79.58
                                                                       33.00     $1,252.56

BARNETT, ROXY A.                                     1992     03        4.00       131.82
TOXICOLOGIST                                                  04       11.00       362.53
                                                              05        2.00        66.30
                                                              06        4.00       131.82
                                                              07       19.00       626.17
                                                              08        2.00        65.92
                                                              09        6.00       206.31
                                                              13        2.00        68.77
                                              Exhibit 4-A
                                                0096
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
BARNETT, ROXY A.                                     1992     14       11.00      378.25
                                                                       61.00    $2,037.89

BAYLOR, KATHERINE                                    1991     24       44.00      919.86
ENVIRONMENTAL SCIENTIST
                                                                       44.00     $919.86

BERG, ELIZABETH                                      2001     05        5.50       261.92
ATTORNEY-ADVISOR                                              06       18.00       851.40
                                                              09        6.00       296.79
                                                              10       23.00     1,137.68
                                                              11        7.00       346.26
                                                              12       10.00       494.65
                                                              13       17.00       840.90
                                                              14       20.00       989.30
                                                              15        5.00       247.32
                                                              16       12.00       593.58
                                                              17       26.00     1,286.08
                                                              18       19.00       939.84
                                                              19       26.00     1,286.08
                                                              20       13.00       643.04
                                                              21        2.00        98.93
                                                              26        2.00        98.94
                                                              27        2.00        98.92
                                                     2002     13       15.00       808.00
                                                     2003     02        3.00       161.60
                                                              14        1.00        57.94
                                                              18       17.00       984.98
                                                              20       10.00       579.40
                                                              21       10.00       579.40
                                                              22        2.00       115.88
                                                              24        1.00        57.94
                                                              26        7.00       405.59
                                                     2004     02       16.00       927.04
                                                              03       51.00     2,954.95
                                                              08        3.00       173.83
                                                              09        1.00        59.85
                                              Exhibit 4-A
                                                0097
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
BERG, ELIZABETH                                      2004     10        1.00        59.85
                                                              12        1.00        59.85
                                                              15       10.00       615.07
                                                              16        7.00       430.54
                                                                      369.50    $19,543.34

BLEVINS, JOHN                                        1990     21       26.00        681.74
SUPV ENVIRONMENTAL PROTECTION SPECIALIST                      22       20.00        524.39
                                                              23       20.00        524.42
                                                              24       11.00        288.44
                                                              25       51.00      1,337.25
                                                              26       27.00        707.96
                                                              27       10.00        262.08
                                                     1991     01       17.00        445.68
                                                              02       23.00        603.07
                                                              03       11.00        288.44
                                                              04       39.00      1,056.00
                                                              05       31.00        839.39
                                                              06       18.00        487.39
                                                              07       16.00        433.23
                                                              08        5.00        135.36
                                                              09       15.00        457.04
                                                              10       40.00      1,218.73
                                                              11       22.00        670.32
                                                              12       14.00        426.57
                                                              13       18.00        625.73
                                                              14       28.00        973.35
                                                              15       24.00        834.30
                                                              16       13.00        451.91
                                                              17       43.00      1,494.77
                                                              18       16.00        556.20
                                                              19       40.00      1,390.50
                                                              21       25.00        869.04
                                                              22       54.00      1,877.17
                                                              23       64.00      2,224.77
                                                              24       47.00      1,633.81
                                              Exhibit 4-A     25       31.00      1,077.64
                                                0098
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
BLEVINS, JOHN                                        1991     26       68.00    2,363.84
                                                              27       41.00    1,425.25
                                                     1992     01       15.00      521.43
                                                              02       35.00    1,255.35
                                                              03       29.00    1,007.32
                                                              04       20.00      717.35
                                                              05       42.00    1,500.13
                                                              06       26.00      887.38
                                                              07       25.00      896.66
                                                              08       12.00      430.39
                                                              09       19.00      710.88
                                                              10       26.00      972.76
                                                              11       32.00    1,197.28
                                                              12       24.00      898.06
                                                              13       42.00    1,571.41
                                                              14       28.00    1,047.60
                                                              15       47.00    1,758.51
                                                              16       54.00    2,020.39
                                                              18       22.00      823.18
                                                              19       42.00    1,571.42
                                                              20       20.00      748.31
                                                              21       25.00      935.37
                                                              22       25.00      935.37
                                                              24       37.00    1,384.36
                                                              25       25.00      935.37
                                                              26       44.00    1,646.27
                                                              27       31.00    1,159.86
                                                     1993     01        2.00       74.83
                                                              02        9.00      336.73
                                                              03       19.00      726.87
                                                              04       11.00      416.49
                                                              05       14.00      514.20
                                                              06       32.00    1,175.32
                                                              07       25.00      964.94
                                                              08        2.00       77.19
                                                              09       12.00      480.67
                                              Exhibit 4-A     10       11.00      440.61
                                                0099
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay      Payroll        Payroll
Employee Name                                       Year     Period    Hours          Costs
BLEVINS, JOHN                                        1993     11        20.00         801.11
                                                              12        80.00       3,204.42
                                                              13        50.00       2,002.77
                                                              14        67.00       2,683.70
                                                              15        62.00       2,483.45
                                                              16        72.00       2,883.98
                                                              17        80.00       3,204.42
                                                              18        67.00       2,683.70
                                                              19        38.00       1,522.09
                                                              20        80.00       3,204.42
                                                              21        71.00       2,843.92
                                                              22        74.00       2,964.09
                                                              23        80.00       3,204.42
                                                              24        18.00         720.99
                                                              25        68.00       2,723.75
                                                              26        63.00       2,523.49
                                                              27        80.00       3,204.42
                                                     1994     02        18.00         720.99
                                                              03        69.00       2,763.81
                                                              04        71.00       2,798.46
                                                              05        56.00       2,199.52
                                                              06        66.00       2,592.28
                                                              07        53.00       2,187.58
                                                              09        27.00       1,115.62
                                                              10        71.00       2,933.66
                                                              27        23.00         950.34
                                                                      3,336.00   $123,047.44

BOYD, HELENA M.                                      1990     22         7.00        143.33
SUPV. GRANTS MANAGEMENT SPECIALIST                            25        23.00        509.10
                                                              26         9.00        199.21
                                                              27        19.00        420.51
                                                     1991     01         9.00        199.21
                                                              02        15.00        332.02
                                                                        82.00      $1,803.38

BRUIN, PAULA                                         1992     23        10.00        286.70
                                              Exhibit 4-A
                                                0100
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
PUBLIC AFFAIRS SPECIALIST                            1992     24       11.00      315.38
                                                     1993     18        5.00      148.61
                                                              21       19.00      564.70
                                                              22       10.00      297.22
                                                              25        9.00      267.48
                                                     1994     13        2.00       61.20
                                                     1995     09       18.00      555.88
                                                              16        4.50      138.98
                                                              20       11.00      339.70
                                                              22        5.00      154.41
                                                              27        4.00      123.52
                                                     1996     12        9.00      293.82
                                                              23       10.00      326.48
                                                              24       22.00      718.23
                                                                      149.50    $4,592.31

CHAN, ELAINE                                         1991     09        9.00      123.69
YEE, ELAINE                                                   12        3.00       41.23
ENVIRON. PROTECTION SPECIALIST                                18        4.00       54.96
                                                              22       16.00      219.89
                                                              23        1.50       20.62
                                                     1996     06        1.00       21.77
                                                              17        0.50       11.17
                                                                       35.00     $493.33

CLIFFORD, GERALD                                     1991     02        1.00       33.81
DIRECTOR, HAZARDOUS SITE CONTROL DIVISIO                      09        2.00       79.14
                                                              10        1.00       39.59
                                                              11        1.00       39.58
                                                              12        1.00       39.55
                                                              13        2.00       79.14
                                                              14        1.00       39.59
                                                              16        1.00       39.59
                                                              18        4.00      158.33
                                                              19       14.00      554.12
                                                              20        1.00       39.55
                                                              23        2.00       79.17
                                              Exhibit 4-A
                                                0101
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
CLIFFORD, GERALD                                     1991     24        1.00       39.59
                                                                       32.00    $1,260.75

COLLINS, PATTI                                       1996     16       12.00       435.77
ENVIRONMENTAL SCIENTIST                                       17       36.00     1,307.29
                                                              18       44.00     1,597.82
                                                              19       47.00     1,706.75
                                                              20       49.00     1,779.38
                                                              21       45.00     1,634.12
                                                              22       37.00     1,343.61
                                                              23       48.00     1,743.07
                                                              24       70.00     2,541.98
                                                              25       52.00     1,888.33
                                                              26       62.00     2,251.46
                                                              27        8.00       290.51
                                                     1997     01       62.00     2,251.46
                                                              02       72.00     2,614.60
                                                              03       70.00     2,541.99
                                                              04       48.00     1,743.07
                                                              05       68.00     2,469.34
                                                              06       72.00     2,614.61
                                                              07       60.00     2,178.82
                                                              08       40.00     1,510.30
                                                              09       32.00     1,208.23
                                                              10       56.00     2,114.41
                                                              11       60.00     2,265.44
                                                              12       56.00     2,114.41
                                                              13       76.00     2,869.55
                                                              14       68.00     2,567.50
                                                              15       64.00     2,416.47
                                                              16       64.00     2,416.47
                                                              17       68.00     2,567.50
                                                              18       52.00     2,021.48
                                                              19       64.00     2,487.97
                                                              20       50.00     1,943.75
                                                              21       68.00     2,643.48
                                              Exhibit 4-A     22       56.00     2,176.99
                                                0102
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
COLLINS, PATTI                                       1997     23       56.00    2,176.99
                                                              24       45.00    1,749.36
                                                              25       46.00    1,788.24
                                                              26       52.00    2,021.48
                                                              27       14.00      544.25
                                                     1998     01       56.00    2,176.99
                                                              02       52.00    2,010.32
                                                              03       48.00    1,855.69
                                                              04       48.00    1,855.69
                                                              05       36.00    1,391.76
                                                              06       50.00    1,933.01
                                                              07       40.00    1,546.41
                                                              08       45.00    1,802.68
                                                              09       40.00    1,602.38
                                                              10       30.00    1,201.80
                                                              11       30.00    1,201.80
                                                              12       30.00    1,201.79
                                                              13       30.00    1,201.80
                                                              14       20.00      801.19
                                                              15       35.00    1,402.07
                                                              16       21.00      841.24
                                                              17        9.00      360.54
                                                              18        5.00      200.30
                                                              19       24.00      961.42
                                                              20       10.00      400.60
                                                              21       41.00    1,642.43
                                                              22        6.00      240.36
                                                              23       14.00      560.83
                                                              24       62.00    2,483.68
                                                              25       19.00      761.13
                                                              27        5.00      200.29
                                                     1999     01       38.00    1,522.24
                                                              02       26.00    1,041.55
                                                              03       26.00    1,041.55
                                                              04       12.00      480.72
                                                              05       25.00    1,001.48
                                              Exhibit 4-A     06       24.00      961.42
                                                0103
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay      Payroll        Payroll
Employee Name                                       Year     Period    Hours          Costs
COLLINS, PATTI                                       1999     07         6.00         240.36
                                                              08        27.00       1,126.34
                                                              09        26.00       1,084.63
                                                              10        22.00         917.76
                                                              11        34.00       1,418.36
                                                              12        18.00         750.90
                                                              13        56.00       2,336.12
                                                              14        16.00         667.46
                                                              15        15.00         625.74
                                                              16        21.00         875.95
                                                              17         9.00         375.41
                                                              18         4.00         171.63
                                                              19         2.00          85.82
                                                              20         6.00         257.46
                                                              21        15.00         643.66
                                                              25        10.00         429.11
                                                                      3,293.00   $126,432.12

COMMISSO, ANGELA                                     1990     27         1.50          25.64
MANAGEMENT ANALYST
                                                                         1.50        $25.64

COOPER, DAVID                                        1995     19         3.00         61.43
COMMUNITY RELATIONS SPECIALIST                                20        10.00        204.76
                                                     1996     13         2.50         53.93
                                                              18         4.00         96.81
                                                              20         2.00         48.39
                                                              22         1.50         36.52
                                                              23         2.50         60.86
                                                              24         2.00         48.68
                                                              25         1.00         24.34
                                                              26         0.50         12.18
                                                     1997     03         0.50         12.18
                                                                        29.50       $660.08

COOPER, GAIL                                         1994     16         1.00          49.39
REGIONAL COUNSEL                                     1998     24         1.00          56.49
                                              Exhibit 4-A
                                                0104
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
COOPER, GAIL                                         1999     03        0.50       28.25
                                                                        2.50     $134.13

COOPER, VIOLA                                        1993     13       10.00      175.13
COMMUNITY INVOLVEMENT COORD.                                  16        6.00      105.07
                                                              17        3.00       52.54
                                                              18        8.00      169.52
                                                              20        2.00       42.38
                                                     1994     19        4.00       90.49
                                                              20        1.00       22.63
                                                              22        4.00       90.49
                                                              23        9.00      203.58
                                                              24        6.00      135.94
                                                                       53.00    $1,087.77

CURNOW, BETSY                                        1991     04        2.00       56.61
SUPV ENVIRONMENTAL SCIENTIST                                  05        3.00       84.93
                                                              07        2.00       56.62
                                                              08        3.00       84.93
                                                              09        4.00      127.85
                                                              12        1.00       31.96
                                                                       15.00     $442.90

DIEBOLD, TINA C.                                     1991     23        5.00       84.34
CHEMIST                                                       24       48.00      809.68
                                                              25        3.00       50.60
                                                                       56.00     $944.62

DIEHL, KATHY                                         1992     10        2.50       73.48
ENVIRONMENTAL ENGINEER                                        11        2.00       58.79
                                                              14        8.00      235.13
                                                              16        1.50       44.10
                                                              17       27.00      793.55
                                                              18       13.50      397.38
                                                              19        8.00      235.13
                                                              21       10.50      299.42
                                                              22       29.50      841.20
                                              Exhibit 4-A     24       24.50      698.64
                                                0105
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
DIEHL, KATHY                                         1992     25       42.50     1,211.89
                                                              26        8.00       228.12
                                                              27       13.50       384.95
                                                     1993     01        6.00       171.09
                                                              02       10.50       299.42
                                                              15        2.00        60.87
                                                              17       19.50       593.44
                                                                      229.00    $6,626.60

ELIAS, JEANNE                                        1998     02       14.00      458.92
ATTORNEY                                                      03        5.00      163.90
                                                              04        4.00      131.11
                                                              05        2.00       65.57
                                                              06        6.00      196.68
                                                              08       16.00      543.78
                                                              09        6.00      203.92
                                                              10       19.00      645.73
                                                              11       18.00      611.75
                                                              12        5.00      169.93
                                                              13        2.00       67.98
                                                              14        1.00       33.98
                                                              15        4.00      135.94
                                                              16        1.00       33.98
                                                              17        1.00       33.98
                                                              20        4.00      135.94
                                                              21        2.00       68.54
                                                              22        2.00       70.78
                                                              23        6.00      212.33
                                                              24       12.00      424.64
                                                              25        5.00      176.94
                                                              26        7.00      247.71
                                                              27        2.00       70.78
                                                     1999     01        4.50      159.24
                                                              02       13.00      474.95
                                                              03        4.50      164.41
                                                              04        7.00      255.73
                                              Exhibit 4-A     05        8.00      292.28
                                                0106
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
ELIAS, JEANNE                                        1999     06       10.00        365.36
                                                              08       26.50      1,008.11
                                                              09       11.00        418.46
                                                              10        5.50        209.23
                                                              11        3.00        114.13
                                                              12       13.00        494.54
                                                              13       12.50        475.52
                                                              14        8.50        323.36
                                                              15        7.00        266.29
                                                              16        4.00        152.16
                                                              17        8.00        304.33
                                                              18        2.50         95.10
                                                              19        3.50        133.15
                                                              20       13.50        513.56
                                                              21       13.50        585.67
                                                              22        6.50        281.98
                                                              23        9.00        390.45
                                                              25        3.00        130.15
                                                              26        8.00        347.07
                                                              27        6.00        260.29
                                                     2000     01       13.00        563.98
                                                              02        9.00        390.45
                                                              03        5.00        216.91
                                                              04       13.00        563.98
                                                              06        6.00        260.29
                                                              07        1.00         43.38
                                                              08        5.00        229.18
                                                              10        3.00        137.50
                                                              11        2.00         91.67
                                                                      412.50    $15,617.67

ERICKSON, KENNETH J.                                 1990     27        4.00       105.05
ENVIRONMENTAL ENGINEER                               1992     22        2.00        65.56
                                                     1993     11        2.00        70.11
                                                                        8.00      $240.72

FELTER, FRASER                                       1990     21        1.00        17.34
                                              Exhibit 4-A
                                                0107
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
COMMUNITY RELATIONS SPECIALIST                       1990     23       18.00     311.66
                                                              24        1.00      17.32
                                                              25       51.00     883.02
                                                              26       16.00     277.03
                                                     1991     01        8.00     138.50
                                                              02       16.00     277.03
                                                              03       55.00     952.28
                                                              04       35.00     605.98
                                                              05        2.00      34.62
                                                              06        1.00      17.32
                                                              07        3.00      51.94
                                                              08        2.00      34.62
                                                              10        6.00     141.17
                                                              11        7.00     164.70
                                                              12        8.00     188.22
                                                              13        4.00      94.12
                                                              14       19.00     447.04
                                                              15       12.00     282.35
                                                              16       11.00     258.79
                                                              17        2.00      47.06
                                                              19        2.00      47.06
                                                              20        2.00      47.06
                                                              21        8.00     188.22
                                                              22        7.00     164.71
                                                              23       15.00     352.98
                                                              24        8.00     188.22
                                                              25        8.00     188.22
                                                              26       34.00     799.96
                                                              27        4.00      94.12
                                                     1992     01        6.00     141.17
                                                              02        5.00     117.55
                                                              03        2.00      47.02
                                                              04       14.00     329.13
                                                              05        7.00     164.57
                                                              06        3.00      70.53
                                                              07        3.00      70.53
                                              Exhibit 4-A     08        3.00      70.53
                                                0108
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
FELTER, FRASER                                       1992     09        5.00     126.49
                                                              10       15.00     392.14
                                                              11        7.00     182.98
                                                              12        6.00     156.85
                                                              13        7.00     182.99
                                                              14       13.00     339.86
                                                              15       12.00     313.68
                                                              16       28.00     731.99
                                                              17       14.00     365.97
                                                              18        2.00      52.26
                                                              19       12.00     313.68
                                                              20        6.00     156.85
                                                              21        2.00      52.29
                                                              22       18.00     470.56
                                                              23        2.00      52.29
                                                              24        7.00     182.99
                                                              25       12.00     313.72
                                                              26       35.00     914.99
                                                     1993     02        2.00      52.29
                                                              06        5.00     130.72
                                                              07        2.00      52.29
                                                              09        3.00      81.32
                                                              10        2.00      55.94
                                                              11        8.00     223.78
                                                              14        2.00      62.38
                                                              17        9.00     280.73
                                                              18        2.00      57.88
                                                              19        3.00      83.92
                                                              20        4.00     111.90
                                                              21       14.00     391.63
                                                              22        3.00      83.92
                                                              24        3.00      83.92
                                                              25       15.00     419.60
                                                     1994     01        2.00      55.94
                                                              02        2.00      55.94
                                                              04       20.00     559.46
                                              Exhibit 4-A     05        4.00     111.90
                                                0109
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
FELTER, FRASER                                       1994     07        4.00     111.90
                                                              08        2.00      55.94
                                                              09        2.00      55.94
                                                              13        2.00      57.70
                                                              14        2.00      57.70
                                                              15        2.00      57.70
                                                     1995     04        2.00      57.02
                                                              05        2.00      57.01
                                                              07        4.00     114.04
                                                              08        4.00     114.04
                                                              09       13.00     378.52
                                                              10        4.00     116.47
                                                              11       12.00     349.41
                                                              12       17.00     495.00
                                                              13        8.00     232.96
                                                              14        2.00      58.23
                                                              15       24.00     698.82
                                                              16        4.00     116.47
                                                              20       21.00     611.47
                                                              24        2.00      58.23
                                                              25        2.00      58.23
                                                              27       15.00     436.76
                                                     1996     01        6.00     174.71
                                                              05        4.00     116.47
                                                              06        7.00     203.83
                                                              07        1.00      29.11
                                                              09        6.00     184.99
                                                              10       21.00     647.49
                                                              11        3.00      92.50
                                                              12       16.00     493.32
                                                              13        6.00     184.99
                                                              14        2.00      61.67
                                                              15        4.00     123.32
                                                              17        1.00      30.84
                                                              18        4.00     123.32
                                                              19        2.00      61.67
                                              Exhibit 4-A     20        4.00     123.32
                                                0110
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
FELTER, FRASER                                       1996     21       25.00       770.81
                                                              22        5.00       154.16
                                                              23        3.00        92.50
                                                              24        2.00        61.67
                                                     1997     02        3.00        92.50
                                                              03        1.00        30.84
                                                                      993.00    $24,785.32

FERGUSON, WENDELL D.                                 1994     22        8.00        81.13
OFFICE AUTOMATION CLERK
                                                                        8.00       $81.13

FITZGERALD, ROBERT                                   2004     13        0.50        29.04
ACTING CHIEF, CLEANUP SECTION 2                               18        1.00        59.66
                                                              19        1.00        59.65
                                                              20        1.00        59.66
                                                                        3.50      $208.01

FONG, VANCE                                          1991     17        3.00        80.85
SUPV. ENVIRONMENTAL SCIENTIST                                 18        9.00       242.56
                                                                       12.00      $323.41

FONG, YVONNE                                         1994     14        2.00         48.34
COST ACCOUNTANT                                               18        5.75        138.98
                                                     1996     16       37.00        968.27
                                                              17       20.00        523.39
                                                              19       12.50        327.12
                                                              20        2.75         71.98
                                                     1997     08        0.50         14.01
                                                              11        2.00         56.02
                                                              13        3.00         84.01
                                                              15        6.50        182.05
                                                              16       30.75        861.18
                                                     1999     12       15.75        510.35
                                                              13       21.25        688.56
                                                              21       18.00        583.16
                                                              22       29.75        963.86
                                              Exhibit 4-A     23       33.75      1,093.45
                                                0111
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
FONG, YVONNE                                         1999     24       26.75        866.67
                                                     2002     16        0.50         21.67
                                                              18        6.25        270.82
                                                              20       21.25        947.26
                                                              21       38.00      1,693.93
                                                              22        1.50         66.86
                                                              23       24.75      1,103.28
                                                     2003     01        1.00         45.81
                                                              02        0.25         11.35
                                                              10       15.25        717.36
                                                              11        1.25         58.79
                                                              18        1.50         71.70
                                                              20       10.50        501.94
                                                              21       18.25        872.42
                                                     2004     03        4.25        203.18
                                                                      412.50    $14,567.77

FREITAS, RICHARD                                     1990     22        2.00        42.79
HYDROLOGIST                                                   23        8.00       171.16
                                                              24        8.00       171.16
                                                     1991     04        8.00       170.78
                                                              05       13.00       277.56
                                                              06       23.00       491.05
                                                              07        4.00        85.40
                                                              09       21.00       522.59
                                                     1993     03       20.00       552.83
                                                              05        2.00        55.28
                                                              07        4.00       110.56
                                                              08       12.00       331.69
                                                              10       16.00       459.33
                                                                      141.00     $3,442.18

GENTILE, LAURA                                       1991     16       45.00       753.07
ENVIRONMENTAL SCIENTIST
                                                                       45.00      $753.07

GREEN, LOIS                                          1990     23        8.25       177.25
                                              Exhibit 4-A
ENVIRONMENTAL SCIENTIST                         0112
                                                              24       32.75       707.97
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
GREEN, LOIS                                          1990     25        0.75       16.22
                                                              26       18.25      393.41
                                                              27       16.00      345.87
                                                     1991     01       15.50      335.06
                                                              02       22.25      480.98
                                                              03       14.00      302.64
                                                              04       35.00      756.58
                                                              05       36.50      789.01
                                                              06       49.75    1,106.75
                                                              07       22.75      504.86
                                                              08       52.50    1,167.91
                                                              09       62.25    1,558.79
                                                              10       40.75    1,020.42
                                                              11       25.50      638.54
                                                              12       40.25    1,007.89
                                                              13       17.50      438.21
                                                              14        9.00      225.37
                                                              15        9.25      231.63
                                                              16        6.25      156.51
                                                              17        7.25      181.56
                                                              18        1.00       25.31
                                                              19        9.50      237.74
                                                              20        5.75      143.99
                                                              21        0.50       12.52
                                                              22        5.25      131.47
                                                              23        4.00      100.17
                                                              24        3.00       75.12
                                                              26        4.00      100.17
                                                              27        0.50       12.52
                                                     1992     01        5.00      125.20
                                                              02        1.50       37.56
                                                              03        0.75       18.79
                                                              04        0.25        6.26
                                                              06        2.75       68.88
                                                              07        2.00       50.07
                                                              08        2.75       68.88
                                              Exhibit 4-A     09        0.50       13.06
                                                0113
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
GREEN, LOIS                                          1992     12        0.75        19.60
                                                              13       11.50       300.43
                                                              14        0.25         6.54
                                                              17        0.25         5.19
                                                              24        0.25         5.23
                                                              25        0.50        13.06
                                                     1993     02        0.75        19.60
                                                              07        0.25         5.38
                                                              14        0.25         6.98
                                                              22        0.50        13.94
                                                              24        1.00        27.87
                                                     1994     02        1.25        34.85
                                                              06        1.00        27.87
                                                              08        1.50        41.81
                                                     1995     02        1.50        41.87
                                                                      612.75    $14,341.36

HAAGE, LISA                                          1990     23        2.00        63.70
SUPV ATTORNEY ADVISOR (GEN)
                                                                        2.00       $63.70

HADLOCK, HOLLY                                       1990     21       16.00       311.06
ENVIRONMENTAL PROTECTION SPECIALIST                           22        8.00       155.52
                                                                       24.00      $466.58

HANAMOTO, WILLIAM                                    1995     23        6.00       143.38
COST ACCOUNTANT                                               24       27.00       645.16
                                                              25       18.00       430.10
                                                     1996     16       14.00       343.04
                                                                       65.00     $1,561.68

HEDEEN, ROBERTA                                      1990     26        1.00         15.54
ENVIRONMENTAL SCIENTIST                              1991     10       35.00        608.17
                                                              14        3.00         62.67
                                                              15        4.00         83.56
                                                              16       58.00      1,211.56
                                                              17        3.00         62.67
                                              Exhibit 4-A     20        3.00         62.67
                                                0114
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Fiscal     Pay     Payroll     Payroll
Employee Name                                      Year      Period   Hours       Costs
HEDEEN, ROBERTA                                     1991      22        4.00        83.56
                                                              23        9.00       188.01
                                                              24       65.00     1,357.80
                                                              25       14.00       292.44
                                                              26        5.00       104.46
                                                    1992      03        3.00        62.60
                                                              05       13.00       271.32
                                                              06       35.00       730.54
                                                              12       13.00       337.75
                                                              13        5.00       129.90
                                                              15       19.00       472.52
                                                              16        3.00        77.95
                                                              17        6.00       155.89
                                                              19       21.00       545.67
                                                              21        6.00       155.89
                                                              22       19.00       493.63
                                                              24        3.00        77.94
                                                                      350.00    $7,644.71

HENDRIX, KENNETH                                    1995      16        1.00       28.69
CHEMIST                                                       19        2.00       57.36
                                                              20        1.50       43.02
                                                              21        3.00       86.05
                                                              22        3.50      100.39
                                                                       11.00     $315.51

HIATT, GERALD                                       1991      16        2.00       71.26
TOXICOLOGIST
                                                                        2.00      $71.26

HILL, TERESA L.                                     1991      16       51.00      853.49
ENVIRONMENTAL SCIENTIST
                                                                       51.00     $853.49

HINGERTY, MICHAEL                                   1992      04        1.50       45.66
ATTORNEY ADVISOR (GENERAL)                          1997      22        0.50       23.36
                                                              26        0.25       11.68
                                              Exhibit 1998
                                                      4-A     11        0.25       12.03
                                                0115
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
HINGERTY, MICHAEL                                    1998     24        1.25       60.17
                                                     1999     05        0.50       22.91
                                                                        4.25     $175.81

HUETTEMAN, THOMAS                                    1990     21        2.00       44.16
ENVIRONMENTAL SCIENTIST                                       22       32.00      706.58
                                                              23        2.00       44.16
                                                              24        5.00      110.40
                                                              27       10.00      220.82
                                                     1991     02        2.00       44.16
                                                              09        8.00      197.48
                                                              10       32.00      789.92
                                                              11        5.00      127.41
                                                              16       16.00      407.74
                                                                      114.00    $2,692.83

HUSBY, PETER                                         1991     09        2.00       51.36
ENVIRONMENTAL SCIENTIST                                       10        6.00      154.08
                                                              24       37.00      979.70
                                                              25        2.00       52.96
                                                     1995     15        1.00       35.25
                                                              16        0.50       17.63
                                                                       48.50    $1,290.98

JOHANSEN, JUDY                                       1991     17       19.00      435.26
GRANTS MANAGEMENT SPECIALIST
                                                                       19.00     $435.26

JOHNSON, IVRY                                        1995     20        3.00       46.81
FOIA/PUBLIC AFFAIRS ASSISTANT
                                                                        3.00      $46.81

JOHNSON, KATHLEEN                                    1999     01        1.00       53.63
ATTORNEY ADVISOR (GENERAL)                                    02        1.00       52.05
                                                              06        3.00      156.18
                                                              08        6.50      370.96
                                                     2000     02        1.00       54.30
                                              Exhibit 4-A     10        1.00       60.33
                                                0116
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
JOHNSON, KATHLEEN                                    2001     13        2.00      129.88
                                                              16        1.50       97.41
                                                              17        3.00      194.81
                                                              19        1.00       64.94
                                                                       21.00    $1,234.49

JOHNSON, ROGER P.                                    1993     05        1.00       32.98
SUPERVISORY GRANTS MANAGEMENT SPECIALIST
                                                                        1.00      $32.98

JOHNSON, SHARON                                      1990     26        1.50        24.48
ENVIRONMENTAL PROTECTION SPECIALIST                  1991     05        1.50        24.48
                                                              08        9.00       146.83
                                                              09        3.50        63.82
                                                              13        1.50        27.22
                                                              16        1.00        18.80
                                                              19        1.00        18.76
                                                              21        1.00        18.76
                                                              22        2.00        37.56
                                                              23        6.00       112.74
                                                              24        6.00       112.74
                                                     1992     19        1.00        20.24
                                                     1994     14        3.00        70.95
                                                     1995     17        6.00       146.97
                                                              22        1.50        36.75
                                                     1996     16       11.50       297.39
                                                              17        3.00        86.56
                                                              22        1.50        43.28
                                                     2000     08        3.25       120.17
                                                              22        2.00        79.67
                                                              23        2.75       109.56
                                                     2002     10       35.00     1,640.77
                                                              11        3.00       140.64
                                                              14       16.00       750.06
                                                              15       18.00       843.83
                                                              16        1.50        70.31
                                                              20        0.50        23.43
                                              Exhibit 4-A
                                                0117
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
JOHNSON, SHARON                                      2002     21        9.00        426.30
                                                              22       43.00      2,015.79
                                                              23       37.25      1,746.25
                                                              24       16.00        750.24
                                                              25        8.00        375.09
                                                              26       15.00        703.19
                                                              27        7.50        353.52
                                                     2003     03        4.50        210.95
                                                              10       12.50        624.73
                                                              16        4.00        203.18
                                                              17       32.50      1,650.78
                                                              18       44.00      2,234.91
                                                              19       28.00      1,422.21
                                                              21       33.00      1,676.18
                                                              22       79.00      4,012.67
                                                              24        4.00        204.32
                                                              25        9.75        495.25
                                                              26        5.00        253.99
                                                     2004     01        2.50        127.70
                                                              02        4.00        203.18
                                                              10       12.50        649.86
                                                              11        6.50        337.92
                                                              12        0.75         38.99
                                                                      561.75    $25,803.97

JONES, DAVID                                         1990     22        2.00        72.09
SUPVY ENV PROT SPEC.                                          26        3.00       107.89
                                                     1991     01        4.00       142.26
                                                              04        4.00       144.27
                                                              05        2.00        72.13
                                                              07        2.00        73.10
                                                              08        5.00       182.78
                                                              09        5.00       205.50
                                                              11        5.00       205.52
                                                              12        2.00        82.19
                                                              15        3.00       123.31
                                              Exhibit 4-A     16        3.00       123.29
                                                0118
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
JONES, DAVID                                         1991     17        4.00     164.40
                                                              18       11.00     452.12
                                                              19       15.00     616.54
                                                              20        2.00      82.19
                                                              21        3.00     123.31
                                                              22       14.00     575.43
                                                              25        9.00     369.91
                                                              26        4.00     164.40
                                                              27        1.00      41.10
                                                     1992     01        2.00      82.21
                                                              02        2.00      84.52
                                                              03        7.00     287.72
                                                              04        2.00      84.53
                                                              05        4.00     169.04
                                                              07        1.00      42.25
                                                              08        2.00      84.52
                                                              10        2.00      88.05
                                                              11        2.00      88.05
                                                              12        9.00     396.28
                                                              13        1.00      44.03
                                                              14        1.00      44.03
                                                              15        7.00     308.21
                                                              16        1.00      44.02
                                                              17        2.00      88.06
                                                              18        2.00      88.06
                                                              19       11.00     484.34
                                                              21        2.00      88.06
                                                              23        3.00     132.10
                                                              24       16.00     704.49
                                                              26       14.00     616.43
                                                              27        1.00      44.03
                                                     1993     01        2.00      88.06
                                                              02        7.00     316.64
                                                              03       10.00     452.35
                                                              04        7.00     316.64
                                                              05        3.00     135.70
                                              Exhibit 4-A     06       11.00     497.58
                                                0119
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
JONES, DAVID                                         1993     07        2.00        90.47
                                                              09        1.00        46.91
                                                              11        1.00        46.91
                                                              12       10.00       469.05
                                                              13        3.00       140.71
                                                              14        2.00        93.81
                                                              15        3.00       140.71
                                                              16        4.00       187.62
                                                              17        1.00        46.91
                                                              18        2.00        93.81
                                                              20        3.00       140.71
                                                              21        2.00        93.81
                                                              22        2.00        93.81
                                                              24        1.00        46.91
                                                              26        3.00       140.71
                                                              27        1.00        46.91
                                                     1994     02        1.00        46.91
                                                              04        2.00        96.31
                                                              05        2.00        96.31
                                                              06        1.00        48.15
                                                              07        2.00        96.31
                                                              09        2.00        96.31
                                                              10        2.00        96.31
                                                              12        1.00        48.15
                                                              13        4.00       192.61
                                                              14        2.00        96.30
                                                              15        5.00       240.76
                                                                      302.00    $13,097.93

KEENER, WILLIAM                                      1991     18        2.00        70.96
ATTORNEY ADVISOR (GENERAL)                           1996     02        2.00        84.94
                                                              04        3.00       121.12
                                                              12        1.00        43.32
                                                                        8.00      $320.34

KEMMERER, JOHN                                       1996     13        1.00        43.76
SUPERVISORY ENVIRONMENTAL SCIENTIST                  1997     04        1.00        44.54
                                              Exhibit 4-A
                                                0120
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
KEMMERER, JOHN                                       1997     09        4.50      220.70
                                                              10        1.00       49.05
                                                     1998     21        5.00      260.78
                                                              24        1.00       52.15
                                                     1999     01        1.00       50.70
                                                              02        8.00      408.86
                                                              05        2.00      102.21
                                                              06        2.00      102.21
                                                              08        7.00      391.76
                                                              09        1.00       55.97
                                                     2000     06        3.00      159.58
                                                     2002     27        1.00       66.86
                                                                       38.50    $2,009.13

KLEIN, ROGER M.                                      1996     22        2.00       80.59
ATTORNEY ADVISOR (GENERAL)                                    23        2.00       81.16
                                                              24        2.00       81.38
                                                              25        1.00       41.55
                                                     1997     07        1.00       41.55
                                                              08       19.50      766.37
                                                              09       12.00      516.80
                                                              10        7.00      302.06
                                                              11        6.50      280.50
                                                              12        1.00       43.10
                                                              13        1.00       43.14
                                                              14        2.50      107.88
                                                              15        2.50      107.88
                                                              16        3.50      151.02
                                                              17        4.50      194.20
                                                              18        3.50      150.88
                                                              19        5.00      215.48
                                                              21        4.50      193.81
                                                              22        1.50       64.64
                                                              23        2.00       86.13
                                                                       84.50    $3,550.12

KOZELKA, PETER                                       1998     16       40.00     1,000.21
                                              Exhibit 4-A
                                                0121
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
WATER CONSULTANT                                     1998     17       40.00     1,000.21
                                                              18       40.00     1,192.96
                                                              19       40.00     1,192.96
                                                              21       31.50       939.46
                                                              22       27.50       820.16
                                                              24       39.00     1,163.14
                                                              25       36.00     1,073.67
                                                              27        4.50       134.22
                                                                      298.50    $8,516.99

KREMER, THOMAS                                       1998     20        2.00       93.53
SUPVY.ENVIRONMENTAL PROTECT.SPECIALIST               2002     26        2.00      120.26
                                                                        4.00     $213.79

LAU, NATHAN                                          1996     08        1.00       40.03
SUPV ENVIRONMENTAL PROTECTION SPEC                            15        1.00       40.03
                                                              17        1.00       40.03
                                                              19        3.50      140.10
                                                              22        0.50       20.02
                                                                        7.00     $280.21

LEE, BARBARA                                         1991     04        1.00       16.51
ENVIRONMENTAL PROTECTION SPEC.                                05        1.00       16.52
                                                              06        4.00       66.11
                                                              07        2.50       41.33
                                                              08        1.50       24.79
                                                              09       27.50      547.38
                                                              11        1.00       17.26
                                                              14        1.00       20.35
                                                     1993     21        4.00      107.98
                                                     1994     15        1.00       27.86
                                                              16        0.50       14.20
                                                              17        2.25       62.71
                                                              18        3.00       83.59
                                                     1995     02        3.25       89.48
                                                              06        2.00       55.05
                                                     1996     12        1.50       45.92
                                              Exhibit 4-A
                                                0122
                                                              13        7.00      214.29
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
LEE, BARBARA                                         1996     14        9.75      298.47
                                                              15        8.50      260.21
                                                              17        0.75       22.97
                                                              18        3.75      114.82
                                                              19        1.75       53.59
                                                              20        1.50       45.92
                                                              21        1.50       45.92
                                                     1997     12        4.00      130.98
                                                              13        1.00       33.68
                                                              14        0.50       16.84
                                                              15        1.75       58.92
                                                              16        1.25       42.10
                                                              17        3.50      117.86
                                                              18        1.00       33.68
                                                              19        0.50       16.84
                                                     1998     11        1.50       54.73
                                                                      106.50    $2,798.86

LEITH, SUZETTE                                       2002     21        2.00      130.41
ATTORNEY ADVISOR (GENERAL)                                    27        1.50       95.05
                                                     2003     01        6.00      380.20
                                                              04        3.00      186.35
                                                              05        0.50       31.05
                                                              06        0.50       31.05
                                                              10        6.00      405.51
                                                              11        1.00       67.60
                                                              14        3.00      206.05
                                                              15        1.50      103.04
                                                                       25.00    $1,636.31

LEWIS, WILLIAM                                       1990     22        8.00      229.18
ENVIRONMENTAL SCIENTIST                                       23       10.00      286.48
                                                              24        6.00      171.89
                                                              25       27.00      701.98
                                                              26        8.00      207.98
                                                              27        2.00       51.89
                                                     1991     02        5.00      143.24
                                              Exhibit 4-A
                                                0123
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
LEWIS, WILLIAM                                       1991     03        5.00       143.24
                                                              04        4.00       104.04
                                                              06        2.00        58.16
                                                              07        3.00        88.16
                                                              11        3.00        98.37
                                                              12        1.00        32.79
                                                              13        5.00       163.95
                                                              14        2.00        66.06
                                                              15        4.00       132.12
                                                              16       13.00       429.38
                                                              17       18.00       594.53
                                                              18        2.00        66.06
                                                              20        8.00       264.24
                                                              21        8.00       264.24
                                                              22       38.00     1,255.13
                                                              23        2.00        66.06
                                                              24        4.00       132.12
                                                              26       11.00       363.33
                                                              27        9.00       296.55
                                                     1992     02       11.00       360.70
                                                              03        8.00       262.32
                                                              04        2.00        65.58
                                                              05        2.00        66.06
                                                              06        4.00       132.12
                                                              07        4.00       132.12
                                                              10       12.00       412.87
                                                                      251.00    $7,842.94

LINDER, STEVEN                                       1990     21       71.00     1,377.07
ENVIRONMENTAL ENGINEER                                        22       80.00     1,551.62
                                                              23       86.00     1,677.96
                                                              24       70.50     1,379.82
                                                              25       27.00       523.66
                                                              26       73.00     1,415.86
                                                              27       39.00       756.41
                                                     1991     01       36.00       698.23
                                              Exhibit 4-A     02       66.00     1,280.08
                                                0124
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
LINDER, STEVEN                                       1991     03       80.00    1,551.62
                                                              04       69.00    1,338.25
                                                              05       44.00      853.39
                                                              06       44.00      866.68
                                                              07       61.00    1,183.11
                                                              08       71.00    1,377.07
                                                              09       65.00    1,445.91
                                                              10       36.00      800.78
                                                              11        9.00      200.21
                                                              12       62.00    1,379.18
                                                              13       71.00    1,579.36
                                                              14       44.00      978.75
                                                              16       78.00    1,735.10
                                                              17       64.00    1,458.70
                                                              18       46.00    1,042.28
                                                              19       71.00    1,618.24
                                                              20       36.00      820.49
                                                              21       35.00      845.96
                                                              22       80.00    1,933.63
                                                              23       78.00    1,885.27
                                                              24       80.00    1,933.63
                                                              25       52.00    1,256.86
                                                              26       72.00    1,740.27
                                                              27       48.00    1,160.18
                                                     1992     01       26.00      628.42
                                                              02       60.00    1,449.08
                                                              03       57.00    1,376.58
                                                              04       70.00    1,690.57
                                                              05       54.00    1,304.11
                                                              06       77.00    1,859.61
                                                              07       18.00      434.72
                                                              08       60.00    1,449.08
                                                              09       68.00    1,769.30
                                                              10       78.00    2,029.51
                                                              11       59.00    1,535.13
                                                              12       52.00    1,352.99
                                              Exhibit 4-A     13       68.00    1,769.30
                                                0125
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay      Payroll        Payroll
Employee Name                                       Year     Period    Hours          Costs
LINDER, STEVEN                                       1992     14        74.00       1,925.40
                                                              15        52.00       1,352.99
                                                              16        77.00       2,003.45
                                                              17        68.00       1,769.30
                                                              18        68.00       1,769.29
                                                              19        76.00       1,977.46
                                                              20        69.00       1,795.32
                                                              21        62.00       1,767.61
                                                              22        72.00       2,052.71
                                                              24        69.00       1,967.19
                                                              25        67.00       1,910.17
                                                              26        66.00       1,881.67
                                                              27        70.00       1,995.72
                                                     1993     01         6.00         171.05
                                                              02        68.00       1,938.67
                                                              03        40.00       1,140.40
                                                              04        57.00       1,625.07
                                                              05        67.00       1,910.15
                                                              06        66.00       1,881.66
                                                              07        62.00       1,767.62
                                                              08        71.00       2,024.21
                                                              09        67.00       1,982.59
                                                              10        68.00       2,012.19
                                                              11        53.00       1,568.32
                                                              12        73.00       2,160.15
                                                              13        52.00       1,538.72
                                                              14        43.00       1,272.40
                                                                      4,374.50   $107,455.51

LINDSAY, NANCY                                       1996     13         1.00         49.95
SUPV ENVIRONMENTAL PROTECTION SPECI                           16         1.00         49.95
                                                              19         3.00        149.86
                                                                         5.00       $249.76

LOI, DONALD                                          1995     23         1.50          22.58
ACCOUNTING TECHNICIAN                                         24         1.25          18.83
                                                     1996     11         0.75          12.40
                                              Exhibit 4-A
                                                0126
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                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
LOI, DONALD                                          1996     12        0.75       12.40
                                                              17        5.75       95.05
                                                              18        3.00       49.58
                                                              19        1.00       16.53
                                                              20        0.50        8.27
                                                              21        0.25        4.13
                                                     1997     08        0.75       13.55
                                                              09        0.50        9.30
                                                              11        0.25        4.65
                                                              16        3.25       60.43
                                                              17        0.50        9.30
                                                              19        1.00       18.59
                                                     1999     13        1.00       22.69
                                                              23        1.00       22.69
                                                              25        1.50       34.01
                                                                       24.50     $434.98

MA, LINDA                                            1996     25        2.00       60.86
ENVIRONMENTAL PROTECTOIN SPECIALIST                  1997     15        2.00       65.23
                                                              16        5.00      162.28
                                                              17        5.00      161.67
                                                              21        4.00      129.35
                                                              25        2.00       64.67
                                                     1998     09        3.00      109.21
                                                              10        3.00      109.21
                                                              11        3.00      109.21
                                                              12        2.00       72.82
                                                              13        1.00       36.40
                                                              17        1.00       36.40
                                                              19        3.00      109.21
                                                              20        1.00       36.42
                                                              24        1.00       36.40
                                                              25        4.00      145.60
                                                     1999     18        1.00       39.02
                                                                       43.00    $1,483.96

MACK, PATRICIA A.                                    1990     21        3.00       70.91
                                              Exhibit 4-A
                                                0127
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
CHEMIST                                              1990     23        6.00      141.81
                                                     1991     05        6.00      141.81
                                                              12        2.00       49.66
                                                              18        3.00       84.99
                                                              19        1.00       28.32
                                                              26        2.50       70.83
                                                              27        1.00       28.32
                                                                       24.50     $616.65

MAGNUSON, JANET                                      2004     11       14.00      861.29
Attorney-Adviser                                              12        0.50       30.76
                                                              14        2.50      153.80
                                                              15        4.00      252.90
                                                              16        5.00      316.12
                                                              19        3.00      189.67
                                                              20        8.00      505.79
                                                                       37.00    $2,310.33

MALDONADO, LEWIS                                     2001     12        1.25       67.80
ATTORNEY ADVISOR (GENERAL)                                    13        1.75       94.93
                                                              14        0.75       40.67
                                                              15        2.25      122.02
                                                              16        3.25      176.28
                                                              17        1.50       81.35
                                                              18        2.00      108.47
                                                              19        0.75       40.67
                                                              20        1.00       54.23
                                                              21        1.00       54.23
                                                              22        0.25       13.55
                                                     2002     02        0.50       27.12
                                                     2003     26        0.50       34.23
                                                     2004     12        0.50       35.12
                                                                       17.25     $950.67

MARTYN, RICHARD                                      1991     27       10.00      288.14
ENVIRONMENTAL PROTECTION SPECIALIST
                                                                       10.00     $288.14
                                              Exhibit 4-A
                                                0128
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Fiscal    Pay     Payroll     Payroll
Employee Name                                      Year     Period   Hours       Costs
MARVEL, NANCY                                      1990      23        0.50       20.88
REGIONAL COUNSEL                                   1991      08        1.00       41.74
                                                             10        0.50       25.49
                                                   1993      09        2.00      115.04
                                                             14        1.00       57.52
                                                   1994      11        1.50       91.72
                                                                       6.50     $352.39

MCCARTY, KELLY S.                                  1990      25       18.00      459.81
MCCARTY, KELLY S.
ENVIRONMENTAL ENGINEER
                                                                      18.00     $459.81

MCKINLEY, CHARLES C.                               1992      05        4.00      170.93
SUPVY ATTORNEY ADVISOR (ENVIRONMENTAL)                       06        4.00      170.92
                                                   1993      09        2.00       96.77
                                                             14        3.00      145.16
                                                             17        2.00       96.77
                                                   1994      02        2.00       92.16
                                                             04        2.00       94.91
                                                             22        1.00       49.92
                                                             23        1.00       49.92
                                                   1995      12        2.00      100.73
                                                             18        1.00       50.37
                                                             25        2.00      100.31
                                                             26        2.00       95.71
                                                             27        2.00       95.70
                                                   1996      09        2.00      106.55
                                                             11        1.00       53.27
                                                             12        1.00       53.27
                                                             15        1.00       53.27
                                                             16        3.00      159.82
                                                             18        1.50       79.92
                                                             19        3.00      159.82
                                                             22        0.50       26.64
                                                                      43.00    $2,102.84
                                              Exhibit 4-A
MONTGOMERY, MICHAEL                             0129
                                                     1993    20       19.00      645.88
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
ENVIRONMENTAL PROTECTION SPECIALIST                  1993     21       10.00      339.94
                                                              22        8.00      271.96
                                                              24       14.00      475.92
                                                              25       61.00    2,073.64
                                                              26       65.00    2,209.60
                                                              27       55.00    1,869.65
                                                     1994     01        8.00      271.96
                                                              02       64.00    2,175.61
                                                              03       55.00    1,869.67
                                                              04       69.00    2,345.57
                                                              05       52.00    1,767.68
                                                              06       71.00    2,413.57
                                                              07       62.00    2,107.62
                                                              08       67.00    2,277.59
                                                              09       68.00    2,311.59
                                                              10       66.00    2,243.60
                                                              11       80.00    2,719.51
                                                              12       67.00    2,277.59
                                                              13       78.00    2,651.53
                                                              14       69.00    2,345.57
                                                              15       70.00    2,452.52
                                                              18       49.00    1,716.77
                                                              19       59.00    2,067.13
                                                              20       68.00    2,382.45
                                                              21       60.00    2,102.16
                                                              22       70.00    2,452.52
                                                              23       65.00    2,277.34
                                                              24       42.00    1,471.51
                                                              25       69.00    2,417.48
                                                              26       43.00    1,506.55
                                                              27       66.00    2,312.37
                                                     1995     02       55.00    1,904.47
                                                              03       67.00    2,319.99
                                                              04       32.00    1,108.06
                                                              05       54.00    1,869.84
                                                              06       72.00    2,493.12
                                              Exhibit 4-A     07       66.00    2,285.36
                                                0130
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
MONTGOMERY, MICHAEL                                  1995     08       54.00    1,869.84
                                                              09       59.00    2,084.05
                                                              10       62.00    2,190.02
                                                              11       76.00    2,684.55
                                                              12       69.00    2,437.27
                                                              13       79.00    2,790.51
                                                              14       80.00    2,825.83
                                                              15       44.00    1,554.20
                                                              16       68.00    2,401.96
                                                              17       26.00      918.41
                                                              18       49.00    1,730.82
                                                              19       16.00      565.17
                                                              20       63.00    2,225.35
                                                              21       54.00    1,907.43
                                                              22       69.00    2,437.27
                                                              23       39.00    1,377.59
                                                              25       27.00      953.72
                                                              26       56.00    1,978.09
                                                              27       66.00    2,331.32
                                                     1996     01       30.00    1,059.68
                                                              02       54.00    1,907.44
                                                              03       53.00    1,872.12
                                                              04       24.00      847.75
                                                              05       66.00    2,331.31
                                                              06       27.00      953.72
                                                              07       12.00      423.89
                                                              08       20.00      725.69
                                                              09       65.00    2,358.49
                                                              10       68.00    2,467.31
                                                              11       49.00    1,777.93
                                                              12       56.00    2,031.92
                                                              13       53.00    1,923.07
                                                              14       44.00    1,644.02
                                                              15       47.00    1,756.12
                                                              16       37.00    1,382.46
                                                              17       20.00      747.28
                                              Exhibit 4-A     19        8.00      298.92
                                                0131
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay      Payroll        Payroll
Employee Name                                       Year     Period    Hours          Costs
MONTGOMERY, MICHAEL                                  1996     20        14.00        523.10
                                                              21        12.00        448.37
                                                                      3,930.00   $137,548.88

MOORE, KATHERINE                                     1999     25         8.00        388.70
ENVIRONMENTAL ENGINEER                               2001     25         1.00         55.21
                                                     2002     01         1.00         55.20
                                                                        10.00        $499.11

MORKOWSKI, MARGARET                                  1991     06         2.00          45.94
CONTRACTS PROJECT OFFICER
                                                                         2.00        $45.94

MOXLEY, BRET                                         1994     04        15.00         429.44
ENVIRONMENTAL ENGINEER                                        05         3.00          85.89
                                                              06        37.00       1,059.27
                                                              07        35.00       1,002.03
                                                              08        50.00       1,592.16
                                                              09        52.00       1,661.29
                                                              10        56.00       1,782.82
                                                              11        51.00       1,623.64
                                                              12        40.00       1,273.45
                                                              13        38.00       1,209.78
                                                              14        38.00       1,209.78
                                                              15        48.00       1,528.13
                                                              16        42.00       1,337.11
                                                              17        43.00       1,368.95
                                                              21        33.00       1,050.60
                                                              22        44.00       1,400.79
                                                              23        42.00       1,337.11
                                                              24        24.00         764.06
                                                              25        50.00       1,591.80
                                                              26        41.00       1,305.28
                                                              27        56.00       1,782.83
                                                     1995     02        22.00         692.21
                                                              03        55.00       1,730.53
                                                              04        35.00       1,101.24
                                              Exhibit 4-A
                                                0132
                                                              05        23.00         736.18
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay      Payroll      Payroll
Employee Name                                       Year     Period    Hours        Costs
MOXLEY, BRET                                         1995     06         8.00        302.09
                                                              07        45.00      1,415.89
                                                              09        27.00        881.17
                                                              10        43.00      1,380.51
                                                                      1,096.00   $34,636.03

NELSON, DENISE                                       1990     23         2.00        43.45
NELSON, SUNNY                                        1991     04         1.00        21.72
CONGRESSIONAL AFFAIRS SPECIALIST                              12         1.00        24.35
                                                              13         3.00        73.05
                                                              14         8.00       194.80
                                                              16         1.00        24.35
                                                              21         2.00        48.70
                                                              22         7.00       170.47
                                                              23        17.00       413.99
                                                              25         3.00        73.05
                                                     1992     12         1.00        25.43
                                                              14         1.00        25.43
                                                              24         1.00        26.15
                                                              26         8.00       209.23
                                                              27         3.00        78.46
                                                     1993     17         2.00        54.35
                                                              21         7.00       190.20
                                                              23         2.00        54.35
                                                              27         1.00        27.17
                                                     1995     25         2.00        56.97
                                                     1996     02         2.00        56.97
                                                              09         2.00        58.52
                                                              12         1.00        29.26
                                                     1998     24        15.00       520.71
                                                                        93.00     $2,501.13

OKORLEY, JULIANA                                     1999     13         1.50        19.88
FINANCIAL SPECIALIST                                          23         3.00        49.16
                                                              25         2.00        32.78
                                                              26         1.00        16.38

                                              Exhibit 4-A                7.50      $118.20
                                                0133
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
OPALSKI, DANIEL                                      1991     02        8.50     199.34
ENVIRONMENTAL ENGINEER
                                                                        8.50    $199.34

OPALSKI, PAMELA L.                                   1990     21       65.00      874.33
ENVIRONMENTAL PROTECTION SPECIALIST                           22       18.00      242.14
                                                              23       45.00      605.29
                                                              24       66.00      887.79
                                                              25       52.00      699.47
                                                              26       65.00      874.33
                                                              27       30.00      403.51
                                                     1991     01       23.00      309.30
                                                              02       54.00      726.37
                                                              03       63.00      847.43
                                                              04       59.00      793.60
                                                              05       57.00      790.91
                                                              06       54.00      871.92
                                                              07       33.00      532.84
                                                              08       44.00      710.44
                                                              09       57.00    1,038.01
                                                              10       47.00      855.90
                                                              11       29.00      528.11
                                                              12       67.00    1,220.11
                                                              13       56.00    1,019.80
                                                              14       60.00    1,092.64
                                                              15       72.00    1,311.11
                                                              16       70.00    1,274.75
                                                              17       66.00    1,201.90
                                                              18       65.00    1,183.70
                                                              19       68.00    1,238.33
                                                              20       53.00      965.17
                                                              21       35.00      637.38
                                                              22       74.00    1,347.58
                                                              23       76.00    1,383.99
                                                              24        7.00      127.47
                                                              25       60.00    1,092.64
                                              Exhibit 4-A     26       71.00    1,292.96
                                                0134
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
OPALSKI, PAMELA L.                                   1991     27       33.00      600.96
                                                     1992     01       22.00      400.62
                                                              03       74.00    1,347.59
                                                              04       65.00    1,183.70
                                                              05       51.00      928.72
                                                              06       45.00      976.01
                                                              07       31.00      672.36
                                                              09       65.00    1,467.40
                                                              10       75.00    1,693.15
                                                              11       59.00    1,331.95
                                                              12       68.00    1,535.12
                                                              13       34.00      767.57
                                                              14       77.00    1,738.30
                                                              15       68.00    1,535.12
                                                              16       72.00    1,625.42
                                                              17       70.00    1,580.26
                                                              18       58.00    1,309.34
                                                              19       76.00    1,715.72
                                                              20       18.00      406.36
                                                              21       70.00    1,580.27
                                                              22       26.00      586.95
                                                              23       36.00      812.71
                                                              24       76.00    1,715.72
                                                              25       78.00    1,760.87
                                                              26       69.00    1,557.69
                                                              27       61.00    1,377.08
                                                     1993     01        7.00      158.02
                                                              02       54.00    1,219.07
                                                              03       67.00    1,512.55
                                                              04       58.00    1,309.36
                                                              05       56.00    1,264.21
                                                              06       49.00    1,141.89
                                                              07       34.00      792.34
                                                              09       55.00    1,329.81
                                                              10       62.00    1,499.06
                                                              11       69.00    1,668.30
                                              Exhibit 4-A     12       62.00    1,499.05
                                                0135
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay      Payroll      Payroll
Employee Name                                       Year     Period    Hours        Costs
OPALSKI, PAMELA L.                                   1993     13        76.00      1,837.55
                                                              14        71.00      1,716.64
                                                              15        68.00      1,644.12
                                                              16        68.00      1,644.12
                                                              17        71.00      1,716.64
                                                              18        71.00      1,716.64
                                                              19        71.00      1,967.41
                                                              20        26.00        720.46
                                                              21        71.00      1,967.40
                                                              22        48.00      1,330.07
                                                              23        35.00        969.85
                                                              24         3.00         83.14
                                                                      4,490.00   $91,895.88

ORTESI, MARIE                                        1991     06         2.00        34.10
LEUNG, MARIE
SUPERVISORY ACCOUNTANT
                                                                         2.00       $34.10

PANG, TIFFANIE                                       2002     19        28.25      1,118.06
COST ACCOUNTANT                                               20        63.25      2,503.25
                                                              21        44.75      1,771.06
                                                              22        30.75      1,217.02
                                                              23        13.75        544.18
                                                     2003     18         3.50        149.85
                                                              19        36.50      1,562.64
                                                              20        35.50      1,519.82
                                                              22         3.75        160.29
                                                     2004     03         1.75         74.79
                                                                       261.75    $10,620.96

PENNINGTON, GREG                                     1995     06         0.50         8.04
ENV PROTECTION SPECIALIST                                     09         0.50         8.86
                                                              10         0.25         4.43
                                                              11         0.25         4.43
                                                     1996     16         0.75        14.02
                                                                         2.25       $39.78
                                              Exhibit 4-A
                                                0136
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
PESARESI, MARTIN H.                                  1998     01        2.00       77.74
ATTORNEY ADVISOR (GENERAL)
                                                                        2.00      $77.74

PODGUR, HAROLD                                       1992     13        1.50       26.59
COST ACCOUNTANT                                               14        3.50       62.05
                                                              15        1.00       17.73
                                                                        6.00     $106.37

REDWINE, JENNIFER E.                                 1995     15       11.00      142.22
BIOLOGICAL SCIENCE LABORATORY TECHNICIAN                      16       11.00      142.22
                                                                       22.00     $284.44

RICE, JEAN                                           1991     05       26.00       683.54
ENVIRONMENTAL PROTECTION SPECIALIST                           06       35.00       920.15
                                                              07       26.00       683.54
                                                              08        9.00       236.62
                                                              09       18.00       510.20
                                                              10       13.00       384.95
                                                              11        6.00       183.31
                                                              12       35.00     1,069.29
                                                              13       37.00     1,130.36
                                                              14       22.00       672.11
                                                              15       14.00       427.72
                                                              16        2.00        61.11
                                                              17        9.00       274.95
                                                                      252.00    $7,237.85

RITTER, GREGORY A.                                   1991     04       13.00       313.30
ATTORNEY ADVISOR (GENERAL)                                    06       43.00     1,036.34
                                                              07       21.00       506.12
                                                              08       59.00     1,421.95
                                                              09       65.00     1,827.42
                                                              10       35.00       984.00
                                                              11       46.00     1,399.59
                                                              12       43.00     1,308.32
                                                              13       28.00       851.93
                                              Exhibit 4-A     14       34.00     1,034.49
                                                0137
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
RITTER, GREGORY A.                                   1991     15       23.00      699.80
                                                              16       28.00      851.93
                                                              17       35.00    1,064.91
                                                              19       61.00    1,855.99
                                                              20       49.00    1,490.87
                                                              21       46.00    1,399.59
                                                              22       49.00    1,490.86
                                                              23       48.00    1,460.45
                                                              24       39.00    1,186.62
                                                              25       39.00    1,186.62
                                                              26       37.00    1,125.76
                                                              27       36.00    1,095.34
                                                     1992     01       20.00      608.51
                                                              02       38.00    1,155.29
                                                              03       62.00    1,884.94
                                                              04       49.00    1,489.71
                                                              05       51.00    1,550.52
                                                              06       25.00      760.06
                                                              07       12.00      364.83
                                                              08       32.00      972.88
                                                              09       40.00    1,269.37
                                                              10        7.00      222.14
                                                              11       52.00    1,702.41
                                                              12       41.00    1,342.27
                                                              13       27.00      883.94
                                                              14       48.00    1,571.45
                                                              15       35.00    1,145.85
                                                              16       45.00    1,473.23
                                                              17       52.00    1,702.41
                                                              18       52.00    1,702.41
                                                              19       46.00    1,505.96
                                                              20       44.00    1,440.49
                                                              21       46.00    1,505.96
                                                              22       50.00    1,636.94
                                                              23       53.00    1,735.14
                                                              24       23.00      832.40
                                              Exhibit 4-A     25       47.00    1,700.99
                                                0138
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
RITTER, GREGORY A.                                   1992     26       56.00    2,026.71
                                                              27       39.00    1,411.44
                                                     1993     01       12.00      434.31
                                                              02       45.00    1,628.60
                                                              03       38.00    1,375.26
                                                              04       47.00    1,700.99
                                                              05       37.00    1,339.07
                                                              06       30.00    1,085.74
                                                              07       10.00      361.92
                                                              08       40.00    1,447.65
                                                              09       41.00    1,540.47
                                                              10       44.00    1,653.18
                                                              11       46.00    1,728.33
                                                              12       27.00    1,014.45
                                                              13       45.00    1,690.76
                                                              14       53.00    1,991.34
                                                              15       48.00    1,803.47
                                                              16       39.00    1,465.32
                                                              17       58.00    2,179.20
                                                              18       40.00    1,502.89
                                                              19       23.00      864.16
                                                              20       41.00    1,540.47
                                                              21       36.00    1,352.60
                                                              22       58.00    2,179.20
                                                              23       24.00      901.73
                                                              24       40.00    1,552.11
                                                              25       41.00    1,590.90
                                                              26       33.00    1,280.48
                                                              27       35.00    1,358.08
                                                     1994     01        3.00      116.41
                                                              02       41.00    1,590.90
                                                              03       27.00    1,047.67
                                                              04       52.00    2,017.73
                                                              05       20.00      749.02
                                                              06       34.00    1,255.46
                                                              07       10.00      388.02
                                              Exhibit 4-A     08       24.00      931.26
                                                0139
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
RITTER, GREGORY A.                                   1994     09       39.00    1,513.30
                                                              10       45.00    1,746.12
                                                              11       20.00      776.05
                                                              12       11.00      426.83
                                                              13        3.00      116.41
                                                              14        8.00      310.42
                                                              15       23.00      892.46
                                                              16       13.00      504.43
                                                              17       27.00    1,047.67
                                                              18       12.00      465.63
                                                              19        9.00      349.23
                                                              20       25.00      970.06
                                                              21       16.00      620.84
                                                              22       30.00    1,164.07
                                                              23       17.00      659.64
                                                              24        5.00      200.17
                                                              25        4.00      160.13
                                                              26       21.00      840.69
                                                              27       32.00    1,281.05
                                                     1995     02       14.00      554.47
                                                              03       33.00    1,305.62
                                                              04       11.00      438.90
                                                              05       38.00    1,485.95
                                                              06       28.00    1,053.52
                                                              07        5.00      197.83
                                                              08        7.00      276.95
                                                              09       14.00      565.04
                                                              10       20.00      807.19
                                                              11       21.00      847.55
                                                              12       25.00    1,008.98
                                                              13        8.00      322.88
                                                              14       16.00      645.75
                                                              15       23.00      928.26
                                                              16       23.00      928.26
                                                              17       24.00      968.63
                                                              18       16.00      645.75
                                              Exhibit 4-A     19       12.00      484.31
                                                0140
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay      Payroll        Payroll
Employee Name                                       Year     Period    Hours          Costs
RITTER, GREGORY A.                                   1995     20        20.00        807.19
                                                              21        15.00        605.39
                                                              22         3.00        121.09
                                                              23        20.00        807.19
                                                              24        18.00        726.47
                                                              25        10.00        416.00
                                                              26        23.00        956.80
                                                              27        24.00        998.64
                                                     1996     02        19.00        790.40
                                                                      4,061.00   $141,589.81

ROBINSON, SHEILA R.                                  1991     10        42.00        449.62
STUDENT TRAINEE (ENV SCIENTIST)
                                                                        42.00       $449.62

RONGONE, MARIE                                       1999     13         1.00         47.39
ATTORNEY ADVISOR                                              14         0.50         23.70
                                                     2000     20         1.00         51.62
                                                              22         2.00        103.25
                                                                         4.50       $225.96

ROTHMAN, JOHN                                        1991     05         3.00          87.51
SUPERVISORY ATTORNEY ADVISOR(GENERAL)                         07         3.00          87.88
                                                              08         3.00          87.88
                                                              09         2.00          65.95
                                                              10         2.00          65.95
                                                              11         2.00          65.95
                                                              12         3.00          98.90
                                                              13         1.50          49.46
                                                              14         2.00          65.95
                                                                        21.50       $675.43

SCHECHTER, DEBORAH                                   2003     19         0.50          29.02
CHIEF, CLEANUP SECTION 2                                      24         0.50          29.02
                                                              25         0.25          14.51
                                                     2004     07         0.50          29.00
                                                                         1.75       $101.55
                                              Exhibit 4-A
                                                0141
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
SCHULZ, MICHAEL                                      1990     27        0.50       15.69
SUPV PROGRAM ANALYSIS OFFICER                        1991     18        0.25        9.13
                                                                        0.75      $24.82

SEMONES, VICKY M.                                    1996     22        4.00      117.28
COMMUNITY RELATIONS SPECIALIST                                23       18.00      527.72
                                                              24       23.00      674.29
                                                              25       10.00      293.18
                                                              26        3.00       87.96
                                                     1997     03        2.00       58.64
                                                              05        2.00       58.64
                                                              08        1.00       30.44
                                                              12        2.50       76.09
                                                              20        0.50       15.23
                                                              23        1.00       30.44
                                                              24        1.00       30.44
                                                              25        1.50       46.90
                                                              27        0.50       15.63
                                                     1998     01        1.50       46.90
                                                              02        0.50       15.84
                                                              03        2.00       63.37
                                                              04        1.00       31.78
                                                              05        2.00       63.57
                                                              06        2.50       79.22
                                                              08        3.00       98.53
                                                              09        1.00       32.84
                                                              14        1.00       32.84
                                                                       84.50    $2,527.77

SETER, DAVID                                         1999     22        4.50       213.65
ENVIRONMENTAL ENGINEER                                        23        4.00       189.91
                                                              24        8.00       379.83
                                                              25       16.50       783.39
                                                              26        1.50        71.22
                                                     2000     01        4.00       189.91
                                                              02       20.00       949.57
                                                              03       32.50     1,543.05
                                              Exhibit 4-A
                                                0142
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
SETER, DAVID                                         2000     04       12.00      569.64
                                                              05       10.00      451.29
                                                              06       22.50    1,015.43
                                                              07       19.50      925.83
                                                              08       35.00    1,753.71
                                                              09       14.50      726.54
                                                              10       11.00      551.17
                                                              11        6.50      325.69
                                                              12        6.50      325.69
                                                              13        9.00      450.95
                                                              14        5.50      275.58
                                                              15       17.00      851.80
                                                              17        3.00      150.32
                                                              18       10.00      501.06
                                                              19        9.50      476.01
                                                              21        6.50      325.69
                                                              22       14.50      726.54
                                                              23        5.50      275.58
                                                              24       13.00      651.38
                                                              25        7.50      375.80
                                                              26       26.00    1,302.76
                                                              27        2.00      100.21
                                                     2001     01        1.50       75.16
                                                              03        8.00      400.69
                                                              04        2.00       97.79
                                                              05        3.50      166.68
                                                              06        1.50       71.43
                                                              07        6.00      300.52
                                                              08        1.00       50.09
                                                              09        2.50      131.00
                                                              10       10.50      550.18
                                                              11       21.00    1,100.35
                                                              12       18.50      969.36
                                                              13       24.50    1,283.74
                                                              14       20.00    1,047.96
                                                              15       14.50      759.77
                                              Exhibit 4-A     16        7.50      392.99
                                                0143
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll    Payroll
Employee Name                                       Year     Period   Hours      Costs
SETER, DAVID                                         2001     17       11.50      602.58
                                                              18        7.50      392.99
                                                              19        5.50      288.19
                                                              20       13.00      681.17
                                                              21        6.00      314.39
                                                              22       25.00    1,309.95
                                                              24        7.00      366.78
                                                              26        7.00      366.78
                                                     2002     01        4.50      235.78
                                                              02        1.00       52.39
                                                              03        2.00      104.79
                                                              04        4.00      209.60
                                                              05        7.00      351.92
                                                              06        5.00      249.13
                                                              07        5.00      261.99
                                                              08       13.00      681.15
                                                              09       11.00      609.25
                                                              10       14.50      803.11
                                                              11       30.00    1,661.60
                                                              12       14.00      775.40
                                                              13        7.00      387.70
                                                              14       14.00      775.42
                                                              15       26.00    1,440.05
                                                              16       13.00      720.02
                                                              17       20.00    1,107.72
                                                              18       21.00    1,163.12
                                                              19       30.00    1,661.60
                                                              20        4.50      249.23
                                                              21       16.00      886.19
                                                              22        7.00      387.71
                                                              23       27.00    1,495.54
                                                              25        9.00      498.47
                                                     2003     01        4.00      221.54
                                                              02        5.00      276.93
                                                              05        3.50      186.74
                                                              06        4.00      210.70
                                              Exhibit 4-A     07        3.50      193.87
                                                0144
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Fiscal     Pay      Payroll      Payroll
Employee Name                                      Year      Period    Hours        Costs
SETER, DAVID                                        2003      08         9.00        498.48
                                                              09         2.00        114.35
                                                              10        20.00      1,143.52
                                                              11         1.00         57.17
                                                              12         2.00        116.28
                                                              14         3.00        174.41
                                                              15         6.00        348.84
                                                              16         7.00        406.96
                                                              17        13.50        784.86
                                                              18         7.00        406.96
                                                              19        12.00        697.66
                                                              20        36.00      2,092.96
                                                              21         9.50        552.30
                                                              23         3.00        174.41
                                                              24        10.00        581.39
                                                              25        22.00      1,279.03
                                                              26         9.00        523.28
                                                              27        21.50      1,249.97
                                                    2004      01         3.00        174.41
                                                              02         8.50        494.15
                                                              03         9.50        552.30
                                                              04         2.50        142.16
                                                              05         2.00        110.60
                                                              06        26.50      1,465.40
                                                              07         3.50        203.47
                                                              08         4.00        232.55
                                                              11         2.00        119.38
                                                              12        10.50        626.73
                                                              13         8.00        477.50
                                                              14        17.00      1,014.69
                                                              15         1.50         92.01
                                                              19         4.00        245.36
                                                              20         2.00        122.69
                                                                      1,206.00   $64,284.63

SHEN, CATHERINE                                       1990    25         1.00        13.16
ACCOUNTING TECHNICIAN                         Exhibit 1991
                                                      4-A     01         1.00        13.16
                                                0145
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
SHEN, CATHERINE                                      1991     09        4.50       70.68
                                                              19        7.00      109.94
                                                              20        8.00      125.66
                                                              21        5.00       78.53
                                                              23       23.75      373.03
                                                              24       35.00      549.71
                                                              26        6.00       94.24
                                                              27        9.00      141.35
                                                     1992     01        2.50       39.27
                                                     1995     02        2.00       38.51
                                                                      104.75    $1,647.24

SILVA, JACOB                                         1991     16        6.00      104.56
ENVIRONMENTAL SCIENTIST
                                                                        6.00     $104.56

SIMANONOK, STEVEN                                    1991     04        1.50       34.02
INVESTIGATOR
                                                                        1.50      $34.02

SIMPSON, STEWART                                     1991     10       45.00     1,158.24
ENVIRONMENTAL SCIENTIST                                       16       44.00     1,167.93
                                                                       89.00    $2,326.17

SIMS, MARK                                           1992     18        2.00       56.41
SIMS, MARK A.
ENVIRONMENTAL ENGINEER
                                                                        2.00      $56.41

SMIECINSKI, RALPH F.                                 1990     AG       11.00      276.43
SENIOR HEALTH SERVICE OFFICER                                 JU       23.00      724.25
                                                              SP       14.00      440.80
                                                     1991     NO       17.00      535.58
                                                              OC       10.00      314.73
                                                                       75.00    $2,291.79

SMITH, JULI A.                                       1992     03        0.25        4.51
CHEMIST                                                       04        1.25       24.46
                                              Exhibit 4-A
                                                0146
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Fiscal    Pay     Payroll     Payroll
Employee Name                                      Year     Period   Hours       Costs
SMITH, JULI A.                                     1992      07        0.50        9.91
                                                             08        3.00       58.70
                                                             15        0.25        5.11
                                                             16       13.50      275.49
                                                             17        3.75       76.53
                                                             23        7.00      148.28
                                                             24        0.25        5.30
                                                             25        5.25      111.22
                                                   1993      08        2.00       50.11
                                                             09        6.00      156.20
                                                                      43.00     $925.82

SMUCKER, STANFORD                                  1994      21        3.00       98.55
TOXICOLOGIST                                                 22       10.00      328.50
                                                             24        3.00       98.55
                                                   1995      03        3.00       97.38
                                                             14       10.00      352.43
                                                             15        8.00      281.94
                                                             16        2.00       70.49
                                                             18        2.00       70.49
                                                             19        2.00       70.49
                                                             20        9.00      317.19
                                                             21        3.00      105.73
                                                             22        1.00       35.24
                                                             23        1.50       52.86
                                                             27       14.00      493.40
                                                   1996      01        2.00       70.49
                                                             02        4.00      140.97
                                                             05        2.00       70.49
                                                             21        1.00       36.20
                                                                      80.50    $2,791.39

STAMNES, ROBERT L.                                 1997      02       19.00      679.68
ENVIRON. ENGINEER                                            03        4.00      143.10
                                                             21       24.00      879.35
                                                                      47.00    $1,702.13
                                              Exhibit 4-A
STERN, ROBERT                                   0147
                                                     1992    12        8.00      261.64
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay      Payroll      Payroll
Employee Name                                       Year     Period    Hours        Costs
ENVIRONMENTAL PROTECTION SPECIALIST                  1992     13         5.00       163.52
                                                              14         2.00        65.40
                                                                        15.00      $490.56

STRALKA, DANIEL                                      1997     27         2.00        73.94
ENVIRONMENTAL SCIENTIST                              1998     01         3.00       110.92
                                                              02         2.00        73.53
                                                              03         8.00       294.12
                                                              04         5.00       183.83
                                                              11         3.00       117.70
                                                                        23.00      $854.04

SWANN, VERONICA                                      1996     27         1.50        44.21
COST ACCOUNTANT
                                                                         1.50       $44.21

SWARTHOUT, BRIAN H.                                  1996     05        35.00      1,009.03
ENVIRONMENTAL SCIENTIST                                       06        80.00      2,306.39
                                                              07        80.00      2,306.38
                                                              08        80.00      2,368.03
                                                              09        80.00      2,368.03
                                                              10        80.00      2,368.03
                                                              11        71.00      2,101.62
                                                              12        80.00      2,368.03
                                                              13        80.00      2,440.63
                                                              14        80.00      2,440.64
                                                              15        80.00      2,440.63
                                                              16        80.00      2,440.64
                                                              17        80.00      2,440.64
                                                              18        80.00      2,440.63
                                                              20        60.00      1,843.21
                                                                      1,126.00   $33,682.56

TAKATA, KEITH                                        1992     07         1.00        43.69
DIRECTOR, SUPERFUND DIVISION                                  27         4.00       182.54
                                                     1994     14         1.00        50.02
                                                              22         1.00        50.02
                                              Exhibit 4-A     27         1.00        50.02
                                                0148
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
TAKATA, KEITH                                        1995     02        1.00       50.02
                                                              03        1.00       50.02
                                                              07        1.00       50.01
                                                              08        1.00       50.02
                                                     1997     02        8.00      421.32
                                                     1998     05        1.00       55.43
                                                                       21.00    $1,053.11

TAPLIN, MELINDA                                      1990     21        7.50      192.93
SUPV GRANTS MANAGEMENT SPECIALIST                             22        1.00       25.66
                                                              27        4.00      102.89
                                                     1991     02        1.00       25.73
                                                              13        1.00       30.93
                                                     1992     14        4.00      146.88
                                                              15        4.00      146.88
                                                              19        6.00      220.30
                                                     1993     05        1.00       34.32
                                                                       29.50     $926.52

TRUJILLO, DIANNA L.                                  1991     08        7.00       93.77
ENVIRONMENTAL PROTECTION ASSISTANT (TYP)                      09        1.00       14.61
                                                              12        2.00       26.34
                                                              15        2.00       26.34
                                                              19       12.00      158.02
                                                              23        4.00       54.28
                                                              25        3.00       40.72
                                                              27        1.00       13.50
                                                     1992     10        6.00       86.38
                                                              11        2.00       28.77
                                                              12        2.00       28.79
                                                              13        0.50        7.20
                                                              14        1.00       14.38
                                                              17        1.00       14.39
                                                              18        2.00       28.78
                                                              20        2.00       28.79
                                                              24        6.00       86.38
                                                              25        1.00       14.39
                                              Exhibit 4-A
                                                0149
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                                   Regional Payroll Costs
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
TRUJILLO, DIANNA L.                                  1992     27        0.50        7.21
                                                     1993     04        5.50       79.16
                                                              05        5.50       79.16
                                                              07        1.00       14.39
                                                              08        3.50       50.39
                                                                       71.50     $996.14

VEGA, MARTHA                                         1990     21        9.00      210.53
LOPEZ, MARTHA L.                                     1992     06        7.00      185.89
GRANTS MANAGEMENT SPECIALIST                                  10        5.00      142.41
                                                              11        6.00      170.90
                                                              14        2.00       56.96
                                                              18        1.00       28.46
                                                              19        7.00      199.37
                                                              20        2.00       56.96
                                                     1993     02        4.00      113.92
                                                              03        5.00      142.41
                                                              04        9.00      256.33
                                                              05        3.00       85.45
                                                              06        1.00       28.49
                                                              13        1.00       29.60
                                                     1996     12        4.00      123.27
                                                              14       12.00      369.80
                                                              18        2.00       61.63
                                                              19        2.00       61.62
                                                     1997     12        4.00      127.93
                                                                       86.00    $2,451.93

VESPERMAN, RICHARD F.                                1991     07        4.00      107.26
ENVIRONMENTAL PROTECTION SPECIALIST
                                                                        4.00     $107.26

VREELAND, JAMES                                      1994     17       26.00      794.78
ENVIRONMENTAL PROTECTION SPECIALIST                           18       16.00      489.10
                                                              19       14.00      427.97
                                                              20       24.00      733.66
                                                              21       26.00      794.79
                                              Exhibit 4-A
                                                0150
                                                              22       32.00      978.20
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
VREELAND, JAMES                                      1994     24        5.00      152.85
                                                              25        9.00      275.11
                                                              26       14.00      427.97
                                                              27       23.00      703.08
                                                     1995     03       27.00      816.06
                                                                      216.00    $6,593.57

WALKER, JUDITH                                       1995     09        8.00      209.88
ENVIRONMENTAL PROTECTION SPECIALIST                  1996     23        2.00       61.73
                                                     1997     08        2.00       64.11
                                                                       12.00     $335.72

WHITTAKER, JAMES G.                                  1992     15       13.00      182.32
CHEMIST                                                       23       20.00      282.70
                                                              24        5.00       70.68
                                                                       38.00     $535.70

WICK, WILLIAM D.                                     1991     05        1.00       33.65
SUPERVISORY ATTORNEY ADVISOR                                  07        2.00       68.21
                                                              08        2.00       68.21
                                                              10        1.00       38.34
                                                              11        1.00       38.33
                                                              13        1.00       38.34
                                                                        8.00     $285.08

WILSON, DOROTHY                                      1990     21       14.00      234.59
COMMUNITY RELATIONS SPECIALIST                       1991     18       21.00      469.75
                                                              19       12.00      268.43
                                                                       47.00     $972.77

WILSON, TERRY                                        1990     21        9.00      159.80
PUBLIC AFFAIRS SPECIALIST                                     22        1.00       17.75
                                                              23        4.00       71.02
                                                              26        3.00       53.27
                                                     1991     01        2.00       35.52
                                                              04        4.00       71.01
                                                              06        3.00       53.27
                                              Exhibit 4-A     10       13.00      258.49
                                                0151
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
WILSON, TERRY                                        1991     13        5.00       99.43
                                                              14        6.00      119.32
                                                              18       16.00      318.18
                                                                       66.00    $1,257.06

WISE, JOHN C.                                        1991     19        9.00      502.31
DEPUTY REGIONAL ADMINISTRATOR                                 23       13.00      725.53
                                                     1992     26        8.00      464.29
                                                     1994     07        8.00      479.67
                                                     1995     13        4.00      258.52
                                                                       42.00    $2,430.32

WITTORP, RANDALL L.                                  1998     01       34.00     1,128.16
PUBLIC AFFAIRS SPECIALIST                                     21       10.00       346.30
                                                              23       32.00     1,108.12
                                                              24       46.00     1,592.92
                                                                      122.00    $4,175.50

WOLFRAM, MICHAEL                                     1994     22        8.00       288.63
ENVIRONMENTAL ENGINEER                                        23       57.00     2,056.48
                                                              24       64.00     2,309.04
                                                              25       61.00     2,200.79
                                                              26       58.00     2,092.56
                                                              27       54.00     1,948.25
                                                     1995     02       44.00     1,569.45
                                                              03       54.00     1,926.15
                                                              04       49.00     1,747.81
                                                              05       50.00     1,783.46
                                                              06       63.00     2,247.17
                                                              07       35.00     1,248.43
                                                              08       13.00       463.70
                                                              09       41.00     1,488.23
                                                              10       69.00     2,504.58
                                                              11       37.00     1,343.04
                                                              12       59.00     2,141.61
                                                              13       53.00     1,923.80
                                                              14       75.00     2,722.37
                                              Exhibit 4-A
                                                0152
                                                              15       70.00     2,540.89
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal    Pay      Payroll      Payroll
Employee Name                                       Year     Period    Hours        Costs
WOLFRAM, MICHAEL                                     1995     16        67.00      2,431.99
                                                              17        53.00      1,923.81
                                                              18        53.00      1,923.82
                                                              20        71.00      2,577.18
                                                              21        60.00      2,177.89
                                                              22        58.00      2,105.31
                                                              23        32.00      1,161.54
                                                              24        55.00      1,996.40
                                                                      1,463.00   $52,844.38

WOOD, DAVID                                          1990     26         2.50         51.09
SUPERFUND ACCOUNTING PROGRAM CHIEF                            27         1.25         25.54
                                                     1991     05         3.75         76.65
                                                              06         5.50        112.41
                                                              07         4.00         81.73
                                                              08         1.25         25.54
                                                              09         0.25          5.77
                                                              14         1.00         23.04
                                                              15         2.25         50.64
                                                              17         1.00         23.04
                                                              18         3.25         74.88
                                                              19         1.25         29.68
                                                              20         4.75        112.74
                                                              21         1.50         35.60
                                                              23         1.50         35.60
                                                              24         1.75         41.54
                                                     1992     01         1.00         23.74
                                                     1993     21         1.00         28.63
                                                              22         2.00         57.26
                                                              24         1.25         35.79
                                                     1994     13         2.00         59.06
                                                     1996     14         1.50         51.29
                                                     1999     14         1.00         42.63
                                                     2003     09         4.25        229.23
                                                              10        22.75      1,227.06
                                                              11         6.50        350.60
                                              Exhibit 4-A     12        13.00        701.18
                                                0153
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                               MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                         Fiscal    Pay       Payroll        Payroll
Employee Name                                            Year     Period     Hours          Costs
WOOD, DAVID                                               2004     03          0.25          13.72
                                                                              93.25      $3,625.68

YOUNG, DIANNA                                             1991     04          4.00         100.83
SUPV COMMUNITY RELATIONS SPECIALIST                       1993     25          9.00         306.20
                                                          1995     20          2.00          75.75
                                                          1996     13          2.00          80.38
                                                                              17.00       $563.16

ZABEL, ALLAN                                              1990     21         32.00         920.34
SUPERVISORY ATTORNEY ADVISOR                                       22         48.00       1,380.52
                                                                   23         28.00         805.30
                                                                   24         20.00         575.22
                                                                   25         23.00         661.50
                                                                   26         19.00         546.45
                                                                   27         18.00         570.84
                                                          1991     01         11.00         348.85
                                                                   02         36.00       1,141.69
                                                                             235.00      $6,950.71

ZELIKSON, JEFFREY                                         1991     19         16.00         817.12
DIRECTOR, TOXICS & WASTE MANAGEMENT DIV.                  1992     21          8.00         446.37
                                                                   26         16.00         892.73
                                                          1994     11          8.00         488.72
                                                          1995     09          8.00         496.77
                                                                              56.00      $3,141.71

ZUROSKI, DONN                                             1990     25         27.00         560.50
ENVIRONMENTAL SCIENTIST
                                                                              27.00       $560.50


Total Regional Payroll Costs                                               37,895.25 $1,222,232.63




                                                   Exhibit 4-A
                                                     0154
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                                 Headquarters Payroll Costs
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Fiscal      Pay     Payroll     Payroll
Employee Name                                      Year       Period   Hours       Costs
BOTTS, STEPHEN                                      1996       18        2.00       83.55
ATTORNEY-ADVISOR (GENERAL)                          1998       24        1.50       69.00
                                                    1999       05        0.50       24.84
                                                                         4.00     $177.39

BRISCOE, NANCY                                      1992       20        9.00      263.06
SUPV.ENVIRONMENTAL PROTECTION SPECIALIST
                                                                         9.00     $263.06

BROWN, STEPHANIE                                    2001       13        3.00      156.78
Attorney-Adviser                                               17        2.00      107.77
                                                               19        0.25       13.48
                                                                         5.25     $278.03

CAMPAGNA, PHILIP                                    1990       24       11.00       335.81
CHEMIST                                                        25       79.00     2,308.73
                                                    1993       14        6.00       153.27
                                                                        96.00    $2,797.81

COAKLEY, WILLIAM                                    1991       26        2.00       44.60
CHEMIST
                                                                         2.00      $44.60

COMPTON, HARRY                                      1993       14        6.00      242.74
ENVIRONMENTAL ENGINEER
                                                                         6.00     $242.74

COOKE, WILLIAM                                      1993       16        1.00       43.44
SUPERVISORY FINANCIAL MANAGEMENT ANALYST                       23        2.00       86.89
                                                    1994       07        6.00      267.63
                                                                         9.00     $397.96

COOPER, DAVID                                       1990       24        4.00      122.43
ENVIRONMENTAL PROTECTION SPECIALIST                 1991       07        6.00      183.65
                                                               11        3.00       95.50
                                                               14        4.00      127.30
                                                                        17.00     $528.88

CORCORAN, JON A.                              Exhibit 1990
                                                      4-A      25       73.00      753.59
                                                0155
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                                  Headquarters Payroll Costs
                           MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                     Fiscal     Pay     Payroll     Payroll
Employee Name                                        Year      Period   Hours       Costs
CLERK
                                                                         73.00     $753.59

FEATHERSON, CLARENCE                                  2003      02        1.50       87.45
ATTORNEY-ADVISOR                                                03        5.50      320.65
                                                                          7.00     $408.10

HANLON, EDWARD                                        1991      08        7.00      188.45
Environmental Scientist
                                                                          7.00     $188.45

HEALEY, MICHAEL                                       2001      17        3.00       96.77
Attorney-Adviser                                                21        0.50       16.13
                                                                          3.50     $112.90

HEALY, HELENA                                         1998      26        2.50       88.04
KING, HELENA                                          2000      06        1.00       40.52
Supervisory Attorney Adviser                                    10        2.00       85.06
                                                                18        2.00       85.06
                                                                22        1.00       42.53
                                                                24        1.00       42.53
                                                                25        1.00       42.53
                                                      2001      12        1.50       68.41
                                                                13        0.50       22.80
                                                                16        1.00       45.61
                                                                17        1.75       79.85
                                                                18        3.00      136.85
                                                                21        0.25       11.41
                                                      2003      02        0.50       24.67
                                                                03        1.50       74.00
                                                                05        1.50       74.01
                                                                27        1.00       53.05
                                                                         23.00    $1,016.93

LAMBER, KURT                                          1993      20        5.00      166.13
GEOLOGIST
                                                                          5.00     $166.13
                                               Exhibit 4-A
                                                 0156
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                                 Headquarters Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Fiscal     Pay     Payroll    Payroll
Employee Name                                       Year      Period   Hours      Costs
LAMMIE, BENJAMIN                                     2003      27        1.25      79.55
ATTORNEY-ADVISOR (GENERAL)
                                                                         1.25     $79.55

LANEWENNER, CAROLYN                                  1991      06        2.00      45.91
ATTORNEY-ADVISOR(GENERAL)                                      08        2.00      45.87
                                                               17        1.00      22.50
                                                               18        2.00      45.00
                                                               19        1.00      22.48
                                                               20        5.00     112.51
                                                               21        1.00      22.50
                                                               22        1.00      22.50
                                                               23        1.00      22.50
                                                     1992      02        0.50      11.24
                                                               13        0.50      13.93
                                                     1993      02        0.50      14.75
                                                                        17.50    $401.69

LATTIMER, JOHN                                       1991      22        6.00     155.48
ENVIRONMENTAL PROTECTION SPECIALIST
                                                                         6.00    $155.48

NATOLI, ROSARIO L.                                   1991      06        7.00     196.28
ENVIRONMENTAL ENGINEER
                                                                         7.00    $196.28

PANE, VICKIE L.                                      1990      26       18.00     437.01
PANE, VICKIE L.
CHEMICAL ENGINEER
                                                                        18.00    $437.01

POPINO, RICHARD                                      1990      24        9.00     218.16
PROGRAM ANALYST
                                                                         9.00    $218.16

ROBERTS, ROBERT                                      2001      16        0.75      35.99
ENVIRONMENTAL PROTECTION SPECIALIST                            17        2.00      95.97
                                                               21        0.50      24.72
                                              Exhibit 4-A
                                                0157
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                                   Headquarters Payroll Costs
                           MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                      Fiscal     Pay     Payroll      Payroll
Employee Name                                         Year      Period   Hours        Costs
ROBERTS, ROBERT                                        2002      23        0.75        39.68
                                                                           4.00      $196.36

SINGHVI, RAJESHMAL                                     1991      20        3.00       108.75
CHEMIST                                                          22       21.00       571.98
                                                                 23        8.00       289.98
                                                                          32.00      $970.71

WHEELER, JOHN H.                                       1998      26        1.00        48.29
ATTORNEY-ADVISOR (GENERAL)
                                                                           1.00       $48.29

WORTHMAN, GARY                                         2002      23        1.00        64.40
ENVIRONMENTAL PROTECTION SPECIALIST
                                                                           1.00       $64.40

YOUKELES, ALAN                                         1997      23        3.00        112.43
PROGRAM ANALYST
                                                                           3.00      $112.43

YOUNG, CHARLES                                         2004      03        3.25       194.42
SUPERVISORY ACCOUNTANT
                                                                           3.25      $194.42

ZOWNIR, ANDRE                                          1990      21       34.00      1,003.64
SUPERVISORY ENVIRONMENTAL ENGINEER                               23       12.00        378.07
                                                                 26        8.00        252.05
                                                                 27        4.00        126.03
                                                       1991      12        3.00        108.59
                                                                 17        6.00        218.21
                                                                 22        7.00        254.57
                                                                 24        2.00         72.73
                                                                 25        9.00        327.32
                                                                          85.00     $2,741.21


Total Headquarters Payroll Costs                                         454.75    $13,192.56

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                                   Regional Travel Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs

ADAMS, ELIZABETH                    T4487467                A98327      11/25/1998        192.09
CHIEF, SITE CLEANUP BRANCH

                                                                                         $192.09

ASAMI, JO                           T4336860                A96180      07/02/1996        118.60
SUPERVISORY ATTORNEY ADVISOR
(GENERAL)

                                                                                         $118.60

BATES, EDWARD                       T2698946                000A91312   11/13/1991        100.57
PHYSICAL SCIENTIST

                                                                                         $100.57

BAYLOR, KATHERINE                   T864930                 A91249      09/10/1991        538.05
ENVIRONMENTAL SCIENTIST

                                                                                         $538.05

BERG, ELIZABETH                     T4514539                ACHA01093   04/05/2001        204.73
ATTORNEY-ADVISOR                    4512623                 ACHA01171   06/22/2001        440.64
                                    TM0161740               ACHA03316   11/14/2003        384.25

                                                                                       $1,029.62

BLEVINS, JOHN                       T757043                 A90199      07/20/1990      1,461.48
SUPV ENVIRONMENTAL                  T770526                 A90215      08/07/1990        319.60
PROTECTION SPECIALIST
                                    T770502                 A90225      08/15/1990        481.00
                                    T770539                 A90267      09/26/1990        891.70
                                    T767573                 A90306      11/06/1990        356.93
                                    T781349                 A90348      12/18/1990        710.70
                                    T778883                 A91017      01/22/1991        254.70
                                    9109610035              A91031      02/04/1991         35.80

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                                                0159
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                                   Regional Travel Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
BLEVINS, JOHN                       T762545                 A91059      03/04/1991        343.86
                                    T770574                 A91059      03/04/1991        718.94
                                    9109610051              A91109      04/23/1991         42.00
                                    T832363                 A91122      05/06/1991        182.54
                                    9109610066              A91143      05/28/1991         20.20
                                    T834555                 A91155      06/06/1991        995.20
                                    T834556                 A91171      06/24/1991        558.43
                                    T860973                 A91207      07/30/1991        471.74
                                    T860983                 A91239      08/29/1991        434.25
                                    T860980                 A91239      08/29/1991        375.42
                                    T864852                 A91262      09/23/1991        501.67
                                    T883300                 A91263      09/24/1991        510.28
                                    T883303                 A91289      10/18/1991        829.69
                                    T882815                 A91298      10/29/1991        252.00
                                    T886464                 A91352      12/20/1991        975.79
                                    T912831                 A91353      12/23/1991        479.76
                                    T891543                 A92080      03/24/1992        485.69
                                    T909897                 A92126      05/07/1992        443.24
                                    T867575                 A92126      05/07/1992        292.78
                                    T867581                 A92136      05/19/1992        684.80
                                    T867593                 A92171      06/23/1992        547.03
                                    T933611                 A92210      07/30/1992        598.28
                                    610082                  A92213      08/04/1992         16.00
                                    T950962                 A92268      09/28/1992        920.74
                                    T933627                 A92279      10/07/1992        481.17
                                    T968503                 A92279      10/07/1992        426.67
                                    T968473                 A92309      11/06/1992        979.50

                                              Exhibit 4-A
                                                0160
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                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
BLEVINS, JOHN                       T951071                 A92336      12/03/1992         78.38
                                    T968491                 A92363      12/30/1992        533.38
                                    T975983                 A93064      03/09/1993        950.00
                                    T951073                 A93090      04/02/1993      1,778.89
                                    T951082                 A93120      05/04/1993        788.31
                                    T043329                 A93132      05/14/1993        537.55
                                    T951084                 A93140      05/24/1993        908.90
                                    T951085                 A93152      06/03/1993        639.98
                                    T951086                 A93152      06/03/1993        718.29
                                    T969226                 A93173      06/24/1993        359.87
                                    T950952                 A93203      07/26/1993        910.67
                                    T950955                 A93231      08/23/1993        417.95
                                    T950957                 A93243      09/02/1993      1,571.36
                                    T969228                 A93264      09/23/1993        961.31
                                    T969231                 A93270      09/29/1993        570.15
                                    T969242                 A93322      11/22/1993        511.59
                                    T969235                 A93323      11/23/1993      1,265.77
                                    T037482                 A93323      11/23/1993        441.07
                                    T969234                 A93330      11/30/1993      1,653.72
                                    T024862                 A93348      12/16/1993        525.29
                                    T024863                 A93348      12/16/1993        325.14
                                    T969246                 A93355      12/23/1993      1,830.24
                                    T093654                 A94006      01/10/1994        581.38
                                    T024864                 A94069      03/14/1994        628.00
                                    T024864                 A94076      03/21/1994        115.97
                                    T024868                 A94082      03/25/1994        407.09
                                    T024867                 A94084      03/29/1994      2,491.57

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                                   Regional Travel Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
BLEVINS, JOHN                       T4129301                A94278      10/07/1994      1,077.25

                                                                                      $41,658.65

BRUIN, PAULA                        T866991                 A92315      11/13/1992        271.00
PUBLIC AFFAIRS SPECIALIST           T046193                 A93288      10/19/1993        303.39
                                    T4172065                A95033      02/06/1995        347.21
                                    T2543308                A95124      05/08/1995         90.87
                                    T4210406                A95184      07/06/1995        236.46
                                    T4337154                A96278      10/08/1996        478.31

                                                                                       $1,727.24

BURRIS, SONYA J.                    T117402                 A94217      08/09/1994         50.50
                                    T117402                 A94224      08/16/1994        103.00

                                                                                         $153.50

CLIFFORD, GERALD                    T831632                 A91168      06/19/1991        334.86
DIRECTOR, HAZARDOUS SITE
CONTROL DIVISIO

                                                                                         $334.86

COLLINS, PATTI                      T4321933                A96171      06/21/1996        240.78
ENVIRONMENTAL SCIENTIST             T4183486                A96177      06/27/1996        499.11
                                    T4340972                A96199      07/19/1996        635.66
                                    T4340900                A96218      08/07/1996        917.66
                                    T4340888                A96261      09/19/1996      1,388.99
                                    T4373546                A96296      10/24/1996      1,847.96
                                    T4373521                A96352      12/19/1996      1,915.78
                                    T4298157                A96352      12/19/1996      2,885.76
                                    T4369430                A97055      02/26/1997      3,354.10
                                    T4352425                A97066      03/11/1997      1,991.36

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                                                0162
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                                   Regional Travel Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                      Treasury
                                       Travel              Treasury   Schedule
Traveler/Vendor Name                   Number              Schedule     Date       Travel Costs
COLLINS, PATTI                      T4360860              ACHA97099   04/11/1997      2,704.78
                                    T4375517              ACHA97100   04/14/1997      2,925.44
                                    T4434237              ACHA97188   07/09/1997      2,660.43
                                    T4427178              ACHA97188   07/09/1997      3,144.00
                                    T4433781              ACHA97199   07/22/1997      2,638.34
                                    T4433769              ACHA97233   08/25/1997      3,591.84
                                    T4375517              ACHA97239   08/29/1997         85.00
                                    T4433770              ACHA97265   09/24/1997      2,660.93
                                    T4433769              ACHA97294   10/23/1997         21.00
                                    T4427903              ACHA97307   11/05/1997      3,523.01
                                    T4427903              ACHA97365   01/05/1998         13.75
                                    T4412442              ACHA97365   01/05/1998         52.00
                                    T4397060              ACHA98005   01/07/1998      2,406.90
                                    T4412442              ACHA98013   01/15/1998      3,601.23
                                    T4397057              ACHA98022   01/26/1998      2,388.46
                                    T4397057              A98028      01/30/1998        116.00
                                    T4419755              ACHA98048   02/19/1998      2,153.51
                                    T4419755              ACHA98071   03/16/1998         59.67
                                    T4419772              ACHA98072   03/17/1998        810.43
                                    T5010633              ACHA98147   05/29/1998        689.15
                                    T5009707              ACHA98152   06/03/1998        424.49
                                    T5000635              ACHA98204   07/27/1998        602.57
                                    T4465824              ACHA98210   07/31/1998        290.00
                                    T4463525              ACHA98223   08/13/1998        292.77
                                    T5010633              ACHA98223   08/13/1998          9.29
                                    T5009707              ACHA98223   08/13/1998          5.61
                                    T5000635              ACHA98245   09/04/1998        281.76

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                                              0163
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                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
COLLINS, PATTI                      T4463530                ACHA98281   10/13/1998        568.13
                                    T4463410                ACHA98300   10/29/1998        958.82
                                    T5000635                ACHA98336   12/04/1998         23.28
                                    T4487694                ACHA98351   12/21/1998        464.49
                                    T4487037                ACHA98362   12/30/1998        579.06
                                    T4492643                ACHA99021   01/25/1999        234.08
                                    T4492386                ACHA99103   04/15/1999        469.57
                                    T4522946                ACHA99146   05/28/1999        310.56
                                    T4515657                ACHA99245   09/07/1999        387.67
                                    T4458701                ACHA99357   12/28/1999        503.68

                                                                                      $58,328.86

COOPER, DAVID                       T4213981                A95249      09/08/1995        260.48
COMMUNITY RELATIONS
SPECIALIST

                                                                                         $260.48

DIEBOLD, TINA C.                    T822245                 A91249      09/10/1991        516.85
CHEMIST

                                                                                         $516.85

ELIAS, JEANNE                       T5009659                ACHA98062   03/05/1998        319.18
ATTORNEY                            4486599                 ACHA98328   11/27/1998        119.00

                                                                                         $438.18

FELTER, FRASER                      T757280                 A90192      07/13/1990        160.98
COMMUNITY RELATIONS                 T762047                 A90267      09/26/1990      1,080.61
SPECIALIST
                                    T757275                 A90269      09/28/1990        445.40
                                    T753782                 A90306      11/06/1990        393.89
                                    T753795                 A90348      12/18/1990        581.39

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                                                0164
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
FELTER, FRASER                      T831852                 A91108      04/22/1991         43.76
                                    T860932                 A91255      09/16/1991        257.77
                                    T831842                 A91280      10/09/1991        886.98
                                    T886427                 A91333      12/03/1991        500.40
                                    T444267                 A92063      03/05/1992        291.74
                                    T867105                 A92157      06/09/1992        436.12
                                    T867106                 A92161      06/11/1992        278.39
                                    T867118                 A92161      06/11/1992        285.30
                                    T867111                 A92220      08/11/1992        477.38
                                    T867133                 A92220      08/11/1992        256.99
                                    110108                  A92224      08/13/1992         51.50
                                    T954979                 A92301      10/29/1992        333.77
                                    T954976                 A92309      11/06/1992        514.64
                                    T951198                 A93180      07/01/1993        315.76
                                    T082198                 A93267      09/28/1993        286.23
                                    T098176                 A93341      12/09/1993         94.20
                                    T2753664                A95068      03/13/1995        491.40
                                    T4187563                A95073      03/16/1995        482.24
                                    T4187569                A95075      03/20/1995         52.25
                                    T4058385                09T95144A   05/25/1995        472.31
                                    T4210801                09T95226A   08/15/1995        476.78
                                    T4321771                09T96051A   02/21/1996        485.18
                                    T4301767                09T96094A   04/04/1996        311.95
                                    T4215085                ACHA96205   07/25/1996        805.50

                                                                                      $11,550.81

FERGUSON, WENDELL D.                T117400                 A94220      08/10/1994         28.50


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                                                0165
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
OFFICE AUTOMATION CLERK             T117400                 A94224      08/16/1994         97.00

                                                                                         $125.50

FONG, YVONNE                        0309TAL311              ACHA03051   02/24/2003          9.32
COST ACCOUNTANT

                                                                                           $9.32

GENTILE, LAURA                      T821827                 A91135      05/17/1991        642.23
ENVIRONMENTAL SCIENTIST

                                                                                         $642.23

HEDEEN, ROBERTA                     T767512                 A91053      02/26/1991        978.36
ENVIRONMENTAL SCIENTIST             T821826                 A91135      05/17/1991      1,262.64
                                    T864931                 A91249      09/10/1991        622.52
                                    T886310                 A91364      01/02/1992        721.46

                                                                                       $3,584.98

HILL, TERESA L.                     T821829                 A91140      05/22/1991        663.37
ENVIRONMENTAL SCIENTIST

                                                                                         $663.37

HUETTEMAN, THOMAS                   T758837                 A90194      07/17/1990        188.66
ENVIRONMENTAL SCIENTIST             T767513                 A91066      03/11/1991        837.53
                                    T834167                 A91130      05/14/1991        470.52

                                                                                       $1,496.71

HUSBY, PETER                        T864932                 A91255      09/16/1991        520.42
ENVIRONMENTAL SCIENTIST

                                                                                         $520.42

JONES, DAVID                        T821928                 A91184      07/08/1991        292.00
SUPVY ENV PROT SPEC.                T860975                 A91249      09/10/1991        198.82
                                              Exhibit 4-A
                                                0166
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
JONES, DAVID                        T883299                 A91262      09/23/1991        212.75
                                    600012                  A92085      03/27/1992         24.75
                                    T882933                 A92241      09/01/1992        587.61
                                    T968497                 A92262      09/22/1992        744.00
                                    T909768                 A92293      10/21/1992        310.18
                                    T975980                 A93005      01/07/1993        204.48
                                    T660226                 A93180      07/01/1993        200.89

                                                                                       $2,775.48

KEMMERER, JOHN                      T4324189                A97038      02/11/1997         92.37
SUPERVISORY ENVIRONMENTAL           T4453622                ACHA98310   11/10/1998        115.75
SCIENTIST

                                                                                         $208.12

LEE, BARBARA                        9109BB0002              A91030      02/01/1991         29.15
ENVIRONMENTAL PROTECTION
SPEC.

                                                                                          $29.15

LEWIS, WILLIAM                      T753762                 A90267      09/26/1990        801.77
ENVIRONMENTAL SCIENTIST             T831724                 A91136      05/20/1991        510.07
                                    T832359                 A91214      08/06/1991        729.23
                                    T912915                 A91311      11/12/1991        702.07
                                    T891518                 A92063      03/05/1992        174.81

                                                                                       $2,917.95

LINDER, STEVEN                      T758973                 A90199      07/20/1990        239.75
ENVIRONMENTAL ENGINEER              T758973                 A90228      08/20/1990        198.00
                                    T770505                 A90254      09/13/1990        311.00
                                    T770532                 A90285      10/16/1990        286.44
                                    T781306                 A90339      12/07/1990        663.62

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                                   Regional Travel Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
LINDER, STEVEN                      9109610040              A91037      02/08/1991         37.12
                                    T693823                 A91128      05/10/1991        434.21
                                    T834550                 A91168      06/19/1991        428.36
                                    T860974                 A91207      07/30/1991        418.28
                                    T860982                 A91239      08/29/1991        361.48
                                    T864851                 A91241      09/03/1991        190.00
                                    T834797                 A91256      09/17/1991        425.63
                                    T882912                 A91262      09/23/1991        472.46
                                    T882816                 A91284      10/16/1991        314.58
                                    610015                  A91324      11/22/1991         50.75
                                    T886462                 A91352      12/20/1991        211.50
                                    T886466                 A91360      12/30/1991        811.02
                                    T891544                 A92058      03/02/1992        195.55
                                    610038                  A92064      03/06/1992         28.00
                                    T867576                 A92129      05/12/1992        256.39
                                    610069                  A92129      05/12/1992         50.00
                                    T867584                 A92136      05/19/1992        510.95
                                    T867585                 A92157      06/09/1992        229.50
                                    T909751                 A92171      06/23/1992        358.88
                                    T867595                 A92181      07/01/1992        412.00
                                    T933610                 A92220      08/11/1992        472.25
                                    610107                  A92227      08/18/1992         57.50
                                    T950965                 A92252      09/10/1992        665.00
                                    T950969                 A92255      09/15/1992        236.27
                                    T968496                 A92274      10/05/1992        398.50
                                    T968504                 A92293      10/21/1992        405.00
                                    T968594                 A92364      12/31/1992        394.00

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                                                0168
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                                   Regional Travel Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
LINDER, STEVEN                      T975985                 A93005      01/07/1993        699.00
                                    T980942                 A93075      03/18/1993        404.00
                                    T980938                 A93075      03/18/1993        226.83

                                                                                      $11,853.82

MCCARTY, KELLY S.                   T753761                 A90260      09/19/1990        617.22
MCCARTY, KELLY S.
ENVIRONMENTAL ENGINEER

                                                                                         $617.22

MONTGOMERY, MICHAEL                 T950956                 A93246      09/08/1993        200.00
ENVIRONMENTAL PROTECTION            T969229                 A93295      10/26/1993        638.79
SPECIALIST
                                    T969238                 A93301      11/01/1993        429.50
                                    T969237                 A93308      11/08/1993        690.40
                                    T969230                 A93323      11/23/1993        279.75
                                    T969236                 A93323      11/23/1993        163.00
                                    T969241                 A93330      11/30/1993        858.25
                                    T969244                 A93330      11/30/1993        320.60
                                    T969248                 A93337      12/07/1993      1,155.82
                                    T969240                 A93341      12/09/1993        473.72
                                    T093646                 A93348      12/16/1993        348.93
                                    T093653                 A94010      01/12/1994        694.42
                                    T093651                 A94010      01/12/1994        383.00
                                    T024871                 A94042      02/15/1994        720.99
                                    T098257                 A94063      03/08/1994        471.72
                                    T093652                 A94088      03/31/1994        505.87
                                    T093434                 A94103      04/15/1994      1,480.57
                                    T098258                 A94104      04/18/1994        407.51

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                                                0169
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                                   Regional Travel Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
MONTGOMERY, MICHAEL                 T148747                 A94104      04/18/1994        850.00
                                    T098260                 A94104      04/18/1994        433.22
                                    T098262                 A94104      04/18/1994        829.91
                                    T024870                 09T4004     04/22/1994      2,309.02
                                    T114999                 A94199      07/20/1994        373.94
                                    T093450                 A94199      07/20/1994        528.86
                                    T157692                 A94199      07/20/1994        384.46
                                    T114996                 A94199      07/20/1994        625.04
                                    T093438                 A94207      07/28/1994      1,044.55
                                    T117401                 A94270      09/29/1994        315.37
                                    T117403                 A94270      09/29/1994        271.77
                                    T4158083                A94298      10/27/1994        204.31
                                    T4129248                A94307      11/07/1994        661.74
                                    T4129241                A94307      11/07/1994        726.93
                                    T4060033                A95011      01/13/1995        373.97
                                    T4060022                A95039      02/10/1995        484.53
                                    T4060032                A95040      02/13/1995      1,286.07
                                    T4189496                A95080      03/23/1995        552.60
                                    T4189492                A95083      03/28/1995      1,595.54
                                    T4189481                A95083      03/28/1995        664.96
                                    T4130816                A95083      03/28/1995        368.61
                                    T4189482                A95083      03/28/1995        378.24
                                    T4060011                A95083      03/28/1995        699.60
                                    T4215950                A95130      05/12/1995        328.24
                                    T4189504                A95130      05/12/1995      1,494.77
                                    T4114223                A95130      05/12/1995        926.19
                                    T4215962                A95187      07/10/1995        663.00

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                                                0170
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                                   Regional Travel Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
MONTGOMERY, MICHAEL                 T4215984                A95187      07/10/1995        615.83
                                    T4215983                T95223A     08/14/1995        371.69
                                    T4210572                09T95226A   08/15/1995        536.85
                                    T4215961                09T95226A   08/15/1995        693.75
                                    T4189505                09T95234A   08/23/1995      2,216.27
                                    T4187654                09T95248A   09/06/1995      1,231.01
                                    T4210575                09T95249A   09/07/1995        546.00
                                    T4117389                A95289      10/18/1995        261.41
                                    T4183505                09T95300A   10/30/1995        540.68
                                    T4210532                09T95333A   11/30/1995        478.93
                                    T4210528                09T95352A   12/19/1995        374.79
                                    T4322203                09T96053A   02/23/1996        498.00
                                    T4183503                09T96068A   03/11/1996        538.05
                                    T4322209                09T96082A   03/25/1996        497.40
                                    T4301784                09T96113A   04/23/1996        328.07
                                    T4321931                09T96120A   04/30/1996        366.06
                                    T4301800                ACHA96138   05/21/1996        179.22
                                    T4057969                ACHA96233   08/22/1996        411.47

                                                                                      $40,283.76

MOORE, KATHERINE                    T4487840                ACHA99258   09/17/1999        238.60
ENVIRONMENTAL ENGINEER

                                                                                         $238.60

MOXLEY, BRET                        T037730                 A93364      01/04/1994        299.97
ENVIRONMENTAL ENGINEER              T979473                 A94005      01/07/1994        381.44
                                    T114261                 A94020      01/24/1994        751.40
                                    T148681                 A94083      03/28/1994        571.53


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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
MOXLEY, BRET                        T148663                 A94083      03/28/1994        187.80
                                    T093425                 A94083      03/28/1994        679.24
                                    T086305                 A94124      05/06/1994        409.64
                                    T114259                 A94168      06/21/1994      1,221.16
                                    T114263                 A94168      06/21/1994        547.88
                                    T148684                 A94189      07/12/1994        517.66
                                    T148660                 A94189      07/12/1994        505.40
                                    T4128624                A94326      11/25/1994        158.00
                                    T4129227                A94326      11/25/1994        196.65
                                    T4100161                A94326      11/25/1994        331.38
                                    T4129243                A94326      11/25/1994        732.18
                                    T4129017                A94326      11/25/1994        146.50
                                    T4058304                A94326      11/25/1994        217.48
                                    T4158069                A94326      11/25/1994        384.40
                                    T4157676                A94326      11/25/1994        535.83
                                    T4158091                A95170      06/21/1995        596.81
                                    T4130756                A95194      07/17/1995      1,298.82
                                    T4060030                A95242      09/01/1995        197.62
                                    T4060029                A95242      09/01/1995        693.88

                                                                                      $11,562.67

NELSON, DENISE                      T834520                 A91242      09/04/1991        350.24
NELSON, SUNNY                       T4463272                A98265      09/24/1998        429.00
CONGRESSIONAL AFFAIRS
SPECIALIST

                                                                                         $779.24

OPALSKI, PAMELA L.                  T757624                 A90192      07/13/1990        306.40



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                                   Regional Travel Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                            CRP# 110926, 101445 & 238
   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
ENVIRONMENTAL PROTECTION            T757636                 A90197      07/18/1990        611.00
SPECIALIST
                                    T758964                 A90207      07/30/1990        346.04
                                    T770586                 A90267      09/26/1990      1,043.52
                                    T781305                 A90339      12/07/1990        538.50
                                    T781321                 A90348      12/18/1990        329.02
                                    T778882                 A91002      01/04/1991        248.69
                                    9109610033              A91025      01/29/1991         31.00
                                    T770573                 A91058      03/01/1991        543.13
                                    T762544                 A91077      03/20/1991        279.00
                                    T693176                 A91116      04/30/1991        158.00
                                    T831944                 A91143      05/28/1991        811.00
                                    T831945                 A91169      06/20/1991        432.20
                                    T860972                 A91207      07/30/1991        535.95
                                    T860979                 A91239      08/29/1991        269.32
                                    T882908                 A91262      09/23/1991        431.42
                                    T883301                 A91262      09/23/1991        242.50
                                    T883302                 A91280      10/09/1991        460.50
                                    T882910                 A91291      10/22/1991        171.50
                                    T561094                 A91333      12/03/1991        393.00
                                    T891541                 A92059      03/03/1992        440.52
                                    T909445                 A92119      04/30/1992        308.16
                                    T867574                 A92126      05/07/1992        249.16
                                    T867582                 A92136      05/19/1992        507.00
                                    T882924                 A92143      05/27/1992        207.50
                                    T867591                 A92170      06/22/1992        147.50
                                    T867594                 A92178      06/30/1992        426.00
                                    T950966                 A92252      09/10/1992        743.50
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                                                0173
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
OPALSKI, PAMELA L.                  T950967                 A92255      09/15/1992        273.50
                                    T968502                 A92279      10/07/1992        367.04
                                    T933626                 A92279      10/07/1992        410.00
                                    T968998                 A92309      11/06/1992      1,054.14
                                    T968490                 A93005      01/07/1993        368.50
                                    T951076                 A93075      03/18/1993        410.00
                                    T969223                 A93141      05/25/1993        266.40
                                    T969227                 A93167      06/18/1993        186.00

                                                                                      $14,546.61

RITTER, GREGORY A.                  T834596                 A91183      07/05/1991        156.50
ATTORNEY ADVISOR (GENERAL)          T834596                 A91197      07/18/1991        160.00
                                    T864486                 A91297      10/28/1991        418.88
                                    T864468                 A91319      11/19/1991        299.88
                                    9209HV0049              A92037      02/10/1992         59.75
                                    T955138                 A92220      08/11/1992      1,311.96
                                    T969778                 A92262      09/22/1992        169.19
                                    T969796                 A92283      10/14/1992        471.50
                                    T885916                 A92317      11/16/1992        335.27
                                    T867401                 A92350      12/17/1992        328.00
                                    T444230                 A93055      02/26/1993        349.00
                                    T098122                 A93337      12/07/1993        402.96
                                    T099884                 A94034      02/07/1994        344.50
                                    T131898                 A94199      07/20/1994        378.50
                                    T4158166                A94280      10/12/1994        308.50
                                    T4130470                A94312      11/10/1994        236.44
                                    T4172096                A94355      12/23/1994        314.46
                                    T4216356                A95128      05/10/1995        352.46

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                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
RITTER, GREGORY A.                  T4216367                A95181      07/05/1995        352.66
                                    T4215075                A95223      08/15/1995        197.00

                                                                                       $6,947.41

ROBINSON, SHEILA R.                 T767549                 9A1116      01/24/1991        468.60
STUDENT TRAINEE (ENV SCIENTIST)

                                                                                         $468.60

SEMONES, VICKY M.                   T4337110                A96257      09/17/1996        522.15
COMMUNITY RELATIONS
SPECIALIST

                                                                                         $522.15

SETER, DAVID                        T4487839                ACHA99256   09/15/1999        259.38
ENVIRONMENTAL ENGINEER              T4522232                ACHA99326   11/24/1999        266.73
                                    T4480428                ACHA00020   01/24/2000        155.78
                                    T4476681                ACHA00109   04/20/2000        178.87
                                    T4491938                ACHA00276   10/04/2000        368.24
                                    T4514537                ACHA01082   03/27/2001        235.77
                                    T4512910                ACHA01215   08/07/2001        396.72
                                    T4521445                ACHA02092   04/04/2002        301.41
                                    T4521456                ACHA02157   06/10/2002        280.58
                                    T4519968                ACHA02225   08/15/2002        576.16
                                    TM0081668               ACHA03036   02/07/2003        290.19
                                    TM0119480               ACHA03183   07/07/2003        696.35
                                    TM0152675               ACHA04008   01/12/2004        393.48

                                                                                       $4,399.66

SIMPSON, STEWART                    T767547                 A91042      02/13/1991        527.64



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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
ENVIRONMENTAL SCIENTIST             T834169                 A91134      05/16/1991        656.04

                                                                                       $1,183.68

SMUCKER, STANFORD                   T128635                 A94217      08/09/1994        177.15
TOXICOLOGIST

                                                                                         $177.15

STAMNES, ROBERT L.                  T9313998                A96302      10/30/1996        424.93
ENVIRON. ENGINEER                   T9316638                000A97218   08/08/1997        569.65

                                                                                         $994.58

SWARTHOUT, BRIAN H.                 T4210531                A96005      01/09/1996        272.55
ENVIRONMENTAL SCIENTIST             T4215973                09T96068A   03/11/1996        291.75
                                    T4215419                09T96068A   03/11/1996        155.55
                                    T4321914                09T96082A   03/25/1996        264.50
                                    T4321927                09T96116A   04/29/1996        247.50
                                    T4302043                09T96122A   05/02/1996        243.50
                                    T4302034                ACHA96143   05/24/1996        289.35
                                    T4336958                ACHA96151   06/03/1996        119.25
                                    T4321901                ACHA96165   06/17/1996        421.26

                                                                                       $2,305.21

TAKATA, KEITH                       T2933670                A92295      10/23/1992        130.34
DIRECTOR, SUPERFUND DIVISION        T4297783                A96324      11/21/1996        179.08

                                                                                         $309.42

TERRY, ANDY                         T4340887                A96317      11/14/1996        217.17
COMPUTER SPECIALIST                 T4340887                A96341      12/10/1996        204.00

                                                                                         $421.17

TRUJILLO, DIANNA L.                 T834548                 A91134      05/16/1991        272.75

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                                                0176
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
ENVIRONMENTAL PROTECTION            T834548                 A91197      07/18/1991        124.00
ASSISTANT (TYP)

                                                                                         $396.75

VREELAND, JAMES                     T129398                 A94152      06/03/1994        569.18
ENVIRONMENTAL PROTECTION            T128659                 A94195      07/18/1994        116.26
SPECIALIST
                                    T753619                 A94202      07/25/1994        158.00
                                    T753622                 A94224      08/16/1994        379.90
                                    T753602                 A94242      09/01/1994        246.10
                                    T2753610                A94278      10/07/1994        181.15
                                    T4058402                A94320      11/18/1994        666.68

                                                                                       $2,317.27

WALKER, JUDITH                      T4157699                A95025      01/27/1995        193.52
ENVIRONMENTAL PROTECTION
SPECIALIST

                                                                                         $193.52

WILSON, DOROTHY                     T762023                 A91168      06/19/1991        594.65
COMMUNITY RELATIONS
SPECIALIST

                                                                                         $594.65

WISE, JOHN C.                       T753119                 A91169      06/20/1991        307.63
DEPUTY REGIONAL                     T787989                 A91232      08/22/1991        367.93
ADMINISTRATOR
                                    T909988                 A92281      10/09/1992        293.40
                                    T099846                 A94004      01/06/1994        331.29
                                    T4187934                A95083      03/28/1995         97.00

                                                                                       $1,397.25

WITTORP, RANDALL L.                 T4396762                A97311      11/12/1997        168.55

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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                        Treasury
                                       Travel                Treasury   Schedule
Traveler/Vendor Name                   Number                Schedule     Date       Travel Costs
PUBLIC AFFAIRS SPECIALIST           T4396763                A97330      12/01/1997        199.56
                                    T4463269                A98266      09/25/1998        528.89

                                                                                         $897.00

WOLFRAM, MICHAEL                    T128623                 A94238      08/30/1994        309.49
ENVIRONMENTAL ENGINEER              T129024                 A94259      09/20/1994        322.20
                                    T129023                 A94262      09/21/1994        515.52
                                    T4158068                A94292      10/21/1994        177.01
                                    T4158087                A94307      11/07/1994        163.76
                                    T4060036                A94356      12/27/1994        832.11
                                    T4060008                A95006      01/10/1995        687.76
                                    T4189488                A95038      02/09/1995        523.20
                                    T4189500                A95059      03/02/1995        520.02
                                    T4187640                A95076      03/21/1995      1,469.45
                                    T4189502                A95090      04/04/1995        553.40
                                    T4187646                A95104      04/18/1995        303.15
                                    T4187645                A95104      04/18/1995        278.37
                                    T4129238                A95116      04/28/1995      1,217.29
                                    T4187657                A95156      06/07/1995        638.77
                                    T4215964                A95164      06/15/1995        448.78
                                    T4210569                A95184      07/06/1995        496.87
                                    T4210507                A95230      08/22/1995        330.44
                                    T4183491                A95237      08/29/1995        338.09

                                                                                      $10,125.68

WOOD, DAVID                         9109BB0001              A91030      02/01/1991         24.26
SUPERFUND ACCOUNTING                0309TAL310              ACHA03051   02/24/2003         75.96
PROGRAM CHIEF

                                                                                         $100.22

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                                                0178
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                              MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                                            Treasury
                                           Travel                Treasury   Schedule
Traveler/Vendor Name                       Number                Schedule     Date       Travel Costs
YOUNG, DIANNA                           T753798                 A90332      12/03/1990        327.50
SUPV COMMUNITY RELATIONS                T082201                 A93288      10/19/1993        203.21
SPECIALIST

                                                                                             $530.71

ZABEL, ALLAN                            T637552                 A90184      07/06/1990        316.70
SUPERVISORY ATTORNEY ADVISOR            T787332                 A90184      07/06/1990        236.18

                                                                                             $552.88

ZELIKSON, JEFFREY                       T683674                 A91178      07/01/1991        355.18
DIRECTOR, TOXICS & WASTE                T933612                 A92206      07/28/1992        579.87
MANAGEMENT DIV.
                                        T968539                 A92279      10/07/1992        247.07
                                        T148631                 A94069      03/14/1994        208.43
                                        T4059804                A94053      02/14/1995        299.81

                                                                                           $1,690.36

ZUROSKI, DONN                           T753766                 A90260      09/19/1990        481.83
ENVIRONMENTAL SCIENTIST

                                                                                             $481.83


Total Regional Travel Costs                                                              $246,810.66




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                                                    0179
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                                                                        Treasury
                                        Travel               Treasury   Schedule
Traveler/Vendor Name                    Number               Schedule     Date       Travel Costs

BRISCOE, NANCY                      T2621198                A92240      08/31/1992        247.35
SUPV.ENVIRONMENTAL
PROTECTION SPECIALIST

                                                                                         $247.35

CAMPAGNA, PHILIP                    T2642828                000A90257   09/18/1990      1,476.27
CHEMIST

                                                                                       $1,476.27

COOPER, DAVID                       T410247                 A90207      07/30/1990         79.54
ENVIRONMENTAL PROTECTION            T724831                 A90269      09/28/1990        120.87
SPECIALIST
                                    T538539                 A91037      02/08/1991        170.00
                                    T724810                 A91093      04/05/1991        183.91
                                    T658409                 A91114      04/26/1991        160.30

                                                                                         $714.62

CORCORAN, JON A.                    T2642830                000A90257   09/18/1990        549.55
CLERK

                                                                                         $549.55

HANLON, EDWARD                      T740040                 A91036      02/07/1991        197.62
Environmental Scientist

                                                                                         $197.62

LAMBER, KURT                        T015257                 A93194      07/15/1993        121.57
GEOLOGIST

                                                                                         $121.57

LANEWENNER, CAROLYN                 T721667                 A91242      09/04/1991      1,017.58
ATTORNEY-ADVISOR(GENERAL)

                                                                                       $1,017.58

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                                                0180
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                                                                         Treasury
                                         Travel               Treasury   Schedule
Traveler/Vendor Name                     Number               Schedule     Date       Travel Costs
NATOLI, ROSARIO L.                   T620792                 A90215      08/07/1990        106.69
ENVIRONMENTAL ENGINEER               T650579                 A91037      02/08/1991        185.80

                                                                                          $292.49

PANE, VICKIE L.                      T2642894                000A90278   10/10/1990        649.50
PANE, VICKIE L.
CHEMICAL ENGINEER

                                                                                          $649.50

POPINO, RICHARD                      T620729                 A90261      09/20/1990        330.70
PROGRAM ANALYST

                                                                                          $330.70

YOUKELES, ALAN                       T4413914                000A97251   09/10/1997         97.45
PROGRAM ANALYST

                                                                                           $97.45

ZOWNIR, ANDRE                        T642708                 A90201      07/24/1990        669.75
SUPERVISORY ENVIRONMENTAL            T642708                 A90215      08/07/1990         18.00
ENGINEER

                                                                                          $687.75


Total Headquarters Travel Costs                                                         $6,382.45




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALLOCATION TRANSFER IAG
Contractor Name:                U.S. DEPT. OF HEALTH & HUMAN SERVICES
EPA Contract Number:            ATSDR
Project Officer(s):             BETTY N. JONES
Dates of Service:               From:                 To: 05/31/2002
Summary of Service:             HEALTH ASSESSMENT ACTIVITIES
Total Costs:                            $62,090.67


Voucher                    Voucher            Voucher             Treasury Schedule             Site
Number                       Date              Amount        Number      and     Date        Amount
                          07/25/2002            -185.00                        03/07/1996      -185.00
                          10/30/1997          62,275.67                        09/30/1997    62,275.67

                                                                               Total:       $62,090.67




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                                       Contract Costs
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:                 CH2M HILL
EPA Contract Number:             68-W9-0031
Project Officer(s):              ROBERT P. STERN/JUDITH WALKER
Dates of Service:                From: 05/01/1990     To: 07/31/1991
Summary of Service:              REMEDIAL SUPPORT
Total Costs:                         $192,288.17
Voucher                Voucher          Voucher        Treasury Schedule            Site        Annual
Number                   Date           Amount      Number    and Date             Amount      Allocation
15                    06/07/1990       488,027.82   09160            07/19/1990     9,240.84     1,192.05
16                    07/09/1990       527,112.08   09175            08/09/1990     4,293.72       553.88
17                    08/09/1990       461,405.12   09199            09/12/1990     4,419.34       570.09
18                    09/10/1990       692,867.55   09220            10/12/1990    26,798.27     3,456.92
19                    10/08/1990       496,603.90   09240            11/09/1990     9,053.99     1,167.95
20                    11/08/1990       721,052.32   09261            12/12/1990    17,965.49     2,317.51
21                    11/08/1990       105,859.00   09262            12/13/1990     1,848.38       238.44
22                    12/10/1990       907,501.66   09280            01/10/1991    24,134.76     3,113.34
23                    01/08/1991       870,846.04   09300            02/08/1991    24,319.75     3,137.20
24                    02/08/1991       889,885.42   09321            03/11/1991    55,744.46     7,190.93
25                    03/08/1991       988,383.44   09341            04/09/1991    20,040.71     2,585.21
26                    03/08/1991        83,605.00   09341            04/09/1991     1,419.26       183.08
27                    04/05/1991       867,511.19   09361            05/07/1991   -56,816.53    -7,329.22
28                    05/08/1991     1,222,044.36   09382            06/06/1991     4,670.51       602.49
29                    06/10/1991     1,328,054.58   09405            07/10/1991    20,369.70     2,627.65
31                    08/08/1991       675,710.64   91018            09/05/1991         3.17         0.41
32                    09/09/1991       957,074.00   92013            10/07/1991        49.12         6.34
33                    09/10/1991       178,734.00   92013            10/07/1991       773.00        99.72
34                    10/09/1991       623,541.53   92077            11/05/1991        11.59         1.50
35                    11/07/1991       750,244.16   92131            12/04/1991        26.25         4.23
37                    01/08/1991       429,951.06   92255            02/03/1992        11.93         1.92
39                    03/12/1992       492,993.18   92417            04/10/1992         3.65         0.59
41                    04/09/1992       125,733.00   92482            05/05/1992       430.84        69.42
52A                   02/10/1993       456,016.49   93419            03/16/1993       -99.65       -15.57
104                   11/08/1996       105,542.34   97187            12/10/1996     2,380.62       159.17
105                   11/08/1996      -120,873.42   97187            12/10/1996      -640.00       -42.79
108                   12/19/1996       269,596.06   97293            01/15/1997       -54.97        -3.67




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                                                         0183
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                                       Contract Costs
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                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:                 CH2M HILL
EPA Contract Number:             68-W9-0031
Project Officer(s):              ROBERT P. STERN/JUDITH WALKER
Dates of Service:                From: 05/01/1990     To: 07/31/1991
Summary of Service:              REMEDIAL SUPPORT
Total Costs:                         $192,288.17
Voucher                Voucher          Voucher        Treasury Schedule              Site       Annual
Number                   Date           Amount      Number    and Date               Amount     Allocation
107                   12/19/1996        86,076.58 97295              01/16/1997          1.11         0.07

                                                                      Total:      $170,399.31   $21,888.86




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                                                         0184
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                                            #:6992
                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:           CH2M HILL
EPA Contract Number:       68-W9-0031
Project Officer(s):        ROBERT P. STERN/JUDITH WALKER
Dates of Service:          From: 05/01/1990   To: 07/31/1991
Summary of Service:        REMEDIAL SUPPORT
Total Costs:                    $192,288.17

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
 15                        09160              Final                                   0.128998
 16                        09175              Final                                   0.128998
 17                        09199              Final                                   0.128998
 18                        09220              Final                                   0.128998
 19                        09240              Final                                   0.128998
 20                        09261              Final                                   0.128998
 21                        09262              Final                                   0.128998
 22                        09280              Final                                   0.128998
 23                        09300              Final                                   0.128998
 24                        09321              Final                                   0.128998
 25                        09341              Final                                   0.128998
 26                        09341              Final                                   0.128998
 27                        09361              Final                                   0.128998
 28                        09382              Final                                   0.128998
 29                        09405              Final                                   0.128998
 31                        91018              Final                                   0.128998
 32                        92013              Final                                   0.128998
 33                        92013              Final                                   0.128998
 34                        92077              Final                                   0.128998
 35                        92131              Final                                   0.161128
 37                        92255              Final                                   0.161128
 39                        92417              Final                                   0.161128
 41                        92482              Final                                   0.161128
 52A                       93419              Final                                   0.156295
 104                       97187              Final                                   0.066861
 105                       97187              Final                                   0.066861
 108                       97293              Final                                   0.066861
 107                       97295              Final                                   0.066861


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                                                 0185
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:                 ICF TECHNOLOGY, INC.
EPA Contract Number:             68-W9-0059
Project Officer(s):              CHU, LILY Y.
Dates of Service:                From: 03/03/1991     To: 09/30/1999
Summary of Service:              GROUNDWATER RI/FS SUPPORT & RD/RA OVERSIGHT SUPPORT FOR THE
                                 SOURCE OU PHASE II OPERATIONS
Total Costs:                       $4,803,066.82
Voucher                Voucher          Voucher        Treasury Schedule            Site        Annual
Number                   Date           Amount      Number    and Date             Amount      Allocation
25                    07/11/1991       161,655.80   09432            08/16/1991    20,486.04     7,816.10
24R                   07/29/1991        84,750.99   91013            09/03/1991    15,908.29     6,069.54
26                    08/06/1991       199,837.56   91022            09/09/1991    39,181.00    14,948.84
27                    09/11/1991       344,427.16   92021            10/11/1991    70,470.50    26,886.82
28                    10/09/1991       236,148.91   92086            11/08/1991    55,464.78    21,161.64
29                    11/06/1991       234,977.02   92138            12/09/1991    56,791.32    12,251.14
30                    12/10/1991       352,150.66   92200            01/08/1992   121,660.84    26,244.92
31                    01/07/1992       303,571.23   92259            02/05/1992   123,255.98    26,589.03
31-R                  01/17/1992           904.60   92292            02/19/1992       617.47       133.20
32                    02/05/1992       277,458.90   92336            03/10/1992   132,899.18    28,669.28
33                    03/12/1992       348,102.40   92420            04/13/1992    99,672.30    21,501.50
34                    04/09/1992       338,780.70   92484            05/06/1992    49,527.15    10,684.10
35                    05/08/1992       303,564.23   92540            06/03/1992    43,182.17     9,315.34
36                    06/10/1992       410,430.46   92637            07/14/1992    62,485.10    13,479.41
37                    07/17/1992       345,348.86   92739            08/20/1992    40,932.42     8,830.02
38                    08/14/1992       341,727.68   92805            09/16/1992    89,923.25    19,398.42
39                    09/11/1992       324,277.79   93020            10/08/1992    38,028.62     8,203.61
40                    10/13/1992       363,928.99   93106            11/12/1992    36,068.26     7,780.71
41                    11/13/1992       319,094.66   93190            12/15/1992    12,738.32     3,521.74
42                    12/10/1992       232,211.17   93256            01/11/1993     9,260.27     2,560.17
43                    01/15/1993       210,898.08   93352            02/19/1993    28,751.94     7,948.99
44                    02/12/1993       226,683.08   93436            03/22/1993    32,619.85     9,018.35
45                    03/12/1993       258,593.67   93505            04/16/1993    27,903.27     7,714.36
46                    04/09/1993       178,500.30   93560            05/10/1993    17,428.84     4,818.51
47                    05/14/1993       273,066.37   93646            06/14/1993    45,397.94    12,551.08
48                    06/11/1993       209,146.63   93722            07/16/1993    28,435.10     7,861.39
49                    07/09/1993       229,454.00   93781            08/11/1993   103,256.91    28,547.23
50                    08/13/1993       220,862.51   93867            09/15/1993    78,705.29    21,759.49
51                    08/13/1993       162,783.80   94021            10/08/1993    11,930.80     3,298.49
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:                 ICF TECHNOLOGY, INC.
EPA Contract Number:             68-W9-0059
Project Officer(s):              CHU, LILY Y.
Dates of Service:                From: 03/03/1991     To: 09/30/1999
Summary of Service:              GROUNDWATER RI/FS SUPPORT & RD/RA OVERSIGHT SUPPORT FOR THE
                                 SOURCE OU PHASE II OPERATIONS
Total Costs:                       $4,803,066.82
Voucher                Voucher          Voucher        Treasury Schedule            Site        Annual
Number                   Date           Amount      Number    and Date             Amount      Allocation
52                    10/13/1993       240,949.27   94130            11/18/1993    53,362.76    14,753.10
53                    11/12/1993       191,949.46   94213            12/17/1993    28,586.19     6,309.80
54                    12/10/1993       130,374.96   94286            01/18/1994    27,007.02     5,961.24
55                    01/14/1994       184,462.74   94371            02/18/1994    40,678.11     8,978.83
56                    02/11/1994       174,587.01   94432            03/15/1994    43,716.87     9,649.59
57                    03/07/1994       172,233.14   94490            04/06/1994    73,235.82    16,165.27
59                    04/06/1994       162,938.41   94561            05/05/1994    59,066.01    13,037.58
60                    05/09/1994       214,063.48   94639            06/07/1994    56,438.28    12,457.56
61                    06/08/1994       214,803.23   94718            07/13/1994    46,791.21    10,328.17
62                    07/08/1994       160,158.33   94799            08/12/1994    49,791.67    10,990.46
63                    08/12/1994       282,861.09   94885            09/14/1994   175,068.12    38,642.61
64                    09/08/1994       167,744.68   95022            10/12/1994    77,908.91    17,196.75
65                    10/10/1994       230,482.02   95102            11/10/1994    76,699.26    16,929.75
67                    11/07/1994       110,007.68   95168            12/06/1994    30,616.26     6,616.85
68                    11/07/1994       240,538.79   95168            12/06/1994    25,171.66     6,959.16
69                    11/07/1994        79,803.33   95168            12/06/1994     2,574.02       568.16
70                    11/07/1994       292,159.76   95184            12/12/1994    63,443.33     9,865.95
71                    12/16/1994       347,948.22   95290            01/23/1995    54,541.95     6,768.49
72                    01/18/1995       313,017.29   95360            02/21/1995    57,416.17     8,928.68
73                    02/08/1995       230,274.06   95412            03/14/1995    61,702.65     9,595.25
74                    03/09/1995       289,292.51   95502            04/11/1995    67,596.97    10,511.87
75                    04/10/1995       232,069.57   95584            05/12/1995    73,820.11    11,479.62
76                    05/12/1995       304,986.61   95665            06/12/1995   109,766.86    17,069.63
77                    06/12/1995       241,206.35   95738            07/11/1995    47,281.88     7,352.71
78                    07/07/1995       270,644.07   95804            08/09/1995    79,763.45    12,403.86
79                    08/11/1995       306,883.25   95896            09/14/1995    96,024.79    14,932.62
80                    09/11/1995       264,360.63   96027            10/12/1995    39,812.71     6,191.20
81                    10/13/1995       289,188.55   96107            11/14/1995    48,070.24     7,475.31
82                    11/22/1995       340,692.36   96205            12/28/1995    14,942.09     1,854.27
                                                       Exhibit 4-A
                                                         0187
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        COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:                 ICF TECHNOLOGY, INC.
EPA Contract Number:             68-W9-0059
Project Officer(s):              CHU, LILY Y.
Dates of Service:                From: 03/03/1991     To: 09/30/1999
Summary of Service:              GROUNDWATER RI/FS SUPPORT & RD/RA OVERSIGHT SUPPORT FOR THE
                                 SOURCE OU PHASE II OPERATIONS
Total Costs:                       $4,803,066.82
Voucher                Voucher          Voucher        Treasury Schedule           Site        Annual
Number                   Date           Amount      Number    and Date            Amount      Allocation
83                    12/08/1995       234,953.89   96252            01/22/1996   33,806.75     4,195.31
84                    01/25/1996       592,690.85   96358            02/28/1996   36,737.74     4,559.04
85                    02/18/1996       192,628.15   96421            03/25/1996   28,717.68     3,563.77
86R                   03/26/1996       269,243.08   96485            04/22/1996   35,600.17     4,417.88
87                    04/12/1996       222,767.39   96540            05/14/1996   32,144.93     3,989.09
88                    05/17/1996       250,873.69   96640            06/24/1996   36,479.89     4,527.05
89                    06/17/1996       258,355.50   96703            07/17/1996   17,766.94     2,204.83
90                    07/22/1996       168,232.53   96800            08/23/1996   25,414.26     3,153.83
91                    08/12/1996       163,393.15   96849            09/13/1996   22,260.54     2,762.46
92                    09/20/1996       447,322.13   97072            10/24/1996   59,800.43     7,421.05
93-Z                  09/24/1996       118,288.50   97079            10/28/1996   22,554.82     3,516.48
94                    10/21/1996       356,161.45   97153            11/25/1996   53,265.19     6,610.05
95                    11/19/1996       224,570.21   97211            12/17/1996   25,077.44     3,305.91
96                    12/23/1996       320,436.82   97312            01/24/1997   35,747.96     4,712.58
97                    01/21/1997       193,959.19   97381            02/19/1997   22,110.07     2,914.73
98                    02/25/1997       230,096.79   97522            04/08/1997   13,173.20     1,736.60
99-Z                  02/26/1997       316,237.45   97522            04/08/1997   56,765.26     7,044.40
100                   04/01/1997       259,951.12   97580            04/28/1997   20,184.01     2,660.82
101                   04/25/1997       200,325.08   97645            05/21/1997   21,487.11     2,832.60
102                   05/21/1997       223,811.91   97717            06/17/1997   14,014.17     1,847.46
103                   06/17/1997       203,667.89   97800            07/16/1997   15,438.84     2,035.27
104                   07/16/1997       215,366.73   97874            08/13/1997   12,311.75     1,623.03
105                   08/20/1997       208,057.85   97970            09/17/1997   12,462.40     1,642.90
106-Z                 08/28/1997       -31,273.19   97970            09/17/1997   -4,438.43      -585.11
107                   09/18/1997       194,363.13   98038            10/16/1997   24,216.35     3,192.39
108                   10/20/1997       132,158.74   98136            11/19/1997   10,296.31     1,357.34
109                   10/19/1997       199,407.75   98212            12/18/1997   10,711.35     1,142.69
110                   11/17/1997       165,078.01   98280            01/14/1998    8,567.84       914.02
111                   01/15/1998       196,695.95   98365            02/13/1998   10,887.32     1,161.46
                                                       Exhibit 4-A
                                                         0188
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        COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:                 ICF TECHNOLOGY, INC.
EPA Contract Number:             68-W9-0059
Project Officer(s):              CHU, LILY Y.
Dates of Service:                From: 03/03/1991     To: 09/30/1999
Summary of Service:              GROUNDWATER RI/FS SUPPORT & RD/RA OVERSIGHT SUPPORT FOR THE
                                 SOURCE OU PHASE II OPERATIONS
Total Costs:                       $4,803,066.82
Voucher                Voucher          Voucher        Treasury Schedule               Site         Annual
Number                   Date           Amount      Number    and Date                Amount       Allocation
112                   02/19/1998       271,941.88   98462            03/18/1998      12,332.23       1,315.60
113                   03/19/1998       307,626.89   98549            04/16/1998       7,072.41         754.49
114-Z                 03/30/1998       -37,563.59   98628            05/15/1998      -1,795.38        -191.53
115                   04/15/1998       245,343.40   98628            05/15/1998       2,900.00         309.38
116                   05/22/1998       290,582.43   98724            06/18/1998       4,368.53         466.03
117                   06/19/1998       242,245.30   98803            07/17/1998       1,964.90         209.62
118                   07/15/1998       235,287.32   98871            08/14/1998       5,091.59         543.17
119                   08/21/1998       329,351.93   98956            09/16/1998       7,933.54         846.35
120                   09/18/1998       287,194.13   99033            10/15/1998      13,181.26       1,406.18
121                   10/21/1998       251,798.27   99128            11/20/1998       5,369.15         572.78
122                   11/20/1998       255,134.33   99193            12/17/1998       6,827.88         582.72
123                   12/24/1998       454,083.93   99288            01/21/1999       2,535.16         216.36
124                   01/21/1999       191,343.02   99343            02/18/1999       3,267.66         278.88
125                   02/19/1999       172,948.35   99408            03/18/1999       1,868.03         159.43
126                   03/18/1999       175,884.27   99472            04/15/1999       2,045.92         174.61
127                   04/28/1999       258,306.08   99563            05/27/1999      27,509.62       2,347.79
128                   05/20/1999       184,044.64   99607            06/16/1999       1,548.19         132.13
129                   06/18/1999        81,904.59   99671            07/15/1999          36.52           3.12
130                   07/22/1999       388,800.49   99754            08/19/1999       5,270.21         449.78
131                   08/18/1999        49,765.93   99814            09/16/1999         400.35          34.17
132                   09/30/1999       118,900.34   52               10/28/1999       4,097.87         349.73
133                   12/30/1999        29,619.42   00240            02/01/2000         775.65          66.20
135-Z                 12/30/1999             0.48   00240            02/01/2000          -0.01           0.00

                                                                      Total:      $4,002,042.14   $801,024.68




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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:           ICF TECHNOLOGY, INC.
EPA Contract Number:       68-W9-0059
Project Officer(s):        CHU, LILY Y.
Dates of Service:          From: 03/03/1991   To: 09/30/1999
Summary of Service:        GROUNDWATER RI/FS SUPPORT & RD/RA OVERSIGHT SUPPORT FOR THE
                           SOURCE OU PHASE II OPERATIONS
Total Costs:                  $4,803,066.82

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
25                        09432               Final                                  0.381533
24R                       91013               Final                                  0.381533
26                        91022               Final                                  0.381533
27                        92021               Final                                  0.381533
28                        92086               Final                                  0.381533
29                        92138               Final                                  0.215722
30                        92200               Final                                  0.215722
31                        92259               Final                                  0.215722
31-R                      92292               Final                                  0.215722
32                        92336               Final                                  0.215722
33                        92420               Final                                  0.215722
34                        92484               Final                                  0.215722
35                        92540               Final                                  0.215722
36                        92637               Final                                  0.215722
37                        92739               Final                                  0.215722
38                        92805               Final                                  0.215722
39                        93020               Final                                  0.215722
40                        93106               Final                                  0.215722
41                        93190               Final                                  0.276468
42                        93256               Final                                  0.276468
43                        93352               Final                                  0.276468
44                        93436               Final                                  0.276468
45                        93505               Final                                  0.276468
46                        93560               Final                                  0.276468
47                        93646               Final                                  0.276468
48                        93722               Final                                  0.276468
49                        93781               Final                                  0.276468
50                        93867               Final                                  0.276468

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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:           ICF TECHNOLOGY, INC.
EPA Contract Number:       68-W9-0059
Project Officer(s):        CHU, LILY Y.
Dates of Service:          From: 03/03/1991   To: 09/30/1999
Summary of Service:        GROUNDWATER RI/FS SUPPORT & RD/RA OVERSIGHT SUPPORT FOR THE
                           SOURCE OU PHASE II OPERATIONS
Total Costs:                  $4,803,066.82

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
51                        94021               Final                                  0.276468
52                        94130               Final                                  0.276468
53                        94213               Final                                  0.220729
54                        94286               Final                                  0.220729
55                        94371               Final                                  0.220729
56                        94432               Final                                  0.220729
57                        94490               Final                                  0.220729
59                        94561               Final                                  0.220729
60                        94639               Final                                  0.220729
61                        94718               Final                                  0.220729
62                        94799               Final                                  0.220729
63                        94885               Final                                  0.220729
64                        95022               Final                                  0.220729
65                        95102               Final                                  0.220729
67                        95168               Final                                  0.216122
68                        95168               Final                                  0.276468
69                        95168               Final                                  0.220729
70                        95184               Final                                  0.155508
71                        95290               Final                                  0.124097
72                        95360               Final                                  0.155508
73                        95412               Final                                  0.155508
74                        95502               Final                                  0.155508
75                        95584               Final                                  0.155508
76                        95665               Final                                  0.155508
77                        95738               Final                                  0.155508
78                        95804               Final                                  0.155508
79                        95896               Final                                  0.155508
80                        96027               Final                                  0.155508
81                        96107               Final                                  0.155508
                                               Exhibit 4-A
                                                 0191
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                                            #:6999
                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:           ICF TECHNOLOGY, INC.
EPA Contract Number:       68-W9-0059
Project Officer(s):        CHU, LILY Y.
Dates of Service:          From: 03/03/1991   To: 09/30/1999
Summary of Service:        GROUNDWATER RI/FS SUPPORT & RD/RA OVERSIGHT SUPPORT FOR THE
                           SOURCE OU PHASE II OPERATIONS
Total Costs:                  $4,803,066.82

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
82                        96205               Final                                  0.124097
83                        96252               Final                                  0.124097
84                        96358               Final                                  0.124097
85                        96421               Final                                  0.124097
86R                       96485               Final                                  0.124097
87                        96540               Final                                  0.124097
88                        96640               Final                                  0.124097
89                        96703               Final                                  0.124097
90                        96800               Final                                  0.124097
91                        96849               Final                                  0.124097
92                        97072               Final                                  0.124097
93-Z                      97079               Final                                  0.155908
94                        97153               Final                                  0.124097
95                        97211               Final                                  0.131828
96                        97312               Final                                  0.131828
97                        97381               Final                                  0.131828
98                        97522               Final                                  0.131828
99-Z                      97522               Final                                  0.124097
100                       97580               Final                                  0.131828
101                       97645               Final                                  0.131828
102                       97717               Final                                  0.131828
103                       97800               Final                                  0.131828
104                       97874               Final                                  0.131828
105                       97970               Final                                  0.131828
106-Z                     97970               Final                                  0.131828
107                       98038               Final                                  0.131828
108                       98136               Final                                  0.131828
109                       98212               Final                                  0.106680
110                       98280               Final                                  0.106680
                                               Exhibit 4-A
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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:           ICF TECHNOLOGY, INC.
EPA Contract Number:       68-W9-0059
Project Officer(s):        CHU, LILY Y.
Dates of Service:          From: 03/03/1991   To: 09/30/1999
Summary of Service:        GROUNDWATER RI/FS SUPPORT & RD/RA OVERSIGHT SUPPORT FOR THE
                           SOURCE OU PHASE II OPERATIONS
Total Costs:                  $4,803,066.82

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
111                       98365               Final                                  0.106680
112                       98462               Final                                  0.106680
113                       98549               Final                                  0.106680
114-Z                     98628               Final                                  0.106680
115                       98628               Final                                  0.106680
116                       98724               Final                                  0.106680
117                       98803               Final                                  0.106680
118                       98871               Final                                  0.106680
119                       98956               Final                                  0.106680
120                       99033               Final                                  0.106680
121                       99128               Final                                  0.106680
122                       99193               Provisional                            0.085344
123                       99288               Provisional                            0.085344
124                       99343               Provisional                            0.085344
125                       99408               Provisional                            0.085344
126                       99472               Provisional                            0.085344
127                       99563               Provisional                            0.085344
128                       99607               Provisional                            0.085344
129                       99671               Provisional                            0.085344
130                       99754               Provisional                            0.085344
131                       99814               Provisional                            0.085344
132                       52                  Provisional                            0.085344
133                       00240               Provisional                            0.085344
135-Z                     00240               Final                                  0.106680




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                         MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:                 BECHTEL ENVIRONMENTAL INC.
EPA Contract Number:             68-W9-0060
Project Officer(s):              MATTHEW A. MITGUARD
Dates of Service:                From: 09/29/1989     To: 09/03/1996
Summary of Service:              RI/FS PHASE I SUPPORT
Total Costs:                         $635,687.90
Voucher                Voucher          Voucher        Treasury Schedule           Site        Annual
Number                   Date           Amount      Number    and Date            Amount      Allocation
20376-11              05/23/1990      205,316.82    09150            07/05/1990   27,443.91    10,697.77
20376-12              06/14/1990      140,667.13    09161            07/20/1990   10,026.89     3,908.53
20376-12 R            07/26/1990        4,122.48    09190            08/30/1990    4,122.48     1,606.96
20376-13 R            07/26/1990        1,375.00    09190            08/30/1990    1,375.00       535.98
20376-14              07/18/1990      161,689.38    09192            08/31/1990   18,337.57     7,148.08
20376-15              08/15/1990      169,915.45    09206            09/21/1990   29,600.56    11,538.45
20376-16              09/12/1990      133,499.57    09230            10/26/1990   20,065.21     7,821.52
20376-17              10/20/1990      232,915.59    09240            11/09/1990   58,074.28    22,637.64
20376-18              10/19/1990       24,477.00    09248            11/26/1990    3,743.00     1,459.04
20376-19              11/21/1990      358,572.24    09271            12/27/1990   60,993.11    23,775.42
20376-20              12/19/1990      274,187.73    09286            01/18/1991   69,905.00    27,249.32
20376-21              01/23/1991      252,450.27    09309            02/22/1991   48,665.26    18,969.97
20376-023             02/13/1991      203,187.25    09323            03/13/1991   35,799.94    13,954.99
20376-024             03/13/1991      216,198.37    09344            04/12/1991   45,313.17    17,663.30
20376-025             04/10/1991      204,558.68    09363            05/09/1991    5,532.99     2,156.78
20376-026             05/22/1991      342,000.06    09392            06/20/1991   14,477.52     5,643.41
20376-027             06/18/1991      268,193.15    09411            07/18/1991   12,739.35     4,965.86
20376-29              08/14/1991      286,696.31    91031            09/13/1991    2,317.80       903.49
20376-30              08/20/1991       41,639.00    91048            09/20/1991    3,307.00     1,289.09
20376-032             10/09/1991       45,405.91    92084            11/08/1991   -2,458.49      -958.33
20376-034             12/18/1991      247,577.22    92229            01/21/1992      600.49       234.07
49                    01/20/1993      344,132.27    93350            02/18/1993   -7,705.13    -1,160.95
53                    05/19/1993       58,023.07    93655            06/16/1993      605.62         91.25
55                    06/14/1993      514,373.72    93717            07/14/1993      476.63         71.82
79                    01/16/1995      271,291.07    95343            02/14/1995    3,441.67       898.93
104R                  04/02/1997        2,379.00    97580            04/28/1997     -286.00       -49.39
156Z                  03/21/2000       -7,808.07    JVA02795         06/27/2000     -165.17        -11.73




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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:                BECHTEL ENVIRONMENTAL INC.
EPA Contract Number:            68-W9-0060
Project Officer(s):             MATTHEW A. MITGUARD
Dates of Service:               From: 09/29/1989     To: 09/03/1996
Summary of Service:             RI/FS PHASE I SUPPORT
Total Costs:                        $635,687.90
Voucher               Voucher          Voucher        Treasury Schedule              Site        Annual
Number                  Date           Amount      Number    and Date               Amount      Allocation
COL/2203R30003 10/08/2002            -376,262.86 JVA#B0320          10/09/2002    -12,794.59       -908.44

                                                                     Total:      $453,555.07   $182,132.83




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                                                        0195
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                                            #:7003
                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


ALTERNATIVE REMEDIAL CONTRACT SUPPORT (ARCS)
Contractor Name:           BECHTEL ENVIRONMENTAL INC.
EPA Contract Number:       68-W9-0060
Project Officer(s):        MATTHEW A. MITGUARD
Dates of Service:          From: 09/29/1989   To: 09/03/1996
Summary of Service:        RI/FS PHASE I SUPPORT
Total Costs:                    $635,687.90

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
 20376-11                  09150              Final                                   0.389805
 20376-12                  09161              Final                                   0.389805
 20376-12 R                09190              Final                                   0.389805
 20376-13 R                09190              Final                                   0.389805
 20376-14                  09192              Final                                   0.389805
 20376-15                  09206              Final                                   0.389805
 20376-16                  09230              Final                                   0.389805
 20376-17                  09240              Final                                   0.389805
 20376-18                  09248              Final                                   0.389805
 20376-19                  09271              Final                                   0.389805
 20376-20                  09286              Final                                   0.389805
 20376-21                  09309              Final                                   0.389805
 20376-023                 09323              Final                                   0.389805
 20376-024                 09344              Final                                   0.389805
 20376-025                 09363              Final                                   0.389805
 20376-026                 09392              Final                                   0.389805
 20376-027                 09411              Final                                   0.389805
 20376-29                  91031              Final                                   0.389805
 20376-30                  91048              Final                                   0.389805
 20376-032                 92084              Final                                   0.389805
 20376-034                 92229              Final                                   0.389805
 49                        93350              Final                                   0.150673
 53                        93655              Final                                   0.150673
 55                        93717              Final                                   0.150673
 79                        95343              Final                                   0.261192
 104R                      97580              Final                                   0.172686
 156Z                      JVA02795           Provisional                             0.071002
 COL/2203R30003            JVA#B0320          Provisional                             0.071002


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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

EMERGENCY REMOVAL CLEANUP (ERC)
Contractor Name:                 CET ENVIRONMENTAL SERVICES
EPA Contract Number:             68-W1-0012
Project Officer(s):              CHRIS WEDEN
Dates of Service:                From: 04/25/1991     To: 12/31/1991
Summary of Service:              TECHNICAL SERVICES
Total Costs:                          $14,121.33
Voucher                Voucher          Voucher        Treasury Schedule            Site        Annual
Number                   Date           Amount      Number    and Date             Amount      Allocation
1X-1149-01            07/15/1991         7,091.41 09430              08/14/1991     7,091.41       663.75
1X-1194-02            08/26/1991           757.04 91069              09/30/1991       757.04        70.86
1X-2007-01            01/29/1992         5,064.26 92315              02/28/1992     5,064.26       474.01

                                                                      Total:      $12,912.71    $1,208.62




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                                                         0197
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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


EMERGENCY REMOVAL CLEANUP (ERC)
Contractor Name:           CET ENVIRONMENTAL SERVICES
EPA Contract Number:       68-W1-0012
Project Officer(s):        CHRIS WEDEN
Dates of Service:          From: 04/25/1991   To: 12/31/1991
Summary of Service:        TECHNICAL SERVICES
Total Costs:                     $14,121.33

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
 1X-1149-01                09430              Final                                   0.093599
 1X-1194-02                91069              Final                                   0.093599
 1X-2007-01                92315              Final                                   0.093599




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

EMERGENCY RESPONSE UNIT (ERU)
Contractor Name:                ROY F. WESTON
EPA Contract Number:            68-03-3482
Project Officer(s):             CIBULSKIS, ROBERT W.
                                ROBERT W. CIBULSKIS
Dates of Service:               From: 09/01/1990     To: 11/22/1991
Summary of Service:             SOIL SAMPLING ANALYSIS/EMISSIONS TREATABILITY SUPPORT
Total Costs:                           $50,035.50


Voucher                    Voucher           Voucher              Treasury Schedule             Site
Number                       Date             Amount        Number       and     Date        Amount
48                        10/04/1990        494,129.95      09239              11/08/1990        84.06
49                        10/04/1990        729,608.91      09239              11/08/1990       333.44
50                        11/02/1990        626,786.12      09256              12/05/1990       888.64
56                        01/30/1991        776,684.36      09318              03/07/1991       156.89
58                        02/28/1991      1,308,914.84      09336              04/02/1991      -156.89
60                        04/03/1991      1,556,821.39      09361              05/07/1991    39,599.82
68                        08/01/1991      1,009,367.01      91013              09/03/1991     1,889.38
70                        08/28/1991      1,206,293.33      R2003              10/02/1991     2,226.94
72                        10/03/1991      1,232,753.41      R2074              11/04/1991        10.05
73                        10/09/1991        873,650.51      R2084              11/08/1991       479.33
74                        11/05/1991        733,388.82      R2140              12/09/1991       324.50
77                        11/26/1991        933,776.42      R2184              12/30/1991        10.86
85                        04/01/1992      1,840,901.22      R2487              05/07/1992        56.46
91                        07/02/1992      1,548,267.33      R2678              07/29/1992       420.50
98                        11/03/1992      1,689,533.58      R3153              12/01/1992     1,429.52
112                       07/15/1993        184,726.56      R3788              08/12/1993     2,282.00

                                                                               Total:       $50,035.50




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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
Contractor Name:                 ICF TECHNOLOGY, INC.
EPA Contract Number:             68-01-7456
Project Officer(s):              LYNN BEASLEY
Dates of Service:                From: 07/01/1990     To: 09/29/1991
Summary of Service:              SAMPLING ANALYSIS AND DATA VALIDATION
Total Costs:                         $143,463.70
Voucher                Voucher          Voucher        Treasury Schedule            Site        Annual
Number                   Date           Amount      Number    and Date             Amount      Allocation
67                    07/20/1990      426,528.18    09193            09/04/1990     7,251.34    10,490.15
69                    08/17/1990      247,133.11    09211            09/28/1990    10,277.24    14,867.57
71                    09/07/1990      250,438.88    09223            10/17/1990     3,445.39     4,984.27
73                    10/10/1990      310,863.32    R9247            11/21/1990     3,232.86     4,676.82
75                    11/07/1990      245,371.88    09262            12/13/1990     3,252.87     4,705.76
77                    12/05/1990      239,377.85    09281            01/11/1991     4,132.19     5,977.83
79                    01/09/1991      293,747.10    09308            02/21/1991     1,202.02     1,738.90
81                    02/06/1991      262,661.15    R9328            03/21/1991        47.49        68.70
83                    03/13/1991      370,113.40    R9347            04/17/1991     6,086.04     8,804.37
87                    04/09/1991      299,397.77    R9379            06/03/1991     1,439.29     2,082.15
89                    05/10/1991      288,683.24    R9397            06/27/1991       763.88     1,105.07
91                    06/12/1991      351,196.74    R9409            07/16/1991     6,738.03     9,747.57
93                    07/12/1991      356,892.57    R9432            08/16/1991       694.00     1,003.98
95                    08/09/1991      329,244.54    91055            09/23/1991       351.50       508.50
99                    10/11/1991      299,189.97    R2091            11/13/1991     4,686.54     6,779.78
97                    09/11/1991      392,504.37    92030            10/17/1995     5,036.11     7,285.49

                                                                      Total:      $58,636.79   $84,826.91




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                                                         0200
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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
Contractor Name:           ICF TECHNOLOGY, INC.
EPA Contract Number:       68-01-7456
Project Officer(s):        LYNN BEASLEY
Dates of Service:          From: 07/01/1990   To: 09/29/1991
Summary of Service:        SAMPLING ANALYSIS AND DATA VALIDATION
Total Costs:                    $143,463.70

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
 67                        09193              Final                                   1.446650
 69                        09211              Final                                   1.446650
 71                        09223              Final                                   1.446650
 73                        R9247              Final                                   1.446650
 75                        09262              Final                                   1.446650
 77                        09281              Final                                   1.446650
 79                        09308              Final                                   1.446650
 81                        R9328              Final                                   1.446650
 83                        R9347              Final                                   1.446650
 87                        R9379              Final                                   1.446650
 89                        R9397              Final                                   1.446650
 91                        R9409              Final                                   1.446650
 93                        R9432              Final                                   1.446650
 95                        91055              Final                                   1.446650
 99                        R2091              Final                                   1.446650
 97                        92030              Final                                   1.446650




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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
Contractor Name:                 ICF TECHNOLOGY, INC.
EPA Contract Number:             68-D1-0135
Project Officer(s):              JAMES MCMASTER
                                 RILEY, JOHN EDWIN
Dates of Service:                From: 10/01/1992     To: 06/30/1995
Summary of Service:              DATA VALIDATION/SAMPLING ANALYSIS
Total Costs:                         $153,811.24
Voucher                Voucher          Voucher        Treasury Schedule            Site        Annual
Number                   Date           Amount      Number    and Date             Amount      Allocation
1                     11/08/1991       385,635.79   R2144            12/11/1991        65.09        82.32
3                     12/11/1991       502,615.66   R2208            01/10/1992     4,017.80     5,081.52
5                     01/10/1992       419,780.08   R2269            02/07/1992     8,621.56    10,904.13
7                     02/06/1992       444,602.96   R2331            03/06/1992     2,594.39     3,281.26
9                     03/10/1992       600,868.90   R2414            04/09/1992     1,573.92     1,990.62
11                    04/07/1992       523,397.68   R2486            05/07/1992     2,194.78     2,775.85
13                    05/07/1992       573,784.59   R2548            06/08/1992     4,406.72     5,573.40
15                    06/10/1992       674,993.42   R2637            07/14/1992     2,645.69     3,346.14
17                    07/14/1992       633,317.74   R2722            08/13/1992       688.49       870.77
21                    09/10/1992       528,823.75   R3019            10/08/1992     5,971.91     7,552.98
23                    10/19/1992       591,737.27   R3102            11/10/1992     3,829.21     4,843.00
25                    11/12/1992       528,337.44   R3187            12/14/1992        49.13        62.14
29                    12/10/1992       514,279.42   R3277            01/20/1993        35.80        45.28
31                    01/14/1993       537,992.13   R3398            03/08/1993     4,815.45     6,090.35
33                    02/11/1993       548,353.54   R3424            03/17/1993     1,952.39     2,469.29
35                    03/08/1993       511,153.19   R3494            04/13/1993       760.30       961.59
41                    05/13/1993       812,217.81   R3653            06/15/1993        58.67        74.20
92                    02/25/1995       160,003.14   R5460            03/28/1995     3,183.40     4,026.21
100                   05/12/1995       761,555.25   R5669            06/13/1995     9,947.35    12,580.92
102                   06/12/1995       695,350.95   R5740            07/12/1995     6,401.97     8,096.90
104                   07/14/1995     1,180,775.19   R5836            08/23/1995     2,238.95     2,831.71
107                   08/15/1995     8,555,501.49   R5896            09/14/1995       886.43     1,121.11
130                   10/16/1996       292,038.56   R7152            11/25/1996       256.01       375.48
132                   11/20/1996       274,813.15   R7231            12/26/1996       664.33       914.33

                                                                      Total:      $67,859.74   $85,951.50




                                                       Exhibit 4-A
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                                       Contract Costs
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
Contractor Name:           ICF TECHNOLOGY, INC.
EPA Contract Number:       68-D1-0135
Project Officer(s):        JAMES MCMASTER
                           RILEY, JOHN EDWIN
Dates of Service:          From: 10/01/1992     To: 06/30/1995
Summary of Service:        DATA VALIDATION/SAMPLING ANALYSIS
Total Costs:                      $153,811.24

                                                                                      Annual
Voucher Number            Schedule Number       Rate Type                        Allocation Rate
1                         R2144                 Class                                1.264751
3                         R2208                 Class                                1.264751
5                         R2269                 Class                                1.264751
7                         R2331                 Class                                1.264751
9                         R2414                 Class                                1.264751
11                        R2486                 Class                                1.264751
13                        R2548                 Class                                1.264751
15                        R2637                 Class                                1.264751
17                        R2722                 Class                                1.264751
21                        R3019                 Class                                1.264751
23                        R3102                 Class                                1.264751
25                        R3187                 Class                                1.264751
29                        R3277                 Class                                1.264751
31                        R3398                 Class                                1.264751
33                        R3424                 Class                                1.264751
35                        R3494                 Class                                1.264751
41                        R3653                 Class                                1.264751
92                        R5460                 Class                                1.264751
100                       R5669                 Class                                1.264751
102                       R5740                 Class                                1.264751
104                       R5836                 Class                                1.264751
107                       R5896                 Class                                1.264751
130                       R7152                 Final                                1.466645
132                       R7231                 Final                                1.376323




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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96955310
Project Officer(s):             DAVID SETER
Dates of Service:               From: 07/01/1996      To: 09/30/2000
Summary of Service:             OVERSIGHT OF PRP RA AND OPERATIONS & MAINTENANCE ACTIVITIES
Total Costs:                           $348,803.00


Voucher                    Voucher            Voucher             Treasury Schedule            Site
Number                       Date              Amount        Number      and     Date       Amount
B03970114                 04/14/1997          13,465.52      A97119            05/01/1997   13,465.52
B041970117                01/25/1997          14,668.33      A97127            05/09/1997   14,668.33
B02970126                 01/03/1997          19,134.33      A97135            05/19/1997   19,134.33
B05970131                 05/12/1997          17,361.64      A97142            05/27/1997   17,361.64
B06970139                 05/22/1997          13,955.12      A97155            06/06/1997   13,955.12
B07970129                 05/23/1997          19,881.46      A97155            06/06/1997   19,881.46
B08970139                 07/03/1997          19,467.27      A97203            07/24/1997   19,467.27
B09970126                 10/06/1997          18,091.65      A97304            11/04/1997   18,091.65
B10970142                 01/06/1998          21,408.18      A98030            02/03/1998   21,408.18
B11970121                 01/06/1998          19,843.51      A98030            02/03/1998   19,843.51
B12970158                 01/06/1998          29,155.81      A98030            02/03/1998   29,155.81
B01970109                 04/02/1998          25,189.11      A98119            05/01/1998   25,189.11
B03980140                 04/02/1998          54,902.22      A98119            05/01/1998   54,902.22
B01000923                 06/16/1998           5,020.02      A98205            07/28/1998    5,020.02
B01001063                 06/29/1998             463.08      A98205            07/28/1998      463.08
B01001277                 06/29/1998             762.93      A98205            07/28/1998      762.93
B01000823                 10/21/1998           6,882.19      A98306            11/04/1998    6,882.19
B01001652                 09/15/1998             863.74      A98306            11/04/1998      863.74
B01002285                 10/21/1998             173.26      A98306            11/04/1998      173.26
B01002487                 10/21/1998             372.62      A98306            11/04/1998      372.62
B01003433                 11/09/1998             758.75      A98328            11/27/1998      758.75
B01002715                 11/09/1998           1,950.71      A98329            11/30/1998    1,950.71
01003531                  12/18/1998             237.82      A99005            01/07/1999      237.82
01003651                  02/24/1999           2,030.52      A99096            04/08/1999    2,030.52
51000029                  05/03/1999           3,819.61      A99141            05/25/1999    3,819.61
51000303                  05/03/1999             542.66      A99141            05/25/1999      542.66
51000509                  05/27/1999           2,390.24      A99155            06/08/1999    2,390.24
51001200                  07/12/1999           1,051.81      A99207            07/28/1999    1,051.81
51001464                  08/12/1999             601.97      A99243            09/02/1999      601.97
51001778                  09/08/1999           2,400.23      A99257            09/16/1999    2,400.23
                                                          Exhibit 4-A
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96955310
Project Officer(s):             DAVID SETER
Dates of Service:               From: 07/01/1996      To: 09/30/2000
Summary of Service:             OVERSIGHT OF PRP RA AND OPERATIONS & MAINTENANCE ACTIVITIES
Total Costs:                           $348,803.00


Voucher                    Voucher            Voucher             Treasury Schedule              Site
Number                       Date              Amount        Number      and     Date         Amount
51000973                  06/16/1999             424.27      A99264            09/23/1999        424.27
51002064                  10/10/1999           2,670.68      A99309            11/09/1999      2,670.68
51002443                  11/18/1999             594.90      A99349            12/17/1999        594.90
51002647                  12/17/1999           2,624.28      000A00014         01/18/2000      2,624.28
51002857                  01/11/2000           3,330.47      000A00014         01/18/2000      3,330.47
51003075                  02/08/2000           7,500.72      000A00054         02/25/2000      7,500.72
51003329                  03/08/2000          10,255.96      000A00075         03/17/2000     10,255.96
51003571                  04/11/2000           2,454.08      000A00109         04/20/2000      2,454.08
51003830                  05/09/2000             386.12      000A00136         05/17/2000        386.12
51004259                  07/25/2000             163.66      000A00215         08/04/2000        163.66
51004542                  08/21/2000             101.98      000A00241         08/30/2000        101.98
51004779                  09/13/2000             684.43      000A00262         09/20/2000        684.43
B01930135                 01/06/1998             110.45      000A01239         08/29/2001        110.45
B12960186                 01/03/1997             654.69      000A01239         08/29/2001        654.69

                                                                               Total:       $348,803.00




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INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96955452
Project Officer(s):             DAVID SETER
Dates of Service:               From: 01/18/2000       To: 12/31/2003
Summary of Service:             FEDERAL OPERATION & MAINTENANCE ACTIVITIES
Total Costs:                           $627,841.93


Voucher                    Voucher            Voucher              Treasury Schedule            Site
Number                       Date              Amount         Number      and     Date       Amount
51003578                  04/11/2000           4,751.06       000A00109         04/20/2000    4,751.06
51004058                  06/21/2000           1,159.19       000A00187         07/07/2000    1,159.19
51004267                  07/25/2000           6,222.45       000A00215         08/04/2000    6,222.45
51004549                  08/21/2000          48,118.80       000A00241         08/30/2000   48,118.80
51004786                  09/13/2000          61,031.89       000A00262         09/20/2000   61,031.89
51005102                  10/11/2000          53,087.76       000A00297         10/25/2000   53,087.76
51005474                  11/06/2000           8,649.13       000A00322         11/21/2000    8,649.13
51005699                  12/07/2000          10,788.26       000A00347         12/14/2000   10,788.26
51005906                  01/10/2001          26,611.79       000A01026         01/30/2001   26,611.79
51006148                  02/14/2001          43,500.15       000A01057         02/28/2001   43,500.15
51006389                  03/20/2001           1,757.85       000A01086         03/29/2001    1,757.85
51006621                  05/01/2001          15,482.20       000A01138         05/22/2001   15,482.20
51006913                  05/04/2001          12,012.04       000A01138         05/22/2001   12,012.04
51007184                  06/12/2001           3,336.25       000A01169         06/20/2001    3,336.25
51007467                  07/18/2001           3,927.46       000A01236         08/28/2001    3,927.46
51007767                  08/23/2001           4,842.29       000A01250         09/11/2001    4,842.29
51008049                  09/21/2001           5,532.56       000A01276         10/05/2001    5,532.56
51008384                  10/12/2001           4,479.72       000A01296         10/25/2001    4,479.72
51008764                  12/03/2001          62,640.32       000A01341         12/11/2001   62,640.32
51008981                  12/06/2001          16,384.27       000A01351         12/19/2001   16,384.27
51009208                  01/08/2002          19,144.07       000A02017         01/22/2002   19,144.07
51009622                  03/25/2002           3,718.82       000A02087         04/01/2002    3,718.82
51009858                  04/16/2002           9,372.32       000A02114         04/26/2002    9,372.32
51010079                  05/17/2002            7,873.11      000A02149         05/31/2002    7,873.11
51010346                  06/10/2002           3,207.27       000A02178         07/01/2002    3,207.27
51010598                  07/12/2002          66,302.47       000A02198         07/19/2002   66,302.47
51009405                  02/13/2002          19,119.72       000A02218         08/08/2002   19,119.72
51010848                  08/07/2002           7,269.63       000A02225         08/15/2002    7,269.63
51011085                  09/09/2002          26,910.64       000A02259         09/18/2002   26,910.64
51011348                  10/02/2002           6,626.80       000A02289         10/18/2002    6,626.80
                                                           Exhibit 4-A
                                                             0206
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96955452
Project Officer(s):             DAVID SETER
Dates of Service:               From: 01/18/2000      To: 12/31/2003
Summary of Service:             FEDERAL OPERATION & MAINTENANCE OVERSIGHT/ENFORCMENT
                                ACTIVITIES
Total Costs:                           $627,841.93


Voucher                    Voucher            Voucher             Treasury Schedule              Site
Number
51011672                     Date
                          11/08/2002          Amount
                                               2,422.58      Number
                                                             000A02326 and 11/26/2002
                                                                                 Date         Amount
                                                                                               2,422.58
51011952                  12/13/2002           6,755.85      000A02358         12/27/2002      6,755.85
51012202                  01/15/2003           6,153.04      000A03028         01/30/2003      6,153.04
51012444                  02/10/2003           4,766.78      000A03049         02/20/2003      4,766.78
51012668                  03/07/2003          23,457.20      000A03078         03/21/2003     23,457.20
51012897                  04/10/2003           3,290.35      000A03105         04/17/2003      3,290.35
51013140                  05/12/2003           1,866.06      000A03140         05/22/2003      1,866.06
51013400                  06/16/2003             139.00      000A03178         07/01/2003        139.00
51013961                  08/05/2003             471.92      000A03232         08/22/2003        471.92
51014242                  09/15/2003           2,849.63      000A03268         09/29/2003      2,849.63
51014565                  10/20/2003           2,924.54      000A03300         10/29/2003      2,924.54
51015017                  11/07/2003           2,420.52      000A03329         11/28/2003      2,420.52
51015326                  12/05/2003           2,239.78      000A03353         12/23/2003      2,239.78
51015545                  01/14/2004           3,985.85      000A04029         02/02/2004      3,985.85
51015948                  02/06/2004             238.54      000A04056         02/27/2004        238.54

                                                                               Total:       $627,841.93




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INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96955536
Project Officer(s):             DAVID SETER
Dates of Service:               From: 04/19/2002      To: 12/31/2003
Summary of Service:             CONDUCT 5-YEAR REVIEW
Total Costs:                           $96,545.48


Voucher                    Voucher           Voucher              Treasury Schedule             Site
Number                       Date             Amount         Number      and     Date        Amount
51010352                  06/10/2002          2,299.05       000A02178         07/01/2002     2,299.05
51010605                  07/12/2002          6,141.18       000A02198         07/19/2002     6,141.18
51010855                  08/07/2002          2,989.38       000A02225         08/15/2002     2,989.38
51011092                  09/09/2002         62,548.88       000A02259         09/18/2002    62,548.88
51011355                  10/02/2002          3,120.57       000A02289         10/18/2002     3,120.57
51011679                  11/08/2002          2,359.84       000A02326         11/26/2002     2,359.84
51011958                  12/13/2002           5,110.66      000A02358         12/27/2002     5,110.66
51012208                  01/15/2003           1,411.22      000A03028         01/30/2003     1,411.22
51012450                  02/10/2003          1,289.64       000A03049         02/20/2003     1,289.64
51012674                  03/07/2003          1,493.76       000A03078         03/21/2003     1,493.76
51012904                  04/10/2003          1,258.01       000A03105         04/17/2003     1,258.01
51013146                  05/12/2003             292.66      000A03140         05/22/2003       292.66
51013967                  08/05/2003             900.00      000A03232         08/22/2003       900.00
51014247                  09/15/2003          1,350.00       000A03268         09/29/2003     1,350.00
51014571                  10/20/2003          1,292.04       000A03300         10/29/2003     1,292.04
51015024                  11/07/2003          1,705.10       000A03329         11/28/2003     1,705.10
51015331                  12/05/2003             531.05      000A03353         12/23/2003       531.05
51015551                  01/14/2004             452.44      000A04029         02/02/2004       452.44

                                                                               Total:       $96,545.48




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INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96955588
Project Officer(s):             SETER, DAVID A.
Dates of Service:               From: 04/01/2003     To: 03/31/2005
Summary of Service:             FEDERAL OPERATIONS & MAINTENANCE OVERSIGHT/ENFORCMENT
                                ACTIVITIES
Total Costs:                           $69,181.60


Voucher                    Voucher           Voucher             Treasury Schedule             Site
Number                       Date            Amount         Number      and     Date        Amount
51013147                  05/12/2003          1,613.57      000A03143         05/28/2003     1,613.57
51013407                  06/16/2003          5,138.53      000A03178         07/01/2003     5,138.53
51013691                  07/14/2003          6,659.38      000A03203         07/24/2003     6,659.38
51013968                  08/05/2003          6,217.04      000A03232         08/22/2003     6,217.04
51014248                  09/15/2003          4,859.31      000A03268         09/29/2003     4,859.31
51014572                  10/20/2003          5,417.62      000A03300         10/29/2003     5,417.62
51015025                  11/07/2003          3,658.67      000A03329         11/28/2003     3,658.67
51015332                  12/05/2003          4,204.47      000A03353         12/23/2003     4,204.47
51015552                  01/14/2004          2,784.95      000A04029         02/02/2004     2,784.95
51015954                  02/06/2004          5,591.16      000A04056         02/27/2004     5,591.16
51016190                  03/16/2004          6,654.27      000A04099         04/12/2004     6,654.27
51016462                  04/08/2004          5,642.18      000A04111         04/22/2004     5,642.18
51016716                  05/07/2004          5,345.41      000A04140         05/21/2004     5,345.41
51016976                  06/14/2004          5,395.04      000A04174         06/24/2004     5,395.04

                                                                              Total:       $69,181.60




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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

NATIONAL ENFORCEMENT INVESTIGATION CENTER (NEIC)
Contractor Name:                 TECHLAW, INC.
EPA Contract Number:             68-W0-0001
Project Officer(s):              PAULA SMITH
Dates of Service:                From: 07/10/1991     To: 04/24/1992
Summary of Service:              CBI VERIFICATION
Total Costs:                           $5,093.33
Voucher                Voucher          Voucher        Treasury Schedule           Site        Annual
Number                   Date           Amount      Number    and Date            Amount      Allocation
23                    08/02/1991      479,162.31    91022            09/09/1991      324.88       127.67
24                    09/05/1991      651,982.09    92017            10/10/1991    1,314.30       516.50
25                    10/11/1991      626,661.42    92084            11/08/1991    1,761.41       692.21
29                    12/12/1991      588,392.90    92201            01/08/1992       24.40         9.59
28R                   11/21/1991      508,704.80    92235            01/23/1992       91.40        35.92
31R                   01/23/1992      481,653.44    92296            02/20/1992        6.46         2.54
33                    02/06/1992      548,171.33    92336            03/10/1992       15.13         5.95
34                    03/11/1992      465,810.50    92419            04/13/1992       16.82         6.61
36                    05/07/1992      592,943.23    92571            06/17/1992       10.18         4.00
38                    06/10/1992      481,698.80    92620            07/07/1992       24.83         9.76
39                    07/08/1992      460,350.44    92693            08/04/1992       65.49        25.74
41                    09/04/1992      427,611.15    93015            10/07/1992        4.63         1.82
42                    10/19/1992      688,039.69    93116            11/17/1992       -3.27        -1.29
79                    06/27/1995       -5,825.05    95838            08/24/1995       -0.20        -0.15

                                                                      Total:      $3,656.46    $1,436.87




                                                       Exhibit 4-A
                                                         0210
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                                            #:7018
                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


NATIONAL ENFORCEMENT INVESTIGATION CENTER (NEIC)
Contractor Name:           TECHLAW, INC.
EPA Contract Number:       68-W0-0001
Project Officer(s):        PAULA SMITH
Dates of Service:          From: 07/10/1991   To: 04/24/1992
Summary of Service:        CBI VERIFICATION
Total Costs:                      $5,093.33

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
 23                        91022              Final                                   0.392985
 24                        92017              Final                                   0.392985
 25                        92084              Final                                   0.392985
 29                        92201              Final                                   0.392985
 28R                       92235              Final                                   0.392985
 31R                       92296              Final                                   0.392985
 33                        92336              Final                                   0.392985
 34                        92419              Final                                   0.392985
 36                        92571              Final                                   0.392985
 38                        92620              Final                                   0.392985
 39                        92693              Final                                   0.392985
 41                        93015              Final                                   0.392985
 42                        93116              Final                                   0.392985
 79                        95838              Final                                   0.765427




                                               Exhibit 4-A
                                                 0211
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                                            #:7019
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                FEDERAL EXPRESS
EPA Contract Number:            4U2000NDLX
Project Officer(s):             JOHN LATTIMER
Dates of Service:               From: 04/27/1992    To: 04/27/1992
Summary of Service:             MAILING TO EPA SITE ATTORNEY
Total Costs:                              $3.99


Voucher                    Voucher           Voucher            Treasury Schedule           Site
Number                       Date            Amount        Number      and     Date       Amount
4-648-41202               05/11/1992           136.43      A92161            06/01/1992        3.99

                                                                             Total:          $3.99




                                                        Exhibit 4-A
                                                          0212
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                                            #:7020
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                PEI ASSOCIATES, INC
EPA Contract Number:            68-02-4284
Project Officer(s):             ALICE GAGNON
Dates of Service:               From: 02/23/1990      To: 09/30/1990
Summary of Service:             TRIAL WASTE EXCAVATION SERVICES
Total Costs:                       $1,009,087.02


Voucher                    Voucher            Voucher              Treasury Schedule               Site
Number                       Date              Amount        Number       and     Date          Amount
3758-21                   06/15/1990         164,261.90      09159              07/18/1990     138,676.75
3758-22                   07/15/1990         181,782.66      09180              08/16/1990     157,904.98
3758-23                   08/15/1990         324,364.93      09200              09/13/1990     252,323.19
3758-24                   09/15/1990         366,164.98      09223              10/17/1990     361,519.72
3758-25                   10/15/1990          50,188.87      09243              11/15/1990      48,494.13
3758-26                   11/15/1990          40,029.76      09263              12/14/1990      38,073.80
3758-27                   12/15/1990           4,016.66      09281              01/11/1991       4,016.66
3758-CR                   09/18/1995          12,972.50      95926              09/29/1995       8,077.79

                                                                                Total:       $1,009,087.02




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                                                            0213
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                                        Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                ACZ INC LAB DIV
EPA Contract Number:            68-03-3267
Project Officer(s):             ROBERT C. THURNAU
Dates of Service:               From: 01/30/1989     To: 09/30/1989
Summary of Service:             TREATABILITY STUDIES
Total Costs:                           $1,008.82


Voucher                    Voucher           Voucher              Treasury Schedule            Site
Number                       Date             Amount        Number       and     Date       Amount
8250-94R                  11/13/1990         54,312.74      09291              01/28/1991    1,008.82

                                                                               Total:       $1,008.82




                                                         Exhibit 4-A
                                                           0214
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                                            #:7022
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                PRC/SSC
EPA Contract Number:            68-C0-0047
Project Officer(s):             GORDON EVANS
Dates of Service:               From: 04/01/1993      To: 02/15/1994
Summary of Service:             CONDUCTED BENCH-SCALE TREATABILITY STUDIES WA# 0-45-03
Total Costs:                           $300,000.00


Voucher                    Voucher            Voucher              Treasury Schedule              Site
Number                       Date              Amount        Number       and     Date         Amount
33                        09/15/1993         385,706.77      94032              10/15/1993     53,577.19
34                        10/15/1993         586,758.95      94132              11/18/1993      6,017.50
35                        11/18/1993         435,570.54      94213              12/17/1993     67,845.86
36                        12/17/1993         509,323.28      94298              01/20/1994    105,918.82
37                        01/20/1993         469,313.84      94371              02/18/1994     41,702.35
38                        02/16/1994         471,471.20      94435              03/16/1994     24,938.28

                                                                                Total:       $300,000.00




                                                          Exhibit 4-A
                                                            0215
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                                            #:7023
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                SCIENCE APPLICATIONS INTERNATIONAL CORP.
EPA Contract Number:            68-C8-0062
Project Officer(s):             ROBERT J O'HERRON
Dates of Service:               From: 11/01/1991      To: 07/30/1992
Summary of Service:             REVIEW AND CONDUCT TREATABILITY STUDIES
Total Costs:                           $38,953.00


Voucher                    Voucher            Voucher              Treasury Schedule             Site
Number                       Date              Amount        Number       and     Date        Amount
3-C                       12/12/1991         283,663.83      92204              01/09/1992    15,000.00
12-C                      08/18/1992         740,654.02      92801              09/15/1992    23,132.14
14-C AWARD FEE            09/15/1992          69,526.94      93021              10/10/1992       820.86

                                                                                Total:       $38,953.00




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                                                            0216
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                                            #:7024
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                EDWARD AUL & ASSOCIATES, INC.
EPA Contract Number:            68-S2-9006
Project Officer(s):             PAM WIEMAN
Dates of Service:               From: 04/01/1992     To: 07/30/1992
Summary of Service:             TREATABILITY STUDY EVALUATIONS
Total Costs:                           $12,250.00


Voucher                    Voucher           Voucher              Treasury Schedule             Site
Number                       Date             Amount        Number       and     Date        Amount
92-024                    07/17/1992         12,500.00      92724              08/14/1992     6,250.00
92-026                    08/03/1992         12,000.00      92764              08/31/1992     6,000.00

                                                                               Total:       $12,250.00




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                                                           0217
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                                            #:7025
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                RONSON MANAGEMENT CORPORATION
EPA Contract Number:            68-W3-0023
Project Officer(s):             BARBARA EDMONDSON
Dates of Service:               From: 04/01/1994     To: 04/15/1994
Summary of Service:             COST DOCUMENTATION SUPPORT
Total Costs:                            $207.83


Voucher                    Voucher           Voucher             Treasury Schedule           Site
Number                       Date             Amount        Number      and     Date       Amount
19-01                     04/18/1994         17,529.43      R4598             05/20/1994     207.83

                                                                              Total:        $207.83




                                                         Exhibit 4-A
                                                           0218
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                                            #:7026
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                FEDERAL EXPRESS
EPA Contract Number:            8U1020NALX
Project Officer(s):             GREG RITTER
Dates of Service:               From: 08/07/1991    To: 08/07/1991
Summary of Service:             SITE RELATED MAILING
Total Costs:                              $3.75


Voucher                    Voucher           Voucher            Treasury Schedule           Site
Number                       Date            Amount        Number      and     Date       Amount
4-385-56131               08/07/1991           227.72      A91260            09/19/1991        3.75

                                                                             Total:          $3.75




                                                        Exhibit 4-A
                                                          0219
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                                            #:7027
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                CALIFORNIA NEWSPAPER SERVICES BUREAU, INC
EPA Contract Number:            91091S0128
Project Officer(s):             CARITA HALL-REYNOLDS
Dates of Service:               From: 09/19/1991    To: 09/19/1991
Summary of Service:             NOTICE OF ADMIN RECORD AVAILABILITY - FULLERTON NEWS TRIBUNE
                                AD
Total Costs:                             $41.00


Voucher                    Voucher           Voucher            Treasury Schedule         Site
Number
Q34501                       Date
                          10/08/1991         Amount
                                                41.00      Number
                                                           A92148      and 05/29/1992
                                                                              Date      Amount
                                                                                           41.00

                                                                            Total:        $41.00




                                                        Exhibit 4-A
                                                          0220
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                                            #:7028
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                CALIFORNIA NEWSPAPER SERVICES BUREAU, INC
EPA Contract Number:            9209PR0182
Project Officer(s):             FRASER FELTER
Dates of Service:               From: 08/28/1992    To: 08/28/1992
Summary of Service:             PUBLIC NOTICE OF MEETING/COMMENT PERIOD FOR PROPOSED
                                CLEANUP PLAN
Total Costs:                            $579.69


Voucher                    Voucher           Voucher            Treasury Schedule           Site
Number                       Date            Amount        Number      and     Date       Amount
Q180714                   09/03/1992           579.69      A92295            10/23/1992     579.69

                                                                             Total:        $579.69




                                                        Exhibit 4-A
                                                          0221
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                                            #:7029
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                CALIFORNIA NEWSPAPER SERVICES BUREAU, INC
EPA Contract Number:            93093S0047
Project Officer(s):             FRASER FELTER
Dates of Service:               From: 07/11/1993    To: 07/11/1993
Summary of Service:             NOTICE OF RECORD OF DECISION ON SITE CLEANUP
Total Costs:                            $553.67


Voucher                    Voucher           Voucher            Treasury Schedule           Site
Number                       Date            Amount        Number      and     Date       Amount
G195647                   07/14/1993           553.67      A93222            08/12/1993     553.67

                                                                             Total:        $553.67




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                                                          0222
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                                            #:7030
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                CALIFORNIA NEWSPAPER SERVICES BUREAU, INC
EPA Contract Number:            9309PR0028
Project Officer(s):             FRASER FELTER
Dates of Service:               From: 11/23/1993    To: 11/23/1993
Summary of Service:             PUBLIC NOTICE OF TAG APPLICATION OPPORTUNITY
Total Costs:                            $386.46


Voucher                    Voucher           Voucher            Treasury Schedule           Site
Number                       Date            Amount        Number      and     Date       Amount
G184506                   11/25/1992           386.46      A92366            01/05/1993     386.46

                                                                             Total:        $386.46




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                                                          0223
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                                            #:7031
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                CALIFORNIA NEWSPAPER SERVICE BUREAU, INC
EPA Contract Number:            9809H8S075
Project Officer(s):             DAVID COOPER
Dates of Service:               From: 08/04/1998    To: 08/04/1998
Summary of Service:             PUBLIC NOTICE OF SITE DELETION FROM NPL - ORANGE CO. REGISTER
Total Costs:                            $342.00


Voucher                    Voucher           Voucher            Treasury Schedule           Site
Number                       Date            Amount        Number      and     Date       Amount
CNS1627131                08/11/1998           342.00      A98266            09/25/1998     342.00

                                                                             Total:        $342.00




                                                        Exhibit 4-A
                                                          0224
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                                            #:7032
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                CALIFORNIA NEWSPAPER SERVICE BUREAU, INC
EPA Contract Number:            9809H8S076
Project Officer(s):             DAVID COOPER
Dates of Service:               From: 08/04/1998    To: 08/14/1998
Summary of Service:             PUBLIC NOTICE OF SITE DELETION FROM NPL-LA TIMES ORANGE CO
                                EDITION
Total Costs:                            $580.62


Voucher                    Voucher           Voucher            Treasury Schedule           Site
Number                       Date            Amount        Number      and     Date       Amount
CNS1627134                08/11/1998           580.62      A98266            09/25/1998     580.62

                                                                             Total:        $580.62




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                                                          0225
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                                            #:7033
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                DUN AND BRADSTREET
EPA Contract Number:            DU1001NBLX
Project Officer(s):             REBECCA PACHECO
Dates of Service:               From: 10/01/1990   To: 09/30/1991
Summary of Service:             RENEWAL BLANKET PURCHASE ORDER
Total Costs:                            $740.22


Voucher                    Voucher         Voucher             Treasury Schedule           Site
Number                       Date           Amount        Number      and     Date       Amount
1625901                   10/01/1990      219,640.00      A91067            03/13/1991     740.22

                                                                            Total:        $740.22




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                                                         0226
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                                            #:7034
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

OTHER
Contractor Name:                U.S. GOVERNMENT PRINTING OFFICE
EPA Contract Number:            FRL61283
Project Officer(s):             PATTI COLLIN
Dates of Service:               From: 07/15/1998    To: 07/15/1998
Summary of Service:             FEDERAL REGISTER NOTICE OF DELETION OF SITE FROM NPL
Total Costs:                           $1,755.00


Voucher                    Voucher          Voucher             Treasury Schedule            Site
Number                       Date            Amount        Number      and     Date       Amount
98220230                  08/26/1998       215,342.00      279811343         08/31/1998    1,755.00

                                                                             Total:       $1,755.00




                                                        Exhibit 4-A
                                                          0227
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                                            #:7035
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                ASRC AEROSPACE CORP.
EPA Contract Number:            68-R9-0101
Project Officer(s):             CHAN, ELAINE
Dates of Service:               From: 10/01/2001      To: 04/25/2004
Summary of Service:             DOCUMENT COPYING, INDEXING, SCANNING & FILING SERVICES
Total Costs:                           $31,820.12


Voucher                    Voucher            Voucher             Treasury Schedule             Site
Number                       Date              Amount        Number      and     Date        Amount
2                         12/10/2001         191,265.55      R2190             01/09/2002        30.50
5                         03/06/2002         221,197.83      R2356             04/03/2002        39.21
6                         04/04/2002         199,812.11      R2403             05/01/2002     1,200.60
7                         05/07/2002         194,555.92      R2464             06/03/2002     1,836.55
8                         06/06/2002         200,705.25      R2527             07/03/2002       561.01
9                         07/08/2002         186,184.55      R2581             08/01/2002       153.77
10                        08/07/2002         203,885.07      R2637             09/04/2002       626.03
11                        09/09/2002         197,079.03      R3004             10/03/2002     3,410.03
12                        10/07/2002         192,771.82      R3051             10/31/2002       108.75
13                        11/12/2002         106,777.99      R3117             12/12/2002        74.08
14R                       11/12/2002          64,992.47      R3201             01/22/2003        34.68
16                        12/27/2002         137,822.72      R3203             01/23/2003        32.76
20                        05/01/2003         155,083.41      R3411             05/29/2003       226.54
21                        05/12/2003         201,981.91      R3423             06/05/2003        85.96
22                        05/13/2003         159,169.69      R3439             06/13/2003       281.30
23                        06/10/2003         162,441.46      R3487             07/16/2003       369.99
24                        07/18/2003         192,567.11      R3540             08/15/2003     2,804.52
25                        08/01/2003         152,377.79      R3595             09/16/2003     4,958.90
26                        09/25/2003         202,204.20      R4036             10/21/2003       476.44
27                        10/10/2003         168,044.75      R4065             11/07/2003     2,972.88
31                        12/19/2003         196,197.35      R4285             03/05/2004     3,720.32
32                        03/03/2004         169,006.62      R4330             03/31/2004     2,619.69
33                        03/04/2004         129,372.79      R4330             03/31/2004       231.48
34                        04/15/2004         249,740.55      R4402             05/12/2004     1,100.18
35                        04/27/2004         167,498.99      R4419             05/21/2004     2,934.07
36                        05/28/2004         166,742.77      R4485             06/25/2004       929.88

                                                                               Total:       $31,820.12




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                                                            0228
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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                ASRC AEROSPACE CORP
EPA Contract Number:            68-W0-1002
Project Officer(s):             CHAN, ELAINE
Dates of Service:               From: 12/01/2000   To: 08/31/2001
Summary of Service:             COPYING, INDEXING, SCANNING & FILING SERVICES
Total Costs:                            $419.10


Voucher                    Voucher         Voucher             Treasury Schedule           Site
Number                       Date           Amount        Number      and     Date       Amount
2                         01/22/2001      104,353.99      R1262             02/20/2001      18.84
5R                        05/17/2001      168,325.50      R1470             06/12/2001        1.55
9                         08/06/2001      207,897.97      R1654             09/06/2001     286.94
10                        09/07/2001      170,033.23      R2004             10/03/2001     111.77

                                                                            Total:        $419.10




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                                        Contract Costs
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                LABAT-ANDERSON INCORPORATED
EPA Contract Number:            68-W4-0028
Project Officer(s):             ELAINE CHAN/SHARON JOHNSON
Dates of Service:               From: 10/01/1994    To: 09/30/1995
Summary of Service:             COPYING, SCANNING, INDEXING & FILING SUPPORT
Total Costs:                           $7,018.94


Voucher                    Voucher          Voucher             Treasury Schedule            Site
Number                       Date            Amount        Number      and     Date       Amount
456-4-04                  11/30/1994       261,443.93      R5283             01/20/1995      991.60
517-01                    01/20/1995        84,066.55      R5355             02/16/1995      138.56
518-01                    01/20/1995        11,090.02      R5355             02/16/1995    1,022.27
517-02                    01/20/1995        88,046.03      R5357             02/17/1995       69.28
518-02                    01/20/1995         8,663.34      R5357             02/17/1995    1,027.89
456-4-05                  11/30/1994        30,249.97      R5366             02/23/1995      216.10
517-03                    01/24/1995       124,486.73      R5367             02/23/1995       92.69
518-03                    01/24/1995        12,040.32      R5367             02/23/1995      521.13
517-05                    03/17/1995       126,260.53      R5516             04/14/1995      121.83
518-04                    03/17/1995        11,115.99      R5516             04/14/1995      148.35
518-05                    03/17/1995        10,768.50      R5515             04/14/1995      182.94
517-07                    04/17/1995       480,739.44      R5597             05/16/1995       64.98
517-08                    05/22/1995       111,080.83      R5685             06/20/1995      166.27
517-09                    06/12/1995       118,506.99      R5729             07/07/1995       27.71
518-10                    08/10/1995        11,610.87      R5872             09/07/1995       32.81
517-12                    09/12/1995       132,572.16      R6027             10/12/1995      124.70
517-13                    10/10/1995       112,518.49      R6091             11/08/1995      648.35
518-12                    10/10/1995        13,437.90      R6091             11/08/1995    1,421.48

                                                                             Total:       $7,018.94




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                ARMSTRONG DATA SERVICES, INC.
EPA Contract Number:            68-W5-0024
Project Officer(s):             ELAINE CHAN
                                JOHNSON, SHARON WILSON
                                PENNINGTON, GREG
Dates of Service:               From: 09/01/1995       To: 10/31/2000
Summary of Service:             COPYING, INDEXING, SCANNING & FILING SERVICES
Total Costs:                           $43,649.90


Voucher                    Voucher           Voucher             Treasury Schedule          Site
Number                       Date            Amount         Number      and    Date       Amount
9606-010-03               12/19/1995        115,096.42      R6256            01/23/1996     579.96
9606-010-05               01/23/1996        102,884.79      R6350            02/26/1996   2,871.86
9606-010-07               02/13/1996         93,832.82      R6399            03/18/1996   2,756.81
9606-010-09               03/13/1996        110,666.02      R6461            04/10/1996   4,985.66
9606-026-01               03/12/1996         11,457.24      R6457            04/10/1996     321.70
9606-010-11               04/11/1996        114,396.91      R6527            05/08/1996   2,735.14
9606-026-12               05/13/1996          8,798.62      R6601            06/07/1996      10.75
9606-026-13               05/24/1996          1,997.14      R6640            06/24/1996      39.48
9606-026-14               06/13/1996          9,639.76      R6690            07/12/1996     248.57
9606-010-15               06/25/1996        108,329.27      R6717            07/23/1996      12.07
9606-026-16               07/12/1996          8,933.44      R6768            08/12/1996     139.75
606-010-13R               07/12/1996        111,362.07      R6772            08/13/1996   1,418.78
9606-010-17               07/12/1996         95,792.56      R6772            08/13/1996      12.07
9606-026-17               07/30/1996          1,817.62      R6812            08/29/1996      29.61
9606-026-18               08/16/1996          9,668.62      R6880            09/24/1996     107.50
9606-010-19               08/29/1996        106,044.46      R6892            09/27/1996     391.37
9606-010-21               09/17/1996         97,788.15      R7049            10/17/1996      12.07
9606-010-23               10/15/1996        101,218.46      R7122            11/13/1996      70.88
9710-110-02               11/14/1996        117,868.57      R7192            12/11/1996     430.08
9710-126-02               11/12/1996         10,275.93      R7192            12/11/1996      99.63
9710-110-04               12/16/1996         95,219.70      R7286            01/13/1997     505.32
9710-126-05               12/27/1996          2,124.67      R7325            01/29/1997      21.73
9710-110-06               01/16/1997        101,341.23      R7368            02/13/1997   2,445.04
9710-110-08               02/12/1997        107,285.87      R7442            03/12/1997     261.34
9710-110-10               03/12/1997         95,609.72      R7521            04/08/1997     168.39
9710-126-12               04/11/1997          8,996.14      R7622            05/12/1997       9.84
9710-126-15               05/22/1997         10,820.26      R7723            06/19/1997     376.38
9710-110-15               05/22/1997        118,062.34      R7725            06/20/1997     384.99

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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                ARMSTRONG DATA SERVICES, INC.
EPA Contract Number:            68-W5-0024
Project Officer(s):             ELAINE CHAN
                                JOHNSON, SHARON WILSON
                                PENNINGTON, GREG
Dates of Service:               From: 09/01/1995       To: 10/31/2000
Summary of Service:             COPYING, INDEXING, SCANNING & FILING SERVICES
Total Costs:                           $43,649.90


Voucher                    Voucher           Voucher             Treasury Schedule          Site
Number                       Date            Amount         Number      and    Date       Amount
9710-126-16               05/29/1997          2,228.12      R7749            06/30/1997     458.43
9710-110-17               06/13/1997        104,991.93      R7789            07/11/1997     957.06
9710-126-17               06/13/1997          9,400.65      R7789            07/11/1997   1,306.08
9710-110-19               07/14/1997        109,702.52      R7865            08/11/1997     276.63
9710-126-19               07/14/1997          8,993.28      R7865            08/11/1997      88.56
9710-110-21               08/14/1997        126,142.62      R7951            09/10/1997     245.40
9710-110-23               09/16/1997        100,787.89      R8026            10/14/1997     791.42
9710-110-25               10/20/1997         96,475.70      R8133            11/19/1997     573.09
9810-210-02               11/17/1997        129,904.13      R8211            12/18/1997   1,389.89
9810-210-04               12/19/1997        104,075.43      R8298            01/21/1998     485.29
9810-210-06               01/16/1998        114,064.14      R8357            02/12/1998      70.29
9810-210-08               02/12/1998        113,205.83      R8451            03/16/1998     906.46
9810-210-10               03/10/1998        108,058.20      R8517            04/07/1998   1,235.91
9810-210-12               04/15/1998        127,701.21      R8622            05/13/1998   2,553.77
9810-226-12               04/15/1998          9,760.82      R8625            05/14/1998     633.62
9810-210-14               05/11/1998        126,577.93      R8693            06/09/1998     347.66
9810-226-14               05/11/1998          9,202.64      R8692            06/09/1998     292.44
9810-210-16               06/09/1998        107,575.47      R8770            07/07/1998     101.59
9810-210-18               07/14/1998        127,926.44      R8863            08/12/1998   1,339.50
9810-210-20               08/06/1998        131,074.98      R8921            09/03/1998   1,321.80
9810-210-22               09/08/1998        122,386.40      R9014            10/07/1998     101.59
9810-210-24               10/13/1998        111,260.65      R9103            11/12/1998     573.11
9910-226-02               11/16/1998         12,490.05      R9163            12/08/1998     264.70
9910-210-02               11/16/1998        124,866.96      R9193            12/17/1998     579.16
9910-210-04               12/08/1998        110,828.49      R9262            01/11/1999     909.36
9910-210-06               01/14/1999        129,303.65      R9333            02/12/1999      93.68
9910-210-08               02/16/1999        124,595.57      R9411            03/18/1999      65.03
9910-226-11               03/25/1999          6,854.13      R9486            04/21/1999     138.14

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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                ARMSTRONG DATA SERVICES, INC.
EPA Contract Number:            68-W5-0024
Project Officer(s):             ELAINE CHAN
                                JOHNSON, SHARON WILSON
                                PENNINGTON, GREG
Dates of Service:               From: 09/01/1995       To: 10/31/2000
Summary of Service:             COPYING, INDEXING, SCANNING & FILING SERVICES
Total Costs:                           $43,649.90


Voucher                    Voucher           Voucher             Treasury Schedule           Site
Number                       Date            Amount         Number      and    Date        Amount
9910-210-12               04/08/1999        118,303.01      R9537            05/14/1999       284.83
9910-226-12               04/08/1999         13,121.11      R9537            05/14/1999       164.06
9910-210-14               05/10/1999        144,362.32      R9587            06/07/1999       198.25
9910-210-16               06/08/1999        123,404.58      R9652            07/07/1999       136.56
9910-226-16               06/08/1999         11,264.36      R9652            07/07/1999        20.51
9910-210-18               07/09/1999        124,655.10      R9720            08/06/1999       118.36
9910-210-20               08/10/1999        124,026.31      R9790            09/08/1999        19.42
9910-210-22               09/10/1999        127,819.91      R0011            10/08/1999       677.77
9910-226-23               09/17/1999          6,342.98      R0026            10/15/1999       479.45
9910-210-24               10/08/1999        137,590.93      R0074            11/09/1999       409.77
9910-226-24               10/08/1999         11,596.66      R0074            11/09/1999     1,580.11
9920-21026R               11/13/2000        119,594.91      R1382            04/25/2001        14.38

                                                                              Total:      $43,649.90




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                LABAT-ANDERSON INCORPORATED
EPA Contract Number:            68-W9-0052
Project Officer(s):             ELAINE CHAN
Dates of Service:               From: 08/01/1992     To: 10/01/1993
Summary of Service:             COPYING, INDEXING, SCANNING & FILING SERVICES
Total Costs:                           $13,785.40


Voucher                    Voucher           Voucher             Treasury Schedule             Site
Number                       Date             Amount        Number      and     Date        Amount
3-591-16                  09/09/1992         80,017.08      R3017             10/08/1992     3,359.40
4-591-04                  11/12/1992         90,415.75      R3169             12/08/1992       369.12
4-591-06                  12/10/1992         79,503.92      R3255             01/11/1993       441.66
4-591-07R                 01/21/1993        101,476.35      R3361             02/23/1993       909.36
4-591-08                  02/08/1993         82,387.70      R3414             03/15/1993     1,363.65
4-591-09                  03/05/1993         82,296.00      R3481             04/08/1993       628.80
4-591-10                  04/09/1993         98,162.25      R3554             05/07/1993       918.13
4-591-11                  05/10/1993         93,384.20      R3641             06/10/1993     1,029.84
4-591-12                  06/04/1993         87,143.98      R3698             07/06/1993     1,090.68
4-591-13                  07/07/1993         88,593.78      R3780             08/10/1993     1,848.09
4-591-16                  11/30/1993         93,064.57      R4260             01/07/1994     1,826.67

                                                                              Total:       $13,785.40




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                                                           0234
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

REMEDIAL (REM)
Contractor Name:                 CH2M HILL
EPA Contract Number:             68-01-7251
Project Officer(s):              TRACY H. LOY
Dates of Service:                From: 05/01/1990     To: 10/31/1990
Summary of Service:              FEASIBILITY STUDY/COMMUNITY RELATIONS SUPPORT
Total Costs:                         $135,879.78
Voucher                Voucher          Voucher        Treasury Schedule              Site       Annual
Number                   Date           Amount      Number    and Date               Amount     Allocation
70                    06/11/1990     1,342,704.33   09156            07/13/1990      9,739.14     2,367.70
71                    06/11/1990       522,627.49   09156            07/13/1990      1,589.00       386.30
72                    07/11/1990     1,010,050.22   09176            08/10/1990      5,662.32     1,376.58
73                    08/14/1990       953,657.30   09205            09/20/1990      6,630.28     1,611.90
74                    09/13/1990     1,045,127.44   09221            10/15/1990     15,720.45     3,821.83
75                    10/11/1990     1,089,180.86   09243            11/15/1990     18,412.14     4,476.21
76                    11/16/1990       301,321.00   09266            12/19/1990        989.00       240.44
77                    11/13/1990       681,958.76   09267            12/20/1990      3,727.34       906.16
78                    12/12/1990       264,323.31   09283            01/15/1991        923.84       224.60
80                    01/11/1991       433,784.06   09304            02/14/1991      3,598.92       874.94
83                    04/11/1991       129,650.35   09364            05/10/1991       -727.18      -176.79
86                    06/26/1991       825,844.00   09416            07/25/1991     43,426.00    10,557.38
109                   11/17/1993       202,303.24   94289            01/19/1994       -402.92       -75.80

                                                                      Total:      $109,288.33   $26,591.45




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                         MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


REMEDIAL (REM)
Contractor Name:           CH2M HILL
EPA Contract Number:       68-01-7251
Project Officer(s):        TRACY H. LOY
Dates of Service:          From: 05/01/1990   To: 10/31/1990
Summary of Service:        FEASIBILITY STUDY/COMMUNITY RELATIONS SUPPORT
Total Costs:                    $135,879.78

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
 70                        09156              Final                                   0.243112
 71                        09156              Final                                   0.243112
 72                        09176              Final                                   0.243112
 73                        09205              Final                                   0.243112
 74                        09221              Final                                   0.243112
 75                        09243              Final                                   0.243112
 76                        09266              Final                                   0.243112
 77                        09267              Final                                   0.243112
 78                        09283              Final                                   0.243112
 80                        09304              Final                                   0.243112
 83                        09364              Final                                   0.243112
 86                        09416              Final                                   0.243112
 109                       94289              Provisional                             0.188131




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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

STATE COOPERATIVE AGREEMENT (SCA)
State Agency:                   CA DEPT OF TOXICS SUBSTANCES CONTROL
SCA Number:                     937801
Project Officer(s):             STEVE LINDER
Dates of Service:               From: 03/01/1990    To: 06/30/1992
Summary of Service:             SITE MANAGEMENT ASSISTANCE (HEALTH STUDY, SITE MAINTENANCE,
                                COMMUNITY RELATIONS SUPPORT, PRP DOCUMENT REVIEW)
Total Costs:                       $2,836,787.10


Drawdown                  Drawdown         Drawdown             Treasury Schedule               Site
Number                       Date            Amount        Number      and     Date          Amount
172                       07/09/1990        11,662.74      L21172            07/10/1990       4,693.07
174                       07/12/1990        86,218.96      L21174            07/12/1990      29,681.37
177                       07/20/1990     1,403,174.00      L21177            07/23/1990   1,403,174.00
181                       08/27/1990        62,674.55      L21181            08/28/1990       9,012.82
182                       08/27/1990        28,986.84      L21182            08/28/1990       6,157.32
183                       08/31/1990       185,794.80      L21183            09/04/1990      35,199.37
184                       09/14/1990         9,012.82      L21184            09/17/1990       9,012.82
186                       09/27/1990        34,558.97      L21186            09/28/1990       6,841.68
188                       10/19/1990         8,722.08      L21188            10/22/1990       8,722.08
189                       10/26/1990       106,408.61      L21189            10/26/1990      29,434.16
190                       11/07/1990        13,704.00      L21190            11/08/1990       3,559.50
192                       11/21/1990         9,012.82      L21192            11/23/1990       9,012.82
194                       12/14/1990       166,826.13      L21194            12/17/1990      19,996.83
196                       12/20/1990         8,722.08      L21196            12/20/1990       8,722.08
199                       01/29/1991       176,787.32      L21199            01/30/1991     126,747.01
201                       02/21/1991        85,772.62      L21201            02/22/1991      36,199.36
0002                      03/18/1991       185,634.51      G91080A           03/21/1991      65,189.61
0006                      04/11/1991       384,032.02      891102A           04/12/1991      19,483.50
0007                      04/17/1991        23,395.21      G91109A           04/19/1991       9,012.82
0009                      05/01/1991        23,265.47      G91122A           05/02/1991       5,340.38
0010                      05/09/1991        14,268.06      G91130A           05/10/1991      14,268.06
0010                      05/09/1991       132,000.00      G91135A           05/15/1991      22,149.11
0004                      04/04/1991        14,464.08      G91137A           05/17/1991       2,825.60
0011                      05/16/1991        30,254.30      G91137A           05/17/1991      30,254.30
0015                      06/10/1991        80,147.80      G91163A           06/12/1991      23,351.35
0016                      06/19/1991       224,022.86      G91171A           06/20/1991      76,097.07
0019                      07/08/1991        93,382.66      G91190A           07/09/1991      25,048.41
0020                      07/26/1991        13,671.95      G91210A           07/29/1991       8,722.08
0021                      08/01/1991       160,195.84      G91217A           08/05/1991      12,054.14

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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

STATE COOPERATIVE AGREEMENT (SCA)
State Agency:                   CA DEPT OF TOXICS SUBSTANCES CONTROL
SCA Number:                     937801
Project Officer(s):             STEVE LINDER
Dates of Service:               From: 03/01/1990    To: 06/30/1992
Summary of Service:             SITE MANAGEMENT ASSISTANCE (HEALTH STUDY, SITE MAINTENANCE,
                                COMMUNITY RELATIONS SUPPORT, PRP DOCUMENT REVIEW)
Total Costs:                       $2,836,787.10


Drawdown                  Drawdown         Drawdown             Treasury Schedule              Site
Number                       Date           Amount         Number      and    Date           Amount
0022                      08/05/1991        15,817.02      G91218A          08/06/1991       5,610.90
0024                      08/14/1991         7,620.55      G91227A          08/15/1991         720.00
0025                      08/19/1991        34,480.46      G91234A          08/22/1991         743.58
0026                      09/04/1991       611,373.50      G91248A          09/05/1991       9,422.22
0029                      09/20/1991        35,062.33      G91266A          09/23/1991       9,696.77
0041                      01/02/1992        44,231.00      G92007A          01/07/1992         965.00
0045                      02/13/1992       547,111.82      G92045A          02/14/1992      33,489.91
0048                      03/12/1992       188,820.48      G92073A          03/13/1992       2,758.04
0049                      03/20/1992         9,359.00      G92083A          03/23/1992         948.00
0057                      05/12/1992       564,425.00      G92134A          05/13/1992      95,408.29
0064                      06/11/1992       118,348.88      G92164A          06/12/1992         507.88
0067                      06/26/1992        36,189.06      G92181A          06/29/1992      35,601.00
0068                      07/14/1992        66,115.38      G92197A          07/15/1992      23,605.06
0072                      08/17/1992     2,164,059.15      G92232A          08/19/1992         271.46
0075                      09/17/1992        37,199.60      G92262A          09/18/1992      36,899.00
255                       07/11/2002       847,814.33      ACHC02210        07/31/2002     520,177.27

                                                                             Total:      $2,836,787.10




                                                        Exhibit 4-A
                                                          0238
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                                            #:7046
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

STATE COOPERATIVE AGREEMENT (SCA)
State Agency:                   CA DEPT OF TOXIC SUBSTANCES CONTROL
SCA Number:                     937802
Project Officer(s):             DAVID SETER
                                STEVEN LINDER
Dates of Service:               From: 07/01/1991    To: 06/30/1993
Summary of Service:             PH 1 RI/FS ENFORCEMENT/RA ENFORCEMENT SUPPORT
Total Costs:                       $1,229,850.32


Drawdown                  Drawdown         Drawdown             Treasury Schedule            Site
Number                       Date            Amount        Number      and     Date       Amount
0025                      08/19/1991        34,480.46      G91234A           08/22/1991   23,605.06
0027                      09/10/1991         2,082.91      G91254A           09/11/1991    1,528.47
0031                      10/24/1991        48,125.23      G91298A           10/25/1991   45,847.64
0033                      11/21/1991         8,153.38      G91329A           11/25/1991    7,009.98
0041                      01/02/1992        44,231.00      G92007A           01/07/1992    2,417.00
0045                      02/13/1992       547,111.82      G92045A           02/14/1992   87,679.90
0046                      03/02/1992        47,659.01      G92064A           03/04/1992   20,758.29
0048                      03/12/1992       188,820.48      G92073A           03/13/1992   15,752.66
0049                      03/20/1992         9,359.00      G92083A           03/23/1992    2,620.00
0050                      03/24/1992       153,484.25      G92085A           03/25/1992      743.58
0051                      04/02/1992         4,825.45      G92094A           04/03/1992      582.47
0052                      04/10/1992        22,261.90      G92104A           04/13/1992   20,424.96
0057                      05/12/1992       564,425.00      G92134A           05/13/1992   45,391.52
0059                      05/20/1992        77,392.20      G92142A           05/21/1992    1,772.20
0060                      05/21/1992        51,374.00      G92143A           05/28/1992    3,514.00
0061                      05/28/1992        13,076.42      G92150A           05/29/1992    2,483.59
0064                      06/11/1992       118,348.88      G92164A           06/12/1992   34,863.21
0065                      06/18/1992        30,256.14      G92171A           06/19/1992   30,256.14
0066                      06/22/1992     1,512,025.77      G92175A           06/23/1992   10,212.48
0068                      07/14/1992        66,115.38      G92197A           07/15/1992      800.67
0070                      08/05/1992        36,851.48      G92219A           08/06/1992   20,765.38
0071                      08/10/1992        61,254.00      G92224A           08/13/1992    3,913.00
0072                      08/17/1992     2,164,059.15      G92232A           08/19/1992   19,559.81
0076                      09/28/1992        10,552.90      G92273A           09/29/1992   10,552.90
0078                      10/22/1992        11,073.36      G92297A           10/27/1992   10,552.90
0079                      11/05/1992     1,084,337.14      G92311A           11/09/1992   59,637.12
0080                      11/16/1992        38,574.00      G92322A           11/17/1992   10,212.48
0081                      11/24/1992        15,320.95      G92330A           11/25/1992   10,552.90
0083                      12/04/1992       583,048.69      G92343A           12/08/1992   14,888.45

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                                                          0239
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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

STATE COOPERATIVE AGREEMENT (SCA)
State Agency:                   CA DEPT OF TOXIC SUBSTANCES CONTROL
SCA Number:                     937802
Project Officer(s):             DAVID SETER
                                STEVEN LINDER
Dates of Service:               From: 07/01/1991    To: 06/30/1993
Summary of Service:             PH 1 RI/FS ENFORCEMENT/RA ENFORCEMENT SUPPORT
Total Costs:                       $1,229,850.32


Drawdown                  Drawdown         Drawdown             Treasury Schedule              Site
Number                       Date           Amount         Number      and    Date           Amount
0082                      12/03/1992        31,812.62      G92343A          12/09/1992       3,489.39
0086                      07/06/1993       604,968.61      G93007A          01/07/1993      10,116.21
0088                      02/04/1993       440,540.87      G93036A          02/05/1993      10,576.29
0089                      02/04/1993        27,591.00      G93036A          02/05/1993       2,078.00
0090                      02/23/1993        40,367.52      G93055A          02/24/1993      10,212.48
0091                      03/05/1993       392,403.33      G93067A          03/08/1993      18,168.95
0093                      03/30/1993        14,474.05      G93090A          03/31/1993      10,552.90
0094                      03/31/1993       264,779.62      G93091A          04/01/1993      12,731.59
0095                      04/30/1993        14,939.21      G93123A          05/05/1993       9,531.65
0097                      05/10/1993         5,531.00      G93131A          05/11/1993       1,700.00
0098                      05/12/1993        30,876.60      G93133A          05/13/1993      11,545.23
0100                      06/10/1993       904,527.55      G93162A          06/14/1993         999.00
0102                      06/16/1993        40,362.41      G93168A          06/17/1993       7,560.30
0105                      06/29/1993       324,323.38      G93181A          06/30/1993       6,944.86
0106                      08/12/1993        54,676.00      G93225A          08/13/1993       1,393.00
0107                      08/16/1993     1,844,578.54      G93229A          08/17/1993     249,419.13
0110                      09/21/1993        39,704.47      G93266A          09/23/1993       4,199.80
0111                      10/19/1993        47,833.11      G93293A          10/20/1993       4,045.26
0112                      11/04/1993        80,136.29      G93309A          11/05/1993       9,714.24
0115                      01/05/1994         4,558.00      G94006A          01/06/1994         543.00
A/R0996NA011              03/15/1996        -2,206.78      96NA011          03/15/1996      -2,206.78
255                       07/11/2002       847,814.33      ACHC02210        07/31/2002     327,637.06

                                                                             Total:      $1,229,850.32




                                                        Exhibit 4-A
                                                          0240
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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

STATE COOPERATIVE AGREEMENT (SCA)
State Agency:                   CA DEPARTMENT OF TOXIC SUBSTANCES CONTROL
SCA Number:                     940402
Project Officer(s):             DANA BARTON
Dates of Service:               From: 10/01/1992      To: 06/30/1994
Summary of Service:             SITE MANAGEMENT SUPPORT
Total Costs:                           $229,117.45


Drawdown                  Drawdown           Drawdown             Treasury Schedule             Site
Number                       Date              Amount        Number      and     Date        Amount
0044                      01/24/1992         207,224.83      G92027A           01/27/1992    37,833.49
0050                      03/24/1992         153,484.25      G92085A           03/25/1992          9.33
0053                      04/22/1992          61,856.05      G92114A           04/23/1992        51.32
0062                      06/03/1992          25,877.57      G92156A           06/04/1992     1,175.86
0085                      12/15/1992         772,846.56      G92351A           12/16/1992     2,500.00
0120                      05/03/1994         624,673.61      G94124A           05/04/1994   101,183.46
0121                      05/17/1994          33,446.34      G94138A           05/18/1994    10,333.84
0124                      08/08/1994         256,189.46      G94221A           08/09/1994    41,279.86
0125                      08/30/1994       6,059,637.16      G94243A           08/31/1994    34,337.98
0128                      11/16/1994         190,714.00      G94321A           11/17/1994       412.31

                                                                               Total:       $229,117.45




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                                            #:7049
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

STATE COOPERATIVE AGREEMENT (SCA)
State Agency:                   CA DEPARTMENT OF TOXIC SUBSTANCES CONTROL
SCA Number:                     940403
Project Officer(s):             DANA BARTON
Dates of Service:               From: 07/01/1994      To: 06/30/1995
Summary of Service:             SITE MANAGEMENT SUPPORT
Total Costs:                           $136,313.58


Drawdown                  Drawdown           Drawdown             Treasury Schedule              Site
Number                       Date              Amount        Number      and     Date         Amount
0128                      11/16/1994         190,714.00      G94321A           11/17/1994     38,057.51
0131                      01/17/1995         550,717.05      G95018A           01/18/1995     14,386.33
0132                      02/09/1995         642,696.91      G95041A           02/10/1995     23,683.45
0134                      03/21/1995          19,253.01      G95081A           03/22/1995      6,012.62
0135                      05/08/1995       2,962,703.56      G95129A           05/09/1995      5,703.32
0136                      05/17/1995          61,304.99      G95138A           05/18/1995     17,679.75
0137                      06/12/1995         860,852.83      G95164A           06/13/1995      4,673.19
0139                      07/10/1995          81,024.54      G95192A           07/11/1995      6,412.05
0140                      08/22/1995       1,185,109.50      G95235A           08/23/1995     19,087.96
0143                      12/11/1995         781,185.67      G95345B           12/11/1995        617.40

                                                                               Total:       $136,313.58




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                                            #:7050
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

STATE COOPERATIVE AGREEMENT (SCA)
State Agency:                   CA DEPARTMENT OF TOXIC SUBSTANCES CONTROL
SCA Number:                     940404
Project Officer(s):             RACHEL LOFTIN
Dates of Service:               From: 07/01/1995      To: 06/30/1996
Summary of Service:             SITE MANAGEMENT SUPPORT
Total Costs:                           $107,659.10


Drawdown                  Drawdown           Drawdown             Treasury Schedule              Site
Number                       Date              Amount        Number      and     Date         Amount
142                       11/13/1995       2,078,013.00      G95318A           11/14/1995     15,655.82
143                       12/11/1995         781,185.67      G95345B           12/11/1995      4,233.96
0144                      01/11/1996         532,136.34      G96012A           01/12/1996      3,734.89
146                       02/06/1996       1,059,596.12      G96038A           02/07/1996     14,873.91
147                       04/08/1996         214,256.81      G96100A           04/09/1996      9,053.96
0148                      05/07/1996       2,525,996.34      G96129A           05/08/1996      8,858.88
0149                      06/06/1996         940,857.38      G96159A           06/07/1996      5,320.24
0150                      07/09/1996         901,198.19      G96194A           07/12/1996     18,121.84
0151                      09/24/1996         242,573.94      G96270A           09/26/1996     27,175.49
155                       01/14/1997         267,082.91      G97016A           01/16/1997        630.11

                                                                               Total:       $107,659.10




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

STATE COOPERATIVE AGREEMENT (SCA)
State Agency:                   CA DEPARTMENT OF TOXIC SUBSTANCES CONTROL
SCA Number:                     940405
Project Officer(s):             RACHAEL LOFTIN
Dates of Service:               From: 07/01/1996      To: 06/30/1997
Summary of Service:             SITE MANAGEMENT SUPPORT
Total Costs:                           $120,564.24


Drawdown                  Drawdown           Drawdown             Treasury Schedule              Site
Number                       Date              Amount        Number      and     Date         Amount
0152                      10/25/1996       1,512,212.13      G96302A           10/28/1996     13,889.42
0153                      11/21/1996         751,955.66      G96327A           11/22/1996     10,893.83
0154                      12/30/1996         587,765.85      G96366A           12/31/1996      5,487.95
0155                      01/14/1997         267,082.91      G97016A           01/16/1997      6,541.26
0157                      02/19/1997         782,163.04      G97052A           02/21/1997      4,133.20
0159                      04/02/1997          96,810.57      G97094A           04/04/1997     14,453.34
183                       02/19/1999         179,342.74      G99050A           02/19/1999     65,165.24

                                                                               Total:       $120,564.24




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

STATE COOPERATIVE AGREEMENT (SCA)
State Agency:                   CA DEPARTMENT OF TOXIC SUBSTANCES CONTROL
SCA Number:                     940406
Project Officer(s):             RACHAEL LOFTIN
Dates of Service:               From: 07/01/1997     To: 06/30/1998
Summary of Service:             SITE MANAGEMENT SUPPORT
Total Costs:                           $49,428.12


Drawdown                  Drawdown          Drawdown             Treasury Schedule             Site
Number                       Date             Amount        Number      and     Date        Amount
0166                      10/22/1997        791,571.71      G97296A           10/23/1997     8,490.94
0167                      11/07/1997        522,896.13      G97314A           11/10/1997     5,004.81
0168                      12/17/1997        582,964.77      G97352A           12/18/1997     7,750.29
0169                      01/12/1998        373,354.61      G98013A           01/13/1998     3,055.17
171                       03/06/1998        229,608.97      G98069A           03/10/1998     2,900.79
182                       02/19/1999        245,812.77      G99050A           02/19/1999    22,226.12

                                                                              Total:       $49,428.12




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                                                           0245
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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

TECHNICAL ASSISTANCE TEAM (TAT)
Contractor Name:               ECOLOGY AND ENVIRONMENT, INC.
EPA Contract Number:           68-01-7368
Project Officer(s):            SUSAN JANOWIAK
Dates of Service:              From: 06/01/1990      To: 09/04/1990
Summary of Service:            SITE ASSESSMENT/INVESTIGATIVE DRILLING/VIDEO MONITORING
                               SUPPORT
Total Costs:                       $161,186.25
Voucher                Voucher        Voucher         Treasury Schedule          Site      Annual
Number                   Date          Amount     Number     and Date          Amount     Allocation
106                   07/05/1990   1,335,272.83   09174         08/08/1990     2,312.80      2,504.99
107                   08/20/1990   1,871,531.40   09207         09/24/1990     5,063.60      5,484.38
108                   09/17/1990     452,710.34   09225         10/19/1990     2,443.52      2,646.57
109                   09/20/1990   1,301,876.35   09226         10/22/1990     5,207.12      5,639.82
110                   10/11/1990   1,264,461.18   R9241         11/13/1990    56,639.52    61,346.15
111R                  12/17/1990     625,256.72   09285         01/17/1991     3,961.63      4,290.83
112                   12/17/1990     213,277.39   09288         01/23/1991       231.38        250.61
113                   01/03/1991     110,744.24   09303         02/13/1991       126.92        137.47
116                   03/01/1991     141,422.44   R9350         04/22/1991     1,161.12      1,257.61
118                   07/10/1991     168,241.16   R9437         08/23/1991       -90.89        -98.44
119                   07/06/1992      14,524.21   R2741         08/21/1992       358.72        310.82

                                                                    Total:   $77,415.44   $83,770.81




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                                                        0246
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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


TECHNICAL ASSISTANCE TEAM (TAT)
Contractor Name:           ECOLOGY AND ENVIRONMENT, INC.
EPA Contract Number:       68-01-7368
Project Officer(s):        SUSAN JANOWIAK
Dates of Service:          From: 06/01/1990   To: 09/04/1990
Summary of Service:        SITE ASSESSMENT/INVESTIGATIVE DRILLING/VIDEO MONITORING
                           SUPPORT
Total Costs:                   $161,186.25

                                                                                      Annual
Voucher
 106    Number            Schedule
                           09174 Number       Rate
                                              Final Type                         Allocation Rate
                                                                                      1.083098
 107                       09207              Final                                   1.083098
 108                       09225              Final                                   1.083098
 109                       09226              Final                                   1.083098
 110                       R9241              Final                                   1.083098
 111R                      09285              Final                                   1.083098
 112                       09288              Final                                   1.083098
 113                       09303              Final                                   1.083098
 116                       R9350              Final                                   1.083098
 118                       R9437              Final                                   1.083098
 119                       R2741              Provisional                             0.866478




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                                                 0247
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                                       Contract Costs
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

TECHNICAL ASSISTANCE TEAM (TAT)
Contractor Name:                 ECOLOGY AND ENVIRONMENT, INC.
EPA Contract Number:             68-W0-0037
Project Officer(s):              KAREN L. TOMIMATSU
Dates of Service:                From: 10/01/1990     To: 08/30/1993
Summary of Service:              CONTINUED SITE ASSESSMENT, INVESTIGATIVE DRILLING & OTHER
                                 TECHNICAL SUPPORT ACTIVITIES AS ASSIGNED
Total Costs:                         $402,739.70
Voucher                Voucher          Voucher        Treasury Schedule           Site        Annual
Number                   Date           Amount      Number    and Date            Amount      Allocation
1                     11/30/1990     1,021,381.51   09282            01/14/1991   10,587.61    10,889.31
2                     12/13/1990     1,272,355.80   09283            01/15/1991    5,540.10     5,697.97
3                     01/15/1991     1,452,281.36   09305            02/15/1991    8,715.13     8,963.48
4                     02/12/1991     1,565,913.49   09332            03/27/1991    4,023.69     4,138.35
5                     03/19/1991     1,419,764.91   09349            04/19/1991    5,582.54     5,741.62
6                     04/05/1991     1,514,191.06   09363            05/09/1991    5,023.72     5,166.88
7                     05/22/1991     1,828,697.57   09393            06/21/1991    5,494.19     5,650.75
8                     06/14/1991     1,075,149.07   R9414            07/23/1991   10,754.75    11,061.22
10                    07/22/1991     1,481,913.33   R1002            08/28/1991    6,463.72     6,647.91
11                    08/19/1991     1,805,546.91   R1048            09/20/1991   15,862.79    16,314.82
12                    09/12/1991     1,893,127.93   R2030            10/17/1991   33,323.52    34,273.11
13                    10/10/1991     1,499,955.39   R2088            11/12/1991   26,348.95    27,099.79
14                    11/15/1991     1,776,487.46   R2148            12/12/1991    8,763.28     7,210.40
15                    12/20/1991     1,784,674.07   R2230            01/22/1992    5,307.29     4,366.82
17                    01/22/1992     1,400,833.57   R2295            02/20/1992   15,306.29    12,593.97
18                    02/18/1992     1,850,019.59   R2377            03/26/1992    4,319.61     3,554.16
19                    06/16/1992     1,550,966.43   R2491            05/11/1992    3,096.05     2,547.42
20                    04/20/1992     1,742,631.37   R2556            06/11/1992    2,175.34     1,789.86
21                    05/27/1992     1,998,643.43   R2603            06/30/1992    1,254.28     1,032.02
22                    06/12/1992     1,532,806.38   R2640            07/14/1992      906.22       745.64
23                    07/07/1992       155,844.30   R2741            08/21/1992   12,877.09    13,244.04
24                    07/20/1992     1,648,359.87   92741            08/21/1992    1,862.73     1,532.65
25                    08/21/1992     2,112,026.21   R2834            09/28/1992       81.29        66.89
27                    09/22/1992       184,192.29   R3140            11/25/1992    3,804.26     3,130.13
29                    11/18/1992       715,277.62   R3200            12/18/1992   -3,404.70    -2,801.38
28                    10/21/1992     1,931,544.25   R3228            12/31/1992    3,404.70     2,801.38
42                    06/22/1993     1,897,240.32   R3737            07/23/1993       84.57        69.58
43                    07/15/1993     1,678,472.20   R3787            08/12/1993      848.48       698.13
45                    07/28/1993       914,963.72   R3878            09/21/1993    5,510.80     4,534.27
                                                       Exhibit 4-A
                                                         0248
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                                            #:7056
                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

TECHNICAL ASSISTANCE TEAM (TAT)
Contractor Name:                 ECOLOGY AND ENVIRONMENT, INC.
EPA Contract Number:             68-W0-0037
Project Officer(s):              KAREN L. TOMIMATSU
Dates of Service:                From: 10/01/1990     To: 08/30/1993
Summary of Service:              CONTINUED SITE ASSESSMENT, INVESTIGATIVE DRILLING & OTHER
                                 TECHNICAL SUPPORT ACTIVITIES AS ASSIGNED
Total Costs:                         $402,739.70
Voucher                Voucher          Voucher        Treasury Schedule              Site        Annual
Number                   Date           Amount      Number    and Date               Amount      Allocation
62                    09/15/1994      333,166.81 95034               10/18/1994         -7.36         -6.06
64                    10/10/1994      261,161.88 R5105               09/14/1995         40.40         33.24

                                                                      Total:      $203,951.33   $198,788.37




                                                       Exhibit 4-A
                                                         0249
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                                            #:7057
                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


TECHNICAL ASSISTANCE TEAM (TAT)
Contractor Name:           ECOLOGY AND ENVIRONMENT, INC.
EPA Contract Number:       68-W0-0037
Project Officer(s):        KAREN L. TOMIMATSU
Dates of Service:          From: 10/01/1990   To: 08/30/1993
Summary of Service:        CONTINUED SITE ASSESSMENT, INVESTIGATIVE DRILLING & OTHER
                           TECHNICAL SUPPORT ACTIVITIES AS ASSIGNED
Total Costs:                    $402,739.70

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
1                         09282               Final                                  1.028496
2                         09283               Final                                  1.028496
3                         09305               Final                                  1.028496
4                         09332               Final                                  1.028496
5                         09349               Final                                  1.028496
6                         09363               Final                                  1.028496
7                         09393               Final                                  1.028496
8                         R9414               Final                                  1.028496
10                        R1002               Final                                  1.028496
11                        R1048               Final                                  1.028496
12                        R2030               Final                                  1.028496
13                        R2088               Final                                  1.028496
14                        R2148               Provisional                            0.822797
15                        R2230               Provisional                            0.822797
17                        R2295               Provisional                            0.822797
18                        R2377               Provisional                            0.822797
19                        R2491               Provisional                            0.822797
20                        R2556               Provisional                            0.822797
21                        R2603               Provisional                            0.822797
22                        R2640               Provisional                            0.822797
23                        R2741               Final                                  1.028496
24                        92741               Provisional                            0.822797
25                        R2834               Provisional                            0.822797
27                        R3140               Provisional                            0.822797
29                        R3200               Provisional                            0.822797
28                        R3228               Provisional                            0.822797
42                        R3737               Provisional                            0.822797
43                        R3787               Provisional                            0.822797

                                               Exhibit 4-A
                                                 0250
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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

TECHNICAL ASSISTANCE TEAM (TAT)
Contractor Name:           ECOLOGY AND ENVIRONMENT, INC.
EPA Contract Number:       68-W0-0037
Project Officer(s):        KAREN L. TOMIMATSU
Dates of Service:          From: 10/01/1990   To: 08/30/1993
Summary of Service:        CONTINUED SITE ASSESSMENT, INVESTIGATIVE DRILLING & OTHER
                           TECHNICAL SUPPORT ACTIVITIES AS ASSIGNED
Total Costs:                    $402,739.70

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
45                        R3878               Provisional                            0.822797
62                        95034               Provisional                            0.822797
64                        R5105               Provisional                            0.822797




                                               Exhibit 4-A
                                                 0251
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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

TECHNICAL ENFORCEMENT SUPPORT (TES)
Contractor Name:                 SCIENCE APPLICATION INTERNATIONAL CORP.
EPA Contract Number:             68-W9-0008
Project Officer(s):              JUDITH WALKER
Dates of Service:                From: 09/11/1990     To: 12/15/1993
Summary of Service:              RESPONSIBLE PARTY & TITLE SEARCHES/LITIGATION SUPPORT
Total Costs:                          $73,664.06
Voucher                Voucher          Voucher        Treasury Schedule           Site        Annual
Number                   Date           Amount      Number    and Date            Amount      Allocation
25                    11/02/1990       86,466.49    R9257            12/06/1990      697.35       161.14
26                    11/26/1990      111,997.20    09272            12/28/1990    1,492.36       344.85
27                    12/21/1990      121,102.48    09295            02/01/1991    1,681.88       388.64
28                    01/09/1991        7,098.95    09300            02/08/1991       49.73        11.49
29                    01/18/1991       90,983.88    09308            02/21/1991    5,531.44     1,278.17
31                    02/25/1991      175,012.79    09333            03/28/1991   19,820.61     4,580.03
32                    03/30/1991       81,950.64    R9348            04/18/1991      635.49       146.85
33                    04/08/1991       71,431.86    09363            05/09/1991      777.28       179.61
34                    05/23/1991      126,019.73    09393            06/21/1991    6,331.42     1,463.03
35                    05/31/1991      131,564.13    09401            07/03/1991    1,211.62       279.97
36                    07/08/1991      134,189.93    09427            08/09/1991    4,393.57     1,015.24
37                    08/08/1991      273,912.58    91017            09/05/1991    2,457.56       567.88
39                    08/30/1991      159,486.95    R1072            10/01/1991      809.29       187.01
40                    09/27/1991      210,996.09    R2077            11/05/1991    7,402.26     1,710.47
42                    12/20/1991      243,606.26    R2223            01/16/1992      342.47        79.14
43                    12/19/1991      273,212.28    R2228            01/17/1992      522.29       120.69
44                    01/24/1992      226,293.73    R2296            02/20/1992      100.76        23.28
45                    02/25/1992      851,624.51    R2368            03/23/1992    1,436.98       332.05
46                    03/11/1992      285,409.95    R2414            04/09/1992      157.55        36.41
47                    04/03/1992      575,656.41    R2475            05/01/1992       76.48        17.67
49                    04/30/1992      354,716.38    R2554            06/10/1992      104.85        24.23
51                    06/23/1992      374,727.28    R2661            07/22/1992      144.06        33.29
52                    07/27/1992      339,452.25    R2739            08/20/1992      626.87       144.86
53                    08/21/1992      362,339.85    R2809            09/17/1992      334.62        77.32
55                    09/17/1992      375,223.46    R3037            10/16/1992      133.72        30.90
56                    10/19/1992      347,171.41    R3115            11/16/1992      355.89        82.24
57                    11/13/1992      312,931.20    R3183            12/11/1992        5.34         0.99
58                    12/30/1992      296,302.54    R3291            01/25/1993        2.93         0.54
59                    01/14/1992      272,441.01    R3339            02/12/1993        1.54         0.28
60                    02/22/1993      551,071.93    R3443            03/25/1993       -3.60        -0.67
                                                       Exhibit 4-A
                                                         0252
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                                            #:7060
                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

TECHNICAL ENFORCEMENT SUPPORT (TES)
Contractor Name:                 SCIENCE APPLICATION INTERNATIONAL CORP.
EPA Contract Number:             68-W9-0008
Project Officer(s):              JUDITH WALKER
Dates of Service:                From: 09/11/1990     To: 12/15/1993
Summary of Service:              RESPONSIBLE PARTY & TITLE SEARCHES/LITIGATION SUPPORT
Total Costs:                          $73,664.06
Voucher                Voucher          Voucher        Treasury Schedule            Site        Annual
Number                   Date           Amount      Number    and Date             Amount      Allocation
69                    09/17/1993      287,781.57    R4058            10/25/1993       720.45       133.18
70                    10/27/1993      296,984.07    R4158            11/26/1993       309.63        57.24
71                    12/02/1993      337,409.53    R4250            01/05/1994        15.38         2.84
72                    12/20/1993      125,706.55    R4303            01/21/1994        65.63        12.13
74                    01/21/1994      234,320.80    R4386            02/25/1994         1.54         0.28
75                    02/18/1994      211,327.93    R4439            03/17/1994     1,165.09       215.38
83                    06/16/1995        6,689.00    R5749            07/14/1995        11.04         2.04

                                                                      Total:      $59,923.37   $13,740.69




                                                       Exhibit 4-A
                                                         0253
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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
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       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


TECHNICAL ENFORCEMENT SUPPORT (TES)
Contractor Name:           SCIENCE APPLICATION INTERNATIONAL CORP.
EPA Contract Number:       68-W9-0008
Project Officer(s):        JUDITH WALKER
Dates of Service:          From: 09/11/1990   To: 12/15/1993
Summary of Service:        RESPONSIBLE PARTY & TITLE SEARCHES/LITIGATION SUPPORT
Total Costs:                     $73,664.06

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
 25                        R9257              Final                                   0.231074
 26                        09272              Final                                   0.231074
 27                        09295              Final                                   0.231074
 28                        09300              Final                                   0.231074
 29                        09308              Final                                   0.231074
 31                        09333              Final                                   0.231074
 32                        R9348              Final                                   0.231074
 33                        09363              Final                                   0.231074
 34                        09393              Final                                   0.231074
 35                        09401              Final                                   0.231074
 36                        09427              Final                                   0.231074
 37                        91017              Final                                   0.231074
 39                        R1072              Final                                   0.231074
 40                        R2077              Final                                   0.231074
 42                        R2223              Final                                   0.231074
 43                        R2228              Final                                   0.231074
 44                        R2296              Final                                   0.231074
 45                        R2368              Final                                   0.231074
 46                        R2414              Final                                   0.231074
 47                        R2475              Final                                   0.231074
 49                        R2554              Final                                   0.231074
 51                        R2661              Final                                   0.231074
 52                        R2739              Final                                   0.231074
 53                        R2809              Final                                   0.231074
 55                        R3037              Final                                   0.231074
 56                        R3115              Final                                   0.231074
 57                        R3183              Provisional                             0.184859
 58                        R3291              Provisional                             0.184859
 59                        R3339              Provisional                             0.184859

                                               Exhibit 4-A
                                                 0254
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                                       Contract Costs
                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                CRP# 110926, 101445 & 238
       COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

TECHNICAL ENFORCEMENT SUPPORT (TES)
Contractor Name:           SCIENCE APPLICATION INTERNATIONAL CORP.
EPA Contract Number:       68-W9-0008
Project Officer(s):        JUDITH WALKER
Dates of Service:          From: 09/11/1990    To: 12/15/1993
Summary of Service:        RESPONSIBLE PARTY & TITLE SEARCHES/LITIGATION SUPPORT
Total Costs:                      $73,664.06

                                                                                      Annual
Voucher Number            Schedule Number      Rate Type                         Allocation Rate
60                        R3443                Provisional                           0.184859
69                        R4058                Provisional                           0.184859
70                        R4158                Provisional                           0.184859
71                        R4250                Provisional                           0.184859
72                        R4303                Provisional                           0.184859
74                        R4386                Provisional                           0.184859
75                        R4439                Provisional                           0.184859
83                        R5749                Provisional                           0.184859




                                                Exhibit 4-A
                                                  0255
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                       Financial Cost Summary for the Contract Lab Program
                              MCCOLL, FULLERTON, CA SITE ID = 09 04
                               CRP# 110926, 101445 & 238
      COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

CONTRACT LAB PROGRAM (CLP) COSTS




            Total Routine Analytical Services (RAS) Costs                       $96,186.68




            Total Special Analytical Services (SAS) Costs                       $14,942.07

                            Total Financial Cost Summary                       $111,128.75




                                                    Exhibit 4-A
                                                      0256
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                        Financial Cost Summary for the Contract Lab Program
                               MCCOLL, FULLERTON, CA SITE ID = 09 04
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      COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

CONTRACT LAB PROGRAM (CLP) COSTS

Routine Analytical Services (RAS)

Total Costs:     $96,186.68


Voucher              Voucher        Voucher       Treasury Schedule                   Site       SMO
Number                 Date         Amount      Number    and Date                  Amount      Amount
Case Number:

EPA Contract Number: 68-02-4291, RUDD GROUP INC
33               07/12/1990       52,149.75 LJ366                     07/19/1990   19,573.03      3,072.97
34               08/09/1990       41,203.48 LK370                     08/14/1990   14,463.13      2,270.71
35               09/11/1990       45,033.19 LL374                     09/13/1990   16,242.98      2,550.15
36               10/08/1990       42,370.66 LA301                     10/11/1990   16,232.65      3,100.44

                                       Totals for 68-02-4291:                      $66,511.79   $10,994.27

                               Totals for Case Number             :                $66,511.79   $10,994.27

Case Number: 14386

EPA Contract Number: 68-W8-0074, SILVER VALLEY (SILVER)
362              07/31/1990       3,401.70 R9195        09/06/1990                   3,401.70      534.07
363              07/31/1990         739.50 R9195        09/06/1990                     739.50      116.10

                                      Totals for 68-W8-0074:                       $4,141.20      $650.17

                               Totals for Case Number 14386:                       $4,141.20      $650.17

Case Number: 15127

EPA Contract Number: 68-D9-0079, ASSOCIATED LABORATORIES, INC.
128738           03/20/1991       1,991.55 09351     04/23/1991                      1,991.55      380.39

                                       Totals for 68-D9-0079:                      $1,991.55      $380.39

                               Totals for Case Number 15127:                       $1,991.55      $380.39

Case Number: 15799

EPA Contract Number: 68-D9-0085, COLUMBIA ANALYTICAL SERVICES, INC.
19250            04/30/1991       1,237.46 09385      06/11/1991                     1,237.46      236.35



                                                    Exhibit 4-A
                                                      0257
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                        Financial Cost Summary for the Contract Lab Program
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      COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

CONTRACT LAB PROGRAM (CLP) COSTS

Routine Analytical Services (RAS)

Total Costs:     $96,186.68


Voucher              Voucher        Voucher       Treasury Schedule             Site       SMO
Number                 Date         Amount      Number    and Date            Amount      Amount
Case Number: 15799

EPA Contract Number: 68-D9-0085, COLUMBIA ANALYTICAL SERVICES, INC.
21049            06/28/1991        548.96 09430       08/14/1991                548.96       104.85

                                      Totals for 68-D9-0085:                  $1,786.42     $341.20

                               Totals for Case Number 15799:                  $1,786.42     $341.20

Case Number: 16299

EPA Contract Number: 68-D9-0079, ASSOCIATED LABORATORIES, INC.
134731           08/30/1991       1,759.50 R2004     10/02/1991                1,759.50      520.81

                                      Totals for 68-D9-0079:                  $1,759.50     $520.81

                               Totals for Case Number 16299:                  $1,759.50     $520.81

Case Number: 17520

EPA Contract Number: 68-D9-0080, WEYERHAEUSER ANALYT. & TESTING SERVICES
92RDS1-93        01/28/1992       1,744.20 R2324    03/04/1992     1,744.20                  516.28

                                      Totals for 68-D9-0080:                  $1,744.20     $516.28

                               Totals for Case Number 17520:                  $1,744.20     $516.28

Case Number: 18516

EPA Contract Number: 68-D0-0147, CHESTER LABNET
H92-08.7         12/02/1992       1,099.36 R3244                 01/06/1993    1,099.36      353.99

                                      Totals for 68-D0-0147:                  $1,099.36     $353.99

                               Totals for Case Number 18516:                  $1,099.36     $353.99



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                                                     0258
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CONTRACT LAB PROGRAM (CLP) COSTS

Routine Analytical Services (RAS)

Total Costs:     $96,186.68


Voucher              Voucher          Voucher       Treasury Schedule         Site         SMO
Number                 Date           Amount      Number    and Date        Amount        Amount
Case Number: 23421

EPA Contract Number: 68-D4-0018, CKY INCORP. ANALYTICAL SERVICES
237427-IN        10/05/1995       2,338.35 R6297       02/07/1996            2,338.35       1,057.20

                                         Totals for 68-D4-0018:             $2,338.35      $1,057.20

                                Totals for Case Number 23421:               $2,338.35      $1,057.20


        Totals for Routine Analytical Services:                            $81,372.37    $14,814.31




                                                      Exhibit 4-A
                                                        0259
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                        Financial Cost Summary for the Contract Lab Program
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      COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

CONTRACT LAB PROGRAM (CLP) COSTS

Special Analytical Services (SAS)

Total Costs:     $14,942.07


Voucher              Voucher         Voucher      Treasury Schedule                  Site       SMO
Number                 Date          Amount     Number    and Date                 Amount      Amount
Case Number:

EPA Contract Number: 68-D9-0135, VIAR & COMPANY, INC.
26               07/15/1991      766,665.74 RA232                     08/16/1991     882.00      168.46

                                       Totals for 68-D9-0135:                       $882.00     $168.46

                               Totals for Case Number             :                 $882.00     $168.46

Case Number: 5499-Y

EPA Contract Number: 68-D9-0135, VIAR & COMPANY, INC.
13               08/31/1990    1,420,139.13 09220                     10/12/1990    4,823.70     921.33

                                       Totals for 68-D9-0135:                      $4,823.70    $921.33

                               Totals for Case Number 5499-Y:                      $4,823.70    $921.33

Case Number: 5699-Y

EPA Contract Number: 68-D9-0135, VIAR & COMPANY, INC.
19               01/31/1991    1,870,352.52 0A124                     03/15/1991    1,224.30     233.84

                                       Totals for 68-D9-0135:                      $1,224.30    $233.84

                               Totals for Case Number 5699-Y:                      $1,224.30    $233.84

Case Number: 6017-Y

EPA Contract Number: 68-D9-0135, VIAR & COMPANY, INC.
22               04/30/1991    1,720,503.52 0A183                     06/07/1991    1,631.70     311.65

                                       Totals for 68-D9-0135:                      $1,631.70    $311.65

                               Totals for Case Number 6017-Y:                      $1,631.70    $311.65



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                                                      0260
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                        Financial Cost Summary for the Contract Lab Program
                               MCCOLL, FULLERTON, CA SITE ID = 09 04
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      COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

CONTRACT LAB PROGRAM (CLP) COSTS

Special Analytical Services (SAS)

Total Costs:     $14,942.07


Voucher              Voucher         Voucher      Treasury Schedule              Site       SMO
Number                 Date          Amount     Number    and Date             Amount      Amount
Case Number: 6618-Y

EPA Contract Number: 68-D9-0135, VIAR & COMPANY, INC.
40               01/15/1992    1,508,919.78 R2283                 02/14/1992    1,755.60     519.66

                                       Totals for 68-D9-0135:                  $1,755.60    $519.66

                               Totals for Case Number 6618-Y:                  $1,755.60    $519.66

Case Number: 6929-Y

EPA Contract Number: 68-D9-0135, VIAR & COMPANY, INC.
42               02/20/1992      990,020.07 R2362                 03/20/1992     680.40      201.40

                                       Totals for 68-D9-0135:                   $680.40     $201.40

                               Totals for Case Number 6929-Y:                   $680.40     $201.40

Case Number: 7133-Y

EPA Contract Number: 68-D9-0135, VIAR & COMPANY, INC.
1-52             07/17/1992      246,265.67 R2721                 08/13/1992     532.35      157.58

                                       Totals for 68-D9-0135:                   $532.35     $157.58

                               Totals for Case Number 7133-Y:                   $532.35     $157.58

Case Number: 7341-Y

EPA Contract Number: 68-D9-0135, VIAR & COMPANY, INC.
1-12             11/09/1992      961,400.64 R3166                 12/07/1992     286.65        92.30

                                       Totals for 68-D9-0135:                   $286.65      $92.30

                               Totals for Case Number 7341-Y:                   $286.65      $92.30



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                        Financial Cost Summary for the Contract Lab Program
                                MCCOLL, FULLERTON, CA SITE ID = 09 04
                               CRP# 110926, 101445 & 238
      COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

CONTRACT LAB PROGRAM (CLP) COSTS

Special Analytical Services (SAS)

Total Costs:     $14,942.07


Voucher              Voucher          Voucher       Treasury Schedule               Site       SMO
Number                 Date           Amount      Number    and Date              Amount      Amount
Case Number: 7669-Y

EPA Contract Number: 68-D9-0135, VIAR & COMPANY, INC.
1-23             04/08/1993      878,725.45 R3547                   05/05/1993      392.70      126.45

                                         Totals for 68-D9-0135:                    $392.70     $126.45

                               Totals for Case Number 7669-Y:                      $392.70     $126.45


        Totals for Special Analytical Services:                                  $12,209.40   $2,732.67




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                       Financial Cost Summary for the Contract Lab Program
                            MCCOLL, FULLERTON, CA SITE ID = 09 04
                               CRP# 110926, 101445 & 238
      COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

CONTRACT LAB PROGRAM (CLP) COSTS

          Fiscal                                                                         SMO
          Year                           Rate Type                                        Rate
          1990                           Final                                         0.157000
          1991                           Final                                         0.191000
          1992                           Final                                         0.296000
          1993                           Final                                         0.322000
          1996                           Final                                         0.452115




                                                 Exhibit 4-A
                                                   0263
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                                      EPA Indirect Costs
                           MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


          Fiscal Year            Direct Costs             Indirect Rate( %)   Indirect Costs
              1990               2,405,124.14                     36.29%         872,819.56
              1991               2,703,567.36                     35.37%         956,251.76
              1992               2,409,250.10                     34.10%         821,554.23
              1993               1,318,703.60                     43.01%         567,174.38
              1994               1,504,582.93                     35.35%         531,870.11
              1995               1,456,289.68                     27.46%         399,897.15
              1996                 683,150.84                     30.78%         210,273.85
              1997                 717,985.44                     36.64%         263,069.78
              1998                 408,357.99                     40.85%         166,814.31
              1999                 235,870.95                     35.23%          83,097.40
              2000                 180,880.80                     44.34%          80,202.60
              2001                 211,269.29                     38.03%          80,345.72
              2002               1,218,738.00                     36.14%         440,451.89
              2003                 140,265.26                     40.84%          57,284.35
              2004                  92,026.90                     36.58%          33,663.42
                                15,686,063.28

Total EPA Indirect Costs                                                      $5,564,770.51




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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)


                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
BLEVINS, JOHN                        1990       21                   681.74   36.29%      247.40
                                                22                   524.39   36.29%      190.30
                                                23                   524.42   36.29%      190.31
                                                24                   288.44   36.29%      104.67
                                                25                 1,337.25   36.29%      485.29
                                                26                   707.96   36.29%      256.92
                                                27                   262.08   36.29%       95.11
                                                                   4,326.28             $1,570.00


BOYD, HELENA M.                      1990       22                   143.33   36.29%       52.01
                                                25                   509.10   36.29%      184.75
                                                26                   199.21   36.29%       72.29
                                                27                   420.51   36.29%      152.60
                                                                   1,272.15              $461.65


CAMPAGNA, PHILIP                     1990       24                   335.81   36.29%      121.87
                                                25                 2,308.73   36.29%      837.84
                                                                   2,644.54              $959.71


COMMISSO, ANGELA                     1990       27                    25.64   36.29%           9.30
                                                                      25.64                   $9.30


COOPER, DAVID                        1990       24                   122.43   36.29%          44.43
                                                                     122.43               $44.43


CORCORAN, JON A.                     1990       25                   753.59   36.29%      273.48
                                                                     753.59              $273.48




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                                                0265
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
ERICKSON, KENNETH J.                 1990       27                   105.05   36.29%          38.12
                                                                     105.05               $38.12


FELTER, FRASER                       1990       21                    17.34   36.29%        6.29
                                                23                   311.66   36.29%      113.10
                                                24                    17.32   36.29%        6.29
                                                25                   883.02   36.29%      320.45
                                                26                   277.03   36.29%      100.53
                                                                   1,506.37              $546.66


FREITAS, RICHARD                     1990       22                    42.79   36.29%          15.53
                                                23                   171.16   36.29%          62.11
                                                24                   171.16   36.29%          62.11
                                                                     385.11              $139.75


GREEN, LOIS                          1990       23                   177.25   36.29%       64.32
                                                24                   707.97   36.29%      256.92
                                                25                    16.22   36.29%        5.89
                                                26                   393.41   36.29%      142.77
                                                27                   345.87   36.29%      125.52
                                                                   1,640.72              $595.42


HAAGE, LISA                          1990       23                    63.70   36.29%          23.12
                                                                      63.70               $23.12


HADLOCK, HOLLY                       1990       21                   311.06   36.29%      112.88
                                                22                   155.52   36.29%       56.44
                                                                     466.58              $169.32



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                                      EPA Indirect Costs
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
HEDEEN, ROBERTA                      1990       26                    15.54   36.29%           5.64
                                                                      15.54                   $5.64


HUETTEMAN, THOMAS                    1990       21                    44.16   36.29%       16.03
                                                22                   706.58   36.29%      256.42
                                                23                    44.16   36.29%       16.03
                                                24                   110.40   36.29%       40.06
                                                27                   220.82   36.29%       80.14
                                                                   1,126.12              $408.68


JOHNSON, SHARON                      1990       26                    24.48   36.29%           8.88
                                                                      24.48                   $8.88


JONES, DAVID                         1990       22                    72.09   36.29%          26.16
                                                26                   107.89   36.29%          39.15
                                                                     179.98               $65.31


LEWIS, WILLIAM                       1990       22                   229.18   36.29%       83.17
                                                23                   286.48   36.29%      103.96
                                                24                   171.89   36.29%       62.38
                                                25                   701.98   36.29%      254.75
                                                26                   207.98   36.29%       75.48
                                                27                    51.89   36.29%       18.83
                                                                   1,649.40              $598.57


LINDER, STEVEN                       1990       21                 1,377.07   36.29%      499.74
                                                22                 1,551.62   36.29%      563.08
                                                23                 1,677.96   36.29%      608.93
                                                24                 1,379.82   36.29%      500.74
                                                25                   523.66   36.29%      190.04
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
LINDER, STEVEN                       1990       26                 1,415.86   36.29%      513.82
                                                27                   698.23   36.29%      253.39
                                                                      58.18   36.29%       21.11
                                                                   8,682.40             $3,150.85


MACK, PATRICIA A.                    1990       21                    70.91   36.29%          25.73
                                                23                   141.81   36.29%          51.46
                                                                     212.72               $77.19


MARVEL, NANCY                        1990       23                    20.88   36.29%           7.58
                                                                      20.88                   $7.58


MCCARTY, KELLY S.                    1990       25                   459.81   36.29%      166.87
                                                                     459.81              $166.87


NELSON, DENISE                       1990       23                    43.45   36.29%          15.77
                                                                      43.45               $15.77


OPALSKI, PAMELA L.                   1990       21                    26.90   36.29%        9.76
                                                                     847.43   36.29%      307.53
                                                22                   161.43   36.29%       58.58
                                                                      80.71   36.29%       29.29
                                                23                   605.29   36.29%      219.66
                                                24                   887.79   36.29%      322.18
                                                25                   699.47   36.29%      253.84
                                                26                   847.43   36.29%      307.53
                                                                      26.90   36.29%        9.76




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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
OPALSKI, PAMELA L.                   1990       27                   403.51   36.29%      146.43
                                                                   4,586.86             $1,664.56


PANE, VICKIE L.                      1990       26                   437.01   36.29%      158.59
                                                                     437.01              $158.59


POPINO, RICHARD                      1990       24                   218.16   36.29%          79.17
                                                                     218.16               $79.17


SCHULZ, MICHAEL                      1990       27                    15.69   36.29%           5.69
                                                                      15.69                   $5.69


SHEN, CATHERINE                      1990       25                    13.16   36.29%           4.78
                                                                      13.16                   $4.78


SMIECINSKI, RALPH F.                 1990      AG                    276.43   36.29%      100.32
                                               JU                    724.25   36.29%      262.83
                                               SP                    440.80   36.29%      159.97
                                                                   1,441.48              $523.12


TAPLIN, MELINDA                      1990       21                   192.93   36.29%          70.01
                                                22                    25.66   36.29%           9.31
                                                27                   102.89   36.29%          37.34
                                                                     321.48              $116.66




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                                                0269
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
VEGA, MARTHA                         1990       21                   210.53   36.29%          76.40
                                                                     210.53               $76.40


WILSON, DOROTHY                      1990       21                   234.59   36.29%          85.13
                                                                     234.59               $85.13


WILSON, TERRY                        1990       21                   159.80   36.29%          57.99
                                                22                    17.75   36.29%           6.44
                                                23                    71.02   36.29%          25.77
                                                26                    53.27   36.29%          19.33
                                                                     301.84              $109.53


WOOD, DAVID                          1990       26                    51.09   36.29%          18.54
                                                27                    25.54   36.29%           9.27
                                                                      76.63               $27.81


ZABEL, ALLAN                         1990       21                   920.34   36.29%      333.99
                                                22                 1,380.52   36.29%      500.99
                                                23                   805.30   36.29%      292.24
                                                24                   575.22   36.29%      208.75
                                                25                   661.50   36.29%      240.06
                                                26                   546.45   36.29%      198.31
                                                27                   570.84   36.29%      207.16
                                                                   5,460.17             $1,981.50


ZOWNIR, ANDRE                        1990       21                 1,003.64   36.29%      364.22
                                                23                   378.07   36.29%      137.20
                                                26                   252.05   36.29%       91.47



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                                                0270
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                                         PAYROLL DIRECT COSTS
                                                                                      Ind.
                                           Fiscal      Pay                Payroll     Rate     Indirect
Employee Name                              Year       Period              Costs       (%)       Costs
ZOWNIR, ANDRE                              1990         27                   126.03   36.29%       45.74
                                                                           1,759.79              $638.63


ZUROSKI, DONN                              1990         25                   560.50   36.29%      203.41
                                                                             560.50              $203.41



      Total Fiscal Year 1990 Payroll Direct Costs:                        41,364.83            $15,011.28

                                          TRAVEL DIRECT COSTS

                                                              Treasury                Ind.
                                           Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date      Costs       (%)       Costs
BLEVINS, JOHN                              T757043           07/20/1990    1,461.48   36.29%      530.37
                                           T770526           08/07/1990      319.60   36.29%      115.98
                                           T770502           08/15/1990      481.00   36.29%      174.56
                                           T770539           09/26/1990      891.70   36.29%      323.60
                                                                           3,153.78            $1,144.51


CAMPAGNA, PHILIP                           T2642828          09/18/1990    1,476.27   36.29%      535.74
                                                                           1,476.27              $535.74


COOPER, DAVID                              T410247           07/30/1990       79.54   36.29%       28.87
                                           T724831           09/28/1990      120.87   36.29%       43.86
                                                                             200.41               $72.73


CORCORAN, JON A.                           T2642830          09/18/1990      549.55   36.29%      199.43
                                                                             549.55              $199.43


FELTER, FRASER                             T757280           07/13/1990      160.98   36.29%       58.42
                                                      Exhibit 4-A
                                                        0271
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                                    TRAVEL DIRECT COSTS

                                                       Treasury                Ind.
                                     Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number              Date      Costs       (%)       Costs
FELTER, FRASER                       T762047          09/26/1990    1,080.61   36.29%      392.15
                                     T757275          09/28/1990      445.40   36.29%      161.63
                                                                    1,686.99              $612.20


HUETTEMAN, THOMAS                    T758837          07/17/1990     188.66    36.29%         68.47
                                                                     188.66                $68.47


LEWIS, WILLIAM                       T753762          09/26/1990     801.77    36.29%      290.97
                                                                     801.77               $290.97


LINDER, STEVEN                       T758973          07/20/1990     239.75    36.29%       87.01
                                                      08/20/1990     198.00    36.29%       71.85
                                     T770505          09/13/1990     311.00    36.29%      112.87
                                                                     748.75               $271.73


MCCARTY, KELLY S.                    T753761          09/19/1990     617.22    36.29%      223.99
                                                                     617.22               $223.99


NATOLI, ROSARIO L.                   T620792          08/07/1990     106.69    36.29%         38.72
                                                                     106.69                $38.72


OPALSKI, PAMELA L.                   T757624          07/13/1990      306.40   36.29%      111.19
                                     T757636          07/18/1990      611.00   36.29%      221.74
                                     T758964          07/30/1990      346.04   36.29%      125.58
                                     T770586          09/26/1990    1,043.52   36.29%      378.69
                                                                    2,306.96              $837.20




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                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
POPINO, RICHARD                            T620729           09/20/1990            330.70   36.29%      120.01
                                                                                   330.70              $120.01


ZABEL, ALLAN                               T787332           07/06/1990            236.18   36.29%        85.71
                                           T637552           07/06/1990            316.70   36.29%       114.93
                                                                                   552.88              $200.64


ZOWNIR, ANDRE                              T642708           07/24/1990            669.75   36.29%      243.06
                                                             08/07/1990             18.00   36.29%        6.53
                                                                                   687.75              $249.59


ZUROSKI, DONN                              T753766           09/19/1990            481.83   36.29%      174.85
                                                                                   481.83              $174.85



       Total Fiscal Year 1990 Travel Direct Costs:                              13,890.21             $5,040.78

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-01-7251       70                      07/13/1990                 9,739.14     2,367.70   36.29%     4,393.57
                 71                      07/13/1990                 1,589.00       386.30   36.29%       716.84
                 72                      08/10/1990                 5,662.32     1,376.58   36.29%     2,554.42
                 73                      09/20/1990                 6,630.28     1,611.90   36.29%     2,991.09
                                                                23,620.74        5,742.48            $10,655.92


68-01-7368       106                     08/08/1990                 2,312.80     2,504.99   36.29%     1,748.38




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                                                        0273
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                                       OTHER DIRECT COSTS
Contract,                              Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher               Schedule            Site              Allocation Rate       Indirect
Misc.NO          Number                  Date             Amount               Costs    (%)         Costs
68-01-7368       107                  09/24/1990                 5,063.60     5,484.38   36.29%      3,827.86
                                                                 7,376.40     7,989.37              $5,576.24


68-01-7456       67                   09/04/1990              7,251.34       10,490.15   36.29%      6,438.39
                 69                   09/28/1990             10,277.24       14,867.57   36.29%      9,125.05
                                                             17,528.58       25,357.72             $15,563.44


68-02-4284       3758-21              07/18/1990           138,676.75             0.00   36.29%     50,325.79
                 3758-22              08/16/1990           157,904.98             0.00   36.29%     57,303.72
                 3758-23              09/13/1990           252,323.19             0.00   36.29%     91,568.09
                                                           548,904.92             0.00            $199,197.60


68-02-4291       33                   07/19/1990             19,573.03        3,072.97   36.29%      8,218.23
                 34                   08/14/1990             14,463.13        2,270.71   36.29%      6,072.71
                 35                   09/13/1990             16,242.98        2,550.15   36.29%      6,820.03
                                                             50,279.14        7,893.83             $21,110.97


68-W8-0074       363                  09/06/1990                   739.50       116.10   36.29%        310.50
                 362                  09/06/1990                 3,401.70       534.07   36.29%      1,428.29
                                                                 4,141.20       650.17              $1,738.79


68-W9-0031       15                   07/19/1990                 9,240.84     1,192.05   36.29%      3,786.10
                 16                   08/09/1990                 4,293.72       553.88   36.29%      1,759.19
                 17                   09/12/1990                 4,419.34       570.09   36.29%      1,810.66
                                                             17,953.90        2,316.02              $7,355.95


68-W9-0060       20376-11             07/05/1990             27,443.91       10,697.77   36.29%     13,841.62
                 20376-12             07/20/1990             10,026.89        3,908.53   36.29%      5,057.16
                 20376-13 R           08/30/1990              1,375.00          535.98   36.29%        693.49
                                                   Exhibit 4-A
                                                     0274
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                                             EPA Indirect Costs
                              MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                           OTHER DIRECT COSTS
Contract,                                 Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule             Site           Allocation Rate          Indirect
Misc.NO          Number                     Date              Amount            Costs    (%)            Costs
68-W9-0060       20376-12 R               08/30/1990              4,122.48      1,606.96     36.29%      2,079.21
                 20376-14                 08/31/1990             18,337.57      7,148.08     36.29%      9,248.74
                 20376-15                 09/21/1990             29,600.56     11,538.45     36.29%     14,929.35
                                                                 90,906.41     35,435.77               $45,849.57


937801           172                      07/10/1990              4,693.07            0.00   36.29%      1,703.12
                 174                      07/12/1990             29,681.37            0.00   36.29%     10,771.37
                 177                      07/23/1990          1,403,174.00            0.00   36.29%    509,211.84
                 181                      08/28/1990              9,012.82            0.00   36.29%      3,270.75
                 182                      08/28/1990              6,157.32            0.00   36.29%      2,234.49
                 183                      09/04/1990             35,199.37            0.00   36.29%     12,773.85
                 184                      09/17/1990              9,012.82            0.00   36.29%      3,270.75
                 186                      09/28/1990              6,841.68            0.00   36.29%      2,482.85
                                                              1,503,772.45            0.00            $545,719.02



       Total Fiscal Year 1990 Other Direct Costs:             2,264,483.74     85,385.36              $852,767.50

                       Total Fiscal Year 1990:                       2,405,124.14                     $872,819.56


                                          PAYROLL DIRECT COSTS
                                                                                             Ind.
                                           Fiscal       Pay                   Payroll        Rate      Indirect
Employee Name                              Year        Period                 Costs          (%)        Costs
ANDERSON, STEVEN W.                        1991          21                         171.22   35.37%         60.56
                                                         22                          28.54   35.37%         10.09
                                                                                    199.76                $70.65


ASAMI, JO                                  1991          04                          67.95   35.37%         24.03
                                                         05                         165.76   35.37%         58.63
                                                         06                          31.96   35.37%         11.30
                                                         09                         114.63   35.37%         40.54
                                                       Exhibit 4-A
                                                         0275
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
ASAMI, JO                            1991       16                    19.12   35.37%        6.76
                                                18                   210.17   35.37%       74.34
                                                24                    19.12   35.37%        6.76
                                                                     628.71              $222.36


BAYLOR, KATHERINE                    1991       24                   919.86   35.37%      325.35
                                                                     919.86              $325.35


BLEVINS, JOHN                        1991       01                   445.68   35.37%      157.64
                                                02                    52.44   35.37%       18.55
                                                                     550.63   35.37%      194.76
                                                03                   288.44   35.37%      102.02
                                                04                 1,056.00   35.37%      373.51
                                                05                   839.39   35.37%      296.89
                                                06                   487.39   35.37%      172.39
                                                07                   433.23   35.37%      153.23
                                                08                   135.36   35.37%       47.88
                                                09                   457.04   35.37%      161.66
                                                10                 1,188.28   35.37%      420.29
                                                                      30.45   35.37%       10.77
                                                11                   670.32   35.37%      237.09
                                                12                   426.57   35.37%      150.88
                                                13                   625.73   35.37%      221.32
                                                14                   973.35   35.37%      344.27
                                                15                   834.30   35.37%      295.09
                                                16                   451.91   35.37%      159.84
                                                17                   139.04   35.37%       49.18
                                                                   1,355.73   35.37%      479.52
                                                18                   556.20   35.37%      196.73
                                                19                 1,390.50   35.37%      491.82
                                                21                   869.04   35.37%      307.38
                                                22                 1,877.17   35.37%      663.96
                                                23                 2,224.77   35.37%      786.90
                                              Exhibit 4-A
                                                0276
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
BLEVINS, JOHN                        1991       24                 1,633.81   35.37%      577.88
                                                25                 1,077.64   35.37%      381.16
                                                26                 2,363.84   35.37%      836.09
                                                27                 1,425.25   35.37%      504.11
                                                                  24,859.50             $8,792.81


BOYD, HELENA M.                      1991       01                   199.21   35.37%       70.46
                                                02                   332.02   35.37%      117.44
                                                                     531.23              $187.90


CHAN, ELAINE                         1991       09                   123.69   35.37%       43.75
                                                12                    41.23   35.37%       14.58
                                                18                    54.96   35.37%       19.44
                                                22                   219.89   35.37%       77.78
                                                23                    20.62   35.37%        7.29
                                                                     460.39              $162.84


CLIFFORD, GERALD                     1991       02                    33.81   35.37%       11.96
                                                09                    79.14   35.37%       27.99
                                                10                    39.59   35.37%       14.00
                                                11                    39.58   35.37%       14.00
                                                12                    39.55   35.37%       13.99
                                                13                    79.14   35.37%       27.99
                                                14                    39.59   35.37%       14.00
                                                16                    39.59   35.37%       14.00
                                                18                   158.33   35.37%       56.00
                                                19                   554.12   35.37%      195.99
                                                20                    39.55   35.37%       13.99
                                                23                    79.17   35.37%       28.00




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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
CLIFFORD, GERALD                     1991       24                    39.59   35.37%       14.00
                                                                   1,260.75              $445.91


COAKLEY, WILLIAM                     1991       26                    44.60   35.37%       15.78
                                                                      44.60               $15.78


COOPER, DAVID                        1991       07                   183.65   35.37%       64.96
                                                11                    95.50   35.37%       33.78
                                                14                   127.30   35.37%       45.03
                                                                     406.45              $143.77


CURNOW, BETSY                        1991       04                    56.61   35.37%       20.02
                                                05                    84.93   35.37%       30.04
                                                07                    56.62   35.37%       20.03
                                                08                    84.93   35.37%       30.04
                                                09                   127.85   35.37%       45.22
                                                12                    31.96   35.37%       11.30
                                                                     442.90              $156.65


DIEBOLD, TINA C.                     1991       23                    84.34   35.37%       29.83
                                                24                   809.68   35.37%      286.38
                                                25                    50.60   35.37%       17.90
                                                                     944.62              $334.11


FELTER, FRASER                       1991       01                   138.50   35.37%       48.99
                                                02                   277.03   35.37%       97.99
                                                03                   952.28   35.37%      336.82
                                                04                   605.98   35.37%      214.34
                                                05                    34.62   35.37%       12.25
                                                06                    17.32   35.37%        6.13
                                              Exhibit 4-A
                                                0278
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
FELTER, FRASER                       1991       07                    51.94   35.37%       18.37
                                                08                    34.62   35.37%       12.25
                                                10                   141.17   35.37%       49.93
                                                11                   164.70   35.37%       58.25
                                                12                   188.22   35.37%       66.57
                                                13                    94.12   35.37%       33.29
                                                14                   447.04   35.37%      158.12
                                                15                   282.35   35.37%       99.87
                                                16                   258.79   35.37%       91.53
                                                17                    47.06   35.37%       16.65
                                                19                    47.06   35.37%       16.65
                                                20                    47.06   35.37%       16.65
                                                21                   188.22   35.37%       66.57
                                                22                   164.71   35.37%       58.26
                                                23                   352.98   35.37%      124.85
                                                24                   188.22   35.37%       66.57
                                                25                   188.22   35.37%       66.57
                                                26                   799.96   35.37%      282.95
                                                27                    94.12   35.37%       33.29
                                                                   5,806.29             $2,053.71


FONG, VANCE                          1991       17                    80.85   35.37%       28.60
                                                18                   242.56   35.37%       85.79
                                                                     323.41              $114.39


FREITAS, RICHARD                     1991       04                   170.78   35.37%       60.40
                                                05                   277.56   35.37%       98.17
                                                06                   491.05   35.37%      173.68
                                                07                    85.40   35.37%       30.21
                                                09                   522.59   35.37%      184.84
                                                                   1,547.38              $547.30


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                                                0279
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
GENTILE, LAURA                       1991       16                   753.07    35.37%      266.36
                                                                     753.07               $266.36


GREEN, LOIS                          1991       01                   335.06    35.37%      118.51
                                                02                   480.98    35.37%      170.12
                                                03                   302.64    35.37%      107.04
                                                04                   756.58    35.37%      267.60
                                                05                   789.01    35.37%      279.07
                                                06                 1,106.75    35.37%      391.46
                                                07                   504.86    35.37%      178.57
                                                08                 1,167.91    35.37%      413.09
                                                09                 1,558.79    35.37%      551.34
                                                10                 1,020.42    35.37%      360.92
                                                11                   638.54    35.37%      225.85
                                                12                 1,007.89    35.37%      356.49
                                                13                   438.21    35.37%      154.99
                                                14                   225.37    35.37%       79.71
                                                15                   231.63    35.37%       81.93
                                                16                   156.51    35.37%       55.36
                                                17                   181.56    35.37%       64.22
                                                18                    25.31    35.37%        8.95
                                                19                   237.74    35.37%       84.09
                                                20                   143.99    35.37%       50.93
                                                21                    12.52    35.37%        4.43
                                                22                   131.47    35.37%       46.50
                                                23                   100.17    35.37%       35.43
                                                24                    75.12    35.37%       26.57
                                                26                   100.17    35.37%       35.43
                                                27                    12.52    35.37%        4.43
                                                                   11,741.72            $4,153.03




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                                                0280
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
HANLON, EDWARD                       1991       08                   188.45    35.37%       66.65
                                                                     188.45                $66.65


HEDEEN, ROBERTA                      1991       10                   608.17    35.37%      215.11
                                                14                    62.67    35.37%       22.17
                                                15                    83.56    35.37%       29.56
                                                16                 1,211.56    35.37%      428.53
                                                17                    62.67    35.37%       22.17
                                                20                    62.67    35.37%       22.17
                                                22                    83.56    35.37%       29.56
                                                23                   188.01    35.37%       66.50
                                                24                 1,357.80    35.37%      480.25
                                                25                   292.44    35.37%      103.44
                                                26                   104.46    35.37%       36.95
                                                                    4,117.57            $1,456.41


HIATT, GERALD                        1991       16                    71.26    35.37%       25.20
                                                                      71.26                $25.20


HILL, TERESA L.                      1991       16                   853.49    35.37%      301.88
                                                                     853.49               $301.88


HUETTEMAN, THOMAS                    1991       02                    44.16    35.37%       15.62
                                                09                   197.48    35.37%       69.85
                                                10                   789.92    35.37%      279.39
                                                11                   127.41    35.37%       45.06
                                                16                   407.74    35.37%      144.22
                                                                   1,566.71               $554.14


HUSBY, PETER                         1991       09                    51.36    35.37%       18.17
                                              Exhibit 4-A
                                                0281
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
HUSBY, PETER                         1991       10                   154.08   35.37%       54.50
                                                24                   979.70   35.37%      346.52
                                                25                    52.96   35.37%       18.73
                                                                   1,238.10              $437.92


JOHANSEN, JUDY                       1991       17                   435.26   35.37%      153.95
                                                                     435.26              $153.95


JOHNSON, SHARON                      1991       05                    24.48   35.37%        8.66
                                                08                   146.83   35.37%       51.93
                                                09                    63.82   35.37%       22.57
                                                13                    27.22   35.37%        9.63
                                                16                    18.80   35.37%        6.65
                                                19                    18.76   35.37%        6.64
                                                21                    18.76   35.37%        6.64
                                                22                    37.56   35.37%       13.28
                                                23                   112.74   35.37%       39.88
                                                24                   112.74   35.37%       39.88
                                                                     581.71              $205.76


JONES, DAVID                         1991       01                   142.26   35.37%       50.32
                                                04                   144.27   35.37%       51.03
                                                05                    72.13   35.37%       25.51
                                                07                    73.10   35.37%       25.86
                                                08                   182.78   35.37%       64.65
                                                09                   205.50   35.37%       72.69
                                                11                   205.52   35.37%       72.69
                                                12                    82.19   35.37%       29.07
                                                15                   123.31   35.37%       43.61
                                                16                   123.29   35.37%       43.61
                                                17                   164.40   35.37%       58.15
                                                18                   452.12   35.37%      159.91
                                              Exhibit 4-A
                                                0282
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
JONES, DAVID                         1991       19                   616.54   35.37%      218.07
                                                20                    82.19   35.37%       29.07
                                                21                   123.31   35.37%       43.61
                                                22                   575.43   35.37%      203.53
                                                25                   369.91   35.37%      130.84
                                                26                   164.40   35.37%       58.15
                                                27                    41.10   35.37%       14.54
                                                                   3,943.75             $1,394.91


KEENER, WILLIAM                      1991       18                    70.96   35.37%       25.10
                                                                      70.96               $25.10


LANEWENNER, CAROLYN                  1991       06                    45.91   35.37%       16.24
                                                08                    45.87   35.37%       16.22
                                                17                    22.50   35.37%        7.96
                                                18                    45.00   35.37%       15.92
                                                19                    22.48   35.37%        7.95
                                                20                   112.51   35.37%       39.79
                                                21                    22.50   35.37%        7.96
                                                22                    22.50   35.37%        7.96
                                                23                    22.50   35.37%        7.96
                                                                     361.77              $127.96


LATTIMER, JOHN                       1991       22                   155.48   35.37%       54.99
                                                                     155.48               $54.99


LEE, BARBARA                         1991       04                    16.51   35.37%        5.84
                                                05                    16.52   35.37%        5.84
                                                06                    66.11   35.37%       23.38
                                                07                    41.33   35.37%       14.62
                                                08                    24.79   35.37%        8.77
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                                                0283
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
LEE, BARBARA                         1991       09                   547.38   35.37%      193.61
                                                11                    17.26   35.37%        6.10
                                                14                    20.35   35.37%        7.20
                                                                     750.25              $265.36


LEWIS, WILLIAM                       1991       02                   143.24   35.37%       50.66
                                                03                   143.24   35.37%       50.66
                                                04                   104.04   35.37%       36.80
                                                06                    58.16   35.37%       20.57
                                                07                    88.16   35.37%       31.18
                                                11                    90.12   35.37%       31.88
                                                                       8.25   35.37%        2.91
                                                12                    32.79   35.37%       11.60
                                                13                   163.95   35.37%       57.99
                                                14                    66.06   35.37%       23.37
                                                15                   132.12   35.37%       46.73
                                                16                   429.38   35.37%      151.87
                                                17                   594.53   35.37%      210.29
                                                18                    66.06   35.37%       23.37
                                                20                   264.24   35.37%       93.46
                                                21                   264.24   35.37%       93.46
                                                22                 1,255.13   35.37%      443.94
                                                23                    66.06   35.37%       23.37
                                                24                   132.12   35.37%       46.73
                                                26                   363.33   35.37%      128.51
                                                27                   296.55   35.37%      104.89
                                                                   4,761.77             $1,684.24


LINDER, STEVEN                       1991       01                   698.23   35.37%      246.96
                                                02                 1,280.08   35.37%      452.76
                                                03                 1,551.62   35.37%      548.81
                                                04                 1,338.25   35.37%      473.34
                                                05                   853.39   35.37%      301.84
                                              Exhibit 4-A
                                                0284
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
LINDER, STEVEN                       1991       06                   827.97   35.37%      292.85
                                                                      38.71   35.37%       13.69
                                                07                 1,183.11   35.37%      418.47
                                                08                 1,377.07   35.37%      487.07
                                                09                 1,445.91   35.37%      511.42
                                                10                   800.78   35.37%      283.24
                                                11                   200.21   35.37%       70.81
                                                12                 1,379.18   35.37%      487.82
                                                13                 1,579.36   35.37%      558.62
                                                14                   978.75   35.37%      346.18
                                                16                 1,735.10   35.37%      613.70
                                                17                 1,458.70   35.37%      515.94
                                                18                 1,042.28   35.37%      368.65
                                                19                 1,618.24   35.37%      572.37
                                                20                   820.49   35.37%      290.21
                                                21                   845.96   35.37%      299.22
                                                22                 1,933.63   35.37%      683.92
                                                23                 1,885.27   35.37%      666.82
                                                24                 1,933.63   35.37%      683.92
                                                25                 1,256.86   35.37%      444.55
                                                26                 1,740.27   35.37%      615.53
                                                27                 1,160.18   35.37%      410.36
                                                                  32,963.23            $11,659.07


MACK, PATRICIA A.                    1991       05                   141.81   35.37%       50.16
                                                12                    49.66   35.37%       17.56
                                                18                    84.99   35.37%       30.06
                                                19                    28.32   35.37%       10.02
                                                26                    70.83   35.37%       25.05
                                                27                    28.32   35.37%       10.02
                                                                     403.93              $142.87




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                                                0285
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
MARTYN, RICHARD                      1991       27                   288.14   35.37%      101.92
                                                                     288.14              $101.92


MARVEL, NANCY                        1991       08                    41.74   35.37%       14.76
                                                10                    25.49   35.37%        9.02
                                                                      67.23               $23.78


MORKOWSKI, MARGARET                  1991       06                    45.94   35.37%       16.25
                                                                      45.94               $16.25


NATOLI, ROSARIO L.                   1991       06                   196.28   35.37%       69.42
                                                                     196.28               $69.42


NELSON, DENISE                       1991       04                    21.72   35.37%        7.68
                                                12                    24.35   35.37%        8.61
                                                13                    73.05   35.37%       25.84
                                                14                   194.80   35.37%       68.90
                                                16                    24.35   35.37%        8.61
                                                21                    48.70   35.37%       17.23
                                                22                   170.47   35.37%       60.30
                                                23                   413.99   35.37%      146.43
                                                25                    73.05   35.37%       25.84
                                                                   1,044.48              $369.44


OPALSKI, DANIEL                      1991       02                   199.34   35.37%       70.51
                                                                     199.34               $70.51


OPALSKI, PAMELA L.                   1991       01                   309.30   35.37%      109.40
                                                02                   726.37   35.37%      256.92
                                              Exhibit 4-A
                                                0286
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
OPALSKI, PAMELA L.                   1991       03                   847.43   35.37%      299.74
                                                04                   793.60   35.37%      280.70
                                                05                   749.28   35.37%      265.02
                                                                      41.63   35.37%       14.72
                                                06                   807.33   35.37%      285.55
                                                                      64.59   35.37%       22.85
                                                07                    64.59   35.37%       22.85
                                                                     468.25   35.37%      165.62
                                                08                    32.29   35.37%       11.42
                                                                     678.15   35.37%      239.86
                                                09                    72.84   35.37%       25.76
                                                                     965.17   35.37%      341.38
                                                10                   819.48   35.37%      289.85
                                                                      36.42   35.37%       12.88
                                                11                   528.11   35.37%      186.79
                                                12                    18.21   35.37%        6.44
                                                                   1,201.90   35.37%      425.11
                                                13                 1,019.80   35.37%      360.70
                                                14                 1,074.43   35.37%      380.03
                                                                      18.21   35.37%        6.44
                                                15                 1,220.08   35.37%      431.54
                                                                      91.03   35.37%       32.20
                                                16                    36.42   35.37%       12.88
                                                                   1,238.33   35.37%      438.00
                                                17                 1,201.90   35.37%      425.11
                                                18                 1,183.70   35.37%      418.67
                                                19                 1,238.33   35.37%      438.00
                                                20                   965.17   35.37%      341.38
                                                21                   637.38   35.37%      225.44
                                                22                    36.42   35.37%       12.88
                                                                   1,311.16   35.37%      463.76
                                                23                 1,383.99   35.37%      489.52
                                                24                   127.47   35.37%       45.09
                                                25                 1,092.64   35.37%      386.47

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                                                0287
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
OPALSKI, PAMELA L.                   1991       26                 1,292.96   35.37%      457.32
                                                27                   600.96   35.37%      212.56
                                                                  24,995.32             $8,840.85


ORTESI, MARIE                        1991       06                    34.10   35.37%       12.06
                                                                      34.10               $12.06


RICE, JEAN                           1991       05                   683.54   35.37%      241.77
                                                06                   920.15   35.37%      325.46
                                                07                   683.54   35.37%      241.77
                                                08                   236.62   35.37%       83.69
                                                09                   510.20   35.37%      180.46
                                                10                   384.95   35.37%      136.16
                                                11                   183.31   35.37%       64.84
                                                12                 1,069.29   35.37%      378.21
                                                13                 1,130.36   35.37%      399.81
                                                14                   672.11   35.37%      237.73
                                                15                   427.72   35.37%      151.28
                                                16                    61.11   35.37%       21.61
                                                17                   274.95   35.37%       97.25
                                                                   7,237.85             $2,560.04


RITTER, GREGORY A.                   1991       04                   313.30   35.37%      110.81
                                                06                 1,036.34   35.37%      366.55
                                                07                   506.12   35.37%      179.01
                                                08                 1,421.95   35.37%      502.94
                                                09                 1,827.42   35.37%      646.36
                                                10                   984.00   35.37%      348.04
                                                11                 1,399.59   35.37%      495.03
                                                12                 1,308.32   35.37%      462.75
                                                13                   851.93   35.37%      301.33
                                                14                 1,034.49   35.37%      365.90
                                              Exhibit 4-A
                                                0288
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
RITTER, GREGORY A.                   1991       15                   699.80   35.37%      247.52
                                                16                   851.93   35.37%      301.33
                                                17                 1,064.91   35.37%      376.66
                                                19                 1,855.99   35.37%      656.46
                                                20                 1,490.87   35.37%      527.32
                                                21                 1,399.59   35.37%      495.03
                                                22                 1,490.86   35.37%      527.32
                                                23                 1,460.45   35.37%      516.56
                                                24                 1,186.62   35.37%      419.71
                                                25                 1,186.62   35.37%      419.71
                                                26                 1,125.76   35.37%      398.18
                                                27                 1,095.34   35.37%      387.42
                                                                  25,592.20             $9,051.94


ROBINSON, SHEILA R.                  1991       10                   449.62   35.37%      159.03
                                                                     449.62              $159.03


ROTHMAN, JOHN                        1991       05                    87.51   35.37%       30.95
                                                07                    87.88   35.37%       31.08
                                                08                    87.88   35.37%       31.08
                                                09                    65.95   35.37%       23.33
                                                10                    65.95   35.37%       23.33
                                                11                    65.95   35.37%       23.33
                                                12                    98.90   35.37%       34.98
                                                13                    49.46   35.37%       17.49
                                                14                    65.95   35.37%       23.33
                                                                     675.43              $238.90


SCHULZ, MICHAEL                      1991       18                     9.13   35.37%           3.23
                                                                       9.13                $3.23



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                                                0289
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
SHEN, CATHERINE                      1991       01                    13.16   35.37%        4.65
                                                09                    70.68   35.37%       25.00
                                                19                   109.94   35.37%       38.89
                                                20                   125.66   35.37%       44.45
                                                21                    78.53   35.37%       27.78
                                                23                   373.03   35.37%      131.94
                                                24                   549.71   35.37%      194.43
                                                26                    94.24   35.37%       33.33
                                                27                   141.35   35.37%       50.00
                                                                   1,556.30              $550.47


SILVA, JACOB                         1991       16                   104.56   35.37%       36.98
                                                                     104.56               $36.98


SIMANONOK, STEVEN                    1991       04                    34.02   35.37%       12.03
                                                                      34.02               $12.03


SIMPSON, STEWART                     1991       10                 1,158.24   35.37%      409.67
                                                16                 1,167.93   35.37%      413.10
                                                                   2,326.17              $822.77


SINGHVI, RAJESHMAL                   1991       20                   108.75   35.37%       38.46
                                                22                   571.98   35.37%      202.31
                                                23                   289.98   35.37%      102.57
                                                                     970.71              $343.34


SMIECINSKI, RALPH F.                 1991      NO                    535.58   35.37%      189.43




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                                                0290
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
SMIECINSKI, RALPH F.                 1991      OC                    314.73   35.37%       111.32
                                                                     850.31              $300.75


TAPLIN, MELINDA                      1991       02                    25.73   35.37%        9.10
                                                13                    30.93   35.37%       10.94
                                                                      56.66               $20.04


TRUJILLO, DIANNA L.                  1991       08                    93.77   35.37%       33.17
                                                09                    14.61   35.37%        5.17
                                                12                    26.34   35.37%        9.32
                                                15                    26.34   35.37%        9.32
                                                19                   158.02   35.37%       55.89
                                                23                    54.28   35.37%       19.20
                                                25                    40.72   35.37%       14.40
                                                27                    13.50   35.37%        4.77
                                                                     427.58              $151.24


VESPERMAN, RICHARD F.                1991       07                   107.26   35.37%       37.94
                                                                     107.26               $37.94


WICK, WILLIAM D.                     1991       05                    33.65   35.37%       11.90
                                                07                    68.21   35.37%       24.13
                                                08                    68.21   35.37%       24.13
                                                10                    38.34   35.37%       13.56
                                                11                    38.33   35.37%       13.56
                                                13                    38.34   35.37%       13.56
                                                                     285.08              $100.84


WILSON, DOROTHY                      1991       18                   469.75   35.37%      166.15


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                                                0291
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
WILSON, DOROTHY                      1991       19                   268.43   35.37%       94.94
                                                                     738.18              $261.09


WILSON, TERRY                        1991       01                    35.52   35.37%       12.56
                                                04                    71.01   35.37%       25.12
                                                06                    53.27   35.37%       18.84
                                                10                   258.49   35.37%       91.43
                                                13                    99.43   35.37%       35.17
                                                14                   119.32   35.37%       42.20
                                                18                   318.18   35.37%      112.54
                                                                     955.22              $337.86


WISE, JOHN C.                        1991       19                   502.31   35.37%      177.67
                                                23                   725.53   35.37%      256.62
                                                                   1,227.84              $434.29


WOOD, DAVID                          1991       05                    76.65   35.37%       27.11
                                                06                   112.41   35.37%       39.76
                                                07                    81.73   35.37%       28.91
                                                08                    25.54   35.37%        9.03
                                                09                     5.77   35.37%        2.04
                                                14                    23.04   35.37%        8.15
                                                15                    50.64   35.37%       17.91
                                                17                    23.04   35.37%        8.15
                                                18                    74.88   35.37%       26.49
                                                19                    29.68   35.37%       10.50
                                                20                   112.74   35.37%       39.88
                                                21                    35.60   35.37%       12.59
                                                23                    35.60   35.37%       12.59




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                                                0292
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                                         PAYROLL DIRECT COSTS
                                                                                      Ind.
                                           Fiscal     Pay                Payroll      Rate     Indirect
Employee Name                              Year      Period              Costs        (%)       Costs
WOOD, DAVID                                1991        24                    41.54    35.37%        14.69
                                                                            728.86               $257.80


YOUNG, DIANNA                              1991        04                   100.83    35.37%        35.66
                                                                            100.83                $35.66


ZABEL, ALLAN                               1991        01                    348.85   35.37%      123.39
                                                       02                  1,141.69   35.37%      403.82
                                                                           1,490.54              $527.21


ZELIKSON, JEFFREY                          1991        19                   817.12    35.37%      289.02
                                                                            817.12               $289.02


ZOWNIR, ANDRE                              1991        12                   108.59    35.37%        38.41
                                                       17                   218.21    35.37%        77.18
                                                       22                   254.57    35.37%        90.04
                                                       24                    72.73    35.37%        25.72
                                                       25                   327.32    35.37%       115.77
                                                                            981.42               $347.12



      Total Fiscal Year 1991 Payroll Direct Costs:                       177,928.05            $62,933.15

                                          TRAVEL DIRECT COSTS

                                                             Treasury                 Ind.
                                           Travel            Schedule    Travel       Rate     Indirect
Traveler/Vendor Name                       Number              Date      Costs        (%)       Costs
BAYLOR, KATHERINE                          T864930          09/10/1991      538.05    35.37%      190.31
                                                                            538.05               $190.31


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                                                       0293
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                                    TRAVEL DIRECT COSTS

                                                       Treasury                Ind.
                                     Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number              Date      Costs       (%)       Costs
BLEVINS, JOHN                        T767573          11/06/1990     356.93    35.37%      126.24
                                     T781349          12/18/1990     710.70    35.37%      251.38
                                     T778883          01/22/1991     254.70    35.37%       90.08
                                     9109610035       02/04/1991      35.80    35.37%       12.66
                                     T762545          03/04/1991     343.86    35.37%      121.62
                                     T770574          03/04/1991     718.94    35.37%      254.29
                                     9109610051       04/23/1991      42.00    35.37%       14.86
                                     T832363          05/06/1991     182.54    35.37%       64.56
                                     9109610066       05/28/1991      20.20    35.37%        7.14
                                     T834555          06/06/1991     995.20    35.37%      352.00
                                     T834556          06/24/1991     558.43    35.37%      197.52
                                     T860973          07/30/1991     471.74    35.37%      166.86
                                     T860983          08/29/1991     434.25    35.37%      153.59
                                     T860980          08/29/1991     375.42    35.37%      132.79
                                     T864852          09/23/1991     501.67    35.37%      177.45
                                     T883300          09/24/1991     510.28    35.37%      180.48
                                                                    6,512.66            $2,303.52


CLIFFORD, GERALD                     T831632          06/19/1991     334.86    35.37%      118.44
                                                                     334.86               $118.44


COOPER, DAVID                        T538539          02/08/1991     170.00    35.37%       60.13
                                     T724810          04/05/1991     183.91    35.37%       65.05
                                     T658409          04/26/1991     160.30    35.37%       56.70
                                                                     514.21               $181.88


DIEBOLD, TINA C.                     T822245          09/10/1991     516.85    35.37%      182.81
                                                                     516.85               $182.81


FELTER, FRASER                       T753782          11/06/1990     393.89    35.37%      139.32
                                     T753795          12/18/1990     581.39    35.37%      205.64
                                               Exhibit 4-A
                                                 0294
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                                    TRAVEL DIRECT COSTS

                                                       Treasury                Ind.
                                     Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number              Date      Costs       (%)       Costs
FELTER, FRASER                       T831852          04/22/1991      43.76    35.37%       15.48
                                     T860932          09/16/1991     257.77    35.37%       91.17
                                                                    1,276.81              $451.61


GENTILE, LAURA                       T821827          05/17/1991     642.23    35.37%      227.16
                                                                     642.23               $227.16


HANLON, EDWARD                       T740040          02/07/1991     197.62    35.37%       69.90
                                                                     197.62                $69.90


HEDEEN, ROBERTA                      T767512          02/26/1991      978.36   35.37%      346.05
                                     T821826          05/17/1991    1,262.64   35.37%      446.60
                                     T864931          09/10/1991      622.52   35.37%      220.19
                                                                    2,863.52            $1,012.84


HILL, TERESA L.                      T821829          05/22/1991     663.37    35.37%      234.63
                                                                     663.37               $234.63


HUETTEMAN, THOMAS                    T767513          03/11/1991     837.53    35.37%      296.24
                                     T834167          05/14/1991     470.52    35.37%      166.42
                                                                    1,308.05              $462.66


HUSBY, PETER                         T864932          09/16/1991     520.42    35.37%      184.07
                                                                     520.42               $184.07


JONES, DAVID                         T821928          07/08/1991     292.00    35.37%      103.28
                                     T860975          09/10/1991     198.82    35.37%       70.32


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                                                 0295
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    TRAVEL DIRECT COSTS

                                                       Treasury                Ind.
                                     Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number              Date      Costs       (%)       Costs
JONES, DAVID                         T883299          09/23/1991     212.75    35.37%       75.25
                                                                     703.57               $248.85


LANEWENNER, CAROLYN                  T721667          09/04/1991    1,017.58   35.37%      359.92
                                                                    1,017.58              $359.92


LEE, BARBARA                         9109BB0002       02/01/1991       29.15   35.37%       10.31
                                                                       29.15               $10.31


LEWIS, WILLIAM                       T831724          05/20/1991     510.07    35.37%      180.42
                                     T832359          08/06/1991     729.23    35.37%      257.93
                                                                    1,239.30              $438.35


LINDER, STEVEN                       T770532          10/16/1990     286.44    35.37%      101.32
                                     T781306          12/07/1990     663.62    35.37%      234.72
                                     9109610040       02/08/1991      37.12    35.37%       13.13
                                     T693823          05/10/1991     434.21    35.37%      153.58
                                     T834550          06/19/1991     428.36    35.37%      151.51
                                     T860974          07/30/1991     418.28    35.37%      147.95
                                     T860982          08/29/1991     361.48    35.37%      127.85
                                     T864851          09/03/1991     190.00    35.37%       67.20
                                     T834797          09/17/1991     425.63    35.37%      150.54
                                     T882912          09/23/1991     472.46    35.37%      167.11
                                                                    3,717.60            $1,314.91


NATOLI, ROSARIO L.                   T650579          02/08/1991     185.80    35.37%       65.72
                                                                     185.80                $65.72




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                                    TRAVEL DIRECT COSTS

                                                        Treasury                Ind.
                                     Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number               Date      Costs       (%)       Costs
NELSON, DENISE                       T834520           09/04/1991     350.24    35.37%      123.88
                                                                      350.24               $123.88


OPALSKI, PAMELA L.                   T781305           12/07/1990     538.50    35.37%      190.47
                                     T781321           12/18/1990     329.02    35.37%      116.38
                                     T778882           01/04/1991     248.69    35.37%       87.96
                                     9109610033        01/29/1991      31.00    35.37%       10.96
                                     T770573           03/01/1991     543.13    35.37%      192.11
                                     T762544           03/20/1991     279.00    35.37%       98.68
                                     T693176           04/30/1991     158.00    35.37%       55.88
                                     T831944           05/28/1991     811.00    35.37%      286.85
                                     T831945           06/20/1991     432.20    35.37%      152.87
                                     T860972           07/30/1991     535.95    35.37%      189.57
                                     T860979           08/29/1991     269.32    35.37%       95.26
                                     T882908           09/23/1991     431.42    35.37%      152.59
                                     T883301           09/23/1991     242.50    35.37%       85.77
                                                                     4,849.73            $1,715.35


PANE, VICKIE L.                      T2642894          10/10/1990     171.50    35.37%       60.66
                                                                      478.00    35.37%      169.07
                                                                      649.50               $229.73


RITTER, GREGORY A.                   T834596           07/05/1991     156.50    35.37%       55.35
                                                       07/18/1991     160.00    35.37%       56.59
                                                                      316.50               $111.94


ROBINSON, SHEILA R.                  T767549           01/24/1991     468.60    35.37%      165.74
                                                                      468.60               $165.74


SIMPSON, STEWART                     T767547           02/13/1991     527.64    35.37%      186.63
                                                Exhibit 4-A
                                                  0297
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                             Treasury                Ind.
                                           Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number              Date      Costs       (%)       Costs
SIMPSON, STEWART                           T834169          05/16/1991     656.04    35.37%      232.04
                                                                          1,183.68              $418.67


TRUJILLO, DIANNA L.                        T834548          05/16/1991     272.75    35.37%       96.47
                                                            07/18/1991     124.00    35.37%       43.86
                                                                           396.75               $140.33


WILSON, DOROTHY                            T762023          06/19/1991     594.65    35.37%      210.32
                                                                           594.65               $210.32


WISE, JOHN C.                              T753119          06/20/1991     307.63    35.37%      108.81
                                           T787989          08/22/1991     367.93    35.37%      130.14
                                                                           675.56               $238.95


WOOD, DAVID                                9109BB0001       02/01/1991       24.26   35.37%         8.58
                                                                             24.26                $8.58


YOUNG, DIANNA                              T753798          12/03/1990     327.50    35.37%      115.84
                                                                           327.50               $115.84


ZELIKSON, JEFFREY                          T683674          07/01/1991     355.18    35.37%      125.63
                                                                           355.18               $125.63



       Total Fiscal Year 1991 Travel Direct Costs:                       32,973.80            $11,662.85




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                                                       0298
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                                    OTHER DIRECT COSTS
Contract,                           Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number               Date             Amount               Costs    (%)        Costs
68-01-7251       74                10/15/1990             15,720.45        3,821.83   35.37%     6,912.10
                 75                11/15/1990             18,412.14        4,476.21   35.37%     8,095.61
                 76                12/19/1990                989.00          240.44   35.37%       434.85
                 77                12/20/1990              3,727.34          906.16   35.37%     1,638.87
                 78                01/15/1991                923.84          224.60   35.37%       406.20
                 80                02/14/1991              3,598.92          874.94   35.37%     1,582.40
                 83                05/10/1991               -727.18         -176.79   35.37%      -319.73
                 86                07/25/1991             43,426.00       10,557.38   35.37%    19,093.92
                                                          86,070.51       20,924.77            $37,844.22


68-01-7368       108               10/19/1990              2,443.52        2,646.57   35.37%     1,800.36
                 109               10/22/1990              5,207.12        5,639.82   35.37%     3,836.56
                 110               11/13/1990             56,639.52       61,346.15   35.37%    41,731.53
                 111R              01/17/1991              3,961.63        4,290.83   35.37%     2,918.90
                 112               01/23/1991                231.38          250.61   35.37%       170.48
                 113               02/13/1991                126.92          137.47   35.37%        93.51
                 116               04/22/1991              1,161.12        1,257.61   35.37%       855.50
                 118               08/23/1991                -90.89          -98.44   35.37%       -66.97
                                                          69,680.32       75,470.62            $51,339.87


68-01-7456       71                10/17/1990                 3,445.39     4,984.27   35.37%     2,981.57
                 73                11/21/1990                 3,232.86     4,676.82   35.37%     2,797.65
                 75                12/13/1990                 3,252.87     4,705.76   35.37%     2,814.97
                 77                01/11/1991                 4,132.19     5,977.83   35.37%     3,575.91
                 79                02/21/1991                 1,202.02     1,738.90   35.37%     1,040.20
                 81                03/21/1991                    47.49        68.70   35.37%        41.10
                 83                04/17/1991                 6,086.04     8,804.37   35.37%     5,266.74
                 87                06/03/1991                 1,439.29     2,082.15   35.37%     1,245.53
                 89                06/27/1991                   763.88     1,105.07   35.37%       661.05
                 91                07/16/1991                 6,738.03     9,747.57   35.37%     5,830.96
                 93                08/16/1991                   694.00     1,003.98   35.37%       600.58



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                                                  0299
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                     OTHER DIRECT COSTS
Contract,                            Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher             Schedule            Site              Allocation Rate       Indirect
Misc.NO          Number                Date             Amount               Costs    (%)         Costs
68-01-7456       95                 09/23/1991                  351.50        508.50   35.37%       304.18
                                                           31,385.56       45,403.92             $27,160.44


68-02-4284       3758-24            10/17/1990           361,519.72             0.00   35.37%    127,869.52
                 3758-25            11/15/1990            48,494.13             0.00   35.37%     17,152.37
                 3758-26            12/14/1990            38,073.80             0.00   35.37%     13,466.70
                 3758-27            01/11/1991             4,016.66             0.00   35.37%      1,420.69
                                                         452,104.31             0.00            $159,909.28


68-02-4291       36                 10/11/1990             16,232.65        3,100.44   35.37%      6,838.11
                                                           16,232.65        3,100.44              $6,838.11


68-03-3267       8250-94R           01/28/1991                 1,008.82         0.00   35.37%       356.82
                                                               1,008.82         0.00               $356.82


68-03-3482       48                 11/08/1990                 84.06            0.00   35.37%         29.73
                 49                 11/08/1990                333.44            0.00   35.37%        117.94
                 50                 12/05/1990                888.64            0.00   35.37%        314.31
                 56                 03/07/1991                156.89            0.00   35.37%         55.49
                 58                 04/02/1991               -156.89            0.00   35.37%        -55.49
                 60                 05/07/1991             39,599.82            0.00   35.37%     14,006.46
                 68                 09/03/1991              1,889.38            0.00   35.37%        668.27
                                                           42,795.34            0.00             $15,136.71


68-D9-0079       128738             04/23/1991                 1,991.55       380.39   35.37%       838.96
                                                               1,991.55       380.39               $838.96


68-D9-0085       19250              06/11/1991                 1,237.46       236.35   35.37%       521.29


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                                                   0300
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                       OTHER DIRECT COSTS
Contract,                              Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher               Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                  Date             Amount               Costs    (%)        Costs
68-D9-0085       21049                08/14/1991                  548.96        104.85   35.37%      231.25
                                                                 1,786.42       341.20              $752.54


68-D9-0135       13                   10/12/1990                 4,823.70       921.33   35.37%     2,032.02
                 19                   03/15/1991                 1,224.30       233.84   35.37%       515.74
                 22                   06/07/1991                 1,631.70       311.65   35.37%       687.36
                 26                   08/16/1991                   882.00       168.46   35.37%       371.55
                                                                 8,561.70     1,635.28             $3,606.67


68-W0-0001       23                   09/09/1991                  324.88        127.67   35.37%      160.07
                                                                  324.88        127.67              $160.07


68-W0-0037       1                    01/14/1991             10,587.61       10,889.31   35.37%     7,596.39
                 2                    01/15/1991              5,540.10        5,697.97   35.37%     3,974.91
                 3                    02/15/1991              8,715.13        8,963.48   35.37%     6,252.92
                 4                    03/27/1991              4,023.69        4,138.35   35.37%     2,886.91
                 5                    04/19/1991              5,582.54        5,741.62   35.37%     4,005.36
                 6                    05/09/1991              5,023.72        5,166.88   35.37%     3,604.42
                 7                    06/21/1991              5,494.19        5,650.75   35.37%     3,941.97
                 8                    07/23/1991             10,754.75       11,061.22   35.37%     7,716.31
                 10                   08/28/1991              6,463.72        6,647.91   35.37%     4,637.58
                 11                   09/20/1991             15,862.79       16,314.82   35.37%    11,381.22
                                                             78,048.24       80,272.31            $55,997.99


68-W1-0012       1X-1149-01           08/14/1991                 7,091.41       663.75   35.37%     2,743.00
                 1X-1194-02           09/30/1991                   757.04        70.86   35.37%       292.83
                                                                 7,848.45       734.61             $3,035.83


68-W9-0008       25                   12/06/1990                   697.35       161.14   35.37%      303.65
                 26                   12/28/1990                 1,492.36       344.85   35.37%      649.82
                                                   Exhibit 4-A
                                                     0301
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    OTHER DIRECT COSTS
Contract,                           Treasury                          Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site           Allocation Rate       Indirect
Misc.NO          Number               Date             Amount            Costs    (%)         Costs
68-W9-0008       27                02/01/1991              1,681.88       388.64    35.37%       732.34
                 28                02/08/1991                 49.73        11.49    35.37%        21.65
                 29                02/21/1991              5,531.44     1,278.17    35.37%     2,408.56
                 31                03/28/1991             19,820.61     4,580.03    35.37%     8,630.51
                 32                04/18/1991                635.49       146.85    35.37%       276.71
                 33                05/09/1991                777.28       179.61    35.37%       338.45
                 34                06/21/1991              6,331.42     1,463.03    35.37%     2,756.90
                 35                07/03/1991              1,211.62       279.97    35.37%       527.58
                 36                08/09/1991              4,393.57     1,015.24    35.37%     1,913.10
                 37                09/05/1991              2,457.56       567.88    35.37%     1,070.10
                                                          45,080.31    10,416.90             $19,629.37


68-W9-0031       18                10/12/1990             26,798.27      3,456.92   35.37%    10,701.26
                 19                11/09/1990              9,053.99      1,167.95   35.37%     3,615.50
                 20                12/12/1990             13,925.05      1,796.30   35.37%     5,560.64
                                                           4,040.44        521.21   35.37%     1,613.46
                 21                12/13/1990              1,848.38        238.44   35.37%       738.11
                 22                01/10/1991             13,537.16      1,746.27   35.37%     5,405.75
                                                          10,597.60      1,367.07   35.37%     4,231.90
                 23                02/08/1991             22,917.79      2,956.35   35.37%     9,151.68
                                                           1,401.96        180.85   35.37%       559.84
                 24                03/11/1991              2,117.61        273.17   35.37%       845.62
                                                          53,626.85      6,917.76   35.37%    21,414.63
                 25                04/09/1991              1,232.15        158.94   35.37%       492.03
                                                          18,808.56      2,426.27   35.37%     7,510.76
                 26                04/09/1991                135.00         17.41   35.37%        53.91
                                                           1,284.26        165.67   35.37%       512.84
                 27                05/07/1991            -57,123.49     -7,368.82   35.37%   -22,810.93
                                                             306.96         39.60   35.37%       122.58
                 28                06/06/1991              4,577.42        590.48   35.37%     1,827.89
                                                              93.09         12.01   35.37%        37.17
                 29                07/10/1991                241.24         31.12   35.37%        96.33
                                                          20,128.46      2,596.53   35.37%     8,037.83

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                                                  0302
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                                      OTHER DIRECT COSTS
Contract,                             Treasury                          Annual/SMO Ind.
IAG, SCA,        Voucher              Schedule            Site           Allocation Rate       Indirect
Misc.NO          Number                 Date             Amount            Costs    (%)         Costs
68-W9-0031       31                  09/05/1991                  3.17         0.41    35.37%         1.27
                                                          149,551.92     19,291.91             $59,720.07


68-W9-0059       25                  08/16/1991             20,486.04     7,816.10    35.37%    10,010.47
                 24R                 09/03/1991             15,908.29     6,069.54    35.37%     7,773.56
                 26                  09/09/1991             39,181.00    14,948.84    35.37%    19,145.72
                                                            75,575.33    28,834.48             $36,929.75


68-W9-0060       20376-16            10/26/1990             20,065.21      7,821.52   35.37%     9,863.54
                 20376-17            11/09/1990             58,074.28     22,637.64   35.37%    28,547.81
                 20376-18            11/26/1990              3,743.00      1,459.04   35.37%     1,839.96
                 20376-19            12/27/1990             18,257.00      7,116.67   35.37%     8,974.67
                                                            15,943.33      6,214.79   35.37%     7,837.33
                                                            26,792.78     10,443.96   35.37%    13,170.63
                 20376-20            01/18/1991              7,580.42      2,954.89   35.37%     3,726.34
                                                            62,324.58     24,294.43   35.37%    30,637.14
                                                           -54,744.16    -21,339.55   35.37%   -26,910.81
                                                            54,744.16     21,339.55   35.37%    26,910.81
                 20376-21            02/22/1991             21,341.79      8,319.14   35.37%    10,491.07
                                                            27,323.47     10,650.83   35.37%    13,431.51
                                                             5,981.68      2,331.69   35.37%     2,940.44
                                                            -5,981.68     -2,331.69   35.37%    -2,940.44
                 20376-023           03/13/1991             34,998.07     13,642.42   35.37%    17,204.14
                                                               801.87        312.57   35.37%       394.18
                 20376-024           04/12/1991             45,109.90     17,584.06   35.37%    22,174.85
                                                           -44,906.63    -17,504.83   35.37%   -22,074.93
                                                            44,906.63     17,504.83   35.37%    22,074.93
                                                               203.27         79.24   35.37%        99.92
                 20376-025           05/09/1991             -3,985.43     -1,553.54   35.37%    -1,959.13
                                                             3,985.43      1,553.54   35.37%     1,959.13
                                                             4,759.21      1,855.16   35.37%     2,339.50
                                                               773.78        301.62   35.37%       380.37
                 20376-026           06/20/1991            -14,383.40     -5,606.72   35.37%    -7,070.51
                                                  Exhibit 4-A
                                                    0303
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                                      OTHER DIRECT COSTS
Contract,                             Treasury                          Annual/SMO Ind.
IAG, SCA,        Voucher              Schedule            Site           Allocation Rate        Indirect
Misc.NO          Number                 Date             Amount            Costs    (%)          Costs
68-W9-0060       20376-026           06/20/1991             14,383.40      5,606.72   35.37%      7,070.51
                                                                47.06         18.34   35.37%         23.13
                                                            14,430.46      5,625.07   35.37%      7,093.64
                 20376-027           07/18/1991            -12,739.35     -4,965.86   35.37%     -6,262.33
                                                            12,739.35      4,965.86   35.37%      6,262.33
                                                            12,739.35      4,965.86   35.37%      6,262.33
                 20376-29            09/13/1991              2,317.80        903.49   35.37%      1,139.37
                 20376-30            09/20/1991              3,307.00      1,289.09   35.37%      1,625.64
                                                          380,933.63    148,489.83             $187,257.07


8U1020NALX       4-385-56131         09/19/1991                 3.75          0.00    35.37%          1.33
                                                                3.75          0.00                   $1.33


937801           188                 10/22/1990             8,722.08          0.00    35.37%      3,085.00
                 189                 10/26/1990            29,434.16          0.00    35.37%     10,410.86
                 190                 11/08/1990             3,559.50          0.00    35.37%      1,259.00
                 192                 11/23/1990             9,012.82          0.00    35.37%      3,187.83
                 194                 12/17/1990            19,996.83          0.00    35.37%      7,072.88
                 196                 12/20/1990             8,722.08          0.00    35.37%      3,085.00
                 199                 01/30/1991           126,747.01          0.00    35.37%     44,830.42
                 201                 02/22/1991            36,199.36          0.00    35.37%     12,803.71
                 0002                03/21/1991            65,189.61          0.00    35.37%     23,057.57
                 0006                04/12/1991            19,483.50          0.00    35.37%      6,891.31
                 0007                04/19/1991             9,012.82          0.00    35.37%      3,187.83
                 0009                05/02/1991             5,340.38          0.00    35.37%      1,888.89
                 0010                05/10/1991            14,268.06          0.00    35.37%      5,046.61
                                     05/15/1991            22,149.11          0.00    35.37%      7,834.14
                 0011                05/17/1991            30,254.30          0.00    35.37%     10,700.95
                 0004                05/17/1991             2,825.60          0.00    35.37%        999.41
                 0015                06/12/1991            23,351.35          0.00    35.37%      8,259.37
                 0016                06/20/1991            76,097.07          0.00    35.37%     26,915.53
                 0019                07/09/1991            25,048.41          0.00    35.37%      8,859.62
                 0020                07/29/1991             8,722.08          0.00    35.37%      3,085.00
                                                  Exhibit 4-A
                                                    0304
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                            Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site            Allocation Rate          Indirect
Misc.NO          Number                    Date              Amount             Costs    (%)            Costs
937801           0021                    08/05/1991             12,054.14             0.00   35.37%      4,263.55
                 0022                    08/06/1991              5,610.90             0.00   35.37%      1,984.58
                 0024                    08/15/1991                720.00             0.00   35.37%        254.66
                 0025                    08/22/1991                743.58             0.00   35.37%        263.00
                 0026                    09/05/1991              9,422.22             0.00   35.37%      3,332.64
                 0029                    09/23/1991              9,696.77             0.00   35.37%      3,429.75
                                                               582,383.74             0.00            $205,989.11


937802           0025                    08/22/1991             23,605.06             0.00   35.37%      8,349.11
                 0027                    09/11/1991              1,528.47             0.00   35.37%        540.62
                                                                25,133.53             0.00              $8,889.73


DU1001NBLX       1625901                 03/13/1991                 740.22            0.00   35.37%       261.82
                                                                    740.22            0.00               $261.82



       Total Fiscal Year 1991 Other Direct Costs:            2,057,241.18     435,424.33              $881,655.76

                      Total Fiscal Year 1991:                        2,703,567.36                     $956,251.76


                                         PAYROLL DIRECT COSTS
                                                                                             Ind.
                                          Fiscal       Pay                    Payroll        Rate      Indirect
Employee Name                             Year        Period                  Costs          (%)        Costs
ASAMI, JO                                 1992          02                           77.42   34.10%         26.40
                                                        05                          110.61   34.10%         37.72
                                                        13                           60.57   34.10%         20.65
                                                        24                          161.53   34.10%         55.08
                                                                                    410.13               $139.85


BANDROWSKI, MICHAEL                       1992          17                          185.99   34.10%         63.42
                                                      Exhibit 4-A
                                                        0305
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
BANDROWSKI, MICHAEL                  1992       20                    37.19   34.10%       12.68
                                                22                    74.40   34.10%       25.37
                                                24                    74.40   34.10%       25.37
                                                25                   223.19   34.10%       76.11
                                                27                    37.21   34.10%       12.69
                                                                     632.38              $215.64


BARNETT, ROXY A.                     1992       03                   131.82   34.10%       44.95
                                                04                   362.53   34.10%      123.62
                                                05                    66.30   34.10%       22.61
                                                06                   131.82   34.10%       44.95
                                                07                   626.17   34.10%      213.52
                                                08                    65.92   34.10%       22.48
                                                09                   206.31   34.10%       70.35
                                                13                    68.77   34.10%       23.45
                                                14                   378.25   34.10%      128.98
                                                                   2,037.89              $694.91


BLEVINS, JOHN                        1992       01                   521.43   34.10%      177.81
                                                02                 1,255.35   34.10%      428.07
                                                03                 1,007.32   34.10%      343.50
                                                04                   717.35   34.10%      244.62
                                                05                 1,500.13   34.10%      511.54
                                                06                   887.38   34.10%      302.60
                                                07                   896.66   34.10%      305.76
                                                08                   430.39   34.10%      146.76
                                                09                   710.88   34.10%      242.41
                                                10                   972.76   34.10%      331.71
                                                11                 1,197.28   34.10%      408.27
                                                12                   898.06   34.10%      306.24
                                                13                 1,571.41   34.10%      535.85
                                                14                 1,047.60   34.10%      357.23
                                                15                 1,758.51   34.10%      599.65
                                              Exhibit 4-A
                                                0306
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
BLEVINS, JOHN                        1992       16                 2,020.39    34.10%      688.95
                                                18                   823.18    34.10%      280.70
                                                19                 1,571.42    34.10%      535.85
                                                20                   748.31    34.10%      255.17
                                                21                   935.37    34.10%      318.96
                                                22                   935.37    34.10%      318.96
                                                24                 1,384.36    34.10%      472.07
                                                25                   935.37    34.10%      318.96
                                                26                 1,646.27    34.10%      561.38
                                                27                 1,159.86    34.10%      395.51
                                                                  27,532.41             $9,388.53


BRISCOE, NANCY                       1992       20                   263.06    34.10%       89.70
                                                                     263.06                $89.70


BRUIN, PAULA                         1992       23                   286.70    34.10%       97.76
                                                24                   315.38    34.10%      107.54
                                                                     602.08               $205.30


DIEHL, KATHY                         1992       10                     73.48   34.10%       25.06
                                                11                     58.79   34.10%       20.05
                                                14                    235.13   34.10%       80.18
                                                16                     44.10   34.10%       15.04
                                                17                    793.55   34.10%      270.60
                                                18                    397.38   34.10%      135.51
                                                19                    235.13   34.10%       80.18
                                                21                    299.42   34.10%      102.10
                                                22                    841.20   34.10%      286.85
                                                24                    698.64   34.10%      238.24
                                                25                  1,211.89   34.10%      413.25
                                                26                    228.12   34.10%       77.79

                                              Exhibit 4-A
                                                0307
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
DIEHL, KATHY                         1992       27                   384.95   34.10%      131.27
                                                                   5,501.78             $1,876.12


ERICKSON, KENNETH J.                 1992       22                    65.56   34.10%       22.36
                                                                      65.56               $22.36


FELTER, FRASER                       1992       01                   141.17   34.10%       48.14
                                                02                   117.55   34.10%       40.08
                                                03                    47.02   34.10%       16.03
                                                04                   329.13   34.10%      112.23
                                                05                   164.57   34.10%       56.12
                                                06                    70.53   34.10%       24.05
                                                07                    70.53   34.10%       24.05
                                                08                    70.53   34.10%       24.05
                                                09                   126.49   34.10%       43.13
                                                10                   392.14   34.10%      133.72
                                                11                   182.98   34.10%       62.40
                                                12                   156.85   34.10%       53.49
                                                13                   182.99   34.10%       62.40
                                                14                   339.86   34.10%      115.89
                                                15                   313.68   34.10%      106.96
                                                16                   731.99   34.10%      249.61
                                                17                   365.97   34.10%      124.80
                                                18                    52.26   34.10%       17.82
                                                19                   313.68   34.10%      106.96
                                                20                   156.85   34.10%       53.49
                                                21                    52.29   34.10%       17.83
                                                22                   470.56   34.10%      160.46
                                                23                    52.29   34.10%       17.83
                                                24                   182.99   34.10%       62.40
                                                25                   313.72   34.10%      106.98



                                              Exhibit 4-A
                                                0308
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
FELTER, FRASER                       1992       26                   914.99   34.10%      312.01
                                                                   6,313.61             $2,152.93


GREEN, LOIS                          1992       01                   125.20   34.10%       42.69
                                                02                    37.56   34.10%       12.81
                                                03                    18.79   34.10%        6.41
                                                04                     6.26   34.10%        2.13
                                                06                    68.88   34.10%       23.49
                                                07                    50.07   34.10%       17.07
                                                08                    68.88   34.10%       23.49
                                                09                    13.06   34.10%        4.45
                                                12                    19.60   34.10%        6.68
                                                13                   300.43   34.10%      102.45
                                                14                     6.54   34.10%        2.23
                                                17                     5.19   34.10%        1.77
                                                24                     5.23   34.10%        1.78
                                                25                    13.06   34.10%        4.45
                                                                     738.75              $251.90


HEDEEN, ROBERTA                      1992       03                    62.60   34.10%       21.35
                                                05                   271.32   34.10%       92.52
                                                06                   730.54   34.10%      249.11
                                                12                   337.75   34.10%      115.17
                                                13                   129.90   34.10%       44.30
                                                15                   472.52   34.10%      161.13
                                                16                    77.95   34.10%       26.58
                                                17                   155.89   34.10%       53.16
                                                19                   545.67   34.10%      186.07
                                                21                   155.89   34.10%       53.16
                                                22                   493.63   34.10%      168.33




                                              Exhibit 4-A
                                                0309
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                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
HEDEEN, ROBERTA                      1992       24                    77.94    34.10%       26.58
                                                                    3,511.60            $1,197.46


HINGERTY, MICHAEL                    1992       04                    45.66    34.10%       15.57
                                                                      45.66                $15.57


JOHNSON, SHARON                      1992       19                    20.24    34.10%          6.90
                                                                      20.24                 $6.90


JONES, DAVID                         1992       01                    82.21    34.10%       28.03
                                                02                    84.52    34.10%       28.82
                                                03                   287.72    34.10%       98.11
                                                04                    84.53    34.10%       28.82
                                                05                   169.04    34.10%       57.64
                                                07                    42.25    34.10%       14.41
                                                08                    84.52    34.10%       28.82
                                                10                    88.05    34.10%       30.03
                                                11                    88.05    34.10%       30.03
                                                12                   396.28    34.10%      135.13
                                                13                    44.03    34.10%       15.01
                                                14                    44.03    34.10%       15.01
                                                15                   308.21    34.10%      105.10
                                                16                    44.02    34.10%       15.01
                                                17                    88.06    34.10%       30.03
                                                18                    88.06    34.10%       30.03
                                                19                   484.34    34.10%      165.16
                                                21                    88.06    34.10%       30.03
                                                23                   132.10    34.10%       45.05
                                                24                   704.49    34.10%      240.23
                                                26                   616.43    34.10%      210.20



                                              Exhibit 4-A
                                                0310
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
JONES, DAVID                         1992       27                    44.03   34.10%       15.01
                                                                   4,093.03             $1,395.71


LANEWENNER, CAROLYN                  1992       02                    11.24   34.10%           3.83
                                                13                    13.93   34.10%           4.75
                                                                      25.17                $8.58


LEWIS, WILLIAM                       1992       02                   360.70   34.10%      123.00
                                                03                   262.32   34.10%       89.45
                                                04                    65.58   34.10%       22.36
                                                05                    66.06   34.10%       22.53
                                                06                   132.12   34.10%       45.05
                                                07                   132.12   34.10%       45.05
                                                10                   412.87   34.10%      140.79
                                                                   1,431.77              $488.23


LINDER, STEVEN                       1992       01                   628.42   34.10%      214.29
                                                02                 1,449.08   34.10%      494.14
                                                03                 1,376.58   34.10%      469.41
                                                04                 1,690.57   34.10%      576.48
                                                05                 1,304.11   34.10%      444.70
                                                06                 1,859.61   34.10%      634.13
                                                07                   434.72   34.10%      148.24
                                                08                 1,449.08   34.10%      494.14
                                                09                 1,769.30   34.10%      603.33
                                                10                 2,029.51   34.10%      692.06
                                                11                 1,535.13   34.10%      523.48
                                                12                 1,352.99   34.10%      461.37
                                                13                 1,769.30   34.10%      603.33
                                                14                 1,925.40   34.10%      656.56
                                                15                 1,352.99   34.10%      461.37
                                                16                 2,003.45   34.10%      683.18
                                              Exhibit 4-A
                                                0311
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
LINDER, STEVEN                       1992       17                 1,769.30   34.10%      603.33
                                                18                 1,769.29   34.10%      603.33
                                                19                 1,977.46   34.10%      674.31
                                                20                 1,795.32   34.10%      612.20
                                                21                    57.01   34.10%       19.44
                                                                   1,710.60   34.10%      583.32
                                                22                 2,052.71   34.10%      699.97
                                                24                 1,967.19   34.10%      670.81
                                                25                 1,881.66   34.10%      641.65
                                                                      28.51   34.10%        9.72
                                                26                 1,881.67   34.10%      641.65
                                                27                 1,995.72   34.10%      680.54
                                                                  42,816.68            $14,600.48


MCKINLEY, CHARLES C.                 1992       05                   170.93   34.10%        58.29
                                                06                   170.92   34.10%        58.28
                                                                     341.85              $116.57


NELSON, DENISE                       1992       12                    25.43   34.10%         8.67
                                                14                    25.43   34.10%         8.67
                                                24                    26.15   34.10%         8.92
                                                26                   209.23   34.10%        71.35
                                                27                    78.46   34.10%        26.75
                                                                     364.70              $124.36


OPALSKI, PAMELA L.                   1992       01                   400.62   34.10%      136.61
                                                03                 1,347.59   34.10%      459.53
                                                04                 1,183.70   34.10%      403.64
                                                05                   928.72   34.10%      316.69
                                                06                   976.01   34.10%      332.82
                                                07                   672.36   34.10%      229.27
                                                09                 1,467.40   34.10%      500.38
                                              Exhibit 4-A
                                                0312
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
OPALSKI, PAMELA L.                   1992       10                 1,693.15   34.10%      577.36
                                                11                 1,331.95   34.10%      454.19
                                                12                 1,535.12   34.10%      523.48
                                                13                   744.99   34.10%      254.04
                                                                      22.58   34.10%        7.70
                                                14                 1,715.72   34.10%      585.06
                                                                      22.58   34.10%        7.70
                                                15                 1,535.12   34.10%      523.48
                                                16                 1,625.42   34.10%      554.27
                                                17                 1,580.26   34.10%      538.87
                                                18                    45.14   34.10%       15.39
                                                                   1,264.20   34.10%      431.09
                                                19                 1,715.72   34.10%      585.06
                                                20                   406.36   34.10%      138.57
                                                21                    90.30   34.10%       30.79
                                                                   1,489.97   34.10%      508.08
                                                22                   586.95   34.10%      200.15
                                                23                   812.71   34.10%      277.13
                                                24                 1,715.72   34.10%      585.06
                                                25                 1,760.87   34.10%      600.46
                                                26                 1,557.69   34.10%      531.17
                                                27                 1,377.08   34.10%      469.58
                                                                  31,606.00            $10,777.62


PODGUR, HAROLD                       1992       13                    26.59   34.10%         9.07
                                                14                    62.05   34.10%        21.16
                                                15                    17.73   34.10%         6.05
                                                                     106.37               $36.28


RITTER, GREGORY A.                   1992       01                   608.51   34.10%      207.50
                                                02                 1,155.29   34.10%      393.95
                                                03                 1,884.94   34.10%      642.76
                                                04                 1,489.71   34.10%      507.99
                                              Exhibit 4-A
                                                0313
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
RITTER, GREGORY A.                   1992       05                 1,550.52   34.10%      528.73
                                                06                   760.06   34.10%      259.18
                                                07                   364.83   34.10%      124.41
                                                08                   972.88   34.10%      331.75
                                                09                 1,269.37   34.10%      432.86
                                                10                   222.14   34.10%       75.75
                                                11                 1,702.41   34.10%      580.52
                                                12                 1,342.27   34.10%      457.71
                                                13                   883.94   34.10%      301.42
                                                14                 1,571.45   34.10%      535.86
                                                15                 1,145.85   34.10%      390.73
                                                16                 1,473.23   34.10%      502.37
                                                17                 1,702.41   34.10%      580.52
                                                18                 1,702.41   34.10%      580.52
                                                19                 1,505.96   34.10%      513.53
                                                20                 1,440.49   34.10%      491.21
                                                21                 1,505.96   34.10%      513.53
                                                22                 1,636.94   34.10%      558.20
                                                23                 1,735.14   34.10%      591.68
                                                24                   832.40   34.10%      283.85
                                                25                 1,700.99   34.10%      580.04
                                                26                 2,026.71   34.10%      691.11
                                                27                 1,411.44   34.10%      481.30
                                                                  35,598.25            $12,138.98


SHEN, CATHERINE                      1992       01                    39.27   34.10%        13.39
                                                                      39.27               $13.39


SIMS, MARK                           1992       18                    56.41   34.10%        19.24
                                                                      56.41               $19.24


SMITH, JULI A.                       1992       03                     4.51   34.10%           1.54
                                              Exhibit 4-A
                                                0314
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                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
SMITH, JULI A.                       1992       04                    24.46   34.10%        8.34
                                                07                     9.91   34.10%        3.38
                                                08                    58.70   34.10%       20.02
                                                15                     5.11   34.10%        1.74
                                                16                   275.49   34.10%       93.94
                                                17                    76.53   34.10%       26.10
                                                23                   148.28   34.10%       50.56
                                                24                     5.30   34.10%        1.81
                                                25                   111.22   34.10%       37.93
                                                                     719.51              $245.36


STERN, ROBERT                        1992       12                   261.64   34.10%       89.22
                                                13                   163.52   34.10%       55.76
                                                14                    65.40   34.10%       22.30
                                                                     490.56              $167.28


TAKATA, KEITH                        1992       07                    43.69   34.10%       14.90
                                                27                   182.54   34.10%       62.25
                                                                     226.23               $77.15


TAPLIN, MELINDA                      1992       14                   146.88   34.10%       50.09
                                                15                   146.88   34.10%       50.09
                                                19                   220.30   34.10%       75.12
                                                                     514.06              $175.30


TRUJILLO, DIANNA L.                  1992       10                    86.38   34.10%       29.46
                                                11                    28.77   34.10%        9.81
                                                12                    28.79   34.10%        9.82
                                                13                     7.20   34.10%        2.46
                                                14                    14.38   34.10%        4.90
                                                17                    14.39   34.10%        4.91
                                              Exhibit 4-A
                                                0315
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
TRUJILLO, DIANNA L.                  1992       18                    28.78   34.10%        9.81
                                                20                    28.79   34.10%        9.82
                                                24                    86.38   34.10%       29.46
                                                25                    14.39   34.10%        4.91
                                                27                     7.21   34.10%        2.46
                                                                     345.46              $117.82


VEGA, MARTHA                         1992       06                   185.89   34.10%       63.39
                                                10                   142.41   34.10%       48.56
                                                11                   170.90   34.10%       58.28
                                                14                    56.96   34.10%       19.42
                                                18                    28.46   34.10%        9.70
                                                19                   199.37   34.10%       67.99
                                                20                    56.96   34.10%       19.42
                                                                     840.95              $286.76


WHITTAKER, JAMES G.                  1992       15                   182.32   34.10%       62.17
                                                23                   282.70   34.10%       96.40
                                                24                    70.68   34.10%       24.10
                                                                     535.70              $182.67


WISE, JOHN C.                        1992       26                   464.29   34.10%      158.32
                                                                     464.29              $158.32


WOOD, DAVID                          1992       01                    23.74   34.10%           8.10
                                                                      23.74                $8.10


ZELIKSON, JEFFREY                    1992       21                   446.37   34.10%      152.21



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                                                0316
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                                         PAYROLL DIRECT COSTS
                                                                                       Ind.
                                           Fiscal      Pay                Payroll      Rate     Indirect
Employee Name                              Year       Period              Costs        (%)       Costs
ZELIKSON, JEFFREY                          1992         26                   892.73    34.10%      304.42
                                                                            1,339.10              $456.63



      Total Fiscal Year 1992 Payroll Direct Costs:                        169,654.25            $57,852.00

                                          TRAVEL DIRECT COSTS

                                                              Treasury                 Ind.
                                           Travel             Schedule    Travel       Rate     Indirect
Traveler/Vendor Name                       Number               Date      Costs        (%)       Costs
BATES, EDWARD                              T2698946          11/13/1991      100.57    34.10%        34.29
                                                                             100.57                $34.29


BLEVINS, JOHN                              T883303           10/18/1991      829.69    34.10%      282.92
                                           T882815           10/29/1991      252.00    34.10%       85.93
                                           T886464           12/20/1991      975.79    34.10%      332.74
                                           T912831           12/23/1991      479.76    34.10%      163.60
                                           T891543           03/24/1992      485.69    34.10%      165.62
                                           T867575           05/07/1992      292.78    34.10%       99.84
                                           T909897           05/07/1992      443.24    34.10%      151.15
                                           T867581           05/19/1992      684.80    34.10%      233.52
                                           T867593           06/23/1992      547.03    34.10%      186.54
                                           T933611           07/30/1992      598.28    34.10%      204.01
                                           610082            08/04/1992       16.00    34.10%        5.46
                                           T950962           09/28/1992      920.74    34.10%      313.97
                                                                            6,525.80             $2,225.30


BRISCOE, NANCY                             T2621198          08/31/1992      247.35    34.10%        84.34
                                                                             247.35                $84.34


FELTER, FRASER                             T831842           10/09/1991      886.98    34.10%      302.46

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                                                        0317
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                                    TRAVEL DIRECT COSTS

                                                       Treasury                Ind.
                                     Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number              Date      Costs       (%)       Costs
FELTER, FRASER                       T886427          12/03/1991     500.40    34.10%      170.63
                                     T444267          03/05/1992     291.74    34.10%       99.49
                                     T867105          06/09/1992     436.12    34.10%      148.72
                                     T867118          06/11/1992     285.30    34.10%       97.29
                                     T867106          06/11/1992     278.39    34.10%       94.93
                                     T867133          08/11/1992     256.99    34.10%       87.63
                                     T867111          08/11/1992     477.38    34.10%      162.79
                                     110108           08/13/1992      51.50    34.10%       17.56
                                                                    3,464.80            $1,181.50


HEDEEN, ROBERTA                      T886310          01/02/1992     721.46    34.10%      246.02
                                                                     721.46               $246.02


JONES, DAVID                         600012           03/27/1992      24.75    34.10%        8.44
                                     T882933          09/01/1992     587.61    34.10%      200.37
                                     T968497          09/22/1992     744.00    34.10%      253.70
                                                                    1,356.36              $462.51


LEWIS, WILLIAM                       T912915          11/12/1991     702.07    34.10%      239.41
                                     T891518          03/05/1992     174.81    34.10%       59.61
                                                                     876.88               $299.02


LINDER, STEVEN                       T882816          10/16/1991     314.58    34.10%      107.27
                                     610015           11/22/1991      50.75    34.10%       17.31
                                     T886462          12/20/1991     211.50    34.10%       72.12
                                     T886466          12/30/1991     811.02    34.10%      276.56
                                     T891544          03/02/1992     195.55    34.10%       66.69
                                     610038           03/06/1992      28.00    34.10%        9.55
                                     T867576          05/12/1992     256.39    34.10%       87.43
                                     610069           05/12/1992      50.00    34.10%       17.05
                                     T867584          05/19/1992     510.95    34.10%      174.24
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                                    TRAVEL DIRECT COSTS

                                                       Treasury                Ind.
                                     Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number              Date      Costs       (%)       Costs
LINDER, STEVEN                       T867585          06/09/1992     229.50    34.10%       78.26
                                     T909751          06/23/1992     358.88    34.10%      122.38
                                     T867595          07/01/1992     412.00    34.10%      140.50
                                     T933610          08/11/1992     472.25    34.10%      161.04
                                     610107           08/18/1992      57.50    34.10%       19.61
                                     T950965          09/10/1992     665.00    34.10%      226.76
                                     T950969          09/15/1992     236.27    34.10%       80.57
                                                                    4,860.14            $1,657.34


OPALSKI, PAMELA L.                   T883302          10/09/1991     460.50    34.10%      157.03
                                     T882910          10/22/1991     171.50    34.10%       58.48
                                     T561094          12/03/1991     393.00    34.10%      134.01
                                     T891541          03/03/1992     440.52    34.10%      150.22
                                     T909445          04/30/1992     308.16    34.10%      105.09
                                     T867574          05/07/1992     249.16    34.10%       84.97
                                     T867582          05/19/1992     507.00    34.10%      172.89
                                     T882924          05/27/1992     207.50    34.10%       70.76
                                     T867591          06/22/1992     147.50    34.10%       50.30
                                     T867594          06/30/1992     426.00    34.10%      145.27
                                     T950966          09/10/1992     743.50    34.10%      253.54
                                     T950967          09/15/1992     273.50    34.10%       93.27
                                                                    4,327.84            $1,475.83


RITTER, GREGORY A.                   T864486          10/28/1991      418.88   34.10%      142.83
                                     T864468          11/19/1991      299.88   34.10%      102.26
                                     9209HV0049       02/10/1992       59.75   34.10%       20.37
                                     T955138          08/11/1992    1,311.96   34.10%      447.38
                                     T969778          09/22/1992      169.19   34.10%       57.69
                                                                    2,259.66              $770.53




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                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
ZELIKSON, JEFFREY                          T933612           07/28/1992            579.87   34.10%      197.73
                                                                                   579.87              $197.73



       Total Fiscal Year 1992 Travel Direct Costs:                              25,320.73            $8,634.41

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
4U2000NDLX       4-648-41202             06/01/1992                    3.99          0.00   34.10%         1.36
                                                                       3.99          0.00                $1.36


68-01-7368       119                     08/21/1992                  358.72        310.82   34.10%      228.31
                                                                     358.72        310.82              $228.31


68-01-7456       99                      11/13/1991                 4,686.54     6,779.78   34.10%    3,910.02
                                                                    4,686.54     6,779.78            $3,910.02


68-03-3482       70                      10/02/1991                 2,226.94         0.00   34.10%      759.39
                 72                      11/04/1991                    10.05         0.00   34.10%        3.43
                 73                      11/08/1991                   479.33         0.00   34.10%      163.45
                 74                      12/09/1991                   324.50         0.00   34.10%      110.65
                 77                      12/30/1991                    10.86         0.00   34.10%        3.70
                 85                      05/07/1992                    56.46         0.00   34.10%       19.25
                 91                      07/29/1992                   420.50         0.00   34.10%      143.39
                                                                    3,528.64         0.00            $1,203.26


68-C8-0062       3-C                     01/09/1992             15,000.00            0.00   34.10%    5,115.00


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                                                        0320
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                                      OTHER DIRECT COSTS
Contract,                             Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher              Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                 Date             Amount               Costs    (%)        Costs
68-C8-0062       12-C                09/15/1992             23,132.14            0.00   34.10%     7,888.06
                                                            38,132.14            0.00            $13,003.06


68-D1-0135       1                   12/11/1991                    65.09        82.32   34.10%        50.27
                 3                   01/10/1992                 4,017.80     5,081.52   34.10%     3,102.87
                 5                   02/07/1992                 8,621.56    10,904.13   34.10%     6,658.26
                 7                   03/06/1992                 2,594.39     3,281.26   34.10%     2,003.60
                 9                   04/09/1992                 1,573.92     1,990.62   34.10%     1,215.51
                 11                  05/07/1992                 2,194.78     2,775.85   34.10%     1,694.98
                 13                  06/08/1992                 4,406.72     5,573.40   34.10%     3,403.22
                 15                  07/14/1992                 2,645.69     3,346.14   34.10%     2,043.21
                 17                  08/13/1992                   688.49       870.77   34.10%       531.71
                                                            26,808.44       33,906.01            $20,703.63


68-D9-0079       134731              10/02/1991                   388.34       114.95   34.10%      171.62
                                                                1,371.16       405.86   34.10%      605.96
                                                                1,759.50       520.81              $777.58


68-D9-0080       92RDS1-93           03/04/1992                 1,744.20       516.28   34.10%      770.82
                                                                1,744.20       516.28              $770.82


68-D9-0135       40                  02/14/1992                 1,755.60       519.66   34.10%      775.86
                 42                  03/20/1992                   680.40       201.40   34.10%      300.69
                 1-52                08/13/1992                   532.35       157.58   34.10%      235.27
                                                                2,968.35       878.64             $1,311.82


68-S2-9006       92-024              08/14/1992                 6,250.00         0.00   34.10%     2,131.25




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                                    OTHER DIRECT COSTS
Contract,                           Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number               Date             Amount               Costs    (%)        Costs
68-S2-9006       92-026            08/31/1992                 6,000.00         0.00   34.10%     2,046.00
                                                          12,250.00            0.00             $4,177.25


68-W0-0001       24                10/10/1991                 1,314.30       516.50   34.10%      624.30
                 25                11/08/1991                 1,761.41       692.21   34.10%      836.68
                 29                01/08/1992                    24.40         9.59   34.10%       11.59
                 28R               01/23/1992                    91.40        35.92   34.10%       43.42
                 31R               02/20/1992                     6.46         2.54   34.10%        3.07
                 33                03/10/1992                    15.13         5.95   34.10%        7.19
                 34                04/13/1992                    16.82         6.61   34.10%        7.99
                 36                06/17/1992                    10.18         4.00   34.10%        4.84
                 38                07/07/1992                    24.83         9.76   34.10%       11.80
                 39                08/04/1992                    65.49        25.74   34.10%       31.11
                                                              3,330.42     1,308.82             $1,581.99


68-W0-0037       12                10/17/1991             33,323.52       34,273.11   34.10%    23,050.45
                 13                11/12/1991             26,348.95       27,099.79   34.10%    18,226.02
                 14                12/12/1991              8,763.28        7,210.40   34.10%     5,447.02
                 15                01/22/1992              5,307.29        4,366.82   34.10%     3,298.87
                 17                02/20/1992             15,306.29       12,593.97   34.10%     9,513.99
                 18                03/26/1992              4,319.61        3,554.16   34.10%     2,684.96
                 19                05/11/1992              3,096.05        2,547.42   34.10%     1,924.42
                 20                06/11/1992              2,175.34        1,789.86   34.10%     1,352.13
                 21                06/30/1992              1,254.28        1,032.02   34.10%       779.63
                 22                07/14/1992                906.22          745.64   34.10%       563.28
                 23                08/21/1992             12,877.09       13,244.04   34.10%     8,907.31
                 24                08/21/1992              1,862.73        1,532.65   34.10%     1,157.82
                 25                09/28/1992                 81.29           66.89   34.10%        50.53
                                                         115,621.94      110,056.77            $76,956.43




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                                                  0322
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                                       OTHER DIRECT COSTS
Contract,                              Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher               Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                  Date             Amount               Costs    (%)        Costs
68-W1-0012       1X-2007-01           02/28/1992                 5,064.26       474.01   34.10%    1,888.55
                                                                 5,064.26       474.01            $1,888.55


68-W9-0008       39                   10/01/1991                   809.29       187.01   34.10%      339.74
                 40                   11/05/1991                 7,402.26     1,710.47   34.10%    3,107.44
                 42                   01/16/1992                   342.47        79.14   34.10%      143.77
                 43                   01/17/1992                   522.29       120.69   34.10%      219.26
                 44                   02/20/1992                   100.76        23.28   34.10%       42.30
                 45                   03/23/1992                 1,436.98       332.05   34.10%      603.24
                 46                   04/09/1992                   157.55        36.41   34.10%       66.14
                 47                   05/01/1992                    76.48        17.67   34.10%       32.11
                 49                   06/10/1992                   104.85        24.23   34.10%       44.02
                 51                   07/22/1992                   144.06        33.29   34.10%       60.48
                 52                   08/20/1992                   601.27       138.94   34.10%      252.41
                                                                    25.60         5.92   34.10%       10.75
                 53                   09/17/1992                   334.62        77.32   34.10%      140.47
                                                             12,058.48        2,786.42            $5,062.13


68-W9-0031       32                   10/07/1991                   15.97          2.06   34.10%        6.15
                 33                   10/07/1991                  773.00         99.72   34.10%      297.60
                 32                   10/07/1991                   33.15          4.28   34.10%       12.76
                 34                   11/05/1991                   11.59          1.50   34.10%        4.46
                 35                   12/04/1991                   26.25          4.23   34.10%       10.39
                 37                   02/03/1992                   11.93          1.92   34.10%        4.72
                 39                   04/10/1992                    3.65          0.59   34.10%        1.45
                 41                   05/05/1992                  430.84         69.42   34.10%      170.59
                                                                 1,306.38       183.72              $508.12


68-W9-0059       27                   10/11/1991             19,326.02        7,373.51   34.10%    9,104.54
                                                             51,144.48       19,513.31   34.10%   24,094.31
                 28                   11/08/1991              5,865.77        2,237.98   34.10%    2,763.38
                                                             49,599.01       18,923.66   34.10%   23,366.23
                                                   Exhibit 4-A
                                                     0323
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                                       EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                      OTHER DIRECT COSTS
Contract,                             Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher              Schedule            Site               Allocation Rate       Indirect
Misc.NO          Number                 Date             Amount                Costs    (%)         Costs
68-W9-0059       29                  12/09/1991              8,227.89         1,774.94   34.10%      3,410.97
                                                            48,563.43        10,476.20   34.10%     20,132.51
                 30                  01/08/1992             11,924.37         2,572.35   34.10%      4,943.38
                                                            19,529.32         4,212.90   34.10%      8,096.10
                                                            90,207.15        19,459.67   34.10%     37,396.39
                 31                  02/05/1992             28,319.96         6,109.24   34.10%     11,740.36
                                                            26,860.39         5,794.38   34.10%     11,135.28
                                                            68,075.63        14,685.41   34.10%     28,221.51
                 31-R                02/19/1992                614.56           132.57   34.10%        254.77
                                                                 2.91             0.63   34.10%          1.21
                 32                  03/10/1992             37,884.90         8,172.61   34.10%     15,705.61
                                                            95,014.28        20,496.67   34.10%     39,389.23
                 33                  04/13/1992             84,743.72        18,281.08   34.10%     35,131.46
                                                            14,928.58         3,220.42   34.10%      6,188.81
                 34                  05/06/1992             25,677.99         5,539.31   34.10%     10,645.10
                                                            23,849.16         5,144.79   34.10%      9,886.94
                 35                  06/03/1992             21,247.63         4,583.58   34.10%      8,808.44
                                                            21,934.54         4,731.76   34.10%      9,093.21
                 36                  07/14/1992             24,049.85         5,188.08   34.10%      9,970.13
                                                            38,435.25         8,291.33   34.10%     15,933.76
                 37                  08/20/1992             28,540.43         6,156.80   34.10%     11,831.76
                                                            12,391.99         2,673.22   34.10%      5,137.24
                 38                  09/16/1992             79,812.81        17,217.38   34.10%     33,087.29
                                                            10,110.44         2,181.04   34.10%      4,191.39
                                                          946,882.46        225,144.82            $399,661.31


68-W9-0060       20376-032           11/08/1991                 -2,425.35      -945.41   34.10%     -1,149.43
                                                                 2,425.35       945.41   34.10%      1,149.43
                                                                -2,458.49      -958.33   34.10%     -1,165.14
                 20376-034           01/21/1992                    600.49       234.07   34.10%        284.58
                                                                -1,858.00      -724.26               $-880.56




                                                  Exhibit 4-A
                                                    0324
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                                      EPA Indirect Costs
                           MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    OTHER DIRECT COSTS
Contract,                           Treasury                          Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site           Allocation Rate      Indirect
Misc.NO          Number               Date             Amount            Costs    (%)        Costs
91091S0128       Q34501            05/29/1992                 41.00         0.00   34.10%        13.98
                                                              41.00         0.00               $13.98


937801           0041              01/07/1992                965.00         0.00   34.10%       329.07
                 0045              02/14/1992             33,489.91         0.00   34.10%    11,420.06
                 0048              03/13/1992              2,758.04         0.00   34.10%       940.49
                 0049              03/23/1992                948.00         0.00   34.10%       323.27
                 0057              05/13/1992             95,408.29         0.00   34.10%    32,534.23
                 0064              06/12/1992                507.88         0.00   34.10%       173.19
                 0067              06/29/1992             35,601.00         0.00   34.10%    12,139.94
                 0068              07/15/1992             23,605.06         0.00   34.10%     8,049.33
                 0072              08/19/1992                271.46         0.00   34.10%        92.57
                 0075              09/18/1992             36,899.00         0.00   34.10%    12,582.56
                                                        230,453.64          0.00            $78,584.71


937802           0031              10/25/1991             45,847.64         0.00   34.10%    15,634.05
                 0033              11/25/1991              7,009.98         0.00   34.10%     2,390.40
                 0041              01/07/1992              2,417.00         0.00   34.10%       824.20
                 0045              02/14/1992             87,679.90         0.00   34.10%    29,898.85
                 0046              03/04/1992             20,758.29         0.00   34.10%     7,078.58
                 0048              03/13/1992             15,752.66         0.00   34.10%     5,371.66
                 0049              03/23/1992              2,620.00         0.00   34.10%       893.42
                 0050              03/25/1992                743.58         0.00   34.10%       253.56
                 0051              04/03/1992                582.47         0.00   34.10%       198.62
                 0052              04/13/1992             20,424.96         0.00   34.10%     6,964.91
                 0057              05/13/1992             45,391.52         0.00   34.10%    15,478.51
                 0059              05/21/1992              1,772.20         0.00   34.10%       604.32
                 0060              05/28/1992              3,514.00         0.00   34.10%     1,198.27
                 0061              05/29/1992              2,483.59         0.00   34.10%       846.90
                 0064              06/12/1992             34,863.21         0.00   34.10%    11,888.35
                 0065              06/19/1992             30,256.14         0.00   34.10%    10,317.34
                 0066              06/23/1992             10,212.48         0.00   34.10%     3,482.46
                 0068              07/15/1992            -23,605.06         0.00   34.10%    -8,049.33
                                                Exhibit 4-A
                                                  0325
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site           Allocation Rate          Indirect
Misc.NO          Number                    Date              Amount            Costs    (%)            Costs
937802           0068                    07/15/1992             24,405.73            0.00   34.10%      8,322.35
                 0070                    08/06/1992             20,765.38            0.00   34.10%      7,080.99
                 0071                    08/13/1992              3,913.00            0.00   34.10%      1,334.33
                 0072                    08/19/1992             19,559.81            0.00   34.10%      6,669.90
                 0076                    09/29/1992             10,552.90            0.00   34.10%      3,598.54
                                                               387,921.38            0.00            $132,281.18


940402           0044                    01/27/1992             35,990.00            0.00   34.10%     12,272.59
                                                                 1,843.49            0.00   34.10%        628.63
                 0050                    03/25/1992                  9.33            0.00   34.10%          3.18
                 0053                    04/23/1992                 51.32            0.00   34.10%         17.50
                 0062                    06/04/1992              1,175.86            0.00   34.10%        400.97
                                                                39,070.00            0.00             $13,322.87



       Total Fiscal Year 1992 Other Direct Costs:            1,832,132.48    382,142.64              $755,067.82

                      Total Fiscal Year 1992:                       2,409,250.10                     $821,554.23


                                         PAYROLL DIRECT COSTS
                                                                                            Ind.
                                          Fiscal       Pay                   Payroll        Rate      Indirect
Employee Name                             Year        Period                 Costs          (%)        Costs
ASAMI, JO                                 1993          18                          84.93   43.01%         36.53
                                                                                    84.93                $36.53


BANDROWSKI, MICHAEL                       1993          05                         145.96   43.01%         62.78
                                                        06                          36.48   43.01%         15.69
                                                        19                         159.18   43.01%         68.46
                                                        20                         198.98   43.01%         85.58



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                                                        0326
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
BANDROWSKI, MICHAEL                  1993       21                    79.58   43.01%       34.23
                                                                     620.18              $266.74


BLEVINS, JOHN                        1993       01                    74.83   43.01%        32.18
                                                02                   336.73   43.01%       144.83
                                                03                   726.87   43.01%       312.62
                                                04                   416.49   43.01%       179.13
                                                05                   514.20   43.01%       221.16
                                                06                 1,175.32   43.01%       505.51
                                                07                   964.94   43.01%       415.02
                                                08                    77.19   43.01%        33.20
                                                09                   480.67   43.01%       206.74
                                                10                   440.61   43.01%       189.51
                                                11                   801.11   43.01%       344.56
                                                12                 3,204.42   43.01%     1,378.22
                                                13                 2,002.77   43.01%       861.39
                                                14                 2,683.70   43.01%     1,154.26
                                                15                   801.11   43.01%       344.56
                                                                   1,682.34   43.01%       723.57
                                                16                 2,883.98   43.01%     1,240.40
                                                17                 3,204.42   43.01%     1,378.22
                                                18                 2,683.70   43.01%     1,154.26
                                                19                 1,522.09   43.01%       654.65
                                                20                 3,204.42   43.01%     1,378.22
                                                21                   720.99   43.01%       310.10
                                                                   2,122.93   43.01%       913.07
                                                22                 1,081.50   43.01%       465.15
                                                                   1,882.59   43.01%       809.71
                                                23                 3,204.42   43.01%     1,378.22
                                                24                   720.99   43.01%       310.10
                                                25                 1,882.60   43.01%       809.70
                                                                     841.15   43.01%       361.78
                                                26                 2,523.49   43.01%     1,085.35
                                                                       0.00   43.01%         0.00
                                              Exhibit 4-A
                                                0327
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
BLEVINS, JOHN                        1993       27                 3,204.42   43.01%     1,378.22
                                                                       0.00   43.01%         0.00
                                                                  48,066.99            $20,673.61


BRUIN, PAULA                         1993       18                   148.61   43.01%       63.92
                                                21                   564.70   43.01%      242.88
                                                22                   297.22   43.01%      127.83
                                                25                   267.48   43.01%      115.04
                                                                   1,278.01              $549.67


CAMPAGNA, PHILIP                     1993       14                   153.27   43.01%        65.92
                                                                     153.27               $65.92


COMPTON, HARRY                       1993       14                   242.74   43.01%      104.40
                                                                     242.74              $104.40


COOKE, WILLIAM                       1993       16                    43.44   43.01%        18.68
                                                23                    86.89   43.01%        37.37
                                                                     130.33               $56.05


COOPER, VIOLA                        1993       13                   175.13   43.01%        75.32
                                                16                   105.07   43.01%        45.19
                                                17                    52.54   43.01%        22.60
                                                18                   169.52   43.01%        72.91
                                                20                    42.38   43.01%        18.23
                                                                     544.64              $234.25


DIEHL, KATHY                         1993       01                   171.09   43.01%       73.59
                                                02                   299.42   43.01%      128.78
                                              Exhibit 4-A
                                                0328
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
DIEHL, KATHY                         1993       15                    60.87   43.01%       26.18
                                                17                   593.44   43.01%      255.24
                                                                   1,124.82              $483.79


ERICKSON, KENNETH J.                 1993       11                    70.11   43.01%       30.15
                                                                      70.11               $30.15


FELTER, FRASER                       1993       02                    52.29   43.01%       22.49
                                                06                   130.72   43.01%       56.22
                                                07                    52.29   43.01%       22.49
                                                09                    81.32   43.01%       34.98
                                                10                    55.94   43.01%       24.06
                                                11                   223.78   43.01%       96.25
                                                14                    62.38   43.01%       26.83
                                                17                   280.73   43.01%      120.74
                                                18                    57.88   43.01%       24.89
                                                19                    83.92   43.01%       36.09
                                                20                   111.90   43.01%       48.13
                                                21                   391.63   43.01%      168.44
                                                22                    83.92   43.01%       36.09
                                                24                    83.92   43.01%       36.09
                                                25                   419.60   43.01%      180.47
                                                                   2,172.22              $934.26


FREITAS, RICHARD                     1993       03                   552.83   43.01%      237.77
                                                05                    55.28   43.01%       23.78
                                                07                   110.56   43.01%       47.55
                                                08                   331.69   43.01%      142.66
                                                10                   459.33   43.01%      197.56
                                                                   1,509.69              $649.32



                                              Exhibit 4-A
                                                0329
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
GREEN, LOIS                          1993       02                    19.60   43.01%            8.43
                                                07                     5.38   43.01%            2.31
                                                14                     6.98   43.01%            3.00
                                                22                    13.94   43.01%            6.00
                                                24                    27.87   43.01%           11.99
                                                                      73.77               $31.73


JOHNSON, ROGER P.                    1993       05                    32.98   43.01%       14.18
                                                                      32.98               $14.18


JONES, DAVID                         1993       01                    88.06   43.01%       37.87
                                                02                   316.64   43.01%      136.19
                                                03                   452.35   43.01%      194.56
                                                04                   316.64   43.01%      136.19
                                                05                   135.70   43.01%       58.36
                                                06                   497.58   43.01%      214.01
                                                07                    90.47   43.01%       38.91
                                                09                    46.91   43.01%       20.18
                                                11                    46.91   43.01%       20.18
                                                12                   469.05   43.01%      201.74
                                                13                   140.71   43.01%       60.52
                                                14                    93.81   43.01%       40.35
                                                15                   140.71   43.01%       60.52
                                                16                   187.62   43.01%       80.70
                                                17                    46.91   43.01%       20.18
                                                18                    93.81   43.01%       40.35
                                                20                   140.71   43.01%       60.52
                                                21                    93.81   43.01%       40.35
                                                22                    93.81   43.01%       40.35
                                                24                    46.91   43.01%       20.18
                                                26                     0.00   43.01%        0.00
                                                                     140.71   43.01%       60.52

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                                                0330
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
JONES, DAVID                         1993       27                    46.91   43.01%       20.18
                                                                   3,726.74             $1,602.91


LAMBER, KURT                         1993       20                   166.13   43.01%       71.45
                                                                     166.13               $71.45


LANEWENNER, CAROLYN                  1993       02                    14.75   43.01%           6.34
                                                                      14.75                $6.34


LEE, BARBARA                         1993       21                   107.98   43.01%       46.44
                                                                     107.98               $46.44


LINDER, STEVEN                       1993       01                   171.05   43.01%       73.57
                                                02                 1,938.67   43.01%      833.82
                                                03                 1,140.40   43.01%      490.49
                                                04                 1,625.07   43.01%      698.94
                                                05                 1,910.15   43.01%      821.56
                                                06                 1,881.66   43.01%      809.30
                                                07                 1,767.62   43.01%      760.25
                                                08                 2,024.21   43.01%      870.61
                                                09                 1,982.59   43.01%      852.71
                                                10                 2,012.19   43.01%      865.44
                                                11                 1,568.32   43.01%      674.53
                                                12                 2,160.15   43.01%      929.08
                                                13                 1,538.72   43.01%      661.80
                                                14                 1,272.40   43.01%      547.26
                                                                  22,993.20             $9,889.36


MARVEL, NANCY                        1993       09                   115.04   43.01%       49.48


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                                                0331
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
MARVEL, NANCY                        1993       14                    57.52   43.01%       24.74
                                                                     172.56               $74.22


MCKINLEY, CHARLES C.                 1993       09                    96.77   43.01%       41.62
                                                14                   145.16   43.01%       62.43
                                                17                    96.77   43.01%       41.62
                                                                     338.70              $145.67


MONTGOMERY, MICHAEL                  1993       20                   645.88   43.01%      277.79
                                                21                   339.94   43.01%      146.21
                                                22                   271.96   43.01%      116.97
                                                24                   475.92   43.01%      204.69
                                                25                 1,189.79   43.01%      511.73
                                                                     883.85   43.01%      380.14
                                                26                 2,209.60   43.01%      950.35
                                                27                 1,869.65   43.01%      804.14
                                                                   7,886.59             $3,392.02


NELSON, DENISE                       1993       17                    54.35   43.01%       23.38
                                                21                   190.20   43.01%       81.81
                                                23                    54.35   43.01%       23.38
                                                27                    27.17   43.01%       11.69
                                                                     326.07              $140.26


OPALSKI, PAMELA L.                   1993       01                   158.02   43.01%       67.96
                                                02                 1,219.07   43.01%      524.32
                                                03                 1,512.55   43.01%      650.55
                                                04                    22.57   43.01%        9.71
                                                                   1,286.79   43.01%      553.45
                                                05                 1,173.91   43.01%      504.90
                                                                      90.30   43.01%       38.84
                                              Exhibit 4-A
                                                0332
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
OPALSKI, PAMELA L.                   1993       06                 1,118.59   43.01%      481.11
                                                                      23.30   43.01%       10.02
                                                07                   792.34   43.01%      340.79
                                                09                    72.55   43.01%       31.20
                                                                   1,257.26   43.01%      540.75
                                                10                 1,450.69   43.01%      623.95
                                                                      48.37   43.01%       20.80
                                                11                 1,668.30   43.01%      717.54
                                                12                 1,499.05   43.01%      644.74
                                                13                 1,837.55   43.01%      790.33
                                                14                 1,716.64   43.01%      738.33
                                                15                 1,644.12   43.01%      707.14
                                                16                 1,644.12   43.01%      707.14
                                                17                 1,716.64   43.01%      738.33
                                                18                 1,716.64   43.01%      738.33
                                                19                 1,967.41   43.01%      846.18
                                                20                   720.46   43.01%      309.87
                                                21                 1,967.40   43.01%      846.18
                                                22                 1,330.07   43.01%      572.06
                                                23                   969.85   43.01%      417.13
                                                24                    83.14   43.01%       35.76
                                                                  30,707.70            $13,207.41


RITTER, GREGORY A.                   1993       01                   434.31   43.01%      186.80
                                                02                 1,628.60   43.01%      700.46
                                                03                 1,375.26   43.01%      591.50
                                                04                 1,700.99   43.01%      731.60
                                                05                 1,339.07   43.01%      575.93
                                                06                 1,085.74   43.01%      466.98
                                                07                   361.92   43.01%      155.66
                                                08                 1,447.65   43.01%      622.63
                                                09                 1,540.47   43.01%      662.56
                                                10                 1,653.18   43.01%      711.03
                                                11                 1,728.33   43.01%      743.35
                                              Exhibit 4-A
                                                0333
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
RITTER, GREGORY A.                   1993       12                 1,014.45   43.01%      436.31
                                                13                 1,690.76   43.01%      727.20
                                                14                 1,991.34   43.01%      856.48
                                                15                 1,803.47   43.01%      775.67
                                                16                 1,465.32   43.01%      630.23
                                                17                 2,179.20   43.01%      937.27
                                                18                 1,502.89   43.01%      646.39
                                                19                   864.16   43.01%      371.68
                                                20                 1,540.47   43.01%      662.56
                                                21                 1,352.60   43.01%      581.75
                                                22                 2,179.20   43.01%      937.27
                                                23                   901.73   43.01%      387.83
                                                24                 1,552.11   43.01%      667.56
                                                25                 1,590.90   43.01%      684.25
                                                26                 1,280.48   43.01%      550.73
                                                27                 1,358.08   43.01%      584.11
                                                                  38,562.68            $16,585.79


SMITH, JULI A.                       1993       08                    50.11   43.01%        21.55
                                                09                   156.20   43.01%        67.18
                                                                     206.31               $88.73


TAPLIN, MELINDA                      1993       05                    34.32   43.01%        14.76
                                                                      34.32               $14.76


TRUJILLO, DIANNA L.                  1993       04                    79.16   43.01%        34.05
                                                05                    79.16   43.01%        34.05
                                                07                    14.39   43.01%         6.19
                                                08                    50.39   43.01%        21.67
                                                                     223.10               $95.96



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                                                0334
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                      Ind.
                                           Fiscal     Pay                Payroll      Rate     Indirect
Employee Name                              Year      Period              Costs        (%)       Costs
VEGA, MARTHA                               1993        02                   113.92    43.01%        49.00
                                                       03                   142.41    43.01%        61.25
                                                       04                   256.33    43.01%       110.25
                                                       05                    85.45    43.01%        36.75
                                                       06                    28.49    43.01%        12.25
                                                       13                    29.60    43.01%        12.73
                                                                            656.20               $282.23


WOOD, DAVID                                1993        21                    28.63    43.01%        12.31
                                                       22                    57.26    43.01%        24.63
                                                       24                    35.79    43.01%        15.39
                                                                            121.68                $52.33


YOUNG, DIANNA                              1993        25                   306.20    43.01%      131.70
                                                                            306.20               $131.70



      Total Fiscal Year 1993 Payroll Direct Costs:                       162,655.59            $69,958.18

                                          TRAVEL DIRECT COSTS

                                                             Treasury                 Ind.
                                           Travel            Schedule    Travel       Rate     Indirect
Traveler/Vendor Name                       Number              Date      Costs        (%)       Costs
BLEVINS, JOHN                              T968503          10/07/1992       426.67   43.01%      183.51
                                           T933627          10/07/1992       481.17   43.01%      206.95
                                           T968473          11/06/1992       979.50   43.01%      421.28
                                           T951071          12/03/1992        78.38   43.01%       33.71
                                           T968491          12/30/1992       533.38   43.01%      229.41
                                           T975983          03/09/1993       950.00   43.01%      408.59
                                           T951073          04/02/1993     1,778.89   43.01%      765.10
                                           T951082          05/04/1993       788.31   43.01%      339.05
                                           T043329          05/14/1993       329.78   43.01%      141.84

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                                                       0335
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    TRAVEL DIRECT COSTS

                                                       Treasury                Ind.
                                     Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number              Date      Costs       (%)       Costs
BLEVINS, JOHN                        T043329          05/14/1993      207.77   43.01%       89.36
                                     T951084          05/24/1993      908.90   43.01%      390.92
                                     T951085          06/03/1993      639.98   43.01%      275.25
                                     T951086          06/03/1993      718.29   43.01%      308.93
                                     T969226          06/24/1993      359.87   43.01%      154.78
                                     T950952          07/26/1993      910.67   43.01%      391.68
                                     T950955          08/23/1993      417.95   43.01%      179.76
                                     T950957          09/02/1993    1,571.36   43.01%      675.84
                                     T969228          09/23/1993      961.31   43.01%      413.45
                                     T969231          09/29/1993      570.15   43.01%      245.22
                                                                   13,612.33            $5,854.63


BRUIN, PAULA                         T866991          11/13/1992     271.00    43.01%      116.56
                                                                     271.00               $116.56


FELTER, FRASER                       T954979          10/29/1992     333.77    43.01%      143.55
                                     T954976          11/06/1992     514.64    43.01%      221.35
                                     T951198          07/01/1993     315.76    43.01%      135.81
                                     T082198          09/28/1993     286.23    43.01%      123.11
                                                                    1,450.40              $623.82


JONES, DAVID                         T909768          10/21/1992     310.18    43.01%      133.41
                                     T975980          01/07/1993     204.48    43.01%       87.95
                                     T660226          07/01/1993     200.89    43.01%       86.40
                                                                     715.55               $307.76


LAMBER, KURT                         T015257          07/15/1993     121.57    43.01%       52.29
                                                                     121.57                $52.29


LINDER, STEVEN                       T968496          10/05/1992     398.50    43.01%      171.39
                                               Exhibit 4-A
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                                    TRAVEL DIRECT COSTS

                                                        Treasury                Ind.
                                     Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number               Date      Costs       (%)       Costs
LINDER, STEVEN                       T968504           10/21/1992     405.00    43.01%      174.19
                                     T968594           12/31/1992     394.00    43.01%      169.46
                                     T975985           01/07/1993     699.00    43.01%      300.64
                                     T980942           03/18/1993     404.00    43.01%      173.76
                                     T980938           03/18/1993     226.83    43.01%       97.56
                                                                     2,527.33            $1,087.00


MONTGOMERY, MICHAEL                  T950956           09/08/1993     200.00    43.01%       86.02
                                                                      200.00                $86.02


OPALSKI, PAMELA L.                   T968502           10/07/1992      367.04   43.01%      157.86
                                     T933626           10/07/1992      410.00   43.01%      176.34
                                     T968998           11/06/1992    1,054.14   43.01%      453.39
                                     T968490           01/07/1993      368.50   43.01%      158.49
                                     T951076           03/18/1993      410.00   43.01%      176.34
                                     T969223           05/25/1993      266.40   43.01%      114.58
                                     T969227           06/18/1993      186.00   43.01%       80.00
                                                                     3,062.08            $1,317.00


RITTER, GREGORY A.                   T969796           10/14/1992     471.50    43.01%      202.79
                                     T885916           11/16/1992     335.27    43.01%      144.20
                                     T867401           12/17/1992     328.00    43.01%      141.08
                                     T444230           02/26/1993     349.00    43.01%      150.10
                                                                     1,483.77              $638.17


TAKATA, KEITH                        T2933670          10/23/1992     130.34    43.01%       56.06
                                                                      130.34                $56.06




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                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
WISE, JOHN C.                              T909988           10/09/1992            293.40   43.01%      126.19
                                                                                   293.40              $126.19


ZELIKSON, JEFFREY                          T968539           10/07/1992            247.07   43.01%      106.26
                                                                                   247.07              $106.26



       Total Fiscal Year 1993 Travel Direct Costs:                              24,114.84            $10,371.76

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-03-3482       98                      12/01/1992                 1,429.52         0.00   43.01%      614.84
                 112                     08/12/1993                 2,282.00         0.00   43.01%      981.49
                                                                    3,711.52         0.00             $1,596.33


68-C8-0062       14-C AWARD FEE          10/10/1992                  820.86          0.00   43.01%      353.05
                                                                     820.86          0.00              $353.05


68-D0-0147       H92-08.7                01/06/1993                 1,099.36       353.99   43.01%      625.09
                                                                    1,099.36       353.99              $625.09


68-D1-0135       21                      10/08/1992                 5,971.91     7,552.98   43.01%     5,817.06
                 23                      11/10/1992                 3,829.21     4,843.00   43.01%     3,729.92
                 25                      12/14/1992                    49.13        62.14   43.01%        47.86
                 29                      01/20/1993                    35.80        45.28   43.01%        34.87
                 31                      03/08/1993                 4,815.45     6,090.35   43.01%     4,690.58
                 33                      03/17/1993                 1,952.39     2,469.29   43.01%     1,901.76
                 35                      04/13/1993                   760.30       961.59   43.01%       740.58

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                                    OTHER DIRECT COSTS
Contract,                           Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site               Allocation Rate       Indirect
Misc.NO          Number               Date             Amount                Costs    (%)         Costs
68-D1-0135       41                06/15/1993                    58.67         74.20    43.01%        57.15
                                                          17,472.86        22,098.83             $17,019.78


68-D9-0135       1-12              12/07/1992                   286.65         92.30    43.01%      162.99
                 1-23              05/05/1993                   392.70        126.45    43.01%      223.29
                                                                679.35        218.75               $386.28


68-W0-0001       41                10/07/1992                      4.63          1.82   43.01%         2.77
                 42                11/17/1992                     -3.27         -1.29   43.01%        -1.96
                                                                  1.36          0.53                 $0.81


68-W0-0037       27                11/25/1992                  3,804.26      3,130.13   43.01%     2,982.48
                 29                12/18/1992                 -3,404.70     -2,801.38   43.01%    -2,669.24
                 28                12/31/1992                  3,404.70      2,801.38   43.01%     2,669.24
                 42                07/23/1993                     84.57         69.58   43.01%        66.30
                 43                08/12/1993                    848.48        698.13   43.01%       665.20
                 45                09/21/1993                  5,510.80      4,534.27   43.01%     4,320.38
                                                          10,248.11         8,432.11              $8,034.36


68-W9-0008       55                10/16/1992                   133.72         30.90    43.01%       70.80
                 56                11/16/1992                   355.89         82.24    43.01%      188.44
                 57                12/11/1992                     5.34          0.99    43.01%        2.72
                 58                01/25/1993                     2.93          0.54    43.01%        1.49
                 59                02/12/1993                     1.54          0.28    43.01%        0.78
                 60                03/25/1993                    -3.60         -0.67    43.01%       -1.84
                                                                495.82        114.28               $262.39


68-W9-0031       52A               03/16/1993                   -99.44        -15.54    43.01%       -49.45



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                                      OTHER DIRECT COSTS
Contract,                             Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher              Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                 Date             Amount               Costs    (%)        Costs
68-W9-0031       52A                 03/16/1993                    -0.21        -0.03   43.01%        -0.10
                                                                  -99.65       -15.57              $-49.55


68-W9-0052       3-591-16            10/08/1992                 3,359.40         0.00   43.01%    1,444.88
                 4-591-04            12/08/1992                   369.12         0.00   43.01%      158.76
                 4-591-06            01/11/1993                   441.66         0.00   43.01%      189.96
                 4-591-07R           02/23/1993                   909.36         0.00   43.01%      391.12
                 4-591-08            03/15/1993                 1,363.65         0.00   43.01%      586.51
                 4-591-09            04/08/1993                   628.80         0.00   43.01%      270.45
                 4-591-10            05/07/1993                   918.13         0.00   43.01%      394.89
                 4-591-11            06/10/1993                 1,029.84         0.00   43.01%      442.93
                 4-591-12            07/06/1993                 1,090.68         0.00   43.01%      469.10
                 4-591-13            08/10/1993                 1,848.09         0.00   43.01%      794.86
                                                            11,958.73            0.00            $5,143.46


68-W9-0059       39                  10/08/1992             25,313.97        5,460.78   43.01%   13,236.22
                                                            12,714.65        2,742.83   43.01%    6,648.26
                 40                  11/12/1992             27,977.28        6,035.31   43.01%   14,628.81
                                                             8,090.98        1,745.40   43.01%    4,230.63
                 41                  12/15/1992              7,788.92        2,153.39   43.01%    4,276.19
                                                             4,949.40        1,368.35   43.01%    2,717.26
                 42                  01/11/1993              3,529.96          975.92   43.01%    1,937.98
                                                             5,730.31        1,584.25   43.01%    3,145.99
                 43                  02/19/1993              7,781.64        2,151.37   43.01%    4,272.19
                                                            20,970.30        5,797.62   43.01%   11,512.88
                 44                  03/22/1993             11,454.77        3,166.88   43.01%    6,288.77
                                                            21,165.08        5,851.47   43.01%   11,619.82
                 45                  04/16/1993              5,321.59        1,471.25   43.01%    2,921.60
                                                            22,581.68        6,243.11   43.01%   12,397.54
                 46                  05/10/1993              9,425.41        2,605.82   43.01%    5,174.63
                                                             8,003.43        2,212.69   43.01%    4,393.95
                 47                  06/14/1993             12,444.57        3,440.53   43.01%    6,832.18
                                                            32,953.37        9,110.55   43.01%   18,091.69
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                                    OTHER DIRECT COSTS
Contract,                           Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site               Allocation Rate       Indirect
Misc.NO          Number               Date             Amount                Costs    (%)         Costs
68-W9-0059       48                07/16/1993             10,861.78         3,002.93   43.01%      5,963.21
                                                          17,573.32         4,858.46   43.01%      9,647.91
                 49                08/11/1993             15,807.67         4,370.31   43.01%      8,678.55
                                                          87,449.24        24,176.92   43.01%     48,010.41
                 50                09/15/1993             60,850.35        16,823.17   43.01%     33,407.38
                                                          17,854.94         4,936.32   43.01%      9,802.52
                                                        458,594.61        122,285.63            $249,836.57


68-W9-0060       49                02/18/1993                 -1,291.22      -194.55   43.01%       -639.03
                                                              -6,413.91      -966.40   43.01%     -3,174.27
                 53                06/16/1993                    -23.25        -3.50   43.01%         -11.51
                                                                 628.87        94.75   43.01%        311.23
                 55                07/14/1993                    476.63        71.82   43.01%        235.89
                                                              -6,622.88      -997.88             $-3,277.69


9209PR0182       Q180714           10/23/1992                   579.69          0.00   43.01%       249.32
                                                                579.69          0.00               $249.32


93093S0047       G195647           08/12/1993                   553.67          0.00   43.01%       238.13
                                                                553.67          0.00               $238.13


9309PR0028       G184506           01/05/1993                   386.46          0.00   43.01%       166.22
                                                                386.46          0.00               $166.22


937802           0078              10/27/1992             10,552.90             0.00   43.01%      4,538.80
                 0079              11/09/1992             59,637.12             0.00   43.01%     25,649.93
                 0080              11/17/1992             10,212.48             0.00   43.01%      4,392.39
                 0081              11/25/1992             10,552.90             0.00   43.01%      4,538.80
                 0083              12/08/1992             14,888.45             0.00   43.01%      6,403.52
                 0082              12/09/1992              3,489.39             0.00   43.01%      1,500.79
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                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate        Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)          Costs
937802           0086                    01/07/1993            10,116.21              0.00   43.01%      4,350.98
                 0089                    02/05/1993             2,078.00              0.00   43.01%        893.75
                 0088                    02/05/1993            10,576.29              0.00   43.01%      4,548.86
                 0090                    02/24/1993            10,212.48              0.00   43.01%      4,392.39
                 0091                    03/08/1993            18,168.95              0.00   43.01%      7,814.47
                 0093                    03/31/1993            10,552.90              0.00   43.01%      4,538.80
                 0094                    04/01/1993            12,731.59              0.00   43.01%      5,475.86
                 0095                    05/05/1993             3,175.43              0.00   43.01%      1,365.75
                                                                6,356.22              0.00   43.01%      2,733.81
                 0097                    05/11/1993             1,700.00              0.00   43.01%        731.17
                 0098                    05/13/1993            11,545.23              0.00   43.01%      4,965.60
                 0100                    06/14/1993               999.00              0.00   43.01%        429.67
                 0102                    06/17/1993             7,560.30              0.00   43.01%      3,251.69
                 0105                    06/30/1993             4,861.38              0.00   43.01%      2,090.88
                                                                2,083.48              0.00   43.01%        896.10
                 0106                    08/13/1993             1,393.00              0.00   43.01%        599.13
                 0107                    08/17/1993           249,419.13              0.00   43.01%    107,275.17
                 0110                    09/23/1993             4,199.80              0.00   43.01%      1,806.33
                                                              477,062.63              0.00            $205,184.64


940402           0085                    12/16/1992                 2,500.00          0.00   43.01%      1,075.25
                                                                    2,500.00          0.00              $1,075.25



       Total Fiscal Year 1993 Other Direct Costs:             979,442.50        152,490.67            $486,844.44

                      Total Fiscal Year 1993:                          1,318,703.60                   $567,174.38




                                                      Exhibit 4-A
                                                        0342
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
ASAMI, JO                            1994       20                    86.18   35.35%       30.46
                                                                      86.18               $30.46


BLEVINS, JOHN                        1994       02                     0.00   35.35%         0.00
                                                                     720.99   35.35%       254.87
                                                03                 2,763.81   35.35%       977.01
                                                04                 1,773.67   35.35%       627.00
                                                                   1,024.79   35.35%       362.26
                                                05                 2,199.52   35.35%       777.53
                                                06                 2,592.28   35.35%       916.37
                                                07                 2,187.58   35.35%       773.31
                                                09                 1,115.62   35.35%       394.37
                                                10                 2,933.66   35.35%     1,037.05
                                                27                   950.34   35.35%       335.95
                                                                  18,262.26             $6,455.72


BRUIN, PAULA                         1994       13                    61.20   35.35%       21.63
                                                                      61.20               $21.63


COOKE, WILLIAM                       1994       07                   267.63   35.35%       94.61
                                                                     267.63               $94.61


COOPER, GAIL                         1994       16                    49.39   35.35%       17.46
                                                                      49.39               $17.46


COOPER, VIOLA                        1994       19                    90.49   35.35%       31.99
                                                20                    22.63   35.35%        8.00
                                                22                    90.49   35.35%       31.99
                                                23                   203.58   35.35%       71.97


                                              Exhibit 4-A
                                                0343
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
COOPER, VIOLA                        1994       24                   135.94   35.35%       48.05
                                                                     543.13              $192.00


FELTER, FRASER                       1994       01                    55.94   35.35%       19.77
                                                02                    55.94   35.35%       19.77
                                                04                   559.46   35.35%      197.77
                                                05                   111.90   35.35%       39.56
                                                07                   111.90   35.35%       39.56
                                                08                    55.94   35.35%       19.77
                                                09                    55.94   35.35%       19.77
                                                13                    57.70   35.35%       20.40
                                                14                    57.70   35.35%       20.40
                                                15                    57.70   35.35%       20.40
                                                                   1,180.12              $417.17


FERGUSON, WENDELL D.                 1994       22                    81.13   35.35%       28.68
                                                                      81.13               $28.68


FONG, YVONNE                         1994       14                    48.34   35.35%       17.09
                                                18                   138.98   35.35%       49.13
                                                                     187.32               $66.22


GREEN, LOIS                          1994       02                    34.85   35.35%       12.32
                                                06                    27.87   35.35%        9.85
                                                08                    41.81   35.35%       14.78
                                                                     104.53               $36.95




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                                                0344
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
JOHNSON, SHARON                      1994       14                    70.95   35.35%       25.08
                                                                      70.95               $25.08


JONES, DAVID                         1994       02                    46.91   35.35%       16.58
                                                04                    96.31   35.35%       34.05
                                                05                    96.31   35.35%       34.05
                                                06                    48.15   35.35%       17.02
                                                07                    96.31   35.35%       34.05
                                                09                    96.31   35.35%       34.05
                                                10                    96.31   35.35%       34.05
                                                12                    48.15   35.35%       17.02
                                                13                   192.61   35.35%       68.09
                                                14                    96.30   35.35%       34.04
                                                15                   240.76   35.35%       85.11
                                                                   1,154.43              $408.11


LEE, BARBARA                         1994       15                    27.86   35.35%        9.85
                                                16                    14.20   35.35%        5.02
                                                17                    62.71   35.35%       22.17
                                                18                    83.59   35.35%       29.55
                                                                     188.36               $66.59


MARVEL, NANCY                        1994       11                    91.72   35.35%       32.42
                                                                      91.72               $32.42


MCKINLEY, CHARLES C.                 1994       02                    92.16   35.35%       32.58
                                                04                    94.91   35.35%       33.55
                                                22                    49.92   35.35%       17.65




                                              Exhibit 4-A
                                                0345
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
MCKINLEY, CHARLES C.                 1994       23                    49.92   35.35%        17.65
                                                                     286.91              $101.43


MONTGOMERY, MICHAEL                  1994       01                   271.96   35.35%       96.14
                                                02                 2,175.61   35.35%      769.08
                                                03                 1,869.67   35.35%      660.93
                                                04                 2,345.57   35.35%      829.16
                                                05                 1,767.68   35.35%      624.87
                                                06                 2,413.57   35.35%      853.20
                                                07                 2,107.62   35.35%      745.04
                                                08                 2,277.59   35.35%      805.13
                                                09                 2,311.59   35.35%      817.15
                                                10                 2,243.60   35.35%      793.11
                                                11                 2,719.51   35.35%      961.35
                                                12                 2,277.59   35.35%      805.13
                                                13                 2,651.53   35.35%      937.32
                                                14                 2,345.57   35.35%      829.16
                                                15                 2,452.52   35.35%      866.97
                                                18                 1,716.77   35.35%      606.88
                                                19                 2,067.13   35.35%      730.73
                                                20                 2,382.45   35.35%      842.20
                                                21                 2,102.16   35.35%      743.11
                                                22                 2,452.52   35.35%      866.97
                                                23                 2,277.34   35.35%      805.04
                                                24                 1,471.51   35.35%      520.18
                                                25                 2,417.48   35.35%      854.58
                                                26                 1,506.55   35.35%      532.57
                                                27                 2,312.37   35.35%      817.42
                                                                  52,937.46            $18,713.42


MOXLEY, BRET                         1994       04                   429.44   35.35%      151.81
                                                05                    85.89   35.35%       30.36
                                                06                 1,059.27   35.35%      374.45
                                              Exhibit 4-A
                                                0346
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
MOXLEY, BRET                         1994       07                 1,002.03   35.35%      354.22
                                                08                 1,592.16   35.35%      562.83
                                                09                 1,661.29   35.35%      587.27
                                                10                 1,782.82   35.35%      630.23
                                                11                 1,623.64   35.35%      573.96
                                                12                 1,273.45   35.35%      450.16
                                                13                 1,209.78   35.35%      427.66
                                                14                 1,209.78   35.35%      427.66
                                                15                 1,528.13   35.35%      540.19
                                                16                 1,337.11   35.35%      472.67
                                                17                 1,368.95   35.35%      483.92
                                                21                 1,050.60   35.35%      371.39
                                                22                 1,400.79   35.35%      495.18
                                                23                 1,337.11   35.35%      472.67
                                                24                   764.06   35.35%      270.10
                                                25                 1,591.80   35.35%      562.70
                                                26                 1,305.28   35.35%      461.42
                                                27                 1,782.83   35.35%      630.23
                                                                  26,396.21             $9,331.08


RITTER, GREGORY A.                   1994       01                   116.41   35.35%       41.15
                                                02                 1,590.90   35.35%      562.38
                                                03                 1,047.67   35.35%      370.35
                                                04                 2,017.73   35.35%      713.27
                                                05                   749.02   35.35%      264.78
                                                06                 1,255.46   35.35%      443.81
                                                07                   388.02   35.35%      137.17
                                                08                   931.26   35.35%      329.20
                                                09                 1,513.30   35.35%      534.95
                                                10                 1,746.12   35.35%      617.25
                                                11                   776.05   35.35%      274.33
                                                12                   426.83   35.35%      150.88
                                                13                   116.41   35.35%       41.15
                                                14                   310.42   35.35%      109.73
                                              Exhibit 4-A
                                                0347
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
RITTER, GREGORY A.                   1994       15                   892.46   35.35%      315.48
                                                16                   504.43   35.35%      178.32
                                                17                 1,047.67   35.35%      370.35
                                                18                   465.63   35.35%      164.60
                                                19                   349.23   35.35%      123.45
                                                20                   970.06   35.35%      342.92
                                                21                   620.84   35.35%      219.47
                                                22                 1,164.07   35.35%      411.50
                                                23                   659.64   35.35%      233.18
                                                24                   200.17   35.35%       70.76
                                                25                   160.13   35.35%       56.61
                                                26                   840.69   35.35%      297.18
                                                27                 1,281.05   35.35%      452.85
                                                                  22,141.67             $7,827.07


SMUCKER, STANFORD                    1994       21                    98.55   35.35%       34.84
                                                22                   328.50   35.35%      116.12
                                                24                    98.55   35.35%       34.84
                                                                     525.60              $185.80


TAKATA, KEITH                        1994       14                    50.02   35.35%       17.68
                                                22                    50.02   35.35%       17.68
                                                27                    50.02   35.35%       17.68
                                                                     150.06               $53.04


VREELAND, JAMES                      1994       17                   794.78   35.35%      280.95
                                                18                   489.10   35.35%      172.90
                                                19                   427.97   35.35%      151.29
                                                20                   733.66   35.35%      259.35
                                                21                   794.79   35.35%      280.96
                                                22                   978.20   35.35%      345.79
                                                24                   152.85   35.35%       54.03
                                              Exhibit 4-A
                                                0348
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                                         PAYROLL DIRECT COSTS
                                                                                Ind.
                                           Fiscal     Pay          Payroll      Rate     Indirect
Employee Name                              Year      Period        Costs        (%)       Costs
VREELAND, JAMES                            1994        25             275.11    35.35%       97.25
                                                       26             427.97    35.35%      151.29
                                                       27             703.08    35.35%      248.54
                                                                     5,777.51             $2,042.35


WISE, JOHN C.                              1994        07               0.00    35.35%        0.00
                                                                      479.67    35.35%      169.56
                                                                      479.67               $169.56


WOLFRAM, MICHAEL                           1994        22              288.63   35.35%      102.03
                                                       23            2,056.48   35.35%      726.97
                                                       24                0.00   35.35%        0.00
                                                                     2,309.04   35.35%      816.25
                                                       25            2,200.79   35.35%      777.98
                                                                         0.00   35.35%        0.00
                                                       26            2,092.56   35.35%      739.72
                                                       27            1,948.25   35.35%      688.71
                                                                    10,895.75             $3,851.66


WOOD, DAVID                                1994        13              59.06    35.35%        20.88
                                                                       59.06                $20.88


ZELIKSON, JEFFREY                          1994        11             488.72    35.35%      172.76
                                                                      488.72               $172.76



      Total Fiscal Year 1994 Payroll Direct Costs:                 142,466.97            $50,362.15




                                                     Exhibit 4-A
                                                       0349
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                                    TRAVEL DIRECT COSTS

                                                       Treasury                Ind.
                                     Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number              Date      Costs       (%)       Costs
BLEVINS, JOHN                        T969242          11/22/1993      511.59   35.35%      180.85
                                     T037482          11/23/1993      441.07   35.35%      155.92
                                     T969235          11/23/1993    1,265.77   35.35%      447.45
                                     T969234          11/30/1993    1,653.72   35.35%      584.59
                                     T024862          12/16/1993      525.29   35.35%      185.69
                                     T024863          12/16/1993      325.14   35.35%      114.94
                                     T969246          12/23/1993    1,830.24   35.35%      646.99
                                     T093654          01/10/1994      581.38   35.35%      205.52
                                     T024864          03/14/1994      628.00   35.35%      222.00
                                                      03/21/1994      115.97   35.35%       41.00
                                     T024868          03/25/1994      407.09   35.35%      143.90
                                     T024867          03/29/1994    2,491.57   35.35%      880.77
                                                                   10,776.83            $3,809.62


BRUIN, PAULA                         T046193          10/19/1993     303.39    35.35%      107.25
                                                                     303.39               $107.25


BURRIS, SONYA J.                     T117402          08/09/1994      50.50    35.35%       17.85
                                                      08/16/1994     103.00    35.35%       36.41
                                                                     153.50                $54.26


FELTER, FRASER                       T098176          12/09/1993       94.20   35.35%       33.30
                                                                       94.20               $33.30


FERGUSON, WENDELL D.                 T117400          08/10/1994       28.50   35.35%       10.07
                                                      08/16/1994       97.00   35.35%       34.29
                                                                     125.50                $44.36


MONTGOMERY, MICHAEL                  T969229          10/26/1993     638.79    35.35%      225.81
                                     T969238          11/01/1993     429.50    35.35%      151.83
                                               Exhibit 4-A
                                                 0350
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                                    TRAVEL DIRECT COSTS

                                                       Treasury                Ind.
                                     Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number              Date      Costs       (%)       Costs
MONTGOMERY, MICHAEL                  T969237          11/08/1993      690.40   35.35%      244.05
                                     T969230          11/23/1993      279.75   35.35%       98.90
                                     T969236          11/23/1993      163.00   35.35%       57.62
                                     T969241          11/30/1993      858.25   35.35%      303.39
                                     T969244          11/30/1993      320.60   35.35%      113.33
                                     T969248          12/07/1993    1,155.82   35.35%      408.58
                                     T969240          12/09/1993      473.72   35.35%      167.46
                                     T093646          12/16/1993      348.93   35.35%      123.35
                                     T093653          01/12/1994      694.42   35.35%      245.48
                                     T093651          01/12/1994      383.00   35.35%      135.39
                                     T024871          02/15/1994      720.99   35.35%      254.87
                                     T098257          03/08/1994      471.72   35.35%      166.75
                                     T093652          03/31/1994      505.87   35.35%      178.83
                                     T093434          04/15/1994    1,480.57   35.35%      523.38
                                     T098260          04/18/1994      433.22   35.35%      153.14
                                     T098262          04/18/1994      829.91   35.35%      293.37
                                     T098258          04/18/1994      407.51   35.35%      144.05
                                     T148747          04/18/1994      850.00   35.35%      300.48
                                     T024870          04/22/1994    2,309.02   35.35%      816.24
                                     T093450          07/20/1994      339.54   35.35%      120.03
                                     T114996          07/20/1994      625.04   35.35%      220.95
                                     T157692          07/20/1994      384.46   35.35%      135.91
                                     T093450          07/20/1994      189.32   35.35%       66.92
                                     T114999          07/20/1994      373.94   35.35%      132.19
                                     T093438          07/28/1994    1,044.55   35.35%      369.25
                                     T117401          09/29/1994      315.37   35.35%      111.48
                                     T117403          09/29/1994      271.77   35.35%       96.07
                                                                   17,988.98            $6,359.10


MOXLEY, BRET                         T037730          01/04/1994     299.97    35.35%      106.04
                                     T979473          01/07/1994     381.44    35.35%      134.84
                                     T114261          01/24/1994     751.40    35.35%      265.62
                                     T093425          03/28/1994     679.24    35.35%      240.11
                                     T148663          03/28/1994     187.80    35.35%       66.39
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                                                 0351
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                                    TRAVEL DIRECT COSTS

                                                       Treasury                Ind.
                                     Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number              Date      Costs       (%)       Costs
MOXLEY, BRET                         T148681          03/28/1994      571.53   35.35%      202.03
                                     T086305          05/06/1994      409.64   35.35%      144.81
                                     T114263          06/21/1994      547.88   35.35%      193.67
                                     T114259          06/21/1994    1,221.16   35.35%      431.68
                                     T148660          07/12/1994      505.40   35.35%      178.66
                                     T148684          07/12/1994      517.66   35.35%      182.99
                                                                    6,073.12            $2,146.84


RITTER, GREGORY A.                   T098122          12/07/1993     402.96    35.35%      142.45
                                     T099884          02/07/1994     344.50    35.35%      121.78
                                     T131898          07/20/1994     378.50    35.35%      133.80
                                                                    1,125.96              $398.03


SMUCKER, STANFORD                    T128635          08/09/1994     177.15    35.35%       62.62
                                                                     177.15                $62.62


VREELAND, JAMES                      T129398          06/03/1994     569.18    35.35%      201.20
                                     T128659          07/18/1994     116.26    35.35%       41.10
                                     T753619          07/25/1994     158.00    35.35%       55.85
                                     T753622          08/16/1994     379.90    35.35%      134.29
                                     T753602          09/01/1994     246.10    35.35%       86.99
                                                                    1,469.44              $519.43


WISE, JOHN C.                        T099846          01/06/1994     331.29    35.35%      117.11
                                                                     331.29               $117.11


WOLFRAM, MICHAEL                     T128623          08/30/1994     309.49    35.35%      109.40
                                     T129024          09/20/1994     322.20    35.35%      113.90



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                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                              Treasury                     Ind.
                                           Travel             Schedule         Travel      Rate      Indirect
Traveler/Vendor Name                       Number               Date           Costs       (%)        Costs
WOLFRAM, MICHAEL                           T129023           09/21/1994           515.52   35.35%       182.23
                                                                                1,147.21               $405.53


YOUNG, DIANNA                              T082201           10/19/1993           203.21   35.35%         71.83
                                                                                  203.21                $71.83


ZELIKSON, JEFFREY                          T148631           03/14/1994           208.43   35.35%         73.68
                                                                                  208.43                $73.68



       Total Fiscal Year 1994 Travel Direct Costs:                             40,178.21             $14,202.96

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                            Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site             Allocation Rate       Indirect
Misc.NO          Number                     Date             Amount              Costs    (%)         Costs
68-01-7251       109                     01/19/1994                 -402.92       -75.80   35.35%       -169.23
                                                                    -402.92       -75.80               $-169.23


68-C0-0047       33                      10/15/1993             53,577.19           0.00   35.35%     18,939.54
                 34                      11/18/1993              6,017.50           0.00   35.35%      2,127.19
                 35                      12/17/1993             67,845.86           0.00   35.35%     23,983.51
                 36                      01/20/1994             72,559.45           0.00   35.35%     25,649.77
                                                                33,359.37           0.00   35.35%     11,792.54
                 37                      02/18/1994             41,702.35           0.00   35.35%     14,741.78
                 38                      03/16/1994             24,938.28           0.00   35.35%      8,815.68
                                                              300,000.00            0.00            $106,050.01




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                                                        0353
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                                      EPA Indirect Costs
                            MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                     OTHER DIRECT COSTS
Contract,                            Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher             Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                Date             Amount               Costs    (%)        Costs
68-W3-0023       19-01              05/20/1994                  207.83          0.00   35.35%       73.47
                                                                207.83          0.00               $73.47


68-W9-0008       69                 10/25/1993                   720.45       133.18   35.35%      301.76
                 70                 11/26/1993                   309.63        57.24   35.35%      129.69
                 71                 01/05/1994                    15.38         2.84   35.35%        6.44
                 72                 01/21/1994                    65.63        12.13   35.35%       27.49
                 74                 02/25/1994                     1.54         0.28   35.35%        0.64
                 75                 03/17/1994                 1,165.09       215.38   35.35%      488.00
                                                               2,277.72       421.05              $954.02


68-W9-0052       4-591-16           01/07/1994                 1,826.67         0.00   35.35%      645.73
                                                               1,826.67         0.00              $645.73


68-W9-0059       51                 10/08/1993             11,351.17        3,138.24   35.35%    5,122.01
                                                              579.63          160.25   35.35%      261.55
                 52                 11/18/1993             26,093.22        7,213.94   35.35%   11,774.08
                                                           27,269.54        7,539.16   35.35%   12,304.88
                 53                 12/17/1993             18,963.68        4,185.83   35.35%    8,183.35
                                                            9,622.51        2,123.97   35.35%    4,152.38
                 54                 01/18/1994             22,317.48        4,926.12   35.35%    9,630.61
                                                            4,689.54        1,035.12   35.35%    2,023.67
                 55                 02/18/1994             25,202.60        5,562.94   35.35%   10,875.62
                                                           15,475.51        3,415.89   35.35%    6,678.11
                 56                 03/15/1994             23,410.18        5,167.31   35.35%   10,102.14
                                                           20,306.69        4,482.28   35.35%    8,762.90
                 57                 04/06/1994             31,737.28        7,005.34   35.35%   13,695.52
                                                           41,498.54        9,159.93   35.35%   17,907.77
                 59                 05/05/1994             13,686.62        3,021.03   35.35%    5,906.15
                                                           45,379.39       10,016.55   35.35%   19,582.46
                 60                 06/07/1994             22,165.97        4,892.67   35.35%    9,565.23
                                                           34,272.31        7,564.89   35.35%   14,789.45
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                                                   0354
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                            OTHER DIRECT COSTS
Contract,                                  Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                   Schedule             Site              Allocation Rate        Indirect
Misc.NO          Number                      Date              Amount               Costs    (%)          Costs
68-W9-0059       61                        07/13/1994            33,797.84          7,460.16   35.35%     14,584.70
                                                                 12,993.37          2,868.01   35.35%      5,607.00
                 62                        08/12/1994            15,593.84          3,442.01   35.35%      6,729.17
                                                                 34,197.83          7,548.45   35.35%     14,757.31
                 63                        09/14/1994            36,687.15          8,097.92   35.35%     15,831.52
                                                                138,380.97         30,544.69   35.35%     59,715.22
                                                                665,672.86        150,572.70            $288,542.80


937802           0111                      10/20/1993                 4,045.26          0.00   35.35%      1,430.00
                 0112                      11/05/1993                 9,714.24          0.00   35.35%      3,433.98
                 0115                      01/06/1994                   543.00          0.00   35.35%        191.95
                                                                  14,302.50             0.00              $5,055.93


940402           0120                      05/04/1994           100,000.00              0.00   35.35%     35,350.00
                                                                  1,183.46              0.00   35.35%        418.35
                 0121                      05/18/1994            10,333.84              0.00   35.35%      3,653.01
                 0124                      08/09/1994            38,139.17              0.00   35.35%     13,482.20
                                                                    697.00              0.00   35.35%        246.39
                                                                  2,443.69              0.00   35.35%        863.84
                 0125                      08/31/1994            21,037.67              0.00   35.35%      7,436.82
                                                                      0.31              0.00   35.35%          0.11
                                                                 12,603.00              0.00   35.35%      4,455.16
                                                                    697.00              0.00   35.35%        246.39
                                                                187,135.14              0.00             $66,152.27



       Total Fiscal Year 1994 Other Direct Costs:             1,171,019.80        150,917.95            $467,305.00

                        Total Fiscal Year 1994:                          1,504,582.93                   $531,870.11




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                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
BRUIN, PAULA                         1995       09                   555.88   27.46%      152.64
                                                16                   138.98   27.46%       38.16
                                                20                   339.70   27.46%       93.28
                                                22                   154.41   27.46%       42.40
                                                27                   123.52   27.46%       33.92
                                                                   1,312.49              $360.40


COOPER, DAVID                        1995       19                    61.43   27.46%       16.87
                                                20                   204.76   27.46%       56.23
                                                                     266.19               $73.10


FELTER, FRASER                       1995       04                    57.02   27.46%       15.66
                                                05                    57.01   27.46%       15.65
                                                07                   114.04   27.46%       31.32
                                                08                   114.04   27.46%       31.32
                                                09                   378.52   27.46%      103.94
                                                10                   116.47   27.46%       31.98
                                                11                   349.41   27.46%       95.95
                                                12                   495.00   27.46%      135.93
                                                13                   232.96   27.46%       63.97
                                                14                    58.23   27.46%       15.99
                                                15                   698.82   27.46%      191.90
                                                16                   116.47   27.46%       31.98
                                                20                   611.47   27.46%      167.91
                                                24                    58.23   27.46%       15.99
                                                25                    58.23   27.46%       15.99
                                                27                   436.76   27.46%      119.93
                                                                   3,952.68             $1,085.41




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                                                0356
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
GREEN, LOIS                          1995       02                    41.87   27.46%           11.50
                                                                      41.87               $11.50


HANAMOTO, WILLIAM                    1995       23                   143.38   27.46%       39.37
                                                24                   645.16   27.46%      177.16
                                                25                   430.10   27.46%      118.11
                                                                   1,218.64              $334.64


HENDRIX, KENNETH                     1995       16                    28.69   27.46%        7.88
                                                19                    57.36   27.46%       15.75
                                                20                    43.02   27.46%       11.81
                                                21                    86.05   27.46%       23.63
                                                22                   100.39   27.46%       27.57
                                                                     315.51               $86.64


HUSBY, PETER                         1995       15                    35.25   27.46%           9.68
                                                16                    17.63   27.46%           4.84
                                                                      52.88               $14.52


JOHNSON, IVRY                        1995       20                    46.81   27.46%       12.85
                                                                      46.81               $12.85


JOHNSON, SHARON                      1995       17                   146.97   27.46%       40.36
                                                22                    36.75   27.46%       10.09
                                                                     183.72               $50.45


LEE, BARBARA                         1995       02                    89.48   27.46%       24.57



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                                                0357
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
LEE, BARBARA                         1995       06                    55.05   27.46%       15.12
                                                                     144.53               $39.69


LOI, DONALD                          1995       23                    22.58   27.46%           6.20
                                                24                    18.83   27.46%           5.17
                                                                      41.41               $11.37


MCKINLEY, CHARLES C.                 1995       12                   100.73   27.46%       27.66
                                                18                    50.37   27.46%       13.83
                                                25                   100.31   27.46%       27.55
                                                26                    95.71   27.46%       26.28
                                                27                    95.70   27.46%       26.28
                                                                     442.82              $121.60


MONTGOMERY, MICHAEL                  1995       02                 1,904.47   27.46%      522.97
                                                03                 2,319.99   27.46%      637.07
                                                04                 1,108.06   27.46%      304.27
                                                05                 1,869.84   27.46%      513.46
                                                06                     0.00   27.46%        0.00
                                                                   2,493.12   27.46%      684.61
                                                07                 2,285.36   27.46%      627.56
                                                08                 1,869.84   27.46%      513.46
                                                09                 2,084.05   27.46%      572.28
                                                10                 2,190.02   27.46%      601.38
                                                11                 1,412.92   27.46%      387.99
                                                                   1,271.63   27.46%      349.19
                                                12                   247.26   27.46%       67.90
                                                                   2,190.01   27.46%      601.38
                                                13                   459.20   27.46%      126.10
                                                                   2,331.31   27.46%      640.18
                                                14                 2,825.83   27.46%      775.97
                                                15                 1,554.20   27.46%      426.78
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                                                0358
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
MONTGOMERY, MICHAEL                  1995       16                 1,271.63   27.46%      349.19
                                                                   1,130.33   27.46%      310.39
                                                17                   918.41   27.46%      252.20
                                                18                 1,730.82   27.46%      475.28
                                                19                   565.17   27.46%      155.20
                                                20                 2,225.35   27.46%      611.08
                                                21                 1,907.43   27.46%      523.78
                                                22                 2,437.27   27.46%      669.27
                                                23                 1,377.59   27.46%      378.29
                                                25                   953.72   27.46%      261.89
                                                26                 1,978.09   27.46%      543.18
                                                27                 2,331.32   27.46%      640.18
                                                                  49,244.24            $13,522.48


MOXLEY, BRET                         1995       02                   692.21   27.46%      190.08
                                                03                 1,730.53   27.46%      475.20
                                                04                 1,101.24   27.46%      302.40
                                                05                   736.18   27.46%      202.16
                                                06                   302.09   27.46%       82.95
                                                07                 1,415.89   27.46%      388.80
                                                09                   881.17   27.46%      241.97
                                                10                 1,380.51   27.46%      379.09
                                                                       0.00   27.46%        0.00
                                                                   8,239.82             $2,262.65


NELSON, DENISE                       1995       25                    56.97   27.46%        15.64
                                                                      56.97               $15.64


PENNINGTON, GREG                     1995       06                     8.04   27.46%           2.21
                                                09                     8.86   27.46%           2.43
                                                10                     4.43   27.46%           1.22

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                                                0359
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
PENNINGTON, GREG                     1995       11                     4.43   27.46%           1.22
                                                                      25.76                $7.08


REDWINE, JENNIFER E.                 1995       15                   142.22   27.46%       39.05
                                                16                   142.22   27.46%       39.05
                                                                     284.44               $78.10


RITTER, GREGORY A.                   1995       02                   554.47   27.46%      152.26
                                                03                 1,305.62   27.46%      358.52
                                                04                   438.90   27.46%      120.52
                                                05                 1,485.95   27.46%      408.04
                                                06                 1,053.52   27.46%      289.30
                                                07                   197.83   27.46%       54.32
                                                08                   276.95   27.46%       76.05
                                                09                   565.04   27.46%      155.16
                                                10                   807.19   27.46%      221.65
                                                11                   847.55   27.46%      232.74
                                                12                 1,008.98   27.46%      277.07
                                                13                   322.88   27.46%       88.66
                                                14                   645.75   27.46%      177.32
                                                15                   928.26   27.46%      254.90
                                                16                   928.26   27.46%      254.90
                                                17                   968.63   27.46%      265.99
                                                18                   645.75   27.46%      177.32
                                                19                   484.31   27.46%      132.99
                                                20                   807.19   27.46%      221.65
                                                21                   605.39   27.46%      166.24
                                                22                   121.09   27.46%       33.25
                                                23                   807.19   27.46%      221.65
                                                24                   726.47   27.46%      199.49
                                                25                   416.00   27.46%      114.23
                                                26                   956.80   27.46%      262.74

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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
RITTER, GREGORY A.                   1995       27                   998.64   27.46%      274.23
                                                                  18,904.61             $5,191.19


SHEN, CATHERINE                      1995       02                    38.51   27.46%       10.57
                                                                      38.51               $10.57


SMUCKER, STANFORD                    1995       03                    97.38   27.46%       26.74
                                                14                   352.43   27.46%       96.78
                                                15                   281.94   27.46%       77.42
                                                16                    70.49   27.46%       19.36
                                                18                    70.49   27.46%       19.36
                                                19                    70.49   27.46%       19.36
                                                20                   317.19   27.46%       87.10
                                                21                   105.73   27.46%       29.03
                                                22                    35.24   27.46%        9.68
                                                23                    52.86   27.46%       14.52
                                                27                   493.40   27.46%      135.49
                                                                   1,947.64              $534.84


TAKATA, KEITH                        1995       02                    50.02   27.46%       13.74
                                                03                    50.02   27.46%       13.74
                                                07                    50.01   27.46%       13.73
                                                08                    50.02   27.46%       13.74
                                                                     200.07               $54.95


VREELAND, JAMES                      1995       03                   816.06   27.46%      224.09
                                                                     816.06              $224.09




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                                                0361
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
WALKER, JUDITH                       1995       09                   209.88   27.46%       57.63
                                                                     209.88               $57.63


WISE, JOHN C.                        1995       13                   258.52   27.46%       70.99
                                                                     258.52               $70.99


WOLFRAM, MICHAEL                     1995       02                 1,569.45   27.46%      430.97
                                                03                 1,926.15   27.46%      528.92
                                                04                 1,747.81   27.46%      479.95
                                                05                 1,783.46   27.46%      489.74
                                                06                 2,247.17   27.46%      617.07
                                                07                 1,248.43   27.46%      342.82
                                                08                   463.70   27.46%      127.33
                                                09                 1,488.23   27.46%      408.67
                                                10                 2,504.58   27.46%      687.76
                                                11                 1,343.04   27.46%      368.80
                                                12                 2,141.61   27.46%      588.09
                                                13                 1,923.80   27.46%      528.28
                                                14                 2,722.37   27.46%      747.56
                                                15                 2,540.89   27.46%      697.73
                                                16                 2,431.99   27.46%      667.82
                                                17                 1,923.81   27.46%      528.28
                                                18                 1,923.82   27.46%      528.28
                                                20                 2,577.18   27.46%      707.69
                                                21                 2,177.89   27.46%      598.05
                                                22                 2,105.31   27.46%      578.12
                                                23                 1,161.54   27.46%      318.96
                                                24                 1,996.40   27.46%      548.21
                                                                  41,948.63            $11,519.10




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                                                0362
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                       Ind.
                                           Fiscal      Pay                Payroll      Rate     Indirect
Employee Name                              Year       Period              Costs        (%)       Costs
YOUNG, DIANNA                              1995         20                    75.75    27.46%        20.80
                                                                              75.75                $20.80


ZELIKSON, JEFFREY                          1995         09                   496.77    27.46%      136.41
                                                                             496.77               $136.41



      Total Fiscal Year 1995 Payroll Direct Costs:                        130,767.22            $35,908.69

                                          TRAVEL DIRECT COSTS

                                                              Treasury                 Ind.
                                           Travel             Schedule    Travel       Rate     Indirect
Traveler/Vendor Name                       Number               Date      Costs        (%)       Costs
BLEVINS, JOHN                              T4129301          10/07/1994     1,077.25   27.46%      295.81
                                                                            1,077.25              $295.81


BRUIN, PAULA                               T4172065          02/06/1995      347.21    27.46%        95.34
                                           T2543308          05/08/1995       90.87    27.46%        24.95
                                           T4210406          07/06/1995      236.46    27.46%        64.93
                                                                             674.54               $185.22


COOPER, DAVID                              T4213981          09/08/1995      260.48    27.46%        71.53
                                                                             260.48                $71.53


FELTER, FRASER                             T2753664          03/13/1995      491.40    27.46%      134.94
                                           T4187563          03/16/1995      482.24    27.46%      132.42
                                           T4187569          03/20/1995       52.25    27.46%       14.35
                                           T4058385          05/25/1995      472.31    27.46%      129.70




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                                                        0363
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    TRAVEL DIRECT COSTS

                                                        Treasury                Ind.
                                     Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number               Date      Costs       (%)       Costs
FELTER, FRASER                       T4210801          08/15/1995     476.78    27.46%      130.92
                                                                     1,974.98              $542.33


MONTGOMERY, MICHAEL                  T4158083          10/27/1994      204.31   27.46%       56.10
                                     T4129241          11/07/1994      726.93   27.46%      199.61
                                     T4129248          11/07/1994      661.74   27.46%      181.71
                                     T4060033          01/13/1995      373.97   27.46%      102.69
                                     T4060022          02/10/1995      484.53   27.46%      133.05
                                     T4060032          02/13/1995    1,286.07   27.46%      353.15
                                     T4189496          03/23/1995      552.60   27.46%      151.74
                                     T4130816          03/28/1995      368.61   27.46%      101.22
                                     T4189492          03/28/1995    1,595.54   27.46%      438.14
                                     T4189482          03/28/1995      378.24   27.46%      103.86
                                     T4189481          03/28/1995      664.96   27.46%      182.60
                                     T4060011          03/28/1995      699.60   27.46%      192.11
                                     T4215950          05/12/1995      328.24   27.46%       90.13
                                     T4114223          05/12/1995      926.19   27.46%      254.33
                                     T4189504          05/12/1995    1,494.77   27.46%      410.46
                                     T4215962          07/10/1995      663.00   27.46%      182.06
                                     T4215984          07/10/1995      615.83   27.46%      169.11
                                     T4215983          08/14/1995      371.69   27.46%      102.07
                                     T4210572          08/15/1995      536.85   27.46%      147.42
                                     T4215961          08/15/1995      693.75   27.46%      190.50
                                     T4189505          08/23/1995    2,216.27   27.46%      608.59
                                     T4187654          09/06/1995    1,231.01   27.46%      338.04
                                     T4210575          09/07/1995      546.00   27.46%      149.93
                                                                    17,620.70            $4,838.62


MOXLEY, BRET                         T4129243          11/25/1994     732.18    27.46%      201.06
                                     T4158069          11/25/1994     384.40    27.46%      105.56
                                     T4128624          11/25/1994     158.00    27.46%       43.39
                                     T4129017          11/25/1994     146.50    27.46%       40.23
                                     T4129227          11/25/1994     196.65    27.46%       54.00
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                                                  0364
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    TRAVEL DIRECT COSTS

                                                        Treasury                Ind.
                                     Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number               Date      Costs       (%)       Costs
MOXLEY, BRET                         T4058304          11/25/1994      217.48   27.46%       59.72
                                     T4100161          11/25/1994      331.38   27.46%       91.00
                                     T4157676          11/25/1994      535.83   27.46%      147.14
                                     T4158091          06/21/1995      596.81   27.46%      163.88
                                     T4130756          07/17/1995    1,298.82   27.46%      356.66
                                     T4060029          09/01/1995      693.88   27.46%      190.54
                                     T4060030          09/01/1995      197.62   27.46%       54.27
                                                                     5,489.55            $1,507.45


RITTER, GREGORY A.                   T4158166          10/12/1994     308.50    27.46%       84.71
                                     T4130470          11/10/1994     236.44    27.46%       64.93
                                     T4172096          12/23/1994     314.46    27.46%       86.35
                                     T4216356          05/10/1995     352.46    27.46%       96.79
                                     T4216367          07/05/1995     352.66    27.46%       96.84
                                     T4215075          08/15/1995     197.00    27.46%       54.10
                                                                     1,761.52              $483.72


VREELAND, JAMES                      T2753610          10/07/1994     181.15    27.46%       49.74
                                     T4058402          11/18/1994     666.68    27.46%      183.07
                                                                      847.83               $232.81


WALKER, JUDITH                       T4157699          01/27/1995     193.52    27.46%       53.14
                                                                      193.52                $53.14


WISE, JOHN C.                        T4187934          03/28/1995       97.00   27.46%       26.64
                                                                        97.00               $26.64


WOLFRAM, MICHAEL                     T4158068          10/21/1994     177.01    27.46%       48.61
                                     T4158087          11/07/1994     163.76    27.46%       44.97
                                     T4060036          12/27/1994     832.11    27.46%      228.50
                                                Exhibit 4-A
                                                  0365
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
WOLFRAM, MICHAEL                           T4060008          01/10/1995            687.76   27.46%      188.86
                                           T4189488          02/09/1995            523.20   27.46%      143.67
                                           T4189500          03/02/1995            520.02   27.46%      142.80
                                           T4187640          03/21/1995          1,469.45   27.46%      403.51
                                           T4189502          04/04/1995            553.40   27.46%      151.96
                                           T4187646          04/18/1995            303.15   27.46%       83.24
                                           T4187645          04/18/1995            278.37   27.46%       76.44
                                           T4129238          04/28/1995          1,217.29   27.46%      334.27
                                           T4187657          06/07/1995            638.77   27.46%      175.41
                                           T4215964          06/15/1995            448.78   27.46%      123.23
                                           T4210569          07/06/1995            496.87   27.46%      136.44
                                           T4210507          08/22/1995            330.44   27.46%       90.74
                                           T4183491          08/29/1995            338.09   27.46%       92.84
                                                                                 8,978.47             $2,465.49


ZELIKSON, JEFFREY                          T4059804          02/14/1995            299.81   27.46%        82.33
                                                                                   299.81               $82.33



       Total Fiscal Year 1995 Travel Direct Costs:                              39,275.65            $10,785.09

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-02-4284       3758-CR                 09/29/1995                 8,077.79         0.00   27.46%     2,218.16
                                                                    8,077.79         0.00             $2,218.16


68-D1-0135       92                      03/28/1995                 3,183.40     4,026.21   27.46%     1,979.76
                 100                     06/13/1995                 9,947.35    12,580.92   27.46%     6,186.26
                 102                     07/12/1995                 6,401.97     8,096.90   27.46%     3,981.39
                 104                     08/23/1995                 2,238.95     2,831.71   27.46%     1,392.40

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                                                        0366
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                     OTHER DIRECT COSTS
Contract,                            Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher             Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                Date             Amount               Costs    (%)        Costs
68-D1-0135       107                09/14/1995                  886.43      1,121.11   27.46%      551.27
                                                           22,658.10       28,656.85            $14,091.08


68-W0-0001       79                 08/24/1995                    -0.20        -0.15   27.46%        -0.10
                                                                  -0.20        -0.15                $-0.10


68-W0-0037       62                 10/18/1994                   -7.36         -6.06   27.46%        -3.69
                 64                 09/14/1995                   40.40         33.24   27.46%        20.22
                                                                 33.04         27.18               $16.53


68-W4-0028       456-4-04           01/20/1995                   991.60         0.00   27.46%      272.29
                 517-01             02/16/1995                   138.56         0.00   27.46%       38.05
                 518-01             02/16/1995                 1,022.27         0.00   27.46%      280.72
                 517-02             02/17/1995                    69.28         0.00   27.46%       19.02
                 518-02             02/17/1995                 1,027.89         0.00   27.46%      282.26
                 517-03             02/23/1995                    92.69         0.00   27.46%       25.45
                 456-4-05           02/23/1995                   216.10         0.00   27.46%       59.34
                 518-03             02/23/1995                   521.13         0.00   27.46%      143.10
                 518-04             04/14/1995                   148.35         0.00   27.46%       40.74
                 518-05             04/14/1995                   182.94         0.00   27.46%       50.24
                 517-05             04/14/1995                   121.83         0.00   27.46%       33.45
                 517-07             05/16/1995                    64.98         0.00   27.46%       17.84
                 517-08             06/20/1995                   166.27         0.00   27.46%       45.66
                 517-09             07/07/1995                    27.71         0.00   27.46%        7.61
                 518-10             09/07/1995                    32.81         0.00   27.46%        9.01
                                                               4,824.41         0.00             $1,324.78


68-W9-0008       83                 07/14/1995                    11.04         2.04   27.46%         3.59
                                                                  11.04         2.04                $3.59



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                                                   0367
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    OTHER DIRECT COSTS
Contract,                           Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site            Allocation Rate       Indirect
Misc.NO          Number               Date             Amount             Costs    (%)         Costs
68-W9-0059       64                10/12/1994             46,042.63     10,162.94   27.46%     15,434.05
                                                          31,866.28      7,033.81   27.46%     10,681.96
                 65                11/10/1994             32,456.80      7,164.16   27.46%     10,879.92
                                                          44,242.46      9,765.59   27.46%     14,830.61
                 67                12/06/1994             27,902.29      6,030.30   27.46%      9,317.89
                 69                12/06/1994              7,701.39      1,699.92   27.46%      2,581.60
                 68                12/06/1994             15,075.63      4,167.93   27.46%      5,284.28
                 69                12/06/1994             -5,127.37     -1,131.76   27.46%     -1,718.76
                 68                12/06/1994             10,096.03      2,791.23   27.46%      3,538.84
                 67                12/06/1994              2,713.97        586.55   27.46%        906.32
                 70                12/12/1994             18,937.54      2,944.94   27.46%      6,008.93
                                                          34,300.29      5,333.97   27.46%     10,883.57
                                                          10,205.50      1,587.04   27.46%      3,238.23
                 71                01/23/1995             18,167.74      2,254.56   27.46%      5,607.96
                                                          36,374.21      4,513.93   27.46%     11,227.88
                 72                02/21/1995             40,799.16      6,344.60   27.46%     12,945.68
                                                          16,617.01      2,584.08   27.46%      5,272.62
                 73                03/14/1995              8,223.26      1,278.78   27.46%      2,609.26
                                                          53,479.39      8,316.47   27.46%     16,969.14
                 74                04/11/1995             56,003.99      8,709.07   27.46%     17,770.21
                                                          11,592.98      1,802.80   27.46%      3,678.48
                 75                05/12/1995             63,628.18      9,894.69   27.46%     20,189.38
                                                          10,191.93      1,584.93   27.46%      3,233.93
                 76                06/12/1995             93,846.68     14,593.91   27.46%     29,777.79
                                                          15,920.18      2,475.72   27.46%      5,051.51
                 77                07/11/1995             34,274.65      5,329.98   27.46%     10,875.43
                                                          13,007.23      2,022.73   27.46%      4,127.23
                 78                08/09/1995             58,583.86      9,110.26   27.46%     18,588.81
                                                          21,179.59      3,293.60   27.46%      6,720.34
                 79                09/14/1995             50,018.01      7,778.20   27.46%     15,870.84
                                                          46,006.78      7,154.42   27.46%     14,598.07
                                                        924,328.27     157,179.35            $296,982.00


68-W9-0060       79                02/14/1995                 920.79       240.50   27.46%       318.89
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                                                  0368
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate          Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)            Costs
68-W9-0060       79                      02/14/1995                 2,520.88          658.43   27.46%       873.04
                                                                    3,441.67          898.93              $1,191.93


940402           0128                    11/17/1994                  412.31             0.00   27.46%        113.22
                                                                     412.31             0.00                $113.22


940403           0128                    11/17/1994             38,057.51               0.00   27.46%     10,450.59
                 0131                    01/18/1995             14,386.33               0.00   27.46%      3,950.49
                 0132                    02/10/1995             23,683.45               0.00   27.46%      6,503.48
                 0134                    03/22/1995              6,012.62               0.00   27.46%      1,651.07
                 0135                    05/09/1995              5,703.32               0.00   27.46%      1,566.13
                 0136                    05/18/1995             17,679.75               0.00   27.46%      4,854.86
                 0137                    06/13/1995              4,673.19               0.00   27.46%      1,283.26
                 0139                    07/11/1995              6,412.05               0.00   27.46%      1,760.75
                 0140                    08/23/1995             19,087.96               0.00   27.46%      5,241.55
                                                               135,696.18               0.00             $37,262.18



       Total Fiscal Year 1995 Other Direct Costs:            1,099,482.61       186,764.20              $353,203.37

                      Total Fiscal Year 1995:                          1,456,289.68                     $399,897.15


                                         PAYROLL DIRECT COSTS
                                                                                               Ind.
                                          Fiscal       Pay                      Payroll        Rate      Indirect
Employee Name                             Year        Period                    Costs          (%)        Costs
ASAMI, JO                                 1996          04                        1,032.07     30.78%       317.67
                                                        05                          430.04     30.78%       132.37
                                                        06                          836.75     30.78%       257.55
                                                        07                           90.46     30.78%        27.84
                                                        08                        1,115.35     30.78%       343.30
                                                        09                        1,278.00     30.78%       393.37
                                                      Exhibit 4-A
                                                        0369
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
ASAMI, JO                            1996       10                   929.46   30.78%      286.09
                                                11                   418.25   30.78%      128.74
                                                12                   302.08   30.78%       92.98
                                                13                   395.03   30.78%      121.59
                                                14                   464.74   30.78%      143.05
                                                15                   999.18   30.78%      307.55
                                                16                 1,417.43   30.78%      436.28
                                                17                 1,324.48   30.78%      407.67
                                                18                   882.98   30.78%      271.78
                                                19                 1,115.35   30.78%      343.30
                                                20                   859.75   30.78%      264.63
                                                21                   325.31   30.78%      100.13
                                                22                   627.38   30.78%      193.11
                                                24                    46.48   30.78%       14.31
                                                                  14,890.57             $4,583.31


BOTTS, STEPHEN                       1996       18                    83.55   30.78%       25.72
                                                                      83.55               $25.72


BRUIN, PAULA                         1996       12                   293.82   30.78%       90.44
                                                23                   326.48   30.78%      100.49
                                                24                   718.23   30.78%      221.07
                                                                   1,338.53              $412.00


CHAN, ELAINE                         1996       06                    21.77   30.78%         6.70
                                                17                    11.17   30.78%         3.44
                                                                      32.94               $10.14


COLLINS, PATTI                       1996       16                   435.77   30.78%      134.13
                                                17                 1,307.29   30.78%      402.38
                                                18                 1,597.82   30.78%      491.81
                                              Exhibit 4-A
                                                0370
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                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
COLLINS, PATTI                       1996       19                 1,706.75   30.78%      525.34
                                                20                 1,779.38   30.78%      547.69
                                                21                 1,634.12   30.78%      502.98
                                                22                 1,343.61   30.78%      413.56
                                                23                 1,743.07   30.78%      536.52
                                                24                 2,541.98   30.78%      782.42
                                                25                 1,888.33   30.78%      581.23
                                                26                 2,251.46   30.78%      693.00
                                                27                   290.51   30.78%       89.42
                                                                  18,520.09             $5,700.48


COOPER, DAVID                        1996       13                    53.93   30.78%       16.60
                                                18                    96.81   30.78%       29.80
                                                20                    48.39   30.78%       14.89
                                                22                    36.52   30.78%       11.24
                                                23                    60.86   30.78%       18.73
                                                24                    48.68   30.78%       14.98
                                                25                    24.34   30.78%        7.49
                                                26                    12.18   30.78%        3.75
                                                                     381.71              $117.48


FELTER, FRASER                       1996       01                   174.71   30.78%       53.78
                                                05                   116.47   30.78%       35.85
                                                06                   203.83   30.78%       62.74
                                                07                    29.11   30.78%        8.96
                                                09                   184.99   30.78%       56.94
                                                10                   647.49   30.78%      199.30
                                                11                    92.50   30.78%       28.47
                                                12                   493.32   30.78%      151.84
                                                13                   184.99   30.78%       56.94
                                                14                    61.67   30.78%       18.98
                                                15                   123.32   30.78%       37.96
                                                17                    30.84   30.78%        9.49
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
FELTER, FRASER                       1996       18                   123.32   30.78%       37.96
                                                19                    61.67   30.78%       18.98
                                                20                   123.32   30.78%       37.96
                                                21                   770.81   30.78%      237.26
                                                22                   154.16   30.78%       47.45
                                                23                    92.50   30.78%       28.47
                                                24                    61.67   30.78%       18.98
                                                                   3,730.69             $1,148.31


FONG, YVONNE                         1996       16                   968.27   30.78%      298.03
                                                17                   523.39   30.78%      161.10
                                                19                   327.12   30.78%      100.69
                                                20                    71.98   30.78%       22.16
                                                                   1,890.76              $581.98


HANAMOTO, WILLIAM                    1996       16                   343.04   30.78%      105.59
                                                                     343.04              $105.59


JOHNSON, SHARON                      1996       16                   297.39   30.78%       91.54
                                                17                    86.56   30.78%       26.64
                                                22                    43.28   30.78%       13.32
                                                                     427.23              $131.50


KEENER, WILLIAM                      1996       02                    84.94   30.78%       26.14
                                                04                   121.12   30.78%       37.28
                                                12                    43.32   30.78%       13.33
                                                                     249.38               $76.75




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                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
KEMMERER, JOHN                       1996       13                    43.76    30.78%       13.47
                                                                      43.76                $13.47


KLEIN, ROGER M.                      1996       22                    80.59    30.78%       24.81
                                                23                    81.16    30.78%       24.98
                                                24                    81.38    30.78%       25.05
                                                25                    41.55    30.78%       12.79
                                                                     284.68                $87.63


LAU, NATHAN                          1996       08                    40.03    30.78%       12.32
                                                15                    40.03    30.78%       12.32
                                                17                    40.03    30.78%       12.32
                                                19                   140.10    30.78%       43.12
                                                22                    20.02    30.78%        6.16
                                                                     280.21                $86.24


LEE, BARBARA                         1996       12                    45.92    30.78%       14.13
                                                13                   214.29    30.78%       65.96
                                                14                   298.47    30.78%       91.87
                                                15                   260.21    30.78%       80.09
                                                17                    22.97    30.78%        7.07
                                                18                   114.82    30.78%       35.34
                                                19                    53.59    30.78%       16.50
                                                20                    45.92    30.78%       14.13
                                                21                    45.92    30.78%       14.13
                                                                    1,102.11              $339.22


LINDSAY, NANCY                       1996       13                    49.95    30.78%       15.37
                                                16                    49.95    30.78%       15.37



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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
LINDSAY, NANCY                       1996       19                   149.86    30.78%       46.13
                                                                     249.76                $76.87


LOI, DONALD                          1996       11                    12.40    30.78%        3.82
                                                12                    12.40    30.78%        3.82
                                                17                    95.05    30.78%       29.26
                                                18                    49.58    30.78%       15.26
                                                19                    16.53    30.78%        5.09
                                                20                     8.27    30.78%        2.55
                                                21                     4.13    30.78%        1.27
                                                                     198.36                $61.07


MA, LINDA                            1996       25                    60.86    30.78%       18.73
                                                                      60.86                $18.73


MCKINLEY, CHARLES C.                 1996       09                   106.55    30.78%       32.80
                                                11                    53.27    30.78%       16.40
                                                12                    53.27    30.78%       16.40
                                                15                    53.27    30.78%       16.40
                                                16                   159.82    30.78%       49.19
                                                18                    79.92    30.78%       24.60
                                                19                   159.82    30.78%       49.19
                                                22                    26.64    30.78%        8.20
                                                                     692.56               $213.18


MONTGOMERY, MICHAEL                  1996       01                    282.58   30.78%       86.98
                                                                      777.10   30.78%      239.19
                                                02                    317.90   30.78%       97.85
                                                                    1,589.54   30.78%      489.26
                                                03                    600.49   30.78%      184.83
                                                                    1,271.63   30.78%      391.41
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                                                0374
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
MONTGOMERY, MICHAEL                  1996       04                    459.20   30.78%      141.34
                                                                      388.55   30.78%      119.60
                                                05                    812.43   30.78%      250.07
                                                                    1,518.88   30.78%      467.51
                                                06                    953.72   30.78%      293.56
                                                07                    176.62   30.78%       54.36
                                                                      247.27   30.78%       76.11
                                                08                    290.27   30.78%       89.35
                                                                      435.42   30.78%      134.02
                                                09                    544.26   30.78%      167.52
                                                                      181.42   30.78%       55.84
                                                                      798.26   30.78%      245.70
                                                                       72.58   30.78%       22.34
                                                                      761.97   30.78%      234.53
                                                10                    290.27   30.78%       89.35
                                                                    1,233.66   30.78%      379.72
                                                                      181.42   30.78%       55.84
                                                                      253.99   30.78%       78.18
                                                                      507.97   30.78%      156.35
                                                11                    326.55   30.78%      100.51
                                                                       72.57   30.78%       22.34
                                                                      253.99   30.78%       78.18
                                                                      471.70   30.78%      145.19
                                                                      653.12   30.78%      201.03
                                                12                  1,124.82   30.78%      346.22
                                                                      399.13   30.78%      122.85
                                                                      217.70   30.78%       67.01
                                                                      290.27   30.78%       89.35
                                                13                    435.42   30.78%      134.02
                                                                      290.27   30.78%       89.35
                                                                      907.11   30.78%      279.21
                                                                      290.27   30.78%       89.35
                                                14                  1,158.28   30.78%      356.52
                                                                       37.37   30.78%       11.50

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                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
MONTGOMERY, MICHAEL                  1996       14                    448.37   30.78%      138.01
                                                15                  1,307.74   30.78%      402.52
                                                                      112.10   30.78%       34.50
                                                                      336.28   30.78%      103.51
                                                16                    149.46   30.78%       46.00
                                                                      186.82   30.78%       57.50
                                                                    1,046.18   30.78%      322.01
                                                17                    747.28   30.78%      230.01
                                                19                    261.55   30.78%       80.51
                                                                       37.37   30.78%       11.50
                                                20                    411.00   30.78%      126.51
                                                                      112.10   30.78%       34.50
                                                21                    448.37   30.78%      138.01
                                                                  27,480.59             $8,458.53


NELSON, DENISE                       1996       02                    56.97    30.78%       17.54
                                                09                    58.52    30.78%       18.01
                                                12                    29.26    30.78%        9.01
                                                                     144.75                $44.56


PENNINGTON, GREG                     1996       16                    14.02    30.78%           4.32
                                                                      14.02                 $4.32


RITTER, GREGORY A.                   1996       02                   790.40    30.78%      243.29
                                                                     790.40               $243.29


SEMONES, VICKY M.                    1996       22                   117.28    30.78%       36.10
                                                23                   527.72    30.78%      162.43
                                                24                   674.29    30.78%      207.55
                                                25                   293.18    30.78%       90.24

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                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
SEMONES, VICKY M.                    1996       26                    87.96    30.78%        27.07
                                                                    1,700.43              $523.39


SMUCKER, STANFORD                    1996       01                    70.49    30.78%        21.70
                                                02                   140.97    30.78%        43.39
                                                05                    70.49    30.78%        21.70
                                                21                    36.20    30.78%        11.14
                                                                     318.15                $97.93


SWANN, VERONICA                      1996       27                    44.21    30.78%        13.61
                                                                      44.21                $13.61


SWARTHOUT, BRIAN H.                  1996       05                  1,009.03   30.78%      310.58
                                                06                  2,306.39   30.78%      709.91
                                                07                  2,306.38   30.78%      709.90
                                                08                  2,368.03   30.78%      728.88
                                                09                  2,368.03   30.78%      728.88
                                                10                  2,368.03   30.78%      728.88
                                                11                  2,101.62   30.78%      646.88
                                                12                  2,368.03   30.78%      728.88
                                                13                  2,440.63   30.78%      751.23
                                                14                  2,440.64   30.78%      751.23
                                                15                  2,440.63   30.78%      751.23
                                                16                  2,440.64   30.78%      751.23
                                                17                  2,440.64   30.78%      751.23
                                                18                  2,440.63   30.78%      751.23
                                                20                  1,843.21   30.78%      567.34
                                                                  33,682.56             $10,367.51


VEGA, MARTHA                         1996       12                   123.27    30.78%        37.94
                                                14                   369.80    30.78%       113.82
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                                         PAYROLL DIRECT COSTS
                                                                                       Ind.
                                           Fiscal      Pay                Payroll      Rate     Indirect
Employee Name                              Year       Period              Costs        (%)       Costs
VEGA, MARTHA                               1996         18                    61.63    30.78%        18.97
                                                        19                    61.62    30.78%        18.97
                                                                             616.32               $189.70


WALKER, JUDITH                             1996         23                    61.73    30.78%        19.00
                                                                              61.73                $19.00


WOOD, DAVID                                1996         14                    51.29    30.78%        15.79
                                                                              51.29                $15.79


YOUNG, DIANNA                              1996         13                    80.38    30.78%        24.74
                                                                              80.38                $24.74



      Total Fiscal Year 1996 Payroll Direct Costs:                        109,785.62            $33,792.04

                                          TRAVEL DIRECT COSTS

                                                              Treasury                 Ind.
                                           Travel             Schedule    Travel       Rate     Indirect
Traveler/Vendor Name                       Number               Date      Costs        (%)       Costs
ASAMI, JO                                  T4336860          07/02/1996       118.60   30.78%        36.51
                                                                              118.60               $36.51


COLLINS, PATTI                             T4321933          06/21/1996       240.78   30.78%       74.11
                                           T4183486          06/27/1996       499.11   30.78%      153.63
                                           T4340972          07/19/1996       635.66   30.78%      195.66
                                           T4340900          08/07/1996       917.66   30.78%      282.46
                                           T4340888          09/19/1996     1,388.99   30.78%      427.53
                                                                            3,682.20             $1,133.39


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                                    TRAVEL DIRECT COSTS

                                                        Treasury                Ind.
                                     Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number               Date      Costs       (%)       Costs
FELTER, FRASER                       T4321771          02/21/1996     485.18    30.78%      149.34
                                     T4301767          04/04/1996     311.95    30.78%       96.02
                                     T4215085          07/25/1996     805.50    30.78%      247.93
                                                                     1,602.63              $493.29


MONTGOMERY, MICHAEL                  T4117389          10/18/1995     261.41    30.78%       80.46
                                     T4183505          10/30/1995     540.68    30.78%      166.42
                                     T4210532          11/30/1995     478.93    30.78%      147.41
                                     T4210528          12/19/1995     374.79    30.78%      115.36
                                     T4322203          02/23/1996     498.00    30.78%      153.28
                                     T4183503          03/11/1996     538.05    30.78%      165.61
                                     T4322209          03/25/1996     497.40    30.78%      153.10
                                     T4301784          04/23/1996     328.07    30.78%      100.98
                                     T4321931          04/30/1996     366.06    30.78%      112.67
                                     T4301800          05/21/1996     179.22    30.78%       55.16
                                     T4057969          08/22/1996     411.47    30.78%      126.65
                                                                     4,474.08            $1,377.10


SEMONES, VICKY M.                    T4337110          09/17/1996     522.15    30.78%      160.72
                                                                      522.15               $160.72


SWARTHOUT, BRIAN H.                  T4210531          01/09/1996     272.55    30.78%       83.89
                                     T4215973          03/11/1996     291.75    30.78%       89.80
                                     T4215419          03/11/1996     155.55    30.78%       47.88
                                     T4321914          03/25/1996     264.50    30.78%       81.41
                                     T4321927          04/29/1996     247.50    30.78%       76.18
                                     T4302043          05/02/1996     243.50    30.78%       74.95
                                     T4302034          05/24/1996     289.35    30.78%       89.06
                                     T4336958          06/03/1996     119.25    30.78%       36.71




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                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
SWARTHOUT, BRIAN H.                        T4321901          06/17/1996            421.26   30.78%      129.66
                                                                                 2,305.21              $709.54



       Total Fiscal Year 1996 Travel Direct Costs:                              12,704.87            $3,910.55

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-01-7456       97                      10/17/1995                 5,036.11     7,285.49   30.78%    3,792.59
                                                                    5,036.11     7,285.49            $3,792.59


68-D4-0018       237427-IN               02/07/1996                 2,338.35     1,057.20   30.78%    1,045.15
                                                                    2,338.35     1,057.20            $1,045.15


68-W4-0028       517-12                  10/12/1995                   124.70         0.00   30.78%       38.38
                 517-13                  11/08/1995                   648.35         0.00   30.78%      199.56
                 518-12                  11/08/1995                 1,421.48         0.00   30.78%      437.53
                                                                    2,194.53         0.00              $675.47


68-W5-0024       9606-010-03             01/23/1996                   579.96         0.00   30.78%      178.51
                 9606-010-05             02/26/1996                 2,871.86         0.00   30.78%      883.96
                 9606-010-07             03/18/1996                 2,756.81         0.00   30.78%      848.55
                 9606-026-01             04/10/1996                   321.70         0.00   30.78%       99.02
                 9606-010-09             04/10/1996                 4,985.66         0.00   30.78%    1,534.59
                 9606-010-11             05/08/1996                 2,735.14         0.00   30.78%      841.88
                 9606-026-12             06/07/1996                    10.75         0.00   30.78%        3.31
                 9606-026-13             06/24/1996                    39.48         0.00   30.78%       12.15
                 9606-026-14             07/12/1996                   248.57         0.00   30.78%       76.51
                 9606-010-15             07/23/1996                    12.07         0.00   30.78%        3.72

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                                    OTHER DIRECT COSTS
Contract,                           Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number               Date             Amount               Costs    (%)        Costs
68-W5-0024       9606-026-16       08/12/1996                   139.75         0.00   30.78%       43.02
                 606-010-13R       08/13/1996                 1,418.78         0.00   30.78%      436.70
                 9606-010-17       08/13/1996                    12.07         0.00   30.78%        3.72
                 9606-026-17       08/29/1996                    29.61         0.00   30.78%        9.11
                 9606-026-18       09/24/1996                   107.50         0.00   30.78%       33.09
                 9606-010-19       09/27/1996                   391.37         0.00   30.78%      120.46
                                                          16,661.08            0.00            $5,128.30


68-W9-0059       80                10/12/1995             20,191.60        3,139.96   30.78%    7,181.45
                                                          19,621.11        3,051.24   30.78%    6,978.55
                 81                11/14/1995             15,340.09        2,385.51   30.78%    5,455.94
                                                          32,730.15        5,089.80   30.78%   11,640.98
                 82                12/28/1995              6,451.30          800.59   30.78%    2,232.13
                                                           8,490.79        1,053.68   30.78%    2,937.79
                 83                01/22/1996             15,656.24        1,942.89   30.78%    5,417.01
                                                          18,150.51        2,252.42   30.78%    6,280.02
                 84                02/28/1996             16,886.91        2,095.61   30.78%    5,842.82
                                                          19,850.83        2,463.43   30.78%    6,868.33
                 85                03/25/1996              7,702.47          955.85   30.78%    2,665.03
                                                          21,015.21        2,607.92   30.78%    7,271.20
                 86R               04/22/1996              2,302.60          285.75   30.78%      796.69
                                                           7,523.51          933.65   30.78%    2,603.11
                                                          25,774.06        3,198.48   30.78%    8,917.75
                 87                05/14/1996             16,971.09        2,106.06   30.78%    5,871.95
                                                          15,173.84        1,883.03   30.78%    5,250.10
                 88                06/24/1996             19,239.11        2,387.52   30.78%    6,656.68
                                                          17,240.78        2,139.53   30.78%    5,965.26
                 89                07/17/1996              5,688.11          705.88   30.78%    1,968.07
                                                          12,078.83        1,498.95   30.78%    4,179.24
                 90                08/23/1996             22,077.56        2,739.76   30.78%    7,638.77
                                                           3,336.70          414.07   30.78%    1,154.49
                 91                09/13/1996              3,221.54          399.78   30.78%    1,114.64


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                                            EPA Indirect Costs
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                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                               Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site               Allocation Rate          Indirect
Misc.NO          Number                    Date              Amount                Costs    (%)            Costs
68-W9-0059       91                      09/13/1996             19,039.00          2,362.68     30.78%      6,587.44
                                                               371,753.94         48,894.04              $129,475.44


937802           A/R0996NA011            03/15/1996                 -2,206.78            0.00   30.78%       -679.25
                                                                    -2,206.78            0.00               $-679.25


940403           0143                    12/11/1995                   617.40             0.00   30.78%       190.04
                                                                      617.40             0.00               $190.04


940404           142                     11/14/1995             15,655.82                0.00   30.78%      4,818.86
                 143                     12/11/1995              4,233.96                0.00   30.78%      1,303.21
                 0144                    01/12/1996              3,734.89                0.00   30.78%      1,149.60
                 146                     02/07/1996             14,873.91                0.00   30.78%      4,578.19
                 147                     04/09/1996              5,807.79                0.00   30.78%      1,787.64
                                                                 3,246.17                0.00   30.78%        999.17
                 0148                    05/08/1996              8,858.88                0.00   30.78%      2,726.76
                 0149                    06/07/1996              5,320.24                0.00   30.78%      1,637.57
                 0150                    07/12/1996             18,121.84                0.00   30.78%      5,577.90
                 0151                    09/26/1996             27,175.49                0.00   30.78%      8,364.62
                                                               107,028.99                0.00             $32,943.52



       Total Fiscal Year 1996 Other Direct Costs:              503,423.62         57,236.73              $172,571.26

                      Total Fiscal Year 1996:                             683,150.84                     $210,273.85


                                         PAYROLL DIRECT COSTS
                                                                                                Ind.
                                          Fiscal       Pay                       Payroll        Rate      Indirect
Employee Name                             Year        Period                     Costs          (%)        Costs
ADAMS, ELIZABETH                          1997          21                             123.82   36.64%         45.37
                                                      Exhibit 4-A
                                                        0382
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
ADAMS, ELIZABETH                     1997       22                    82.56    36.64%       30.25
                                                23                    41.27    36.64%       15.12
                                                24                   123.82    36.64%       45.37
                                                25                   123.82    36.64%       45.37
                                                26                    82.56    36.64%       30.25
                                                27                    41.28    36.64%       15.12
                                                                     619.13               $226.85


ASAMI, JO                            1997       06                   110.46    36.64%       40.47
                                                24                   579.30    36.64%      212.26
                                                                     689.76               $252.73


COLLINS, PATTI                       1997       01                  2,251.46   36.64%      824.93
                                                02                  2,614.60   36.64%      957.99
                                                03                  1,452.57   36.64%      532.22
                                                                    1,089.42   36.64%      399.16
                                                04                  1,743.07   36.64%      638.66
                                                05                  2,469.34   36.64%      904.77
                                                06                  2,614.61   36.64%      957.99
                                                07                  2,178.82   36.64%      798.32
                                                08                  1,510.30   36.64%      553.37
                                                09                  1,208.23   36.64%      442.70
                                                10                  2,114.41   36.64%      774.72
                                                11                  2,265.44   36.64%      830.06
                                                12                  2,114.41   36.64%      774.72
                                                13                  2,869.55   36.64%    1,051.40
                                                14                  2,567.50   36.64%      940.73
                                                15                  2,416.47   36.64%      885.39
                                                16                  2,416.47   36.64%      885.39
                                                17                  2,567.50   36.64%      940.73
                                                18                  2,021.48   36.64%      740.67
                                                19                  2,487.97   36.64%      911.59
                                                20                  1,943.75   36.64%      712.19
                                              Exhibit 4-A
                                                0383
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
COLLINS, PATTI                       1997       21                 2,643.48   36.64%      968.57
                                                22                 2,176.99   36.64%      797.65
                                                23                 2,176.99   36.64%      797.65
                                                24                 1,749.36   36.64%      640.97
                                                25                 1,788.24   36.64%      655.21
                                                26                 2,021.48   36.64%      740.67
                                                27                   544.25   36.64%      199.41
                                                                  58,018.16            $21,257.83


COOPER, DAVID                        1997       03                    12.18   36.64%         4.46
                                                                      12.18                $4.46


FELTER, FRASER                       1997       02                    92.50   36.64%        33.89
                                                03                    30.84   36.64%        11.30
                                                                     123.34               $45.19


FONG, YVONNE                         1997       08                    14.01   36.64%        5.13
                                                11                    56.02   36.64%       20.53
                                                13                    84.01   36.64%       30.78
                                                15                   182.05   36.64%       66.70
                                                16                   861.18   36.64%      315.54
                                                                   1,197.27              $438.68


HINGERTY, MICHAEL                    1997       22                    23.36   36.64%         8.56
                                                26                    11.68   36.64%         4.28
                                                                      35.04               $12.84


KEMMERER, JOHN                       1997       04                    44.54   36.64%        16.32
                                                09                   220.70   36.64%        80.86


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                                                0384
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
KEMMERER, JOHN                       1997       10                    49.05   36.64%       17.97
                                                                     314.29              $115.15


KLEIN, ROGER M.                      1997       07                    41.55   36.64%       15.22
                                                08                   766.37   36.64%      280.80
                                                09                   516.80   36.64%      189.36
                                                10                   302.06   36.64%      110.67
                                                11                   280.50   36.64%      102.78
                                                12                    43.10   36.64%       15.79
                                                13                    43.14   36.64%       15.81
                                                14                   107.88   36.64%       39.53
                                                15                   107.88   36.64%       39.53
                                                16                   151.02   36.64%       55.33
                                                17                   194.20   36.64%       71.15
                                                18                   150.88   36.64%       55.28
                                                19                   215.48   36.64%       78.95
                                                21                   193.81   36.64%       71.01
                                                22                    64.64   36.64%       23.68
                                                23                    86.13   36.64%       31.56
                                                                   3,265.44             $1,196.45


LEE, BARBARA                         1997       12                   130.98   36.64%       47.99
                                                13                    33.68   36.64%       12.34
                                                14                    16.84   36.64%        6.17
                                                15                    58.92   36.64%       21.59
                                                16                    42.10   36.64%       15.43
                                                17                   117.86   36.64%       43.18
                                                18                    33.68   36.64%       12.34
                                                19                    16.84   36.64%        6.17
                                                                     450.90              $165.21


LOI, DONALD                          1997       08                    13.55   36.64%         4.96
                                              Exhibit 4-A
                                                0385
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
LOI, DONALD                          1997       09                     9.30   36.64%        3.41
                                                11                     4.65   36.64%        1.70
                                                16                    60.43   36.64%       22.14
                                                17                     9.30   36.64%        3.41
                                                19                    18.59   36.64%        6.81
                                                                     115.82               $42.43


MA, LINDA                            1997       15                    65.23   36.64%       23.90
                                                16                   162.28   36.64%       59.46
                                                17                   161.67   36.64%       59.24
                                                21                   129.35   36.64%       47.39
                                                25                    64.67   36.64%       23.70
                                                                     583.20              $213.69


SEMONES, VICKY M.                    1997       03                    58.64   36.64%       21.49
                                                05                    58.64   36.64%       21.49
                                                08                    30.44   36.64%       11.15
                                                12                    76.09   36.64%       27.88
                                                20                    15.23   36.64%        5.58
                                                23                    30.44   36.64%       11.15
                                                24                    30.44   36.64%       11.15
                                                25                    46.90   36.64%       17.18
                                                27                    15.63   36.64%        5.73
                                                                     362.45              $132.80


STAMNES, ROBERT L.                   1997       02                   679.68   36.64%      249.03
                                                03                   143.10   36.64%       52.43
                                                21                   879.35   36.64%      322.20
                                                                   1,702.13              $623.66




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                                                0386
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                                            EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                      Ind.
                                           Fiscal      Pay                Payroll     Rate     Indirect
Employee Name                              Year       Period              Costs       (%)       Costs
STRALKA, DANIEL                            1997         27                    73.94   36.64%        27.09
                                                                              73.94               $27.09


TAKATA, KEITH                              1997         02                   421.32   36.64%      154.37
                                                                             421.32              $154.37


VEGA, MARTHA                               1997         12                   127.93   36.64%        46.87
                                                                             127.93               $46.87


WALKER, JUDITH                             1997         08                    64.11   36.64%        23.49
                                                                              64.11               $23.49


YOUKELES, ALAN                             1997         23                   112.43   36.64%        41.19
                                                                             112.43               $41.19



      Total Fiscal Year 1997 Payroll Direct Costs:                        68,288.84            $25,020.98

                                          TRAVEL DIRECT COSTS

                                                              Treasury                Ind.
                                           Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date      Costs       (%)       Costs
BRUIN, PAULA                               T4337154          10/08/1996      478.31   36.64%      175.25
                                                                             478.31              $175.25


COLLINS, PATTI                             T4373546          10/24/1996      923.98   36.64%       338.55
                                                                             923.98   36.64%       338.55
                                           T4298157          12/19/1996    2,885.76   36.64%     1,057.34
                                           T4373521          12/19/1996    1,915.78   36.64%       701.94
                                           T4369430          02/26/1997    3,354.10   36.64%     1,228.94
                                                      Exhibit 4-A
                                                        0387
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    TRAVEL DIRECT COSTS

                                                        Treasury                Ind.
                                     Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                 Number               Date      Costs       (%)       Costs
COLLINS, PATTI                       T4352425          03/11/1997    1,991.36   36.64%       729.63
                                     T4360860          04/11/1997    2,704.78   36.64%       991.03
                                     T4375517          04/14/1997    2,925.44   36.64%     1,071.88
                                     T4434237          07/09/1997    2,660.43   36.64%       974.78
                                     T4427178          07/09/1997    3,144.00   36.64%     1,151.96
                                     T4433781          07/22/1997    2,638.34   36.64%       966.69
                                     T4433769          08/25/1997    3,591.84   36.64%     1,316.05
                                     T4375517          08/29/1997       85.00   36.64%        31.14
                                     T4433770          09/24/1997    2,660.93   36.64%       974.96
                                                                    32,405.72            $11,873.44


KEMMERER, JOHN                       T4324189          02/11/1997       92.37   36.64%       33.84
                                                                        92.37               $33.84


STAMNES, ROBERT L.                   T9313998          10/30/1996     424.93    36.64%      155.69
                                     T9316638          08/08/1997     569.65    36.64%      208.71
                                                                      994.58               $364.40


TAKATA, KEITH                        T4297783          11/21/1996     179.08    36.64%       65.61
                                                                      179.08                $65.61


TERRY, ANDY                          T4340887          11/14/1996     217.17    36.64%       79.57
                                                       12/10/1996     204.00    36.64%       74.75
                                                                      421.17               $154.32




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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
YOUKELES, ALAN                             T4413914          09/10/1997             97.45   36.64%        35.70
                                                                                    97.45               $35.70



       Total Fiscal Year 1997 Travel Direct Costs:                              34,668.68            $12,702.56

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-D1-0135       130                     11/25/1996                  256.01        375.48   36.64%      231.38
                 132                     12/26/1996                  664.33        914.33   36.64%      578.42
                                                                     920.34      1,289.81              $809.80


68-W5-0024       9606-010-21             10/17/1996                    12.07         0.00   36.64%        4.42
                 9606-010-23             11/13/1996                    70.88         0.00   36.64%       25.97
                 9710-126-02             12/11/1996                    99.63         0.00   36.64%       36.50
                 9710-110-02             12/11/1996                   430.08         0.00   36.64%      157.58
                 9710-110-04             01/13/1997                   505.32         0.00   36.64%      185.15
                 9710-126-05             01/29/1997                    21.73         0.00   36.64%        7.96
                 9710-110-06             02/13/1997                 2,445.04         0.00   36.64%      895.86
                 9710-110-08             03/12/1997                   261.34         0.00   36.64%       95.75
                 9710-110-10             04/08/1997                   168.39         0.00   36.64%       61.70
                 9710-126-12             05/12/1997                     9.84         0.00   36.64%        3.61
                 9710-126-15             06/19/1997                   376.38         0.00   36.64%      137.91
                 9710-110-15             06/20/1997                   384.99         0.00   36.64%      141.06
                 9710-126-16             06/30/1997                   458.43         0.00   36.64%      167.97
                 9710-126-17             07/11/1997                 1,306.08         0.00   36.64%      478.55
                 9710-110-17             07/11/1997                   957.06         0.00   36.64%      350.67
                 9710-110-19             08/11/1997                   276.63         0.00   36.64%      101.36
                 9710-126-19             08/11/1997                    88.56         0.00   36.64%       32.45



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                                                        0389
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    OTHER DIRECT COSTS
Contract,                           Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number               Date             Amount               Costs    (%)        Costs
68-W5-0024       9710-110-21       09/10/1997                  245.40          0.00   36.64%       89.91
                                                              8,117.85         0.00            $2,974.38


68-W9-0031       104               12/10/1996                   328.43        21.96   36.64%      128.38
                 105               12/10/1996                  -569.53       -38.08   36.64%     -222.63
                                                                -70.47        -4.71   36.64%      -27.55
                 104               12/10/1996                 2,052.19       137.21   36.64%      802.20
                 108               01/15/1997                   -54.91        -3.67   36.64%      -21.46
                                                                 -0.06         0.00   36.64%       -0.02
                 107               01/16/1997                     1.11         0.07   36.64%        0.43
                                                              1,686.76       112.78              $659.35


68-W9-0059       92                10/24/1996             29,290.79        3,634.90   36.64%   12,063.97
                                                           3,484.00          432.35   36.64%    1,434.95
                                                          27,025.64        3,353.80   36.64%   11,131.03
                 93-Z              10/28/1996             15,008.00        2,339.87   36.64%    6,356.26
                                                           7,546.82        1,176.61   36.64%    3,196.26
                 94                11/25/1996             32,144.64        3,989.05   36.64%   13,239.38
                                                          21,120.55        2,621.00   36.64%    8,698.90
                 95                12/17/1996             16,928.41        2,231.64   36.64%    7,020.24
                                                           8,149.03        1,074.27   36.64%    3,379.42
                 96                01/24/1997              5,485.24          723.11   36.64%    2,274.74
                                                          30,262.72        3,989.47   36.64%   12,550.00
                 97                02/19/1997             19,235.19        2,535.74   36.64%    7,976.87
                                                           2,874.88          378.99   36.64%    1,192.22
                 99-Z              04/08/1997             40,951.34        5,081.94   36.64%   16,866.59
                                                          15,813.92        1,962.46   36.64%    6,513.27
                 98                04/08/1997             12,777.17        1,684.39   36.64%    5,298.72
                                                             396.03           52.21   36.64%      164.24
                 100               04/28/1997                453.45           59.78   36.64%      188.05
                                                          19,730.56        2,601.04   36.64%    8,182.30
                 101               05/21/1997                118.14           15.57   36.64%       48.99
                                                          21,368.97        2,817.03   36.64%    8,861.75
                                                Exhibit 4-A
                                                  0390
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    OTHER DIRECT COSTS
Contract,                           Treasury                            Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site             Allocation Rate       Indirect
Misc.NO          Number               Date             Amount              Costs    (%)         Costs
68-W9-0059       102               06/17/1997             13,842.74       1,824.86   36.64%      5,740.61
                                                              171.43         22.60   36.64%         71.09
                 103               07/16/1997                 230.36         30.37   36.64%         95.53
                                                          15,208.48       2,004.90   36.64%      6,306.98
                 104               08/13/1997               3,534.56        465.95   36.64%      1,465.79
                                                            7,704.69      1,015.69   36.64%      3,195.15
                                                            1,072.50        141.39   36.64%        444.77
                 105               09/17/1997             12,251.31       1,615.07   36.64%      5,080.64
                                                              211.09         27.83   36.64%         87.54
                 106-Z             09/17/1997              -1,112.16       -146.61   36.64%       -461.21
                                                          -3,326.27        -438.50   36.64%     -1,379.41
                                                        379,954.22       49,318.77            $157,285.63


68-W9-0060       104R              04/28/1997                 -286.00       -49.39   36.64%       -122.89
                                                              -286.00       -49.39               $-122.89


940404           155               01/16/1997                 630.11          0.00   36.64%       230.87
                                                              630.11          0.00               $230.87


940405           0152              10/28/1996             13,429.00           0.00   36.64%      4,920.39
                                                             460.42           0.00   36.64%        168.70
                 0153              11/22/1996             10,893.83           0.00   36.64%      3,991.50
                 0154              12/31/1996              5,487.95           0.00   36.64%      2,010.78
                 0155              01/16/1997              6,541.26           0.00   36.64%      2,396.72
                 0157              02/21/1997              4,133.20           0.00   36.64%      1,514.40
                 0159              04/04/1997             14,453.34           0.00   36.64%      5,295.70
                                                          55,399.00           0.00             $20,298.19


DW96955310       B03970114         05/01/1997             13,465.52           0.00   36.64%      4,933.77
                 B041970117        05/09/1997             14,668.33           0.00   36.64%      5,374.48
                 B02970126         05/19/1997              7,268.18           0.00   36.64%      2,663.06
                                                Exhibit 4-A
                                                  0391
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                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site           Allocation Rate          Indirect
Misc.NO          Number                    Date              Amount            Costs    (%)            Costs
DW96955310       B02970126               05/19/1997             11,866.15            0.00   36.64%      4,347.76
                 B05970131               05/27/1997             17,361.64            0.00   36.64%      6,361.30
                 B07970129               06/06/1997              1,415.06            0.00   36.64%        518.48
                 B06970139               06/06/1997             13,955.12            0.00   36.64%      5,113.16
                 B07970129               06/06/1997             18,466.40            0.00   36.64%      6,766.09
                 B08970139               07/24/1997              1,533.60            0.00   36.64%        561.91
                                                                17,933.67            0.00   36.64%      6,570.90
                                                               117,933.67            0.00             $43,210.91



       Total Fiscal Year 1997 Other Direct Costs:              564,355.95     50,671.97              $225,346.24

                      Total Fiscal Year 1997:                         717,985.44                     $263,069.78


                                         PAYROLL DIRECT COSTS
                                                                                            Ind.
                                          Fiscal       Pay                   Payroll        Rate      Indirect
Employee Name                             Year        Period                 Costs          (%)        Costs
ADAMS, ELIZABETH                          1998          01                         123.83   40.85%        50.58
                                                        02                          41.05   40.85%        16.77
                                                        03                          82.11   40.85%        33.54
                                                        04                          82.11   40.85%        33.54
                                                        05                         205.27   40.85%        83.85
                                                        07                          41.05   40.85%        16.77
                                                        08                          85.02   40.85%        34.73
                                                        09                          42.50   40.85%        17.36
                                                        10                         127.52   40.85%        52.09
                                                        14                          42.50   40.85%        17.36
                                                        17                          42.50   40.85%        17.36
                                                        19                          43.87   40.85%        17.92
                                                        20                         526.38   40.85%       215.03
                                                        21                         131.59   40.85%        53.75
                                                        22                         219.32   40.85%        89.59
                                                        23                         263.18   40.85%       107.51
                                                      Exhibit 4-A
                                                        0392
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
ADAMS, ELIZABETH                     1998       24                   350.91   40.85%      143.35
                                                25                    87.72   40.85%       35.83
                                                26                   175.46   40.85%       71.68
                                                                   2,713.89             $1,108.61


BOTTS, STEPHEN                       1998       24                    69.00   40.85%       28.19
                                                                      69.00               $28.19


COLLINS, PATTI                       1998       01                 2,176.99   40.85%       889.30
                                                02                 2,010.32   40.85%       821.22
                                                03                 1,855.69   40.85%       758.05
                                                04                 1,855.69   40.85%       758.05
                                                05                 1,391.76   40.85%       568.53
                                                06                 1,933.01   40.85%       789.63
                                                07                 1,546.41   40.85%       631.71
                                                08                 1,802.68   40.85%       736.39
                                                09                 1,602.38   40.85%       654.57
                                                10                 1,201.80   40.85%       490.94
                                                11                 1,201.80   40.85%       490.94
                                                12                 1,201.79   40.85%       490.93
                                                13                 1,201.80   40.85%       490.94
                                                14                   801.19   40.85%       327.29
                                                15                 1,402.07   40.85%       572.75
                                                16                   841.24   40.85%       343.65
                                                17                   360.54   40.85%       147.28
                                                18                   200.30   40.85%        81.82
                                                19                   961.42   40.85%       392.74
                                                20                   400.60   40.85%       163.65
                                                21                 1,642.43   40.85%       670.93
                                                22                   240.36   40.85%        98.19
                                                23                   560.83   40.85%       229.10
                                                24                 2,483.68   40.85%     1,014.58
                                                25                   761.13   40.85%       310.92
                                              Exhibit 4-A
                                                0393
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
COLLINS, PATTI                       1998       27                   200.29   40.85%        81.82
                                                                  31,838.20            $13,005.92


COOPER, GAIL                         1998       24                    56.49   40.85%        23.08
                                                                      56.49               $23.08


ELIAS, JEANNE                        1998       02                   458.92   40.85%      187.47
                                                03                   163.90   40.85%       66.95
                                                04                   131.11   40.85%       53.56
                                                05                    65.57   40.85%       26.79
                                                06                   196.68   40.85%       80.34
                                                08                   543.78   40.85%      222.13
                                                09                   203.92   40.85%       83.30
                                                10                   645.73   40.85%      263.78
                                                11                   611.75   40.85%      249.90
                                                12                   169.93   40.85%       69.42
                                                13                    67.98   40.85%       27.77
                                                14                    33.98   40.85%       13.88
                                                15                   135.94   40.85%       55.53
                                                16                    33.98   40.85%       13.88
                                                17                    33.98   40.85%       13.88
                                                20                   135.94   40.85%       55.53
                                                21                    68.54   40.85%       28.00
                                                22                    70.78   40.85%       28.91
                                                23                   212.33   40.85%       86.74
                                                24                   424.64   40.85%      173.47
                                                25                   176.94   40.85%       72.28
                                                26                   247.71   40.85%      101.19
                                                27                    70.78   40.85%       28.91
                                                                   4,904.81             $2,003.61




                                              Exhibit 4-A
                                                0394
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
HEALY, HELENA                        1998       26                    88.04   40.85%       35.96
                                                                      88.04               $35.96


HINGERTY, MICHAEL                    1998       11                    12.03   40.85%        4.91
                                                24                    60.17   40.85%       24.58
                                                                      72.20               $29.49


KEMMERER, JOHN                       1998       21                   260.78   40.85%      106.53
                                                24                    52.15   40.85%       21.30
                                                                     312.93              $127.83


KOZELKA, PETER                       1998       16                 1,000.21   40.85%      408.59
                                                17                 1,000.21   40.85%      408.59
                                                18                 1,192.96   40.85%      487.32
                                                19                 1,192.96   40.85%      487.32
                                                21                   939.46   40.85%      383.77
                                                22                   820.16   40.85%      335.04
                                                24                 1,163.14   40.85%      475.14
                                                25                 1,073.67   40.85%      438.59
                                                27                   134.22   40.85%       54.83
                                                                   8,516.99             $3,479.19


KREMER, THOMAS                       1998       20                    93.53   40.85%       38.21
                                                                      93.53               $38.21


LEE, BARBARA                         1998       11                    54.73   40.85%       22.36
                                                                      54.73               $22.36


MA, LINDA                            1998       09                   109.21   40.85%       44.61
                                              Exhibit 4-A
                                                0395
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                                      EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
MA, LINDA                            1998       10                   109.21   40.85%       44.61
                                                11                   109.21   40.85%       44.61
                                                12                    72.82   40.85%       29.75
                                                13                    36.40   40.85%       14.87
                                                17                    36.40   40.85%       14.87
                                                19                   109.21   40.85%       44.61
                                                20                    36.42   40.85%       14.88
                                                24                    36.40   40.85%       14.87
                                                25                   145.60   40.85%       59.48
                                                                     800.88              $327.16


NELSON, DENISE                       1998       24                   520.71   40.85%      212.71
                                                                     520.71              $212.71


PESARESI, MARTIN H.                  1998       01                    77.74   40.85%       31.76
                                                                      77.74               $31.76


SEMONES, VICKY M.                    1998       01                    46.90   40.85%       19.16
                                                02                    15.84   40.85%        6.47
                                                03                    63.37   40.85%       25.89
                                                04                    31.78   40.85%       12.98
                                                05                    63.57   40.85%       25.97
                                                06                    79.22   40.85%       32.36
                                                08                    98.53   40.85%       40.25
                                                09                    32.84   40.85%       13.42
                                                14                    32.84   40.85%       13.42
                                                                     464.89              $189.92


STRALKA, DANIEL                      1998       01                   110.92   40.85%       45.31
                                                02                    73.53   40.85%       30.04
                                                03                   294.12   40.85%      120.15
                                              Exhibit 4-A
                                                0396
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                      Ind.
                                           Fiscal      Pay                Payroll     Rate     Indirect
Employee Name                              Year       Period              Costs       (%)       Costs
STRALKA, DANIEL                            1998         04                   183.83   40.85%        75.09
                                                        11                   117.70   40.85%        48.08
                                                                             780.10              $318.67


TAKATA, KEITH                              1998         05                    55.43   40.85%        22.64
                                                                              55.43               $22.64


WHEELER, JOHN H.                           1998         26                    48.29   40.85%        19.73
                                                                              48.29               $19.73


WITTORP, RANDALL L.                        1998         01                 1,128.16   40.85%      460.85
                                                        21                   346.30   40.85%      141.46
                                                        23                 1,108.12   40.85%      452.67
                                                        24                 1,592.92   40.85%      650.71
                                                                           4,175.50             $1,705.69



      Total Fiscal Year 1998 Payroll Direct Costs:                        55,644.35            $22,730.73

                                          TRAVEL DIRECT COSTS

                                                              Treasury                Ind.
                                           Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date      Costs       (%)       Costs
COLLINS, PATTI                             T4433769          10/23/1997       21.00   40.85%         8.58
                                           T4427903          11/05/1997    3,523.01   40.85%     1,439.15
                                           T4412442          01/05/1998       52.00   40.85%        21.24
                                           T4427903          01/05/1998       13.75   40.85%         5.62
                                           T4397060          01/07/1998    2,406.90   40.85%       983.22
                                           T4412442          01/15/1998    3,601.23   40.85%     1,471.10
                                           T4397057          01/26/1998    2,388.46   40.85%       975.69
                                                             01/30/1998      116.00   40.85%        47.39

                                                      Exhibit 4-A
                                                        0397
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                                          TRAVEL DIRECT COSTS

                                                              Treasury                Ind.
                                           Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date      Costs       (%)       Costs
COLLINS, PATTI                             T4419755          02/19/1998    2,153.51   40.85%      879.71
                                                             03/16/1998       59.67   40.85%       24.38
                                           T4419772          03/17/1998      810.43   40.85%      331.06
                                           T5010633          05/29/1998      689.15   40.85%      281.52
                                           T5009707          06/03/1998      424.49   40.85%      173.40
                                           T5000635          07/27/1998      602.57   40.85%      246.15
                                           T4465824          07/31/1998      290.00   40.85%      118.47
                                           T4463525          08/13/1998      292.77   40.85%      119.60
                                           T5010633          08/13/1998        9.29   40.85%        3.79
                                           T5009707          08/13/1998        5.61   40.85%        2.29
                                           T5000635          09/04/1998      281.76   40.85%      115.10
                                                                          17,741.60            $7,247.46


ELIAS, JEANNE                              T5009659          03/05/1998     319.18    40.85%      130.39
                                                                            319.18               $130.39


NELSON, DENISE                             T4463272          09/24/1998     429.00    40.85%      175.25
                                                                            429.00               $175.25


WITTORP, RANDALL L.                        T4396762          11/12/1997     168.55    40.85%       68.85
                                           T4396763          12/01/1997     199.56    40.85%       81.52
                                           T4463269          09/25/1998     528.89    40.85%      216.05
                                                                            897.00               $366.42



       Total Fiscal Year 1998 Travel Direct Costs:                        19,386.78            $7,919.52




                                                      Exhibit 4-A
                                                        0398
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                    OTHER DIRECT COSTS
Contract,                           Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher            Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number               Date             Amount               Costs    (%)        Costs
68-W5-0024       9710-110-23       10/14/1997                   791.42         0.00   40.85%      323.30
                 9710-110-25       11/19/1997                   573.09         0.00   40.85%      234.11
                 9810-210-02       12/18/1997                 1,389.89         0.00   40.85%      567.77
                 9810-210-04       01/21/1998                   485.29         0.00   40.85%      198.24
                 9810-210-06       02/12/1998                    70.29         0.00   40.85%       28.71
                 9810-210-08       03/16/1998                   906.46         0.00   40.85%      370.29
                 9810-210-10       04/07/1998                 1,235.91         0.00   40.85%      504.87
                 9810-210-12       05/13/1998                 2,553.77         0.00   40.85%    1,043.22
                 9810-226-12       05/14/1998                   633.62         0.00   40.85%      258.83
                 9810-226-14       06/09/1998                   292.44         0.00   40.85%      119.46
                 9810-210-14       06/09/1998                   347.66         0.00   40.85%      142.02
                 9810-210-16       07/07/1998                   101.59         0.00   40.85%       41.50
                 9810-210-18       08/12/1998                 1,339.50         0.00   40.85%      547.19
                 9810-210-20       09/03/1998                 1,321.80         0.00   40.85%      539.96
                                                          12,042.73            0.00            $4,919.47


68-W9-0059       107               10/16/1997             23,925.14        3,154.00   40.85%   11,061.83
                                                             291.21           38.39   40.85%      134.64
                 108               11/19/1997                119.78           15.79   40.85%       55.38
                                                          10,176.53        1,341.55   40.85%    4,705.14
                 109               12/18/1997             10,644.65        1,135.57   40.85%    4,812.22
                                                              66.70            7.12   40.85%       30.16
                 110               01/14/1998                239.56           25.56   40.85%      108.30
                                                           8,328.28          888.46   40.85%    3,765.04
                 111               02/13/1998                119.78           12.78   40.85%       54.15
                                                          10,767.54        1,148.68   40.85%    4,867.78
                 112               03/18/1998                181.49           19.36   40.85%       82.05
                                                          12,150.74        1,296.24   40.85%    5,493.09
                 113               04/16/1998                 53.77            5.74   40.85%       24.31
                                                           7,018.64          748.75   40.85%    3,172.98
                 114-Z             05/15/1998             -1,766.40         -188.44   40.85%     -798.55
                 115               05/15/1998              2,846.23          303.64   40.85%    1,286.72
                                                              53.77            5.74   40.85%       24.31
                 114-Z             05/15/1998                -28.98           -3.09   40.85%      -13.10
                                                Exhibit 4-A
                                                  0399
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                      OTHER DIRECT COSTS
Contract,                             Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher              Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                 Date             Amount               Costs    (%)        Costs
68-W9-0059       116                 06/18/1998                 1,550.06       165.36   40.85%       700.75
                                                                2,818.47       300.67   40.85%     1,274.17
                 117                 07/17/1998                 1,964.90       209.62   40.85%       888.29
                 118                 08/14/1998                 5,083.56       542.31   40.85%     2,298.17
                                                                    8.03         0.86   40.85%         3.63
                 119                 09/16/1998                 7,933.54       846.35   40.85%     3,586.59
                                                          104,546.99        12,021.01            $47,618.05


940406           0166                10/23/1997                 8,490.94         0.00   40.85%     3,468.55
                 0167                11/10/1997                 5,004.81         0.00   40.85%     2,044.46
                 0168                12/18/1997                 7,750.29         0.00   40.85%     3,165.99
                 0169                01/13/1998                 3,055.17         0.00   40.85%     1,248.04
                 171                 03/10/1998                 2,900.79         0.00   40.85%     1,184.97
                                                            27,202.00            0.00            $11,112.01


9809H8S075       CNS1627131          09/25/1998                  342.00          0.00   40.85%      139.71
                                                                 342.00          0.00              $139.71


9809H8S076       CNS1627134          09/25/1998                  580.62          0.00   40.85%      237.18
                                                                 580.62          0.00              $237.18


DW96955310       B09970126           11/04/1997             18,091.65            0.00   40.85%     7,390.44
                 B12970158           02/03/1998             29,155.81            0.00   40.85%    11,910.15
                 B11970121           02/03/1998             19,843.51            0.00   40.85%     8,106.07
                 B10970142           02/03/1998             21,408.18            0.00   40.85%     8,745.24
                 B01970109           05/01/1998             25,189.11            0.00   40.85%    10,289.75
                 B03980140           05/01/1998             54,902.22            0.00   40.85%    22,427.56
                 B01001277           07/28/1998                762.93            0.00   40.85%       311.66
                 B01000923           07/28/1998              5,020.02            0.00   40.85%     2,050.68



                                                  Exhibit 4-A
                                                    0400
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate          Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)            Costs
DW96955310       B01001063               07/28/1998                  463.08             0.00   40.85%       189.17
                                                               174,836.51               0.00             $71,420.72


FRL61283         98220230                08/31/1998                 1,755.00            0.00   40.85%       716.92
                                                                    1,755.00            0.00               $716.92



       Total Fiscal Year 1998 Other Direct Costs:              321,305.85        12,021.01              $136,164.06

                      Total Fiscal Year 1998:                            408,357.99                     $166,814.31


                                         PAYROLL DIRECT COSTS
                                                                                               Ind.
                                          Fiscal       Pay                      Payroll        Rate      Indirect
Employee Name                             Year        Period                    Costs          (%)        Costs
ADAMS, ELIZABETH                          1999          01                            131.59   35.23%        46.36
                                                        02                            526.38   35.23%       185.44
                                                        03                            131.59   35.23%        46.36
                                                        04                             43.87   35.23%        15.46
                                                        05                            394.77   35.23%       139.08
                                                        06                            252.50   35.23%        88.96
                                                        08                            594.62   35.23%       209.48
                                                        09                            365.93   35.23%       128.92
                                                        10                             91.48   35.23%        32.23
                                                        11                             45.74   35.23%        16.11
                                                        12                            457.40   35.23%       161.14
                                                        13                            228.72   35.23%        80.58
                                                        14                            137.23   35.23%        48.35
                                                        15                            137.23   35.23%        48.35
                                                        16                            137.21   35.23%        48.34
                                                        17                            137.21   35.23%        48.34
                                                        18                             45.73   35.23%        16.11
                                                        21                             45.73   35.23%        16.11
                                                      Exhibit 4-A
                                                        0401
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
ADAMS, ELIZABETH                     1999       23                    47.16   35.23%       16.61
                                                25                    47.16   35.23%       16.61
                                                                   3,999.25             $1,408.94


BOTTS, STEPHEN                       1999       05                    24.84   35.23%         8.75
                                                                      24.84                $8.75


COLLINS, PATTI                       1999       01                 1,522.24   35.23%      536.29
                                                02                 1,041.55   35.23%      366.94
                                                03                 1,041.55   35.23%      366.94
                                                04                   480.72   35.23%      169.36
                                                05                 1,001.48   35.23%      352.82
                                                06                   961.42   35.23%      338.71
                                                07                   240.36   35.23%       84.68
                                                08                 1,126.34   35.23%      396.81
                                                09                 1,084.63   35.23%      382.12
                                                10                   917.76   35.23%      323.33
                                                11                 1,418.36   35.23%      499.69
                                                12                   750.90   35.23%      264.54
                                                13                 2,336.12   35.23%      823.02
                                                14                   667.46   35.23%      235.15
                                                15                   625.74   35.23%      220.45
                                                16                   875.95   35.23%      308.60
                                                17                   375.41   35.23%      132.26
                                                18                   171.63   35.23%       60.47
                                                19                    85.82   35.23%       30.23
                                                20                   257.46   35.23%       90.70
                                                21                   643.66   35.23%      226.76
                                                25                   429.11   35.23%      151.18
                                                                  18,055.67             $6,361.05




                                              Exhibit 4-A
                                                0402
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
COOPER, GAIL                         1999       03                    28.25    35.23%         9.95
                                                                      28.25                 $9.95


ELIAS, JEANNE                        1999       01                    159.24   35.23%       56.10
                                                02                    474.95   35.23%      167.32
                                                03                    164.41   35.23%       57.92
                                                04                    255.73   35.23%       90.09
                                                05                    292.28   35.23%      102.97
                                                06                    365.36   35.23%      128.72
                                                08                  1,008.11   35.23%      355.16
                                                09                    418.46   35.23%      147.42
                                                10                    209.23   35.23%       73.71
                                                11                    114.13   35.23%       40.21
                                                12                    494.54   35.23%      174.23
                                                13                    475.52   35.23%      167.53
                                                14                    323.36   35.23%      113.92
                                                15                    266.29   35.23%       93.81
                                                16                    152.16   35.23%       53.61
                                                17                    304.33   35.23%      107.22
                                                18                     95.10   35.23%       33.50
                                                19                    133.15   35.23%       46.91
                                                20                    513.56   35.23%      180.93
                                                21                    585.67   35.23%      206.33
                                                22                    281.98   35.23%       99.34
                                                23                    390.45   35.23%      137.56
                                                25                    130.15   35.23%       45.85
                                                26                    347.07   35.23%      122.27
                                                27                    260.29   35.23%       91.70
                                                                   8,215.52             $2,894.33


FONG, YVONNE                         1999       12                   510.35    35.23%      179.80
                                                13                   688.56    35.23%      242.58
                                                21                   583.16    35.23%      205.45
                                              Exhibit 4-A
                                                0403
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
FONG, YVONNE                         1999       22                   963.86    35.23%      339.57
                                                23                 1,093.45    35.23%      385.22
                                                24                   866.67    35.23%      305.33
                                                                   4,706.05             $1,657.95


HINGERTY, MICHAEL                    1999       05                    22.91    35.23%         8.07
                                                                      22.91                 $8.07


JOHNSON, KATHLEEN                    1999       01                    53.63    35.23%       18.89
                                                02                    52.05    35.23%       18.34
                                                06                   156.18    35.23%       55.02
                                                08                   370.96    35.23%      130.69
                                                                     632.82               $222.94


KEMMERER, JOHN                       1999       01                    50.70    35.23%       17.86
                                                02                   408.86    35.23%      144.04
                                                05                   102.21    35.23%       36.01
                                                06                   102.21    35.23%       36.01
                                                08                   391.76    35.23%      138.02
                                                09                    55.97    35.23%       19.72
                                                                    1,111.71              $391.66


LOI, DONALD                          1999       13                    22.69    35.23%         7.99
                                                23                    22.69    35.23%         7.99
                                                25                    34.01    35.23%        11.98
                                                                      79.39                $27.96




                                              Exhibit 4-A
                                                0404
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
MA, LINDA                            1999       18                    39.02   35.23%       13.75
                                                                      39.02               $13.75


MOORE, KATHERINE                     1999       25                   388.70   35.23%      136.94
                                                                     388.70              $136.94


OKORLEY, JULIANA                     1999       13                    19.88   35.23%        7.00
                                                23                    49.16   35.23%       17.32
                                                25                    32.78   35.23%       11.55
                                                26                    16.38   35.23%        5.77
                                                                     118.20               $41.64


RONGONE, MARIE                       1999       13                    47.39   35.23%       16.70
                                                14                    23.70   35.23%        8.35
                                                                      71.09               $25.05


SETER, DAVID                         1999       22                   166.18   35.23%       58.55
                                                                      47.47   35.23%       16.72
                                                23                   189.91   35.23%       66.91
                                                24                   379.83   35.23%      133.81
                                                25                   759.64   35.23%      267.62
                                                                      23.75   35.23%        8.37
                                                26                    71.22   35.23%       25.09
                                                                   1,638.00              $577.07




                                              Exhibit 4-A
                                                0405
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                      Ind.
                                           Fiscal      Pay                Payroll     Rate     Indirect
Employee Name                              Year       Period              Costs       (%)       Costs
WOOD, DAVID                                1999         14                    42.63   35.23%        15.02
                                                                              42.63               $15.02



      Total Fiscal Year 1999 Payroll Direct Costs:                        39,174.05            $13,801.07

                                          TRAVEL DIRECT COSTS

                                                              Treasury                Ind.
                                           Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date      Costs       (%)       Costs
ADAMS, ELIZABETH                           T4487467          11/25/1998      192.09   35.23%        67.67
                                                                             192.09               $67.67


COLLINS, PATTI                             T4463530          10/13/1998      568.13   35.23%      200.15
                                           T4463410          10/29/1998      958.82   35.23%      337.79
                                           T5000635          12/04/1998       23.28   35.23%        8.20
                                           T4487694          12/21/1998      464.49   35.23%      163.64
                                           T4487037          12/30/1998      579.06   35.23%      204.00
                                           T4492643          01/25/1999      234.08   35.23%       82.47
                                           T4492386          04/15/1999      469.57   35.23%      165.43
                                           T4522946          05/28/1999      310.56   35.23%      109.41
                                           T4515657          09/07/1999      387.67   35.23%      136.58
                                                                           3,995.66             $1,407.67


ELIAS, JEANNE                              4486599           11/27/1998      119.00   35.23%        41.92
                                                                             119.00               $41.92


KEMMERER, JOHN                             T4453622          11/10/1998      115.75   35.23%        40.78
                                                                             115.75               $40.78



                                                      Exhibit 4-A
                                                        0406
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
MOORE, KATHERINE                           T4487840          09/17/1999            238.60   35.23%       84.06
                                                                                   238.60               $84.06


SETER, DAVID                               T4487839          09/15/1999            259.38   35.23%       91.38
                                                                                   259.38               $91.38



       Total Fiscal Year 1999 Travel Direct Costs:                               4,920.48            $1,733.48

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-W5-0024       9810-210-22             10/07/1998                  101.59          0.00   35.23%       35.79
                 9810-210-24             11/12/1998                  573.11          0.00   35.23%      201.91
                 9910-226-02             12/08/1998                  264.70          0.00   35.23%       93.25
                 9910-210-02             12/17/1998                  579.16          0.00   35.23%      204.04
                 9910-210-04             01/11/1999                  909.36          0.00   35.23%      320.37
                 9910-210-06             02/12/1999                   93.68          0.00   35.23%       33.00
                 9910-210-08             03/18/1999                    1.10          0.00   35.23%        0.39
                                                                      63.93          0.00   35.23%       22.52
                 9910-226-11             04/21/1999                  138.14          0.00   35.23%       48.67
                 9910-226-12             05/14/1999                  164.06          0.00   35.23%       57.80
                 9910-210-12             05/14/1999                  284.83          0.00   35.23%      100.35
                 9910-210-14             06/07/1999                  198.25          0.00   35.23%       69.84
                 9910-226-16             07/07/1999                   20.51          0.00   35.23%        7.23
                 9910-210-16             07/07/1999                  136.56          0.00   35.23%       48.11
                 9910-210-18             08/06/1999                  118.36          0.00   35.23%       41.70
                 9910-210-20             09/08/1999                   19.42          0.00   35.23%        6.84
                                                                    3,666.76         0.00            $1,291.81


68-W9-0059       120                     10/15/1998             13,181.26        1,406.18   35.23%    5,139.16

                                                      Exhibit 4-A
                                                        0407
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                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                      OTHER DIRECT COSTS
Contract,                             Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher              Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                 Date             Amount               Costs    (%)        Costs
68-W9-0059       121                 11/20/1998              5,369.15          572.78   35.23%     2,093.34
                 122                 12/17/1998              6,827.88          582.72   35.23%     2,610.75
                 123                 01/21/1999              2,535.16          216.36   35.23%       969.36
                 124                 02/18/1999              3,267.66          278.88   35.23%     1,249.45
                 125                 03/18/1999              1,868.03          159.43   35.23%       714.27
                 126                 04/15/1999              2,045.92          174.61   35.23%       782.29
                 127                 05/27/1999             22,778.00        1,943.97   35.23%     8,709.55
                                                             4,731.62          403.82   35.23%     1,809.22
                 128                 06/16/1999              1,548.19          132.13   35.23%       591.98
                 129                 07/15/1999                 36.52            3.12   35.23%        13.97
                 130                 08/19/1999              5,270.21          449.78   35.23%     2,015.15
                 131                 09/16/1999                400.35           34.17   35.23%       153.08
                                                            69,859.95        6,357.95            $26,851.57


940405           183                 02/19/1999             30,685.00            0.00   35.23%    10,810.33
                                                            34,480.24            0.00   35.23%    12,147.39
                                                            65,165.24            0.00            $22,957.72


940406           182                 02/19/1999             22,226.12            0.00   35.23%     7,830.26
                                                            22,226.12            0.00             $7,830.26


999NA025                             06/22/1999                    12.32         0.00   35.23%         4.34
                                     06/24/1999                   -12.32         0.00   35.23%        -4.34
                                                                   0.00          0.00                $0.00


DW96955310       B01000823           11/04/1998                 6,882.19         0.00   35.23%     2,424.60
                 B01002285           11/04/1998                   173.26         0.00   35.23%        61.04
                 B01001652           11/04/1998                   689.37         0.00   35.23%       242.87
                 B01002487           11/04/1998                   372.62         0.00   35.23%       131.27
                 B01001652           11/04/1998                   174.37         0.00   35.23%        61.43
                 B01003433           11/27/1998                   758.75         0.00   35.23%       267.31
                                                  Exhibit 4-A
                                                    0408
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                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)           Costs
DW96955310       B01002715               11/30/1998                 1,950.71            0.00   35.23%       687.24
                 01003531                01/07/1999                   237.82            0.00   35.23%        83.78
                 01003651                04/08/1999                 2,030.52            0.00   35.23%       715.35
                 51000303                05/25/1999                   542.66            0.00   35.23%       191.18
                 51000029                05/25/1999                 3,819.61            0.00   35.23%     1,345.65
                 51000509                06/08/1999                 2,390.24            0.00   35.23%       842.08
                 51001200                07/28/1999                 1,051.81            0.00   35.23%       370.55
                 51001464                09/02/1999                   601.97            0.00   35.23%       212.07
                 51001778                09/16/1999                 2,400.23            0.00   35.23%       845.60
                 51000973                09/23/1999                   424.27            0.00   35.23%       149.47
                                                                24,500.40               0.00             $8,631.49



       Total Fiscal Year 1999 Other Direct Costs:              185,418.47         6,357.95              $67,562.85

                      Total Fiscal Year 1999:                            235,870.95                     $83,097.40


                                         PAYROLL DIRECT COSTS
                                                                                               Ind.
                                          Fiscal       Pay                      Payroll        Rate     Indirect
Employee Name                             Year        Period                    Costs          (%)       Costs
ADAMS, ELIZABETH                          2000          08                            100.18   44.34%        44.42
                                                                                      100.18               $44.42


ELIAS, JEANNE                             2000          01                            563.98   44.34%      250.07
                                                        02                            390.45   44.34%      173.13
                                                        03                            216.91   44.34%       96.18
                                                        04                            563.98   44.34%      250.07
                                                        06                            260.29   44.34%      115.41
                                                        07                             43.38   44.34%       19.23
                                                        08                            229.18   44.34%      101.62
                                                        10                            137.50   44.34%       60.97

                                                      Exhibit 4-A
                                                        0409
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
ELIAS, JEANNE                        2000       11                    91.67   44.34%       40.65
                                                                   2,497.34             $1,107.33


HEALY, HELENA                        2000       06                    40.52   44.34%       17.97
                                                10                    85.06   44.34%       37.72
                                                18                    85.06   44.34%       37.72
                                                22                    42.53   44.34%       18.86
                                                24                    42.53   44.34%       18.86
                                                25                    42.53   44.34%       18.86
                                                                     338.23              $149.99


JOHNSON, KATHLEEN                    2000       02                    54.30   44.34%       24.08
                                                10                    60.33   44.34%       26.75
                                                                     114.63               $50.83


JOHNSON, SHARON                      2000       08                   120.17   44.34%       53.28
                                                22                    79.67   44.34%       35.33
                                                23                   109.56   44.34%       48.58
                                                                     309.40              $137.19


KEMMERER, JOHN                       2000       06                   159.58   44.34%       70.76
                                                                     159.58               $70.76


RONGONE, MARIE                       2000       20                    51.62   44.34%       22.89
                                                22                   103.25   44.34%       45.78
                                                                     154.87               $68.67


SETER, DAVID                         2000       01                   189.91   44.34%       84.21
                                                02                   949.57   44.34%      421.04
                                              Exhibit 4-A
                                                0410
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                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                               Ind.
                                           Fiscal     Pay          Payroll     Rate     Indirect
Employee Name                              Year      Period        Costs       (%)       Costs
SETER, DAVID                               2000        03           1,543.05   44.34%      684.19
                                                       04             569.64   44.34%      252.58
                                                       05             451.29   44.34%      200.10
                                                       06           1,015.43   44.34%      450.24
                                                       07             925.83   44.34%      410.51
                                                       08           1,753.71   44.34%      777.60
                                                       09             726.54   44.34%      322.15
                                                       10             551.17   44.34%      244.39
                                                       11             325.69   44.34%      144.41
                                                       12             325.69   44.34%      144.41
                                                       13             450.95   44.34%      199.95
                                                       14             275.58   44.34%      122.19
                                                       15             851.80   44.34%      377.69
                                                       17             150.32   44.34%       66.65
                                                       18             501.06   44.34%      222.17
                                                       19             476.01   44.34%      211.06
                                                       21             325.69   44.34%      144.41
                                                       22             726.54   44.34%      322.15
                                                       23             275.58   44.34%      122.19
                                                       24             651.38   44.34%      288.82
                                                       25             375.80   44.34%      166.63
                                                       26           1,302.76   44.34%      577.64
                                                       27             100.21   44.34%       44.43
                                                                   15,791.20            $7,001.81



      Total Fiscal Year 2000 Payroll Direct Costs:                 19,465.43            $8,631.00




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                                                       0411
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                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
COLLINS, PATTI                             T4458701          12/28/1999            503.68   44.34%      223.33
                                                                                   503.68              $223.33


SETER, DAVID                               T4522232          11/24/1999            266.73   44.34%      118.27
                                           T4480428          01/24/2000            155.78   44.34%       69.08
                                           T4476681          04/20/2000            178.87   44.34%       79.31
                                                                                   601.38              $266.66



       Total Fiscal Year 2000 Travel Direct Costs:                               1,105.06              $489.99

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-W5-0024       9910-210-22             10/08/1999                   677.77         0.00   44.34%      300.52
                 9910-226-23             10/15/1999                   479.45         0.00   44.34%      212.59
                 9910-226-24             11/09/1999                 1,580.11         0.00   44.34%      700.62
                 9910-210-24             11/09/1999                   409.77         0.00   44.34%      181.69
                                                                    3,147.10         0.00            $1,395.42


68-W9-0059       132                     10/28/1999                 4,097.87       349.73   44.34%    1,972.07
                 133                     02/01/2000                   775.65        66.20   44.34%      373.28
                 135-Z                   02/01/2000                    -0.01         0.00   44.34%        0.00
                                                                    4,873.51       415.93            $2,345.35


68-W9-0060       156Z                    06/27/2000                  -165.17       -11.73   44.34%       -78.44
                                                                     -165.17       -11.73              $-78.44


DW96955310       51002064                11/09/1999                 2,670.68         0.00   44.34%    1,184.18

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                                                        0412
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                                          OTHER DIRECT COSTS
Contract,                                Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site           Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount            Costs    (%)           Costs
DW96955310       51002443                12/17/1999                594.90            0.00   44.34%       263.78
                 51002857                01/18/2000              3,330.47            0.00   44.34%     1,476.73
                 51002647                01/18/2000              2,624.28            0.00   44.34%     1,163.61
                 51003075                02/25/2000              7,500.72            0.00   44.34%     3,325.82
                 51003329                03/17/2000             10,255.96            0.00   44.34%     4,547.49
                 51003571                04/20/2000              2,454.08            0.00   44.34%     1,088.14
                 51003830                05/17/2000                386.12            0.00   44.34%       171.21
                 51004259                08/04/2000                163.66            0.00   44.34%        72.57
                 51004542                08/30/2000                101.98            0.00   44.34%        45.22
                 51004779                09/20/2000                684.43            0.00   44.34%       303.48
                                                                30,767.28            0.00            $13,642.23


DW96955452       51003578                04/20/2000              4,751.06            0.00   44.34%     2,106.62
                 51004058                07/07/2000              1,159.19            0.00   44.34%       513.98
                 51004267                08/04/2000              6,222.45            0.00   44.34%     2,759.03
                 51004549                08/30/2000             48,118.80            0.00   44.34%    21,335.88
                 51004786                09/20/2000             61,031.89            0.00   44.34%    27,061.54
                                                               121,283.39            0.00            $53,777.05



       Total Fiscal Year 2000 Other Direct Costs:              159,906.11          404.20            $71,081.61

                      Total Fiscal Year 2000:                         180,880.80                     $80,202.60


                                         PAYROLL DIRECT COSTS
                                                                                            Ind.
                                          Fiscal       Pay                   Payroll        Rate     Indirect
Employee Name                             Year        Period                 Costs          (%)       Costs
BERG, ELIZABETH                           2001          05                       261.92     38.03%       99.61
                                                        06                       851.40     38.03%      323.79
                                                        09                       296.79     38.03%      112.87
                                                        10                     1,137.68     38.03%      432.66
                                                        11                       346.26     38.03%      131.68
                                                      Exhibit 4-A
                                                        0413
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                                   PAYROLL DIRECT COSTS
                                                                               Ind.
                                     Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                        Year     Period              Costs        (%)       Costs
BERG, ELIZABETH                      2001       12                   494.65    38.03%      188.12
                                                13                   840.90    38.03%      319.79
                                                14                   989.30    38.03%      376.23
                                                15                   247.32    38.03%       94.06
                                                16                   593.58    38.03%      225.74
                                                17                 1,286.08    38.03%      489.10
                                                18                   939.84    38.03%      357.42
                                                19                 1,286.08    38.03%      489.10
                                                20                   643.04    38.03%      244.55
                                                21                    98.93    38.03%       37.62
                                                26                    98.94    38.03%       37.63
                                                27                    98.92    38.03%       37.62
                                                                   10,511.63            $3,997.59


BROWN, STEPHANIE                     2001       13                   156.78    38.03%       59.62
                                                17                   107.77    38.03%       40.98
                                                19                    13.48    38.03%        5.13
                                                                     278.03               $105.73


HEALEY, MICHAEL                      2001       17                    96.77    38.03%       36.80
                                                21                    16.13    38.03%        6.13
                                                                     112.90                $42.93


HEALY, HELENA                        2001       12                    68.41    38.03%       26.02
                                                13                    22.80    38.03%        8.67
                                                16                    45.61    38.03%       17.35
                                                17                    79.85    38.03%       30.37
                                                18                   136.85    38.03%       52.04
                                                21                    11.41    38.03%        4.34
                                                                     364.93               $138.79



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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
JOHNSON, KATHLEEN                    2001       13                   129.88   38.03%       49.39
                                                16                    97.41   38.03%       37.05
                                                17                   194.81   38.03%       74.09
                                                19                    64.94   38.03%       24.70
                                                                     487.04              $185.23


MALDONADO, LEWIS                     2001       12                    67.80   38.03%       25.78
                                                13                    94.93   38.03%       36.10
                                                14                    40.67   38.03%       15.47
                                                15                   122.02   38.03%       46.40
                                                16                   176.28   38.03%       67.04
                                                17                    81.35   38.03%       30.94
                                                18                   108.47   38.03%       41.25
                                                19                    40.67   38.03%       15.47
                                                20                    54.23   38.03%       20.62
                                                21                    54.23   38.03%       20.62
                                                22                    13.55   38.03%        5.15
                                                                     854.20              $324.84


MOORE, KATHERINE                     2001       25                    55.21   38.03%       21.00
                                                                      55.21               $21.00


ROBERTS, ROBERT                      2001       16                    35.99   38.03%       13.69
                                                17                    95.97   38.03%       36.50
                                                21                    24.72   38.03%        9.40
                                                                     156.68               $59.59


SETER, DAVID                         2001       01                    75.16   38.03%       28.58
                                                03                   400.69   38.03%      152.38
                                                04                    97.79   38.03%       37.19
                                                05                   166.68   38.03%       63.39
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                                                0415
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                                         PAYROLL DIRECT COSTS
                                                                                      Ind.
                                           Fiscal      Pay                Payroll     Rate     Indirect
Employee Name                              Year       Period              Costs       (%)       Costs
SETER, DAVID                               2001         06                    71.43   38.03%       27.16
                                                        07                   300.52   38.03%      114.29
                                                        08                    50.09   38.03%       19.05
                                                        09                   131.00   38.03%       49.82
                                                        10                   550.18   38.03%      209.23
                                                        11                 1,100.35   38.03%      418.46
                                                        12                   969.36   38.03%      368.65
                                                        13                 1,283.74   38.03%      488.21
                                                        14                 1,047.96   38.03%      398.54
                                                        15                   759.77   38.03%      288.94
                                                        16                   392.99   38.03%      149.45
                                                        17                   602.58   38.03%      229.16
                                                        18                   392.99   38.03%      149.45
                                                        19                   288.19   38.03%      109.60
                                                        20                   681.17   38.03%      259.05
                                                        21                   314.39   38.03%      119.56
                                                        22                 1,309.95   38.03%      498.17
                                                        24                   366.78   38.03%      139.49
                                                        26                   366.78   38.03%      139.49
                                                                          11,720.54            $4,457.31



      Total Fiscal Year 2001 Payroll Direct Costs:                        24,541.16            $9,333.01

                                          TRAVEL DIRECT COSTS

                                                              Treasury                Ind.
                                           Travel             Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date      Costs       (%)       Costs
BERG, ELIZABETH                            T4514539          04/05/2001      204.73   38.03%       77.86
                                           4512623           06/22/2001      440.64   38.03%      167.57
                                                                             645.37              $245.43


SETER, DAVID                               T4491938          10/04/2000      368.24   38.03%      140.05

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                                                        0416
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                              Treasury                    Ind.
                                           Travel             Schedule        Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date          Costs       (%)       Costs
SETER, DAVID                               T4514537          03/27/2001          235.77   38.03%       89.67
                                           T4512910          08/07/2001          396.72   38.03%      150.87
                                                                               1,000.73              $380.59



       Total Fiscal Year 2001 Travel Direct Costs:                             1,646.10              $626.02

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site            Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount             Costs    (%)        Costs
68-W0-1002       2                       02/20/2001                  18.84         0.00   38.03%        7.16
                 5R                      06/12/2001                   1.55         0.00   38.03%        0.59
                 9                       09/06/2001                 286.94         0.00   38.03%      109.12
                                                                    307.33         0.00              $116.87


68-W5-0024       9920-21026R             04/25/2001                  14.38         0.00   38.03%         5.47
                                                                     14.38         0.00                $5.47


DW96955310       B01930135               08/29/2001                 110.45         0.00   38.03%       42.00
                 B12960186               08/29/2001                 654.69         0.00   38.03%      248.98
                                                                    765.14         0.00              $290.98


DW96955452       51005102                10/25/2000             53,087.76          0.00   38.03%   20,189.28
                 51005474                11/21/2000              8,649.13          0.00   38.03%    3,289.26
                 51005699                12/14/2000             10,788.26          0.00   38.03%    4,102.78
                 51005906                01/30/2001             26,611.79          0.00   38.03%   10,120.46
                 51006148                02/28/2001             29,579.67          0.00   38.03%   11,249.15
                                                                13,920.48          0.00   38.03%    5,293.96
                 51006389                03/29/2001              1,757.85          0.00   38.03%      668.51
                 51006913                05/22/2001             12,012.04          0.00   38.03%    4,568.18

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                                          OTHER DIRECT COSTS
Contract,                                Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site           Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount            Costs    (%)           Costs
DW96955452       51006621                05/22/2001             15,482.20            0.00   38.03%     5,887.88
                 51007184                06/20/2001              3,336.25            0.00   38.03%     1,268.78
                 51007467                08/28/2001              3,927.46            0.00   38.03%     1,493.61
                 51007767                09/11/2001              4,842.29            0.00   38.03%     1,841.52
                                                               183,995.18            0.00            $69,973.37



       Total Fiscal Year 2001 Other Direct Costs:              185,082.03            0.00            $70,386.69

                      Total Fiscal Year 2001:                         211,269.29                     $80,345.72


                                         PAYROLL DIRECT COSTS
                                                                                            Ind.
                                          Fiscal       Pay                   Payroll        Rate     Indirect
Employee Name                             Year        Period                 Costs          (%)       Costs
BERG, ELIZABETH                           2002          13                         808.00   36.14%      292.01
                                                                                   808.00              $292.01


FONG, YVONNE                              2002          16                        21.67     36.14%        7.83
                                                        18                       270.82     36.14%       97.87
                                                        20                       947.26     36.14%      342.34
                                                        21                     1,693.93     36.14%      612.19
                                                        22                        66.86     36.14%       24.16
                                                        23                     1,103.28     36.14%      398.73
                                                                               4,103.82               $1,483.12


JOHNSON, SHARON                           2002          10                     1,640.77     36.14%      592.97
                                                        11                       140.64     36.14%       50.83
                                                        14                       750.06     36.14%      271.07
                                                        15                       843.83     36.14%      304.96
                                                        16                        70.31     36.14%       25.41
                                                        20                        23.43     36.14%        8.47
                                                      Exhibit 4-A
                                                        0418
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
JOHNSON, SHARON                      2002       21                   426.30   36.14%      154.06
                                                22                 2,015.79   36.14%      728.51
                                                23                 1,746.25   36.14%      631.09
                                                24                   750.24   36.14%      271.14
                                                25                   375.09   36.14%      135.56
                                                26                   703.19   36.14%      254.13
                                                27                   353.52   36.14%      127.76
                                                                   9,839.42             $3,555.96


KEMMERER, JOHN                       2002       27                    66.86   36.14%       24.16
                                                                      66.86               $24.16


KREMER, THOMAS                       2002       26                   120.26   36.14%       43.46
                                                                     120.26               $43.46


LEITH, SUZETTE                       2002       21                   130.41   36.14%       47.13
                                                27                    95.05   36.14%       34.35
                                                                     225.46               $81.48


MALDONADO, LEWIS                     2002       02                    27.12   36.14%         9.80
                                                                      27.12                $9.80


MOORE, KATHERINE                     2002       01                    55.20   36.14%       19.95
                                                                      55.20               $19.95


PANG, TIFFANIE                       2002       19                 1,118.06   36.14%      404.07
                                                20                 2,503.25   36.14%      904.67
                                                21                 1,771.06   36.14%      640.06
                                                22                 1,217.02   36.14%      439.83
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                                                0419
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
PANG, TIFFANIE                       2002       23                   544.18   36.14%      196.67
                                                                   7,153.57             $2,585.30


ROBERTS, ROBERT                      2002       23                    39.68   36.14%       14.34
                                                                      39.68               $14.34


SETER, DAVID                         2002       01                   235.78   36.14%       85.21
                                                02                    52.39   36.14%       18.93
                                                03                   104.79   36.14%       37.87
                                                04                   209.60   36.14%       75.75
                                                05                   351.92   36.14%      127.18
                                                06                   249.13   36.14%       90.04
                                                07                   261.99   36.14%       94.68
                                                08                   681.15   36.14%      246.17
                                                09                   609.25   36.14%      220.18
                                                10                   803.11   36.14%      290.24
                                                11                 1,661.60   36.14%      600.50
                                                12                   720.02   36.14%      260.22
                                                                      55.38   36.14%       20.01
                                                13                   276.93   36.14%      100.08
                                                                     110.77   36.14%       40.03
                                                14                   775.42   36.14%      280.24
                                                15                   387.71   36.14%      140.12
                                                                   1,052.34   36.14%      380.32
                                                16                   720.02   36.14%      260.22
                                                17                   110.76   36.14%       40.03
                                                                     996.96   36.14%      360.30
                                                18                 1,163.12   36.14%      420.35
                                                19                 1,661.60   36.14%      600.50
                                                20                   249.23   36.14%       90.07
                                                21                   110.77   36.14%       40.03
                                                                     775.42   36.14%      280.24
                                                22                   387.71   36.14%      140.12
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                                         PAYROLL DIRECT COSTS
                                                                                            Ind.
                                           Fiscal      Pay                      Payroll     Rate     Indirect
Employee Name                              Year       Period                    Costs       (%)       Costs
SETER, DAVID                               2002         23                       1,107.81   36.14%      400.36
                                                                                   387.73   36.14%      140.13
                                                        25                         498.47   36.14%      180.15
                                                                                16,768.88             $6,060.27


WORTHMAN, GARY                             2002         23                          64.40   36.14%        23.27
                                                                                    64.40               $23.27



      Total Fiscal Year 2002 Payroll Direct Costs:                              39,272.67            $14,193.12

                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
SETER, DAVID                               T4521445          04/04/2002            301.41   36.14%      108.93
                                           T4521456          06/10/2002            280.58   36.14%      101.40
                                           T4519968          08/15/2002            576.16   36.14%      208.22
                                                                                 1,158.15              $418.55



       Total Fiscal Year 2002 Travel Direct Costs:                               1,158.15              $418.55

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-R9-0101       2                       01/09/2002                    30.50         0.00   36.14%       11.02
                 5                       04/03/2002                    39.21         0.00   36.14%       14.17
                 6                       05/01/2002                 1,200.60         0.00   36.14%      433.90
                 7                       06/03/2002                 1,836.55         0.00   36.14%      663.73
                 8                       07/03/2002                   561.01         0.00   36.14%      202.75
                 9                       08/01/2002                   153.77         0.00   36.14%       55.57
                                                      Exhibit 4-A
                                                        0421
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                                      EPA Indirect Costs
                            MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                     OTHER DIRECT COSTS
Contract,                            Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher             Schedule            Site              Allocation Rate       Indirect
Misc.NO          Number                Date             Amount               Costs    (%)         Costs
68-R9-0101       10                 09/04/2002                  626.03          0.00   36.14%       226.25
                                                               4,447.67         0.00              $1,607.39


68-W0-1002       10                 10/03/2001                   111.77         0.00   36.14%         40.39
                                                                 111.77         0.00                $40.39


937801           255                07/31/2002           520,177.27             0.00   36.14%    187,992.07
                                                         520,177.27             0.00            $187,992.07


937802           255                07/31/2002           327,637.06             0.00   36.14%    118,408.03
                                                         327,637.06             0.00            $118,408.03


DW96955452       51008049           10/05/2001              5,532.56            0.00   36.14%      1,999.47
                 51008384           10/25/2001              4,479.72            0.00   36.14%      1,618.97
                 51008764           12/11/2001             62,640.32            0.00   36.14%     22,638.21
                 51008981           12/19/2001              7,315.44            0.00   36.14%      2,643.80
                                                            9,068.83            0.00   36.14%      3,277.48
                 51009208           01/22/2002             19,144.07            0.00   36.14%      6,918.67
                 51009622           04/01/2002              3,718.82            0.00   36.14%      1,343.98
                 51009858           04/26/2002              9,372.32            0.00   36.14%      3,387.16
                 51010079           05/31/2002              7,873.11            0.00   36.14%      2,845.34
                 51010346           07/01/2002              3,207.27            0.00   36.14%      1,159.11
                 51010598           07/19/2002             66,302.47            0.00   36.14%     23,961.71
                 51009405           08/08/2002             19,119.72            0.00   36.14%      6,909.87
                 51010848           08/15/2002              7,269.63            0.00   36.14%      2,627.24
                 51011085           09/18/2002             21,233.49            0.00   36.14%      7,673.78
                                                            5,677.15            0.00   36.14%      2,051.72
                                                         251,954.92             0.00             $91,056.51


DW96955536       51010352           07/01/2002                 2,299.05         0.00   36.14%       830.88
                                                 Exhibit 4-A
                                                   0422
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site           Allocation Rate          Indirect
Misc.NO          Number                    Date              Amount            Costs    (%)            Costs
DW96955536       51010605                07/19/2002              6,141.18            0.00   36.14%      2,219.42
                 51010855                08/15/2002              2,989.38            0.00   36.14%      1,080.36
                 51011092                09/18/2002             62,548.88            0.00   36.14%     22,605.17
                                                                73,978.49            0.00             $26,735.83



       Total Fiscal Year 2002 Other Direct Costs:            1,178,307.18            0.00            $425,840.22

                      Total Fiscal Year 2002:                       1,218,738.00                     $440,451.89


                                         PAYROLL DIRECT COSTS
                                                                                            Ind.
                                          Fiscal       Pay                   Payroll        Rate      Indirect
Employee Name                             Year        Period                 Costs          (%)        Costs
BERG, ELIZABETH                           2003          02                         161.60   40.84%        66.00
                                                        14                          57.94   40.84%        23.66
                                                        18                         984.98   40.84%       402.27
                                                        20                         579.40   40.84%       236.63
                                                        21                         579.40   40.84%       236.63
                                                        22                         115.88   40.84%        47.33
                                                        24                          57.94   40.84%        23.66
                                                        26                         405.59   40.84%       165.64
                                                                               2,942.73                $1,201.82


FEATHERSON, CLARENCE                      2003          02                          87.45   40.84%        35.71
                                                        03                         320.65   40.84%       130.95
                                                                                   408.10               $166.66


FONG, YVONNE                              2003          01                          45.81   40.84%        18.71
                                                        02                          11.35   40.84%         4.64
                                                        10                         717.36   40.84%       292.97
                                                        11                          58.79   40.84%        24.01
                                                      Exhibit 4-A
                                                        0423
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
FONG, YVONNE                         2003       18                    71.70   40.84%       29.28
                                                20                   501.94   40.84%      204.99
                                                21                   872.42   40.84%      356.30
                                                                   2,279.37              $930.90


HEALY, HELENA                        2003       02                    24.67   40.84%       10.08
                                                03                    74.00   40.84%       30.22
                                                05                    74.01   40.84%       30.23
                                                27                    53.05   40.84%       21.67
                                                                     225.73               $92.20


JOHNSON, SHARON                      2003       03                   210.95   40.84%        86.15
                                                10                   624.73   40.84%       255.14
                                                16                   203.18   40.84%        82.98
                                                17                 1,650.78   40.84%       674.18
                                                18                 2,234.91   40.84%       912.74
                                                19                 1,422.21   40.84%       580.83
                                                21                 1,676.18   40.84%       684.55
                                                22                 4,012.67   40.84%     1,638.77
                                                24                   204.32   40.84%        83.44
                                                25                   495.25   40.84%       202.26
                                                26                   253.99   40.84%       103.73
                                                                  12,989.17             $5,304.77


LAMMIE, BENJAMIN                     2003       27                    79.55   40.84%       32.49
                                                                      79.55               $32.49


LEITH, SUZETTE                       2003       01                   380.20   40.84%      155.27
                                                04                   186.35   40.84%       76.11
                                                05                    31.05   40.84%       12.68
                                                06                    31.05   40.84%       12.68
                                              Exhibit 4-A
                                                0424
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
LEITH, SUZETTE                       2003       10                   405.51   40.84%      165.61
                                                11                    67.60   40.84%       27.61
                                                14                   206.05   40.84%       84.15
                                                15                   103.04   40.84%       42.08
                                                                   1,410.85              $576.19


MALDONADO, LEWIS                     2003       26                    34.23   40.84%       13.98
                                                                      34.23               $13.98


PANG, TIFFANIE                       2003       18                   149.85   40.84%       61.20
                                                19                 1,562.64   40.84%      638.18
                                                20                 1,519.82   40.84%      620.69
                                                22                   160.29   40.84%       65.46
                                                                   3,392.60             $1,385.53


SCHECHTER, DEBORAH                   2003       19                    29.02   40.84%        11.85
                                                24                    29.02   40.84%        11.85
                                                25                    14.51   40.84%         5.93
                                                                      72.55               $29.63


SETER, DAVID                         2003       01                   221.54   40.84%       90.48
                                                02                   276.93   40.84%      113.10
                                                05                   186.74   40.84%       76.26
                                                06                   210.70   40.84%       86.05
                                                07                   193.87   40.84%       79.18
                                                08                   498.48   40.84%      203.58
                                                09                   114.35   40.84%       46.70
                                                10                 1,143.52   40.84%      467.01
                                                11                    57.17   40.84%       23.35
                                                12                   116.28   40.84%       47.49
                                                14                   174.41   40.84%       71.23
                                              Exhibit 4-A
                                                0425
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                                            EPA Indirect Costs
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                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                      Ind.
                                           Fiscal     Pay                 Payroll     Rate     Indirect
Employee Name                              Year      Period               Costs       (%)       Costs
SETER, DAVID                               2003         15                   348.84   40.84%      142.47
                                                        16                   406.96   40.84%      166.20
                                                        17                   784.86   40.84%      320.54
                                                        18                   406.96   40.84%      166.20
                                                        19                   697.66   40.84%      284.92
                                                        20                 2,092.96   40.84%      854.76
                                                        21                   552.30   40.84%      225.56
                                                        23                   174.41   40.84%       71.23
                                                        24                   581.39   40.84%      237.44
                                                        25                 1,279.03   40.84%      522.36
                                                        26                   523.28   40.84%      213.71
                                                        27                 1,249.97   40.84%      510.49
                                                                          12,292.61             $5,020.31


WOOD, DAVID                                2003         09                   229.23   40.84%       93.62
                                                        10                 1,227.06   40.84%      501.13
                                                        11                   350.60   40.84%      143.19
                                                        12                   701.18   40.84%      286.36
                                                                           2,508.07             $1,024.30



      Total Fiscal Year 2003 Payroll Direct Costs:                        38,635.56            $15,778.78

                                          TRAVEL DIRECT COSTS

                                                             Treasury                 Ind.
                                           Travel            Schedule     Travel      Rate     Indirect
Traveler/Vendor Name                       Number              Date       Costs       (%)       Costs
FONG, YVONNE                               0309TAL311        02/24/2003        9.32   40.84%         3.81
                                                                               9.32                $3.81


SETER, DAVID                               TM0081668         02/07/2003      290.19   40.84%       118.52


                                                     Exhibit 4-A
                                                       0426
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                             CRP# 110926, 101445 & 238
    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
SETER, DAVID                               TM0119480         07/07/2003            696.35   40.84%      284.39
                                                                                   986.54              $402.91


WOOD, DAVID                                0309TAL310        02/24/2003             75.96   40.84%       31.02
                                                                                    75.96               $31.02



       Total Fiscal Year 2003 Travel Direct Costs:                               1,071.82              $437.74

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-R9-0101       11                      10/03/2002                 3,410.03         0.00   40.84%    1,392.66
                 12                      10/31/2002                   108.75         0.00   40.84%       44.41
                 13                      12/12/2002                    74.08         0.00   40.84%       30.25
                 14R                     01/22/2003                    34.68         0.00   40.84%       14.16
                 16                      01/23/2003                    32.76         0.00   40.84%       13.38
                 20                      05/29/2003                   226.54         0.00   40.84%       92.52
                 21                      06/05/2003                    85.96         0.00   40.84%       35.11
                 22                      06/13/2003                   281.30         0.00   40.84%      114.88
                 23                      07/16/2003                   369.99         0.00   40.84%      151.10
                 24                      08/15/2003                    74.20         0.00   40.84%       30.30
                                                                    2,730.32         0.00   40.84%    1,115.06
                 25                      09/16/2003                 4,910.01         0.00   40.84%    2,005.25
                                                                       48.89         0.00   40.84%       19.97
                                                                12,387.51            0.00            $5,059.05


68-W9-0060       COL/2203R30003          10/09/2002            -11,396.72         -809.19   40.84%   -4,984.89




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                                                        0427
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                     OTHER DIRECT COSTS
Contract,                            Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher             Schedule            Site               Allocation Rate      Indirect
Misc.NO          Number                Date             Amount                Costs    (%)        Costs
68-W9-0060       COL/2203R30003     10/09/2002                 -1,397.87       -99.25   40.84%      -611.42
                                                          -12,794.59          -908.44            $-5,596.31


DW96955452       51011348           10/18/2002              6,626.80             0.00   40.84%     2,706.39
                 51011672           11/26/2002              2,422.58             0.00   40.84%       989.38
                 51011952           12/27/2002              6,755.85             0.00   40.84%     2,759.09
                 51012202           01/30/2003              6,153.04             0.00   40.84%     2,512.90
                 51012444           02/20/2003              4,766.78             0.00   40.84%     1,946.75
                 51012668           03/21/2003             23,457.20             0.00   40.84%     9,579.92
                 51012897           04/17/2003              3,290.35             0.00   40.84%     1,343.78
                 51013140           05/22/2003              1,866.06             0.00   40.84%       762.10
                 51013400           07/01/2003                139.00             0.00   40.84%        56.77
                 51013961           08/22/2003                471.92             0.00   40.84%       192.73
                 51014242           09/29/2003              2,849.63             0.00   40.84%     1,163.79
                                                           58,799.21             0.00            $24,013.60


DW96955536       51011355           10/18/2002                 3,120.57          0.00   40.84%     1,274.44
                 51011679           11/26/2002                 2,359.84          0.00   40.84%       963.76
                 51011958           12/27/2002                 5,110.66          0.00   40.84%     2,087.19
                 51012208           01/30/2003                 1,411.22          0.00   40.84%       576.34
                 51012450           02/20/2003                 1,289.64          0.00   40.84%       526.69
                 51012674           03/21/2003                 1,493.76          0.00   40.84%       610.05
                 51012904           04/17/2003                 1,258.01          0.00   40.84%       513.77
                 51013146           05/22/2003                   292.66          0.00   40.84%       119.52
                 51013967           08/22/2003                   900.00          0.00   40.84%       367.56
                 51014247           09/29/2003                 1,350.00          0.00   40.84%       551.34
                                                           18,586.36             0.00             $7,590.66


DW96955588       51013147           05/28/2003                 1,613.57          0.00   40.84%       658.98
                 51013407           07/01/2003                 5,138.53          0.00   40.84%     2,098.58
                 51013691           07/24/2003                 6,659.38          0.00   40.84%     2,719.69
                 51013968           08/22/2003                 6,217.04          0.00   40.84%     2,539.04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate          Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)            Costs
DW96955588       51014248                09/29/2003                 4,859.31            0.00    40.84%     1,984.54
                                                                24,487.83               0.00             $10,000.83



       Total Fiscal Year 2003 Other Direct Costs:              101,466.32             -908.44            $41,067.83

                      Total Fiscal Year 2003:                            140,265.26                      $57,284.35


                                         PAYROLL DIRECT COSTS
                                                                                                Ind.
                                          Fiscal       Pay                      Payroll         Rate     Indirect
Employee Name                             Year        Period                    Costs           (%)       Costs
BERG, ELIZABETH                           2004          02                          927.04      36.58%       339.11
                                                        03                        2,954.95      36.58%     1,080.92
                                                        08                          173.83      36.58%        63.59
                                                        09                           59.85      36.58%        21.89
                                                        10                           59.85      36.58%        21.89
                                                        12                           59.85      36.58%        21.89
                                                        15                          615.07      36.58%       224.99
                                                        16                          430.54      36.58%       157.49
                                                                                  5,280.98                $1,931.77


FITZGERALD, ROBERT                        2004          13                             29.04    36.58%        10.62
                                                        18                             59.66    36.58%        21.82
                                                        19                             59.65    36.58%        21.82
                                                        20                             59.66    36.58%        21.82
                                                                                      208.01                $76.08


FONG, YVONNE                              2004          03                            203.18    36.58%        74.32
                                                                                      203.18                $74.32



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                                                        0429
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
JOHNSON, SHARON                      2004       01                   127.70   36.58%       46.71
                                                02                   203.18   36.58%       74.32
                                                10                   649.86   36.58%      237.72
                                                11                   337.92   36.58%      123.61
                                                12                    38.99   36.58%       14.26
                                                                   1,357.65              $496.62


MAGNUSON, JANET                      2004       11                   861.29   36.58%      315.06
                                                12                    30.76   36.58%       11.25
                                                14                   153.80   36.58%       56.26
                                                15                   252.90   36.58%       92.51
                                                16                   316.12   36.58%      115.64
                                                19                   189.67   36.58%       69.38
                                                20                   505.79   36.58%      185.02
                                                                   2,310.33              $845.12


MALDONADO, LEWIS                     2004       12                    35.12   36.58%       12.85
                                                                      35.12               $12.85


PANG, TIFFANIE                       2004       03                    74.79   36.58%       27.36
                                                                      74.79               $27.36


SCHECHTER, DEBORAH                   2004       07                    29.00   36.58%       10.61
                                                                      29.00               $10.61


SETER, DAVID                         2004       01                    58.13   36.58%       21.26
                                                                     116.28   36.58%       42.54
                                                02                   436.02   36.58%      159.50
                                                                      58.13   36.58%       21.26
                                                03                   552.30   36.58%      202.03
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                                                0430
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                     Ind.
                                           Fiscal     Pay                Payroll     Rate     Indirect
Employee Name                              Year      Period              Costs       (%)       Costs
SETER, DAVID                               2004        04                   142.16   36.58%       52.00
                                                       05                   110.60   36.58%       40.46
                                                       06                 1,465.40   36.58%      536.04
                                                       07                   203.47   36.58%       74.43
                                                       08                   232.55   36.58%       85.07
                                                       11                    59.69   36.58%       21.83
                                                                             59.69   36.58%       21.83
                                                       12                   626.73   36.58%      229.26
                                                       13                   477.50   36.58%      174.67
                                                       14                 1,014.69   36.58%      371.17
                                                       15                    92.01   36.58%       33.66
                                                       19                   245.36   36.58%       89.75
                                                       20                   122.69   36.58%       44.88
                                                                          6,073.40            $2,221.64


WOOD, DAVID                                2004        03                    13.72   36.58%         5.02
                                                                             13.72                $5.02


YOUNG, CHARLES                             2004        03                   194.42   36.58%       71.12
                                                                            194.42               $71.12



      Total Fiscal Year 2004 Payroll Direct Costs:                       15,780.60            $5,772.51

                                          TRAVEL DIRECT COSTS

                                                             Treasury                Ind.
                                           Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number              Date      Costs       (%)       Costs
BERG, ELIZABETH                            TM0161740        11/14/2003      384.25   36.58%      140.56
                                                                            384.25              $140.56



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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
SETER, DAVID                               TM0152675         01/12/2004            393.48   36.58%      143.93
                                                                                   393.48              $143.93



       Total Fiscal Year 2004 Travel Direct Costs:                                 777.73              $284.49

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-R9-0101       26                      10/21/2003                   476.44         0.00   36.58%      174.28
                 27                      11/07/2003                 2,972.88         0.00   36.58%    1,087.48
                 31                      03/05/2004                 3,720.32         0.00   36.58%    1,360.89
                 33                      03/31/2004                   231.48         0.00   36.58%       84.68
                 32                      03/31/2004                 2,619.69         0.00   36.58%      958.28
                 34                      05/12/2004                 1,100.18         0.00   36.58%      402.45
                 35                      05/21/2004                 2,934.07         0.00   36.58%    1,073.28
                 36                      06/25/2004                    38.07         0.00   36.58%       13.93
                                                                      891.81         0.00   36.58%      326.22
                                                                14,984.94            0.00            $5,481.49


DW96955452       51014565                10/29/2003                 2,924.54         0.00   36.58%    1,069.80
                 51015017                11/28/2003                 2,420.52         0.00   36.58%      885.43
                 51015326                12/23/2003                 2,239.78         0.00   36.58%      819.31
                 51015545                02/02/2004                 3,985.85         0.00   36.58%    1,458.02
                 51015948                02/27/2004                   238.54         0.00   36.58%       87.26
                                                                11,809.23            0.00            $4,319.82


DW96955536       51014571                10/29/2003                 1,292.04         0.00   36.58%      472.63
                 51015024                11/28/2003                 1,705.10         0.00   36.58%      623.73
                 51015331                12/23/2003                   531.05         0.00   36.58%      194.26


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                                                        0432
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                                            EPA Indirect Costs
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    COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate          Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)            Costs
DW96955536       51015551                02/02/2004                  452.44           0.00   36.58%         165.50
                                                                    3,980.63          0.00               $1,456.12


DW96955588       51014572                10/29/2003                 5,417.62          0.00   36.58%        1,981.77
                 51015025                11/28/2003                 3,658.67          0.00   36.58%        1,338.34
                 51015332                12/23/2003                 4,204.47          0.00   36.58%        1,538.00
                 51015552                02/02/2004                 2,784.95          0.00   36.58%        1,018.73
                 51015954                02/27/2004                 5,591.16          0.00   36.58%        2,045.25
                 51016190                04/12/2004                 6,654.27          0.00   36.58%        2,434.13
                 51016462                04/22/2004                 5,642.18          0.00   36.58%        2,063.91
                 51016716                05/21/2004                 5,345.41          0.00   36.58%        1,955.35
                 51016976                06/24/2004                 5,395.04          0.00   36.58%        1,973.51
                                                                44,693.77             0.00              $16,348.99



       Total Fiscal Year 2004 Other Direct Costs:               75,468.57             0.00              $27,606.42

                      Total Fiscal Year 2004:                             92,026.90                     $33,663.42



Total EPA Indirect Costs                                                                              $5,564,770.51




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                                                    Collections/Adjustments Report
                                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                   CRP# 110926, 101445 & 238
                          COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

    Accounts         Accounts        Accounts       Collections
   Receivable       Receivable      Receivable      Schedule               Collected
    Number            Line #         Amount          Number                Amount         Date       Payer
93300T006           001             $250,000.00   93300SD023               250,000.00   12/21/1999   SHELL OIL CO.
93300T045           001             $137,000.00   93300SD073               137,000.00   08/11/2000   SHELL OIL CO.
93301T031           001             $149,000.00   03301SD046               149,000.00   03/23/2001   SHELL OIL CO.
93302T006           001             $159,000.00   93302SD015               159,000.00   12/11/2001   SHELL OIL CO.


                                                                         $695,000.00




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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                     Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance      Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 1990 (Annual Rate: 8.47%)

Demand Letter Date                                                0.00             0.00         0.00   07/01/1990 07/05/1990      4       0.00            0.00
Voucher Schedule Date   68-W9-0060 20376-11      38,141.68                                             07/05/1990
Indirect Voucher        68-W9-0060 20376-11      13,841.62   51,983.30             0.00    51,983.30   07/05/1990 07/06/1990      1      12.06           12.06
Travel                  T637552                     316.70                                             07/06/1990
Indirect Travel         T637552                     114.93      753.52      51,983.30      52,736.82   07/06/1990 07/10/1990      4      48.95           61.01
Indirect Travel         T787332                      85.71                                             07/06/1990
Travel                  T787332                     236.18                                             07/06/1990
Voucher Schedule Date   937801 172                4,693.07                                             07/10/1990
Indirect Voucher        937801 172                1,703.12    6,396.19      52,736.82      59,133.01   07/10/1990 07/12/1990      2      27.44           88.45
Voucher Schedule Date   937801 174               29,681.37                                             07/12/1990
Indirect Voucher        937801 174               10,771.37   40,452.74      59,133.01      99,585.75   07/12/1990 07/13/1990      1      23.11          111.56
Voucher Schedule Date   68-01-7251 71             1,975.30                                             07/13/1990
Voucher Schedule Date   68-01-7251 70            12,106.84                                             07/13/1990
Travel                  T757624                     306.40                                             07/13/1990
Indirect Voucher        68-01-7251 70             4,393.57                                             07/13/1990
Indirect Voucher        68-01-7251 71               716.84                                             07/13/1990
Travel                  T757280                     160.98                                             07/13/1990
Indirect Travel         T757280                      58.42   19,829.54      99,585.75     119,415.29   07/13/1990 07/17/1990      4     110.84          222.40
Indirect Travel         T757624                     111.19                                             07/13/1990
Travel                  T758837                     188.66                                             07/17/1990
Indirect Travel         T758837                      68.47      257.13     119,415.29     119,672.42   07/17/1990 07/18/1990      1      27.77          250.17
Voucher Schedule Date   68-02-4284 3758-21      138,676.75                                             07/18/1990
Indirect Voucher        68-02-4284 3758-21       50,325.79                                             07/18/1990

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                                                                   Detailed Interest Cost
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                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per        Cost Per                      Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item            Date        Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 1990 (Annual Rate: 8.47%)

Indirect Travel         T757636                     221.74     189,835.28      119,672.42     309,507.70    07/18/1990 07/19/1990      1      71.82          321.99
Travel                  T757636                     611.00                                                  07/18/1990
Voucher Schedule Date   68-02-4291 33            22,646.00                                                  07/19/1990
Voucher Schedule Date   68-W9-0031 15            10,432.89                                                  07/19/1990
Indirect Voucher        68-W9-0031 15              3,786.10     45,083.22      309,507.70     354,590.92    07/19/1990 07/20/1990      1      82.28          404.27
Indirect Voucher        68-02-4291 33              8,218.23                                                 07/19/1990
Voucher Schedule Date   68-W9-0060 20376-12      13,935.42                                                  07/20/1990
Travel                  T757043                    1,461.48                                                 07/20/1990
Travel                  T758973                     239.75       21,311.19     354,590.92     375,902.11    07/20/1990 07/23/1990      3     261.69          665.96
Indirect Voucher        68-W9-0060 20376-12        5,057.16                                                 07/20/1990
Indirect Travel         T757043                     530.37                                                  07/20/1990
Indirect Travel         T758973                      87.01                                                  07/20/1990
Voucher Schedule Date   937801 177             1,403,174.00                                                 07/23/1990
Indirect Voucher        937801 177               509,211.84   1,912,385.84     375,902.11    2,288,287.95   07/23/1990 07/24/1990      1     531.01        1,196.97
Indirect                FY 1990 PP 21              2,213.10                                                 07/24/1990
Payroll                 FY 1990 PP 21              6,098.44                                                 07/24/1990
Indirect Travel         T642708                     243.06        9,224.35   2,288,287.95    2,297,512.30   07/24/1990 07/30/1990      6   3,198.89        4,395.86
Travel                  T642708                     669.75                                                  07/24/1990
Travel                  T410247                      79.54                                                  07/30/1990
Indirect Travel         T410247                      28.87                                                  07/30/1990
Travel                  T758964                     346.04         580.03    2,297,512.30    2,298,092.33   07/30/1990 07/31/1990      1     533.28        4,929.14
Indirect Travel         T758964                     125.58                                                  07/30/1990
Indirect                FY 1990 PP JU               262.83                                                  07/31/1990

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                                                                Detailed Interest Cost
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                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 1990 (Annual Rate: 8.47%)

Payroll                 FY 1990 PP JU               724.25      987.08    2,298,092.33    2,299,079.41   07/31/1990 08/07/1990      7   3,734.59        8,663.73
Indirect                FY 1990 PP 22             1,847.72                                               08/07/1990
Payroll                 FY 1990 PP 22             5,091.57                                               08/07/1990
Travel                  T620792                     106.69                                               08/07/1990
Indirect Travel         T770526                     115.98                                               08/07/1990
Travel                  T770526                     319.60     7,544.81   2,299,079.41    2,306,624.22   08/07/1990 08/08/1990      1     535.26        9,198.99
Indirect Travel         T620792                      38.72                                               08/07/1990
Indirect Travel         T642708                       6.53                                               08/07/1990
Travel                  T642708                      18.00                                               08/07/1990
Voucher Schedule Date   68-01-7368 106            4,817.79                                               08/08/1990
Indirect Voucher        68-01-7368 106            1,748.38     6,566.17   2,306,624.22    2,313,190.39   08/08/1990 08/09/1990      1     536.79        9,735.78
Voucher Schedule Date   68-W9-0031 16             4,847.60                                               08/09/1990
Indirect Voucher        68-W9-0031 16             1,759.19     6,606.79   2,313,190.39    2,319,797.18   08/09/1990 08/10/1990      1     538.32       10,274.10
Voucher Schedule Date   68-01-7251 72             7,038.90                                               08/10/1990
Indirect Voucher        68-01-7251 72             2,554.42     9,593.32   2,319,797.18    2,329,390.50   08/10/1990 08/14/1990      4   2,162.18       12,436.28
Voucher Schedule Date   68-02-4291 34            16,733.84                                               08/14/1990
Indirect Voucher        68-02-4291 34             6,072.71    22,806.55   2,329,390.50    2,352,197.05   08/14/1990 08/15/1990      1     545.84       12,982.12
Indirect Travel         T770502                     174.56                                               08/15/1990
Travel                  T770502                     481.00      655.56    2,352,197.05    2,352,852.61   08/15/1990 08/16/1990      1     545.99       13,528.11
Voucher Schedule Date   68-02-4284 3758-22      157,904.98                                               08/16/1990
Indirect Voucher        68-02-4284 3758-22       57,303.72   215,208.70   2,352,852.61    2,568,061.31   08/16/1990 08/20/1990      4   2,383.72       15,911.83
Indirect Travel         T758973                      71.85      269.85    2,568,061.31    2,568,331.16   08/20/1990 08/21/1990      1     595.99       16,507.82
Travel                  T758973                     198.00                                               08/20/1990

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                                                                  Detailed Interest Cost
                                                      MCCOLL, FULLERTON, CA SITE ID = 09 04
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                  Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference             Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 1990 (Annual Rate: 8.47%)

Indirect                FY 1990 PP 23               1,931.56                                              08/21/1990
Payroll                 FY 1990 PP 23               5,322.61    7,254.17   2,568,331.16    2,575,585.33   08/21/1990 08/28/1990      7   4,183.74       20,691.56
Voucher Schedule Date   937801 182                  6,157.32                                              08/28/1990
Voucher Schedule Date   937801 181                  9,012.82                                              08/28/1990
Indirect Voucher        937801 181                  3,270.75                                              08/28/1990
Indirect Voucher        937801 182                  2,234.49   20,675.38   2,575,585.33    2,596,260.71   08/28/1990 08/30/1990      2   1,204.95       21,896.51
Voucher Schedule Date   68-W9-0060 20376-13 R       1,910.98                                              08/30/1990
Voucher Schedule Date   68-W9-0060 20376-12 R       5,729.44                                              08/30/1990
Indirect Voucher        68-W9-0060 20376-12 R       2,079.21                                              08/30/1990
Indirect Voucher        68-W9-0060 20376-13 R         693.49   10,413.12   2,596,260.71    2,606,673.83   08/30/1990 08/31/1990      1     604.89       22,501.40
Voucher Schedule Date   68-W9-0060 20376-14        25,485.65                                              08/31/1990
Indirect                FY 1990 PP AG                 100.32                                              08/31/1990
Payroll                 FY 1990 PP AG                 276.43                                              08/31/1990
Indirect Voucher        68-W9-0060 20376-14         9,248.74   35,111.14   2,606,673.83    2,641,784.97   08/31/1990 09/04/1990      4   2,452.16       24,953.56
Voucher Schedule Date   68-01-7456 67              17,741.49                                              09/04/1990
Voucher Schedule Date   937801 183                 35,199.37                                              09/04/1990
Indirect                FY 1990 PP 24               1,809.57                                              09/04/1990
Payroll                 FY 1990 PP 24               4,986.41                                              09/04/1990
Indirect Voucher        68-01-7456 67               6,438.39                                              09/04/1990
Indirect Voucher        937801 183                 12,773.85   78,949.08   2,641,784.97    2,720,734.05   09/04/1990 09/06/1990      2   1,262.72       26,216.28
Voucher Schedule Date   68-W8-0074 363                855.60                                              09/06/1990
Voucher Schedule Date   68-W8-0074 362              3,935.77                                              09/06/1990
Indirect Voucher        68-W8-0074 362              1,428.29                                              09/06/1990

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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 1990 (Annual Rate: 8.47%)

Indirect Voucher        68-W8-0074 363              310.50     6,530.16   2,720,734.05    2,727,264.21   09/06/1990 09/12/1990      6   3,797.25       30,013.53
Voucher Schedule Date   68-W9-0031 17             4,989.43                                               09/12/1990
Indirect Voucher        68-W9-0031 17             1,810.66     6,800.09   2,727,264.21    2,734,064.30   09/12/1990 09/13/1990      1     634.45       30,647.98
Voucher Schedule Date   68-02-4291 35            18,793.13                                               09/13/1990
Voucher Schedule Date   68-02-4284 3758-23      252,323.19                                               09/13/1990
Indirect Voucher        68-02-4284 3758-23       91,568.09                                               09/13/1990
Indirect Travel         T770505                     112.87                                               09/13/1990
Travel                  T770505                     311.00                                               09/13/1990
Indirect Voucher        68-02-4291 35             6,820.03   369,928.31   2,734,064.30    3,103,992.61   09/13/1990 09/17/1990      4   2,881.19       33,529.17
Voucher Schedule Date   937801 184                9,012.82                                               09/17/1990
Indirect Voucher        937801 184                3,270.75    12,283.57   3,103,992.61    3,116,276.18   09/17/1990 09/18/1990      1     723.15       34,252.32
Indirect                FY 1990 PP 25             3,421.45                                               09/18/1990
Payroll                 FY 1990 PP 25             9,427.99                                               09/18/1990
Travel                  T2642830                    549.55                                               09/18/1990
Indirect Travel         T2642830                    199.43                                               09/18/1990
Indirect Travel         T2642828                    535.74    15,610.43   3,116,276.18    3,131,886.61   09/18/1990 09/19/1990      1     726.77       34,979.09
Travel                  T2642828                  1,476.27                                               09/18/1990
Travel                  T753766                     481.83                                               09/19/1990
Indirect Travel         T753761                     223.99     1,497.89   3,131,886.61    3,133,384.50   09/19/1990 09/20/1990      1     727.12       35,706.21
Travel                  T753761                     617.22                                               09/19/1990
Indirect Travel         T753766                     174.85                                               09/19/1990
Voucher Schedule Date   68-01-7251 73             8,242.18                                               09/20/1990
Travel                  T620729                     330.70    11,683.98   3,133,384.50    3,145,068.48   09/20/1990 09/21/1990      1     729.83       36,436.04

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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 1990 (Annual Rate: 8.47%)

Indirect Travel         T620729                     120.01                                              09/20/1990
Indirect Voucher        68-01-7251 73             2,991.09                                              09/20/1990
Voucher Schedule Date   68-W9-0060 20376-15      41,139.01                                              09/21/1990
Indirect Voucher        68-W9-0060 20376-15      14,929.35   56,068.36   3,145,068.48    3,201,136.84   09/21/1990 09/24/1990      3   2,228.52       38,664.56
Voucher Schedule Date   68-01-7368 107           10,547.98                                              09/24/1990
Indirect Voucher        68-01-7368 107            3,827.86   14,375.84   3,201,136.84    3,215,512.68   09/24/1990 09/26/1990      2   1,492.35       40,156.91
Travel                  T753762                     801.77                                              09/26/1990
Travel                  T770539                     891.70                                              09/26/1990
Indirect Travel         T753762                     290.97                                              09/26/1990
Indirect Travel         T762047                     392.15                                              09/26/1990
Travel                  T762047                   1,080.61                                              09/26/1990
Indirect Travel         T770586                     378.69                                              09/26/1990
Travel                  T770586                   1,043.52                                              09/26/1990
Indirect Travel         T770539                     323.60    5,203.01   3,215,512.68    3,220,715.69   09/26/1990 09/28/1990      2   1,494.77       41,651.68
Voucher Schedule Date   937801 186                6,841.68                                              09/28/1990
Voucher Schedule Date   68-01-7456 69            25,144.81                                              09/28/1990
Indirect Voucher        937801 186                2,482.85   44,366.15   3,220,715.69    3,265,081.84   09/28/1990 09/30/1990      2   1,515.36       43,167.04
Indirect Travel         T757275                     161.63                                              09/28/1990
Indirect Voucher        68-01-7456 69             9,125.05                                              09/28/1990
Travel                  T724831                     120.87                                              09/28/1990
Travel                  T757275                     445.40                                              09/28/1990
Indirect Travel         T724831                      43.86                                              09/28/1990
Indirect                FY 1990 PP SP               159.97                                              09/30/1990

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                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                  Cost Per      Cost Per                     Cumulative   Date of       Interest          Periodic      Cumulative
Cost Category             Cost Reference           Item          Date       Prior Balance      Total    Recognition     Through    Days   Interest        Interest

   Fiscal Year 1990 (Annual Rate: 8.47%)

Payroll                   FY 1990 PP SP               440.80       600.77   3,265,081.84    3,265,682.61   09/30/1990 10/01/1990      1     757.82        43,924.86

   Totals for Fiscal Year 1990                   3,265,682.61                                                                             43,924.86       43,924.86


   Fiscal Year 1991 (Annual Rate: 7.99%)

Prior FY Interest                                  43,924.86    43,924.86   3,265,682.61    3,309,607.47   10/01/1990 10/02/1990      1     724.49           724.49
Indirect                  FY 1990 PP 26              2,019.01                                              10/02/1990
Payroll                   FY 1990 PP 26              5,563.56    7,582.57   3,309,607.47    3,317,190.04   10/02/1990 10/10/1990      8    5,809.17        6,533.66
Indirect Travel           T2642894                     60.66                                               10/10/1990
Travel                    T2642894                    649.50       879.23   3,317,190.04    3,318,069.27   10/10/1990 10/11/1990      1     726.34         7,260.00
Indirect Travel           T2642894                    169.07                                               10/10/1990
Voucher Schedule Date     68-02-4291 36            19,333.09                                               10/11/1990
Indirect Voucher          68-02-4291 36              6,838.11   26,171.20   3,318,069.27    3,344,240.47   10/11/1990 10/12/1990      1     732.07         7,992.07
Voucher Schedule Date     68-D9-0135 13              5,745.03                                              10/12/1990
Voucher Schedule Date     68-W9-0031 18            30,255.19                                               10/12/1990
Indirect Voucher          68-D9-0135 13              2,032.02   48,733.50   3,344,240.47    3,392,973.97   10/12/1990 10/15/1990      3    2,228.21       10,220.28
Indirect Voucher          68-W9-0031 18            10,701.26                                               10/12/1990
Voucher Schedule Date     68-01-7251 74            19,542.28                                               10/15/1990
Indirect Voucher          68-01-7251 74              6,912.10   26,454.38   3,392,973.97    3,419,428.35   10/15/1990 10/16/1990      1     748.53        10,968.81
Indirect                  FY 1990 PP 27              1,245.75                                              10/16/1990
Indirect                  FY 1991 PP 01               942.88                                               10/16/1990
Payroll                   FY 1990 PP 27              3,432.77                                              10/16/1990
Payroll                   FY 1991 PP 01              2,665.77                                              10/16/1990
Travel                    T770532                     286.44     8,674.93   3,419,428.35    3,428,103.28   10/16/1990 10/17/1990      1     750.43        11,719.24
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Travel         T770532                     101.32                                               10/16/1990
Voucher Schedule Date   68-02-4284 3758-24      361,519.72                                               10/17/1990
Voucher Schedule Date   68-01-7456 71             8,429.66                                               10/17/1990
Indirect Voucher        68-02-4284 3758-24      127,869.52   500,800.47   3,428,103.28    3,928,903.75   10/17/1990 10/19/1990      2   1,720.11       13,439.35
Indirect Voucher        68-01-7456 71             2,981.57                                               10/17/1990
Voucher Schedule Date   68-01-7368 108            5,090.09                                               10/19/1990
Indirect Voucher        68-01-7368 108            1,800.36     6,890.45   3,928,903.75    3,935,794.20   10/19/1990 10/22/1990      3   2,584.68       16,024.03
Voucher Schedule Date   68-01-7368 109           10,846.94                                               10/22/1990
Voucher Schedule Date   937801 188                8,722.08                                               10/22/1990
Indirect Voucher        937801 188                3,085.00    26,490.58   3,935,794.20    3,962,284.78   10/22/1990 10/26/1990      4   3,469.44       19,493.47
Indirect Voucher        68-01-7368 109            3,836.56                                               10/22/1990
Voucher Schedule Date   68-W9-0060 20376-16      27,886.73                                               10/26/1990
Voucher Schedule Date   937801 189               29,434.16                                               10/26/1990
Indirect Voucher        937801 189               10,410.86    77,595.29   3,962,284.78    4,039,880.07   10/26/1990 10/30/1990      4   3,537.39       23,030.86
Indirect Voucher        68-W9-0060 20376-16       9,863.54                                               10/26/1990
Indirect                FY 1991 PP 02             1,870.21                                               10/30/1990
Payroll                 FY 1991 PP 02             5,287.52     7,157.73   4,039,880.07    4,047,037.80   10/30/1990 10/31/1990      1     885.91       23,916.77
Indirect                FY 1991 PP OC               111.32                                               10/31/1990
Payroll                 FY 1991 PP OC               314.73      426.05    4,047,037.80    4,047,463.85   10/31/1990 11/06/1990      6   5,316.04       29,232.81
Indirect Travel         T767573                     126.24                                               11/06/1990
Travel                  T767573                     356.93     1,016.38   4,047,463.85    4,048,480.23   11/06/1990 11/08/1990      2   1,772.46       31,005.27
Travel                  T753782                     393.89                                               11/06/1990
Indirect Travel         T753782                     139.32                                               11/06/1990

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                                                Cost Per      Cost Per                      Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item          Date        Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Voucher Schedule Date   68-03-3482 48                84.06                                                11/08/1990
Voucher Schedule Date   937801 190                 3,559.50                                               11/08/1990
Voucher Schedule Date   68-03-3482 49               333.44                                                11/08/1990
Indirect Voucher        68-03-3482 48                29.73                                                11/08/1990
Indirect Voucher        68-03-3482 49               117.94      5,383.67   4,048,480.23    4,053,863.90   11/08/1990 11/09/1990      1     887.41       31,892.68
Indirect Voucher        937801 190                 1,259.00                                               11/08/1990
Voucher Schedule Date   68-W9-0060 20376-17       80,711.92                                               11/09/1990
Voucher Schedule Date   68-W9-0031 19            10,221.94                                                11/09/1990
Indirect Voucher        68-W9-0060 20376-17      28,547.81    123,097.17   4,053,863.90    4,176,961.07   11/09/1990 11/13/1990      4   3,657.42       35,550.10
Indirect Voucher        68-W9-0031 19              3,615.50                                               11/09/1990
Voucher Schedule Date   68-01-7368 110           117,985.67                                               11/13/1990
Indirect                FY 1991 PP 03              1,445.09                                               11/13/1990
Payroll                 FY 1991 PP 03              4,085.65                                               11/13/1990
Indirect Voucher        68-01-7368 110           41,731.53    165,247.94   4,176,961.07    4,342,209.01   11/13/1990 11/15/1990      2   1,901.05       37,451.15
Voucher Schedule Date   68-02-4284 3758-25       48,494.13                                                11/15/1990
Voucher Schedule Date   68-01-7251 75            22,888.35                                                11/15/1990
Indirect Voucher        68-01-7251 75              8,095.61    96,630.46   4,342,209.01    4,438,839.47   11/15/1990 11/21/1990      6   5,830.08       43,281.23
Indirect Voucher        68-02-4284 3758-25       17,152.37                                                11/15/1990
Voucher Schedule Date   68-01-7456 73              7,909.68                                               11/21/1990
Indirect Voucher        68-01-7456 73              2,797.65    10,707.33   4,438,839.47    4,449,546.80   11/21/1990 11/23/1990      2   1,948.05       45,229.28
Voucher Schedule Date   937801 192                 9,012.82                                               11/23/1990
Indirect Voucher        937801 192                 3,187.83    12,200.65   4,449,546.80    4,461,747.45   11/23/1990 11/26/1990      3   2,930.08       48,159.36
Voucher Schedule Date   68-W9-0060 20376-18        5,202.04                                               11/26/1990

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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Voucher        68-W9-0060 20376-18       1,839.96    7,042.00   4,461,747.45    4,468,789.45   11/26/1990 11/27/1990      1     978.24        49,137.60
Indirect                FY 1991 PP 04             1,998.91                                              11/27/1990
Payroll                 FY 1991 PP 04             5,651.45    7,650.36   4,468,789.45    4,476,439.81   11/27/1990 11/30/1990      3   2,939.73        52,077.33
Indirect                FY 1991 PP NO               189.43                                              11/30/1990
Payroll                 FY 1991 PP NO               535.58      725.01   4,476,439.81    4,477,164.82   11/30/1990 12/03/1990      3   2,940.21        55,017.54
Travel                  T753798                     327.50                                              12/03/1990
Indirect Travel         T753798                     115.84      443.34   4,477,164.82    4,477,608.16   12/03/1990 12/05/1990      2   1,960.33        56,977.87
Voucher Schedule Date   68-03-3482 50               888.64                                              12/05/1990
Indirect Voucher        68-03-3482 50               314.31    1,202.95   4,477,608.16    4,478,811.11   12/05/1990 12/06/1990      1     980.43        57,958.30
Voucher Schedule Date   68-W9-0008 25               858.49                                              12/06/1990
Indirect Voucher        68-W9-0008 25               303.65    1,162.14   4,478,811.11    4,479,973.25   12/06/1990 12/07/1990      1     980.68        58,938.98
Indirect Travel         T781305                     190.47    1,627.31   4,479,973.25    4,481,600.56   12/07/1990 12/11/1990      4   3,924.16        62,863.14
Travel                  T781306                     663.62                                              12/07/1990
Indirect Travel         T781306                     234.72                                              12/07/1990
Travel                  T781305                     538.50                                              12/07/1990
Indirect                FY 1991 PP 05             1,758.53                                              12/11/1990
Payroll                 FY 1991 PP 05             4,971.86    6,730.39   4,481,600.56    4,488,330.95   12/11/1990 12/12/1990      1     982.51        63,845.65
Voucher Schedule Date   68-W9-0031 20            20,283.00                                              12/12/1990
Indirect Voucher        68-W9-0031 20             5,560.64                                              12/12/1990
Indirect Voucher        68-W9-0031 20             1,613.46   27,457.10   4,488,330.95    4,515,788.05   12/12/1990 12/13/1990      1     988.52        64,834.17
Voucher Schedule Date   68-W9-0031 21             2,086.82                                              12/13/1990
Voucher Schedule Date   68-01-7456 75             7,958.63                                              12/13/1990
Indirect Voucher        68-01-7456 75             2,814.97   13,598.53   4,515,788.05    4,529,386.58   12/13/1990 12/14/1990      1     991.50        65,825.67

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                                                Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic      Cumulative
Cost Category           Cost Reference           Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest        Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Voucher        68-W9-0031 21               738.11                                               12/13/1990
Voucher Schedule Date   68-02-4284 3758-26       38,073.80                                               12/14/1990
Indirect Voucher        68-02-4284 3758-26       13,466.70   51,540.50    4,529,386.58    4,580,927.08   12/14/1990 12/17/1990      3   3,008.35        68,834.02
Voucher Schedule Date   937801 194               19,996.83                                               12/17/1990
Indirect Voucher        937801 194                7,072.88   27,069.71    4,580,927.08    4,607,996.79   12/17/1990 12/18/1990      1   1,008.71        69,842.73
Indirect Travel         T753795                     205.64     2,194.51   4,607,996.79    4,610,191.30   12/18/1990 12/19/1990      1   1,009.19        70,851.92
Indirect Travel         T781321                     116.38                                               12/18/1990
Travel                  T753795                     581.39                                               12/18/1990
Indirect Travel         T781349                     251.38                                               12/18/1990
Travel                  T781321                     329.02                                               12/18/1990
Travel                  T781349                     710.70                                               12/18/1990
Voucher Schedule Date   68-01-7251 76             1,229.44                                               12/19/1990
Indirect Voucher        68-01-7251 76               434.85     1,664.29   4,610,191.30    4,611,855.59   12/19/1990 12/20/1990      1   1,009.55        71,861.47
Voucher Schedule Date   937801 196                8,722.08                                               12/20/1990
Voucher Schedule Date   68-01-7251 77             4,633.50                                               12/20/1990
Indirect Voucher        68-01-7251 77             1,638.87   18,079.45    4,611,855.59    4,629,935.04   12/20/1990 12/25/1990      5   5,067.56        76,929.03
Indirect Voucher        937801 196                3,085.00                                               12/20/1990
Indirect                FY 1991 PP 06             2,278.43                                               12/25/1990
Payroll                 FY 1991 PP 06             6,441.74     8,720.17   4,629,935.04    4,638,655.21   12/25/1990 12/27/1990      2   2,030.84        78,959.87
Voucher Schedule Date   68-W9-0060 20376-19      84,768.53                                               12/27/1990
Indirect Voucher        68-W9-0060 20376-19       8,974.67   114,751.16   4,638,655.21    4,753,406.37   12/27/1990 12/28/1990      1   1,040.54        80,000.41
Indirect Voucher        68-W9-0060 20376-19      13,170.63                                               12/27/1990
Indirect Voucher        68-W9-0060 20376-19       7,837.33                                               12/27/1990

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                                                Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Voucher Schedule Date   68-W9-0008 26             1,837.21                                              12/28/1990
Indirect Voucher        68-W9-0008 26               649.82    2,487.03   4,753,406.37    4,755,893.40   12/28/1990 01/04/1991      7   7,287.59        87,288.00
Travel                  T778882                     248.69                                              01/04/1991
Indirect Travel         T778882                      87.96      336.65   4,755,893.40    4,756,230.05   01/04/1991 01/08/1991      4   4,164.63        91,452.63
Indirect                FY 1991 PP 07             1,686.81                                              01/08/1991
Payroll                 FY 1991 PP 07             4,768.98    6,455.79   4,756,230.05    4,762,685.84   01/08/1991 01/10/1991      2   2,085.14        93,537.77
Voucher Schedule Date   68-W9-0031 22            27,248.10                                              01/10/1991
Indirect Voucher        68-W9-0031 22             4,231.90                                              01/10/1991
Indirect Voucher        68-W9-0031 22             5,405.75   36,885.75   4,762,685.84    4,799,571.59   01/10/1991 01/11/1991      1   1,050.65        94,588.42
Voucher Schedule Date   68-02-4284 3758-27        4,016.66                                              01/11/1991
Voucher Schedule Date   68-01-7456 77            10,110.02                                              01/11/1991
Indirect Voucher        68-01-7456 77             3,575.91                                              01/11/1991
Indirect Voucher        68-02-4284 3758-27        1,420.69   19,123.28   4,799,571.59    4,818,694.87   01/11/1991 01/14/1991      3   3,164.50        97,752.92
Voucher Schedule Date   68-W0-0037 1             21,476.92                                              01/14/1991
Indirect Voucher        68-W0-0037 1              7,596.39   29,073.31   4,818,694.87    4,847,768.18   01/14/1991 01/15/1991      1   1,061.20        98,814.12
Voucher Schedule Date   68-01-7251 78             1,148.44                                              01/15/1991
Voucher Schedule Date   68-W0-0037 2             11,238.07                                              01/15/1991
Indirect Voucher        68-W0-0037 2              3,974.91   16,767.62   4,847,768.18    4,864,535.80   01/15/1991 01/17/1991      2   2,129.73       100,943.85
Indirect Voucher        68-01-7251 78               406.20                                              01/15/1991
Voucher Schedule Date   68-01-7368 111R           8,252.46                                              01/17/1991
Indirect Voucher        68-01-7368 111R           2,918.90   11,171.36   4,864,535.80    4,875,707.16   01/17/1991 01/18/1991      1   1,067.31       102,011.16
Voucher Schedule Date   68-W9-0060 20376-20      97,154.32                                              01/18/1991
Indirect Voucher        68-W9-0060 20376-20      26,910.81                                              01/18/1991

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                                                Cost Per      Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item          Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Voucher        68-W9-0060 20376-20      -26,910.81                                               01/18/1991
Indirect Voucher        68-W9-0060 20376-20       3,726.34    131,517.80   4,875,707.16    5,007,224.96   01/18/1991 01/22/1991      4   4,384.41       106,395.57
Indirect Voucher        68-W9-0060 20376-20      30,637.14                                                01/18/1991
Indirect                FY 1991 PP 08             2,148.63                                                01/22/1991
Payroll                 FY 1991 PP 08             6,074.76                                                01/22/1991
Travel                  T778883                     254.70      8,568.17   5,007,224.96    5,015,793.13   01/22/1991 01/23/1991      1   1,097.98       107,493.55
Indirect Travel         T778883                      90.08                                                01/22/1991
Voucher Schedule Date   68-01-7368 112              481.99                                                01/23/1991
Indirect Voucher        68-01-7368 112              170.48       652.47    5,015,793.13    5,016,445.60   01/23/1991 01/24/1991      1   1,098.12       108,591.67
Travel                  T767549                     468.60       634.34    5,016,445.60    5,017,079.94   01/24/1991 01/28/1991      4   4,393.04       112,984.71
Indirect Travel         T767549                     165.74                                                01/24/1991
Voucher Schedule Date   68-03-3267 8250-94R       1,008.82                                                01/28/1991
Indirect Voucher        68-03-3267 8250-94R         356.82      1,365.64   5,017,079.94    5,018,445.58   01/28/1991 01/29/1991      1   1,098.56       114,083.27
Indirect Travel         9109610033                   10.96         41.96   5,018,445.58    5,018,487.54   01/29/1991 01/30/1991      1   1,098.57       115,181.84
Travel                  9109610033                   31.00                                                01/29/1991
Voucher Schedule Date   937801 199              126,747.01                                                01/30/1991
Indirect Voucher        937801 199               44,830.42    171,577.43   5,018,487.54    5,190,064.97   01/30/1991 02/01/1991      2   2,272.25       117,454.09
Voucher Schedule Date   68-W9-0008 27             2,070.52                                                02/01/1991
Indirect Voucher        68-W9-0008 27               732.34      2,875.16   5,190,064.97    5,192,940.13   02/01/1991 02/04/1991      3   3,410.27       120,864.36
Travel                  9109BB0001                   24.26                                                02/01/1991
Indirect Travel         9109BB0001                    8.58                                                02/01/1991
Indirect Travel         9109BB0002                   10.31                                                02/01/1991
Travel                  9109BB0002                   29.15                                                02/01/1991

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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Travel         9109610035                   12.66                                              02/04/1991
Travel                  9109610035                   35.80       48.46   5,192,940.13    5,192,988.59   02/04/1991 02/05/1991      1   1,136.77       122,001.13
Indirect                FY 1991 PP 09             3,193.15                                              02/05/1991
Payroll                 FY 1991 PP 09             9,027.82   12,220.97   5,192,988.59    5,205,209.56   02/05/1991 02/07/1991      2   2,278.88       124,280.01
Travel                  T740040                     197.62      267.52   5,205,209.56    5,205,477.08   02/07/1991 02/08/1991      1   1,139.50       125,419.51
Indirect Travel         T740040                      69.90                                              02/07/1991
Voucher Schedule Date   68-W9-0031 23            27,456.95                                              02/08/1991
Voucher Schedule Date   68-W9-0008 28                61.22                                              02/08/1991
Indirect Voucher        68-W9-0031 23             9,151.68                                              02/08/1991
Travel                  T650579                     185.80   37,783.24   5,205,477.08    5,243,260.32   02/08/1991 02/13/1991      5   5,738.86       131,158.37
Indirect Voucher        68-W9-0008 28                21.65                                              02/08/1991
Indirect Voucher        68-W9-0031 23               559.84                                              02/08/1991
Indirect Travel         T538539                      60.13                                              02/08/1991
Travel                  9109610040                   37.12                                              02/08/1991
Indirect Travel         9109610040                   13.13                                              02/08/1991
Indirect Travel         T650579                      65.72                                              02/08/1991
Travel                  T538539                     170.00                                              02/08/1991
Voucher Schedule Date   68-01-7368 113              264.39                                              02/13/1991
Indirect Voucher        68-01-7368 113               93.51    1,072.17   5,243,260.32    5,244,332.49   02/13/1991 02/14/1991      1   1,148.01       132,306.38
Travel                  T767547                     527.64                                              02/13/1991
Indirect Travel         T767547                     186.63                                              02/13/1991
Voucher Schedule Date   68-01-7251 80             4,473.86                                              02/14/1991
Indirect Voucher        68-01-7251 80             1,582.40    6,056.26   5,244,332.49    5,250,388.75   02/14/1991 02/15/1991      1   1,149.33       133,455.71

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                                                                 Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per      Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item          Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Voucher Schedule Date   68-W0-0037 3             17,678.61                                                02/15/1991
Indirect Voucher        68-W0-0037 3              6,252.92     23,931.53   5,250,388.75    5,274,320.28   02/15/1991 02/19/1991      4   4,618.28       138,073.99
Indirect                FY 1991 PP 10             3,181.12                                                02/19/1991
Payroll                 FY 1991 PP 10             8,993.84     12,174.96   5,274,320.28    5,286,495.24   02/19/1991 02/21/1991      2   2,314.47       140,388.46
Voucher Schedule Date   68-W9-0008 29             6,809.61                                                02/21/1991
Voucher Schedule Date   68-01-7456 79             2,940.92                                                02/21/1991
Indirect Voucher        68-W9-0008 29             2,408.56     13,199.29   5,286,495.24    5,299,694.53   02/21/1991 02/22/1991      1   1,160.12       141,548.58
Indirect Voucher        68-01-7456 79             1,040.20                                                02/21/1991
Voucher Schedule Date   68-W9-0060 20376-21      67,635.23                                                02/22/1991
Voucher Schedule Date   937801 201               36,199.36                                                02/22/1991
Indirect Voucher        68-W9-0060 20376-21       2,940.44                                                02/22/1991
Indirect Voucher        68-W9-0060 20376-21      10,491.07                                                02/22/1991
Indirect Voucher        937801 201               12,803.71                                                02/22/1991
Indirect Voucher        68-W9-0060 20376-21       -2,940.44                                               02/22/1991
Indirect Voucher        68-W9-0060 20376-21      13,431.51    140,560.88   5,299,694.53    5,440,255.41   02/22/1991 02/26/1991      4   4,763.58       146,312.16
Travel                  T767512                     978.36      1,324.41   5,440,255.41    5,441,579.82   02/26/1991 03/01/1991      3   3,573.55       149,885.71
Indirect Travel         T767512                     346.05                                                02/26/1991
Indirect Travel         T770573                     192.11       735.24    5,441,579.82    5,442,315.06   03/01/1991 03/04/1991      3   3,574.04       153,459.75
Travel                  T770573                     543.13                                                03/01/1991
Indirect Travel         T770574                     254.29                                                03/04/1991
Indirect Travel         T762545                     121.62      1,438.71   5,442,315.06    5,443,753.77   03/04/1991 03/05/1991      1   1,191.66       154,651.41
Travel                  T762545                     343.86                                                03/04/1991
Travel                  T770574                     718.94                                                03/04/1991

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                                                                 Detailed Interest Cost
                                                     MCCOLL, FULLERTON, CA SITE ID = 09 04
                                               Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference            Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect                FY 1991 PP 11              1,581.97                                              03/05/1991
Payroll                 FY 1991 PP 11              4,472.70    6,054.67   5,443,753.77    5,449,808.44   03/05/1991 03/07/1991      2   2,385.97       157,037.38
Voucher Schedule Date   68-03-3482 56                156.89                                              03/07/1991
Indirect Voucher        68-03-3482 56                 55.49      212.38   5,449,808.44    5,450,020.82   03/07/1991 03/11/1991      4   4,772.13       161,809.51
Voucher Schedule Date   68-W9-0031 24             62,935.39                                              03/11/1991
Indirect Travel         T767513                      296.24                                              03/11/1991
Travel                  T767513                      837.53                                              03/11/1991
Indirect Voucher        68-W9-0031 24             21,414.63   86,329.41   5,450,020.82    5,536,350.23   03/11/1991 03/13/1991      2   2,423.86       164,233.37
Indirect Voucher        68-W9-0031 24                845.62                                              03/11/1991
Voucher Schedule Date   DU1001NBLX 1625901           740.22                                              03/13/1991
Voucher Schedule Date   68-W9-0060 20376-023      49,754.93                                              03/13/1991
Indirect Voucher        68-W9-0060 20376-023      17,204.14   68,355.29   5,536,350.23    5,604,705.52   03/13/1991 03/15/1991      2   2,453.79       166,687.16
Indirect Voucher        DU1001NBLX 1625901           261.82                                              03/13/1991
Indirect Voucher        68-W9-0060 20376-023         394.18                                              03/13/1991
Voucher Schedule Date   68-D9-0135 19              1,458.14                                              03/15/1991
Indirect Voucher        68-D9-0135 19                515.74    1,973.88   5,604,705.52    5,606,679.40   03/15/1991 03/19/1991      4   4,909.30       171,596.46
Indirect                FY 1991 PP 12              2,523.69                                              03/19/1991
Payroll                 FY 1991 PP 12              7,135.14    9,658.83   5,606,679.40    5,616,338.23   03/19/1991 03/20/1991      1   1,229.44       172,825.90
Indirect Travel         T762544                       98.68      377.68   5,616,338.23    5,616,715.91   03/20/1991 03/21/1991      1   1,229.52       174,055.42
Travel                  T762544                      279.00                                              03/20/1991
Voucher Schedule Date   68-01-7456 81                116.19                                              03/21/1991
Voucher Schedule Date   937801 0002               65,189.61                                              03/21/1991
Indirect Voucher        68-01-7456 81                 41.10   88,404.47   5,616,715.91    5,705,120.38   03/21/1991 03/27/1991      6   7,493.25       181,548.67

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                                                                            0450
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                                                                  Detailed Interest Cost
                                                     MCCOLL, FULLERTON, CA SITE ID = 09 04
                                               Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per      Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference            Item          Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Voucher        937801 0002               23,057.57                                                03/21/1991
Voucher Schedule Date   68-W0-0037 4               8,162.04                                                03/27/1991
Indirect Voucher        68-W0-0037 4               2,886.91    11,048.95    5,705,120.38    5,716,169.33   03/27/1991 03/28/1991      1   1,251.29       182,799.96
Voucher Schedule Date   68-W9-0008 31             24,400.64                                                03/28/1991
Indirect Voucher        68-W9-0008 31              8,630.51    33,031.15    5,716,169.33    5,749,200.48   03/28/1991 04/02/1991      5   6,292.62       189,092.58
Voucher Schedule Date   68-03-3482 58               -156.89                                                04/02/1991
Indirect                FY 1991 PP 13              2,228.67                                                04/02/1991
Payroll                 FY 1991 PP 13              6,301.03                                                04/02/1991
Indirect Voucher        68-03-3482 58                 -55.49    8,317.32    5,749,200.48    5,757,517.80   04/02/1991 04/05/1991      3   3,781.03       192,873.61
Travel                  T724810                      183.91       248.96    5,757,517.80    5,757,766.76   04/05/1991 04/09/1991      4   5,041.60       197,915.21
Indirect Travel         T724810                       65.05                                                04/05/1991
Voucher Schedule Date   68-W9-0031 25             22,625.92                                                04/09/1991
Voucher Schedule Date   68-W9-0031 26              1,602.34                                                04/09/1991
Indirect Voucher        68-W9-0031 26                512.84    32,797.80    5,757,766.76    5,790,564.56   04/09/1991 04/12/1991      3   3,802.74       201,717.95
Indirect Voucher        68-W9-0031 25              7,510.76                                                04/09/1991
Indirect Voucher        68-W9-0031 25                492.03                                                04/09/1991
Indirect Voucher        68-W9-0031 26                 53.91                                                04/09/1991
Voucher Schedule Date   68-W9-0060 20376-024      62,976.47                                                04/12/1991
Voucher Schedule Date   937801 0006               19,483.50                                                04/12/1991
Indirect Voucher        68-W9-0060 20376-024      -22,074.93                                               04/12/1991
Indirect Voucher        68-W9-0060 20376-024      22,074.93    111,626.05   5,790,564.56    5,902,190.61   04/12/1991 04/16/1991      4   5,168.06       206,886.01
Indirect Voucher        68-W9-0060 20376-024      22,174.85                                                04/12/1991
Indirect Voucher        937801 0006                6,891.31                                                04/12/1991

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                                                                 Detailed Interest Cost
                                                     MCCOLL, FULLERTON, CA SITE ID = 09 04
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference            Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Voucher        68-W9-0060 20376-024          99.92                                              04/12/1991
Indirect                FY 1991 PP 14              2,172.73                                              04/16/1991
Payroll                 FY 1991 PP 14              6,142.83    8,315.56   5,902,190.61    5,910,506.17   04/16/1991 04/17/1991      1   1,293.83       208,179.84
Voucher Schedule Date   68-01-7456 83             14,890.41                                              04/17/1991
Indirect Voucher        68-01-7456 83              5,266.74   20,157.15   5,910,506.17    5,930,663.32   04/17/1991 04/18/1991      1   1,298.25       209,478.09
Voucher Schedule Date   68-W9-0008 32                782.34                                              04/18/1991
Indirect Voucher        68-W9-0008 32                276.71    1,059.05   5,930,663.32    5,931,722.37   04/18/1991 04/19/1991      1   1,298.48       210,776.57
Voucher Schedule Date   937801 0007                9,012.82                                              04/19/1991
Voucher Schedule Date   68-W0-0037 5              11,324.16                                              04/19/1991
Indirect Voucher        68-W0-0037 5               4,005.36   27,530.17   5,931,722.37    5,959,252.54   04/19/1991 04/22/1991      3   3,913.51       214,690.08
Indirect Voucher        937801 0007                3,187.83                                              04/19/1991
Voucher Schedule Date   68-01-7368 116             2,418.73                                              04/22/1991
Indirect Voucher        68-01-7368 116               855.50                                              04/22/1991
Indirect Travel         T831852                       15.48    3,333.47   5,959,252.54    5,962,586.01   04/22/1991 04/23/1991      1   1,305.23       215,995.31
Travel                  T831852                       43.76                                              04/22/1991
Voucher Schedule Date   68-D9-0079 128738          2,371.94                                              04/23/1991
Travel                  9109610051                    42.00                                              04/23/1991
Indirect Voucher        68-D9-0079 128738            838.96    3,267.76   5,962,586.01    5,965,853.77   04/23/1991 04/26/1991      3   3,917.85       219,913.16
Indirect Travel         9109610051                    14.86                                              04/23/1991
Travel                  T658409                      160.30                                              04/26/1991
Indirect Travel         T658409                       56.70      217.00   5,965,853.77    5,966,070.77   04/26/1991 04/30/1991      4   5,223.99       225,137.15
Indirect                FY 1991 PP 15              1,486.56                                              04/30/1991
Payroll                 FY 1991 PP 15              4,202.88                                              04/30/1991

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                                                                  Detailed Interest Cost
                                                     MCCOLL, FULLERTON, CA SITE ID = 09 04
                                               Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per      Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference            Item          Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Travel         T693176                       55.88                                                04/30/1991
Travel                  T693176                      158.00     5,903.32    5,966,070.77    5,971,974.09   04/30/1991 05/02/1991      2   2,614.58       227,751.73
Voucher Schedule Date   937801 0009                5,340.38                                                05/02/1991
Indirect Voucher        937801 0009                1,888.89     7,229.27    5,971,974.09    5,979,203.36   05/02/1991 05/06/1991      4   5,235.49       232,987.22
Travel                  T832363                      182.54       247.10    5,979,203.36    5,979,450.46   05/06/1991 05/07/1991      1   1,308.93       234,296.15
Indirect Travel         T832363                       64.56                                                05/06/1991
Voucher Schedule Date   68-03-3482 60             39,599.82                                                05/07/1991
Voucher Schedule Date   68-W9-0031 27             -64,145.75                                               05/07/1991
Indirect Voucher        68-W9-0031 27             -22,810.93   -33,227.82   5,979,450.46    5,946,222.64   05/07/1991 05/09/1991      2   2,603.31       236,899.46
Indirect Voucher        68-W9-0031 27                122.58                                                05/07/1991
Indirect Voucher        68-03-3482 60             14,006.46                                                05/07/1991
Voucher Schedule Date   68-W9-0008 33                956.89                                                05/09/1991
Voucher Schedule Date   68-W0-0037 6              10,190.60                                                05/09/1991
Voucher Schedule Date   68-W9-0060 20376-025       7,689.77                                                05/09/1991
Indirect Voucher        68-W9-0008 33                338.45                                                05/09/1991
Indirect Voucher        68-W0-0037 6               3,604.42    25,500.00    5,946,222.64    5,971,722.64   05/09/1991 05/10/1991      1   1,307.23       238,206.69
Indirect Voucher        68-W9-0060 20376-025         380.37                                                05/09/1991
Indirect Voucher        68-W9-0060 20376-025       2,339.50                                                05/09/1991
Indirect Voucher        68-W9-0060 20376-025       1,959.13                                                05/09/1991
Indirect Voucher        68-W9-0060 20376-025       -1,959.13                                               05/09/1991
Voucher Schedule Date   937801 0010               14,268.06                                                05/10/1991
Voucher Schedule Date   68-01-7251 83               -903.97                                                05/10/1991
Travel                  T693823                      434.21    18,678.76    5,971,722.64    5,990,401.40   05/10/1991 05/14/1991      4   5,245.29       243,451.98

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                                                                Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Voucher        68-01-7251 83              -319.73                                              05/10/1991
Indirect Travel         T693823                     153.58                                              05/10/1991
Indirect Voucher        937801 0010               5,046.61                                              05/10/1991
Indirect                FY 1991 PP 16             3,542.02                                              05/14/1991
Payroll                 FY 1991 PP 16            10,014.24                                              05/14/1991
Indirect Travel         T834167                     166.42   14,193.20   5,990,401.40    6,004,594.60   05/14/1991 05/15/1991      1   1,314.43       244,766.41
Travel                  T834167                     470.52                                              05/14/1991
Voucher Schedule Date   937801 0010              22,149.11                                              05/15/1991
Indirect Voucher        937801 0010               7,834.14   29,983.25   6,004,594.60    6,034,577.85   05/15/1991 05/16/1991      1   1,320.99       246,087.40
Indirect Travel         T834169                     232.04    1,257.30   6,034,577.85    6,035,835.15   05/16/1991 05/17/1991      1   1,321.27       247,408.67
Travel                  T834548                     272.75                                              05/16/1991
Travel                  T834169                     656.04                                              05/16/1991
Indirect Travel         T834548                      96.47                                              05/16/1991
Voucher Schedule Date   937801 0004               2,825.60                                              05/17/1991
Voucher Schedule Date   937801 0011              30,254.30                                              05/17/1991
Indirect Travel         T821826                     446.60   47,358.89   6,035,835.15    6,083,194.04   05/17/1991 05/20/1991      3   3,994.91       251,403.58
Indirect Travel         T821827                     227.16                                              05/17/1991
Travel                  T821826                   1,262.64                                              05/17/1991
Indirect Voucher        937801 0011              10,700.95                                              05/17/1991
Indirect Voucher        937801 0004                 999.41                                              05/17/1991
Travel                  T821827                     642.23                                              05/17/1991
Travel                  T831724                     510.07      690.49   6,083,194.04    6,083,884.53   05/20/1991 05/22/1991      2   2,663.57       254,067.15
Indirect Travel         T831724                     180.42                                              05/20/1991

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                                                                           0454
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                                                                Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Travel                  T821829                     663.37      898.00   6,083,884.53    6,084,782.53   05/22/1991 05/28/1991      6   7,991.90       262,059.05
Indirect Travel         T821829                     234.63                                              05/22/1991
Indirect                FY 1991 PP 17             2,590.98                                              05/28/1991
Payroll                 FY 1991 PP 17             7,325.31                                              05/28/1991
Travel                  T831944                     811.00   11,041.48   6,084,782.53    6,095,824.01   05/28/1991 06/03/1991      6   8,006.41       270,065.46
Travel                  9109610066                   20.20                                              05/28/1991
Indirect Travel         T831944                     286.85                                              05/28/1991
Indirect Travel         9109610066                    7.14                                              05/28/1991
Voucher Schedule Date   68-01-7456 87             3,521.44                                              06/03/1991
Indirect Voucher        68-01-7456 87             1,245.53    4,766.97   6,095,824.01    6,100,590.98   06/03/1991 06/06/1991      3   4,006.33       274,071.79
Voucher Schedule Date   68-W9-0031 28             5,273.00                                              06/06/1991
Travel                  T834555                     995.20                                              06/06/1991
Indirect Voucher        68-W9-0031 28             1,827.89    8,485.26   6,100,590.98    6,109,076.24   06/06/1991 06/07/1991      1   1,337.30       275,409.09
Indirect Travel         T834555                     352.00                                              06/06/1991
Indirect Voucher        68-W9-0031 28                37.17                                              06/06/1991
Voucher Schedule Date   68-D9-0135 22             1,943.35                                              06/07/1991
Indirect Voucher        68-D9-0135 22               687.36    2,630.71   6,109,076.24    6,111,706.95   06/07/1991 06/11/1991      4   5,351.51       280,760.60
Voucher Schedule Date   68-D9-0085 19250          1,473.81                                              06/11/1991
Indirect                FY 1991 PP 18             1,791.34                                              06/11/1991
Payroll                 FY 1991 PP 18             5,064.58                                              06/11/1991
Indirect Voucher        68-D9-0085 19250            521.29    8,851.02   6,111,706.95    6,120,557.97   06/11/1991 06/12/1991      1   1,339.82       282,100.42
Voucher Schedule Date   937801 0015              23,351.35                                              06/12/1991
Indirect Voucher        937801 0015               8,259.37   31,610.72   6,120,557.97    6,152,168.69   06/12/1991 06/19/1991      7   9,427.15       291,527.57

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                                                                  Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per      Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference            Item          Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Travel         T831632                      118.44                                                06/19/1991
Travel                  T831632                      334.86                                                06/19/1991
Indirect Travel         T762023                      210.32                                                06/19/1991
Travel                  T834550                      428.36      1,838.14   6,152,168.69    6,154,006.83   06/19/1991 06/20/1991      1   1,347.14       292,874.71
Travel                  T762023                      594.65                                                06/19/1991
Indirect Travel         T834550                      151.51                                                06/19/1991
Voucher Schedule Date   937801 0016               76,097.07                                                06/20/1991
Voucher Schedule Date   68-W9-0060 20376-026      20,120.93                                                06/20/1991
Indirect Voucher        68-W9-0060 20376-026       -7,070.51   131,251.81   6,154,006.83    6,285,258.64   06/20/1991 06/21/1991      1   1,375.87       294,250.58
Indirect Voucher        68-W9-0060 20376-026       7,070.51                                                06/20/1991
Indirect Voucher        937801 0016               26,915.53                                                06/20/1991
Travel                  T753119                      307.63                                                06/20/1991
Indirect Travel         T831945                      152.87                                                06/20/1991
Indirect Voucher        68-W9-0060 20376-026          23.13                                                06/20/1991
Indirect Voucher        68-W9-0060 20376-026       7,093.64                                                06/20/1991
Travel                  T831945                      432.20                                                06/20/1991
Indirect Travel         T753119                      108.81                                                06/20/1991
Voucher Schedule Date   68-W9-0008 34              7,794.45                                                06/21/1991
Voucher Schedule Date   68-W0-0037 7              11,144.94                                                06/21/1991
Indirect Voucher        68-W0-0037 7               3,941.97     25,638.26   6,285,258.64    6,310,896.90   06/21/1991 06/24/1991      3   4,144.44       298,395.02
Indirect Voucher        68-W9-0008 34              2,756.90                                                06/21/1991
Travel                  T834556                      558.43       755.95    6,310,896.90    6,311,652.85   06/24/1991 06/25/1991      1   1,381.65       299,776.67
Indirect Travel         T834556                      197.52                                                06/24/1991

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                                                 Cost Per      Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference            Item          Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect                FY 1991 PP 19              3,364.97                                               06/25/1991
Payroll                 FY 1991 PP 19              9,513.58    12,878.55   6,311,652.85    6,324,531.40   06/25/1991 06/27/1991      2   2,768.93       302,545.60
Voucher Schedule Date   68-01-7456 89              1,868.95                                               06/27/1991
Indirect Voucher        68-01-7456 89                661.05     2,530.00   6,324,531.40    6,327,061.40   06/27/1991 07/01/1991      4   5,540.08       308,085.68
Indirect Travel         T683674                      125.63       480.81   6,327,061.40    6,327,542.21   07/01/1991 07/03/1991      2   2,770.25       310,855.93
Travel                  T683674                      355.18                                               07/01/1991
Voucher Schedule Date   68-W9-0008 35              1,491.59                                               07/03/1991
Indirect Voucher        68-W9-0008 35                527.58     2,019.17   6,327,542.21    6,329,561.38   07/03/1991 07/05/1991      2   2,771.13       313,627.06
Travel                  T834596                      156.50                                               07/05/1991
Indirect Travel         T834596                       55.35       211.85   6,329,561.38    6,329,773.23   07/05/1991 07/08/1991      3   4,156.84       317,783.90
Travel                  T821928                      292.00                                               07/08/1991
Indirect Travel         T821928                      103.28       395.28   6,329,773.23    6,330,168.51   07/08/1991 07/09/1991      1   1,385.70       319,169.60
Voucher Schedule Date   937801 0019               25,048.41                                               07/09/1991
Indirect                FY 1991 PP 20              1,547.76                                               07/09/1991
Payroll                 FY 1991 PP 20              4,375.89                                               07/09/1991
Indirect Voucher        937801 0019                8,859.62    39,831.68   6,330,168.51    6,370,000.19   07/09/1991 07/10/1991      1   1,394.42       320,564.02
Voucher Schedule Date   68-W9-0031 29             22,997.35                                               07/10/1991
Indirect Voucher        68-W9-0031 29              8,037.83                                               07/10/1991
Indirect Voucher        68-W9-0031 29                 96.33    31,131.51   6,370,000.19    6,401,131.70   07/10/1991 07/16/1991      6   8,407.40       328,971.42
Voucher Schedule Date   68-01-7456 91             16,485.60                                               07/16/1991
Indirect Voucher        68-01-7456 91              5,830.96    22,316.56   6,401,131.70    6,423,448.26   07/16/1991 07/18/1991      2   2,812.24       331,783.66
Voucher Schedule Date   68-W9-0060 20376-027      17,705.21                                               07/18/1991
Indirect Voucher        68-W9-0060 20376-027       -6,262.33                                              07/18/1991

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                                                 Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference            Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Travel         T834596                       56.59   24,351.99   6,423,448.26    6,447,800.25   07/18/1991 07/23/1991      5   7,057.25       338,840.91
Indirect Travel         T834548                       43.86                                              07/18/1991
Travel                  T834596                      160.00                                              07/18/1991
Travel                  T834548                      124.00                                              07/18/1991
Indirect Voucher        68-W9-0060 20376-027       6,262.33                                              07/18/1991
Indirect Voucher        68-W9-0060 20376-027       6,262.33                                              07/18/1991
Voucher Schedule Date   68-W0-0037 8              21,815.97                                              07/23/1991
Indirect                FY 1991 PP 21              1,667.90                                              07/23/1991
Payroll                 FY 1991 PP 21              4,715.57                                              07/23/1991
Indirect Voucher        68-W0-0037 8               7,716.31   35,915.75   6,447,800.25    6,483,716.00   07/23/1991 07/25/1991      2   2,838.62       341,679.53
Voucher Schedule Date   68-01-7251 86             53,983.38                                              07/25/1991
Indirect Voucher        68-01-7251 86             19,093.92   73,077.30   6,483,716.00    6,556,793.30   07/25/1991 07/29/1991      4   5,741.24       347,420.77
Voucher Schedule Date   937801 0020                8,722.08                                              07/29/1991
Indirect Voucher        937801 0020                3,085.00   11,807.08   6,556,793.30    6,568,600.38   07/29/1991 07/30/1991      1   1,437.89       348,858.66
Indirect Travel         T860974                      147.95    1,930.35   6,568,600.38    6,570,530.73   07/30/1991 08/05/1991      6   8,629.90       357,488.56
Indirect Travel         T860972                      189.57                                              07/30/1991
Travel                  T860974                      418.28                                              07/30/1991
Travel                  T860972                      535.95                                              07/30/1991
Travel                  T860973                      471.74                                              07/30/1991
Indirect Travel         T860973                      166.86                                              07/30/1991
Voucher Schedule Date   937801 0021               12,054.14                                              08/05/1991
Indirect Voucher        937801 0021                4,263.55   16,317.69   6,570,530.73    6,586,848.42   08/05/1991 08/06/1991      1   1,441.89       358,930.45
Voucher Schedule Date   937801 0022                5,610.90                                              08/06/1991

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                                                  Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference             Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect                FY 1991 PP 22               3,650.38                                              08/06/1991
Payroll                 FY 1991 PP 22              10,320.53                                              08/06/1991
Travel                  T832359                       729.23   22,553.55   6,586,848.42    6,609,401.97   08/06/1991 08/09/1991      3   4,340.48       363,270.93
Indirect Travel         T832359                       257.93                                              08/06/1991
Indirect Voucher        937801 0022                 1,984.58                                              08/06/1991
Voucher Schedule Date   68-W9-0008 36               5,408.81                                              08/09/1991
Indirect Voucher        68-W9-0008 36               1,913.10    7,321.91   6,609,401.97    6,616,723.88   08/09/1991 08/14/1991      5   7,242.14       370,513.07
Voucher Schedule Date   68-D9-0085 21049              653.81                                              08/14/1991
Voucher Schedule Date   68-W1-0012 1X-1149-01       7,755.16                                              08/14/1991
Indirect Voucher        68-W1-0012 1X-1149-01       2,743.00   11,383.22   6,616,723.88    6,628,107.10   08/14/1991 08/15/1991      1   1,450.92       371,963.99
Indirect Voucher        68-D9-0085 21049              231.25                                              08/14/1991
Voucher Schedule Date   937801 0024                   720.00                                              08/15/1991
Indirect Voucher        937801 0024                   254.66      974.66   6,628,107.10    6,629,081.76   08/15/1991 08/16/1991      1   1,451.13       373,415.12
Voucher Schedule Date   68-W9-0059 25              28,302.14                                              08/16/1991
Voucher Schedule Date   68-01-7456 93               1,697.98                                              08/16/1991
Voucher Schedule Date   68-D9-0135 26               1,050.46                                              08/16/1991
Indirect Voucher        68-W9-0059 25              10,010.47   42,033.18   6,629,081.76    6,671,114.94   08/16/1991 08/20/1991      4   5,841.34       379,256.46
Indirect Voucher        68-01-7456 93                 600.58                                              08/16/1991
Indirect Voucher        68-D9-0135 26                 371.55                                              08/16/1991
Indirect                FY 1991 PP 23               3,492.26                                              08/20/1991
Payroll                 FY 1991 PP 23               9,873.48   13,365.74   6,671,114.94    6,684,480.68   08/20/1991 08/22/1991      2   2,926.52       382,182.98
Voucher Schedule Date   937801 0025                   743.58                                              08/22/1991
Voucher Schedule Date   937802 0025                23,605.06                                              08/22/1991

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                                                Cost Per      Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item          Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Voucher        937802 0025                8,349.11   33,458.82   6,684,480.68    6,717,939.50   08/22/1991 08/23/1991      1   1,470.58       383,653.56
Indirect Travel         T787989                     130.14                                               08/22/1991
Indirect Voucher        937801 0025                 263.00                                               08/22/1991
Travel                  T787989                     367.93                                               08/22/1991
Voucher Schedule Date   68-01-7368 118             -189.33                                               08/23/1991
Indirect Voucher        68-01-7368 118               -66.97     -256.30   6,717,939.50    6,717,683.20   08/23/1991 08/28/1991      5   7,352.64       391,006.20
Voucher Schedule Date   68-W0-0037 10             13,111.63                                              08/28/1991
Indirect Voucher        68-W0-0037 10             4,637.58    17,749.21   6,717,683.20    6,735,432.41   08/28/1991 08/29/1991      1   1,474.41       392,480.61
Travel                  T860982                     361.48                                               08/29/1991
Indirect Travel         T860979                      95.26     1,949.96   6,735,432.41    6,737,382.37   08/29/1991 09/03/1991      5   7,374.20       399,854.81
Travel                  T860983                     434.25                                               08/29/1991
Indirect Travel         T860980                     132.79                                               08/29/1991
Travel                  T860979                     269.32                                               08/29/1991
Travel                  T860980                     375.42                                               08/29/1991
Indirect Travel         T860983                     153.59                                               08/29/1991
Indirect Travel         T860982                     127.85                                               08/29/1991
Voucher Schedule Date   68-W9-0059 24R           21,977.83                                               09/03/1991
Voucher Schedule Date   68-03-3482 68             1,889.38                                               09/03/1991
Indirect                FY 1991 PP 24             3,600.45                                               09/03/1991
Payroll                 FY 1991 PP 24            10,179.46                                               09/03/1991
Travel                  T864851                     190.00    46,346.15   6,737,382.37    6,783,728.52   09/03/1991 09/04/1991      1   1,484.99       401,339.80
Indirect Voucher        68-03-3482 68               668.27                                               09/03/1991
Indirect Travel         T864851                      67.20                                               09/03/1991

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                                                Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Voucher        68-W9-0059 24R            7,773.56                                              09/03/1991
Travel                  T834520                     350.24    1,851.62   6,783,728.52    6,785,580.14   09/04/1991 09/05/1991      1   1,485.39       402,825.19
Indirect Travel         T721667                     359.92                                              09/04/1991
Travel                  T721667                   1,017.58                                              09/04/1991
Indirect Travel         T834520                     123.88                                              09/04/1991
Voucher Schedule Date   68-W9-0031 31                 3.58                                              09/05/1991
Voucher Schedule Date   68-W9-0008 37             3,025.44                                              09/05/1991
Voucher Schedule Date   937801 0026               9,422.22                                              09/05/1991
Indirect Voucher        68-W9-0031 31                 1.27   16,855.25   6,785,580.14    6,802,435.39   09/05/1991 09/09/1991      4   5,956.32       408,781.51
Indirect Voucher        68-W9-0008 37             1,070.10                                              09/05/1991
Indirect Voucher        937801 0026               3,332.64                                              09/05/1991
Voucher Schedule Date   68-W0-0001 23               452.55                                              09/09/1991
Voucher Schedule Date   68-W9-0059 26            54,129.84                                              09/09/1991
Indirect Voucher        68-W9-0059 26            19,145.72                                              09/09/1991
Indirect Voucher        68-W0-0001 23               160.07   73,888.18   6,802,435.39    6,876,323.57   09/09/1991 09/10/1991      1   1,505.26       410,286.77
Travel                  T822245                     516.85                                              09/10/1991
Travel                  T864930                     538.05    2,539.87   6,876,323.57    6,878,863.44   09/10/1991 09/11/1991      1   1,505.81       411,792.58
Indirect Travel         T822245                     182.81                                              09/10/1991
Indirect Travel         T864930                     190.31                                              09/10/1991
Indirect Travel         T860975                      70.32                                              09/10/1991
Travel                  T860975                     198.82                                              09/10/1991
Travel                  T864931                     622.52                                              09/10/1991
Indirect Travel         T864931                     220.19                                              09/10/1991

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                                                   Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference              Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Voucher Schedule Date   937802 0027                  1,528.47                                              09/11/1991
Indirect Voucher        937802 0027                    540.62    2,069.09   6,878,863.44    6,880,932.53   09/11/1991 09/13/1991      2   3,012.53       414,805.11
Voucher Schedule Date   68-W9-0060 20376-29          3,221.29                                              09/13/1991
Indirect Voucher        68-W9-0060 20376-29          1,139.37    4,360.66   6,880,932.53    6,885,293.19   09/13/1991 09/16/1991      3   4,521.66       419,326.77
Travel                  T864932                        520.42    1,053.43   6,885,293.19    6,886,346.62   09/16/1991 09/17/1991      1   1,507.45       420,834.22
Indirect Travel         T864932                        184.07                                              09/16/1991
Indirect Travel         T860932                         91.17                                              09/16/1991
Travel                  T860932                        257.77                                              09/16/1991
Indirect                FY 1991 PP 25                2,125.38                                              09/17/1991
Payroll                 FY 1991 PP 25                6,008.98                                              09/17/1991
Indirect Travel         T834797                        150.54    8,710.53   6,886,346.62    6,895,057.15   09/17/1991 09/19/1991      2   3,018.71       423,852.93
Travel                  T834797                        425.63                                              09/17/1991
Voucher Schedule Date   8U1020NALX 4-385-56131           3.75                                              09/19/1991
Indirect Voucher        8U1020NALX 4-385-56131           1.33        5.08   6,895,057.15    6,895,062.23   09/19/1991 09/20/1991      1   1,509.36       425,362.29
Voucher Schedule Date   68-W0-0037 11               32,177.61                                              09/20/1991
Voucher Schedule Date   68-W9-0060 20376-30          4,596.09                                              09/20/1991
Indirect Voucher        68-W9-0060 20376-30          1,625.64   49,780.56   6,895,062.23    6,944,842.79   09/20/1991 09/23/1991      3   4,560.76       429,923.05
Indirect Voucher        68-W0-0037 11               11,381.22                                              09/20/1991
Voucher Schedule Date   937801 0029                  9,696.77                                              09/23/1991
Voucher Schedule Date   68-01-7456 95                  860.00                                              09/23/1991
Indirect Voucher        68-01-7456 95                  304.18                                              09/23/1991
Indirect Travel         T883299                         75.25                                              09/23/1991
Indirect Travel         T882908                        152.59                                              09/23/1991

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                                                    Cost Per      Cost Per                      Cumulative   Date of       Interest           Periodic       Cumulative
Cost Category             Cost Reference             Item          Date        Prior Balance      Total    Recognition     Through    Days    Interest         Interest

   Fiscal Year 1991 (Annual Rate: 7.99%)

Indirect Travel           T882912                       167.11                                                09/23/1991
Indirect Travel           T883301                        85.77    16,809.67    6,944,842.79    6,961,652.46   09/23/1991 09/24/1991      1     1,523.93      431,446.98
Indirect Travel           T864852                       177.45                                                09/23/1991
Travel                    T883299                       212.75                                                09/23/1991
Travel                    T883301                       242.50                                                09/23/1991
Travel                    T882912                       472.46                                                09/23/1991
Travel                    T864852                       501.67                                                09/23/1991
Travel                    T882908                       431.42                                                09/23/1991
Indirect Voucher          937801 0029                  3,429.75                                               09/23/1991
Indirect Travel           T883300                       180.48       690.76    6,961,652.46    6,962,343.22   09/24/1991 09/30/1991      6     9,144.51      440,591.49
Travel                    T883300                       510.28                                                09/24/1991
Voucher Schedule Date     68-W1-0012 1X-1194-02         827.90                                                09/30/1991
Indirect Voucher          68-W1-0012 1X-1194-02         292.83      1,120.73   6,962,343.22    6,963,463.95   09/30/1991 10/01/1991      1     1,524.33      442,115.82

   Totals for Fiscal Year 1991                     3,653,856.48                                                                              442,115.82      486,040.68


   Fiscal Year 1992 (Annual Rate: 5.7%)

Prior FY Interest                                    442,115.82   442,115.82   6,963,463.95    7,405,579.77   10/01/1991 10/01/1991      0         0.00            0.00
Voucher Schedule Date     68-W9-0008 39                 996.30                                                10/01/1991
Indirect                  FY 1991 PP 26                2,923.27                                               10/01/1991
Payroll                   FY 1991 PP 26                8,264.82                                               10/01/1991
Indirect Voucher          68-W9-0008 39                 339.74    12,524.13    7,405,579.77    7,418,103.90   10/01/1991 10/02/1991      1     1,155.28        1,155.28
Voucher Schedule Date     68-D9-0079 134731            2,280.31                                               10/02/1991
Voucher Schedule Date     68-03-3482 70                2,226.94                                               10/02/1991
                                                                               Exhibit 4-A
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                                               Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Indirect Voucher         68-D9-0079 134731           171.62                                               10/02/1991
Indirect Voucher         68-D9-0079 134731           605.96                                               10/02/1991
Indirect Voucher         68-03-3482 70               759.39     6,044.22   7,418,103.90    7,424,148.12   10/02/1991 10/07/1991      5   5,781.10         6,936.38
Voucher Schedule Date    68-W9-0031 32                55.46                                               10/07/1991
Voucher Schedule Date    68-W9-0031 33               872.72                                               10/07/1991
Indirect Voucher         68-W9-0031 32                 6.15     1,244.69   7,424,148.12    7,425,392.81   10/07/1991 10/09/1991      2   2,312.83         9,249.21
Indirect Voucher         68-W9-0031 32                12.76                                               10/07/1991
Indirect Voucher         68-W9-0031 33               297.60                                               10/07/1991
Travel                   T883302                     460.50     1,806.97   7,425,392.81    7,427,199.78   10/09/1991 10/10/1991      1   1,156.70        10,405.91
Indirect Travel          T831842                     302.46                                               10/09/1991
Indirect Travel          T883302                     157.03                                               10/09/1991
Travel                   T831842                     886.98                                               10/09/1991
Voucher Schedule Date    68-W0-0001 24             1,830.80                                               10/10/1991
Indirect Voucher         68-W0-0001 24               624.30     2,455.10   7,427,199.78    7,429,654.88   10/10/1991 10/11/1991      1   1,157.08        11,562.99
Voucher Schedule Date    68-W9-0059 27            97,357.32                                               10/11/1991
Indirect Voucher         68-W9-0059 27             9,104.54   130,556.17   7,429,654.88    7,560,211.05   10/11/1991 10/15/1991      4   4,709.64        16,272.63
Indirect Voucher         68-W9-0059 27            24,094.31                                               10/11/1991
Indirect                 FY 1991 PP 27             1,838.31                                               10/15/1991
Indirect                 FY 1992 PP 01               876.56                                               10/15/1991
Payroll                  FY 1991 PP 27             5,197.33    10,482.77   7,560,211.05    7,570,693.82   10/15/1991 10/16/1991      1   1,179.04        17,451.67
Payroll                  FY 1992 PP 01             2,570.57                                               10/15/1991
Travel                   T882816                     314.58                                               10/16/1991
Indirect Travel          T882816                     107.27      421.85    7,570,693.82    7,571,115.67   10/16/1991 10/17/1991      1   1,179.11        18,630.78

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                                                                 Detailed Interest Cost
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                                               Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Voucher Schedule Date    68-W0-0037 12            67,596.63                                              10/17/1991
Indirect Voucher         68-W0-0037 12            23,050.45   90,647.08   7,571,115.67    7,661,762.75   10/17/1991 10/18/1991      1   1,193.23        19,824.01
Travel                   T883303                     829.69    1,112.61   7,661,762.75    7,662,875.36   10/18/1991 10/22/1991      4   4,773.59        24,597.60
Indirect Travel          T883303                     282.92                                              10/18/1991
Indirect Travel          T882910                      58.48                                              10/22/1991
Travel                   T882910                     171.50      229.98   7,662,875.36    7,663,105.34   10/22/1991 10/25/1991      3   3,580.30        28,177.90
Voucher Schedule Date    937802 0031              45,847.64                                              10/25/1991
Indirect Voucher         937802 0031              15,634.05   61,481.69   7,663,105.34    7,724,587.03   10/25/1991 10/28/1991      3   3,609.03        31,786.93
Travel                   T864486                     418.88                                              10/28/1991
Indirect Travel          T864486                     142.83      561.71   7,724,587.03    7,725,148.74   10/28/1991 10/29/1991      1   1,203.10        32,990.03
Indirect                 FY 1992 PP 02             1,551.10                                              10/29/1991
Payroll                  FY 1992 PP 02             4,548.71                                              10/29/1991
Travel                   T882815                     252.00                                              10/29/1991
Indirect Travel          T882815                      85.93    6,437.74   7,725,148.74    7,731,586.48   10/29/1991 11/04/1991      6   7,224.60        40,214.63
Voucher Schedule Date    68-03-3482 72                10.05                                              11/04/1991
Indirect Voucher         68-03-3482 72                 3.43       13.48   7,731,586.48    7,731,599.96   11/04/1991 11/05/1991      1   1,204.10        41,418.73
Voucher Schedule Date    68-W9-0008 40             9,112.73                                              11/05/1991
Voucher Schedule Date    68-W9-0031 34                13.09                                              11/05/1991
Indirect Voucher         68-W9-0008 40             3,107.44   12,237.72   7,731,599.96    7,743,837.68   11/05/1991 11/08/1991      3   3,618.02        45,036.75
Indirect Voucher         68-W9-0031 34                 4.46                                              11/05/1991
Voucher Schedule Date    68-W9-0059 28            76,626.42                                              11/08/1991
Voucher Schedule Date    68-W0-0001 25             2,453.62                                              11/08/1991
Voucher Schedule Date    68-03-3482 73               479.33                                              11/08/1991

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                                                                   Detailed Interest Cost
                                                      MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                  Cost Per      Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference            Item          Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Voucher Schedule Date    68-W9-0060 20376-032       -3,416.82                                               11/08/1991
Indirect Voucher         68-03-3482 73                163.45    102,107.15   7,743,837.68    7,845,944.83   11/08/1991 11/12/1991      4   4,887.64        49,924.39
Indirect Voucher         68-W9-0060 20376-032       -1,149.43                                               11/08/1991
Indirect Voucher         68-W9-0059 28              2,763.38                                                11/08/1991
Indirect Voucher         68-W9-0060 20376-032       1,149.43                                                11/08/1991
Indirect Voucher         68-W0-0001 25                836.68                                                11/08/1991
Indirect Voucher         68-W9-0059 28             23,366.23                                                11/08/1991
Indirect Voucher         68-W9-0060 20376-032       -1,165.14                                               11/08/1991
Voucher Schedule Date    68-W0-0037 13             53,448.74                                                11/12/1991
Indirect                 FY 1992 PP 03              2,193.04                                                11/12/1991
Payroll                  FY 1992 PP 03              6,431.21                                                11/12/1991
Indirect Voucher         68-W0-0037 13             18,226.02     81,240.49   7,845,944.83    7,927,185.32   11/12/1991 11/13/1991      1   1,234.56        51,158.95
Indirect Travel          T912915                      239.41                                                11/12/1991
Travel                   T912915                      702.07                                                11/12/1991
Voucher Schedule Date    68-01-7456 99             11,466.32                                                11/13/1991
Indirect Voucher         68-01-7456 99              3,910.02     15,511.20   7,927,185.32    7,942,696.52   11/13/1991 11/19/1991      6   7,421.86        58,580.81
Travel                   T2698946                     100.57                                                11/13/1991
Indirect Travel          T2698946                      34.29                                                11/13/1991
Indirect Travel          T864468                      102.26       402.14    7,942,696.52    7,943,098.66   11/19/1991 11/22/1991      3   3,711.12        62,291.93
Travel                   T864468                      299.88                                                11/19/1991
Travel                   610015                        50.75         68.06   7,943,098.66    7,943,166.72   11/22/1991 11/25/1991      3   3,711.15        66,003.08
Indirect Travel          610015                        17.31                                                11/22/1991
Voucher Schedule Date    937802 0033                7,009.98                                                11/25/1991

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                                                                 Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Indirect Voucher         937802 0033               2,390.40    9,400.38   7,943,166.72    7,952,567.10   11/25/1991 11/26/1991      1    1,238.51       67,241.59
Indirect                 FY 1992 PP 04             2,045.80                                              11/26/1991
Payroll                  FY 1992 PP 04             5,999.48    8,045.28   7,952,567.10    7,960,612.38   11/26/1991 12/03/1991      7    8,678.37       75,919.96
Indirect Travel          T561094                     134.01    1,198.04   7,960,612.38    7,961,810.42   12/03/1991 12/04/1991      1    1,239.95       77,159.91
Indirect Travel          T886427                     170.63                                              12/03/1991
Travel                   T561094                     393.00                                              12/03/1991
Travel                   T886427                     500.40                                              12/03/1991
Voucher Schedule Date    68-W9-0031 35                30.48                                              12/04/1991
Indirect Voucher         68-W9-0031 35                10.39       40.87   7,961,810.42    7,961,851.29   12/04/1991 12/09/1991      5    6,199.80       83,359.71
Voucher Schedule Date    68-W9-0059 29            69,042.46                                              12/09/1991
Voucher Schedule Date    68-03-3482 74               324.50                                              12/09/1991
Indirect Voucher         68-W9-0059 29            20,132.51                                              12/09/1991
Indirect Voucher         68-W9-0059 29             3,410.97   93,021.09   7,961,851.29    8,054,872.38   12/09/1991 12/10/1991      1    1,254.45       84,614.16
Indirect Voucher         68-03-3482 74               110.65                                              12/09/1991
Indirect                 FY 1992 PP 05             2,149.09                                              12/10/1991
Payroll                  FY 1992 PP 05             6,302.31    8,451.40   8,054,872.38    8,063,323.78   12/10/1991 12/11/1991      1    1,255.76       85,869.92
Voucher Schedule Date    68-D1-0135 1                147.41                                              12/11/1991
Indirect Voucher         68-D1-0135 1                 50.27      197.68   8,063,323.78    8,063,521.46   12/11/1991 12/12/1991      1    1,255.79       87,125.71
Voucher Schedule Date    68-W0-0037 14            15,973.68                                              12/12/1991
Indirect Voucher         68-W0-0037 14             5,447.02   21,420.70   8,063,521.46    8,084,942.16   12/12/1991 12/20/1991      8   10,073.04       97,198.75
Indirect Travel          T886462                      72.12                                              12/20/1991
Indirect Travel          T886464                     332.74    1,592.15   8,084,942.16    8,086,534.31   12/20/1991 12/23/1991      3    3,778.13      100,976.88
Travel                   T886462                     211.50                                              12/20/1991

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                                                                 Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Travel                   T886464                     975.79                                               12/20/1991
Indirect Travel          T912831                     163.60      643.36    8,086,534.31    8,087,177.67   12/23/1991 12/24/1991      1   1,259.48       102,236.36
Travel                   T912831                     479.76                                               12/23/1991
Indirect                 FY 1992 PP 06             2,037.05                                               12/24/1991
Payroll                  FY 1992 PP 06             5,973.76     8,010.81   8,087,177.67    8,095,188.48   12/24/1991 12/30/1991      6   7,564.36       109,800.72
Voucher Schedule Date    68-03-3482 77                10.86                                               12/30/1991
Indirect Voucher         68-03-3482 77                 3.70     1,102.14   8,095,188.48    8,096,290.62   12/30/1991 01/02/1992      3   3,782.69       113,583.41
Travel                   T886466                     811.02                                               12/30/1991
Indirect Travel          T886466                     276.56                                               12/30/1991
Indirect Travel          T886310                     246.02      967.48    8,096,290.62    8,097,258.10   01/02/1992 01/07/1992      5   6,305.24       119,888.65
Travel                   T886310                     721.46                                               01/02/1992
Voucher Schedule Date    937802 0041               2,417.00                                               01/07/1992
Voucher Schedule Date    937801 0041                 965.00                                               01/07/1992
Indirect                 FY 1992 PP 07             1,140.06                                               01/07/1992
Payroll                  FY 1992 PP 07             3,343.31                                               01/07/1992
Indirect Voucher         937801 0041                 329.07     9,018.64   8,097,258.10    8,106,276.74   01/07/1992 01/08/1992      1   1,262.45       121,151.10
Indirect Voucher         937802 0041                 824.20                                               01/07/1992
Voucher Schedule Date    68-W0-0001 29                33.99                                               01/08/1992
Voucher Schedule Date    68-W9-0059 30           147,905.76                                               01/08/1992
Indirect Voucher         68-W0-0001 29                11.59                                               01/08/1992
Indirect Voucher         68-W9-0059 30             4,943.38                                               01/08/1992
Indirect Voucher         68-W9-0059 30            37,396.39                                               01/08/1992
Indirect Voucher         68-W9-0059 30             8,096.10   198,387.21   8,106,276.74    8,304,663.95   01/08/1992 01/09/1992      1   1,293.35       122,444.45

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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                  Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference            Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Voucher Schedule Date    68-C8-0062 3-C            15,000.00                                              01/09/1992
Indirect Voucher         68-C8-0062 3-C             5,115.00   20,115.00   8,304,663.95    8,324,778.95   01/09/1992 01/10/1992      1   1,296.48       123,740.93
Voucher Schedule Date    68-D1-0135 3               9,099.32                                              01/10/1992
Indirect Voucher         68-D1-0135 3               3,102.87   12,202.19   8,324,778.95    8,336,981.14   01/10/1992 01/16/1992      6   7,790.29       131,531.22
Voucher Schedule Date    68-W9-0008 42                421.61                                              01/16/1992
Indirect Voucher         68-W9-0008 42                143.77      565.38   8,336,981.14    8,337,546.52   01/16/1992 01/17/1992      1   1,298.47       132,829.69
Voucher Schedule Date    68-W9-0008 43                642.98                                              01/17/1992
Indirect Voucher         68-W9-0008 43                219.26      862.24   8,337,546.52    8,338,408.76   01/17/1992 01/21/1992      4   5,194.42       138,024.11
Voucher Schedule Date    68-W9-0060 20376-034         834.56                                              01/21/1992
Indirect                 FY 1992 PP 08              1,091.51                                              01/21/1992
Payroll                  FY 1992 PP 08              3,200.90                                              01/21/1992
Indirect Voucher         68-W9-0060 20376-034         284.58    5,411.55   8,338,408.76    8,343,820.31   01/21/1992 01/22/1992      1   1,299.45       139,323.56
Voucher Schedule Date    68-W0-0037 15              9,674.11                                              01/22/1992
Indirect Voucher         68-W0-0037 15              3,298.87   12,972.98   8,343,820.31    8,356,793.29   01/22/1992 01/23/1992      1   1,301.47       140,625.03
Voucher Schedule Date    68-W0-0001 28R               127.32                                              01/23/1992
Indirect Voucher         68-W0-0001 28R                43.42      170.74   8,356,793.29    8,356,964.03   01/23/1992 01/27/1992      4   5,205.98       145,831.01
Voucher Schedule Date    940402 0044               37,833.49                                              01/27/1992
Indirect Voucher         940402 0044               12,272.59   50,734.71   8,356,964.03    8,407,698.74   01/27/1992 02/03/1992      7   9,165.77       154,996.78
Indirect Voucher         940402 0044                  628.63                                              01/27/1992
Voucher Schedule Date    68-W9-0031 37                 13.85                                              02/03/1992
Indirect Voucher         68-W9-0031 37                  4.72       18.57   8,407,698.74    8,407,717.31   02/03/1992 02/04/1992      1   1,309.40       156,306.18
Indirect                 FY 1992 PP 09              1,896.91                                              02/04/1992
Payroll                  FY 1992 PP 09              5,562.81    7,459.72   8,407,717.31    8,415,177.03   02/04/1992 02/05/1992      1   1,310.56       157,616.74

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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                               Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference         Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Voucher Schedule Date    68-W9-0059 31         149,845.01                                               02/05/1992
Indirect Voucher         68-W9-0059 31          28,221.51                                               02/05/1992
Indirect Voucher         68-W9-0059 31          11,740.36                                               02/05/1992
Indirect Voucher         68-W9-0059 31          11,135.28   200,942.16   8,415,177.03    8,616,119.19   02/05/1992 02/07/1992      2   2,683.71       160,300.45
Voucher Schedule Date    68-D1-0135 5           19,525.69                                               02/07/1992
Indirect Voucher         68-D1-0135 5            6,658.26    26,183.95   8,616,119.19    8,642,303.14   02/07/1992 02/10/1992      3   4,037.80       164,338.25
Indirect Travel          9209HV0049                 20.37        80.12   8,642,303.14    8,642,383.26   02/10/1992 02/14/1992      4   5,383.78       169,722.03
Travel                   9209HV0049                 59.75                                               02/10/1992
Voucher Schedule Date    937801 0045            33,489.91                                               02/14/1992
Voucher Schedule Date    68-D9-0135 40           2,275.26                                               02/14/1992
Voucher Schedule Date    937802 0045            87,679.90                                               02/14/1992
Indirect Voucher         937802 0045            29,898.85   165,539.84   8,642,383.26    8,807,923.10   02/14/1992 02/18/1992      4   5,486.90       175,208.93
Indirect Voucher         68-D9-0135 40             775.86                                               02/14/1992
Indirect Voucher         937801 0045            11,420.06                                               02/14/1992
Indirect                 FY 1992 PP 10           2,084.50                                               02/18/1992
Payroll                  FY 1992 PP 10           6,112.89     8,197.39   8,807,923.10    8,816,120.49   02/18/1992 02/19/1992      1   1,373.00       176,581.93
Voucher Schedule Date    68-W9-0059 31-R           750.67                                               02/19/1992
Indirect Voucher         68-W9-0059 31-R             1.21     1,006.65   8,816,120.49    8,817,127.14   02/19/1992 02/20/1992      1   1,373.16       177,955.09
Indirect Voucher         68-W9-0059 31-R           254.77                                               02/19/1992
Voucher Schedule Date    68-W0-0001 31R              9.00                                               02/20/1992
Voucher Schedule Date    68-W0-0037 17          27,900.26                                               02/20/1992
Voucher Schedule Date    68-W9-0008 44             124.04                                               02/20/1992
Indirect Voucher         68-W0-0001 31R              3.07                                               02/20/1992

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                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference             Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Indirect Voucher         68-W0-0037 17               9,513.99                                              02/20/1992
Indirect Voucher         68-W9-0008 44                  42.30   37,592.66   8,817,127.14    8,854,719.80   02/20/1992 02/28/1992      8   11,032.11      188,987.20
Voucher Schedule Date    68-W1-0012 1X-2007-01       5,538.27                                              02/28/1992
Indirect Voucher         68-W1-0012 1X-2007-01       1,888.55    7,426.82   8,854,719.80    8,862,146.62   02/28/1992 03/02/1992      3   4,140.51       193,127.71
Travel                   T891544                       195.55      262.24   8,862,146.62    8,862,408.86   03/02/1992 03/03/1992      1   1,380.21       194,507.92
Indirect Travel          T891544                        66.69                                              03/02/1992
Indirect                 FY 1992 PP 11               2,147.03                                              03/03/1992
Payroll                  FY 1992 PP 11               6,296.26                                              03/03/1992
Indirect Travel          T891541                       150.22    9,034.03   8,862,408.86    8,871,442.89   03/03/1992 03/04/1992      1   1,381.62       195,889.54
Travel                   T891541                       440.52                                              03/03/1992
Voucher Schedule Date    68-D9-0080 92RDS1-93        2,260.48                                              03/04/1992
Voucher Schedule Date    937802 0046                20,758.29                                              03/04/1992
Indirect Voucher         937802 0046                 7,078.58                                              03/04/1992
Indirect Voucher         68-D9-0080 92RDS1-93          770.82   30,868.17   8,871,442.89    8,902,311.06   03/04/1992 03/05/1992      1   1,386.43       197,275.97
Travel                   T891518                       174.81                                              03/05/1992
Travel                   T444267                       291.74                                              03/05/1992
Indirect Travel          T891518                        59.61      625.65   8,902,311.06    8,902,936.71   03/05/1992 03/06/1992      1   1,386.52       198,662.49
Indirect Travel          T444267                        99.49                                              03/05/1992
Voucher Schedule Date    68-D1-0135 7                5,875.65                                              03/06/1992
Travel                   610038                         28.00    7,916.80   8,902,936.71    8,910,853.51   03/06/1992 03/10/1992      4   5,551.02       204,213.51
Indirect Voucher         68-D1-0135 7                2,003.60                                              03/06/1992
Indirect Travel          610038                          9.55                                              03/06/1992
Voucher Schedule Date    68-W0-0001 33                  21.08                                              03/10/1992

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                                                 Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Voucher Schedule Date    68-W9-0059 32           161,568.46                                               03/10/1992
Indirect Voucher         68-W9-0059 32            15,705.61   216,691.57   8,910,853.51    9,127,545.08   03/10/1992 03/13/1992      3   4,264.51       208,478.02
Indirect Voucher         68-W9-0059 32            39,389.23                                               03/10/1992
Indirect Voucher         68-W0-0001 33                 7.19                                               03/10/1992
Voucher Schedule Date    937801 0048               2,758.04                                               03/13/1992
Voucher Schedule Date    937802 0048              15,752.66                                               03/13/1992
Indirect Voucher         937801 0048                 940.49    24,822.85   9,127,545.08    9,152,367.93   03/13/1992 03/17/1992      4   5,701.48       214,179.50
Indirect Voucher         937802 0048               5,371.66                                               03/13/1992
Indirect                 FY 1992 PP 12             2,166.98                                               03/17/1992
Payroll                  FY 1992 PP 12             6,354.78     8,521.76   9,152,367.93    9,160,889.69   03/17/1992 03/20/1992      3   4,280.09       218,459.59
Voucher Schedule Date    68-D9-0135 42               881.80                                               03/20/1992
Indirect Voucher         68-D9-0135 42               300.69     1,182.49   9,160,889.69    9,162,072.18   03/20/1992 03/23/1992      3   4,280.64       222,740.23
Voucher Schedule Date    937802 0049               2,620.00                                               03/23/1992
Voucher Schedule Date    937801 0049                 948.00                                               03/23/1992
Voucher Schedule Date    68-W9-0008 45             1,769.03                                               03/23/1992
Indirect Voucher         937802 0049                 893.42     7,156.96   9,162,072.18    9,169,229.14   03/23/1992 03/24/1992      1   1,427.99       224,168.22
Indirect Voucher         68-W9-0008 45               603.24                                               03/23/1992
Indirect Voucher         937801 0049                 323.27                                               03/23/1992
Indirect Travel          T891543                     165.62      651.31    9,169,229.14    9,169,880.45   03/24/1992 03/25/1992      1   1,428.10       225,596.32
Travel                   T891543                     485.69                                               03/24/1992
Voucher Schedule Date    940402 0050                   9.33                                               03/25/1992
Voucher Schedule Date    937802 0050                 743.58                                               03/25/1992
Indirect Voucher         937802 0050                 253.56     1,009.65   9,169,880.45    9,170,890.10   03/25/1992 03/26/1992      1   1,428.25       227,024.57

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                                                Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference          Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Indirect Voucher         940402 0050                  3.18                                               03/25/1992
Voucher Schedule Date    68-W0-0037 18            7,873.77                                               03/26/1992
Indirect Voucher         68-W0-0037 18            2,684.96    10,558.73   9,170,890.10    9,181,448.83   03/26/1992 03/27/1992      1   1,429.90       228,454.47
Indirect Travel          600012                       8.44        33.19   9,181,448.83    9,181,482.02   03/27/1992 03/31/1992      4   5,719.61       234,174.08
Travel                   600012                      24.75                                               03/27/1992
Indirect                 FY 1992 PP 13            2,042.64                                               03/31/1992
Payroll                  FY 1992 PP 13            5,990.15     8,032.79   9,181,482.02    9,189,514.81   03/31/1992 04/03/1992      3   4,293.46       238,467.54
Voucher Schedule Date    937802 0051                582.47                                               04/03/1992
Indirect Voucher         937802 0051                198.62      781.09    9,189,514.81    9,190,295.90   04/03/1992 04/09/1992      6   8,587.65       247,055.19
Voucher Schedule Date    68-D1-0135 9             3,564.54                                               04/09/1992
Voucher Schedule Date    68-W9-0008 46              193.96                                               04/09/1992
Indirect Voucher         68-D1-0135 9             1,215.51     5,040.15   9,190,295.90    9,195,336.05   04/09/1992 04/10/1992      1   1,432.06       248,487.25
Indirect Voucher         68-W9-0008 46               66.14                                               04/09/1992
Voucher Schedule Date    68-W9-0031 39                4.24                                               04/10/1992
Indirect Voucher         68-W9-0031 39                1.45         5.69   9,195,336.05    9,195,341.74   04/10/1992 04/13/1992      3   4,296.18       252,783.43
Voucher Schedule Date    937802 0052             20,424.96                                               04/13/1992
Voucher Schedule Date    68-W0-0001 34               23.43                                               04/13/1992
Voucher Schedule Date    68-W9-0059 33          121,173.80                                               04/13/1992
Indirect Voucher         68-W9-0059 33            6,188.81   189,915.36   9,195,341.74    9,385,257.10   04/13/1992 04/14/1992      1   1,461.64       254,245.07
Indirect Voucher         68-W0-0001 34                7.99                                               04/13/1992
Indirect Voucher         68-W9-0059 33           35,131.46                                               04/13/1992
Indirect Voucher         937802 0052              6,964.91                                               04/13/1992
Indirect                 FY 1992 PP 14            2,611.24                                               04/14/1992

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                                                 Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Payroll                  FY 1992 PP 14             7,657.66   10,268.90   9,385,257.10    9,395,526.00   04/14/1992 04/23/1992      9   13,169.14      267,414.21
Voucher Schedule Date    940402 0053                  51.32                                              04/23/1992
Indirect Voucher         940402 0053                  17.50       68.82   9,395,526.00    9,395,594.82   04/23/1992 04/28/1992      5    7,316.24      274,730.45
Indirect                 FY 1992 PP 15             2,468.47                                              04/28/1992
Payroll                  FY 1992 PP 15             7,238.92    9,707.39   9,395,594.82    9,405,302.21   04/28/1992 04/30/1992      2    2,929.52      277,659.97
Travel                   T909445                     308.16      413.25   9,405,302.21    9,405,715.46   04/30/1992 05/01/1992      1    1,464.82      279,124.79
Indirect Travel          T909445                     105.09                                              04/30/1992
Voucher Schedule Date    68-W9-0008 47                94.15                                              05/01/1992
Indirect Voucher         68-W9-0008 47                32.11      126.26   9,405,715.46    9,405,841.72   05/01/1992 05/05/1992      4    5,859.38      284,984.17
Voucher Schedule Date    68-W9-0031 41               500.26                                              05/05/1992
Indirect Voucher         68-W9-0031 41               170.59      670.85   9,405,841.72    9,406,512.57   05/05/1992 05/06/1992      1    1,464.95      286,449.12
Voucher Schedule Date    68-W9-0059 34            60,211.25                                              05/06/1992
Indirect Voucher         68-W9-0059 34             9,886.94   80,743.29   9,406,512.57    9,487,255.86   05/06/1992 05/07/1992      1    1,477.52      287,926.64
Indirect Voucher         68-W9-0059 34            10,645.10                                              05/06/1992
Voucher Schedule Date    68-03-3482 85                56.46                                              05/07/1992
Voucher Schedule Date    68-D1-0135 11             4,970.63                                              05/07/1992
Indirect Travel          T867574                      84.97    8,062.46   9,487,255.86    9,495,318.32   05/07/1992 05/11/1992      4    5,915.12      293,841.76
Indirect Travel          T867575                      99.84                                              05/07/1992
Indirect Voucher         68-03-3482 85                19.25                                              05/07/1992
Travel                   T867575                     292.78                                              05/07/1992
Indirect Travel          T909897                     151.15                                              05/07/1992
Travel                   T867574                     249.16                                              05/07/1992
Indirect Voucher         68-D1-0135 11             1,694.98                                              05/07/1992

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                                                 Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Travel                   T909897                     443.24                                               05/07/1992
Voucher Schedule Date    68-W0-0037 19             5,643.47                                               05/11/1992
Indirect Voucher         68-W0-0037 19             1,924.42     7,567.89   9,495,318.32    9,502,886.21   05/11/1992 05/12/1992      1   1,479.96       295,321.72
Indirect                 FY 1992 PP 16             2,828.95                                               05/12/1992
Payroll                  FY 1992 PP 16             8,296.04                                               05/12/1992
Indirect Travel          610069                       17.05    11,535.86   9,502,886.21    9,514,422.07   05/12/1992 05/13/1992      1   1,481.75       296,803.47
Travel                   T867576                     256.39                                               05/12/1992
Indirect Travel          T867576                      87.43                                               05/12/1992
Travel                   610069                       50.00                                               05/12/1992
Voucher Schedule Date    937802 0057              45,391.52                                               05/13/1992
Voucher Schedule Date    937801 0057              95,408.29                                               05/13/1992
Indirect Voucher         937801 0057              32,534.23   188,812.55   9,514,422.07    9,703,234.62   05/13/1992 05/19/1992      6   9,066.96       305,870.43
Indirect Voucher         937802 0057              15,478.51                                               05/13/1992
Indirect Travel          T867582                     172.89     2,283.40   9,703,234.62    9,705,518.02   05/19/1992 05/21/1992      2   3,023.03       308,893.46
Indirect Travel          T867581                     233.52                                               05/19/1992
Indirect Travel          T867584                     174.24                                               05/19/1992
Travel                   T867584                     510.95                                               05/19/1992
Travel                   T867582                     507.00                                               05/19/1992
Travel                   T867581                     684.80                                               05/19/1992
Voucher Schedule Date    937802 0059               1,772.20                                               05/21/1992
Indirect Voucher         937802 0059                 604.32     2,376.52   9,705,518.02    9,707,894.54   05/21/1992 05/26/1992      5   7,559.43       316,452.89
Indirect                 FY 1992 PP 17             2,297.51                                               05/26/1992
Payroll                  FY 1992 PP 17             6,737.54     9,035.05   9,707,894.54    9,716,929.59   05/26/1992 05/27/1992      1   1,513.29       317,966.18

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                                                    Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference              Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Indirect Travel          T882924                         70.76      278.26   9,716,929.59    9,717,207.85   05/27/1992 05/28/1992      1   1,513.34       319,479.52
Travel                   T882924                        207.50                                              05/27/1992
Voucher Schedule Date    937802 0060                  3,514.00                                              05/28/1992
Indirect Voucher         937802 0060                  1,198.27    4,712.27   9,717,207.85    9,721,920.12   05/28/1992 05/29/1992      1   1,514.07       320,993.59
Voucher Schedule Date    91091S0128 Q34501               41.00                                              05/29/1992
Voucher Schedule Date    937802 0061                  2,483.59                                              05/29/1992
Indirect Voucher         91091S0128 Q34501               13.98    3,385.47   9,721,920.12    9,725,305.59   05/29/1992 06/01/1992      3   4,543.79       325,537.38
Indirect Voucher         937802 0061                    846.90                                              05/29/1992
Voucher Schedule Date    4U2000NDLX 4-648-41202           3.99                                              06/01/1992
Indirect Voucher         4U2000NDLX 4-648-41202           1.36        5.35   9,725,305.59    9,725,310.94   06/01/1992 06/03/1992      2   3,029.20       328,566.58
Voucher Schedule Date    68-W9-0059 35               52,497.51                                              06/03/1992
Indirect Voucher         68-W9-0059 35                9,093.21   70,399.16   9,725,310.94    9,795,710.10   06/03/1992 06/04/1992      1   1,525.56       330,092.14
Indirect Voucher         68-W9-0059 35                8,808.44                                              06/03/1992
Voucher Schedule Date    940402 0062                  1,175.86                                              06/04/1992
Indirect Voucher         940402 0062                    400.97    1,576.83   9,795,710.10    9,797,286.93   06/04/1992 06/08/1992      4   6,103.23       336,195.37
Voucher Schedule Date    68-D1-0135 13                9,980.12                                              06/08/1992
Indirect Voucher         68-D1-0135 13                3,403.22   13,383.34   9,797,286.93    9,810,670.27   06/08/1992 06/09/1992      1   1,527.89       337,723.26
Indirect                 FY 1992 PP 18                2,133.14                                              06/09/1992
Payroll                  FY 1992 PP 18                6,255.57                                              06/09/1992
Travel                   T867585                        229.50    9,281.31   9,810,670.27    9,819,951.58   06/09/1992 06/10/1992      1   1,529.34       339,252.60
Travel                   T867105                        436.12                                              06/09/1992
Indirect Travel          T867105                        148.72                                              06/09/1992
Indirect Travel          T867585                         78.26                                              06/09/1992

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                                                                 Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Voucher Schedule Date    68-W9-0008 49               129.08                                              06/10/1992
Indirect Voucher         68-W9-0008 49                44.02      173.10   9,819,951.58    9,820,124.68   06/10/1992 06/11/1992      1   1,529.36       340,781.96
Voucher Schedule Date    68-W0-0037 20             3,965.20                                              06/11/1992
Indirect Travel          T867118                      97.29    6,073.24   9,820,124.68    9,826,197.92   06/11/1992 06/12/1992      1   1,530.31       342,312.27
Travel                   T867106                     278.39                                              06/11/1992
Travel                   T867118                     285.30                                              06/11/1992
Indirect Travel          T867106                      94.93                                              06/11/1992
Indirect Voucher         68-W0-0037 20             1,352.13                                              06/11/1992
Voucher Schedule Date    937802 0064              34,863.21                                              06/12/1992
Voucher Schedule Date    937801 0064                 507.88                                              06/12/1992
Indirect Voucher         937802 0064              11,888.35   47,432.63   9,826,197.92    9,873,630.55   06/12/1992 06/17/1992      5   7,688.48       350,000.75
Indirect Voucher         937801 0064                 173.19                                              06/12/1992
Voucher Schedule Date    68-W0-0001 36                14.18                                              06/17/1992
Indirect Voucher         68-W0-0001 36                 4.84       19.02   9,873,630.55    9,873,649.57   06/17/1992 06/19/1992      2   3,075.40       353,076.15
Voucher Schedule Date    937802 0065              30,256.14                                              06/19/1992
Indirect Voucher         937802 0065              10,317.34   40,573.48   9,873,649.57    9,914,223.05   06/19/1992 06/22/1992      3   4,632.06       357,708.21
Travel                   T867591                     147.50      197.80   9,914,223.05    9,914,420.85   06/22/1992 06/23/1992      1   1,544.05       359,252.26
Indirect Travel          T867591                      50.30                                              06/22/1992
Voucher Schedule Date    937802 0066              10,212.48                                              06/23/1992
Indirect                 FY 1992 PP 19             2,997.13                                              06/23/1992
Payroll                  FY 1992 PP 19             8,789.29                                              06/23/1992
Travel                   T909751                     358.88   26,696.19   9,914,420.85    9,941,117.04   06/23/1992 06/29/1992      6   9,289.24       368,541.50
Travel                   T867593                     547.03                                              06/23/1992

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                                                                 Detailed Interest Cost
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                                                 Cost Per     Cost Per                       Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date        Prior Balance       Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Indirect Travel          T909751                     122.38                                                06/23/1992
Indirect Travel          T867593                     186.54                                                06/23/1992
Indirect Voucher         937802 0066               3,482.46                                                06/23/1992
Voucher Schedule Date    937801 0067              35,601.00                                                06/29/1992
Indirect Voucher         937801 0067              12,139.94   47,740.94    9,941,117.04    9,988,857.98    06/29/1992 06/30/1992      1    1,555.64      370,097.14
Voucher Schedule Date    68-W0-0037 21             2,286.30                                                06/30/1992
Indirect Travel          T867594                     145.27    3,637.20    9,988,857.98    9,992,495.18    06/30/1992 07/01/1992      1    1,556.21      371,653.35
Travel                   T867594                     426.00                                                06/30/1992
Indirect Voucher         68-W0-0037 21               779.63                                                06/30/1992
Indirect Travel          T867595                     140.50      552.50    9,992,495.18    9,993,047.68    07/01/1992 07/07/1992      6    9,337.77      380,991.12
Travel                   T867595                     412.00                                                07/01/1992
Voucher Schedule Date    68-W0-0001 38                34.59                                                07/07/1992
Indirect                 FY 1992 PP 20             1,682.26                                                07/07/1992
Payroll                  FY 1992 PP 20             4,933.33                                                07/07/1992
Indirect Voucher         68-W0-0001 38                11.80    6,661.98    9,993,047.68    9,999,709.66    07/07/1992 07/14/1992      7   10,901.32      391,892.44
Voucher Schedule Date    68-W9-0059 36            75,964.51                                                07/14/1992
Voucher Schedule Date    68-W0-0037 22             1,651.86                                                07/14/1992
Voucher Schedule Date    68-D1-0135 15             5,991.83                                                07/14/1992
Indirect Voucher         68-W0-0037 22               563.28   112,118.58   9,999,709.66    10,111,828.24   07/14/1992 07/15/1992      1    1,574.79      393,467.23
Indirect Voucher         68-W9-0059 36            15,933.76                                                07/14/1992
Indirect Voucher         68-D1-0135 15             2,043.21                                                07/14/1992
Indirect Voucher         68-W9-0059 36             9,970.13                                                07/14/1992
Voucher Schedule Date    937801 0068              23,605.06                                                07/15/1992

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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per      Cost Per                    Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item          Date       Prior Balance     Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Voucher Schedule Date    937802 0068                 800.67                                              07/15/1992
Indirect Voucher         937802 0068               -8,049.33   32,728.08   10,111,828.24 10,144,556.32   07/15/1992 07/21/1992      6   9,479.34       402,946.57
Indirect Voucher         937801 0068               8,049.33                                              07/15/1992
Indirect Voucher         937802 0068               8,322.35                                              07/15/1992
Indirect                 FY 1992 PP 21             2,329.45                                              07/21/1992
Payroll                  FY 1992 PP 21             6,831.24     9,160.69 10,144,556.32 10,153,717.01     07/21/1992 07/22/1992      1   1,581.32       404,527.89
Voucher Schedule Date    68-W9-0008 51               177.35                                              07/22/1992
Indirect Voucher         68-W9-0008 51                60.48       237.83 10,153,717.01 10,153,954.84     07/22/1992 07/28/1992      6   9,488.12       414,016.01
Travel                   T933612                     579.87       777.60 10,153,954.84 10,154,732.44     07/28/1992 07/29/1992      1   1,581.47       415,597.48
Indirect Travel          T933612                     197.73                                              07/28/1992
Voucher Schedule Date    68-03-3482 91               420.50                                              07/29/1992
Indirect Voucher         68-03-3482 91               143.39       563.89 10,154,732.44 10,155,296.33     07/29/1992 07/30/1992      1   1,581.56       417,179.04
Travel                   T933611                     598.28       802.29 10,155,296.33 10,156,098.62     07/30/1992 08/04/1992      5   7,908.44       425,087.48
Indirect Travel          T933611                     204.01                                              07/30/1992
Voucher Schedule Date    68-W0-0001 39                91.23                                              08/04/1992
Indirect                 FY 1992 PP 22             2,440.65                                              08/04/1992
Payroll                  FY 1992 PP 22             7,157.32                                              08/04/1992
Travel                   610082                       16.00     9,741.77 10,156,098.62 10,165,840.39     08/04/1992 08/06/1992      2   3,166.41       428,253.89
Indirect Travel          610082                        5.46                                              08/04/1992
Indirect Voucher         68-W0-0001 39                31.11                                              08/04/1992
Voucher Schedule Date    937802 0070              20,765.38                                              08/06/1992
Indirect Voucher         937802 0070               7,080.99    27,846.37 10,165,840.39 10,193,686.76     08/06/1992 08/11/1992      5   7,937.71       436,191.60
Indirect Travel          T867133                      87.63     3,377.42 10,193,686.76 10,197,064.18     08/11/1992 08/13/1992      2   3,176.13       439,367.73

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                                                 Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Travel                   T955138                   1,311.96                                           08/11/1992
Indirect Travel          T955138                     447.38                                           08/11/1992
Travel                   T933610                     472.25                                           08/11/1992
Indirect Travel          T867111                     162.79                                           08/11/1992
Travel                   T867111                     477.38                                           08/11/1992
Travel                   T867133                     256.99                                           08/11/1992
Indirect Travel          T933610                     161.04                                           08/11/1992
Voucher Schedule Date    68-D1-0135 17             1,559.26                                           08/13/1992
Voucher Schedule Date    937802 0071               3,913.00                                           08/13/1992
Voucher Schedule Date    68-D9-0135 1-52             689.93                                           08/13/1992
Indirect Travel          110108                       17.56    8,332.56 10,197,064.18 10,205,396.74   08/13/1992 08/14/1992      1   1,589.37       440,957.10
Travel                   110108                       51.50                                           08/13/1992
Indirect Voucher         68-D9-0135 1-52             235.27                                           08/13/1992
Indirect Voucher         68-D1-0135 17               531.71                                           08/13/1992
Indirect Voucher         937802 0071               1,334.33                                           08/13/1992
Voucher Schedule Date    68-S2-9006 92-024         6,250.00                                           08/14/1992
Indirect Voucher         68-S2-9006 92-024         2,131.25    8,381.25 10,205,396.74 10,213,777.99   08/14/1992 08/18/1992      4   6,362.68       447,319.78
Indirect                 FY 1992 PP 23             1,176.41                                           08/18/1992
Payroll                  FY 1992 PP 23             3,449.92                                           08/18/1992
Travel                   610107                       57.50    4,703.44 10,213,777.99 10,218,481.43   08/18/1992 08/19/1992      1   1,591.40       448,911.18
Indirect Travel          610107                       19.61                                           08/18/1992
Voucher Schedule Date    937801 0072                 271.46                                           08/19/1992
Voucher Schedule Date    937802 0072              19,559.81                                           08/19/1992

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                                                 Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Indirect Voucher         937801 0072                  92.57   26,593.74 10,218,481.43 10,245,075.17   08/19/1992 08/20/1992      1    1,595.54      450,506.72
Indirect Voucher         937802 0072               6,669.90                                           08/19/1992
Voucher Schedule Date    68-W9-0008 52               771.73                                           08/20/1992
Voucher Schedule Date    68-W9-0059 37            49,762.44                                           08/20/1992
Indirect Voucher         68-W9-0008 52                10.75   67,766.33 10,245,075.17 10,312,841.50   08/20/1992 08/21/1992      1    1,606.10      452,112.82
Indirect Voucher         68-W9-0008 52               252.41                                           08/20/1992
Indirect Voucher         68-W9-0059 37             5,137.24                                           08/20/1992
Indirect Voucher         68-W9-0059 37            11,831.76                                           08/20/1992
Voucher Schedule Date    68-W0-0037 24             3,395.38                                           08/21/1992
Voucher Schedule Date    68-01-7368 119              669.54                                           08/21/1992
Voucher Schedule Date    68-W0-0037 23            26,121.13                                           08/21/1992
Indirect Voucher         68-W0-0037 24             1,157.82   40,479.49 10,312,841.50 10,353,320.99   08/21/1992 08/31/1992     10   16,124.02      468,236.84
Indirect Voucher         68-01-7368 119              228.31                                           08/21/1992
Indirect Voucher         68-W0-0037 23             8,907.31                                           08/21/1992
Voucher Schedule Date    68-S2-9006 92-026         6,000.00                                           08/31/1992
Travel                   T2621198                    247.35    8,377.69 10,353,320.99 10,361,698.68   08/31/1992 09/01/1992      1    1,613.71      469,850.55
Indirect Travel          T2621198                     84.34                                           08/31/1992
Indirect Voucher         68-S2-9006 92-026         2,046.00                                           08/31/1992
Indirect                 FY 1992 PP 24             2,833.30                                           09/01/1992
Payroll                  FY 1992 PP 24             8,308.78                                           09/01/1992
Travel                   T882933                     587.61   11,930.06 10,361,698.68 10,373,628.74   09/01/1992 09/10/1992      9   14,540.09      484,390.64
Indirect Travel          T882933                     200.37                                           09/01/1992
Indirect Travel          T950965                     226.76    1,888.80 10,373,628.74 10,375,517.54   09/10/1992 09/15/1992      5    8,079.30      492,469.94

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                                                 Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category            Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Indirect Travel          T950966                     253.54                                            09/10/1992
Travel                   T950965                     665.00                                            09/10/1992
Travel                   T950966                     743.50                                            09/10/1992
Voucher Schedule Date    68-C8-0062 12-C          23,132.14                                            09/15/1992
Indirect                 FY 1992 PP 25             2,794.46                                            09/15/1992
Payroll                  FY 1992 PP 25             8,194.87                                            09/15/1992
Indirect Travel          T950967                      93.27    42,693.14 10,375,517.54 10,418,210.68   09/15/1992 09/16/1992      1   1,622.51       494,092.45
Travel                   T950967                     273.50                                            09/15/1992
Indirect Travel          T950969                      80.57                                            09/15/1992
Travel                   T950969                     236.27                                            09/15/1992
Indirect Voucher         68-C8-0062 12-C           7,888.06                                            09/15/1992
Voucher Schedule Date    68-W9-0059 38           109,321.67                                            09/16/1992
Indirect Voucher         68-W9-0059 38            33,087.29   146,600.35 10,418,210.68 10,564,811.03   09/16/1992 09/17/1992      1   1,645.34       495,737.79
Indirect Voucher         68-W9-0059 38             4,191.39                                            09/16/1992
Voucher Schedule Date    68-W9-0008 53               411.94                                            09/17/1992
Indirect Voucher         68-W9-0008 53               140.47      552.41 10,564,811.03 10,565,363.44    09/17/1992 09/18/1992      1   1,645.43       497,383.22
Voucher Schedule Date    937801 0075              36,899.00                                            09/18/1992
Indirect Voucher         937801 0075              12,582.56    49,481.56 10,565,363.44 10,614,845.00   09/18/1992 09/22/1992      4   6,612.53       503,995.75
Travel                   T968497                     744.00     1,224.58 10,614,845.00 10,616,069.58   09/22/1992 09/28/1992      6   9,919.93       513,915.68
Travel                   T969778                     169.19                                            09/22/1992
Indirect Travel          T969778                      57.69                                            09/22/1992
Indirect Travel          T968497                     253.70                                            09/22/1992
Voucher Schedule Date    68-W0-0037 25               148.18                                            09/28/1992

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                                                  Cost Per      Cost Per                    Cumulative   Date of      Interest           Periodic       Cumulative
Cost Category             Cost Reference           Item          Date       Prior Balance     Total    Recognition    Through    Days    Interest         Interest

   Fiscal Year 1992 (Annual Rate: 5.7%)

Travel                    T950962                     920.74      1,433.42 10,616,069.58 10,617,503.00   09/28/1992 09/29/1992      1     1,653.55      515,569.23
Indirect Travel           T950962                     313.97                                             09/28/1992
Indirect Voucher          68-W0-0037 25                50.53                                             09/28/1992
Voucher Schedule Date     937802 0076              10,552.90                                             09/29/1992
Indirect                  FY 1992 PP 26              3,559.40                                            09/29/1992
Payroll                   FY 1992 PP 26            10,438.13                                             09/29/1992
Indirect Voucher          937802 0076                3,598.54    28,148.97 10,617,503.00 10,645,651.97   09/29/1992 10/01/1992      2     3,315.86      518,885.09

   Totals for Fiscal Year 1992                   3,240,072.20                                                                           518,885.09     1,004,925.77


   Fiscal Year 1993 (Annual Rate: 3.49%)

Prior FY Interest                                 518,885.09    518,885.09 10,645,651.97 11,164,537.06   10/01/1992 10/05/1992      4     4,270.05         4,270.05
Indirect Travel           T968496                     171.39       569.89 11,164,537.06 11,165,106.95    10/05/1992 10/07/1992      2     2,135.14         6,405.19
Travel                    T968496                     398.50                                             10/05/1992
Voucher Schedule Date     68-W0-0001 41                  6.45                                            10/07/1992
Indirect Voucher          68-W0-0001 41                  2.77     2,772.09 11,165,106.95 11,167,879.04   10/07/1992 10/08/1992      1     1,067.83         7,473.02
Indirect Travel           T933627                     206.95                                             10/07/1992
Travel                    T968503                     426.67                                             10/07/1992
Travel                    T933627                     481.17                                             10/07/1992
Travel                    T933626                     410.00                                             10/07/1992
Indirect Travel           T968502                     157.86                                             10/07/1992
Travel                    T968502                     367.04                                             10/07/1992
Indirect Travel           T968539                     106.26                                             10/07/1992
Travel                    T968539                     247.07                                             10/07/1992
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                                                    Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference               Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Indirect Travel         T968503                        183.51                                            10/07/1992
Indirect Travel         T933626                        176.34                                            10/07/1992
Voucher Schedule Date   68-D1-0135 21                13,524.89                                           10/08/1992
Voucher Schedule Date   68-W9-0059 39                46,232.23                                           10/08/1992
Voucher Schedule Date   68-W9-0052 3-591-16           3,359.40                                           10/08/1992
Indirect Voucher        68-D1-0135 21                 5,817.06   90,262.94 11,167,879.04 11,258,141.98   10/08/1992 10/09/1992      1   1,076.46         8,549.48
Indirect Voucher        68-W9-0052 3-591-16           1,444.88                                           10/08/1992
Indirect Voucher        68-W9-0059 39                13,236.22                                           10/08/1992
Indirect Voucher        68-W9-0059 39                 6,648.26                                           10/08/1992
Indirect Travel         T909988                        126.19       419.59 11,258,141.98 11,258,561.57   10/09/1992 10/10/1992      1   1,076.50         9,625.98
Travel                  T909988                        293.40                                            10/09/1992
Voucher Schedule Date   68-C8-0062 14-C AWARD FEE      820.86                                            10/10/1992
Indirect Voucher        68-C8-0062 14-C AWARD FEE      353.05     1,173.91 11,258,561.57 11,259,735.48   10/10/1992 10/13/1992      3   3,229.85        12,855.83
Indirect                FY 1992 PP 27                 2,277.36                                           10/13/1992
Indirect                FY 1993 PP 01                  471.97                                            10/13/1992
Payroll                 FY 1992 PP 27                 6,678.50   10,525.19 11,259,735.48 11,270,260.67   10/13/1992 10/14/1992      1   1,077.62        13,933.45
Payroll                 FY 1993 PP 01                 1,097.36                                           10/13/1992
Travel                  T969796                        471.50       674.29 11,270,260.67 11,270,934.96   10/14/1992 10/16/1992      2   2,155.37        16,088.82
Indirect Travel         T969796                        202.79                                            10/14/1992
Voucher Schedule Date   68-W9-0008 55                  164.62                                            10/16/1992
Indirect Voucher        68-W9-0008 55                    70.80      235.42 11,270,934.96 11,271,170.38   10/16/1992 10/21/1992      5   5,388.55        21,477.37
Indirect Travel         T968504                        174.19     1,022.78 11,271,170.38 11,272,193.16   10/21/1992 10/23/1992      2   2,155.61        23,632.98
Travel                  T909768                        310.18                                            10/21/1992

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                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Travel                  T968504                     405.00                                           10/21/1992
Indirect Travel         T909768                     133.41                                           10/21/1992
Voucher Schedule Date   9209PR0182 Q180714          579.69                                           10/23/1992
Indirect Voucher        9209PR0182 Q180714          249.32    1,015.41 11,272,193.16 11,273,208.57   10/23/1992 10/27/1992      4   4,311.62        27,944.60
Travel                  T2933670                    130.34                                           10/23/1992
Indirect Travel         T2933670                     56.06                                           10/23/1992
Voucher Schedule Date   937802 0078              10,552.90                                           10/27/1992
Indirect                FY 1993 PP 02             2,554.66                                           10/27/1992
Payroll                 FY 1993 PP 02             5,939.69                                           10/27/1992
Indirect Voucher        937802 0078               4,538.80   23,586.05 11,273,208.57 11,296,794.62   10/27/1992 10/29/1992      2   2,160.32        30,104.92
Indirect Travel         T954979                     143.55      477.32 11,296,794.62 11,297,271.94   10/29/1992 11/06/1992      8   8,641.64        38,746.56
Travel                  T954979                     333.77                                           10/29/1992
Indirect Travel         T954976                     221.35    3,644.30 11,297,271.94 11,300,916.24   11/06/1992 11/09/1992      3   3,241.66        41,988.22
Indirect Travel         T968473                     421.28                                           11/06/1992
Travel                  T954976                     514.64                                           11/06/1992
Travel                  T968473                     979.50                                           11/06/1992
Travel                  T968998                   1,054.14                                           11/06/1992
Indirect Travel         T968998                     453.39                                           11/06/1992
Voucher Schedule Date   937802 0079              59,637.12                                           11/09/1992
Indirect Voucher        937802 0079              25,649.93   85,287.05 11,300,916.24 11,386,203.29   11/09/1992 11/10/1992      1   1,088.71        43,076.93
Voucher Schedule Date   68-D1-0135 23             8,672.21                                           11/10/1992
Indirect                FY 1993 PP 03             2,538.74                                           11/10/1992
Payroll                 FY 1993 PP 03             5,902.67                                           11/10/1992

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                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Indirect Voucher        68-D1-0135 23             3,729.92   20,843.54 11,386,203.29 11,407,046.83   11/10/1992 11/12/1992      2   2,181.40        45,258.33
Voucher Schedule Date   68-W9-0059 40            43,848.97                                           11/12/1992
Indirect Voucher        68-W9-0059 40            14,628.81   62,708.41 11,407,046.83 11,469,755.24   11/12/1992 11/13/1992      1   1,096.70        46,355.03
Indirect Voucher        68-W9-0059 40             4,230.63                                           11/12/1992
Travel                  T866991                     271.00      387.56 11,469,755.24 11,470,142.80   11/13/1992 11/16/1992      3   3,290.20        49,645.23
Indirect Travel         T866991                     116.56                                           11/13/1992
Voucher Schedule Date   68-W9-0008 56               438.13                                           11/16/1992
Travel                  T885916                     335.27    1,106.04 11,470,142.80 11,471,248.84   11/16/1992 11/17/1992      1   1,096.84        50,742.07
Indirect Voucher        68-W9-0008 56               188.44                                           11/16/1992
Indirect Travel         T885916                     144.20                                           11/16/1992
Voucher Schedule Date   937802 0080              10,212.48                                           11/17/1992
Voucher Schedule Date   68-W0-0001 42                -4.56                                           11/17/1992
Indirect Voucher        68-W0-0001 42                -1.96   14,598.35 11,471,248.84 11,485,847.19   11/17/1992 11/24/1992      7   7,687.65        58,429.72
Indirect Voucher        937802 0080               4,392.39                                           11/17/1992
Indirect                FY 1993 PP 04             2,453.32                                           11/24/1992
Payroll                 FY 1993 PP 04             5,704.04    8,157.36 11,485,847.19 11,494,004.55   11/24/1992 11/25/1992      1   1,099.02        59,528.74
Voucher Schedule Date   937802 0081              10,552.90                                           11/25/1992
Voucher Schedule Date   68-W0-0037 27             6,934.39                                           11/25/1992
Indirect Voucher        937802 0081               4,538.80   25,008.57 11,494,004.55 11,519,013.12   11/25/1992 12/01/1992      6   6,608.44        66,137.18
Indirect Voucher        68-W0-0037 27             2,982.48                                           11/25/1992
Voucher Schedule Date   68-03-3482 98             1,429.52                                           12/01/1992
Indirect Voucher        68-03-3482 98               614.84    2,044.36 11,519,013.12 11,521,057.48   12/01/1992 12/03/1992      2   2,203.20        68,340.38
Travel                  T951071                      78.38      112.09 11,521,057.48 11,521,169.57   12/03/1992 12/07/1992      4   4,406.45        72,746.83

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                                                                 Detailed Interest Cost
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                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per      Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item          Date       Prior Balance       Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Indirect Travel         T951071                      33.71                                                12/03/1992
Voucher Schedule Date   68-D9-0135 1-12             378.95                                                12/07/1992
Indirect Voucher        68-D9-0135 1-12             162.99       541.94 11,521,169.57     11,521,711.51   12/07/1992 12/08/1992      1   1,101.67        73,848.50
Voucher Schedule Date   68-W9-0052 4-591-04         369.12                                                12/08/1992
Voucher Schedule Date   937802 0083              14,888.45                                                12/08/1992
Indirect                FY 1993 PP 05             2,407.05                                                12/08/1992
Payroll                 FY 1993 PP 05             5,596.48                                                12/08/1992
Indirect Voucher        68-W9-0052 4-591-04         158.76    29,823.38   11,521,711.51 11,551,534.89     12/08/1992 12/09/1992      1   1,104.52        74,953.02
Indirect Voucher        937802 0083               6,403.52                                                12/08/1992
Voucher Schedule Date   937802 0082               3,489.39                                                12/09/1992
Indirect Voucher        937802 0082               1,500.79     4,990.18 11,551,534.89 11,556,525.07       12/09/1992 12/11/1992      2   2,209.99        77,163.01
Voucher Schedule Date   68-W9-0008 57                 6.33                                                12/11/1992
Indirect Voucher        68-W9-0008 57                 2.72         9.05 11,556,525.07 11,556,534.12       12/11/1992 12/14/1992      3   3,314.98        80,477.99
Voucher Schedule Date   68-D1-0135 25               111.27                                                12/14/1992
Indirect Voucher        68-D1-0135 25                47.86       159.13 11,556,534.12 11,556,693.25       12/14/1992 12/15/1992      1   1,105.01        81,583.00
Voucher Schedule Date   68-W9-0059 41            16,260.06                                                12/15/1992
Indirect Voucher        68-W9-0059 41             2,717.26    23,253.51 11,556,693.25 11,579,946.76       12/15/1992 12/16/1992      1   1,107.23        82,690.23
Indirect Voucher        68-W9-0059 41             4,276.19                                                12/15/1992
Voucher Schedule Date   940402 0085               2,500.00                                                12/16/1992
Indirect Voucher        940402 0085               1,075.25     3,575.25 11,579,946.76 11,583,522.01       12/16/1992 12/17/1992      1   1,107.58        83,797.81
Indirect Travel         T867401                     141.08       469.08 11,583,522.01 11,583,991.09       12/17/1992 12/18/1992      1   1,107.62        84,905.43
Travel                  T867401                     328.00                                                12/17/1992
Voucher Schedule Date   68-W0-0037 29             -6,206.08                                               12/18/1992

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                                                Cost Per      Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item          Date       Prior Balance       Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Indirect Voucher        68-W0-0037 29             -2,669.24    -8,875.32 11,583,991.09    11,575,115.77   12/18/1992 12/22/1992      4   4,427.09        89,332.52
Indirect                FY 1993 PP 06             2,571.09                                                12/22/1992
Payroll                 FY 1993 PP 06             5,977.88     8,548.97   11,575,115.77 11,583,664.74     12/22/1992 12/30/1992      8   8,860.71        98,193.23
Travel                  T968491                     533.38       762.79 11,583,664.74 11,584,427.53       12/30/1992 12/31/1992      1   1,107.66        99,300.89
Indirect Travel         T968491                     229.41                                                12/30/1992
Voucher Schedule Date   68-W0-0037 28             6,206.08                                                12/31/1992
Indirect Voucher        68-W0-0037 28             2,669.24     9,438.78 11,584,427.53 11,593,866.31       12/31/1992 01/05/1993      5   5,542.82       104,843.71
Indirect Travel         T968594                     169.46                                                12/31/1992
Travel                  T968594                     394.00                                                12/31/1992
Voucher Schedule Date   9309PR0028 G184506          386.46                                                01/05/1993
Indirect                FY 1993 PP 07             1,789.17                                                01/05/1993
Payroll                 FY 1993 PP 07             4,159.91                                                01/05/1993
Indirect Voucher        9309PR0028 G184506          166.22     6,501.76 11,593,866.31 11,600,368.07       01/05/1993 01/06/1993      1   1,109.19       105,952.90
Voucher Schedule Date   68-D0-0147 H92-08.7       1,453.35                                                01/06/1993
Indirect Voucher        68-D0-0147 H92-08.7         625.09     2,078.44 11,600,368.07 11,602,446.51       01/06/1993 01/07/1993      1   1,109.38       107,062.28
Voucher Schedule Date   937802 0086              10,116.21                                                01/07/1993
Indirect Travel         T968490                     158.49    16,286.25 11,602,446.51 11,618,732.76       01/07/1993 01/11/1993      4   4,443.77       111,506.05
Indirect Travel         T975980                      87.95                                                01/07/1993
Indirect Travel         T975985                     300.64                                                01/07/1993
Travel                  T975980                     204.48                                                01/07/1993
Travel                  T975985                     699.00                                                01/07/1993
Indirect Voucher        937802 0086               4,350.98                                                01/07/1993
Travel                  T968490                     368.50                                                01/07/1993

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                                                Cost Per      Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item          Date      Prior Balance      Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Voucher Schedule Date   68-W9-0059 42            11,820.44                                             01/11/1993
Voucher Schedule Date   68-W9-0052 4-591-06         441.66                                             01/11/1993
Indirect Voucher        68-W9-0059 42             1,937.98    17,536.03 11,618,732.76 11,636,268.79    01/11/1993 01/19/1993      8   8,900.95       120,407.00
Indirect Voucher        68-W9-0052 4-591-06         189.96                                             01/11/1993
Indirect Voucher        68-W9-0059 42             3,145.99                                             01/11/1993
Indirect                FY 1993 PP 08             1,712.32                                             01/19/1993
Payroll                 FY 1993 PP 08             3,981.24     5,693.56 11,636,268.79 11,641,962.35    01/19/1993 01/20/1993      1   1,113.16       121,520.16
Voucher Schedule Date   68-D1-0135 29                81.08                                             01/20/1993
Indirect Voucher        68-D1-0135 29                34.87       115.95 11,641,962.35 11,642,078.30    01/20/1993 01/25/1993      5   5,565.87       127,086.03
Voucher Schedule Date   68-W9-0008 58                 3.47                                             01/25/1993
Indirect Voucher        68-W9-0008 58                 1.49         4.96 11,642,078.30 11,642,083.26    01/25/1993 02/02/1993      8   8,905.40       135,991.43
Indirect                FY 1993 PP 09             2,507.40                                             02/02/1993
Payroll                 FY 1993 PP 09             5,829.78     8,337.18 11,642,083.26 11,650,420.44    02/02/1993 02/05/1993      3   3,341.92       139,333.35
Voucher Schedule Date   937802 0089               2,078.00                                             02/05/1993
Voucher Schedule Date   937802 0088              10,576.29                                             02/05/1993
Indirect Voucher        937802 0088               4,548.86    18,096.90 11,650,420.44 11,668,517.34    02/05/1993 02/12/1993      7   7,809.91       147,143.26
Indirect Voucher        937802 0089                 893.75                                             02/05/1993
Voucher Schedule Date   68-W9-0008 59                 1.82                                             02/12/1993
Indirect Voucher        68-W9-0008 59                 0.78         2.60 11,668,517.34 11,668,519.94    02/12/1993 02/16/1993      4   4,462.81       151,606.07
Indirect                FY 1993 PP 10             2,632.35                                             02/16/1993
Payroll                 FY 1993 PP 10             6,120.31     8,752.66 11,668,519.94 11,677,272.60    02/16/1993 02/18/1993      2   2,233.08       153,839.15
Voucher Schedule Date   68-W9-0060 49             -8,866.08                                            02/18/1993
Indirect Voucher        68-W9-0060 49             -3,174.27   -12,679.38 11,677,272.60 11,664,593.22   02/18/1993 02/19/1993      1   1,115.33       154,954.48

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                                                                 Detailed Interest Cost
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                                                 Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference            Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Indirect Voucher        68-W9-0060 49               -639.03                                           02/18/1993
Voucher Schedule Date   68-W9-0059 43             36,700.93                                           02/19/1993
Indirect Voucher        68-W9-0059 43             11,512.88   52,486.00 11,664,593.22 11,717,079.22   02/19/1993 02/23/1993      4   4,481.38       159,435.86
Indirect Voucher        68-W9-0059 43              4,272.19                                           02/19/1993
Voucher Schedule Date   68-W9-0052 4-591-07R         909.36                                           02/23/1993
Indirect Voucher        68-W9-0052 4-591-07R         391.12    1,300.48 11,717,079.22 11,718,379.70   02/23/1993 02/24/1993      1   1,120.47       160,556.33
Voucher Schedule Date   937802 0090               10,212.48                                           02/24/1993
Indirect Voucher        937802 0090                4,392.39   14,604.87 11,718,379.70 11,732,984.57   02/24/1993 02/26/1993      2   2,243.73       162,800.06
Travel                  T444230                      349.00      499.10 11,732,984.57 11,733,483.67   02/26/1993 03/02/1993      4   4,487.66       167,287.72
Indirect Travel         T444230                      150.10                                           02/26/1993
Indirect                FY 1993 PP 11              2,626.56                                           03/02/1993
Payroll                 FY 1993 PP 11              6,106.86    8,733.42 11,733,483.67 11,742,217.09   03/02/1993 03/08/1993      6   6,736.49       174,024.21
Voucher Schedule Date   937802 0091               18,168.95                                           03/08/1993
Voucher Schedule Date   68-D1-0135 31             10,905.80                                           03/08/1993
Indirect Voucher        937802 0091                7,814.47   41,579.80 11,742,217.09 11,783,796.89   03/08/1993 03/09/1993      1   1,126.72       175,150.93
Indirect Voucher        68-D1-0135 31              4,690.58                                           03/08/1993
Indirect Travel         T975983                      408.59    1,358.59 11,783,796.89 11,785,155.48   03/09/1993 03/15/1993      6   6,761.13       181,912.06
Travel                  T975983                      950.00                                           03/09/1993
Voucher Schedule Date   68-W9-0052 4-591-08        1,363.65                                           03/15/1993
Indirect Voucher        68-W9-0052 4-591-08          586.51    1,950.16 11,785,155.48 11,787,105.64   03/15/1993 03/16/1993      1   1,127.04       183,039.10
Voucher Schedule Date   68-W9-0031 52A              -115.22                                           03/16/1993
Indirect                FY 1993 PP 12              3,590.09                                           03/16/1993
Payroll                 FY 1993 PP 12              8,347.12                                           03/16/1993

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                                                                Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance      Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Indirect Voucher        68-W9-0031 52A               -0.10   11,772.44 11,787,105.64 11,798,878.08    03/16/1993 03/17/1993      1   1,128.17       184,167.27
Indirect Voucher        68-W9-0031 52A              -49.45                                            03/16/1993
Voucher Schedule Date   68-D1-0135 33             4,421.68                                            03/17/1993
Indirect Voucher        68-D1-0135 33             1,901.76    6,323.44 11,798,878.08 11,805,201.52    03/17/1993 03/18/1993      1   1,128.77       185,296.04
Indirect Travel         T951076                     176.34    1,488.49 11,805,201.52 11,806,690.01    03/18/1993 03/22/1993      4   4,515.65       189,811.69
Indirect Travel         T980938                      97.56                                            03/18/1993
Indirect Travel         T980942                     173.76                                            03/18/1993
Travel                  T980942                     404.00                                            03/18/1993
Travel                  T980938                     226.83                                            03/18/1993
Travel                  T951076                     410.00                                            03/18/1993
Voucher Schedule Date   68-W9-0059 44            41,638.20                                            03/22/1993
Indirect Voucher        68-W9-0059 44            11,619.82   59,546.79 11,806,690.01 11,866,236.80    03/22/1993 03/25/1993      3   3,403.82       193,215.51
Indirect Voucher        68-W9-0059 44             6,288.77                                            03/22/1993
Voucher Schedule Date   68-W9-0008 60                -4.27                                            03/25/1993
Indirect Voucher        68-W9-0008 60                -1.84        -6.11 11,866,236.80 11,866,230.69   03/25/1993 03/30/1993      5   5,673.03       198,888.54
Indirect                FY 1993 PP 13             3,189.29                                            03/30/1993
Payroll                 FY 1993 PP 13             7,415.24   10,604.53 11,866,230.69 11,876,835.22    03/30/1993 03/31/1993      1   1,135.62       200,024.16
Voucher Schedule Date   937802 0093              10,552.90                                            03/31/1993
Indirect Voucher        937802 0093               4,538.80   15,091.70 11,876,835.22 11,891,926.92    03/31/1993 04/01/1993      1   1,137.06       201,161.22
Voucher Schedule Date   937802 0094              12,731.59                                            04/01/1993
Indirect Voucher        937802 0094               5,475.86   18,207.45 11,891,926.92 11,910,134.37    04/01/1993 04/02/1993      1   1,138.80       202,300.02
Travel                  T951073                   1,778.89    2,543.99 11,910,134.37 11,912,678.36    04/02/1993 04/08/1993      6   6,834.29       209,134.31
Indirect Travel         T951073                     765.10                                            04/02/1993

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                                                                Detailed Interest Cost
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                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Voucher Schedule Date   68-W9-0052 4-591-09         628.80                                           04/08/1993
Indirect Voucher        68-W9-0052 4-591-09         270.45      899.25 11,912,678.36 11,913,577.61   04/08/1993 04/13/1993      5    5,695.67      214,829.98
Voucher Schedule Date   68-D1-0135 35             1,721.89                                           04/13/1993
Indirect                FY 1993 PP 14             3,624.00                                           04/13/1993
Payroll                 FY 1993 PP 14             8,425.94                                           04/13/1993
Indirect Voucher        68-D1-0135 35               740.58   14,512.41 11,913,577.61 11,928,090.02   04/13/1993 04/16/1993      3    3,421.56      218,251.54
Voucher Schedule Date   68-W9-0059 45            35,617.63                                           04/16/1993
Indirect Voucher        68-W9-0059 45             2,921.60   50,936.77 11,928,090.02 11,979,026.79   04/16/1993 04/27/1993     11   12,599.31      230,850.85
Indirect Voucher        68-W9-0059 45            12,397.54                                           04/16/1993
Indirect                FY 1993 PP 15             2,637.64                                           04/27/1993
Payroll                 FY 1993 PP 15             6,132.62    8,770.26 11,979,026.79 11,987,797.05   04/27/1993 05/04/1993      7    8,023.61      238,874.46
Travel                  T951082                     788.31    1,127.36 11,987,797.05 11,988,924.41   05/04/1993 05/05/1993      1    1,146.34      240,020.80
Indirect Travel         T951082                     339.05                                           05/04/1993
Voucher Schedule Date   937802 0095               9,531.65                                           05/05/1993
Voucher Schedule Date   68-D9-0135 1-23             519.15                                           05/05/1993
Indirect Voucher        68-D9-0135 1-23             223.29   14,373.65 11,988,924.41 12,003,298.06   05/05/1993 05/07/1993      2    2,295.43      242,316.23
Indirect Voucher        937802 0095               2,733.81                                           05/05/1993
Indirect Voucher        937802 0095               1,365.75                                           05/05/1993
Voucher Schedule Date   68-W9-0052 4-591-10         918.13                                           05/07/1993
Indirect Voucher        68-W9-0052 4-591-10         394.89    1,313.02 12,003,298.06 12,004,611.08   05/07/1993 05/10/1993      3    3,443.51      245,759.74
Voucher Schedule Date   68-W9-0059 46            22,247.35                                           05/10/1993
Indirect Voucher        68-W9-0059 46             5,174.63   31,815.93 12,004,611.08 12,036,427.01   05/10/1993 05/11/1993      1    1,150.88      246,910.62
Indirect Voucher        68-W9-0059 46             4,393.95                                           05/10/1993

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                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Voucher Schedule Date   937802 0097               1,700.00                                           05/11/1993
Indirect                FY 1993 PP 16             2,722.34                                           05/11/1993
Payroll                 FY 1993 PP 16             6,329.55                                           05/11/1993
Indirect Voucher        937802 0097                 731.17   11,483.06 12,036,427.01 12,047,910.07   05/11/1993 05/13/1993      2    2,303.96      249,214.58
Voucher Schedule Date   937802 0098              11,545.23                                           05/13/1993
Indirect Voucher        937802 0098               4,965.60   16,510.83 12,047,910.07 12,064,420.90   05/13/1993 05/14/1993      1    1,153.56      250,368.14
Indirect Travel         T043329                     141.84      768.75 12,064,420.90 12,065,189.65   05/14/1993 05/24/1993     10   11,536.30      261,904.44
Travel                  T043329                     537.55                                           05/14/1993
Indirect Travel         T043329                      89.36                                           05/14/1993
Travel                  T951084                     908.90    1,299.82 12,065,189.65 12,066,489.47   05/24/1993 05/25/1993      1    1,153.75      263,058.19
Indirect Travel         T951084                     390.92                                           05/24/1993
Indirect                FY 1993 PP 17             3,537.58                                           05/25/1993
Payroll                 FY 1993 PP 17             8,225.00                                           05/25/1993
Travel                  T969223                     266.40   12,143.56 12,066,489.47 12,078,633.03   05/25/1993 06/03/1993      9   10,394.24      273,452.43
Indirect Travel         T969223                     114.58                                           05/25/1993
Travel                  T951085                     639.98    1,942.45 12,078,633.03 12,080,575.48   06/03/1993 06/08/1993      5    5,775.51      279,227.94
Travel                  T951086                     718.29                                           06/03/1993
Indirect Travel         T951085                     275.25                                           06/03/1993
Indirect Travel         T951086                     308.93                                           06/03/1993
Indirect                FY 1993 PP 18             2,777.58                                           06/08/1993
Payroll                 FY 1993 PP 18             6,457.98    9,235.56 12,080,575.48 12,089,811.04   06/08/1993 06/10/1993      2    2,311.97      281,539.91
Voucher Schedule Date   68-W9-0052 4-591-11       1,029.84                                           06/10/1993
Indirect Voucher        68-W9-0052 4-591-11         442.93    1,472.77 12,089,811.04 12,091,283.81   06/10/1993 06/14/1993      4    4,624.50      286,164.41

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                                                                          0493
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                                                                Detailed Interest Cost
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                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Voucher Schedule Date   937802 0100                 999.00                                           06/14/1993
Voucher Schedule Date   68-W9-0059 47            57,949.02                                           06/14/1993
Indirect Voucher        68-W9-0059 47            18,091.69   84,301.56 12,091,283.81 12,175,585.37   06/14/1993 06/15/1993      1   1,164.19       287,328.60
Indirect Voucher        68-W9-0059 47             6,832.18                                           06/14/1993
Indirect Voucher        937802 0100                 429.67                                           06/14/1993
Voucher Schedule Date   68-D1-0135 41               132.87                                           06/15/1993
Indirect Voucher        68-D1-0135 41                57.15      190.02 12,175,585.37 12,175,775.39   06/15/1993 06/16/1993      1   1,164.20       288,492.80
Voucher Schedule Date   68-W9-0060 53               696.87                                           06/16/1993
Indirect Voucher        68-W9-0060 53               311.23      996.59 12,175,775.39 12,176,771.98   06/16/1993 06/17/1993      1   1,164.30       289,657.10
Indirect Voucher        68-W9-0060 53               -11.51                                           06/16/1993
Voucher Schedule Date   937802 0102               7,560.30                                           06/17/1993
Indirect Voucher        937802 0102               3,251.69   10,811.99 12,176,771.98 12,187,583.97   06/17/1993 06/18/1993      1   1,165.33       290,822.43
Indirect Travel         T969227                      80.00      266.00 12,187,583.97 12,187,849.97   06/18/1993 06/22/1993      4   4,661.44       295,483.87
Travel                  T969227                     186.00                                           06/18/1993
Indirect                FY 1993 PP 19             1,977.06                                           06/22/1993
Payroll                 FY 1993 PP 19             4,596.76    6,573.82 12,187,849.97 12,194,423.79   06/22/1993 06/24/1993      2   2,331.97       297,815.84
Travel                  T969226                     359.87      514.65 12,194,423.79 12,194,938.44   06/24/1993 06/30/1993      6   6,996.22       304,812.06
Indirect Travel         T969226                     154.78                                           06/24/1993
Voucher Schedule Date   937802 0105               6,944.86                                           06/30/1993
Indirect Voucher        937802 0105               2,090.88    9,931.84 12,194,938.44 12,204,870.28   06/30/1993 07/01/1993      1   1,166.99       305,979.05
Indirect Voucher        937802 0105                 896.10                                           06/30/1993
Indirect Travel         T951198                     135.81      738.86 12,204,870.28 12,205,609.14   07/01/1993 07/06/1993      5   5,835.28       311,814.33
Travel                  T951198                     315.76                                           07/01/1993

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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Travel                  T660226                     200.89                                           07/01/1993
Indirect Travel         T660226                      86.40                                           07/01/1993
Voucher Schedule Date   68-W9-0052 4-591-12       1,090.68                                           07/06/1993
Indirect                FY 1993 PP 20             2,912.35                                           07/06/1993
Payroll                 FY 1993 PP 20             6,771.33                                           07/06/1993
Indirect Voucher        68-W9-0052 4-591-12         469.10   11,243.46 12,205,609.14 12,216,852.60   07/06/1993 07/14/1993      8   9,345.06       321,159.39
Voucher Schedule Date   68-W9-0060 55               548.45                                           07/14/1993
Indirect Voucher        68-W9-0060 55               235.89      784.34 12,216,852.60 12,217,636.94   07/14/1993 07/15/1993      1   1,168.21       322,327.60
Indirect Travel         T015257                      52.29      173.86 12,217,636.94 12,217,810.80   07/15/1993 07/16/1993      1   1,168.22       323,495.82
Travel                  T015257                     121.57                                           07/15/1993
Voucher Schedule Date   68-W9-0059 48            36,296.49                                           07/16/1993
Indirect Voucher        68-W9-0059 48             5,963.21   51,907.61 12,217,810.80 12,269,718.41   07/16/1993 07/20/1993      4   4,692.75       328,188.57
Indirect Voucher        68-W9-0059 48             9,647.91                                           07/16/1993
Indirect                FY 1993 PP 21             3,423.77                                           07/20/1993
Payroll                 FY 1993 PP 21             7,960.39   11,384.16 12,269,718.41 12,281,102.57   07/20/1993 07/23/1993      3   3,522.83       331,711.40
Voucher Schedule Date   68-W0-0037 42               154.15                                           07/23/1993
Indirect Voucher        68-W0-0037 42                66.30      220.45 12,281,102.57 12,281,323.02   07/23/1993 07/26/1993      3   3,522.89       335,234.29
Travel                  T950952                     910.67    1,302.35 12,281,323.02 12,282,625.37   07/26/1993 08/03/1993      8   9,395.37       344,629.66
Indirect Travel         T950952                     391.68                                           07/26/1993
Indirect                FY 1993 PP 22             3,136.06                                           08/03/1993
Payroll                 FY 1993 PP 22             7,291.47   10,427.53 12,282,625.37 12,293,052.90   08/03/1993 08/10/1993      7   8,227.93       352,857.59
Voucher Schedule Date   68-W9-0052 4-591-13       1,848.09                                           08/10/1993
Indirect Voucher        68-W9-0052 4-591-13         794.86    2,642.95 12,293,052.90 12,295,695.85   08/10/1993 08/11/1993      1   1,175.67       354,033.26

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                                                                Detailed Interest Cost
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                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Voucher Schedule Date   68-W9-0059 49           131,804.14                                            08/11/1993
Indirect Voucher        68-W9-0059 49            48,010.41   188,493.10 12,295,695.85 12,484,188.95   08/11/1993 08/12/1993      1   1,193.69       355,226.95
Indirect Voucher        68-W9-0059 49             8,678.55                                            08/11/1993
Voucher Schedule Date   68-03-3482 112            2,282.00                                            08/12/1993
Voucher Schedule Date   93093S0047 G195647          553.67                                            08/12/1993
Voucher Schedule Date   68-W0-0037 43             1,546.61                                            08/12/1993
Indirect Voucher        68-W0-0037 43               665.20     6,267.10 12,484,188.95 12,490,456.05   08/12/1993 08/13/1993      1   1,194.29       356,421.24
Indirect Voucher        93093S0047 G195647          238.13                                            08/12/1993
Indirect Voucher        68-03-3482 112              981.49                                            08/12/1993
Voucher Schedule Date   937802 0106               1,393.00                                            08/13/1993
Indirect Voucher        937802 0106                 599.13     1,992.13 12,490,456.05 12,492,448.18   08/13/1993 08/17/1993      4   4,777.93       361,199.17
Voucher Schedule Date   937802 0107             249,419.13                                            08/17/1993
Indirect                FY 1993 PP 23             2,243.93                                            08/17/1993
Payroll                 FY 1993 PP 23             5,217.24                                            08/17/1993
Indirect Voucher        937802 0107             107,275.17   364,155.47 12,492,448.18 12,856,603.65   08/17/1993 08/23/1993      6   7,375.82       368,574.99
Indirect Travel         T950955                     179.76      597.71 12,856,603.65 12,857,201.36    08/23/1993 08/31/1993      8   9,834.88       378,409.87
Travel                  T950955                     417.95                                            08/23/1993
Indirect                FY 1993 PP 24             1,301.76                                            08/31/1993
Payroll                 FY 1993 PP 24             3,026.65     4,328.41 12,857,201.36 12,861,529.77   08/31/1993 09/02/1993      2   2,459.55       380,869.42
Travel                  T950957                   1,571.36     2,247.20 12,861,529.77 12,863,776.97   09/02/1993 09/08/1993      6   7,379.93       388,249.35
Indirect Travel         T950957                     675.84                                            09/02/1993
Indirect Travel         T950956                      86.02      286.02 12,863,776.97 12,864,062.99    09/08/1993 09/14/1993      6   7,380.10       395,629.45
Travel                  T950956                     200.00                                            09/08/1993

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                                                                           0496
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                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                  Cost Per      Cost Per                    Cumulative   Date of      Interest           Periodic       Cumulative
Cost Category             Cost Reference           Item          Date       Prior Balance     Total    Recognition    Through    Days    Interest         Interest

   Fiscal Year 1993 (Annual Rate: 3.49%)

Indirect                  FY 1993 PP 25              3,174.81                                            09/14/1993
Payroll                   FY 1993 PP 25              7,381.57    10,556.38 12,864,062.99 12,874,619.37   09/14/1993 09/15/1993      1     1,231.03      396,860.48
Voucher Schedule Date     68-W9-0059 50           100,464.78                                             09/15/1993
Indirect Voucher          68-W9-0059 50            33,407.38    143,674.68 12,874,619.37 13,018,294.05   09/15/1993 09/21/1993      6     7,468.58      404,329.06
Indirect Voucher          68-W9-0059 50              9,802.52                                            09/15/1993
Voucher Schedule Date     68-W0-0037 45            10,045.07                                             09/21/1993
Indirect Voucher          68-W0-0037 45              4,320.38    14,365.45 13,018,294.05 13,032,659.50   09/21/1993 09/23/1993      2     2,492.27      406,821.33
Voucher Schedule Date     937802 0110                4,199.80                                            09/23/1993
Indirect Voucher          937802 0110                1,806.33     7,380.89 13,032,659.50 13,040,040.39   09/23/1993 09/28/1993      5     6,234.21      413,055.54
Travel                    T969228                     961.31                                             09/23/1993
Indirect Travel           T969228                     413.45                                             09/23/1993
Indirect                  FY 1993 PP 26              2,646.95                                            09/28/1993
Payroll                   FY 1993 PP 26              6,154.28                                            09/28/1993
Indirect Travel           T082198                     123.11      9,210.57 13,040,040.39 13,049,250.96   09/28/1993 09/29/1993      1     1,247.72      414,303.26
Travel                    T082198                     286.23                                             09/28/1993
Travel                    T969231                     570.15       815.37 13,049,250.96 13,050,066.33    09/29/1993 10/01/1993      2     2,495.60      416,798.86
Indirect Travel           T969231                     245.22                                             09/29/1993

   Totals for Fiscal Year 1993                   1,885,529.27                                                                           416,798.86     1,421,724.63


   Fiscal Year 1994 (Annual Rate: 3.36%)

Prior FY Interest                                 416,798.86    416,798.86 13,050,066.33 13,466,865.19   10/01/1993 10/08/1993      7     8,677.83         8,677.83
Voucher Schedule Date     68-W9-0059 51            15,229.29                                             10/08/1993
Indirect Voucher          68-W9-0059 51               261.55     20,612.85 13,466,865.19 13,487,478.04   10/08/1993 10/12/1993      4     4,966.35       13,644.18
                                                                            Exhibit 4-A
                                                                              0497
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                                                                Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Indirect Voucher        68-W9-0059 51             5,122.01                                           10/08/1993
Indirect                FY 1994 PP 01               157.06                                           10/12/1993
Indirect                FY 1993 PP 27             2,798.34                                           10/12/1993
Payroll                 FY 1994 PP 01               444.31    9,905.94 13,487,478.04 13,497,383.98   10/12/1993 10/15/1993      3   3,727.50        17,371.68
Payroll                 FY 1993 PP 27             6,506.23                                           10/12/1993
Voucher Schedule Date   68-C0-0047 33            53,577.19                                           10/15/1993
Indirect Voucher        68-C0-0047 33            18,939.54   72,516.73 13,497,383.98 13,569,900.71   10/15/1993 10/19/1993      4   4,996.70        22,368.38
Travel                  T046193                     303.39      685.68 13,569,900.71 13,570,586.39   10/19/1993 10/20/1993      1   1,249.24        23,617.62
Travel                  T082201                     203.21                                           10/19/1993
Indirect Travel         T046193                     107.25                                           10/19/1993
Indirect Travel         T082201                      71.83                                           10/19/1993
Voucher Schedule Date   937802 0111               4,045.26                                           10/20/1993
Indirect Voucher        937802 0111               1,430.00    5,475.26 13,570,586.39 13,576,061.65   10/20/1993 10/25/1993      5   6,248.71        29,866.33
Voucher Schedule Date   68-W9-0008 69               853.63                                           10/25/1993
Indirect Voucher        68-W9-0008 69               301.76    1,155.39 13,576,061.65 13,577,217.04   10/25/1993 10/26/1993      1   1,249.85        31,116.18
Indirect                FY 1994 PP 02             1,667.58                                           10/26/1993
Payroll                 FY 1994 PP 02             4,717.36                                           10/26/1993
Travel                  T969229                     638.79    7,249.54 13,577,217.04 13,584,466.58   10/26/1993 11/01/1993      6   7,503.09        38,619.27
Indirect Travel         T969229                     225.81                                           10/26/1993
Travel                  T969238                     429.50      581.33 13,584,466.58 13,585,047.91   11/01/1993 11/05/1993      4   5,002.28        43,621.55
Indirect Travel         T969238                     151.83                                           11/01/1993
Voucher Schedule Date   937802 0112               9,714.24                                           11/05/1993
Indirect Voucher        937802 0112               3,433.98   13,148.22 13,585,047.91 13,598,196.13   11/05/1993 11/08/1993      3   3,755.34        47,376.89

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                                                                Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Travel                  T969237                     690.40      934.45 13,598,196.13 13,599,130.58    11/08/1993 11/09/1993      1   1,251.87        48,628.76
Indirect Travel         T969237                     244.05                                            11/08/1993
Indirect                FY 1994 PP 03             2,008.29                                            11/09/1993
Payroll                 FY 1994 PP 03             5,681.15     7,689.44 13,599,130.58 13,606,820.02   11/09/1993 11/18/1993      9   11,273.16       59,901.92
Voucher Schedule Date   68-W9-0059 52            68,115.86                                            11/18/1993
Voucher Schedule Date   68-C0-0047 34             6,017.50                                            11/18/1993
Indirect Voucher        68-C0-0047 34             2,127.19   100,339.51 13,606,820.02 13,707,159.53   11/18/1993 11/22/1993      4   5,047.24        64,949.16
Indirect Voucher        68-W9-0059 52            11,774.08                                            11/18/1993
Indirect Voucher        68-W9-0059 52            12,304.88                                            11/18/1993
Indirect Travel         T969242                     180.85      692.44 13,707,159.53 13,707,851.97    11/22/1993 11/23/1993      1   1,261.87        66,211.03
Travel                  T969242                     511.59                                            11/22/1993
Indirect                FY 1994 PP 04             2,948.87                                            11/23/1993
Payroll                 FY 1994 PP 04             8,341.88                                            11/23/1993
Indirect Travel         T969236                      57.62    14,200.23 13,707,851.97 13,722,052.20   11/23/1993 11/26/1993      3   3,789.54        70,000.57
Indirect Travel         T969235                     447.45                                            11/23/1993
Travel                  T969235                   1,265.77                                            11/23/1993
Travel                  T037482                     441.07                                            11/23/1993
Travel                  T969230                     279.75                                            11/23/1993
Travel                  T969236                     163.00                                            11/23/1993
Indirect Travel         T969230                      98.90                                            11/23/1993
Indirect Travel         T037482                     155.92                                            11/23/1993
Voucher Schedule Date   68-W9-0008 70               366.87                                            11/26/1993
Indirect Voucher        68-W9-0008 70               129.69      496.56 13,722,052.20 13,722,548.76    11/26/1993 11/30/1993      4   5,052.91        75,053.48

                                                                         Exhibit 4-A
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Indirect Travel         T969244                     113.33    3,833.88 13,722,548.76 13,726,382.64   11/30/1993 12/07/1993      7   8,845.06        83,898.54
Indirect Travel         T969234                     584.59                                           11/30/1993
Travel                  T969234                   1,653.72                                           11/30/1993
Indirect Travel         T969241                     303.39                                           11/30/1993
Travel                  T969241                     858.25                                           11/30/1993
Travel                  T969244                     320.60                                           11/30/1993
Indirect                FY 1994 PP 05             1,771.15                                           12/07/1993
Payroll                 FY 1994 PP 05             5,010.32                                           12/07/1993
Indirect Travel         T969248                     408.58    8,891.28 13,726,382.64 13,735,273.92   12/07/1993 12/09/1993      2   2,528.80        86,427.34
Travel                  T969248                   1,155.82                                           12/07/1993
Travel                  T098122                     402.96                                           12/07/1993
Indirect Travel         T098122                     142.45                                           12/07/1993
Indirect Travel         T969240                     167.46      768.68 13,735,273.92 13,736,042.60   12/09/1993 12/16/1993      7   8,851.28        95,278.62
Travel                  T098176                      94.20                                           12/09/1993
Travel                  T969240                     473.72                                           12/09/1993
Indirect Travel         T098176                      33.30                                           12/09/1993
Travel                  T024862                     525.29    1,623.34 13,736,042.60 13,737,665.94   12/16/1993 12/17/1993      1   1,264.62        96,543.24
Travel                  T024863                     325.14                                           12/16/1993
Travel                  T093646                     348.93                                           12/16/1993
Indirect Travel         T024863                     114.94                                           12/16/1993
Indirect Travel         T024862                     185.69                                           12/16/1993
Indirect Travel         T093646                     123.35                                           12/16/1993
Voucher Schedule Date   68-W9-0059 53            34,895.99                                           12/17/1993

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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Voucher Schedule Date   68-C0-0047 35            67,845.86                                            12/17/1993
Indirect Voucher        68-C0-0047 35            23,983.51   139,061.09 13,737,665.94 13,876,727.03   12/17/1993 12/21/1993      4    5,109.68      101,652.92
Indirect Voucher        68-W9-0059 53             4,152.38                                            12/17/1993
Indirect Voucher        68-W9-0059 53             8,183.35                                            12/17/1993
Indirect                FY 1994 PP 06             2,614.70                                            12/21/1993
Payroll                 FY 1994 PP 06             7,396.60    10,011.30 13,876,727.03 13,886,738.33   12/21/1993 12/23/1993      2    2,556.68      104,209.60
Travel                  T969246                   1,830.24     2,477.23 13,886,738.33 13,889,215.56   12/23/1993 01/04/1994     12   15,342.83      119,552.43
Indirect Travel         T969246                     646.99                                            12/23/1993
Indirect                FY 1994 PP 07             2,347.52                                            01/04/1994
Payroll                 FY 1994 PP 07             6,640.76                                            01/04/1994
Travel                  T037730                     299.97     9,394.29 13,889,215.56 13,898,609.85   01/04/1994 01/05/1994      1    1,279.43      120,831.86
Indirect Travel         T037730                     106.04                                            01/04/1994
Voucher Schedule Date   68-W9-0008 71                18.22                                            01/05/1994
Indirect Voucher        68-W9-0008 71                 6.44       24.66 13,898,609.85 13,898,634.51    01/05/1994 01/06/1994      1    1,279.44      122,111.30
Voucher Schedule Date   937802 0115                 543.00                                            01/06/1994
Indirect Voucher        937802 0115                 191.95     1,183.35 13,898,634.51 13,899,817.86   01/06/1994 01/07/1994      1    1,279.54      123,390.84
Travel                  T099846                     331.29                                            01/06/1994
Indirect Travel         T099846                     117.11                                            01/06/1994
Voucher Schedule Date   68-W9-0052 4-591-16       1,826.67                                            01/07/1994
Indirect Voucher        68-W9-0052 4-591-16         645.73     2,988.68 13,899,817.86 13,902,806.54   01/07/1994 01/10/1994      3    3,839.46      127,230.30
Travel                  T979473                     381.44                                            01/07/1994
Indirect Travel         T979473                     134.84                                            01/07/1994
Indirect Travel         T093654                     205.52      786.90 13,902,806.54 13,903,593.44    01/10/1994 01/12/1994      2    2,559.78      129,790.08

                                                                         Exhibit 4-A
                                                                           0501
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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Travel                  T093654                     581.38                                            01/10/1994
Indirect Travel         T093653                     245.48     1,458.29 13,903,593.44 13,905,051.73   01/12/1994 01/18/1994      6    7,680.16      137,470.24
Travel                  T093653                     694.42                                            01/12/1994
Travel                  T093651                     383.00                                            01/12/1994
Indirect Travel         T093651                     135.39                                            01/12/1994
Voucher Schedule Date   68-W9-0059 54            32,968.26                                            01/18/1994
Indirect                FY 1994 PP 08             1,731.71                                            01/18/1994
Payroll                 FY 1994 PP 08             4,898.76                                            01/18/1994
Indirect Voucher        68-W9-0059 54             9,630.61    51,253.01 13,905,051.73 13,956,304.74   01/18/1994 01/19/1994      1    1,284.74      138,754.98
Indirect Voucher        68-W9-0059 54             2,023.67                                            01/18/1994
Voucher Schedule Date   68-01-7251 109             -478.72                                            01/19/1994
Indirect Voucher        68-01-7251 109             -169.23      -647.95 13,956,304.74 13,955,656.79   01/19/1994 01/20/1994      1    1,284.69      140,039.67
Voucher Schedule Date   68-C0-0047 36           105,918.82                                            01/20/1994
Indirect Voucher        68-C0-0047 36            25,649.77   143,361.13 13,955,656.79 14,099,017.92   01/20/1994 01/21/1994      1    1,297.88      141,337.55
Indirect Voucher        68-C0-0047 36            11,792.54                                            01/20/1994
Voucher Schedule Date   68-W9-0008 72                77.76                                            01/21/1994
Indirect Voucher        68-W9-0008 72                27.49      105.25 14,099,017.92 14,099,123.17    01/21/1994 01/24/1994      3    3,893.68      145,231.23
Indirect Travel         T114261                     265.62     1,017.02 14,099,123.17 14,100,140.19   01/24/1994 02/01/1994      8   10,383.88      155,615.11
Travel                  T114261                     751.40                                            01/24/1994
Indirect                FY 1994 PP 09             2,387.56                                            02/01/1994
Payroll                 FY 1994 PP 09             6,754.05     9,141.61 14,100,140.19 14,109,281.80   02/01/1994 02/07/1994      6    7,792.96      163,408.07
Travel                  T099884                     344.50      466.28 14,109,281.80 14,109,748.08    02/07/1994 02/15/1994      8   10,390.96      173,799.03
Indirect Travel         T099884                     121.78                                            02/07/1994

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                                                                           0502
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                                                                 Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per      Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item          Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Indirect                FY 1994 PP 10              3,111.69                                            02/15/1994
Payroll                 FY 1994 PP 10             8,802.51                                             02/15/1994
Indirect Travel         T024871                     254.87     12,890.06 14,109,748.08 14,122,638.14   02/15/1994 02/18/1994      3   3,900.17       177,699.20
Travel                  T024871                     720.99                                             02/15/1994
Voucher Schedule Date   68-W9-0059 55            49,656.94                                             02/18/1994
Voucher Schedule Date   68-C0-0047 37            41,702.35                                             02/18/1994
Indirect Voucher        68-C0-0047 37            14,741.78    123,654.80 14,122,638.14 14,246,292.94   02/18/1994 02/25/1994      7   9,180.08       186,879.28
Indirect Voucher        68-W9-0059 55            10,875.62                                             02/18/1994
Indirect Voucher        68-W9-0059 55             6,678.11                                             02/18/1994
Voucher Schedule Date   68-W9-0008 74                 1.82                                             02/25/1994
Indirect Voucher        68-W9-0008 74                 0.64         2.46 14,246,292.94 14,246,295.40    02/25/1994 03/01/1994      4   5,245.76       192,125.04
Indirect                FY 1994 PP 11             2,014.82                                             03/01/1994
Payroll                 FY 1994 PP 11             5,699.64      7,714.46 14,246,295.40 14,254,009.86   03/01/1994 03/08/1994      7   9,185.05       201,310.09
Travel                  T098257                     471.72       638.47 14,254,009.86 14,254,648.33    03/08/1994 03/14/1994      6   7,873.25       209,183.34
Indirect Travel         T098257                     166.75                                             03/08/1994
Travel                  T024864                     628.00      1,132.11 14,254,648.33 14,255,780.44   03/14/1994 03/15/1994      1   1,312.31       210,495.65
Indirect Travel         T024864                     222.00                                             03/14/1994
Travel                  T148631                     208.43                                             03/14/1994
Indirect Travel         T148631                      73.68                                             03/14/1994
Voucher Schedule Date   68-W9-0059 56            53,366.46                                             03/15/1994
Indirect                FY 1994 PP 12             1,423.19                                             03/15/1994
Payroll                 FY 1994 PP 12             4,026.02                                             03/15/1994
Indirect Voucher        68-W9-0059 56             8,762.90     77,680.71 14,255,780.44 14,333,461.15   03/15/1994 03/16/1994      1   1,319.46       211,815.11

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                                                                            0503
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                                                                Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Indirect Voucher        68-W9-0059 56            10,102.14                                            03/15/1994
Voucher Schedule Date   68-C0-0047 38            24,938.28                                            03/16/1994
Indirect Voucher        68-C0-0047 38             8,815.68    33,753.96 14,333,461.15 14,367,215.11   03/16/1994 03/17/1994      1   1,322.57       213,137.68
Voucher Schedule Date   68-W9-0008 75             1,380.47                                            03/17/1994
Indirect Voucher        68-W9-0008 75               488.00     1,868.47 14,367,215.11 14,369,083.58   03/17/1994 03/21/1994      4   5,290.97       218,428.65
Travel                  T024864                     115.97      156.97 14,369,083.58 14,369,240.55    03/21/1994 03/25/1994      4   5,291.03       223,719.68
Indirect Travel         T024864                      41.00                                            03/21/1994
Travel                  T024868                     407.09      550.99 14,369,240.55 14,369,791.54    03/25/1994 03/28/1994      3   3,968.42       227,688.10
Indirect Travel         T024868                     143.90                                            03/25/1994
Travel                  T148681                     571.53     1,947.10 14,369,791.54 14,371,738.64   03/28/1994 03/29/1994      1   1,322.99       229,011.09
Travel                  T093425                     679.24                                            03/28/1994
Travel                  T148663                     187.80                                            03/28/1994
Indirect Travel         T148681                     202.03                                            03/28/1994
Indirect Travel         T093425                     240.11                                            03/28/1994
Indirect Travel         T148663                      66.39                                            03/28/1994
Indirect                FY 1994 PP 13             1,537.13                                            03/29/1994
Payroll                 FY 1994 PP 13             4,348.29                                            03/29/1994
Travel                  T024867                   2,491.57     9,257.76 14,371,738.64 14,380,996.40   03/29/1994 03/31/1994      2   2,647.68       231,658.77
Indirect Travel         T024867                     880.77                                            03/29/1994
Travel                  T093652                     505.87      684.70 14,380,996.40 14,381,681.10    03/31/1994 04/06/1994      6   7,943.42       239,602.19
Indirect Travel         T093652                     178.83                                            03/31/1994
Voucher Schedule Date   68-W9-0059 57            89,401.09                                            04/06/1994
Indirect Voucher        68-W9-0059 57            13,695.52   121,004.38 14,381,681.10 14,502,685.48   04/06/1994 04/12/1994      6   8,010.25       247,612.44

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                                                                           0504
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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Indirect Voucher        68-W9-0059 57            17,907.77                                            04/06/1994
Indirect                FY 1994 PP 14             1,480.84                                            04/12/1994
Payroll                 FY 1994 PP 14             4,189.08     5,669.92 14,502,685.48 14,508,355.40   04/12/1994 04/15/1994      3    4,006.69      251,619.13
Travel                  T093434                   1,480.57     2,003.95 14,508,355.40 14,510,359.35   04/15/1994 04/18/1994      3    4,007.24      255,626.37
Indirect Travel         T093434                     523.38                                            04/15/1994
Indirect Travel         T098258                     144.05     3,411.68 14,510,359.35 14,513,771.03   04/18/1994 04/22/1994      4    5,344.25      260,970.62
Indirect Travel         T098262                     293.37                                            04/18/1994
Travel                  T098258                     407.51                                            04/18/1994
Travel                  T148747                     850.00                                            04/18/1994
Travel                  T098260                     433.22                                            04/18/1994
Travel                  T098262                     829.91                                            04/18/1994
Indirect Travel         T098260                     153.14                                            04/18/1994
Indirect Travel         T148747                     300.48                                            04/18/1994
Travel                  T024870                   2,309.02     3,125.26 14,513,771.03 14,516,896.29   04/22/1994 04/26/1994      4    5,345.40      266,316.02
Indirect Travel         T024870                     816.24                                            04/22/1994
Indirect                FY 1994 PP 15             1,838.00                                            04/26/1994
Payroll                 FY 1994 PP 15             5,199.43     7,037.43 14,516,896.29 14,523,933.72   04/26/1994 05/04/1994      8   10,695.98      277,012.00
Voucher Schedule Date   940402 0120             101,183.46                                            05/04/1994
Indirect Voucher        940402 0120              35,350.00   136,951.81 14,523,933.72 14,660,885.53   05/04/1994 05/05/1994      1    1,349.60      278,361.60
Indirect Voucher        940402 0120                 418.35                                            05/04/1994
Voucher Schedule Date   68-W9-0059 59            72,103.59                                            05/05/1994
Indirect Voucher        68-W9-0059 59             5,906.15    97,592.20 14,660,885.53 14,758,477.73   05/05/1994 05/06/1994      1    1,358.59      279,720.19
Indirect Voucher        68-W9-0059 59            19,582.46                                            05/05/1994

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                                                                Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Travel                  T086305                     409.64      554.45 14,758,477.73 14,759,032.18   05/06/1994 05/10/1994      4    5,434.56      285,154.75
Indirect Travel         T086305                     144.81                                           05/06/1994
Indirect                FY 1994 PP 16               673.47                                           05/10/1994
Payroll                 FY 1994 PP 16             1,905.13    2,578.60 14,759,032.18 14,761,610.78   05/10/1994 05/18/1994      8   10,871.02      296,025.77
Voucher Schedule Date   940402 0121              10,333.84                                           05/18/1994
Indirect Voucher        940402 0121               3,653.01   13,986.85 14,761,610.78 14,775,597.63   05/18/1994 05/20/1994      2    2,720.33      298,746.10
Voucher Schedule Date   68-W3-0023 19-01            207.83                                           05/20/1994
Indirect Voucher        68-W3-0023 19-01             73.47      281.30 14,775,597.63 14,775,878.93   05/20/1994 05/24/1994      4    5,440.76      304,186.86
Indirect                FY 1994 PP 17             1,157.39                                           05/24/1994
Payroll                 FY 1994 PP 17             3,274.11    4,431.50 14,775,878.93 14,780,310.43   05/24/1994 06/03/1994     10   13,605.98      317,792.84
Travel                  T129398                     569.18      770.38 14,780,310.43 14,781,080.81   06/03/1994 06/07/1994      4    5,442.68      323,235.52
Indirect Travel         T129398                     201.20                                           06/03/1994
Voucher Schedule Date   68-W9-0059 60            68,895.84                                           06/07/1994
Indirect                FY 1994 PP 18             1,023.06                                           06/07/1994
Payroll                 FY 1994 PP 18             2,894.07                                           06/07/1994
Indirect Voucher        68-W9-0059 60            14,789.45   97,167.65 14,781,080.81 14,878,248.46   06/07/1994 06/21/1994     14   19,174.60      342,410.12
Indirect Voucher        68-W9-0059 60             9,565.23                                           06/07/1994
Indirect                FY 1994 PP 19             1,037.46                                           06/21/1994
Payroll                 FY 1994 PP 19             2,934.82                                           06/21/1994
Travel                  T114259                   1,221.16    6,366.67 14,878,248.46 14,884,615.13   06/21/1994 07/05/1994     14   19,182.80      361,592.92
Travel                  T114263                     547.88                                           06/21/1994
Indirect Travel         T114263                     193.67                                           06/21/1994
Indirect Travel         T114259                     431.68                                           06/21/1994

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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Indirect                FY 1994 PP 20             1,482.93                                           07/05/1994
Payroll                 FY 1994 PP 20             4,194.98    5,677.91 14,884,615.13 14,890,293.04   07/05/1994 07/12/1994      7   9,595.06       371,187.98
Travel                  T148684                     517.66    1,384.71 14,890,293.04 14,891,677.75   07/12/1994 07/13/1994      1   1,370.85       372,558.83
Travel                  T148660                     505.40                                           07/12/1994
Indirect Travel         T148660                     178.66                                           07/12/1994
Indirect Travel         T148684                     182.99                                           07/12/1994
Voucher Schedule Date   68-W9-0059 61            57,119.38                                           07/13/1994
Indirect Voucher        68-W9-0059 61            14,584.70   77,311.08 14,891,677.75 14,968,988.83   07/13/1994 07/18/1994      5   6,889.84       379,448.67
Indirect Voucher        68-W9-0059 61             5,607.00                                           07/13/1994
Indirect Travel         T128659                      41.10      157.36 14,968,988.83 14,969,146.19   07/18/1994 07/19/1994      1   1,377.98       380,826.65
Travel                  T128659                     116.26                                           07/18/1994
Indirect                FY 1994 PP 21             1,649.77                                           07/19/1994
Payroll                 FY 1994 PP 21             4,666.94    6,316.71 14,969,146.19 14,975,462.90   07/19/1994 07/20/1994      1   1,378.56       382,205.21
Indirect Travel         T093450                     120.03    3,100.60 14,975,462.90 14,978,563.50   07/20/1994 07/25/1994      5   6,894.24       389,099.45
Indirect Travel         T131898                     133.80                                           07/20/1994
Indirect Travel         T093450                      66.92                                           07/20/1994
Travel                  T114999                     373.94                                           07/20/1994
Travel                  T093450                     528.86                                           07/20/1994
Travel                  T157692                     384.46                                           07/20/1994
Travel                  T114996                     625.04                                           07/20/1994
Travel                  T131898                     378.50                                           07/20/1994
Indirect Travel         T114996                     220.95                                           07/20/1994
Indirect Travel         T114999                     132.19                                           07/20/1994

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                                                                Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Indirect Travel         T157692                     135.91                                           07/20/1994
Indirect Travel         T753619                      55.85      213.85 14,978,563.50 14,978,777.35   07/25/1994 07/28/1994      3    4,136.60      393,236.05
Travel                  T753619                     158.00                                           07/25/1994
Travel                  T093438                   1,044.55    1,413.80 14,978,777.35 14,980,191.15   07/28/1994 08/02/1994      5    6,894.99      400,131.04
Indirect Travel         T093438                     369.25                                           07/28/1994
Indirect                FY 1994 PP 22             2,433.59                                           08/02/1994
Payroll                 FY 1994 PP 22             6,884.27    9,317.86 14,980,191.15 14,989,509.01   08/02/1994 08/09/1994      7    9,658.99      409,790.03
Voucher Schedule Date   940402 0124              41,279.86                                           08/09/1994
Indirect Travel         T117402                      17.85   56,180.41 14,989,509.01 15,045,689.42   08/09/1994 08/10/1994      1    1,385.03      411,175.06
Indirect Voucher        940402 0124                 863.84                                           08/09/1994
Travel                  T128635                     177.15                                           08/09/1994
Travel                  T117402                      50.50                                           08/09/1994
Indirect Voucher        940402 0124              13,482.20                                           08/09/1994
Indirect Voucher        940402 0124                 246.39                                           08/09/1994
Indirect Travel         T128635                      62.62                                           08/09/1994
Indirect Travel         T117400                      10.07       38.57 15,045,689.42 15,045,727.99   08/10/1994 08/12/1994      2    2,770.06      413,945.12
Travel                  T117400                      28.50                                           08/10/1994
Voucher Schedule Date   68-W9-0059 62            60,782.13                                           08/12/1994
Indirect Voucher        68-W9-0059 62             6,729.17   82,268.61 15,045,727.99 15,127,996.60   08/12/1994 08/16/1994      4    5,570.42      419,515.54
Indirect Voucher        68-W9-0059 62            14,757.31                                           08/12/1994
Indirect                FY 1994 PP 23             2,327.48                                           08/16/1994
Payroll                 FY 1994 PP 23             6,584.07                                           08/16/1994
Travel                  T117402                     103.00    9,696.44 15,127,996.60 15,137,693.04   08/16/1994 08/30/1994     14   19,508.96      439,024.50

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                                                                          0508
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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Indirect Travel         T117400                      34.29                                            08/16/1994
Travel                  T117400                      97.00                                            08/16/1994
Travel                  T753622                     379.90                                            08/16/1994
Indirect Travel         T753622                     134.29                                            08/16/1994
Indirect Travel         T117402                      36.41                                            08/16/1994
Indirect                FY 1994 PP 24             1,814.21                                            08/30/1994
Payroll                 FY 1994 PP 24             5,132.12                                            08/30/1994
Travel                  T128623                     309.49     7,365.22 15,137,693.04 15,145,058.26   08/30/1994 08/31/1994      1    1,394.18      440,418.68
Indirect Travel         T128623                     109.40                                            08/30/1994
Voucher Schedule Date   940402 0125              34,337.98                                            08/31/1994
Indirect Voucher        940402 0125                   0.11    46,476.46 15,145,058.26 15,191,534.72   08/31/1994 09/01/1994      1    1,398.45      441,817.13
Indirect Voucher        940402 0125               7,436.82                                            08/31/1994
Indirect Voucher        940402 0125               4,455.16                                            08/31/1994
Indirect Voucher        940402 0125                 246.39                                            08/31/1994
Indirect Travel         T753602                      86.99      333.09 15,191,534.72 15,191,867.81    09/01/1994 09/13/1994     12   16,781.81      458,598.94
Travel                  T753602                     246.10                                            09/01/1994
Indirect                FY 1994 PP 25             2,349.12                                            09/13/1994
Payroll                 FY 1994 PP 25             6,645.31     8,994.43 15,191,867.81 15,200,862.24   09/13/1994 09/14/1994      1    1,399.31      459,998.25
Voucher Schedule Date   68-W9-0059 63           213,710.73                                            09/14/1994
Indirect Voucher        68-W9-0059 63            59,715.22   289,257.47 15,200,862.24 15,490,119.71   09/14/1994 09/20/1994      6    8,555.64      468,553.89
Indirect Voucher        68-W9-0059 63            15,831.52                                            09/14/1994
Indirect Travel         T129024                     113.90      436.10 15,490,119.71 15,490,555.81    09/20/1994 09/21/1994      1    1,425.98      469,979.87
Travel                  T129024                     322.20                                            09/20/1994

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                                                                   Detailed Interest Cost
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                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                  Cost Per      Cost Per                    Cumulative   Date of      Interest           Periodic       Cumulative
Cost Category             Cost Reference           Item          Date       Prior Balance     Total    Recognition    Through    Days    Interest         Interest

   Fiscal Year 1994 (Annual Rate: 3.36%)

Travel                    T129023                     515.52       697.75 15,490,555.81 15,491,253.56    09/21/1994 09/27/1994      6     8,556.26      478,536.13
Indirect Travel           T129023                     182.23                                             09/21/1994
Indirect                  FY 1994 PP 26              2,182.18                                            09/27/1994
Payroll                   FY 1994 PP 26              6,173.05     8,355.23 15,491,253.56 15,499,608.79   09/27/1994 09/29/1994      2     2,853.63      481,389.76
Indirect Travel           T117401                      111.48      794.69 15,499,608.79 15,500,403.48    09/29/1994 10/01/1994      2     2,853.77      484,243.53
Travel                    T117401                     315.37                                             09/29/1994
Travel                    T117403                     271.77                                             09/29/1994
Indirect Travel           T117403                      96.07                                             09/29/1994

   Totals for Fiscal Year 1994                   2,033,538.29                                                                           484,243.53     1,905,968.16


   Fiscal Year 1995 (Annual Rate: 5.63%)

Prior FY Interest                                 484,243.53    484,243.53 15,500,403.48 15,984,647.01   10/01/1994 10/07/1994      6    14,793.46       14,793.46
Indirect Travel           T4129301                    295.81      1,603.95 15,984,647.01 15,986,250.96   10/07/1994 10/11/1994      4     9,863.30       24,656.76
Indirect Travel           T2753610                     49.74                                             10/07/1994
Travel                    T4129301                   1,077.25                                            10/07/1994
Travel                    T2753610                    181.15                                             10/07/1994
Indirect                  FY 1994 PP 27              3,191.38                                            10/11/1994
Payroll                   FY 1994 PP 27              9,027.94    12,219.32 15,986,250.96 15,998,470.28   10/11/1994 10/12/1994      1     2,467.71       27,124.47
Voucher Schedule Date     68-W9-0059 64            95,105.66                                             10/12/1994
Indirect Voucher          68-W9-0059 64            15,434.05    121,614.88 15,998,470.28 16,120,085.16   10/12/1994 10/18/1994      6    14,918.81       42,043.28
Indirect Voucher          68-W9-0059 64            10,681.96                                             10/12/1994
Indirect Travel           T4158166                     84.71                                             10/12/1994
Travel                    T4158166                    308.50                                             10/12/1994
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                                                               Detailed Interest Cost
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                                             Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                               Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Voucher Schedule Date   68-W0-0037 62              -13.42                                            10/18/1994
Indirect Voucher        68-W0-0037 62               -3.69       -17.11 16,120,085.16 16,120,068.05   10/18/1994 10/21/1994      3    7,459.40       49,502.68
Travel                  T4158068                   177.01      225.62 16,120,068.05 16,120,293.67    10/21/1994 10/25/1994      4    9,946.00       59,448.68
Indirect Travel         T4158068                    48.61                                            10/21/1994
Indirect                FY 1995 PP 02            1,356.66                                            10/25/1994
Payroll                 FY 1995 PP 02            4,940.48     6,297.14 16,120,293.67 16,126,590.81   10/25/1994 10/27/1994      2    4,974.94       64,423.62
Indirect Travel         T4158083                    56.10      260.41 16,126,590.81 16,126,851.22    10/27/1994 11/07/1994     11   27,362.63       91,786.25
Travel                  T4158083                   204.31                                            10/27/1994
Indirect Travel         T4129241                   199.61     1,978.72 16,126,851.22 16,128,829.94   11/07/1994 11/08/1994      1    2,487.82       94,274.07
Indirect Travel         T4129248                   181.71                                            11/07/1994
Indirect Travel         T4158087                    44.97                                            11/07/1994
Travel                  T4129248                   661.74                                            11/07/1994
Travel                  T4129241                   726.93                                            11/07/1994
Travel                  T4158087                   163.76                                            11/07/1994
Indirect                FY 1995 PP 03            2,264.28                                            11/08/1994
Payroll                 FY 1995 PP 03            8,245.75   10,510.03 16,128,829.94 16,139,339.97    11/08/1994 11/10/1994      2    4,978.88       99,252.95
Voucher Schedule Date   68-W9-0059 65           93,629.01                                            11/10/1994
Indirect Voucher        68-W9-0059 65           10,879.92   119,640.91 16,139,339.97 16,258,980.88   11/10/1994 11/17/1994      7   17,555.24      116,808.19
Indirect Voucher        68-W9-0059 65           14,830.61                                            11/10/1994
Indirect Travel         T4130470                    64.93                                            11/10/1994
Travel                  T4130470                   236.44                                            11/10/1994
Voucher Schedule Date   940403 0128             38,057.51                                            11/17/1994
Voucher Schedule Date   940402 0128                412.31                                            11/17/1994

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                                                                          0511
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                               Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Indirect Voucher        940403 0128             10,450.59   49,033.63 16,258,980.88 16,308,014.51   11/17/1994 11/18/1994      1    2,515.46      119,323.65
Indirect Voucher        940402 0128                113.22                                           11/17/1994
Indirect Travel         T4058402                   183.07      849.75 16,308,014.51 16,308,864.26   11/18/1994 11/22/1994      4   10,062.35      129,386.00
Travel                  T4058402                   666.68                                           11/18/1994
Indirect                FY 1995 PP 04            1,222.80                                           11/22/1994
Payroll                 FY 1995 PP 04            4,453.03    5,675.83 16,308,864.26 16,314,540.09   11/22/1994 11/25/1994      3    7,549.39      136,935.39
Indirect Travel         T4100161                    91.00    3,444.52 16,314,540.09 16,317,984.61   11/25/1994 12/06/1994     11   27,686.93      164,622.32
Indirect Travel         T4058304                    59.72                                           11/25/1994
Indirect Travel         T4128624                    43.39                                           11/25/1994
Travel                  T4128624                   158.00                                           11/25/1994
Travel                  T4129017                   146.50                                           11/25/1994
Travel                  T4129243                   732.18                                           11/25/1994
Travel                  T4157676                   535.83                                           11/25/1994
Travel                  T4058304                   217.48                                           11/25/1994
Travel                  T4129227                   196.65                                           11/25/1994
Travel                  T4100161                   331.38                                           11/25/1994
Travel                  T4158069                   384.40                                           11/25/1994
Indirect Travel         T4129243                   201.06                                           11/25/1994
Indirect Travel         T4158069                   105.56                                           11/25/1994
Indirect Travel         T4129227                    54.00                                           11/25/1994
Indirect Travel         T4129017                    40.23                                           11/25/1994
Indirect Travel         T4157676                   147.14                                           11/25/1994
Voucher Schedule Date   68-W9-0059 67           37,233.11                                           12/06/1994

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                                                                         0512
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                                                                Detailed Interest Cost
                                                   MCCOLL, FULLERTON, CA SITE ID = 09 04
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                               Cost Per      Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item          Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Voucher Schedule Date   68-W9-0059 68           32,130.82                                            12/06/1994
Voucher Schedule Date   68-W9-0059 69            3,142.18                                            12/06/1994
Indirect                FY 1995 PP 05            1,629.05                                            12/06/1994
Payroll                 FY 1995 PP 05            5,932.44                                            12/06/1994
Indirect Voucher        68-W9-0059 67              906.32    99,977.77 16,317,984.61 16,417,962.38   12/06/1994 12/12/1994      6   15,194.49      179,816.81
Indirect Voucher        68-W9-0059 67            9,317.89                                            12/06/1994
Indirect Voucher        68-W9-0059 68            3,538.84                                            12/06/1994
Indirect Voucher        68-W9-0059 69            2,581.60                                            12/06/1994
Indirect Voucher        68-W9-0059 68            5,284.28                                            12/06/1994
Indirect Voucher        68-W9-0059 69            -1,718.76                                           12/06/1994
Voucher Schedule Date   68-W9-0059 70           73,309.28                                            12/12/1994
Indirect Voucher        68-W9-0059 70            6,008.93    93,440.01 16,417,962.38 16,511,402.39   12/12/1994 12/20/1994      8   20,374.62      200,191.43
Indirect Voucher        68-W9-0059 70           10,883.57                                            12/12/1994
Indirect Voucher        68-W9-0059 70            3,238.23                                            12/12/1994
Indirect                FY 1995 PP 06            1,691.26                                            12/20/1994
Payroll                 FY 1995 PP 06            6,158.99     7,850.25 16,511,402.39 16,519,252.64   12/20/1994 12/23/1994      3    7,644.11      207,835.54
Indirect Travel         T4172096                    86.35       400.81 16,519,252.64 16,519,653.45   12/23/1994 12/27/1994      4   10,192.40      218,027.94
Travel                  T4172096                   314.46                                            12/23/1994
Travel                  T4060036                   832.11     1,060.61 16,519,653.45 16,520,714.06   12/27/1994 01/03/1995      7   17,837.84      235,865.78
Indirect Travel         T4060036                   228.50                                            12/27/1994
Indirect                FY 1995 PP 07            1,458.55                                            01/03/1995
Payroll                 FY 1995 PP 07            5,311.56     6,770.11 16,520,714.06 16,527,484.17   01/03/1995 01/10/1995      7   17,845.15      253,710.93
Indirect Travel         T4060008                   188.86       876.62 16,527,484.17 16,528,360.79   01/10/1995 01/13/1995      3    7,648.33      261,359.26

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                                                                          0513
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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Travel                  T4060008                    687.76                                           01/10/1995
Travel                  T4060033                    373.97      476.66 16,528,360.79 16,528,837.45   01/13/1995 01/17/1995      4   10,198.07      271,557.33
Indirect Travel         T4060033                    102.69                                           01/13/1995
Indirect                FY 1995 PP 08               761.90                                           01/17/1995
Payroll                 FY 1995 PP 08             2,774.55    3,536.45 16,528,837.45 16,532,373.90   01/17/1995 01/18/1995      1    2,550.06      274,107.39
Voucher Schedule Date   940403 0131              14,386.33                                           01/18/1995
Indirect Voucher        940403 0131               3,950.49   18,336.82 16,532,373.90 16,550,710.72   01/18/1995 01/20/1995      2    5,105.78      279,213.17
Voucher Schedule Date   68-W4-0028 456-4-04         991.60                                           01/20/1995
Indirect Voucher        68-W4-0028 456-4-04         272.29    1,263.89 16,550,710.72 16,551,974.61   01/20/1995 01/23/1995      3    7,659.26      286,872.43
Voucher Schedule Date   68-W9-0059 71            61,310.44                                           01/23/1995
Indirect Voucher        68-W9-0059 71             5,607.96   78,146.28 16,551,974.61 16,630,120.89   01/23/1995 01/27/1995      4   10,260.56      297,132.99
Indirect Voucher        68-W9-0059 71            11,227.88                                           01/23/1995
Indirect Travel         T4157699                     53.14      246.66 16,630,120.89 16,630,367.55   01/27/1995 01/31/1995      4   10,260.71      307,393.70
Travel                  T4157699                    193.52                                           01/27/1995
Indirect                FY 1995 PP 09             1,831.13                                           01/31/1995
Payroll                 FY 1995 PP 09             6,668.40    8,499.53 16,630,367.55 16,638,867.08   01/31/1995 02/06/1995      6   15,398.93      322,792.63
Indirect Travel         T4172065                     95.34      442.55 16,638,867.08 16,639,309.63   02/06/1995 02/09/1995      3    7,699.67      330,492.30
Travel                  T4172065                    347.21                                           02/06/1995
Travel                  T4189488                    523.20      666.87 16,639,309.63 16,639,976.50   02/09/1995 02/10/1995      1    2,566.66      333,058.96
Indirect Travel         T4189488                    143.67                                           02/09/1995
Voucher Schedule Date   940403 0132              23,683.45                                           02/10/1995
Indirect Travel         T4060022                    133.05   30,804.51 16,639,976.50 16,670,781.01   02/10/1995 02/13/1995      3    7,714.23      340,773.19
Indirect Voucher        940403 0132               6,503.48                                           02/10/1995

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                                                                Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Travel                  T4060022                    484.53                                           02/10/1995
Travel                  T4060032                  1,286.07    1,639.22 16,670,781.01 16,672,420.23   02/13/1995 02/14/1995      1    2,571.66      343,344.85
Indirect Travel         T4060032                    353.15                                           02/13/1995
Voucher Schedule Date   68-W9-0060 79             4,340.60                                           02/14/1995
Indirect                FY 1995 PP 10             1,923.08                                           02/14/1995
Payroll                 FY 1995 PP 10             7,003.20                                           02/14/1995
Indirect Voucher        68-W9-0060 79               318.89   14,840.95 16,672,420.23 16,687,261.18   02/14/1995 02/16/1995      2    5,147.91      348,492.76
Indirect Voucher        68-W9-0060 79               873.04                                           02/14/1995
Travel                  T4059804                    299.81                                           02/14/1995
Indirect Travel         T4059804                     82.33                                           02/14/1995
Voucher Schedule Date   68-W4-0028 517-01           138.56                                           02/16/1995
Voucher Schedule Date   68-W4-0028 518-01         1,022.27                                           02/16/1995
Indirect Voucher        68-W4-0028 518-01           280.72    1,479.60 16,687,261.18 16,688,740.78   02/16/1995 02/17/1995      1    2,574.18      351,066.94
Indirect Voucher        68-W4-0028 517-01            38.05                                           02/16/1995
Voucher Schedule Date   68-W4-0028 518-02         1,027.89                                           02/17/1995
Voucher Schedule Date   68-W4-0028 517-02            69.28                                           02/17/1995
Indirect Voucher        68-W4-0028 518-02           282.26    1,398.45 16,688,740.78 16,690,139.23   02/17/1995 02/21/1995      4   10,297.59      361,364.53
Indirect Voucher        68-W4-0028 517-02            19.02                                           02/17/1995
Voucher Schedule Date   68-W9-0059 72            66,344.85                                           02/21/1995
Indirect Voucher        68-W9-0059 72            12,945.68   84,563.15 16,690,139.23 16,774,702.38   02/21/1995 02/23/1995      2    5,174.88      366,539.41
Indirect Voucher        68-W9-0059 72             5,272.62                                           02/21/1995
Voucher Schedule Date   68-W4-0028 456-4-05         216.10                                           02/23/1995
Voucher Schedule Date   68-W4-0028 517-03            92.69                                           02/23/1995

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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Voucher Schedule Date   68-W4-0028 518-03           521.13                                           02/23/1995
Indirect Voucher        68-W4-0028 456-4-05          59.34    1,057.81 16,774,702.38 16,775,760.19   02/23/1995 02/28/1995      5   12,938.02      379,477.43
Indirect Voucher        68-W4-0028 517-03            25.45                                           02/23/1995
Indirect Voucher        68-W4-0028 518-03           143.10                                           02/23/1995
Indirect                FY 1995 PP 11             1,435.89                                           02/28/1995
Payroll                 FY 1995 PP 11             5,228.98    6,664.87 16,775,760.19 16,782,425.06   02/28/1995 03/02/1995      2    5,177.26      384,654.69
Indirect Travel         T4189500                    142.80      662.82 16,782,425.06 16,783,087.88   03/02/1995 03/13/1995     11   28,476.07      413,130.76
Travel                  T4189500                    520.02                                           03/02/1995
Indirect Travel         T2753664                    134.94      626.34 16,783,087.88 16,783,714.22   03/13/1995 03/14/1995      1    2,588.83      415,719.59
Travel                  T2753664                    491.40                                           03/13/1995
Voucher Schedule Date   68-W9-0059 73            71,297.90                                           03/14/1995
Indirect                FY 1995 PP 12             1,698.03                                           03/14/1995
Payroll                 FY 1995 PP 12             6,183.59                                           03/14/1995
Indirect Voucher        68-W9-0059 73            16,969.14   98,757.92 16,783,714.22 16,882,472.14   03/14/1995 03/16/1995      2    5,208.13      420,927.72
Indirect Voucher        68-W9-0059 73             2,609.26                                           03/14/1995
Indirect Travel         T4187563                    132.42      614.66 16,882,472.14 16,883,086.80   03/16/1995 03/20/1995      4   10,416.63      431,344.35
Travel                  T4187563                    482.24                                           03/16/1995
Travel                  T4187569                     52.25       66.60 16,883,086.80 16,883,153.40   03/20/1995 03/21/1995      1    2,604.17      433,948.52
Indirect Travel         T4187569                     14.35                                           03/20/1995
Travel                  T4187640                  1,469.45    1,872.96 16,883,153.40 16,885,026.36   03/21/1995 03/22/1995      1    2,604.46      436,552.98
Indirect Travel         T4187640                    403.51                                           03/21/1995
Voucher Schedule Date   940403 0134               6,012.62                                           03/22/1995
Indirect Voucher        940403 0134               1,651.07    7,663.69 16,885,026.36 16,892,690.05   03/22/1995 03/23/1995      1    2,605.64      439,158.62

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                                                               Detailed Interest Cost
                                                   MCCOLL, FULLERTON, CA SITE ID = 09 04
                                             Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                               Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Travel                  T4189496                   552.60      704.34 16,892,690.05 16,893,394.39   03/23/1995 03/28/1995      5   13,028.74      452,187.36
Indirect Travel         T4189496                   151.74                                           03/23/1995
Voucher Schedule Date   68-D1-0135 92            7,209.61                                           03/28/1995
Indirect                FY 1995 PP 13            1,518.18                                           03/28/1995
Payroll                 FY 1995 PP 13            5,528.67                                           03/28/1995
Indirect Travel         T4187934                    26.64   21,084.74 16,893,394.39 16,914,479.13   03/28/1995 04/04/1995      7   18,263.00      470,450.36
Indirect Voucher        68-D1-0135 92            1,979.76                                           03/28/1995
Travel                  T4189492                 1,595.54                                           03/28/1995
Travel                  T4189481                   664.96                                           03/28/1995
Travel                  T4130816                   368.61                                           03/28/1995
Travel                  T4189482                   378.24                                           03/28/1995
Travel                  T4060011                   699.60                                           03/28/1995
Indirect Travel         T4189482                   103.86                                           03/28/1995
Indirect Travel         T4060011                   192.11                                           03/28/1995
Travel                  T4187934                    97.00                                           03/28/1995
Indirect Travel         T4130816                   101.22                                           03/28/1995
Indirect Travel         T4189492                   438.14                                           03/28/1995
Indirect Travel         T4189481                   182.60                                           03/28/1995
Travel                  T4189502                   553.40      705.36 16,914,479.13 16,915,184.49   04/04/1995 04/11/1995      7   18,263.76      488,714.12
Indirect Travel         T4189502                   151.96                                           04/04/1995
Voucher Schedule Date   68-W9-0059 74           78,108.84                                           04/11/1995
Indirect                FY 1995 PP 14            1,813.62                                           04/11/1995
Payroll                 FY 1995 PP 14            6,604.61                                           04/11/1995

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                                                               Detailed Interest Cost
                                                   MCCOLL, FULLERTON, CA SITE ID = 09 04
                                             Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                               Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Indirect Voucher        68-W9-0059 74           17,770.21   107,975.76 16,915,184.49 17,023,160.25   04/11/1995 04/14/1995      3    7,877.29      496,591.41
Indirect Voucher        68-W9-0059 74            3,678.48                                            04/11/1995
Voucher Schedule Date   68-W4-0028 518-05          182.94                                            04/14/1995
Voucher Schedule Date   68-W4-0028 517-05          121.83                                            04/14/1995
Voucher Schedule Date   68-W4-0028 518-04          148.35                                            04/14/1995
Indirect Voucher        68-W4-0028 517-05           33.45      577.55 17,023,160.25 17,023,737.80    04/14/1995 04/18/1995      4   10,503.41      507,094.82
Indirect Voucher        68-W4-0028 518-04           40.74                                            04/14/1995
Indirect Voucher        68-W4-0028 518-05           50.24                                            04/14/1995
Indirect Travel         T4187645                    76.44      741.20 17,023,737.80 17,024,479.00    04/18/1995 04/25/1995      7   18,381.77      525,476.59
Indirect Travel         T4187646                    83.24                                            04/18/1995
Travel                  T4187646                   303.15                                            04/18/1995
Travel                  T4187645                   278.37                                            04/18/1995
Indirect                FY 1995 PP 15            1,697.46                                            04/25/1995
Payroll                 FY 1995 PP 15            6,181.58     7,879.04 17,024,479.00 17,032,358.04   04/25/1995 04/28/1995      3    7,881.55      533,358.14
Indirect Travel         T4129238                   334.27     1,551.56 17,032,358.04 17,033,909.60   04/28/1995 05/08/1995     10   26,274.22      559,632.36
Travel                  T4129238                 1,217.29                                            04/28/1995
Travel                  T2543308                    90.87      115.82 17,033,909.60 17,034,025.42    05/08/1995 05/09/1995      1    2,627.44      562,259.80
Indirect Travel         T2543308                    24.95                                            05/08/1995
Voucher Schedule Date   940403 0135              5,703.32                                            05/09/1995
Indirect                FY 1995 PP 16            1,723.57                                            05/09/1995
Payroll                 FY 1995 PP 16            6,276.69                                            05/09/1995
Indirect Voucher        940403 0135              1,566.13    15,269.71 17,034,025.42 17,049,295.13   05/09/1995 05/10/1995      1    2,629.80      564,889.60
Indirect Travel         T4216356                    96.79      449.25 17,049,295.13 17,049,744.38    05/10/1995 05/12/1995      2    5,259.73      570,149.33

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                                               Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Travel                  T4216356                   352.46                                            05/10/1995
Voucher Schedule Date   68-W9-0059 75           85,299.73                                            05/12/1995
Indirect Voucher        68-W9-0059 75            3,233.93   112,227.16 17,049,744.38 17,161,971.54   05/12/1995 05/16/1995      4   10,588.70      580,738.03
Indirect Voucher        68-W9-0059 75           20,189.38                                            05/12/1995
Travel                  T4215950                   328.24                                            05/12/1995
Travel                  T4189504                 1,494.77                                            05/12/1995
Travel                  T4114223                   926.19                                            05/12/1995
Indirect Travel         T4189504                   410.46                                            05/12/1995
Indirect Travel         T4215950                    90.13                                            05/12/1995
Indirect Travel         T4114223                   254.33                                            05/12/1995
Voucher Schedule Date   68-W4-0028 517-07           64.98                                            05/16/1995
Indirect Voucher        68-W4-0028 517-07           17.84       82.82 17,161,971.54 17,162,054.36    05/16/1995 05/18/1995      2    5,294.38      586,032.41
Voucher Schedule Date   940403 0136             17,679.75                                            05/18/1995
Indirect Voucher        940403 0136              4,854.86   22,534.61 17,162,054.36 17,184,588.97    05/18/1995 05/23/1995      5   13,253.32      599,285.73
Indirect                FY 1995 PP 17            1,086.83                                            05/23/1995
Payroll                 FY 1995 PP 17            3,957.82     5,044.65 17,184,588.97 17,189,633.62   05/23/1995 05/25/1995      2    5,302.88      604,588.61
Indirect Travel         T4058385                   129.70      602.01 17,189,633.62 17,190,235.63    05/25/1995 06/06/1995     12   31,818.42      636,407.03
Travel                  T4058385                   472.31                                            05/25/1995
Indirect                FY 1995 PP 18            1,214.07                                            06/06/1995
Payroll                 FY 1995 PP 18            4,421.25     5,635.32 17,190,235.63 17,195,870.95   06/06/1995 06/07/1995      1    2,652.40      639,059.43
Travel                  T4187657                   638.77      814.18 17,195,870.95 17,196,685.13    06/07/1995 06/12/1995      5   13,262.65      652,322.08
Indirect Travel         T4187657                   175.41                                            06/07/1995
Voucher Schedule Date   68-W9-0059 76          126,836.49                                            06/12/1995

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                                                               Detailed Interest Cost
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                                               Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Indirect Voucher        68-W9-0059 76           29,777.79   161,665.79 17,196,685.13 17,358,350.92   06/12/1995 06/13/1995      1    2,677.47      654,999.55
Indirect Voucher        68-W9-0059 76            5,051.51                                            06/12/1995
Voucher Schedule Date   68-D1-0135 100          22,528.27                                            06/13/1995
Voucher Schedule Date   940403 0137              4,673.19                                            06/13/1995
Indirect Voucher        940403 0137              1,283.26    34,670.98 17,358,350.92 17,393,021.90   06/13/1995 06/15/1995      2    5,365.63      660,365.18
Indirect Voucher        68-D1-0135 100           6,186.26                                            06/13/1995
Travel                  T4215964                   448.78      572.01 17,393,021.90 17,393,593.91    06/15/1995 06/20/1995      5   13,414.51      673,779.69
Indirect Travel         T4215964                   123.23                                            06/15/1995
Voucher Schedule Date   68-W4-0028 517-08          166.27                                            06/20/1995
Indirect                FY 1995 PP 19              340.17                                            06/20/1995
Payroll                 FY 1995 PP 19            1,238.76                                            06/20/1995
Indirect Voucher        68-W4-0028 517-08           45.66     1,790.86 17,393,593.91 17,395,384.77   06/20/1995 06/21/1995      1    2,683.18      676,462.87
Travel                  T4158091                   596.81      760.69 17,395,384.77 17,396,145.46    06/21/1995 07/04/1995     13   34,882.85      711,345.72
Indirect Travel         T4158091                   163.88                                            06/21/1995
Indirect                FY 1995 PP 20            1,990.40                                            07/04/1995
Payroll                 FY 1995 PP 20            7,248.42     9,238.82 17,396,145.46 17,405,384.28   07/04/1995 07/05/1995      1    2,684.72      714,030.44
Indirect Travel         T4216367                    96.84      449.50 17,405,384.28 17,405,833.78    07/05/1995 07/06/1995      1    2,684.79      716,715.23
Travel                  T4216367                   352.66                                            07/05/1995
Indirect Travel         T4210569                   136.44      934.70 17,405,833.78 17,406,768.48    07/06/1995 07/07/1995      1    2,684.93      719,400.16
Travel                  T4210406                   236.46                                            07/06/1995
Indirect Travel         T4210406                    64.93                                            07/06/1995
Travel                  T4210569                   496.87                                            07/06/1995
Voucher Schedule Date   68-W4-0028 517-09           27.71                                            07/07/1995

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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                               Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Indirect Voucher        68-W4-0028 517-09            7.61       35.32 17,406,768.48 17,406,803.80    07/07/1995 07/10/1995      3    8,054.82      727,454.98
Travel                  T4215962                   663.00     1,630.00 17,406,803.80 17,408,433.80   07/10/1995 07/11/1995      1    2,685.19      730,140.17
Travel                  T4215984                   615.83                                            07/10/1995
Indirect Travel         T4215962                   182.06                                            07/10/1995
Indirect Travel         T4215984                   169.11                                            07/10/1995
Voucher Schedule Date   940403 0139              6,412.05                                            07/11/1995
Voucher Schedule Date   68-W9-0059 77           54,634.59                                            07/11/1995
Indirect Voucher        68-W9-0059 77           10,875.43   77,810.05 17,408,433.80 17,486,243.85    07/11/1995 07/12/1995      1    2,697.19      732,837.36
Indirect Voucher        68-W9-0059 77            4,127.23                                            07/11/1995
Indirect Voucher        940403 0139              1,760.75                                            07/11/1995
Voucher Schedule Date   68-D1-0135 102          14,498.87                                            07/12/1995
Indirect Voucher        68-D1-0135 102           3,981.39   18,480.26 17,486,243.85 17,504,724.11    07/12/1995 07/14/1995      2    5,400.09      738,237.45
Voucher Schedule Date   68-W9-0008 83               13.08                                            07/14/1995
Indirect Voucher        68-W9-0008 83                3.59       16.67 17,504,724.11 17,504,740.78    07/14/1995 07/17/1995      3    8,100.14      746,337.59
Travel                  T4130756                 1,298.82     1,655.48 17,504,740.78 17,506,396.26   07/17/1995 07/18/1995      1    2,700.30      749,037.89
Indirect Travel         T4130756                   356.66                                            07/17/1995
Indirect                FY 1995 PP 21            1,340.73                                            07/18/1995
Payroll                 FY 1995 PP 21            4,882.49     6,223.22 17,506,396.26 17,512,619.48   07/18/1995 08/01/1995     14   37,817.66      786,855.55
Indirect                FY 1995 PP 22            1,370.38                                            08/01/1995
Payroll                 FY 1995 PP 22            4,990.46     6,360.84 17,512,619.48 17,518,980.32   08/01/1995 08/09/1995      8   21,617.94      808,473.49
Voucher Schedule Date   68-W9-0059 78           92,167.31                                            08/09/1995
Indirect Voucher        68-W9-0059 78           18,588.81   117,476.46 17,518,980.32 17,636,456.78   08/09/1995 08/14/1995      5   13,601.82      822,075.31
Indirect Voucher        68-W9-0059 78            6,720.34                                            08/09/1995

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                                                               Detailed Interest Cost
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                                               Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item         Date      Prior Balance      Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Indirect Travel         T4215983                   102.07      473.76 17,636,456.78 17,636,930.54    08/14/1995 08/15/1995      1    2,720.44      824,795.75
Travel                  T4215983                   371.69                                            08/14/1995
Indirect                FY 1995 PP 23              978.99                                            08/15/1995
Payroll                 FY 1995 PP 23            3,565.14                                            08/15/1995
Indirect Travel         T4215961                   190.50    6,971.45 17,636,930.54 17,643,901.99    08/15/1995 08/22/1995      7   19,050.58      843,846.33
Indirect Travel         T4210572                   147.42                                            08/15/1995
Travel                  T4210801                   476.78                                            08/15/1995
Travel                  T4210572                   536.85                                            08/15/1995
Travel                  T4215961                   693.75                                            08/15/1995
Travel                  T4215075                   197.00                                            08/15/1995
Indirect Travel         T4210801                   130.92                                            08/15/1995
Indirect Travel         T4215075                    54.10                                            08/15/1995
Indirect Travel         T4210507                    90.74      421.18 17,643,901.99 17,644,323.17    08/22/1995 08/23/1995      1    2,721.58      846,567.91
Travel                  T4210507                   330.44                                            08/22/1995
Voucher Schedule Date   68-D1-0135 104           5,070.66                                            08/23/1995
Voucher Schedule Date   940403 0140             19,087.96                                            08/23/1995
Indirect Voucher        68-D1-0135 104           1,392.40   33,617.43 17,644,323.17 17,677,940.60    08/23/1995 08/24/1995      1    2,726.76      849,294.67
Indirect Voucher        940403 0140              5,241.55                                            08/23/1995
Travel                  T4189505                 2,216.27                                            08/23/1995
Indirect Travel         T4189505                   608.59                                            08/23/1995
Voucher Schedule Date   68-W0-0001 79               -0.35                                            08/24/1995
Indirect Voucher        68-W0-0001 79               -0.10        -0.45 17,677,940.60 17,677,940.15   08/24/1995 08/29/1995      5   13,633.81      862,928.48
Indirect                FY 1995 PP 24              946.02                                            08/29/1995

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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                               Cost Per      Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item          Date       Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Payroll                 FY 1995 PP 24             3,445.09                                            08/29/1995
Travel                  T4183491                   338.09      4,822.04 17,677,940.15 17,682,762.19   08/29/1995 09/01/1995      3    8,182.52      871,111.00
Indirect Travel         T4183491                    92.84                                             08/29/1995
Indirect Travel         T4060029                   190.54      1,136.31 17,682,762.19 17,683,898.50   09/01/1995 09/06/1995      5   13,638.40      884,749.40
Indirect Travel         T4060030                    54.27                                             09/01/1995
Travel                  T4060029                   693.88                                             09/01/1995
Travel                  T4060030                   197.62                                             09/01/1995
Indirect Travel         T4187654                   338.04      1,569.05 17,683,898.50 17,685,467.55   09/06/1995 09/07/1995      1    2,727.92      887,477.32
Travel                  T4187654                  1,231.01                                            09/06/1995
Voucher Schedule Date   68-W4-0028 518-10           32.81                                             09/07/1995
Indirect Voucher        68-W4-0028 518-10             9.01      737.75 17,685,467.55 17,686,205.30    09/07/1995 09/08/1995      1    2,728.04      890,205.36
Indirect Travel         T4210575                   149.93                                             09/07/1995
Travel                  T4210575                   546.00                                             09/07/1995
Travel                  T4213981                   260.48       332.01 17,686,205.30 17,686,537.31    09/08/1995 09/12/1995      4   10,912.35      901,117.71
Indirect Travel         T4213981                    71.53                                             09/08/1995
Indirect                FY 1995 PP 25              553.41                                             09/12/1995
Payroll                 FY 1995 PP 25             2,015.33     2,568.74 17,686,537.31 17,689,106.05   09/12/1995 09/14/1995      2    5,456.97      906,574.68
Voucher Schedule Date   68-W9-0059 79           110,957.41                                            09/14/1995
Voucher Schedule Date   68-D1-0135 107            2,007.54                                            09/14/1995
Voucher Schedule Date   68-W0-0037 64               73.64                                             09/14/1995
Indirect Voucher        68-D1-0135 107             551.27    144,078.99 17,689,106.05 17,833,185.04   09/14/1995 09/26/1995     12   33,008.49      939,583.17
Indirect Voucher        68-W0-0037 64               20.22                                             09/14/1995
Indirect Voucher        68-W9-0059 79           15,870.84                                             09/14/1995

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                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per      Cost Per                    Cumulative   Date of      Interest           Periodic       Cumulative
Cost Category             Cost Reference          Item          Date       Prior Balance     Total    Recognition    Through    Days    Interest         Interest

   Fiscal Year 1995 (Annual Rate: 5.63%)

Indirect Voucher          68-W9-0059 79           14,598.07                                             09/14/1995
Indirect                  FY 1995 PP 26              832.20                                             09/26/1995
Payroll                   FY 1995 PP 26             3,030.60     3,862.80 17,833,185.04 17,837,047.84   09/26/1995 09/29/1995      3     8,253.91      947,837.08
Voucher Schedule Date     68-02-4284 3758-CR        8,077.79                                            09/29/1995
Indirect Voucher          68-02-4284 3758-CR        2,218.16    10,295.95 17,837,047.84 17,847,343.79   09/29/1995 10/01/1995      2     5,505.78      953,342.86

   Totals for Fiscal Year 1995                  1,862,696.78                                                                           953,342.86     2,859,311.02


   Fiscal Year 1996 (Annual Rate: 5.86%)

Prior FY Interest                                953,342.86    953,342.86 17,847,343.79 18,800,686.65   10/01/1995 10/10/1995      9    27,091.48       27,091.48
Indirect                  FY 1995 PP 27             1,230.03                                            10/10/1995
Payroll                   FY 1995 PP 27             4,479.34     5,709.37 18,800,686.65 18,806,396.02   10/10/1995 10/12/1995      2     6,022.16       33,113.64
Voucher Schedule Date     68-W4-0028 517-12          124.70                                             10/12/1995
Voucher Schedule Date     68-W9-0059 80           46,003.91                                             10/12/1995
Indirect Voucher          68-W9-0059 80             7,181.45    60,326.99 18,806,396.02 18,866,723.01   10/12/1995 10/17/1995      5    15,103.69       48,217.33
Indirect Voucher          68-W9-0059 80             6,978.55                                            10/12/1995
Indirect Voucher          68-W4-0028 517-12           38.38                                             10/12/1995
Voucher Schedule Date     68-01-7456 97           12,321.60                                             10/17/1995
Indirect Voucher          68-01-7456 97             3,792.59    16,114.19 18,866,723.01 18,882,837.20   10/17/1995 10/18/1995      1     3,023.32       51,240.65
Travel                    T4117389                   261.41       341.87 18,882,837.20 18,883,179.07    10/18/1995 10/24/1995      6    18,140.23       69,380.88
Indirect Travel           T4117389                    80.46                                             10/18/1995
Indirect                  FY 1996 PP 01              401.65                                             10/24/1995
Payroll                   FY 1996 PP 01             1,304.88     1,706.53 18,883,179.07 18,884,885.60   10/24/1995 10/30/1995      6    18,141.87       87,522.75
Travel                    T4183505                   540.68       707.10 18,884,885.60 18,885,592.70    10/30/1995 11/07/1995      8    24,190.07      111,712.82
                                                                           Exhibit 4-A
                                                                             0524
Report Date: 11/25/2019
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                                                                   #:7332
                                                               Detailed Interest Cost
                                                   MCCOLL, FULLERTON, CA SITE ID = 09 04
                                             Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                               Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference          Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1996 (Annual Rate: 5.86%)

Indirect Travel         T4183505                   166.42                                           10/30/1995
Indirect                FY 1996 PP 02              917.47                                           11/07/1995
Payroll                 FY 1996 PP 02            2,980.72    3,898.19 18,885,592.70 18,889,490.89   11/07/1995 11/08/1995      1    3,024.38      114,737.20
Voucher Schedule Date   68-W4-0028 517-13          648.35                                           11/08/1995
Voucher Schedule Date   68-W4-0028 518-12        1,421.48                                           11/08/1995
Indirect Voucher        68-W4-0028 518-12          437.53    2,706.92 18,889,490.89 18,892,197.81   11/08/1995 11/14/1995      6   18,148.90      132,886.10
Indirect Voucher        68-W4-0028 517-13          199.56                                           11/08/1995
Voucher Schedule Date   940404 142              15,655.82                                           11/14/1995
Voucher Schedule Date   68-W9-0059 81           55,545.55                                           11/14/1995
Indirect Voucher        68-W9-0059 81            5,455.94   93,117.15 18,892,197.81 18,985,314.96   11/14/1995 11/21/1995      7   21,278.08      154,164.18
Indirect Voucher        68-W9-0059 81           11,640.98                                           11/14/1995
Indirect Voucher        940404 142               4,818.86                                           11/14/1995
Indirect                FY 1996 PP 03              576.24                                           11/21/1995
Payroll                 FY 1996 PP 03            1,872.12    2,448.36 18,985,314.96 18,987,763.32   11/21/1995 11/30/1995      9   27,361.06      181,525.24
Travel                  T4210532                   478.93      626.34 18,987,763.32 18,988,389.66   11/30/1995 12/05/1995      5   15,201.09      196,726.33
Indirect Travel         T4210532                   147.41                                           11/30/1995
Indirect                FY 1996 PP 04              615.89                                           12/05/1995
Payroll                 FY 1996 PP 04            2,000.94    2,616.83 18,988,389.66 18,991,006.49   12/05/1995 12/11/1995      6   18,243.82      214,970.15
Voucher Schedule Date   940404 143               4,233.96                                           12/11/1995
Voucher Schedule Date   940403 0143                617.40                                           12/11/1995
Indirect Voucher        940404 143               1,303.21    6,344.61 18,991,006.49 18,997,351.10   12/11/1995 12/19/1995      8   24,333.22      239,303.37
Indirect Voucher        940403 0143                190.04                                           12/11/1995
Indirect                FY 1996 PP 05            1,218.08                                           12/19/1995

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                                                                         0525
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1996 (Annual Rate: 5.86%)

Payroll                 FY 1996 PP 05                3,957.34                                           12/19/1995
Indirect Travel         T4210528                       115.36    5,665.57 18,997,351.10 19,003,016.67   12/19/1995 12/28/1995      9   27,383.04      266,686.41
Travel                  T4210528                       374.79                                           12/19/1995
Voucher Schedule Date   68-W9-0059 82               16,796.36                                           12/28/1995
Indirect Voucher        68-W9-0059 82                2,232.13   21,966.28 19,003,016.67 19,024,982.95   12/28/1995 01/02/1996      5   15,230.38      281,916.79
Indirect Voucher        68-W9-0059 82                2,937.79                                           12/28/1995
Indirect                FY 1996 PP 06                1,330.46                                           01/02/1996
Payroll                 FY 1996 PP 06                4,322.46    5,652.92 19,024,982.95 19,030,635.87   01/02/1996 01/09/1996      7   21,328.87      303,245.66
Indirect Travel         T4210531                        83.89      356.44 19,030,635.87 19,030,992.31   01/09/1996 01/12/1996      3    9,141.12      312,386.78
Travel                  T4210531                       272.55                                           01/09/1996
Voucher Schedule Date   940404 0144                  3,734.89                                           01/12/1996
Indirect Voucher        940404 0144                  1,149.60    4,884.49 19,030,992.31 19,035,876.80   01/12/1996 01/16/1996      4   12,191.28      324,578.06
Indirect                FY 1996 PP 07                  877.17                                           01/16/1996
Payroll                 FY 1996 PP 07                2,849.84    3,727.01 19,035,876.80 19,039,603.81   01/16/1996 01/22/1996      6   18,290.50      342,868.56
Voucher Schedule Date   68-W9-0059 83               38,002.06                                           01/22/1996
Indirect Voucher        68-W9-0059 83                6,280.02   49,699.09 19,039,603.81 19,089,302.90   01/22/1996 01/23/1996      1    3,056.37      345,924.93
Indirect Voucher        68-W9-0059 83                5,417.01                                           01/22/1996
Voucher Schedule Date   68-W5-0024 9606-010-03         579.96                                           01/23/1996
Indirect Voucher        68-W5-0024 9606-010-03         178.51      758.47 19,089,302.90 19,090,061.37   01/23/1996 01/30/1996      7   21,395.47      367,320.40
Indirect                FY 1996 PP 08                1,307.87                                           01/30/1996
Payroll                 FY 1996 PP 08                4,249.10    5,556.97 19,090,061.37 19,095,618.34   01/30/1996 02/07/1996      8   24,459.09      391,779.49
Voucher Schedule Date   940404 146                  14,873.91                                           02/07/1996
Voucher Schedule Date   68-D4-0018 237427-IN         3,395.55                                           02/07/1996

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                                                                             0526
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic       Cumulative
Cost Category           Cost Reference              Item         Date       Prior Balance       Total    Recognition     Through    Days   Interest         Interest

   Fiscal Year 1996 (Annual Rate: 5.86%)

Indirect Voucher        68-D4-0018 237427-IN         1,045.15   23,892.80 19,095,618.34     19,119,511.14   02/07/1996 02/13/1996      6   18,367.27      410,146.76
Indirect Voucher        940404 146                   4,578.19                                               02/07/1996
Indirect                FY 1996 PP 09                1,955.93                                               02/13/1996
Payroll                 FY 1996 PP 09                6,354.58    8,310.51   19,119,511.14 19,127,821.65     02/13/1996 02/21/1996      8   24,500.34      434,647.10
Indirect Travel         T4321771                       149.34      634.52 19,127,821.65 19,128,456.17       02/21/1996 02/23/1996      2    6,125.29      440,772.39
Travel                  T4321771                       485.18                                               02/21/1996
Travel                  T4322203                       498.00      651.28 19,128,456.17 19,129,107.45       02/23/1996 02/26/1996      3    9,188.24      449,960.63
Indirect Travel         T4322203                       153.28                                               02/23/1996
Voucher Schedule Date   68-W5-0024 9606-010-05       2,871.86                                               02/26/1996
Indirect Voucher        68-W5-0024 9606-010-05         883.96    3,755.82 19,129,107.45 19,132,863.27       02/26/1996 02/27/1996      1    3,063.35      453,023.98
Indirect                FY 1996 PP 10                1,973.71                                               02/27/1996
Payroll                 FY 1996 PP 10                6,412.29    8,386.00 19,132,863.27 19,141,249.27       02/27/1996 02/28/1996      1    3,064.69      456,088.67
Voucher Schedule Date   68-W9-0059 84               41,296.78                                               02/28/1996
Indirect Voucher        68-W9-0059 84                6,868.33   54,007.93 19,141,249.27 19,195,257.20       02/28/1996 03/07/1996      8   24,586.71      480,675.38
Indirect Voucher        68-W9-0059 84                5,842.82                                               02/28/1996
Voucher Schedule Date   ATSDR                         -185.00     -185.00 19,195,257.20 19,195,072.20       03/07/1996 03/11/1996      4   12,293.24      492,968.62
Indirect Travel         T4215419                        47.88    1,288.64 19,195,072.20 19,196,360.84       03/11/1996 03/12/1996      1    3,073.52      496,042.14
Indirect Travel         T4215973                        89.80                                               03/11/1996
Travel                  T4183503                       538.05                                               03/11/1996
Indirect Travel         T4183503                       165.61                                               03/11/1996
Travel                  T4215973                       291.75                                               03/11/1996
Travel                  T4215419                       155.55                                               03/11/1996
Indirect                FY 1996 PP 11                1,371.56                                               03/12/1996

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                                                                              0527
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                                                                    Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per      Cost Per                    Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference              Item          Date      Prior Balance      Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1996 (Annual Rate: 5.86%)

Payroll                 FY 1996 PP 11                4,455.97     5,827.53 19,196,360.84 19,202,188.37    03/12/1996 03/15/1996      3    9,223.35      505,265.49
Voucher Schedule Date   937802 A/R0996NA011          -2,206.78                                            03/15/1996
Indirect Voucher        937802 A/R0996NA011           -679.25     -2,886.03 19,202,188.37 19,199,302.34   03/15/1996 03/18/1996      3    9,221.96      514,487.45
Voucher Schedule Date   68-W5-0024 9606-010-07       2,756.81                                             03/18/1996
Indirect Voucher        68-W5-0024 9606-010-07         848.55     3,605.36 19,199,302.34 19,202,907.70    03/18/1996 03/25/1996      7   21,521.95      536,009.40
Voucher Schedule Date   68-W9-0059 85               32,281.45                                             03/25/1996
Indirect Travel         T4322209                       153.10    43,214.09 19,202,907.70 19,246,121.79    03/25/1996 03/26/1996      1    3,081.48      539,090.88
Indirect Voucher        68-W9-0059 85                2,665.03                                             03/25/1996
Indirect Voucher        68-W9-0059 85                7,271.20                                             03/25/1996
Travel                  T4322209                       497.40                                             03/25/1996
Travel                  T4321914                       264.50                                             03/25/1996
Indirect Travel         T4321914                        81.41                                             03/25/1996
Indirect                FY 1996 PP 12                1,784.20                                             03/26/1996
Payroll                 FY 1996 PP 12                5,796.61     7,580.81 19,246,121.79 19,253,702.60    03/26/1996 04/04/1996      9   27,744.27      566,835.15
Travel                  T4301767                       311.95       407.97 19,253,702.60 19,254,110.57    04/04/1996 04/09/1996      5   15,413.81      582,248.96
Indirect Travel         T4301767                        96.02                                             04/04/1996
Voucher Schedule Date   940404 147                   9,053.96                                             04/09/1996
Indirect                FY 1996 PP 13                1,657.83                                             04/09/1996
Payroll                 FY 1996 PP 13                5,386.03                                             04/09/1996
Indirect Voucher        940404 147                   1,787.64    18,884.63 19,254,110.57 19,272,995.20    04/09/1996 04/10/1996      1    3,085.79      585,334.75
Indirect Voucher        940404 147                     999.17                                             04/09/1996
Voucher Schedule Date   68-W5-0024 9606-010-09       4,985.66                                             04/10/1996
Voucher Schedule Date   68-W5-0024 9606-026-01         321.70                                             04/10/1996

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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1996 (Annual Rate: 5.86%)

Indirect Voucher        68-W5-0024 9606-010-09       1,534.59    6,940.97 19,272,995.20 19,279,936.17   04/10/1996 04/22/1996     12   37,042.76      622,377.51
Indirect Voucher        68-W5-0024 9606-026-01          99.02                                           04/10/1996
Voucher Schedule Date   68-W9-0059 86R              40,018.05                                           04/22/1996
Indirect Voucher        68-W9-0059 86R                 796.69   52,335.60 19,279,936.17 19,332,271.77   04/22/1996 04/23/1996      1    3,095.28      625,472.79
Indirect Voucher        68-W9-0059 86R               8,917.75                                           04/22/1996
Indirect Voucher        68-W9-0059 86R               2,603.11                                           04/22/1996
Indirect                FY 1996 PP 14                1,640.77                                           04/23/1996
Payroll                 FY 1996 PP 14                5,330.63                                           04/23/1996
Indirect Travel         T4301784                       100.98    7,400.45 19,332,271.77 19,339,672.22   04/23/1996 04/29/1996      6   18,578.77      644,051.56
Travel                  T4301784                       328.07                                           04/23/1996
Travel                  T4321927                       247.50      323.68 19,339,672.22 19,339,995.90   04/29/1996 04/30/1996      1    3,096.51      647,148.07
Indirect Travel         T4321927                        76.18                                           04/29/1996
Indirect Travel         T4321931                       112.67      478.73 19,339,995.90 19,340,474.63   04/30/1996 05/02/1996      2    6,193.18      653,341.25
Travel                  T4321931                       366.06                                           04/30/1996
Indirect Travel         T4302043                        74.95      318.45 19,340,474.63 19,340,793.08   05/02/1996 05/07/1996      5   15,483.20      668,824.45
Travel                  T4302043                       243.50                                           05/02/1996
Indirect                FY 1996 PP 15                1,746.08                                           05/07/1996
Payroll                 FY 1996 PP 15                5,672.76    7,418.84 19,340,793.08 19,348,211.92   05/07/1996 05/08/1996      1    3,097.83      671,922.28
Voucher Schedule Date   940404 0148                  8,858.88                                           05/08/1996
Voucher Schedule Date   68-W5-0024 9606-010-11       2,735.14                                           05/08/1996
Indirect Voucher        68-W5-0024 9606-010-11         841.88   15,162.66 19,348,211.92 19,363,374.58   05/08/1996 05/14/1996      6   18,601.54      690,523.82
Indirect Voucher        940404 0148                  2,726.76                                           05/08/1996
Voucher Schedule Date   68-W9-0059 87               36,134.02                                           05/14/1996

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                                                                             0529
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1996 (Annual Rate: 5.86%)

Indirect Voucher        68-W9-0059 87                5,250.10   47,256.07 19,363,374.58 19,410,630.65   05/14/1996 05/21/1996      7   21,754.76      712,278.58
Indirect Voucher        68-W9-0059 87                5,871.95                                           05/14/1996
Indirect                FY 1996 PP 16                2,311.19                                           05/21/1996
Payroll                 FY 1996 PP 16                7,508.79                                           05/21/1996
Indirect Travel         T4301800                        55.16   10,054.36 19,410,630.65 19,420,685.01   05/21/1996 05/24/1996      3    9,328.30      721,606.88
Travel                  T4301800                       179.22                                           05/21/1996
Travel                  T4302034                       289.35      378.41 19,420,685.01 19,421,063.42   05/24/1996 06/03/1996     10   31,094.93      752,701.81
Indirect Travel         T4302034                        89.06                                           05/24/1996
Indirect Travel         T4336958                        36.71      155.96 19,421,063.42 19,421,219.38   06/03/1996 06/04/1996      1    3,109.52      755,811.33
Travel                  T4336958                       119.25                                           06/03/1996
Indirect                FY 1996 PP 17                2,040.61                                           06/04/1996
Payroll                 FY 1996 PP 17                6,629.70    8,670.31 19,421,219.38 19,429,889.69   06/04/1996 06/07/1996      3    9,332.72      765,144.05
Voucher Schedule Date   940404 0149                  5,320.24                                           06/07/1996
Voucher Schedule Date   68-W5-0024 9606-026-12          10.75                                           06/07/1996
Indirect Voucher        68-W5-0024 9606-026-12           3.31    6,971.87 19,429,889.69 19,436,861.56   06/07/1996 06/17/1996     10   31,120.22      796,264.27
Indirect Voucher        940404 0149                  1,637.57                                           06/07/1996
Indirect Travel         T4321901                       129.66      550.92 19,436,861.56 19,437,412.48   06/17/1996 06/18/1996      1    3,112.11      799,376.38
Travel                  T4321901                       421.26                                           06/17/1996
Indirect                FY 1996 PP 18                1,702.47                                           06/18/1996
Payroll                 FY 1996 PP 18                5,531.06    7,233.53 19,437,412.48 19,444,646.01   06/18/1996 06/21/1996      3    9,339.81      808,716.19
Indirect Travel         T4321933                        74.11      314.89 19,444,646.01 19,444,960.90   06/21/1996 06/24/1996      3    9,339.96      818,056.15
Travel                  T4321933                       240.78                                           06/21/1996
Voucher Schedule Date   68-W9-0059 88               41,006.94                                           06/24/1996

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                                                                             0530
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1996 (Annual Rate: 5.86%)

Voucher Schedule Date   68-W5-0024 9606-026-13          39.48                                           06/24/1996
Indirect Voucher        68-W5-0024 9606-026-13          12.15   53,680.51 19,444,960.90 19,498,641.41   06/24/1996 06/27/1996      3    9,365.74      827,421.89
Indirect Voucher        68-W9-0059 88                6,656.68                                           06/24/1996
Indirect Voucher        68-W9-0059 88                5,965.26                                           06/24/1996
Indirect Travel         T4183486                       153.63      652.74 19,498,641.41 19,499,294.15   06/27/1996 07/02/1996      5   15,610.09      843,031.98
Travel                  T4183486                       499.11                                           06/27/1996
Indirect                FY 1996 PP 19                1,259.32                                           07/02/1996
Payroll                 FY 1996 PP 19                4,091.33                                           07/02/1996
Indirect Travel         T4336860                        36.51    5,505.76 19,499,294.15 19,504,799.91   07/02/1996 07/12/1996     10   31,229.00      874,260.98
Travel                  T4336860                       118.60                                           07/02/1996
Voucher Schedule Date   940404 0150                 18,121.84                                           07/12/1996
Voucher Schedule Date   68-W5-0024 9606-026-14         248.57                                           07/12/1996
Indirect Voucher        68-W5-0024 9606-026-14          76.51   24,024.82 19,504,799.91 19,528,824.73   07/12/1996 07/16/1996      4   12,506.99      886,767.97
Indirect Voucher        940404 0150                  5,577.90                                           07/12/1996
Indirect                FY 1996 PP 20                1,632.36                                           07/16/1996
Payroll                 FY 1996 PP 20                5,303.32    6,935.68 19,528,824.73 19,535,760.41   07/16/1996 07/17/1996      1    3,127.86      889,895.83
Voucher Schedule Date   68-W9-0059 89               19,971.77                                           07/17/1996
Indirect Voucher        68-W9-0059 89                1,968.07   26,119.08 19,535,760.41 19,561,879.49   07/17/1996 07/19/1996      2    6,264.08      896,159.91
Indirect Voucher        68-W9-0059 89                4,179.24                                           07/17/1996
Indirect Travel         T4340972                       195.66      831.32 19,561,879.49 19,562,710.81   07/19/1996 07/23/1996      4   12,528.69      908,688.60
Travel                  T4340972                       635.66                                           07/19/1996
Voucher Schedule Date   68-W5-0024 9606-010-15          12.07                                           07/23/1996
Indirect Voucher        68-W5-0024 9606-010-15           3.72       15.79 19,562,710.81 19,562,726.60   07/23/1996 07/25/1996      2    6,264.35      914,952.95

                                                                           Exhibit 4-A
                                                                             0531
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                                                                   #:7339
                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic       Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest         Interest

   Fiscal Year 1996 (Annual Rate: 5.86%)

Indirect Travel         T4215085                       247.93    1,053.43 19,562,726.60 19,563,780.03   07/25/1996 07/30/1996      5   15,661.71      930,614.66
Travel                  T4215085                       805.50                                           07/25/1996
Indirect                FY 1996 PP 21                1,004.92                                           07/30/1996
Payroll                 FY 1996 PP 21                3,264.86    4,269.78 19,563,780.03 19,568,049.81   07/30/1996 08/07/1996      8   25,064.21      955,678.87
Travel                  T4340900                       917.66    1,200.12 19,568,049.81 19,569,249.93   08/07/1996 08/12/1996      5   15,666.09      971,344.96
Indirect Travel         T4340900                       282.46                                           08/07/1996
Voucher Schedule Date   68-W5-0024 9606-026-16         139.75                                           08/12/1996
Indirect Voucher        68-W5-0024 9606-026-16          43.02      182.77 19,569,249.93 19,569,432.70   08/12/1996 08/13/1996      1    3,133.25      974,478.21
Voucher Schedule Date   68-W5-0024 606-010-13R       1,418.78                                           08/13/1996
Voucher Schedule Date   68-W5-0024 9606-010-17          12.07                                           08/13/1996
Indirect                FY 1996 PP 22                  753.95                                           08/13/1996
Payroll                 FY 1996 PP 22                2,449.48                                           08/13/1996
Indirect Voucher        68-W5-0024 606-010-13R         436.70    5,074.70 19,569,432.70 19,574,507.40   08/13/1996 08/22/1996      9   28,206.54     1,002,684.75
Indirect Voucher        68-W5-0024 9606-010-17           3.72                                           08/13/1996
Travel                  T4057969                       411.47      538.12 19,574,507.40 19,575,045.52   08/22/1996 08/23/1996      1    3,134.15     1,005,818.90
Indirect Travel         T4057969                       126.65                                           08/22/1996
Voucher Schedule Date   68-W9-0059 90               28,568.09                                           08/23/1996
Indirect Voucher        68-W9-0059 90                7,638.77   37,361.35 19,575,045.52 19,612,406.87   08/23/1996 08/27/1996      4   12,560.51     1,018,379.41
Indirect Voucher        68-W9-0059 90                1,154.49                                           08/23/1996
Indirect                FY 1996 PP 23                  890.62                                           08/27/1996
Payroll                 FY 1996 PP 23                2,893.52    3,784.14 19,612,406.87 19,616,191.01   08/27/1996 08/29/1996      2    6,281.47     1,024,660.88
Voucher Schedule Date   68-W5-0024 9606-026-17          29.61                                           08/29/1996
Indirect Voucher        68-W5-0024 9606-026-17           9.11       38.72 19,616,191.01 19,616,229.73   08/29/1996 09/10/1996     12   37,688.89     1,062,349.77

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                                                                             0532
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                                                                    #:7340
                                                                        Detailed Interest Cost
                                                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                   Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                          CRP# 110926, 101445 & 238
                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                     Cost Per        Cost Per                    Cumulative   Date of      Interest             Periodic       Cumulative
Cost Category             Cost Reference              Item            Date      Prior Balance      Total    Recognition    Through    Days      Interest         Interest

   Fiscal Year 1996 (Annual Rate: 5.86%)

Indirect                  FY 1996 PP 24                 1,284.36                                              09/10/1996
Payroll                   FY 1996 PP 24                 4,172.71      5,457.07 19,616,229.73 19,621,686.80    09/10/1996 09/13/1996      3       9,424.84     1,071,774.61
Voucher Schedule Date     68-W9-0059 91               25,023.00                                               09/13/1996
Indirect Voucher          68-W9-0059 91                 6,587.44     32,725.08 19,621,686.80 19,654,411.88    09/13/1996 09/17/1996      4     12,587.42      1,084,362.03
Indirect Voucher          68-W9-0059 91                 1,114.64                                              09/13/1996
Indirect Travel           T4337110                       160.72         682.87 19,654,411.88 19,655,094.75    09/17/1996 09/19/1996      2       6,293.93     1,090,655.96
Travel                    T4337110                       522.15                                               09/17/1996
Indirect Travel           T4340888                       427.53       1,816.52 19,655,094.75 19,656,911.27    09/19/1996 09/24/1996      5     15,736.27      1,106,392.23
Travel                    T4340888                      1,388.99                                              09/19/1996
Voucher Schedule Date     68-W5-0024 9606-026-18         107.50                                               09/24/1996
Indirect                  FY 1996 PP 25                  710.48                                               09/24/1996
Payroll                   FY 1996 PP 25                 2,308.26                                              09/24/1996
Indirect Voucher          68-W5-0024 9606-026-18          33.09       3,159.33 19,656,911.27 19,660,070.60    09/24/1996 09/26/1996      2       6,295.52     1,112,687.75
Voucher Schedule Date     940404 0151                 27,175.49                                               09/26/1996
Indirect Voucher          940404 0151                   8,364.62     35,540.11 19,660,070.60 19,695,610.71    09/26/1996 09/27/1996      1       3,153.45     1,115,841.20
Voucher Schedule Date     68-W5-0024 9606-010-19         391.37                                               09/27/1996
Indirect Voucher          68-W5-0024 9606-010-19         120.46         511.83 19,695,610.71 19,696,122.54    09/27/1996 10/01/1996      4     12,614.13      1,128,455.33

   Totals for Fiscal Year 1996                       895,435.89                                                                              1,128,455.33     3,987,766.35


   Fiscal Year 1997 (Annual Rate: 5.69%)

Prior FY Interest                                   1,128,455.33   1,128,455.33 19,696,122.54 20,824,577.87   10/01/1996 10/08/1996      7     22,724.46        22,724.46
Indirect                  FY 1996 PP 26                  723.82                                               10/08/1996
Payroll                   FY 1996 PP 26                 2,351.60                                              10/08/1996
                                                                                 Exhibit 4-A
                                                                                   0533
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1997 (Annual Rate: 5.69%)

Travel                  T4337154                       478.31    3,728.98 20,824,577.87 20,828,306.85   10/08/1996 10/10/1996      2    6,493.87    29,218.33
Indirect Travel         T4337154                       175.25                                           10/08/1996
Indirect                FY 1996 PP 27                  103.03                                           10/10/1996
Payroll                 FY 1996 PP 27                  334.72      437.75 20,828,306.85 20,828,744.60   10/10/1996 10/17/1996      7   22,729.01    51,947.34
Voucher Schedule Date   68-W5-0024 9606-010-21          12.07                                           10/17/1996
Indirect Voucher        68-W5-0024 9606-010-21           4.42       16.49 20,828,744.60 20,828,761.09   10/17/1996 10/22/1996      5   16,235.02    68,182.36
Indirect                FY 1997 PP 01                  824.93                                           10/22/1996
Payroll                 FY 1997 PP 01                2,251.46    3,076.39 20,828,761.09 20,831,837.48   10/22/1996 10/24/1996      2    6,494.97    74,677.33
Voucher Schedule Date   68-W9-0059 92               67,221.48                                           10/24/1996
Indirect Travel         T4373546                       338.55   94,376.49 20,831,837.48 20,926,213.97   10/24/1996 10/28/1996      4   13,048.78    87,726.11
Indirect Voucher        68-W9-0059 92                1,434.95                                           10/24/1996
Indirect Voucher        68-W9-0059 92               11,131.03                                           10/24/1996
Travel                  T4373546                     1,847.96                                           10/24/1996
Indirect Voucher        68-W9-0059 92               12,063.97                                           10/24/1996
Indirect Travel         T4373546                       338.55                                           10/24/1996
Voucher Schedule Date   940405 0152                 13,889.42                                           10/28/1996
Voucher Schedule Date   68-W9-0059 93-Z             26,071.30                                           10/28/1996
Indirect Voucher        68-W9-0059 93-Z              6,356.26   54,602.33 20,926,213.97 20,980,816.30   10/28/1996 10/30/1996      2    6,541.42    94,267.53
Indirect Voucher        68-W9-0059 93-Z              3,196.26                                           10/28/1996
Indirect Voucher        940405 0152                    168.70                                           10/28/1996
Indirect Voucher        940405 0152                  4,920.39                                           10/28/1996
Travel                  T9313998                       424.93      580.62 20,980,816.30 20,981,396.92   10/30/1996 11/05/1996      6   19,624.79   113,892.32
Indirect Travel         T9313998                       155.69                                           10/30/1996

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                                                                             0534
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1997 (Annual Rate: 5.69%)

Indirect                FY 1997 PP 02                1,395.28                                           11/05/1996
Payroll                 FY 1997 PP 02                3,808.10    5,203.38 20,981,396.92 20,986,600.30   11/05/1996 11/13/1996      8   26,172.88   140,065.20
Voucher Schedule Date   68-W5-0024 9606-010-23          70.88                                           11/13/1996
Indirect Voucher        68-W5-0024 9606-010-23          25.97       96.85 20,986,600.30 20,986,697.15   11/13/1996 11/14/1996      1    3,271.62   143,336.82
Indirect Travel         T4340887                        79.57      296.74 20,986,697.15 20,986,993.89   11/14/1996 11/19/1996      5   16,358.36   159,695.18
Travel                  T4340887                       217.17                                           11/14/1996
Indirect                FY 1997 PP 03                1,021.06                                           11/19/1996
Payroll                 FY 1997 PP 03                2,786.75    3,807.81 20,986,993.89 20,990,801.70   11/19/1996 11/21/1996      2    6,544.53   166,239.71
Travel                  T4297783                       179.08      244.69 20,990,801.70 20,991,046.39   11/21/1996 11/22/1996      1    3,272.30   169,512.01
Indirect Travel         T4297783                        65.61                                           11/21/1996
Voucher Schedule Date   940405 0153                 10,893.83                                           11/22/1996
Indirect Voucher        940405 0153                  3,991.50   14,885.33 20,991,046.39 21,005,931.72   11/22/1996 11/25/1996      3    9,823.87   179,335.88
Voucher Schedule Date   68-W9-0059 94               59,875.24                                           11/25/1996
Voucher Schedule Date   68-D1-0135 130                 631.49                                           11/25/1996
Indirect Voucher        68-D1-0135 130                 231.38   82,676.39 21,005,931.72 21,088,608.11   11/25/1996 12/03/1996      8   26,300.09   205,635.97
Indirect Voucher        68-W9-0059 94               13,239.38                                           11/25/1996
Indirect Voucher        68-W9-0059 94                8,698.90                                           11/25/1996
Indirect                FY 1997 PP 04                  654.98                                           12/03/1996
Payroll                 FY 1997 PP 04                1,787.61    2,442.59 21,088,608.11 21,091,050.70   12/03/1996 12/10/1996      7   23,015.25   228,651.22
Voucher Schedule Date   68-W9-0031 105                -682.79                                           12/10/1996
Voucher Schedule Date   68-W9-0031 104               2,539.79                                           12/10/1996
Indirect Travel         T4340887                        74.75    2,816.15 21,091,050.70 21,093,866.85   12/10/1996 12/11/1996      1    3,288.33   231,939.55
Indirect Voucher        68-W9-0031 104                 128.38                                           12/10/1996

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                                                                             0535
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1997 (Annual Rate: 5.69%)

Indirect Voucher        68-W9-0031 104                 802.20                                           12/10/1996
Indirect Voucher        68-W9-0031 105                 -27.55                                           12/10/1996
Indirect Voucher        68-W9-0031 105                -222.63                                           12/10/1996
Travel                  T4340887                       204.00                                           12/10/1996
Voucher Schedule Date   68-W5-0024 9710-110-02         430.08                                           12/11/1996
Voucher Schedule Date   68-W5-0024 9710-126-02          99.63                                           12/11/1996
Indirect Voucher        68-W5-0024 9710-126-02          36.50      723.79 21,093,866.85 21,094,590.64   12/11/1996 12/17/1996      6   19,730.67   251,670.22
Indirect Voucher        68-W5-0024 9710-110-02         157.58                                           12/11/1996
Voucher Schedule Date   68-W9-0059 95               28,383.35                                           12/17/1996
Indirect                FY 1997 PP 05                  926.26                                           12/17/1996
Payroll                 FY 1997 PP 05                2,527.98                                           12/17/1996
Indirect Voucher        68-W9-0059 95                3,379.42   42,237.25 21,094,590.64 21,136,827.89   12/17/1996 12/19/1996      2    6,590.06   258,260.28
Indirect Voucher        68-W9-0059 95                7,020.24                                           12/17/1996
Indirect Travel         T4298157                     1,057.34    6,560.82 21,136,827.89 21,143,388.71   12/19/1996 12/26/1996      7   23,072.36   281,332.64
Travel                  T4373521                     1,915.78                                           12/19/1996
Travel                  T4298157                     2,885.76                                           12/19/1996
Indirect Travel         T4373521                       701.94                                           12/19/1996
Voucher Schedule Date   68-D1-0135 132               1,578.66                                           12/26/1996
Indirect Voucher        68-D1-0135 132                 578.42    2,157.08 21,143,388.71 21,145,545.79   12/26/1996 12/31/1996      5   16,481.94   297,814.58
Voucher Schedule Date   940405 0154                  5,487.95                                           12/31/1996
Indirect                FY 1997 PP 06                  998.46                                           12/31/1996
Payroll                 FY 1997 PP 06                2,725.07                                           12/31/1996
Indirect Voucher        940405 0154                  2,010.78   11,222.26 21,145,545.79 21,156,768.05   12/31/1996 01/13/1997     13   42,875.78   340,690.36

                                                                           Exhibit 4-A
                                                                             0536
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1997 (Annual Rate: 5.69%)

Voucher Schedule Date   68-W5-0024 9710-110-04         505.32                                           01/13/1997
Indirect Voucher        68-W5-0024 9710-110-04         185.15      690.47 21,156,768.05 21,157,458.52   01/13/1997 01/14/1997      1    3,298.24   343,988.60
Indirect                FY 1997 PP 07                  813.54                                           01/14/1997
Payroll                 FY 1997 PP 07                2,220.37    3,033.91 21,157,458.52 21,160,492.43   01/14/1997 01/15/1997      1    3,298.72   347,287.32
Voucher Schedule Date   68-W9-0031 108                 -58.64                                           01/15/1997
Indirect Voucher        68-W9-0031 108                 -21.46      -80.12 21,160,492.43 21,160,412.31   01/15/1997 01/16/1997      1    3,298.71   350,586.03
Indirect Voucher        68-W9-0031 108                  -0.02                                           01/15/1997
Voucher Schedule Date   68-W9-0031 107                   1.18                                           01/16/1997
Voucher Schedule Date   940405 0155                  6,541.26                                           01/16/1997
Voucher Schedule Date   940404 155                     630.11                                           01/16/1997
Indirect Voucher        68-W9-0031 107                   0.43    9,800.57 21,160,412.31 21,170,212.88   01/16/1997 01/24/1997      8   26,401.87   376,987.90
Indirect Voucher        940404 155                     230.87                                           01/16/1997
Indirect Voucher        940405 0155                  2,396.72                                           01/16/1997
Voucher Schedule Date   68-W9-0059 96               40,460.54                                           01/24/1997
Indirect Voucher        68-W9-0059 96               12,550.00   55,285.28 21,170,212.88 21,225,498.16   01/24/1997 01/28/1997      4   13,235.41   390,223.31
Indirect Voucher        68-W9-0059 96                2,274.74                                           01/24/1997
Indirect                FY 1997 PP 08                  878.90                                           01/28/1997
Payroll                 FY 1997 PP 08                2,398.78    3,277.68 21,225,498.16 21,228,775.84   01/28/1997 01/29/1997      1    3,309.36   393,532.67
Voucher Schedule Date   68-W5-0024 9710-126-05          21.73                                           01/29/1997
Indirect Voucher        68-W5-0024 9710-126-05           7.96       29.69 21,228,775.84 21,228,805.53   01/29/1997 02/11/1997     13   43,021.77   436,554.44
Indirect                FY 1997 PP 09                  716.33                                           02/11/1997
Payroll                 FY 1997 PP 09                1,955.03                                           02/11/1997
Travel                  T4324189                        92.37    2,797.57 21,228,805.53 21,231,603.10   02/11/1997 02/13/1997      2    6,619.61   443,174.05

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                                                                             0537
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1997 (Annual Rate: 5.69%)

Indirect Travel         T4324189                        33.84                                           02/11/1997
Voucher Schedule Date   68-W5-0024 9710-110-06       2,445.04                                           02/13/1997
Indirect Voucher        68-W5-0024 9710-110-06         895.86    3,340.90 21,231,603.10 21,234,944.00   02/13/1997 02/19/1997      6   19,861.94   463,035.99
Voucher Schedule Date   68-W9-0059 97               25,024.80                                           02/19/1997
Indirect Voucher        68-W9-0059 97                7,976.87   34,193.89 21,234,944.00 21,269,137.89   02/19/1997 02/21/1997      2    6,631.31   469,667.30
Indirect Voucher        68-W9-0059 97                1,192.22                                           02/19/1997
Voucher Schedule Date   940405 0157                  4,133.20                                           02/21/1997
Indirect Voucher        940405 0157                  1,514.40    5,647.60 21,269,137.89 21,274,785.49   02/21/1997 02/25/1997      4   13,266.14   482,933.44
Indirect                FY 1997 PP 10                  903.36                                           02/25/1997
Payroll                 FY 1997 PP 10                2,465.52    3,368.88 21,274,785.49 21,278,154.37   02/25/1997 02/26/1997      1    3,317.06   486,250.50
Travel                  T4369430                     3,354.10    4,583.04 21,278,154.37 21,282,737.41   02/26/1997 03/11/1997     13   43,131.07   529,381.57
Indirect Travel         T4369430                     1,228.94                                           02/26/1997
Indirect                FY 1997 PP 11                  955.07                                           03/11/1997
Payroll                 FY 1997 PP 11                2,606.61                                           03/11/1997
Travel                  T4352425                     1,991.36    6,282.67 21,282,737.41 21,289,020.08   03/11/1997 03/12/1997      1    3,318.75   532,700.32
Indirect Travel         T4352425                       729.63                                           03/11/1997
Voucher Schedule Date   68-W5-0024 9710-110-08         261.34                                           03/12/1997
Indirect Voucher        68-W5-0024 9710-110-08          95.75      357.09 21,289,020.08 21,289,377.17   03/12/1997 03/25/1997     13   43,144.53   575,844.85
Indirect                FY 1997 PP 12                  913.25                                           03/25/1997
Payroll                 FY 1997 PP 12                2,492.51    3,405.76 21,289,377.17 21,292,782.93   03/25/1997 04/04/1997     10   33,193.41   609,038.26
Voucher Schedule Date   940405 0159                 14,453.34                                           04/04/1997
Indirect Voucher        940405 0159                  5,295.70   19,749.04 21,292,782.93 21,312,531.97   04/04/1997 04/08/1997      4   13,289.68   622,327.94
Voucher Schedule Date   68-W9-0059 98               14,909.80                                           04/08/1997

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                                                                             0538
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                                                                   #:7346
                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1997 (Annual Rate: 5.69%)

Voucher Schedule Date   68-W9-0059 99-Z             63,809.66                                            04/08/1997
Voucher Schedule Date   68-W5-0024 9710-110-10         168.39                                            04/08/1997
Indirect                FY 1997 PP 13                1,110.33                                            04/08/1997
Payroll                 FY 1997 PP 13                3,030.38                                            04/08/1997
Indirect Voucher        68-W5-0024 9710-110-10          61.70   111,933.08 21,312,531.97 21,424,465.05   04/08/1997 04/11/1997      3   10,019.61   632,347.55
Indirect Voucher        68-W9-0059 98                  164.24                                            04/08/1997
Indirect Voucher        68-W9-0059 98                5,298.72                                            04/08/1997
Indirect Voucher        68-W9-0059 99-Z              6,513.27                                            04/08/1997
Indirect Voucher        68-W9-0059 99-Z             16,866.59                                            04/08/1997
Indirect Travel         T4360860                       991.03    3,695.81 21,424,465.05 21,428,160.86    04/11/1997 04/14/1997      3   10,021.33   642,368.88
Travel                  T4360860                     2,704.78                                            04/11/1997
Travel                  T4375517                     2,925.44    3,997.32 21,428,160.86 21,432,158.18    04/14/1997 04/22/1997      8   26,728.54   669,097.42
Indirect Travel         T4375517                     1,071.88                                            04/14/1997
Indirect                FY 1997 PP 14                  986.43                                            04/22/1997
Payroll                 FY 1997 PP 14                2,692.22    3,678.65 21,432,158.18 21,435,836.83    04/22/1997 04/28/1997      6   20,049.85   689,147.27
Voucher Schedule Date   68-W9-0059 100              22,844.83                                            04/28/1997
Voucher Schedule Date   68-W9-0060 104R               -335.39                                            04/28/1997
Indirect Voucher        68-W9-0059 100               8,182.30   30,756.90 21,435,836.83 21,466,593.73    04/28/1997 05/01/1997      3   10,039.31   699,186.58
Indirect Voucher        68-W9-0059 100                 188.05                                            04/28/1997
Indirect Voucher        68-W9-0060 104R               -122.89                                            04/28/1997
Voucher Schedule Date   DW96955310 B03970114        13,465.52                                            05/01/1997
Indirect Voucher        DW96955310 B03970114         4,933.77   18,399.29 21,466,593.73 21,484,993.02    05/01/1997 05/06/1997      5   16,746.52   715,933.10
Indirect                FY 1997 PP 15                1,037.11                                            05/06/1997

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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1997 (Annual Rate: 5.69%)

Payroll                 FY 1997 PP 15                2,830.55    3,867.66 21,484,993.02 21,488,860.68   05/06/1997 05/09/1997      3   10,049.72   725,982.82
Voucher Schedule Date   DW96955310 B041970117       14,668.33                                           05/09/1997
Indirect Voucher        DW96955310 B041970117        5,374.48   20,042.81 21,488,860.68 21,508,903.49   05/09/1997 05/12/1997      3   10,059.10   736,041.92
Voucher Schedule Date   68-W5-0024 9710-126-12           9.84                                           05/12/1997
Indirect Voucher        68-W5-0024 9710-126-12           3.61       13.45 21,508,903.49 21,508,916.94   05/12/1997 05/19/1997      7   23,471.24   759,513.16
Voucher Schedule Date   DW96955310 B02970126        19,134.33                                           05/19/1997
Indirect Voucher        DW96955310 B02970126         4,347.76   26,145.15 21,508,916.94 21,535,062.09   05/19/1997 05/20/1997      1    3,357.11   762,870.27
Indirect Voucher        DW96955310 B02970126         2,663.06                                           05/19/1997
Indirect                FY 1997 PP 16                1,353.29                                           05/20/1997
Payroll                 FY 1997 PP 16                3,693.48    5,046.77 21,535,062.09 21,540,108.86   05/20/1997 05/21/1997      1    3,357.90   766,228.17
Voucher Schedule Date   68-W9-0059 101              24,319.71                                           05/21/1997
Indirect Voucher        68-W9-0059 101               8,861.75   33,230.45 21,540,108.86 21,573,339.31   05/21/1997 05/27/1997      6   20,178.46   786,406.63
Indirect Voucher        68-W9-0059 101                  48.99                                           05/21/1997
Voucher Schedule Date   DW96955310 B05970131        17,361.64                                           05/27/1997
Indirect Voucher        DW96955310 B05970131         6,361.30   23,722.94 21,573,339.31 21,597,062.25   05/27/1997 06/03/1997      7   23,567.42   809,974.05
Indirect                FY 1997 PP 17                1,117.71                                           06/03/1997
Payroll                 FY 1997 PP 17                3,050.53    4,168.24 21,597,062.25 21,601,230.49   06/03/1997 06/06/1997      3   10,102.27   820,076.32
Voucher Schedule Date   DW96955310 B06970139        13,955.12                                           06/06/1997
Voucher Schedule Date   DW96955310 B07970129        19,881.46                                           06/06/1997
Indirect Voucher        DW96955310 B06970139         5,113.16   46,234.31 21,601,230.49 21,647,464.80   06/06/1997 06/17/1997     11   37,120.95   857,197.27
Indirect Voucher        DW96955310 B07970129         6,766.09                                           06/06/1997
Indirect Voucher        DW96955310 B07970129           518.48                                           06/06/1997
Voucher Schedule Date   68-W9-0059 102              15,861.63                                           06/17/1997

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                                                                             0540
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1997 (Annual Rate: 5.69%)

Indirect                FY 1997 PP 18                  808.29                                           06/17/1997
Payroll                 FY 1997 PP 18                2,206.04                                           06/17/1997
Indirect Voucher        68-W9-0059 102                  71.09   24,687.66 21,647,464.80 21,672,152.46   06/17/1997 06/19/1997      2    6,756.96   863,954.23
Indirect Voucher        68-W9-0059 102               5,740.61                                           06/17/1997
Voucher Schedule Date   68-W5-0024 9710-126-15         376.38                                           06/19/1997
Indirect Voucher        68-W5-0024 9710-126-15         137.91      514.29 21,672,152.46 21,672,666.75   06/19/1997 06/20/1997      1    3,378.56   867,332.79
Voucher Schedule Date   68-W5-0024 9710-110-15         384.99                                           06/20/1997
Indirect Voucher        68-W5-0024 9710-110-15         141.06      526.05 21,672,666.75 21,673,192.80   06/20/1997 06/30/1997     10   33,786.43   901,119.22
Voucher Schedule Date   68-W5-0024 9710-126-16         458.43                                           06/30/1997
Indirect Voucher        68-W5-0024 9710-126-16         167.97      626.40 21,673,192.80 21,673,819.20   06/30/1997 07/01/1997      1    3,378.74   904,497.96
Indirect                FY 1997 PP 19                1,003.52                                           07/01/1997
Payroll                 FY 1997 PP 19                2,738.88    3,742.40 21,673,819.20 21,677,561.60   07/01/1997 07/09/1997      8   27,034.59   931,532.55
Indirect Travel         T4434237                       974.78    7,931.17 21,677,561.60 21,685,492.77   07/09/1997 07/11/1997      2    6,761.12   938,293.67
Indirect Travel         T4427178                     1,151.96                                           07/09/1997
Travel                  T4434237                     2,660.43                                           07/09/1997
Travel                  T4427178                     3,144.00                                           07/09/1997
Voucher Schedule Date   68-W5-0024 9710-126-17       1,306.08                                           07/11/1997
Voucher Schedule Date   68-W5-0024 9710-110-17         957.06                                           07/11/1997
Indirect Voucher        68-W5-0024 9710-110-17         350.67    3,092.36 21,685,492.77 21,688,585.13   07/11/1997 07/15/1997      4   13,524.17   951,817.84
Indirect Voucher        68-W5-0024 9710-126-17         478.55                                           07/11/1997
Indirect                FY 1997 PP 20                  717.77                                           07/15/1997
Payroll                 FY 1997 PP 20                1,958.98    2,676.75 21,688,585.13 21,691,261.88   07/15/1997 07/16/1997      1    3,381.46   955,199.30
Voucher Schedule Date   68-W9-0059 103              17,474.11                                           07/16/1997

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                                                                             0541
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 1997 (Annual Rate: 5.69%)

Indirect Voucher        68-W9-0059 103                  95.53   23,876.62 21,691,261.88 21,715,138.50   07/16/1997 07/22/1997      6   20,311.09    975,510.39
Indirect Voucher        68-W9-0059 103               6,306.98                                           07/16/1997
Indirect Travel         T4433781                       966.69    3,605.03 21,715,138.50 21,718,743.53   07/22/1997 07/24/1997      2    6,771.49    982,281.88
Travel                  T4433781                     2,638.34                                           07/22/1997
Voucher Schedule Date   DW96955310 B08970139        19,467.27                                           07/24/1997
Indirect Voucher        DW96955310 B08970139           561.91   26,600.08 21,718,743.53 21,745,343.61   07/24/1997 07/29/1997      5   16,949.45    999,231.33
Indirect Voucher        DW96955310 B08970139         6,570.90                                           07/24/1997
Indirect                FY 1997 PP 21                1,454.54                                           07/29/1997
Payroll                 FY 1997 PP 21                3,969.81    5,424.35 21,745,343.61 21,750,767.96   07/29/1997 08/08/1997     10   33,907.36   1,033,138.69
Travel                  T9316638                       569.65      778.36 21,750,767.96 21,751,546.32   08/08/1997 08/11/1997      3   10,172.57   1,043,311.26
Indirect Travel         T9316638                       208.71                                           08/08/1997
Voucher Schedule Date   68-W5-0024 9710-110-19         276.63                                           08/11/1997
Voucher Schedule Date   68-W5-0024 9710-126-19          88.56                                           08/11/1997
Indirect Voucher        68-W5-0024 9710-126-19          32.45      499.00 21,751,546.32 21,752,045.32   08/11/1997 08/12/1997      1    3,390.94   1,046,702.20
Indirect Voucher        68-W5-0024 9710-110-19         101.36                                           08/11/1997
Indirect                FY 1997 PP 22                  860.14                                           08/12/1997
Payroll                 FY 1997 PP 22                2,347.55    3,207.69 21,752,045.32 21,755,253.01   08/12/1997 08/13/1997      1    3,391.44   1,050,093.64
Voucher Schedule Date   68-W9-0059 104              13,934.78                                           08/13/1997
Indirect Voucher        68-W9-0059 104                 444.77   19,040.49 21,755,253.01 21,774,293.50   08/13/1997 08/25/1997     12   40,732.84   1,090,826.48
Indirect Voucher        68-W9-0059 104               3,195.15                                           08/13/1997
Indirect Voucher        68-W9-0059 104               1,465.79                                           08/13/1997
Travel                  T4433769                     3,591.84    4,907.89 21,774,293.50 21,779,201.39   08/25/1997 08/26/1997      1    3,395.17   1,094,221.65
Indirect Travel         T4433769                     1,316.05                                           08/25/1997

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                                                                             0542
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                                                                      Detailed Interest Cost
                                                         MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                                          CRP# 110926, 101445 & 238
                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                     Cost Per      Cost Per                   Cumulative   Date of      Interest             Periodic     Cumulative
Cost Category             Cost Reference              Item          Date      Prior Balance     Total    Recognition    Through    Days      Interest       Interest

   Fiscal Year 1997 (Annual Rate: 5.69%)

Indirect                  FY 1997 PP 23                  896.67                                            08/26/1997
Payroll                   FY 1997 PP 23                 2,447.26    3,343.93 21,779,201.39 21,782,545.32   08/26/1997 08/29/1997      3     10,187.07    1,104,408.72
Travel                    T4375517                        85.00       116.14 21,782,545.32 21,782,661.46   08/29/1997 09/09/1997     11     37,352.79    1,141,761.51
Indirect Travel           T4375517                        31.14                                            08/29/1997
Indirect                  FY 1997 PP 24                  909.75                                            09/09/1997
Payroll                   FY 1997 PP 24                 2,482.92    3,392.67 21,782,661.46 21,786,054.13   09/09/1997 09/10/1997      1       3,396.24   1,145,157.75
Voucher Schedule Date     68-W5-0024 9710-110-21         245.40                                            09/10/1997
Indirect Voucher          68-W5-0024 9710-110-21          89.91       468.46 21,786,054.13 21,786,522.59   09/10/1997 09/17/1997      7     23,774.17    1,168,931.92
Indirect Travel           T4413914                        35.70                                            09/10/1997
Travel                    T4413914                        97.45                                            09/10/1997
Voucher Schedule Date     68-W9-0059 105              14,105.30                                            09/17/1997
Voucher Schedule Date     68-W9-0059 106-Z             -5,023.54                                           09/17/1997
Indirect Voucher          68-W9-0059 105                5,080.64   12,409.32 21,786,522.59 21,798,931.91   09/17/1997 09/23/1997      6     20,389.47    1,189,321.39
Indirect Voucher          68-W9-0059 105                  87.54                                            09/17/1997
Indirect Voucher          68-W9-0059 106-Z               -461.21                                           09/17/1997
Indirect Voucher          68-W9-0059 106-Z             -1,379.41                                           09/17/1997
Indirect                  FY 1997 PP 25                  741.46                                            09/23/1997
Payroll                   FY 1997 PP 25                 2,023.63    2,765.09 21,798,931.91 21,801,697.00   09/23/1997 09/24/1997      1       3,398.68   1,192,720.07
Indirect Travel           T4433770                       974.96     3,635.89 21,801,697.00 21,805,332.89   09/24/1997 09/30/1997      6     20,395.45    1,213,115.52
Travel                    T4433770                      2,660.93                                           09/24/1997
Voucher Schedule Date     ATSDR                       62,275.67    62,275.67 21,805,332.89 21,867,608.56   09/30/1997 10/01/1997      1       3,408.95   1,216,524.47

   Totals for Fiscal Year 1997                      1,043,030.69                                                                          1,216,524.47   5,204,290.82


                                                                              Exhibit 4-A
                                                                                0543
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                                                                      Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per        Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item            Date      Prior Balance      Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1998 (Annual Rate: 5.61%)

Prior FY Interest                                 1,216,524.47   1,216,524.47 21,867,608.56 23,084,133.03   10/01/1997 10/07/1997      6   21,288.00    21,288.00
Indirect                FY 1997 PP 26                  775.20                                               10/07/1997
Payroll                 FY 1997 PP 26                 2,115.72      2,890.92 23,084,133.03 23,087,023.95    10/07/1997 10/14/1997      7   24,839.11    46,127.11
Voucher Schedule Date   68-W5-0024 9710-110-23         791.42                                               10/14/1997
Indirect Voucher        68-W5-0024 9710-110-23         323.30       1,114.72 23,087,023.95 23,088,138.67    10/14/1997 10/16/1997      2    7,097.23    53,224.34
Voucher Schedule Date   68-W9-0059 107              27,408.74                                               10/16/1997
Indirect Voucher        68-W9-0059 107                 134.64      38,605.21 23,088,138.67 23,126,743.88    10/16/1997 10/21/1997      5   17,772.74    70,997.08
Indirect Voucher        68-W9-0059 107               11,061.83                                              10/16/1997
Indirect                FY 1998 PP 01                 1,496.96                                              10/21/1997
Indirect                FY 1997 PP 27                  247.35                                               10/21/1997
Payroll                 FY 1998 PP 01                 3,664.54      6,083.95 23,126,743.88 23,132,827.83    10/21/1997 10/23/1997      2    7,110.97    78,108.05
Payroll                 FY 1997 PP 27                  675.10                                               10/21/1997
Voucher Schedule Date   940406 0166                   8,490.94                                              10/23/1997
Indirect Travel         T4433769                          8.58     11,989.07 23,132,827.83 23,144,816.90    10/23/1997 11/04/1997     12   42,687.92   120,795.97
Indirect Voucher        940406 0166                   3,468.55                                              10/23/1997
Travel                  T4433769                        21.00                                               10/23/1997
Voucher Schedule Date   DW96955310 B09970126        18,091.65                                               11/04/1997
Indirect                FY 1998 PP 02                 1,061.97                                              11/04/1997
Payroll                 FY 1998 PP 02                 2,599.66                                              11/04/1997
Indirect Voucher        DW96955310 B09970126          7,390.44     29,143.72 23,144,816.90 23,173,960.62    11/04/1997 11/05/1997      1    3,561.81   124,357.78
Indirect Travel         T4427903                      1,439.15      4,962.16 23,173,960.62 23,178,922.78    11/05/1997 11/10/1997      5   17,812.84   142,170.62
Travel                  T4427903                      3,523.01                                              11/05/1997
Voucher Schedule Date   940406 0167                   5,004.81                                              11/10/1997

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                                                                                 0544
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1998 (Annual Rate: 5.61%)

Indirect Voucher        940406 0167                  2,044.46    7,049.27 23,178,922.78 23,185,972.05   11/10/1997 11/12/1997      2    7,127.30   149,297.92
Indirect Travel         T4396762                        68.85      237.40 23,185,972.05 23,186,209.45   11/12/1997 11/18/1997      6   21,382.13   170,680.05
Travel                  T4396762                       168.55                                           11/12/1997
Indirect                FY 1998 PP 03                1,004.58                                           11/18/1997
Payroll                 FY 1998 PP 03                2,459.19    3,463.77 23,186,209.45 23,189,673.22   11/18/1997 11/19/1997      1    3,564.22   174,244.27
Voucher Schedule Date   68-W9-0059 108              11,653.65                                           11/19/1997
Voucher Schedule Date   68-W5-0024 9710-110-25         573.09                                           11/19/1997
Indirect Voucher        68-W5-0024 9710-110-25         234.11   17,221.37 23,189,673.22 23,206,894.59   11/19/1997 12/01/1997     12   42,802.41   217,046.68
Indirect Voucher        68-W9-0059 108                  55.38                                           11/19/1997
Indirect Voucher        68-W9-0059 108               4,705.14                                           11/19/1997
Travel                  T4396763                       199.56      281.08 23,206,894.59 23,207,175.67   12/01/1997 12/02/1997      1    3,566.91   220,613.59
Indirect Travel         T4396763                        81.52                                           12/01/1997
Indirect                FY 1998 PP 04                  933.22                                           12/02/1997
Payroll                 FY 1998 PP 04                2,284.52    3,217.74 23,207,175.67 23,210,393.41   12/02/1997 12/16/1997     14   49,943.68   270,557.27
Indirect                FY 1998 PP 05                  727.78                                           12/16/1997
Payroll                 FY 1998 PP 05                1,781.60    2,509.38 23,210,393.41 23,212,902.79   12/16/1997 12/18/1997      2    7,135.58   277,692.85
Voucher Schedule Date   68-W5-0024 9810-210-02       1,389.89                                           12/18/1997
Voucher Schedule Date   940406 0168                  7,750.29                                           12/18/1997
Voucher Schedule Date   68-W9-0059 109              11,854.04                                           12/18/1997
Indirect Voucher        68-W5-0024 9810-210-02         567.77   29,570.36 23,212,902.79 23,242,473.15   12/18/1997 12/30/1997     12   42,868.04   320,560.89
Indirect Voucher        68-W9-0059 109               4,812.22                                           12/18/1997
Indirect Voucher        68-W9-0059 109                  30.16                                           12/18/1997
Indirect Voucher        940406 0168                  3,165.99                                           12/18/1997

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                                                                   #:7353
                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance      Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1998 (Annual Rate: 5.61%)

Indirect                FY 1998 PP 06                  902.33                                            12/30/1997
Payroll                 FY 1998 PP 06                2,208.91     3,111.24 23,242,473.15 23,245,584.39   12/30/1997 01/05/1998      6   21,436.89   341,997.78
Indirect Travel         T4427903                         5.62       92.61 23,245,584.39 23,245,677.00    01/05/1998 01/07/1998      2    7,145.66   349,143.44
Travel                  T4412442                        52.00                                            01/05/1998
Travel                  T4427903                        13.75                                            01/05/1998
Indirect Travel         T4412442                        21.24                                            01/05/1998
Travel                  T4397060                     2,406.90    3,390.12 23,245,677.00 23,249,067.12    01/07/1998 01/13/1998      6   21,440.10   370,583.54
Indirect Travel         T4397060                       983.22                                            01/07/1998
Voucher Schedule Date   940406 0169                  3,055.17                                            01/13/1998
Indirect                FY 1998 PP 07                  648.48                                            01/13/1998
Payroll                 FY 1998 PP 07                1,587.46                                            01/13/1998
Indirect Voucher        940406 0169                  1,248.04    6,539.15 23,249,067.12 23,255,606.27    01/13/1998 01/14/1998      1    3,574.35   374,157.89
Voucher Schedule Date   68-W9-0059 110               9,481.86                                            01/14/1998
Indirect Voucher        68-W9-0059 110                 108.30   13,355.20 23,255,606.27 23,268,961.47    01/14/1998 01/15/1998      1    3,576.41   377,734.30
Indirect Voucher        68-W9-0059 110               3,765.04                                            01/14/1998
Indirect Travel         T4412442                     1,471.10    5,072.33 23,268,961.47 23,274,033.80    01/15/1998 01/21/1998      6   21,463.12   399,197.42
Travel                  T4412442                     3,601.23                                            01/15/1998
Voucher Schedule Date   68-W5-0024 9810-210-04         485.29                                            01/21/1998
Indirect Voucher        68-W5-0024 9810-210-04         198.24      683.53 23,274,033.80 23,274,717.33    01/21/1998 01/26/1998      5   17,886.46   417,083.88
Travel                  T4397057                     2,388.46    3,364.15 23,274,717.33 23,278,081.48    01/26/1998 01/27/1998      1    3,577.81   420,661.69
Indirect Travel         T4397057                       975.69                                            01/26/1998
Indirect                FY 1998 PP 08                1,033.50                                            01/27/1998
Payroll                 FY 1998 PP 08                2,530.01    3,563.51 23,278,081.48 23,281,644.99    01/27/1998 01/30/1998      3   10,735.07   431,396.76

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                                                                              0546
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1998 (Annual Rate: 5.61%)

Indirect Travel         T4397057                        47.39      163.39 23,281,644.99 23,281,808.38   01/30/1998 02/03/1998      4   14,313.53   445,710.29
Travel                  T4397057                       116.00                                           01/30/1998
Voucher Schedule Date   DW96955310 B12970158        29,155.81                                           02/03/1998
Voucher Schedule Date   DW96955310 B10970142        21,408.18                                           02/03/1998
Voucher Schedule Date   DW96955310 B11970121        19,843.51                                           02/03/1998
Indirect Voucher        DW96955310 B12970158        11,910.15   99,168.96 23,281,808.38 23,380,977.34   02/03/1998 02/10/1998      7   25,155.37   470,865.66
Indirect Voucher        DW96955310 B11970121         8,106.07                                           02/03/1998
Indirect Voucher        DW96955310 B10970142         8,745.24                                           02/03/1998
Indirect                FY 1998 PP 09                  813.26                                           02/10/1998
Payroll                 FY 1998 PP 09                1,990.85    2,804.11 23,380,977.34 23,383,781.45   02/10/1998 02/12/1998      2    7,188.11   478,053.77
Voucher Schedule Date   68-W5-0024 9810-210-06          70.29                                           02/12/1998
Indirect Voucher        68-W5-0024 9810-210-06          28.71       99.00 23,383,781.45 23,383,880.45   02/12/1998 02/13/1998      1    3,594.07   481,647.84
Voucher Schedule Date   68-W9-0059 111              12,048.78                                           02/13/1998
Indirect Voucher        68-W9-0059 111                  54.15   16,970.71 23,383,880.45 23,400,851.16   02/13/1998 02/19/1998      6   21,580.07   503,227.91
Indirect Voucher        68-W9-0059 111               4,867.78                                           02/13/1998
Travel                  T4419755                     2,153.51    3,033.22 23,400,851.16 23,403,884.38   02/19/1998 02/24/1998      5   17,985.72   521,213.63
Indirect Travel         T4419755                       879.71                                           02/19/1998
Indirect                FY 1998 PP 10                  851.42                                           02/24/1998
Payroll                 FY 1998 PP 10                2,084.26    2,935.68 23,403,884.38 23,406,820.06   02/24/1998 03/05/1998      9   32,378.37   553,592.00
Travel                  T5009659                       319.18      449.57 23,406,820.06 23,407,269.63   03/05/1998 03/10/1998      5   17,988.33   571,580.33
Indirect Travel         T5009659                       130.39                                           03/05/1998
Voucher Schedule Date   940406 171                   2,900.79                                           03/10/1998
Indirect                FY 1998 PP 11                  860.80                                           03/10/1998

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                                                                             0547
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1998 (Annual Rate: 5.61%)

Payroll                 FY 1998 PP 11                2,107.22                                           03/10/1998
Indirect Voucher        940406 171                   1,184.97    7,053.78 23,407,269.63 23,414,323.41   03/10/1998 03/16/1998      6   21,592.50   593,172.83
Voucher Schedule Date   68-W5-0024 9810-210-08         906.46                                           03/16/1998
Indirect Voucher        68-W5-0024 9810-210-08         370.29    1,360.80 23,414,323.41 23,415,684.21   03/16/1998 03/17/1998      1    3,598.96   596,771.79
Indirect Travel         T4419755                        24.38                                           03/16/1998
Travel                  T4419755                        59.67                                           03/16/1998
Travel                  T4419772                       810.43    1,141.49 23,415,684.21 23,416,825.70   03/17/1998 03/18/1998      1    3,599.13   600,370.92
Indirect Travel         T4419772                       331.06                                           03/17/1998
Voucher Schedule Date   68-W9-0059 112              13,647.83                                           03/18/1998
Indirect Voucher        68-W9-0059 112               5,493.09   19,222.97 23,416,825.70 23,436,048.67   03/18/1998 03/24/1998      6   21,612.53   621,983.45
Indirect Voucher        68-W9-0059 112                  82.05                                           03/18/1998
Indirect                FY 1998 PP 12                  590.10                                           03/24/1998
Payroll                 FY 1998 PP 12                1,444.54    2,034.64 23,436,048.67 23,438,083.31   03/24/1998 04/07/1998     14   50,433.62   672,417.07
Voucher Schedule Date   68-W5-0024 9810-210-10       1,235.91                                           04/07/1998
Indirect                FY 1998 PP 13                  533.58                                           04/07/1998
Payroll                 FY 1998 PP 13                1,306.18                                           04/07/1998
Indirect Voucher        68-W5-0024 9810-210-10         504.87    3,580.54 23,438,083.31 23,441,663.85   04/07/1998 04/16/1998      9   32,426.56   704,843.63
Voucher Schedule Date   68-W9-0059 113               7,826.90                                           04/16/1998
Indirect Voucher        68-W9-0059 113               3,172.98   11,024.19 23,441,663.85 23,452,688.04   04/16/1998 04/21/1998      5   18,023.23   722,866.86
Indirect Voucher        68-W9-0059 113                  24.31                                           04/16/1998
Indirect                FY 1998 PP 14                  371.95                                           04/21/1998
Payroll                 FY 1998 PP 14                  910.51    1,282.46 23,452,688.04 23,453,970.50   04/21/1998 05/01/1998     10   36,048.43   758,915.29
Voucher Schedule Date   DW96955310 B01970109        25,189.11                                           05/01/1998

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                                                                             0548
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                                                                    Detailed Interest Cost
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                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per      Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item          Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1998 (Annual Rate: 5.61%)

Voucher Schedule Date   DW96955310 B03980140        54,902.22                                             05/01/1998
Indirect Voucher        DW96955310 B03980140        22,427.56    112,808.64 23,453,970.50 23,566,779.14   05/01/1998 05/05/1998      4   14,488.73   773,404.02
Indirect Voucher        DW96955310 B01970109        10,289.75                                             05/01/1998
Indirect                FY 1998 PP 15                  628.28                                             05/05/1998
Payroll                 FY 1998 PP 15                1,538.01      2,166.29 23,566,779.14 23,568,945.43   05/05/1998 05/13/1998      8   28,980.12   802,384.14
Voucher Schedule Date   68-W5-0024 9810-210-12       2,553.77                                             05/13/1998
Indirect Voucher        68-W5-0024 9810-210-12       1,043.22      3,596.99 23,568,945.43 23,572,542.42   05/13/1998 05/14/1998      1    3,623.07   806,007.21
Voucher Schedule Date   68-W5-0024 9810-226-12         633.62                                             05/14/1998
Indirect Voucher        68-W5-0024 9810-226-12         258.83       892.45 23,572,542.42 23,573,434.87    05/14/1998 05/15/1998      1    3,623.20   809,630.41
Voucher Schedule Date   68-W9-0059 114-Z             -1,986.91                                            05/15/1998
Voucher Schedule Date   68-W9-0059 115               3,209.38                                             05/15/1998
Indirect Voucher        68-W9-0059 115                  24.31      1,721.85 23,573,434.87 23,575,156.72   05/15/1998 05/19/1998      4   14,493.88   824,124.29
Indirect Voucher        68-W9-0059 115               1,286.72                                             05/15/1998
Indirect Voucher        68-W9-0059 114-Z               -13.10                                             05/15/1998
Indirect Voucher        68-W9-0059 114-Z              -798.55                                             05/15/1998
Indirect                FY 1998 PP 16                  766.12                                             05/19/1998
Payroll                 FY 1998 PP 16                1,875.43      2,641.55 23,575,156.72 23,577,798.27   05/19/1998 05/29/1998     10   36,238.75   860,363.04
Indirect Travel         T5010633                       281.52       970.67 23,577,798.27 23,578,768.94    05/29/1998 06/02/1998      4   14,496.10   874,859.14
Travel                  T5010633                       689.15                                             05/29/1998
Indirect                FY 1998 PP 17                  601.98                                             06/02/1998
Payroll                 FY 1998 PP 17                1,473.63      2,075.61 23,578,768.94 23,580,844.55   06/02/1998 06/03/1998      1    3,624.34   878,483.48
Travel                  T5009707                       424.49       597.89 23,580,844.55 23,581,442.44    06/03/1998 06/09/1998      6   21,746.61   900,230.09
Indirect Travel         T5009707                       173.40                                             06/03/1998

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                                                                               0549
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                                                                   Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 1998 (Annual Rate: 5.61%)

Voucher Schedule Date   68-W5-0024 9810-210-14         347.66                                           06/09/1998
Voucher Schedule Date   68-W5-0024 9810-226-14         292.44                                           06/09/1998
Indirect Voucher        68-W5-0024 9810-210-14         142.02      901.58 23,581,442.44 23,582,344.02   06/09/1998 06/16/1998      7   25,372.02    925,602.11
Indirect Voucher        68-W5-0024 9810-226-14         119.46                                           06/09/1998
Indirect                FY 1998 PP 18                  569.14                                           06/16/1998
Payroll                 FY 1998 PP 18                1,393.26    1,962.40 23,582,344.02 23,584,306.42   06/16/1998 06/18/1998      2    7,249.75    932,851.86
Voucher Schedule Date   68-W9-0059 116               4,834.56                                           06/18/1998
Indirect Voucher        68-W9-0059 116                 700.75    6,809.48 23,584,306.42 23,591,115.90   06/18/1998 06/30/1998     12   43,511.07    976,362.93
Indirect Voucher        68-W9-0059 116               1,274.17                                           06/18/1998
Indirect                FY 1998 PP 19                  942.59                                           06/30/1998
Payroll                 FY 1998 PP 19                2,307.46    3,250.05 23,591,115.90 23,594,365.95   06/30/1998 07/07/1998      7   25,384.95   1,001,747.88
Voucher Schedule Date   68-W5-0024 9810-210-16         101.59                                           07/07/1998
Indirect Voucher        68-W5-0024 9810-210-16          41.50      143.09 23,594,365.95 23,594,509.04   07/07/1998 07/14/1998      7   25,385.11   1,027,132.99
Indirect                FY 1998 PP 20                  487.30                                           07/14/1998
Payroll                 FY 1998 PP 20                1,192.87    1,680.17 23,594,509.04 23,596,189.21   07/14/1998 07/17/1998      3   10,880.11   1,038,013.10
Voucher Schedule Date   68-W9-0059 117               2,174.52                                           07/17/1998
Indirect Voucher        68-W9-0059 117                 888.29    3,062.81 23,596,189.21 23,599,252.02   07/17/1998 07/27/1998     10   36,271.73   1,074,284.83
Travel                  T5000635                       602.57      848.72 23,599,252.02 23,600,100.74   07/27/1998 07/28/1998      1    3,627.30   1,077,912.13
Indirect Travel         T5000635                       246.15                                           07/27/1998
Voucher Schedule Date   DW96955310 B01000923         5,020.02                                           07/28/1998
Voucher Schedule Date   DW96955310 B01001063           463.08                                           07/28/1998
Voucher Schedule Date   DW96955310 B01001277           762.93                                           07/28/1998
Indirect                FY 1998 PP 21                1,384.44                                           07/28/1998

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                                                                             0550
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 1998 (Annual Rate: 5.61%)

Payroll                 FY 1998 PP 21                3,389.10                                           07/28/1998
Indirect Voucher        DW96955310 B01000923         2,050.68   13,571.08 23,600,100.74 23,613,671.82   07/28/1998 07/31/1998      3   10,888.17   1,088,800.30
Indirect Voucher        DW96955310 B01001063           189.17                                           07/28/1998
Indirect Voucher        DW96955310 B01001277           311.66                                           07/28/1998
Travel                  T4465824                       290.00      408.47 23,613,671.82 23,614,080.29   07/31/1998 08/11/1998     11   39,923.97   1,128,724.27
Indirect Travel         T4465824                       118.47                                           07/31/1998
Indirect                FY 1998 PP 22                  551.73                                           08/11/1998
Payroll                 FY 1998 PP 22                1,350.62    1,902.35 23,614,080.29 23,615,982.64   08/11/1998 08/12/1998      1    3,629.74   1,132,354.01
Voucher Schedule Date   68-W5-0024 9810-210-18       1,339.50                                           08/12/1998
Indirect Voucher        68-W5-0024 9810-210-18         547.19    1,886.69 23,615,982.64 23,617,869.33   08/12/1998 08/13/1998      1    3,630.03   1,135,984.04
Indirect Travel         T4463525                       119.60      433.35 23,617,869.33 23,618,302.68   08/13/1998 08/14/1998      1    3,630.10   1,139,614.14
Travel                  T5010633                         9.29                                           08/13/1998
Travel                  T5009707                         5.61                                           08/13/1998
Travel                  T4463525                       292.77                                           08/13/1998
Indirect Travel         T5009707                         2.29                                           08/13/1998
Indirect Travel         T5010633                         3.79                                           08/13/1998
Voucher Schedule Date   68-W9-0059 118               5,634.76                                           08/14/1998
Indirect Voucher        68-W9-0059 118               2,298.17    7,936.56 23,618,302.68 23,626,239.24   08/14/1998 08/25/1998     11   39,944.53   1,179,558.67
Indirect Voucher        68-W9-0059 118                   3.63                                           08/14/1998
Indirect                FY 1998 PP 23                  876.02                                           08/25/1998
Payroll                 FY 1998 PP 23                2,144.46    3,020.48 23,626,239.24 23,629,259.72   08/25/1998 08/31/1998      6   21,790.71   1,201,349.38
Voucher Schedule Date   FRL61283 98220230            1,755.00                                           08/31/1998
Indirect Voucher        FRL61283 98220230              716.92    2,471.92 23,629,259.72 23,631,731.64   08/31/1998 09/03/1998      3   10,896.49   1,212,245.87

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                                                                             0551
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                                                                        Detailed Interest Cost
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                                                          CRP# 110926, 101445 & 238
                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                     Cost Per        Cost Per                      Cumulative   Date of       Interest             Periodic     Cumulative
Cost Category             Cost Reference              Item            Date       Prior Balance       Total    Recognition     Through    Days      Interest       Interest

   Fiscal Year 1998 (Annual Rate: 5.61%)

Voucher Schedule Date     68-W5-0024 9810-210-20        1,321.80                                                 09/03/1998
Indirect Voucher          68-W5-0024 9810-210-20         539.96       1,861.76 23,631,731.64 23,633,593.40       09/03/1998 09/04/1998      1       3,632.45   1,215,878.32
Travel                    T5000635                       281.76         396.86 23,633,593.40 23,633,990.26       09/04/1998 09/08/1998      4     14,530.05    1,230,408.37
Indirect Travel           T5000635                       115.10                                                  09/04/1998
Indirect                  FY 1998 PP 24                 2,781.98                                                 09/08/1998
Payroll                   FY 1998 PP 24                 6,810.21      9,592.19 23,633,990.26 23,643,582.45       09/08/1998 09/16/1998      8     29,071.89    1,259,480.26
Voucher Schedule Date     68-W9-0059 119                8,779.89                                                 09/16/1998
Indirect Voucher          68-W9-0059 119                3,586.59     12,366.48 23,643,582.45 23,655,948.93       09/16/1998 09/22/1998      6     21,815.32    1,281,295.58
Indirect                  FY 1998 PP 25                  917.10                                                  09/22/1998
Payroll                   FY 1998 PP 25                 2,245.06      3,162.16 23,655,948.93     23,659,111.09   09/22/1998 09/24/1998      2       7,272.75   1,288,568.33
Travel                    T4463272                       429.00         604.25   23,659,111.09 23,659,715.34     09/24/1998 09/25/1998      1       3,636.47   1,292,204.80
Indirect Travel           T4463272                       175.25                                                  09/24/1998
Voucher Schedule Date     9809H8S075 CNS1627131          342.00                                                  09/25/1998
Voucher Schedule Date     9809H8S076 CNS1627134          580.62                                                  09/25/1998
Indirect Voucher          9809H8S075 CNS1627131          139.71       2,044.45 23,659,715.34 23,661,759.79       09/25/1998 10/01/1998      6     21,820.68    1,314,025.48
Indirect Voucher          9809H8S076 CNS1627134          237.18                                                  09/25/1998
Indirect Travel           T4463269                       216.05                                                  09/25/1998
Travel                    T4463269                       528.89                                                  09/25/1998

   Totals for Fiscal Year 1998                       577,626.76                                                                                 1,314,025.48   6,518,316.30


   Fiscal Year 1999 (Annual Rate: 4.53%)

Prior FY Interest                                   1,314,025.48   1,314,025.48 23,661,759.79 24,975,785.27      10/01/1998 10/06/1998      5     15,498.67      15,498.67
Indirect                  FY 1998 PP 26                  228.56                                                  10/06/1998
                                                                                 Exhibit 4-A
                                                                                   0552
Report Date: 11/25/2019
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1999 (Annual Rate: 4.53%)

Payroll                 FY 1998 PP 26                  559.50      788.06 24,975,785.27 24,976,573.33   10/06/1998 10/07/1998      1    3,099.83    18,598.50
Voucher Schedule Date   68-W5-0024 9810-210-22         101.59                                           10/07/1998
Indirect Voucher        68-W5-0024 9810-210-22          35.79      137.38 24,976,573.33 24,976,710.71   10/07/1998 10/13/1998      6   18,599.10    37,197.60
Travel                  T4463530                       568.13      768.28 24,976,710.71 24,977,478.99   10/13/1998 10/15/1998      2    6,199.89    43,397.49
Indirect Travel         T4463530                       200.15                                           10/13/1998
Voucher Schedule Date   68-W9-0059 120              14,587.44                                           10/15/1998
Indirect Voucher        68-W9-0059 120               5,139.16   19,726.60 24,977,478.99 24,997,205.59   10/15/1998 10/20/1998      5   15,511.96    58,909.45
Indirect                FY 1998 PP 27                  165.56                                           10/20/1998
Indirect                FY 1999 PP 01                  675.50                                           10/20/1998
Payroll                 FY 1998 PP 27                  405.29    3,163.75 24,997,205.59 25,000,369.34   10/20/1998 10/29/1998      9   27,925.07    86,834.52
Payroll                 FY 1999 PP 01                1,917.40                                           10/20/1998
Travel                  T4463410                       958.82    1,296.61 25,000,369.34 25,001,665.95   10/29/1998 11/03/1998      5   15,514.73   102,349.25
Indirect Travel         T4463410                       337.79                                           10/29/1998
Indirect                FY 1999 PP 02                  882.08                                           11/03/1998
Payroll                 FY 1999 PP 02                2,503.79    3,385.87 25,001,665.95 25,005,051.82   11/03/1998 11/04/1998      1    3,103.37   105,452.62
Voucher Schedule Date   DW96955310 B01002285           173.26                                           11/04/1998
Voucher Schedule Date   DW96955310 B01002487           372.62                                           11/04/1998
Voucher Schedule Date   DW96955310 B01000823         6,882.19                                           11/04/1998
Voucher Schedule Date   DW96955310 B01001652           863.74                                           11/04/1998
Indirect Voucher        DW96955310 B01000823         2,424.60   11,213.02 25,005,051.82 25,016,264.84   11/04/1998 11/10/1998      6   18,628.55   124,081.17
Indirect Voucher        DW96955310 B01001652            61.43                                           11/04/1998
Indirect Voucher        DW96955310 B01001652           242.87                                           11/04/1998
Indirect Voucher        DW96955310 B01002487           131.27                                           11/04/1998

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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1999 (Annual Rate: 4.53%)

Indirect Voucher        DW96955310 B01002285            61.04                                           11/04/1998
Indirect Travel         T4453622                        40.78      156.53 25,016,264.84 25,016,421.37   11/10/1998 11/12/1998      2    6,209.56   130,290.73
Travel                  T4453622                       115.75                                           11/10/1998
Voucher Schedule Date   68-W5-0024 9810-210-24         573.11                                           11/12/1998
Indirect Voucher        68-W5-0024 9810-210-24         201.91      775.02 25,016,421.37 25,017,196.39   11/12/1998 11/17/1998      5   15,524.37   145,815.10
Indirect                FY 1999 PP 03                  481.17                                           11/17/1998
Payroll                 FY 1999 PP 03                1,365.80    1,846.97 25,017,196.39 25,019,043.36   11/17/1998 11/20/1998      3    9,315.31   155,130.41
Voucher Schedule Date   68-W9-0059 121               5,941.93                                           11/20/1998
Indirect Voucher        68-W9-0059 121               2,093.34    8,035.27 25,019,043.36 25,027,078.63   11/20/1998 11/25/1998      5   15,530.50   170,660.91
Indirect Travel         T4487467                        67.67      259.76 25,027,078.63 25,027,338.39   11/25/1998 11/27/1998      2    6,212.27   176,873.18
Travel                  T4487467                       192.09                                           11/25/1998
Voucher Schedule Date   DW96955310 B01003433           758.75                                           11/27/1998
Indirect Travel         4486599                         41.92    1,186.98 25,027,338.39 25,028,525.37   11/27/1998 11/30/1998      3    9,318.84   186,192.02
Indirect Voucher        DW96955310 B01003433           267.31                                           11/27/1998
Travel                  4486599                        119.00                                           11/27/1998
Voucher Schedule Date   DW96955310 B01002715         1,950.71                                           11/30/1998
Indirect Voucher        DW96955310 B01002715           687.24    2,637.95 25,028,525.37 25,031,163.32   11/30/1998 12/01/1998      1    3,106.61   189,298.63
Indirect                FY 1999 PP 04                  274.91                                           12/01/1998
Payroll                 FY 1999 PP 04                  780.32    1,055.23 25,031,163.32 25,032,218.55   12/01/1998 12/04/1998      3    9,320.22   198,618.85
Indirect Travel         T5000635                         8.20       31.48 25,032,218.55 25,032,250.03   12/04/1998 12/08/1998      4   12,426.97   211,045.82
Travel                  T5000635                        23.28                                           12/04/1998
Voucher Schedule Date   68-W5-0024 9910-226-02         264.70                                           12/08/1998
Indirect Voucher        68-W5-0024 9910-226-02          93.25      357.95 25,032,250.03 25,032,607.98   12/08/1998 12/15/1998      7   21,747.51   232,793.33

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                                                                             0554
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1999 (Annual Rate: 4.53%)

Indirect                FY 1999 PP 05                  647.70                                           12/15/1998
Payroll                 FY 1999 PP 05                1,838.49    2,486.19 25,032,607.98 25,035,094.17   12/15/1998 12/17/1998      2    6,214.19   239,007.52
Voucher Schedule Date   68-W9-0059 122               7,410.60                                           12/17/1998
Voucher Schedule Date   68-W5-0024 9910-210-02         579.16                                           12/17/1998
Indirect Voucher        68-W5-0024 9910-210-02         204.04   10,804.55 25,035,094.17 25,045,898.72   12/17/1998 12/21/1998      4   12,433.74   251,441.26
Indirect Voucher        68-W9-0059 122               2,610.75                                           12/17/1998
Travel                  T4487694                       464.49      628.13 25,045,898.72 25,046,526.85   12/21/1998 12/29/1998      8   24,868.11   276,309.37
Indirect Travel         T4487694                       163.64                                           12/21/1998
Indirect                FY 1999 PP 06                  647.42                                           12/29/1998
Payroll                 FY 1999 PP 06                1,837.67    2,485.09 25,046,526.85 25,049,011.94   12/29/1998 12/30/1998      1    3,108.82   279,418.19
Indirect Travel         T4487037                       204.00      783.06 25,049,011.94 25,049,795.00   12/30/1998 01/07/1999      8   24,871.36   304,289.55
Travel                  T4487037                       579.06                                           12/30/1998
Voucher Schedule Date   DW96955310 01003531            237.82                                           01/07/1999
Indirect Voucher        DW96955310 01003531             83.78      321.60 25,049,795.00 25,050,116.60   01/07/1999 01/11/1999      4   12,435.84   316,725.39
Voucher Schedule Date   68-W5-0024 9910-210-04         909.36                                           01/11/1999
Indirect Voucher        68-W5-0024 9910-210-04         320.37    1,229.73 25,050,116.60 25,051,346.33   01/11/1999 01/12/1999      1    3,109.11   319,834.50
Indirect                FY 1999 PP 07                   84.68                                           01/12/1999
Payroll                 FY 1999 PP 07                  240.36      325.04 25,051,346.33 25,051,671.37   01/12/1999 01/21/1999      9   27,982.37   347,816.87
Voucher Schedule Date   68-W9-0059 123               2,751.52                                           01/21/1999
Indirect Voucher        68-W9-0059 123                 969.36    3,720.88 25,051,671.37 25,055,392.25   01/21/1999 01/25/1999      4   12,438.46   360,255.33
Travel                  T4492643                       234.08      316.55 25,055,392.25 25,055,708.80   01/25/1999 01/26/1999      1    3,109.65   363,364.98
Indirect Travel         T4492643                        82.47                                           01/25/1999
Indirect                FY 1999 PP 08                1,230.16                                           01/26/1999

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                                                                             0555
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1999 (Annual Rate: 4.53%)

Payroll                 FY 1999 PP 08                3,491.79     4,721.95 25,055,708.80 25,060,430.75   01/26/1999 02/09/1999     14   43,543.36   406,908.34
Indirect                FY 1999 PP 09                  678.18                                            02/09/1999
Payroll                 FY 1999 PP 09                1,924.99     2,603.17 25,060,430.75 25,063,033.92   02/09/1999 02/12/1999      3    9,331.69   416,240.03
Voucher Schedule Date   68-W5-0024 9910-210-06          93.68                                            02/12/1999
Indirect Voucher        68-W5-0024 9910-210-06          33.00      126.68 25,063,033.92 25,063,160.60    02/12/1999 02/18/1999      6   18,663.47   434,903.50
Voucher Schedule Date   68-W9-0059 124               3,546.54                                            02/18/1999
Indirect Voucher        68-W9-0059 124               1,249.45     4,795.99 25,063,160.60 25,067,956.59   02/18/1999 02/19/1999      1    3,111.17   438,014.67
Voucher Schedule Date   940405 183                  65,165.24                                            02/19/1999
Voucher Schedule Date   940406 182                  22,226.12                                            02/19/1999
Indirect Voucher        940405 183                  10,810.33   118,179.34 25,067,956.59 25,186,135.93   02/19/1999 02/23/1999      4   12,503.36   450,518.03
Indirect Voucher        940405 183                  12,147.39                                            02/19/1999
Indirect Voucher        940406 182                   7,830.26                                            02/19/1999
Indirect                FY 1999 PP 10                  429.27                                            02/23/1999
Payroll                 FY 1999 PP 10                1,218.47     1,647.74 25,186,135.93 25,187,783.67   02/23/1999 03/09/1999     14   43,764.64   494,282.67
Indirect                FY 1999 PP 11                  556.01                                            03/09/1999
Payroll                 FY 1999 PP 11                1,578.23     2,134.24 25,187,783.67 25,189,917.91   03/09/1999 03/18/1999      9   28,136.79   522,419.46
Voucher Schedule Date   68-W9-0059 125               2,027.46                                            03/18/1999
Voucher Schedule Date   68-W5-0024 9910-210-08          65.03                                            03/18/1999
Indirect Voucher        68-W5-0024 9910-210-08          22.52     2,829.67 25,189,917.91 25,192,747.58   03/18/1999 03/23/1999      5   15,633.31   538,052.77
Indirect Voucher        68-W5-0024 9910-210-08           0.39                                            03/18/1999
Indirect Voucher        68-W9-0059 125                 714.27                                            03/18/1999
Indirect                FY 1999 PP 12                  779.71                                            03/23/1999
Payroll                 FY 1999 PP 12                2,213.19     2,992.90 25,192,747.58 25,195,740.48   03/23/1999 04/06/1999     14   43,778.46   581,831.23

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                                                                              0556
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                                                                   Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1999 (Annual Rate: 4.53%)

Indirect                FY 1999 PP 13                1,345.40                                           04/06/1999
Payroll                 FY 1999 PP 13                3,818.88    5,164.28 25,195,740.48 25,200,904.76   04/06/1999 04/08/1999      2    6,255.35   588,086.58
Voucher Schedule Date   DW96955310 01003651          2,030.52                                           04/08/1999
Indirect Voucher        DW96955310 01003651            715.35    2,745.87 25,200,904.76 25,203,650.63   04/08/1999 04/15/1999      7   21,896.10   609,982.68
Voucher Schedule Date   68-W9-0059 126               2,220.53                                           04/15/1999
Indirect Voucher        68-W9-0059 126                 782.29    3,637.82 25,203,650.63 25,207,288.45   04/15/1999 04/20/1999      5   15,642.33   625,625.01
Travel                  T4492386                       469.57                                           04/15/1999
Indirect Travel         T4492386                       165.43                                           04/15/1999
Indirect                FY 1999 PP 14                  420.79                                           04/20/1999
Payroll                 FY 1999 PP 14                1,194.38    1,615.17 25,207,288.45 25,208,903.62   04/20/1999 04/21/1999      1    3,128.67   628,753.68
Voucher Schedule Date   68-W5-0024 9910-226-11         138.14                                           04/21/1999
Indirect Voucher        68-W5-0024 9910-226-11          48.67      186.81 25,208,903.62 25,209,090.43   04/21/1999 05/04/1999     13   40,672.97   669,426.65
Indirect                FY 1999 PP 15                  362.61                                           05/04/1999
Payroll                 FY 1999 PP 15                1,029.26    1,391.87 25,209,090.43 25,210,482.30   05/04/1999 05/14/1999     10   31,288.63   700,715.28
Voucher Schedule Date   68-W5-0024 9910-226-12         164.06                                           05/14/1999
Voucher Schedule Date   68-W5-0024 9910-210-12         284.83                                           05/14/1999
Indirect Voucher        68-W5-0024 9910-210-12         100.35      607.04 25,210,482.30 25,211,089.34   05/14/1999 05/18/1999      4   12,515.75   713,231.03
Indirect Voucher        68-W5-0024 9910-226-12          57.80                                           05/14/1999
Indirect                FY 1999 PP 16                  410.55                                           05/18/1999
Payroll                 FY 1999 PP 16                1,165.32    1,575.87 25,211,089.34 25,212,665.21   05/18/1999 05/25/1999      7   21,903.93   735,134.96
Voucher Schedule Date   DW96955310 51000029          3,819.61                                           05/25/1999
Voucher Schedule Date   DW96955310 51000303            542.66                                           05/25/1999
Indirect Voucher        DW96955310 51000029          1,345.65    5,899.10 25,212,665.21 25,218,564.31   05/25/1999 05/27/1999      2    6,259.73   741,394.69

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                                                                             0557
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance      Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 1999 (Annual Rate: 4.53%)

Indirect Voucher        DW96955310 51000303            191.18                                            05/25/1999
Voucher Schedule Date   68-W9-0059 127              29,857.41                                            05/27/1999
Indirect Voucher        68-W9-0059 127               1,809.22   40,376.18 25,218,564.31 25,258,940.49    05/27/1999 05/28/1999      1    3,134.88   744,529.57
Indirect Voucher        68-W9-0059 127               8,709.55                                            05/27/1999
Indirect Travel         T4522946                       109.41      419.97 25,258,940.49 25,259,360.46    05/28/1999 06/01/1999      4   12,539.72   757,069.29
Travel                  T4522946                       310.56                                            05/28/1999
Indirect                FY 1999 PP 17                  287.82                                            06/01/1999
Payroll                 FY 1999 PP 17                  816.95    1,104.77 25,259,360.46 25,260,465.23    06/01/1999 06/07/1999      6   18,810.40   775,879.69
Voucher Schedule Date   68-W5-0024 9910-210-14         198.25                                            06/07/1999
Indirect Voucher        68-W5-0024 9910-210-14          69.84      268.09 25,260,465.23 25,260,733.32    06/07/1999 06/08/1999      1    3,135.10   779,014.79
Voucher Schedule Date   DW96955310 51000509          2,390.24                                            06/08/1999
Indirect Voucher        DW96955310 51000509            842.08    3,232.32 25,260,733.32 25,263,965.64    06/08/1999 06/15/1999      7   21,948.50   800,963.29
Indirect                FY 1999 PP 18                  123.83                                            06/15/1999
Payroll                 FY 1999 PP 18                  351.48      475.31 25,263,965.64 25,264,440.95    06/15/1999 06/16/1999      1    3,135.56   804,098.85
Voucher Schedule Date   68-W9-0059 128               1,680.32                                            06/16/1999
Indirect Voucher        68-W9-0059 128                 591.98    2,272.30 25,264,440.95 25,266,713.25    06/16/1999 06/22/1999      6   18,815.05   822,913.90
Indirect Voucher                                         4.34        4.34 25,266,713.25 25,266,717.59    06/22/1999 06/24/1999      2    6,271.68   829,185.58
Indirect Voucher                                        -4.34        -4.34 25,266,717.59 25,266,713.25   06/24/1999 06/29/1999      5   15,679.21   844,864.79
Indirect                FY 1999 PP 19                   77.14                                            06/29/1999
Payroll                 FY 1999 PP 19                  218.97      296.11 25,266,713.25 25,267,009.36    06/29/1999 07/07/1999      8   25,087.03   869,951.82
Voucher Schedule Date   68-W5-0024 9910-210-16         136.56                                            07/07/1999
Voucher Schedule Date   68-W5-0024 9910-226-16          20.51                                            07/07/1999
Indirect Voucher        68-W5-0024 9910-210-16          48.11      212.41 25,267,009.36 25,267,221.77    07/07/1999 07/13/1999      6   18,815.43   888,767.25

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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 1999 (Annual Rate: 4.53%)

Indirect Voucher        68-W5-0024 9910-226-16           7.23                                           07/07/1999
Indirect                FY 1999 PP 20                  271.63                                           07/13/1999
Payroll                 FY 1999 PP 20                  771.02    1,042.65 25,267,221.77 25,268,264.42   07/13/1999 07/15/1999      2    6,272.07    895,039.32
Voucher Schedule Date   68-W9-0059 129                  39.64                                           07/15/1999
Indirect Voucher        68-W9-0059 129                  13.97       53.61 25,268,264.42 25,268,318.03   07/15/1999 07/27/1999     12   37,632.49    932,671.81
Indirect                FY 1999 PP 21                  654.65                                           07/27/1999
Payroll                 FY 1999 PP 21                1,858.22    2,512.87 25,268,318.03 25,270,830.90   07/27/1999 07/28/1999      1    3,136.35    935,808.16
Voucher Schedule Date   DW96955310 51001200          1,051.81                                           07/28/1999
Indirect Voucher        DW96955310 51001200            370.55    1,422.36 25,270,830.90 25,272,253.26   07/28/1999 08/06/1999      9   28,228.76    964,036.92
Voucher Schedule Date   68-W5-0024 9910-210-18         118.36                                           08/06/1999
Indirect Voucher        68-W5-0024 9910-210-18          41.70      160.06 25,272,253.26 25,272,413.32   08/06/1999 08/10/1999      4   12,546.20    976,583.12
Indirect                FY 1999 PP 22                  514.18                                           08/10/1999
Payroll                 FY 1999 PP 22                1,459.49    1,973.67 25,272,413.32 25,274,386.99   08/10/1999 08/19/1999      9   28,231.14   1,004,814.26
Voucher Schedule Date   68-W9-0059 130               5,719.99                                           08/19/1999
Indirect Voucher        68-W9-0059 130               2,015.15    7,735.14 25,274,386.99 25,282,122.13   08/19/1999 08/24/1999      5   15,688.77   1,020,503.03
Indirect                FY 1999 PP 23                  631.61                                           08/24/1999
Payroll                 FY 1999 PP 23                1,792.82    2,424.43 25,282,122.13 25,284,546.56   08/24/1999 09/02/1999      9   28,242.49   1,048,745.52
Voucher Schedule Date   DW96955310 51001464            601.97                                           09/02/1999
Indirect Voucher        DW96955310 51001464            212.07      814.04 25,284,546.56 25,285,360.60   09/02/1999 09/07/1999      5   15,690.78   1,064,436.30
Indirect                FY 1999 PP 24                  439.14                                           09/07/1999
Payroll                 FY 1999 PP 24                1,246.50                                           09/07/1999
Travel                  T4515657                       387.67    2,209.89 25,285,360.60 25,287,570.49   09/07/1999 09/08/1999      1    3,138.43   1,067,574.73
Indirect Travel         T4515657                       136.58                                           09/07/1999

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                                                                             0559
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                                                                        Detailed Interest Cost
                                                         MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                   Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                          CRP# 110926, 101445 & 238
                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                     Cost Per        Cost Per                    Cumulative   Date of      Interest             Periodic     Cumulative
Cost Category             Cost Reference              Item            Date      Prior Balance      Total    Recognition    Through    Days      Interest       Interest

   Fiscal Year 1999 (Annual Rate: 4.53%)

Voucher Schedule Date     68-W5-0024 9910-210-20          19.42                                               09/08/1999
Indirect Voucher          68-W5-0024 9910-210-20            6.84         26.26 25,287,570.49 25,287,596.75    09/08/1999 09/15/1999      7     21,969.03    1,089,543.76
Indirect Travel           T4487839                        91.38         350.76 25,287,596.75 25,287,947.51    09/15/1999 09/16/1999      1       3,138.48   1,092,682.24
Travel                    T4487839                       259.38                                               09/15/1999
Voucher Schedule Date     68-W9-0059 131                 434.52                                               09/16/1999
Voucher Schedule Date     DW96955310 51001778           2,400.23                                              09/16/1999
Indirect Voucher          68-W9-0059 131                 153.08       3,833.43 25,287,947.51 25,291,780.94    09/16/1999 09/17/1999      1       3,138.95   1,095,821.19
Indirect Voucher          DW96955310 51001778            845.60                                               09/16/1999
Travel                    T4487840                       238.60         322.66 25,291,780.94 25,292,103.60    09/17/1999 09/21/1999      4     12,555.97    1,108,377.16
Indirect Travel           T4487840                        84.06                                               09/17/1999
Indirect                  FY 1999 PP 25                  650.10                                               09/21/1999
Payroll                   FY 1999 PP 25                 1,845.30      2,495.40 25,292,103.60 25,294,599.00    09/21/1999 09/23/1999      2       6,278.60   1,114,655.76
Voucher Schedule Date     DW96955310 51000973            424.27                                               09/23/1999
Indirect Voucher          DW96955310 51000973            149.47         573.74 25,294,599.00 25,295,172.74    09/23/1999 10/01/1999      8      25,114.99   1,139,770.75

   Totals for Fiscal Year 1999                       319,387.47                                                                              1,139,770.75   7,658,087.05


   Fiscal Year 2000 (Annual Rate: 5.3%)

Prior FY Interest                                   1,139,770.75   1,139,770.75 25,295,172.74 26,434,943.49   10/01/1999 10/05/1999      4     15,312.04      15,312.04
Indirect                  FY 1999 PP 26                  153.13                                               10/05/1999
Payroll                   FY 1999 PP 26                  434.67         587.80 26,434,943.49 26,435,531.29    10/05/1999 10/08/1999      3      11,484.29     26,796.33
Voucher Schedule Date     68-W5-0024 9910-210-22         677.77                                               10/08/1999
Indirect Voucher          68-W5-0024 9910-210-22         300.52         978.29 26,435,531.29 26,436,509.58    10/08/1999 10/15/1999      7     26,797.66      53,593.99
Voucher Schedule Date     68-W5-0024 9910-226-23         479.45                                               10/15/1999
                                                                                 Exhibit 4-A
                                                                                   0560
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                                                                    Detailed Interest Cost
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                                                  Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                    Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category            Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2000 (Annual Rate: 5.3%)

Indirect Voucher         68-W5-0024 9910-226-23         212.59      692.04 26,436,509.58 26,437,201.62   10/15/1999 10/19/1999      4   15,313.35    68,907.34
Indirect                 FY 1999 PP 27                   91.70                                           10/19/1999
Indirect                 FY 2000 PP 01                  334.28                                           10/19/1999
Payroll                  FY 1999 PP 27                  260.29    1,440.16 26,437,201.62 26,438,641.78   10/19/1999 10/28/1999      9   34,456.92   103,364.26
Payroll                  FY 2000 PP 01                  753.89                                           10/19/1999
Voucher Schedule Date    68-W9-0059 132               4,447.60                                           10/28/1999
Indirect Voucher         68-W9-0059 132               1,972.07    6,419.67 26,438,641.78 26,445,061.45   10/28/1999 11/02/1999      5   19,147.38   122,511.64
Indirect                 FY 2000 PP 02                  618.25                                           11/02/1999
Payroll                  FY 2000 PP 02                1,394.32    2,012.57 26,445,061.45 26,447,074.02   11/02/1999 11/09/1999      7   26,808.37   149,320.01
Voucher Schedule Date    DW96955310 51002064          2,670.68                                           11/09/1999
Voucher Schedule Date    68-W5-0024 9910-210-24         409.77                                           11/09/1999
Voucher Schedule Date    68-W5-0024 9910-226-24       1,580.11                                           11/09/1999
Indirect Voucher         68-W5-0024 9910-226-24         700.62    6,727.05 26,447,074.02 26,453,801.07   11/09/1999 11/16/1999      7   26,815.19   176,135.20
Indirect Voucher         68-W5-0024 9910-210-24         181.69                                           11/09/1999
Indirect Voucher         DW96955310 51002064          1,184.18                                           11/09/1999
Indirect                 FY 2000 PP 03                  780.37                                           11/16/1999
Payroll                  FY 2000 PP 03                1,759.96    2,540.33 26,453,801.07 26,456,341.40   11/16/1999 11/24/1999      8   30,648.88   206,784.08
Travel                   T4522232                       266.73      385.00 26,456,341.40 26,456,726.40   11/24/1999 11/30/1999      6   22,986.99   229,771.07
Indirect Travel          T4522232                       118.27                                           11/24/1999
Indirect                 FY 2000 PP 04                  502.65                                           11/30/1999
Payroll                  FY 2000 PP 04                1,133.62    1,636.27 26,456,726.40 26,458,362.67   11/30/1999 12/14/1999     14   53,639.63   283,410.70
Indirect                 FY 2000 PP 05                  200.10                                           12/14/1999
Payroll                  FY 2000 PP 05                  451.29      651.39 26,458,362.67 26,459,014.06   12/14/1999 12/17/1999      3   11,494.49   294,905.19

                                                                            Exhibit 4-A
                                                                              0561
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                                                                   Detailed Interest Cost
                                                     MCCOLL, FULLERTON, CA SITE ID = 09 04
                                               Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per       Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category            Cost Reference           Item           Date      Prior Balance      Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2000 (Annual Rate: 5.3%)

Voucher Schedule Date    DW96955310 51002443         594.90                                              12/17/1999
Indirect Voucher         DW96955310 51002443         263.78        858.68 26,459,014.06 26,459,872.74    12/17/1999 12/21/1999      4   15,326.48   310,231.67
Cost Collection          SHELL OIL CO.           -250,000.00   -250,000.00 26,459,872.74 26,209,872.74   12/21/1999 12/28/1999      7   26,567.93   336,799.60
Indirect                 FY 2000 PP 06               654.38                                              12/28/1999
Payroll                  FY 2000 PP 06             1,475.82                                              12/28/1999
Travel                   T4458701                    503.68      2,857.21 26,209,872.74 26,212,729.95    12/28/1999 01/11/2000     14   53,141.65   389,941.25
Indirect Travel          T4458701                    223.33                                              12/28/1999
Indirect                 FY 2000 PP 07               429.74                                              01/11/2000
Payroll                  FY 2000 PP 07               969.21      1,398.95 26,212,729.95 26,214,128.90    01/11/2000 01/18/2000      7   26,572.25   416,513.50
Voucher Schedule Date    DW96955310 51002647       2,624.28                                              01/18/2000
Voucher Schedule Date    DW96955310 51002857       3,330.47                                              01/18/2000
Indirect Voucher         DW96955310 51002647       1,163.61      8,595.09 26,214,128.90 26,222,723.99    01/18/2000 01/24/2000      6   22,783.68   439,297.18
Indirect Voucher         DW96955310 51002857       1,476.73                                              01/18/2000
Indirect Travel          T4480428                     69.08        224.86 26,222,723.99 26,222,948.85    01/24/2000 01/25/2000      1    3,797.31   443,094.49
Travel                   T4480428                    155.78                                              01/24/2000
Indirect                 FY 2000 PP 08               976.92                                              01/25/2000
Payroll                  FY 2000 PP 08             2,203.24      3,180.16 26,222,948.85 26,226,129.01    01/25/2000 02/01/2000      7   26,584.41   469,678.90
Voucher Schedule Date    68-W9-0059 133              841.85                                              02/01/2000
Voucher Schedule Date    68-W9-0059 135-Z              -0.01                                             02/01/2000
Indirect Voucher         68-W9-0059 133              373.28      1,215.12 26,226,129.01 26,227,344.13    02/01/2000 02/08/2000      7   26,585.64   496,264.54
Indirect Voucher         68-W9-0059 135-Z                                                                02/01/2000
Indirect                 FY 2000 PP 09               322.15                                              02/08/2000
Payroll                  FY 2000 PP 09               726.54      1,048.69 26,227,344.13 26,228,392.82    02/08/2000 02/22/2000     14   53,173.41   549,437.95

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                                                                              0562
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                                                                 Detailed Interest Cost
                                                     MCCOLL, FULLERTON, CA SITE ID = 09 04
                                               Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category            Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2000 (Annual Rate: 5.3%)

Indirect                 FY 2000 PP 10               369.83                                           02/22/2000
Payroll                  FY 2000 PP 10               834.06    1,203.89 26,228,392.82 26,229,596.71   02/22/2000 02/25/2000      3   11,394.82   560,832.77
Voucher Schedule Date    DW96955310 51003075       7,500.72                                           02/25/2000
Indirect Voucher         DW96955310 51003075       3,325.82   10,826.54 26,229,596.71 26,240,423.25   02/25/2000 03/07/2000     11   41,798.27   602,631.04
Indirect                 FY 2000 PP 11               185.06                                           03/07/2000
Payroll                  FY 2000 PP 11               417.36      602.42 26,240,423.25 26,241,025.67   03/07/2000 03/17/2000     10   37,999.30   640,630.34
Voucher Schedule Date    DW96955310 51003329      10,255.96                                           03/17/2000
Indirect Voucher         DW96955310 51003329       4,547.49   14,803.45 26,241,025.67 26,255,829.12   03/17/2000 03/21/2000      4   15,208.29   655,838.63
Indirect                 FY 2000 PP 12               144.41                                           03/21/2000
Payroll                  FY 2000 PP 12               325.69      470.10 26,255,829.12 26,256,299.22   03/21/2000 04/04/2000     14   53,229.98   709,068.61
Indirect                 FY 2000 PP 13               199.95                                           04/04/2000
Payroll                  FY 2000 PP 13               450.95      650.90 26,256,299.22 26,256,950.12   04/04/2000 04/18/2000     14   53,231.30   762,299.91
Indirect                 FY 2000 PP 14               122.19                                           04/18/2000
Payroll                  FY 2000 PP 14               275.58      397.77 26,256,950.12 26,257,347.89   04/18/2000 04/20/2000      2    7,604.59   769,904.50
Voucher Schedule Date    DW96955310 51003571       2,454.08                                           04/20/2000
Voucher Schedule Date    DW96955452 51003578       4,751.06                                           04/20/2000
Indirect Voucher         DW96955310 51003571       1,088.14   10,658.08 26,257,347.89 26,268,005.97   04/20/2000 05/02/2000     12   45,646.04   815,550.54
Indirect Voucher         DW96955452 51003578       2,106.62                                           04/20/2000
Travel                   T4476681                    178.87                                           04/20/2000
Indirect Travel          T4476681                     79.31                                           04/20/2000
Indirect                 FY 2000 PP 15               377.69                                           05/02/2000
Payroll                  FY 2000 PP 15               851.80    1,229.49 26,268,005.97 26,269,235.46   05/02/2000 05/17/2000     15   57,060.22   872,610.76
Voucher Schedule Date    DW96955310 51003830         386.12                                           05/17/2000

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                                                                           0563
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                                                                   Detailed Interest Cost
                                                     MCCOLL, FULLERTON, CA SITE ID = 09 04
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                 Cost Per       Cost Per                    Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category            Cost Reference           Item           Date      Prior Balance      Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2000 (Annual Rate: 5.3%)

Indirect Voucher         DW96955310 51003830         171.21        557.33 26,269,235.46 26,269,792.79    05/17/2000 05/30/2000     13   49,453.24    922,064.00
Indirect                 FY 2000 PP 17                66.65                                              05/30/2000
Payroll                  FY 2000 PP 17               150.32        216.97 26,269,792.79 26,270,009.76    05/30/2000 06/13/2000     14   53,257.78    975,321.78
Indirect                 FY 2000 PP 18               259.89                                              06/13/2000
Payroll                  FY 2000 PP 18               586.12        846.01 26,270,009.76 26,270,855.77    06/13/2000 06/27/2000     14   53,259.49   1,028,581.27
Voucher Schedule Date    68-W9-0060 156Z             -176.90                                             06/27/2000
Indirect                 FY 2000 PP 19               211.06                                              06/27/2000
Payroll                  FY 2000 PP 19               476.01                                              06/27/2000
Indirect Voucher         68-W9-0060 156Z              -78.44       431.73 26,270,855.77 26,271,287.50    06/27/2000 07/07/2000     10   38,043.12   1,066,624.39
Voucher Schedule Date    DW96955452 51004058       1,159.19                                              07/07/2000
Indirect Voucher         DW96955452 51004058         513.98      1,673.17 26,271,287.50 26,272,960.67    07/07/2000 07/11/2000      4   15,218.22   1,081,842.61
Indirect                 FY 2000 PP 20                22.89                                              07/11/2000
Payroll                  FY 2000 PP 20                51.62         74.51 26,272,960.67 26,273,035.18    07/11/2000 07/25/2000     14   53,263.91   1,135,106.52
Indirect                 FY 2000 PP 21               144.41                                              07/25/2000
Payroll                  FY 2000 PP 21               325.69        470.10 26,273,035.18 26,273,505.28    07/25/2000 08/04/2000     10   38,046.33   1,173,152.85
Voucher Schedule Date    DW96955310 51004259         163.66                                              08/04/2000
Voucher Schedule Date    DW96955452 51004267       6,222.45                                              08/04/2000
Indirect Voucher         DW96955310 51004259          72.57      9,217.71 26,273,505.28 26,282,722.99    08/04/2000 08/08/2000      4   15,223.87   1,188,376.72
Indirect Voucher         DW96955452 51004267       2,759.03                                              08/04/2000
Indirect                 FY 2000 PP 22               422.12                                              08/08/2000
Payroll                  FY 2000 PP 22               951.99      1,374.11 26,282,722.99 26,284,097.10    08/08/2000 08/11/2000      3   11,418.50   1,199,795.22
Cost Collection          SHELL OIL CO.           -137,000.00   -137,000.00 26,284,097.10 26,147,097.10   08/11/2000 08/22/2000     11   41,649.61   1,241,444.83
Indirect                 FY 2000 PP 23               170.77                                              08/22/2000

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                                                                              0564
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                                                                     Detailed Interest Cost
                                                      MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                Interest Accrued beginning 07/01/1990 through 07/31/2018
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                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                  Cost Per        Cost Per                    Cumulative   Date of      Interest             Periodic     Cumulative
Cost Category             Cost Reference           Item            Date      Prior Balance      Total    Recognition    Through    Days      Interest       Interest

   Fiscal Year 2000 (Annual Rate: 5.3%)

Payroll                   FY 2000 PP 23               385.14         555.91 26,147,097.10 26,147,653.01    08/22/2000 08/30/2000      8     30,291.27    1,271,736.10
Voucher Schedule Date     DW96955310 51004542         101.98                                               08/30/2000
Voucher Schedule Date     DW96955452 51004549       48,118.80                                              08/30/2000
Indirect Voucher          DW96955310 51004542          45.22      69,601.88 26,147,653.01 26,217,254.89    08/30/2000 09/05/2000      6     22,778.93    1,294,515.03
Indirect Voucher          DW96955452 51004549      21,335.88                                               08/30/2000
Indirect                  FY 2000 PP 24               307.68                                               09/05/2000
Payroll                   FY 2000 PP 24               693.91       1,001.59 26,217,254.89 26,218,256.48    09/05/2000 09/19/2000     14     53,152.86    1,347,667.89
Indirect                  FY 2000 PP 25               185.49                                               09/19/2000
Payroll                   FY 2000 PP 25               418.33         603.82 26,218,256.48 26,218,860.30    09/19/2000 09/20/2000      1       3,796.72   1,351,464.61
Voucher Schedule Date     DW96955310 51004779         684.43                                               09/20/2000
Voucher Schedule Date     DW96955452 51004786      61,031.89                                               09/20/2000
Indirect Voucher          DW96955310 51004779         303.48      89,081.34 26,218,860.30 26,307,941.64    09/20/2000 10/01/2000     11     41,905.82    1,393,370.43
Indirect Voucher          DW96955452 51004786      27,061.54                                               09/20/2000

   Totals for Fiscal Year 2000                    -127,001.85                                                                             1,393,370.43   9,051,457.48


   Fiscal Year 2001 (Annual Rate: 6.18%)

Prior FY Interest                                1,393,370.43   1,393,370.43 26,307,941.64 27,701,312.07   10/01/2000 10/03/2000      2       9,380.50       9,380.50
Indirect                  FY 2000 PP 26               577.64                                               10/03/2000
Payroll                   FY 2000 PP 26              1,302.76      1,880.40 27,701,312.07 27,703,192.47    10/03/2000 10/04/2000      1       4,690.57     14,071.07
Travel                    T4491938                    368.24         508.29 27,703,192.47 27,703,700.76    10/04/2000 10/17/2000     13     60,978.50      75,049.57
Indirect Travel           T4491938                    140.05                                               10/04/2000
Indirect                  FY 2000 PP 27                44.43                                               10/17/2000
Indirect                  FY 2001 PP 01                28.58                                               10/17/2000
                                                                              Exhibit 4-A
                                                                                0565
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                                                                Detailed Interest Cost
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2001 (Annual Rate: 6.18%)

Payroll                 FY 2000 PP 27               100.21      248.38 27,703,700.76 27,703,949.14   10/17/2000 10/25/2000      8   37,525.57   112,575.14
Payroll                 FY 2001 PP 01                75.16                                           10/17/2000
Voucher Schedule Date   DW96955452 51005102      53,087.76                                           10/25/2000
Indirect Voucher        DW96955452 51005102      20,189.28   73,277.04 27,703,949.14 27,777,226.18   10/25/2000 11/14/2000     20   94,062.06   206,637.20
Indirect                FY 2001 PP 03               152.38                                           11/14/2000
Payroll                 FY 2001 PP 03               400.69      553.07 27,777,226.18 27,777,779.25   11/14/2000 11/21/2000      7   32,922.38   239,559.58
Voucher Schedule Date   DW96955452 51005474       8,649.13                                           11/21/2000
Indirect Voucher        DW96955452 51005474       3,289.26   11,938.39 27,777,779.25 27,789,717.64   11/21/2000 11/28/2000      7   32,936.53   272,496.11
Indirect                FY 2001 PP 04                37.19                                           11/28/2000
Payroll                 FY 2001 PP 04                97.79      134.98 27,789,717.64 27,789,852.62   11/28/2000 12/12/2000     14   65,873.37   338,369.48
Indirect                FY 2001 PP 05               163.00                                           12/12/2000
Payroll                 FY 2001 PP 05               428.60      591.60 27,789,852.62 27,790,444.22   12/12/2000 12/14/2000      2    9,410.68   347,780.16
Voucher Schedule Date   DW96955452 51005699      10,788.26                                           12/14/2000
Indirect Voucher        DW96955452 51005699       4,102.78   14,891.04 27,790,444.22 27,805,335.26   12/14/2000 12/26/2000     12   56,494.35   404,274.51
Indirect                FY 2001 PP 06               350.95                                           12/26/2000
Payroll                 FY 2001 PP 06               922.83    1,273.78 27,805,335.26 27,806,609.04   12/26/2000 01/09/2001     14   65,913.09   470,187.60
Indirect                FY 2001 PP 07               114.29                                           01/09/2001
Payroll                 FY 2001 PP 07               300.52      414.81 27,806,609.04 27,807,023.85   01/09/2001 01/23/2001     14   65,914.07   536,101.67
Indirect                FY 2001 PP 08                19.05                                           01/23/2001
Payroll                 FY 2001 PP 08                50.09       69.14 27,807,023.85 27,807,092.99   01/23/2001 01/30/2001      7   32,957.12   569,058.79
Voucher Schedule Date   DW96955452 51005906      26,611.79                                           01/30/2001
Indirect Voucher        DW96955452 51005906      10,120.46   36,732.25 27,807,092.99 27,843,825.24   01/30/2001 02/06/2001      7   33,000.65   602,059.44
Indirect                FY 2001 PP 09               162.69                                           02/06/2001

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                                                                          0566
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                                                                  Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per       Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item           Date      Prior Balance      Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2001 (Annual Rate: 6.18%)

Payroll                 FY 2001 PP 09               427.79        590.48 27,843,825.24 27,844,415.72    02/06/2001 02/20/2001     14   66,002.71   668,062.15
Voucher Schedule Date   68-W0-1002 2                 18.84                                              02/20/2001
Indirect                FY 2001 PP 10               641.89                                              02/20/2001
Payroll                 FY 2001 PP 10             1,687.86                                              02/20/2001
Indirect Voucher        68-W0-1002 2                  7.16      2,355.75 27,844,415.72 27,846,771.47    02/20/2001 02/28/2001      8   37,719.02   705,781.17
Voucher Schedule Date   DW96955452 51006148      43,500.15                                              02/28/2001
Indirect Voucher        DW96955452 51006148      11,249.15     60,043.26 27,846,771.47 27,906,814.73    02/28/2001 03/06/2001      6   28,350.27   734,131.44
Indirect Voucher        DW96955452 51006148       5,293.96                                              02/28/2001
Indirect                FY 2001 PP 11               550.14                                              03/06/2001
Payroll                 FY 2001 PP 11             1,446.61      1,996.75 27,906,814.73 27,908,811.48    03/06/2001 03/20/2001     14   66,155.35   800,286.79
Indirect                FY 2001 PP 12               608.57                                              03/20/2001
Payroll                 FY 2001 PP 12             1,600.22      2,208.79 27,908,811.48 27,911,020.27    03/20/2001 03/23/2001      3   14,177.27   814,464.06
Cost Collection         SHELL OIL CO.           -149,000.00   -149,000.00 27,911,020.27 27,762,020.27   03/23/2001 03/27/2001      4   18,802.11   833,266.17
Travel                  T4514537                    235.77        325.44 27,762,020.27 27,762,345.71    03/27/2001 03/29/2001      2    9,401.17   842,667.34
Indirect Travel         T4514537                     89.67                                              03/27/2001
Voucher Schedule Date   DW96955452 51006389       1,757.85                                              03/29/2001
Indirect Voucher        DW96955452 51006389         668.51      2,426.36 27,762,345.71 27,764,772.07    03/29/2001 04/03/2001      5   23,504.97   866,172.31
Indirect                FY 2001 PP 13               961.78                                              04/03/2001
Payroll                 FY 2001 PP 13             2,529.03      3,490.81 27,764,772.07 27,768,262.88    04/03/2001 04/05/2001      2    9,403.17   875,575.48
Indirect Travel         T4514539                     77.86        282.59 27,768,262.88 27,768,545.47    04/05/2001 04/17/2001     12   56,419.60   931,995.08
Travel                  T4514539                    204.73                                              04/05/2001
Indirect                FY 2001 PP 14               790.24                                              04/17/2001
Payroll                 FY 2001 PP 14             2,077.93      2,868.17 27,768,545.47 27,771,413.64    04/17/2001 04/25/2001      8   37,616.95   969,612.03

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                                                                             0567
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference              Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2001 (Annual Rate: 6.18%)

Voucher Schedule Date   68-W5-0024 9920-21026R          14.38                                           04/25/2001
Indirect Voucher        68-W5-0024 9920-21026R           5.47       19.85 27,771,413.64 27,771,433.49   04/25/2001 05/01/2001      6   28,212.73    997,824.76
Indirect                FY 2001 PP 15                  429.40                                           05/01/2001
Payroll                 FY 2001 PP 15                1,129.11    1,558.51 27,771,433.49 27,772,992.00   05/01/2001 05/15/2001     14   65,833.40   1,063,658.16
Indirect                FY 2001 PP 16                  510.32                                           05/15/2001
Payroll                 FY 2001 PP 16                1,341.86    1,852.18 27,772,992.00 27,774,844.18   05/15/2001 05/22/2001      7   32,918.90   1,096,577.06
Voucher Schedule Date   DW96955452 51006621         15,482.20                                           05/22/2001
Voucher Schedule Date   DW96955452 51006913         12,012.04                                           05/22/2001
Indirect Voucher        DW96955452 51006621          5,887.88   37,950.30 27,774,844.18 27,812,794.48   05/22/2001 05/29/2001      7   32,963.88   1,129,540.94
Indirect Voucher        DW96955452 51006913          4,568.18                                           05/22/2001
Indirect                FY 2001 PP 17                  967.94                                           05/29/2001
Payroll                 FY 2001 PP 17                2,545.18    3,513.12 27,812,794.48 27,816,307.60   05/29/2001 06/12/2001     14   65,936.08   1,195,477.02
Voucher Schedule Date   68-W0-1002 5R                    1.55                                           06/12/2001
Indirect                FY 2001 PP 18                  600.16                                           06/12/2001
Payroll                 FY 2001 PP 18                1,578.15                                           06/12/2001
Indirect Voucher        68-W0-1002 5R                    0.59    2,180.45 27,816,307.60 27,818,488.05   06/12/2001 06/20/2001      8   37,680.71   1,233,157.73
Voucher Schedule Date   DW96955452 51007184          3,336.25                                           06/20/2001
Indirect Voucher        DW96955452 51007184          1,268.78    4,605.03 27,818,488.05 27,823,093.08   06/20/2001 06/22/2001      2    9,421.74   1,242,579.47
Travel                  4512623                        440.64      608.21 27,823,093.08 27,823,701.29   06/22/2001 06/26/2001      4   18,843.89   1,261,423.36
Indirect Travel         4512623                        167.57                                           06/22/2001
Indirect                FY 2001 PP 19                  644.00                                           06/26/2001
Payroll                 FY 2001 PP 19                1,693.36    2,337.36 27,823,701.29 27,826,038.65   06/26/2001 07/10/2001     14   65,959.15   1,327,382.51
Indirect                FY 2001 PP 20                  524.22                                           07/10/2001

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                                                                             0568
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                                                                   Detailed Interest Cost
                                                       MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                 Interest Accrued beginning 07/01/1990 through 07/31/2018
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                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                   Cost Per     Cost Per                   Cumulative   Date of      Interest             Periodic    Cumulative
Cost Category             Cost Reference            Item         Date      Prior Balance     Total    Recognition    Through    Days      Interest      Interest

   Fiscal Year 2001 (Annual Rate: 6.18%)

Payroll                   FY 2001 PP 20              1,378.44    1,902.66 27,826,038.65 27,827,941.31   07/10/2001 07/24/2001     14     65,963.66   1,393,346.17
Indirect                  FY 2001 PP 21                197.67                                           07/24/2001
Payroll                   FY 2001 PP 21                519.81      717.48 27,827,941.31 27,828,658.79   07/24/2001 08/07/2001     14     65,965.36   1,459,311.53
Indirect                  FY 2001 PP 22                503.32                                           08/07/2001
Payroll                   FY 2001 PP 22              1,323.50                                           08/07/2001
Travel                    T4512910                     396.72    2,374.41 27,828,658.79 27,831,033.20   08/07/2001 08/28/2001     21     98,956.48   1,558,268.01
Indirect Travel           T4512910                     150.87                                           08/07/2001
Voucher Schedule Date     DW96955452 51007467        3,927.46                                           08/28/2001
Indirect Voucher          DW96955452 51007467        1,493.61    5,421.07 27,831,033.20 27,836,454.27   08/28/2001 08/29/2001      1      4,713.13   1,562,981.14
Voucher Schedule Date     DW96955310 B01930135         110.45                                           08/29/2001
Voucher Schedule Date     DW96955310 B12960186         654.69                                           08/29/2001
Indirect Voucher          DW96955310 B12960186         248.98    1,056.12 27,836,454.27 27,837,510.39   08/29/2001 09/04/2001      6     28,279.86   1,591,261.00
Indirect Voucher          DW96955310 B01930135          42.00                                           08/29/2001
Indirect                  FY 2001 PP 24                139.49                                           09/04/2001
Payroll                   FY 2001 PP 24                366.78      506.27 27,837,510.39 27,838,016.66   09/04/2001 09/06/2001      2      9,426.79   1,600,687.79
Voucher Schedule Date     68-W0-1002 9                 286.94                                           09/06/2001
Indirect Voucher          68-W0-1002 9                 109.12      396.06 27,838,016.66 27,838,412.72   09/06/2001 09/11/2001      5     23,567.31   1,624,255.10
Voucher Schedule Date     DW96955452 51007767        4,842.29                                           09/11/2001
Indirect Voucher          DW96955452 51007767        1,841.52    6,683.81 27,838,412.72 27,845,096.53   09/11/2001 09/18/2001      7     33,002.16   1,657,257.26
Indirect                  FY 2001 PP 25                 21.00                                           09/18/2001
Payroll                   FY 2001 PP 25                 55.21       76.21 27,845,096.53 27,845,172.74   09/18/2001 10/01/2001     13     61,289.90   1,718,547.16

   Totals for Fiscal Year 2001                     143,860.67                                                                          1,718,547.16 10,770,004.64


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                                                                             0569
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                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per        Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item            Date      Prior Balance      Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2002 (Annual Rate: 3.35%)

Prior FY Interest                              1,718,547.16   1,718,547.16 27,845,172.74 29,563,719.90   10/01/2001 10/02/2001      1    2,713.38     2,713.38
Indirect                FY 2001 PP 26               177.12                                               10/02/2001
Payroll                 FY 2001 PP 26               465.72         642.84 29,563,719.90 29,564,362.74    10/02/2001 10/03/2001      1    2,713.44     5,426.82
Voucher Schedule Date   68-W0-1002 10                111.77                                              10/03/2001
Indirect Voucher        68-W0-1002 10                40.39         152.16 29,564,362.74 29,564,514.90    10/03/2001 10/05/2001      2    5,426.91    10,853.73
Voucher Schedule Date   DW96955452 51008049        5,532.56                                              10/05/2001
Indirect Voucher        DW96955452 51008049        1,999.47      7,532.03 29,564,514.90 29,572,046.93    10/05/2001 10/16/2001     11   29,855.61    40,709.34
Indirect                FY 2001 PP 27                37.62                                               10/16/2001
Indirect                FY 2002 PP 01               105.16                                               10/16/2001
Payroll                 FY 2001 PP 27                98.92         532.68 29,572,046.93 29,572,579.61    10/16/2001 10/25/2001      9   24,427.76    65,137.10
Payroll                 FY 2002 PP 01               290.98                                               10/16/2001
Voucher Schedule Date   DW96955452 51008384        4,479.72                                              10/25/2001
Indirect Voucher        DW96955452 51008384        1,618.97      6,098.69 29,572,579.61 29,578,678.30    10/25/2001 10/30/2001      5   13,573.78    78,710.88
Indirect                FY 2002 PP 02                28.73                                               10/30/2001
Payroll                 FY 2002 PP 02                79.51         108.24 29,578,678.30 29,578,786.54    10/30/2001 11/13/2001     14   38,006.71   116,717.59
Indirect                FY 2002 PP 03                37.87                                               11/13/2001
Payroll                 FY 2002 PP 03               104.79         142.66 29,578,786.54 29,578,929.20    11/13/2001 11/27/2001     14   38,006.90   154,724.49
Indirect                FY 2002 PP 04                75.75                                               11/27/2001
Payroll                 FY 2002 PP 04               209.60         285.35 29,578,929.20 29,579,214.55    11/27/2001 12/11/2001     14   38,007.26   192,731.75
Voucher Schedule Date   DW96955452 51008764      62,640.32                                               12/11/2001
Indirect                FY 2002 PP 05               127.18                                               12/11/2001
Payroll                 FY 2002 PP 05               351.92                                               12/11/2001
Indirect Voucher        DW96955452 51008764      22,638.21                                               12/11/2001

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                                                                 Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per      Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item          Date      Prior Balance      Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2002 (Annual Rate: 3.35%)

Cost Collection         SHELL OIL CO.           -159,000.00   -73,242.37 29,579,214.55 29,505,972.18   12/11/2001 12/19/2001      8   21,664.66   214,396.41
Voucher Schedule Date   DW96955452 51008981      16,384.27                                             12/19/2001
Indirect Voucher        DW96955452 51008981       3,277.48    22,305.55 29,505,972.18 29,528,277.73    12/19/2001 12/25/2001      6   16,260.78   230,657.19
Indirect Voucher        DW96955452 51008981       2,643.80                                             12/19/2001
Indirect                FY 2002 PP 06                90.04                                             12/25/2001
Payroll                 FY 2002 PP 06               249.13       339.17 29,528,277.73 29,528,616.90    12/25/2001 01/08/2002     14   37,942.25   268,599.44
Indirect                FY 2002 PP 07                94.68                                             01/08/2002
Payroll                 FY 2002 PP 07               261.99       356.67 29,528,616.90 29,528,973.57    01/08/2002 01/09/2002      1    2,710.19   271,309.63
Voucher Schedule Date   68-R9-0101 2                 30.50                                             01/09/2002
Indirect Voucher        68-R9-0101 2                  11.02       41.52 29,528,973.57 29,529,015.09    01/09/2002 01/22/2002     13   35,232.56   306,542.19
Voucher Schedule Date   DW96955452 51009208      19,144.07                                             01/22/2002
Indirect                FY 2002 PP 08               246.17                                             01/22/2002
Payroll                 FY 2002 PP 08               681.15                                             01/22/2002
Indirect Voucher        DW96955452 51009208       6,918.67    26,990.06 29,529,015.09 29,556,005.15    01/22/2002 02/05/2002     14   37,977.44   344,519.63
Indirect                FY 2002 PP 09               220.18                                             02/05/2002
Payroll                 FY 2002 PP 09               609.25       829.43 29,556,005.15 29,556,834.58    02/05/2002 02/19/2002     14   37,978.51   382,498.14
Indirect                FY 2002 PP 10               883.21                                             02/19/2002
Payroll                 FY 2002 PP 10             2,443.88     3,327.09 29,556,834.58 29,560,161.67    02/19/2002 03/05/2002     14   37,982.78   420,480.92
Indirect                FY 2002 PP 11               651.33                                             03/05/2002
Payroll                 FY 2002 PP 11             1,802.24     2,453.57 29,560,161.67 29,562,615.24    03/05/2002 03/19/2002     14   37,985.94   458,466.86
Indirect                FY 2002 PP 12               280.23                                             03/19/2002
Payroll                 FY 2002 PP 12               775.40     1,055.63 29,562,615.24 29,563,670.87    03/19/2002 04/01/2002     13   35,273.91   493,740.77
Voucher Schedule Date   DW96955452 51009622       3,718.82                                             04/01/2002

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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
                                                        CRP# 110926, 101445 & 238
                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2002 (Annual Rate: 3.35%)

Indirect Voucher        DW96955452 51009622       1,343.98    5,062.80 29,563,670.87 29,568,733.67   04/01/2002 04/02/2002      1    2,713.84   496,454.61
Indirect                FY 2002 PP 13               432.12                                           04/02/2002
Payroll                 FY 2002 PP 13             1,195.70    1,627.82 29,568,733.67 29,570,361.49   04/02/2002 04/03/2002      1    2,713.99   499,168.60
Voucher Schedule Date   68-R9-0101 5                 39.21                                           04/03/2002
Indirect Voucher        68-R9-0101 5                 14.17       53.38 29,570,361.49 29,570,414.87   04/03/2002 04/04/2002      1    2,714.00   501,882.60
Travel                  T4521445                    301.41      410.34 29,570,414.87 29,570,825.21   04/04/2002 04/16/2002     12   32,568.42   534,451.02
Indirect Travel         T4521445                    108.93                                           04/04/2002
Indirect                FY 2002 PP 14               551.31                                           04/16/2002
Payroll                 FY 2002 PP 14             1,525.48    2,076.79 29,570,825.21 29,572,902.00   04/16/2002 04/26/2002     10   27,142.25   561,593.27
Voucher Schedule Date   DW96955452 51009858       9,372.32                                           04/26/2002
Indirect Voucher        DW96955452 51009858       3,387.16   12,759.48 29,572,902.00 29,585,661.48   04/26/2002 04/30/2002      4   10,861.59   572,454.86
Indirect                FY 2002 PP 15               825.40                                           04/30/2002
Payroll                 FY 2002 PP 15             2,283.88    3,109.28 29,585,661.48 29,588,770.76   04/30/2002 05/01/2002      1    2,715.68   575,170.54
Voucher Schedule Date   68-R9-0101 6              1,200.60                                           05/01/2002
Indirect Voucher        68-R9-0101 6                433.90    1,634.50 29,588,770.76 29,590,405.26   05/01/2002 05/14/2002     13   35,305.81   610,476.35
Indirect                FY 2002 PP 16               293.46                                           05/14/2002
Payroll                 FY 2002 PP 16               812.00    1,105.46 29,590,405.26 29,591,510.72   05/14/2002 05/28/2002     14   38,023.06   648,499.41
Indirect                FY 2002 PP 17               400.33                                           05/28/2002
Payroll                 FY 2002 PP 17             1,107.72    1,508.05 29,591,510.72 29,593,018.77   05/28/2002 05/31/2002      3    8,148.21   656,647.62
Voucher Schedule Date   DW96955452 51010079       7,873.11                                           05/31/2002
Indirect Voucher        DW96955452 51010079       2,845.34   10,718.45 29,593,018.77 29,603,737.22   05/31/2002 06/03/2002      3    8,151.17   664,798.79
Voucher Schedule Date   68-R9-0101 7              1,836.55                                           06/03/2002
Indirect Voucher        68-R9-0101 7                663.73    2,500.28 29,603,737.22 29,606,237.50   06/03/2002 06/10/2002      7   19,020.99   683,819.78

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                                                                          0572
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                                                                  Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per       Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item           Date      Prior Balance      Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2002 (Annual Rate: 3.35%)

Indirect Travel         T4521456                    101.40        381.98 29,606,237.50 29,606,619.48    06/10/2002 06/11/2002      1    2,717.32   686,537.10
Travel                  T4521456                    280.58                                              06/10/2002
Indirect                FY 2002 PP 18               518.22                                              06/11/2002
Payroll                 FY 2002 PP 18             1,433.94      1,952.16 29,606,619.48 29,608,571.64    06/11/2002 06/25/2002     14   38,044.99   724,582.09
Indirect                FY 2002 PP 19             1,004.57                                              06/25/2002
Payroll                 FY 2002 PP 19             2,779.66      3,784.23 29,608,571.64 29,612,355.87    06/25/2002 07/01/2002      6   16,307.08   740,889.17
Voucher Schedule Date   DW96955452 51010346       3,207.27                                              07/01/2002
Voucher Schedule Date   DW96955536 51010352       2,299.05                                              07/01/2002
Indirect Voucher        DW96955452 51010346       1,159.11      7,496.31 29,612,355.87 29,619,852.18    07/01/2002 07/03/2002      2    5,437.07   746,326.24
Indirect Voucher        DW96955536 51010352         830.88                                              07/01/2002
Voucher Schedule Date   68-R9-0101 8                561.01                                              07/03/2002
Indirect Voucher        68-R9-0101 8                202.75        763.76 29,619,852.18 29,620,615.94    07/03/2002 07/09/2002      6   16,311.63   762,637.87
Indirect                FY 2002 PP 20             1,345.55                                              07/09/2002
Payroll                 FY 2002 PP 20             3,723.17      5,068.72 29,620,615.94 29,625,684.66    07/09/2002 07/19/2002     10   27,190.70   789,828.57
Voucher Schedule Date   DW96955452 51010598      66,302.47                                              07/19/2002
Voucher Schedule Date   DW96955536 51010605       6,141.18                                              07/19/2002
Indirect Voucher        DW96955452 51010598      23,961.71     98,624.78 29,625,684.66 29,724,309.44    07/19/2002 07/23/2002      4   10,912.49   800,741.06
Indirect Voucher        DW96955536 51010605       2,219.42                                              07/19/2002
Indirect                FY 2002 PP 21             1,773.71                                              07/23/2002
Payroll                 FY 2002 PP 21             4,907.89      6,681.60 29,724,309.44 29,730,991.04    07/23/2002 07/31/2002      8   21,829.88   822,570.94
Voucher Schedule Date   937801 255              520,177.27                                              07/31/2002
Voucher Schedule Date   937802 255              327,637.06                                              07/31/2002
Indirect Voucher        937801 255              187,992.07   1,154,214.43 29,730,991.04 30,885,205.47   07/31/2002 08/01/2002      1    2,834.67   825,405.61

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                                              Interest Accrued beginning 07/01/1990 through 07/31/2018
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per      Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item          Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2002 (Annual Rate: 3.35%)

Indirect Voucher        937802 255               118,408.03                                           07/31/2002
Voucher Schedule Date   68-R9-0101 9                153.77                                            08/01/2002
Indirect Voucher        68-R9-0101 9                 55.57       209.34 30,885,205.47 30,885,414.81   08/01/2002 08/06/2002      5   14,173.44   839,579.05
Indirect                FY 2002 PP 22              1,332.62                                           08/06/2002
Payroll                 FY 2002 PP 22              3,687.38    5,020.00 30,885,414.81 30,890,434.81   08/06/2002 08/08/2002      2    5,670.30   845,249.35
Voucher Schedule Date   DW96955452 51009405       19,119.72                                           08/08/2002
Indirect Voucher        DW96955452 51009405        6,909.87   26,029.59 30,890,434.81 30,916,464.40   08/08/2002 08/15/2002      7   19,862.77   865,112.12
Voucher Schedule Date   DW96955452 51010848        7,269.63                                           08/15/2002
Voucher Schedule Date   DW96955536 51010855        2,989.38                                           08/15/2002
Indirect Voucher        DW96955452 51010848        2,627.24   14,750.99 30,916,464.40 30,931,215.39   08/15/2002 08/20/2002      5   14,194.46   879,306.58
Indirect Voucher        DW96955536 51010855        1,080.36                                           08/15/2002
Travel                  T4519968                    576.16                                            08/15/2002
Indirect Travel         T4519968                    208.22                                            08/15/2002
Indirect                FY 2002 PP 23              1,804.59                                           08/20/2002
Payroll                 FY 2002 PP 23              4,993.33    6,797.92 30,931,215.39 30,938,013.31   08/20/2002 09/03/2002     14   39,753.23   919,059.81
Indirect                FY 2002 PP 24               271.14                                            09/03/2002
Payroll                 FY 2002 PP 24               750.24     1,021.38 30,938,013.31 30,939,034.69   09/03/2002 09/04/2002      1    2,839.61   921,899.42
Voucher Schedule Date   68-R9-0101 10               626.03                                            09/04/2002
Indirect Voucher        68-R9-0101 10               226.25       852.28 30,939,034.69 30,939,886.97   09/04/2002 09/17/2002     13   36,915.95   958,815.37
Indirect                FY 2002 PP 25               315.71                                            09/17/2002
Payroll                 FY 2002 PP 25               873.56     1,189.27 30,939,886.97 30,941,076.24   09/17/2002 09/18/2002      1    2,839.80   961,655.17
Voucher Schedule Date   DW96955452 51011085      26,910.64                                            09/18/2002
Voucher Schedule Date   DW96955536 51011092      62,548.88                                            09/18/2002

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                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                      Cost Per     Cost Per                    Cumulative   Date of      Interest           Periodic    Cumulative
Cost Category             Cost Reference               Item         Date       Prior Balance     Total    Recognition    Through    Days    Interest      Interest

   Fiscal Year 2002 (Annual Rate: 3.35%)

Indirect Voucher          DW96955452 51011085           2,051.72   121,790.19 30,941,076.24 31,062,866.43   09/18/2002 10/01/2002     13    37,062.68    998,717.85
Indirect Voucher          DW96955452 51011085           7,673.78                                            09/18/2002
Indirect Voucher          DW96955536 51011092          22,605.17                                            09/18/2002

   Totals for Fiscal Year 2002                     1,499,146.53                                                                            998,717.85 11,768,722.49


   Fiscal Year 2003 (Annual Rate: 1.47%)

Prior FY Interest                                     998,717.85   998,717.85 31,062,866.43 32,061,584.28   10/01/2002 10/01/2002      0         0.00          0.00
Indirect                  FY 2002 PP 26                  297.59                                             10/01/2002
Payroll                   FY 2002 PP 26                  823.45      1,121.04 32,061,584.28 32,062,705.32   10/01/2002 10/03/2002      2     2,582.59      2,582.59
Voucher Schedule Date     68-R9-0101 11                 3,410.03                                            10/03/2002
Indirect Voucher          68-R9-0101 11                 1,392.66     4,802.69 32,062,705.32 32,067,508.01   10/03/2002 10/09/2002      6     7,748.92     10,331.51
Voucher Schedule Date     68-W9-0060 COL/2203R30003 -13,703.03                                              10/09/2002
Indirect Voucher          68-W9-0060 COL/2203R30003      -611.42   -19,299.34 32,067,508.01 32,048,208.67   10/09/2002 10/15/2002      6     7,744.25     18,075.76
Indirect Voucher          68-W9-0060 COL/2203R30003 -4,984.89                                               10/09/2002
Indirect                  FY 2002 PP 27                  186.27                                             10/15/2002
Indirect                  FY 2003 PP 01                  264.46                                             10/15/2002
Payroll                   FY 2002 PP 27                  515.43      1,613.71 32,048,208.67 32,049,822.38   10/15/2002 10/18/2002      3     3,872.32     21,948.08
Payroll                   FY 2003 PP 01                  647.55                                             10/15/2002
Voucher Schedule Date     DW96955452 51011348           6,626.80                                            10/18/2002
Voucher Schedule Date     DW96955536 51011355           3,120.57                                            10/18/2002
Indirect Voucher          DW96955452 51011348           2,706.39    13,728.20 32,049,822.38 32,063,550.58   10/18/2002 10/29/2002     11    14,204.59     36,152.67
Indirect Voucher          DW96955536 51011355           1,274.44                                            10/18/2002
Indirect                  FY 2003 PP 02                  229.53                                             10/29/2002
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2003 (Annual Rate: 1.47%)

Payroll                 FY 2003 PP 02               562.00      791.53 32,063,550.58 32,064,342.11   10/29/2002 10/31/2002      2    2,582.72    38,735.39
Voucher Schedule Date   68-R9-0101 12               108.75                                           10/31/2002
Indirect Voucher        68-R9-0101 12                44.41      153.16 32,064,342.11 32,064,495.27   10/31/2002 11/12/2002     12   15,496.38    54,231.77
Indirect                FY 2003 PP 03               247.32                                           11/12/2002
Payroll                 FY 2003 PP 03               605.60      852.92 32,064,495.27 32,065,348.19   11/12/2002 11/26/2002     14   18,079.59    72,311.36
Voucher Schedule Date   DW96955452 51011672       2,422.58                                           11/26/2002
Voucher Schedule Date   DW96955536 51011679       2,359.84                                           11/26/2002
Indirect                FY 2003 PP 04                76.11                                           11/26/2002
Payroll                 FY 2003 PP 04               186.35                                           11/26/2002
Indirect Voucher        DW96955452 51011672         989.38    6,998.02 32,065,348.19 32,072,346.21   11/26/2002 12/10/2002     14   18,083.53    90,394.89
Indirect Voucher        DW96955536 51011679         963.76                                           11/26/2002
Indirect                FY 2003 PP 05               119.17                                           12/10/2002
Payroll                 FY 2003 PP 05               291.80      410.97 32,072,346.21 32,072,757.18   12/10/2002 12/12/2002      2    2,583.39    92,978.28
Voucher Schedule Date   68-R9-0101 13                74.08                                           12/12/2002
Indirect Voucher        68-R9-0101 13                30.25      104.33 32,072,757.18 32,072,861.51   12/12/2002 12/24/2002     12   15,500.42   108,478.70
Indirect                FY 2003 PP 06                98.73                                           12/24/2002
Payroll                 FY 2003 PP 06               241.75      340.48 32,072,861.51 32,073,201.99   12/24/2002 12/27/2002      3    3,875.15   112,353.85
Voucher Schedule Date   DW96955452 51011952       6,755.85                                           12/27/2002
Voucher Schedule Date   DW96955536 51011958       5,110.66                                           12/27/2002
Indirect Voucher        DW96955452 51011952       2,759.09   16,712.79 32,073,201.99 32,089,914.78   12/27/2002 01/07/2003     11   14,216.27   126,570.12
Indirect Voucher        DW96955536 51011958       2,087.19                                           12/27/2002
Indirect                FY 2003 PP 07                79.18                                           01/07/2003
Payroll                 FY 2003 PP 07               193.87      273.05 32,089,914.78 32,090,187.83   01/07/2003 01/21/2003     14   18,093.59   144,663.71

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                                                                          0576
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2003 (Annual Rate: 1.47%)

Indirect                FY 2003 PP 08               203.58                                           01/21/2003
Payroll                 FY 2003 PP 08               498.48      702.06 32,090,187.83 32,090,889.89   01/21/2003 01/22/2003      1    1,292.43   145,956.14
Voucher Schedule Date   68-R9-0101 14R               34.68                                           01/22/2003
Indirect Voucher        68-R9-0101 14R               14.16       48.84 32,090,889.89 32,090,938.73   01/22/2003 01/23/2003      1    1,292.43   147,248.57
Voucher Schedule Date   68-R9-0101 16                32.76                                           01/23/2003
Indirect Voucher        68-R9-0101 16                13.38       46.14 32,090,938.73 32,090,984.87   01/23/2003 01/30/2003      7    9,047.02   156,295.59
Voucher Schedule Date   DW96955452 51012202       6,153.04                                           01/30/2003
Voucher Schedule Date   DW96955536 51012208       1,411.22                                           01/30/2003
Indirect Voucher        DW96955452 51012202       2,512.90   10,653.50 32,090,984.87 32,101,638.37   01/30/2003 02/04/2003      5    6,464.30   162,759.89
Indirect Voucher        DW96955536 51012208         576.34                                           01/30/2003
Indirect                FY 2003 PP 09               140.32                                           02/04/2003
Payroll                 FY 2003 PP 09               343.58      483.90 32,101,638.37 32,102,122.27   02/04/2003 02/07/2003      3    3,878.64   166,638.53
Travel                  TM0081668                   290.19      408.71 32,102,122.27 32,102,530.98   02/07/2003 02/18/2003     11   14,221.86   180,860.39
Indirect Travel         TM0081668                   118.52                                           02/07/2003
Indirect                FY 2003 PP 10             1,681.86                                           02/18/2003
Payroll                 FY 2003 PP 10             4,118.18    5,800.04 32,102,530.98 32,108,331.02   02/18/2003 02/20/2003      2    2,586.26   183,446.65
Voucher Schedule Date   DW96955452 51012444       4,766.78                                           02/20/2003
Voucher Schedule Date   DW96955536 51012450       1,289.64                                           02/20/2003
Indirect Voucher        DW96955452 51012444       1,946.75    8,529.86 32,108,331.02 32,116,860.88   02/20/2003 02/24/2003      4    5,173.89   188,620.54
Indirect Voucher        DW96955536 51012450         526.69                                           02/20/2003
Travel                  0309TAL311                    9.32      120.11 32,116,860.88 32,116,980.99   02/24/2003 03/04/2003      8   10,347.83   198,968.37
Travel                  0309TAL310                   75.96                                           02/24/2003
Indirect Travel         0309TAL310                   31.02                                           02/24/2003

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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2003 (Annual Rate: 1.47%)

Indirect Travel         0309TAL311                    3.81                                           02/24/2003
Indirect                FY 2003 PP 11               218.16                                           03/04/2003
Payroll                 FY 2003 PP 11               534.16      752.32 32,116,980.99 32,117,733.31   03/04/2003 03/18/2003     14   18,109.12   217,077.49
Indirect                FY 2003 PP 12               333.85                                           03/18/2003
Payroll                 FY 2003 PP 12               817.46    1,151.31 32,117,733.31 32,118,884.62   03/18/2003 03/21/2003      3    3,880.67   220,958.16
Voucher Schedule Date   DW96955452 51012668      23,457.20                                           03/21/2003
Voucher Schedule Date   DW96955536 51012674       1,493.76                                           03/21/2003
Indirect Voucher        DW96955452 51012668       9,579.92   35,140.93 32,118,884.62 32,154,025.55   03/21/2003 04/15/2003     25   32,374.26   253,332.42
Indirect Voucher        DW96955536 51012674         610.05                                           03/21/2003
Indirect                FY 2003 PP 14               179.04                                           04/15/2003
Payroll                 FY 2003 PP 14               438.40      617.44 32,154,025.55 32,154,642.99   04/15/2003 04/17/2003      2    2,589.99   255,922.41
Voucher Schedule Date   DW96955452 51012897       3,290.35                                           04/17/2003
Voucher Schedule Date   DW96955536 51012904       1,258.01                                           04/17/2003
Indirect Voucher        DW96955452 51012897       1,343.78    6,405.91 32,154,642.99 32,161,048.90   04/17/2003 04/29/2003     12   15,543.04   271,465.45
Indirect Voucher        DW96955536 51012904         513.77                                           04/17/2003
Indirect                FY 2003 PP 15               184.55                                           04/29/2003
Payroll                 FY 2003 PP 15               451.88      636.43 32,161,048.90 32,161,685.33   04/29/2003 05/13/2003     14   18,133.90   289,599.35
Indirect                FY 2003 PP 16               249.18                                           05/13/2003
Payroll                 FY 2003 PP 16               610.14      859.32 32,161,685.33 32,162,544.65   05/13/2003 05/22/2003      9   11,657.82   301,257.17
Voucher Schedule Date   DW96955452 51013140       1,866.06                                           05/22/2003
Voucher Schedule Date   DW96955536 51013146         292.66                                           05/22/2003
Indirect Voucher        DW96955452 51013140         762.10    3,040.34 32,162,544.65 32,165,584.99   05/22/2003 05/27/2003      5    6,477.18   307,734.35
Indirect Voucher        DW96955536 51013146         119.52                                           05/22/2003

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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2003 (Annual Rate: 1.47%)

Indirect                FY 2003 PP 17               994.72                                           05/27/2003
Payroll                 FY 2003 PP 17             2,435.64    3,430.36 32,165,584.99 32,169,015.35   05/27/2003 05/28/2003      1    1,295.57   309,029.92
Voucher Schedule Date   DW96955588 51013147       1,613.57                                           05/28/2003
Indirect Voucher        DW96955588 51013147         658.98    2,272.55 32,169,015.35 32,171,287.90   05/28/2003 05/29/2003      1    1,295.67   310,325.59
Voucher Schedule Date   68-R9-0101 20               226.54                                           05/29/2003
Indirect Voucher        68-R9-0101 20                92.52      319.06 32,171,287.90 32,171,606.96   05/29/2003 06/05/2003      7    9,069.75   319,395.34
Voucher Schedule Date   68-R9-0101 21                85.96                                           06/05/2003
Indirect Voucher        68-R9-0101 21                35.11      121.07 32,171,606.96 32,171,728.03   06/05/2003 06/10/2003      5    6,478.42   325,873.76
Indirect                FY 2003 PP 18             1,571.69                                           06/10/2003
Payroll                 FY 2003 PP 18             3,848.40    5,420.09 32,171,728.03 32,177,148.12   06/10/2003 06/13/2003      3    3,887.70   329,761.46
Voucher Schedule Date   68-R9-0101 22               281.30                                           06/13/2003
Indirect Voucher        68-R9-0101 22               114.88      396.18 32,177,148.12 32,177,544.30   06/13/2003 06/24/2003     11   14,255.09   344,016.55
Indirect                FY 2003 PP 19             1,515.78                                           06/24/2003
Payroll                 FY 2003 PP 19             3,711.53    5,227.31 32,177,544.30 32,182,771.61   06/24/2003 07/01/2003      7    9,072.90   353,089.45
Voucher Schedule Date   DW96955452 51013400         139.00                                           07/01/2003
Voucher Schedule Date   DW96955588 51013407       5,138.53                                           07/01/2003
Indirect Voucher        DW96955452 51013400          56.77    7,432.88 32,182,771.61 32,190,204.49   07/01/2003 07/07/2003      6    7,778.56   360,868.01
Indirect Voucher        DW96955588 51013407       2,098.58                                           07/01/2003
Indirect Travel         TM0119480                   284.39      980.74 32,190,204.49 32,191,185.23   07/07/2003 07/08/2003      1    1,296.47   362,164.48
Travel                  TM0119480                   696.35                                           07/07/2003
Indirect                FY 2003 PP 20             1,917.07                                           07/08/2003
Payroll                 FY 2003 PP 20             4,694.12    6,611.19 32,191,185.23 32,197,796.42   07/08/2003 07/16/2003      8   10,373.87   372,538.35
Voucher Schedule Date   68-R9-0101 23               369.99                                           07/16/2003

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                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2003 (Annual Rate: 1.47%)

Indirect Voucher        68-R9-0101 23               151.10      521.09 32,197,796.42 32,198,317.51   07/16/2003 07/22/2003      6    7,780.52   380,318.87
Indirect                FY 2003 PP 21             1,503.04                                           07/22/2003
Payroll                 FY 2003 PP 21             3,680.30    5,183.34 32,198,317.51 32,203,500.85   07/22/2003 07/24/2003      2    2,593.93   382,912.80
Voucher Schedule Date   DW96955588 51013691       6,659.38                                           07/24/2003
Indirect Voucher        DW96955588 51013691       2,719.69    9,379.07 32,203,500.85 32,212,879.92   07/24/2003 08/05/2003     12   15,568.09   398,480.89
Indirect                FY 2003 PP 22             1,751.56                                           08/05/2003
Payroll                 FY 2003 PP 22             4,288.84    6,040.40 32,212,879.92 32,218,920.32   08/05/2003 08/15/2003     10   12,975.84   411,456.73
Voucher Schedule Date   68-R9-0101 24             2,804.52                                           08/15/2003
Indirect Voucher        68-R9-0101 24             1,115.06    3,949.88 32,218,920.32 32,222,870.20   08/15/2003 08/19/2003      4    5,190.97   416,647.70
Indirect Voucher        68-R9-0101 24                30.30                                           08/15/2003
Indirect                FY 2003 PP 23                71.23                                           08/19/2003
Payroll                 FY 2003 PP 23               174.41      245.64 32,222,870.20 32,223,115.84   08/19/2003 08/22/2003      3    3,893.26   420,540.96
Voucher Schedule Date   DW96955452 51013961         471.92                                           08/22/2003
Voucher Schedule Date   DW96955536 51013967         900.00                                           08/22/2003
Voucher Schedule Date   DW96955588 51013968       6,217.04                                           08/22/2003
Indirect Voucher        DW96955452 51013961         192.73   10,688.29 32,223,115.84 32,233,804.13   08/22/2003 09/02/2003     11   14,280.02   434,820.98
Indirect Voucher        DW96955536 51013967         367.56                                           08/22/2003
Indirect Voucher        DW96955588 51013968       2,539.04                                           08/22/2003
Indirect                FY 2003 PP 24               356.39                                           09/02/2003
Payroll                 FY 2003 PP 24               872.67    1,229.06 32,233,804.13 32,235,033.19   09/02/2003 09/16/2003     14   18,175.26   452,996.24
Voucher Schedule Date   68-R9-0101 25             4,958.90                                           09/16/2003
Indirect                FY 2003 PP 25               730.55                                           09/16/2003
Payroll                 FY 2003 PP 25             1,788.79                                           09/16/2003

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                                 COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                  Cost Per     Cost Per                    Cumulative   Date of      Interest           Periodic    Cumulative
Cost Category             Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days    Interest      Interest

   Fiscal Year 2003 (Annual Rate: 1.47%)

Indirect Voucher          68-R9-0101 25                19.97     9,503.46 32,235,033.19 32,244,536.65   09/16/2003 09/29/2003     13    16,882.00    469,878.24
Indirect Voucher          68-R9-0101 25             2,005.25                                            09/16/2003
Voucher Schedule Date     DW96955452 51014242       2,849.63                                            09/29/2003
Voucher Schedule Date     DW96955536 51014247       1,350.00                                            09/29/2003
Voucher Schedule Date     DW96955588 51014248       4,859.31                                            09/29/2003
Indirect Voucher          DW96955452 51014242       1,163.79    12,758.61 32,244,536.65 32,257,295.26   09/29/2003 09/30/2003      1     1,299.13    471,177.37
Indirect Voucher          DW96955536 51014247         551.34                                            09/29/2003
Indirect Voucher          DW96955588 51014248       1,984.54                                            09/29/2003
Indirect                  FY 2003 PP 26               497.06                                            09/30/2003
Payroll                   FY 2003 PP 26             1,217.09     1,714.15 32,257,295.26 32,259,009.41   09/30/2003 10/01/2003      1     1,299.20    472,476.57

   Totals for Fiscal Year 2003                    197,425.13                                                                           472,476.57 12,241,199.06


   Fiscal Year 2004 (Annual Rate: 1.27%)

Prior FY Interest                                 472,476.57   472,476.57 32,259,009.41 32,731,485.98   10/01/2003 10/14/2003     13    14,764.94     14,764.94
Indirect                  FY 2004 PP 01               110.51                                            10/14/2003
Indirect                  FY 2003 PP 27               564.65                                            10/14/2003
Payroll                   FY 2004 PP 01               302.11     2,359.84 32,731,485.98 32,733,845.82   10/14/2003 10/21/2003      7     7,950.93     22,715.87
Payroll                   FY 2003 PP 27             1,382.57                                            10/14/2003
Voucher Schedule Date     68-R9-0101 26               476.44                                            10/21/2003
Indirect Voucher          68-R9-0101 26               174.28      650.72 32,733,845.82 32,734,496.54    10/21/2003 10/28/2003      7     7,951.08     30,666.95
Indirect                  FY 2004 PP 02               594.19                                            10/28/2003
Payroll                   FY 2004 PP 02             1,624.37     2,218.56 32,734,496.54 32,736,715.10   10/28/2003 10/29/2003      1     1,135.95     31,802.90
Voucher Schedule Date     DW96955452 51014565       2,924.54                                            10/29/2003
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                               COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2004 (Annual Rate: 1.27%)

Voucher Schedule Date   DW96955536 51014571       1,292.04                                           10/29/2003
Voucher Schedule Date   DW96955588 51014572       5,417.62                                           10/29/2003
Indirect Voucher        DW96955452 51014565       1,069.80   13,158.40 32,736,715.10 32,749,873.50   10/29/2003 11/07/2003      9   10,227.62    42,030.52
Indirect Voucher        DW96955536 51014571         472.63                                           10/29/2003
Indirect Voucher        DW96955588 51014572       1,981.77                                           10/29/2003
Voucher Schedule Date   68-R9-0101 27             2,972.88                                           11/07/2003
Indirect Voucher        68-R9-0101 27             1,087.48    4,060.36 32,749,873.50 32,753,933.86   11/07/2003 11/11/2003      4    4,546.17    46,576.69
Indirect                FY 2004 PP 03             1,460.77                                           11/11/2003
Payroll                 FY 2004 PP 03             3,993.36    5,454.13 32,753,933.86 32,759,387.99   11/11/2003 11/14/2003      3    3,410.20    49,986.89
Travel                  TM0161740                   384.25      524.81 32,759,387.99 32,759,912.80   11/14/2003 11/25/2003     11   12,504.26    62,491.15
Indirect Travel         TM0161740                   140.56                                           11/14/2003
Indirect                FY 2004 PP 04                52.00                                           11/25/2003
Payroll                 FY 2004 PP 04               142.16      194.16 32,759,912.80 32,760,106.96   11/25/2003 11/28/2003      3    3,410.27    65,901.42
Voucher Schedule Date   DW96955452 51015017       2,420.52                                           11/28/2003
Voucher Schedule Date   DW96955536 51015024       1,705.10                                           11/28/2003
Voucher Schedule Date   DW96955588 51015025       3,658.67                                           11/28/2003
Indirect Voucher        DW96955452 51015017         885.43   10,631.79 32,760,106.96 32,770,738.75   11/28/2003 12/09/2003     11   12,508.39    78,409.81
Indirect Voucher        DW96955536 51015024         623.73                                           11/28/2003
Indirect Voucher        DW96955588 51015025       1,338.34                                           11/28/2003
Indirect                FY 2004 PP 05                40.46                                           12/09/2003
Payroll                 FY 2004 PP 05               110.60      151.06 32,770,738.75 32,770,889.81   12/09/2003 12/23/2003     14   15,919.85    94,329.66
Voucher Schedule Date   DW96955452 51015326       2,239.78                                           12/23/2003
Voucher Schedule Date   DW96955536 51015331         531.05                                           12/23/2003

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                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2004 (Annual Rate: 1.27%)

Voucher Schedule Date   DW96955588 51015332       4,204.47                                           12/23/2003
Indirect                FY 2004 PP 06               536.04                                           12/23/2003
Payroll                 FY 2004 PP 06             1,465.40                                           12/23/2003
Indirect Voucher        DW96955452 51015326         819.31   11,528.31 32,770,889.81 32,782,418.12   12/23/2003 01/06/2004     14   15,925.45   110,255.11
Indirect Voucher        DW96955536 51015331         194.26                                           12/23/2003
Indirect Voucher        DW96955588 51015332       1,538.00                                           12/23/2003
Indirect                FY 2004 PP 07                85.04                                           01/06/2004
Payroll                 FY 2004 PP 07               232.47      317.51 32,782,418.12 32,782,735.63   01/06/2004 01/12/2004      6    6,825.26   117,080.37
Indirect Travel         TM0152675                   143.93      537.41 32,782,735.63 32,783,273.04   01/12/2004 01/20/2004      8    9,100.49   126,180.86
Travel                  TM0152675                   393.48                                           01/12/2004
Indirect                FY 2004 PP 08               148.66                                           01/20/2004
Payroll                 FY 2004 PP 08               406.38      555.04 32,783,273.04 32,783,828.08   01/20/2004 02/02/2004     13   14,788.55   140,969.41
Voucher Schedule Date   DW96955452 51015545       3,985.85                                           02/02/2004
Voucher Schedule Date   DW96955536 51015551         452.44                                           02/02/2004
Voucher Schedule Date   DW96955588 51015552       2,784.95                                           02/02/2004
Indirect Voucher        DW96955452 51015545       1,458.02    9,865.49 32,783,828.08 32,793,693.57   02/02/2004 02/03/2004      1    1,137.92   142,107.33
Indirect Voucher        DW96955536 51015551         165.50                                           02/02/2004
Indirect Voucher        DW96955588 51015552       1,018.73                                           02/02/2004
Indirect                FY 2004 PP 09                21.89                                           02/03/2004
Payroll                 FY 2004 PP 09                59.85       81.74 32,793,693.57 32,793,775.31   02/03/2004 02/17/2004     14   15,930.97   158,038.30
Indirect                FY 2004 PP 10               259.61                                           02/17/2004
Payroll                 FY 2004 PP 10               709.71      969.32 32,793,775.31 32,794,744.63   02/17/2004 02/27/2004     10   11,379.60   169,417.90
Voucher Schedule Date   DW96955452 51015948         238.54                                           02/27/2004

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                                                Cost Per     Cost Per                   Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2004 (Annual Rate: 1.27%)

Voucher Schedule Date   DW96955588 51015954       5,591.16                                           02/27/2004
Indirect Voucher        DW96955452 51015948          87.26    7,962.21 32,794,744.63 32,802,706.84   02/27/2004 03/02/2004      4    4,552.94   173,970.84
Indirect Voucher        DW96955588 51015954       2,045.25                                           02/27/2004
Indirect                FY 2004 PP 11               482.33                                           03/02/2004
Payroll                 FY 2004 PP 11             1,318.59    1,800.92 32,802,706.84 32,804,507.76   03/02/2004 03/05/2004      3    3,414.90   177,385.74
Voucher Schedule Date   68-R9-0101 31             3,720.32                                           03/05/2004
Indirect Voucher        68-R9-0101 31             1,360.89    5,081.21 32,804,507.76 32,809,588.97   03/05/2004 03/16/2004     11   12,523.22   189,908.96
Indirect                FY 2004 PP 12               289.51                                           03/16/2004
Payroll                 FY 2004 PP 12               791.45    1,080.96 32,809,588.97 32,810,669.93   03/16/2004 03/30/2004     14   15,939.17   205,848.13
Indirect                FY 2004 PP 13               185.29                                           03/30/2004
Payroll                 FY 2004 PP 13               506.54      691.83 32,810,669.93 32,811,361.76   03/30/2004 03/31/2004      1    1,138.54   206,986.67
Voucher Schedule Date   68-R9-0101 32             2,619.69                                           03/31/2004
Voucher Schedule Date   68-R9-0101 33               231.48                                           03/31/2004
Indirect Voucher        68-R9-0101 32               958.28    3,894.13 32,811,361.76 32,815,255.89   03/31/2004 04/12/2004     12   13,664.06   220,650.73
Indirect Voucher        68-R9-0101 33                84.68                                           03/31/2004
Voucher Schedule Date   DW96955588 51016190       6,654.27                                           04/12/2004
Indirect Voucher        DW96955588 51016190       2,434.13    9,088.40 32,815,255.89 32,824,344.29   04/12/2004 04/13/2004      1    1,138.99   221,789.72
Indirect                FY 2004 PP 14               427.43                                           04/13/2004
Payroll                 FY 2004 PP 14             1,168.49    1,595.92 32,824,344.29 32,825,940.21   04/13/2004 04/22/2004      9   10,251.38   232,041.10
Voucher Schedule Date   DW96955588 51016462       5,642.18                                           04/22/2004
Indirect Voucher        DW96955588 51016462       2,063.91    7,706.09 32,825,940.21 32,833,646.30   04/22/2004 04/27/2004      5    5,696.55   237,737.65
Indirect                FY 2004 PP 15               351.16                                           04/27/2004
Payroll                 FY 2004 PP 15               959.98    1,311.14 32,833,646.30 32,834,957.44   04/27/2004 05/11/2004     14   15,950.97   253,688.62

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                                                  Cost Per     Cost Per                   Cumulative   Date of      Interest           Periodic    Cumulative
Cost Category             Cost Reference           Item         Date      Prior Balance     Total    Recognition    Through    Days    Interest      Interest

   Fiscal Year 2004 (Annual Rate: 1.27%)

Indirect                  FY 2004 PP 16               273.13                                           05/11/2004
Payroll                   FY 2004 PP 16               746.66    1,019.79 32,834,957.44 32,835,977.23   05/11/2004 05/12/2004      1     1,139.39    254,828.01
Voucher Schedule Date     68-R9-0101 34             1,100.18                                           05/12/2004
Indirect Voucher          68-R9-0101 34               402.45    1,502.63 32,835,977.23 32,837,479.86   05/12/2004 05/21/2004      9    10,254.98    265,082.99
Voucher Schedule Date     DW96955588 51016716       5,345.41                                           05/21/2004
Voucher Schedule Date     68-R9-0101 35             2,934.07                                           05/21/2004
Indirect Voucher          68-R9-0101 35             1,073.28   11,308.11 32,837,479.86 32,848,787.97   05/21/2004 06/08/2004     18    20,517.03    285,600.02
Indirect Voucher          DW96955588 51016716       1,955.35                                           05/21/2004
Indirect                  FY 2004 PP 18                21.82                                           06/08/2004
Payroll                   FY 2004 PP 18                59.66       81.48 32,848,787.97 32,848,869.45   06/08/2004 06/22/2004     14    15,957.73    301,557.75
Indirect                  FY 2004 PP 19               180.95                                           06/22/2004
Payroll                   FY 2004 PP 19               494.68      675.63 32,848,869.45 32,849,545.08   06/22/2004 06/24/2004      2     2,279.72    303,837.47
Voucher Schedule Date     DW96955588 51016976       5,395.04                                           06/24/2004
Indirect Voucher          DW96955588 51016976       1,973.51    7,368.55 32,849,545.08 32,856,913.63   06/24/2004 06/25/2004      1     1,140.12    304,977.59
Voucher Schedule Date     68-R9-0101 36               929.88                                           06/25/2004
Indirect Voucher          68-R9-0101 36               326.22    1,270.03 32,856,913.63 32,858,183.66   06/25/2004 07/06/2004     11    12,541.77    317,519.36
Indirect Voucher          68-R9-0101 36                13.93                                           06/25/2004
Indirect                  FY 2004 PP 20               251.72                                           07/06/2004
Payroll                   FY 2004 PP 20               688.14      939.86 32,858,183.66 32,859,123.52   07/06/2004 10/01/2004     87    99,196.85    416,716.21

   Totals for Fiscal Year 2004                    127,637.54                                                                          416,716.21 12,657,915.27




                                                                          Exhibit 4-A
                                                                            0585
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                                                 Cost Per       Cost Per                    Cumulative   Date of     Interest              Periodic     Cumulative
Cost Category             Cost Reference          Item           Date      Prior Balance      Total    Recognition   Through     Days      Interest       Interest

   Fiscal Year 2005 (Annual Rate: 2.21%)

Prior FY Interest                                416,716.21    416,716.21 32,859,123.52 33,275,839.73    10/01/2004 10/01/2005    365    735,396.06     735,396.06

   Totals for Fiscal Year 2005                         0.00                                                                              735,396.06 13,393,311.33


   Fiscal Year 2006 (Annual Rate: 4.11%)

Prior FY Interest                                735,396.06    735,396.06 33,275,839.73 34,011,235.79    10/01/2005 10/01/2006    365   1,397,861.79   1,397,861.79

   Totals for Fiscal Year 2006                         0.00                                                                             1,397,861.79 14,791,173.12


   Fiscal Year 2007 (Annual Rate: 5.02%)

Prior FY Interest                              1,397,861.79   1,397,861.79 34,011,235.79 35,409,097.58   10/01/2006 10/01/2007    365   1,777,536.70   1,777,536.70

   Totals for Fiscal Year 2007                         0.00                                                                             1,777,536.70 16,568,709.82


   Fiscal Year 2008 (Annual Rate: 4.34%)

Prior FY Interest                              1,777,536.70   1,777,536.70 35,409,097.58 37,186,634.28   10/01/2007 10/01/2008    366   1,613,899.93   1,613,899.93

   Totals for Fiscal Year 2008                         0.00                                                                             1,613,899.93 18,182,609.75


   Fiscal Year 2009 (Annual Rate: 2.15%)

Prior FY Interest                              1,613,899.93   1,613,899.93 37,186,634.28 38,800,534.21   10/01/2008 10/01/2009    365    834,211.49     834,211.49

   Totals for Fiscal Year 2009                         0.00                                                                              834,211.49 19,016,821.24




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                                                 Cost Per     Cost Per                    Cumulative   Date of     Interest            Periodic    Cumulative
Cost Category             Cost Reference          Item         Date       Prior Balance     Total    Recognition   Through     Days    Interest      Interest

   Fiscal Year 2010 (Annual Rate: 2.24%)

Prior FY Interest                                834,211.49   834,211.49 38,800,534.21 39,634,745.70   10/01/2009 10/01/2010    365   887,818.30    887,818.30

   Totals for Fiscal Year 2010                         0.00                                                                           887,818.30 19,904,639.54


   Fiscal Year 2011 (Annual Rate: 0.69%)

Prior FY Interest                                887,818.30   887,818.30 39,634,745.70 40,522,564.00   10/01/2010 10/01/2011    365   279,605.69    279,605.69

   Totals for Fiscal Year 2011                         0.00                                                                           279,605.69 20,184,245.23


   Fiscal Year 2012 (Annual Rate: 0.74%)

Prior FY Interest                                279,605.69   279,605.69 40,522,564.00 40,802,169.69   10/01/2011 10/01/2012    366   301,936.06    301,936.06

   Totals for Fiscal Year 2012                         0.00                                                                           301,936.06 20,486,181.29


   Fiscal Year 2013 (Annual Rate: 0.78%)

Prior FY Interest                                301,936.06   301,936.06 40,802,169.69 41,104,105.75   10/01/2012 10/01/2013    365   320,612.02    320,612.02

   Totals for Fiscal Year 2013                         0.00                                                                           320,612.02 20,806,793.31


   Fiscal Year 2014 (Annual Rate: 0.81%)

Prior FY Interest                                320,612.02   320,612.02 41,104,105.75 41,424,717.77   10/01/2013 10/01/2014    365   335,540.21    335,540.21

   Totals for Fiscal Year 2014                         0.00                                                                           335,540.21 21,142,333.52




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                                                 Cost Per     Cost Per                    Cumulative   Date of     Interest            Periodic    Cumulative
Cost Category             Cost Reference          Item         Date       Prior Balance     Total    Recognition   Through     Days    Interest      Interest

   Fiscal Year 2015 (Annual Rate: 0.75%)

Prior FY Interest                                335,540.21   335,540.21 41,424,717.77 41,760,257.98   10/01/2014 10/01/2015    365   313,201.93    313,201.93

   Totals for Fiscal Year 2015                         0.00                                                                           313,201.93 21,455,535.45


   Fiscal Year 2016 (Annual Rate: 0.67%)

Prior FY Interest                                313,201.93   313,201.93 41,760,257.98 42,073,459.91   10/01/2015 10/01/2016    366   281,892.18    281,892.18

   Totals for Fiscal Year 2016                         0.00                                                                           281,892.18 21,737,427.63


   Fiscal Year 2017 (Annual Rate: 0.7%)

Prior FY Interest                                281,892.18   281,892.18 42,073,459.91 42,355,352.09   10/01/2016 10/01/2017    365   296,487.46    296,487.46

   Totals for Fiscal Year 2017                         0.00                                                                           296,487.46 22,033,915.09


   Fiscal Year 2018 (Annual Rate: 0.87%)

Prior FY Interest                                296,487.46   296,487.46 42,355,352.09 42,651,839.55   10/01/2017 07/31/2018    303   308,039.77    308,039.77

   Totals for Fiscal Year 2018                         0.00                                                                           308,039.77 22,341,954.86




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                                                                            0588
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      COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

      Fiscal                                       Interest                            Cumulative
      Year                          Costs ($)     Rate (%)           Interest ($)      Interest ($)

      1990                       3,265,682.61       8.47%             43,924.86         43,924.86
      1991                       3,653,856.48       7.99%            442,115.82        486,040.68
      1992                       3,240,072.20       5.70%           518,885.09        1,004,925.77
      1993                       1,885,529.27       3.49%           416,798.86        1,421,724.63
      1994                       2,033,538.29       3.36%           484,243.53        1,905,968.16
      1995                       1,862,696.78       5.63%           953,342.86        2,859,311.02
      1996                         895,435.89       5.86%          1,128,455.33       3,987,766.35
      1997                       1,043,030.69       5.69%          1,216,524.47       5,204,290.82
      1998                         577,626.76       5.61%          1,314,025.48       6,518,316.30
      1999                         319,387.47       4.53%          1,139,770.75       7,658,087.05
      2000                        -127,001.85       5.30%          1,393,370.43       9,051,457.48
      2001                         143,860.67       6.18%          1,718,547.16      10,770,004.64
      2002                       1,499,146.53       3.35%           998,717.85       11,768,722.49
      2003                         197,425.13       1.47%           472,476.57       12,241,199.06
      2004                         127,637.54       1.27%           416,716.21       12,657,915.27
      2005                               0.00       2.21%           735,396.06       13,393,311.33
      2006                               0.00       4.11%          1,397,861.79      14,791,173.12
      2007                               0.00       5.02%          1,777,536.70      16,568,709.82
      2008                               0.00       4.34%          1,613,899.93      18,182,609.75
      2009                               0.00       2.15%            834,211.49      19,016,821.24
      2010                               0.00       2.24%           887,818.30       19,904,639.54
      2011                               0.00       0.69%           279,605.69       20,184,245.23
      2012                               0.00       0.74%           301,936.06       20,486,181.29
      2013                               0.00       0.78%           320,612.02       20,806,793.31
      2014                               0.00       0.81%           335,540.21       21,142,333.52
      2015                               0.00       0.75%           313,201.93       21,455,535.45
      2016                               0.00       0.67%           281,892.18       21,737,427.63
      2017                               0.00       0.70%           296,487.46       22,033,915.09
                                                     Exhibit 4-A
                                                       0589
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                                           Interest Cost Summary
                                MCCOLL, FULLERTON, CA SITE ID = 09 04
                          Interest Accrued beginning 07/01/1990 through 07/31/2018
                               CRP# 110926, 101445 & 238
      COSTS FROM 7/1/1990 TO 6/30/2004 WITH INTEREST COSTS (7/1/1990 TO 7/31/2018)

      Fiscal                                       Interest                             Cumulative
      Year                          Costs ($)     Rate (%)             Interest ($)     Interest ($)

      2018                               0.00       0.87%             308,039.77      22,341,954.86

 Total Interest Costs          $20,617,924.46                      $22,341,954.86




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                                                       0590
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                                 EXHIBIT B




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  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

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ITEMIZED COST SUMMARY ...............................................................................................................................
                                                                                                                   Section 2
REGIONAL PAYROLL COSTS ...............................................................................................................................
                                                                                                            Section 3
HEADQUARTERS PAYROLL COSTS ........................................................................................................................
                                                                                                                    Section 4
REGIONAL TRAVEL COSTS ...............................................................................................................................
ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
         ICF INCORPORATED (EPW06041) ................................................................................................................
                                                                                                              Section 5
INTERAGENCY AGREEMENT (IAG)
         DEPARTMENT OF JUSTICE (DOJ) .................................................................................................................
                                                                                                              Section 6
         US ARMY CORPS OF ENGINEERS (DW96922738) .......................................................................................
                                                                                                Section 7
         US ARMY CORPS OF ENGINEERS (DW96955452) .......................................................................................
                                                                                                Section 8
         US ARMY CORPS OF ENGINEERS (DW96955536) .......................................................................................
                                                                                                Section 9
         US ARMY CORPS OF ENGINEERS (DW96955588) .......................................................................................
                                                                                                Section 10
OTHER
         U.S. GOVERNMENT PRINTING OFFICE (1963S60038) ................................................................................
                                                                                              Section 11
         THE BAKERSFIELD CALIF NEWSPAPER (A8BK0000022) ............................................................................
                                                                                           Section 12
         DAILY JOURNAL CORPORATION (A8BK0000470) ........................................................................................
                                                                                                  Section 13
         DAILY JOURNAL CORPORATION (B2BK0000983) ........................................................................................
                                                                                                  Section 14
RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
         ASRC AEROSPACE CORP. (68-R9-0101) .......................................................................................................
                                                                                                          Section 15
         GRB ENVIRONMENTAL SERVICES INC. (EPR90603) ...................................................................................
                                                                                               Section 16
RESPONSE ACTION CONTRACT (RAC)
         CH2M HILL, INC (68-W9-8225) .......................................................................................................................
                                                                                                                     Section 17
                                                                                                               Section 18
EPA INDIRECT COSTS SUMMARY ...........................................................................................................................
                                                                                                                          Section 19
EPA INDIRECT COSTS ...............................................................................................................................




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                                                                     0592
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                                                      Itemized Cost Summary
                                      MCCOLL, FULLERTON, CA SITE ID = 09 04
                                  CRP# 160313
  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)



                                                                                                                         $109,215.00
 REGIONAL PAYROLL COSTS ........................................................................................................................................


                                                                                                                         $466.86
 HEADQUARTERS PAYROLL COSTS .............................................................................................................................


                                                                                                                            $15,314.59
 REGIONAL TRAVEL COSTS ...........................................................................................................................................

 ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
                                                                                                                        $5,388.14
           ICF INCORPORATED (EPW06041) .....................................................................................................................

 INTERAGENCY AGREEMENT (IAG)
                                                                                                                    $318,230.79
           DEPARTMENT OF JUSTICE (DOJ) .....................................................................................................................
                                                                                                        $40,134.33
           US ARMY CORPS OF ENGINEERS (DW96922738) ...........................................................................................
                                                                                                        ($2,794.74)
           US ARMY CORPS OF ENGINEERS (DW96955452) ...........................................................................................
                                                                                                          $2,894.75
           US ARMY CORPS OF ENGINEERS (DW96955536) ...........................................................................................
                                                                                                      $277,761.32
           US ARMY CORPS OF ENGINEERS (DW96955588) ...........................................................................................

 OTHER
                                                                                                         $2,132.00
           U.S. GOVERNMENT PRINTING OFFICE (1963S60038) ....................................................................................
                                                                                                        $184.24
           THE BAKERSFIELD CALIF NEWSPAPER (A8BK0000022) ................................................................................
                                                                                                               $307.06
           DAILY JOURNAL CORPORATION (A8BK0000470) ............................................................................................
                                                                                                               $623.52
           DAILY JOURNAL CORPORATION (B2BK0000983) ............................................................................................

 RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
                                                                                                                  $25,574.67
           ASRC AEROSPACE CORP. (68-R9-0101) ...........................................................................................................
                                                                                                         $1,356.65
           GRB ENVIRONMENTAL SERVICES INC. (EPR90603) .......................................................................................

 RESPONSE ACTION CONTRACT (RAC)
                                                                                                                                  $845.35
           CH2M HILL, INC (68-W9-8225) ...........................................................................................................................


                                                                                                                                $333,399.77
 EPA INDIRECT COSTS ...........................................................................................................................................


                                                                                                   $1,131,034.30
 EPA COSTS BEFORE PREJUDGMENT INTEREST .......................................................................................................
                                                                         Exhibit 4-B
                                                                           0593
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                                                       Itemized Cost Summary
                                      MCCOLL, FULLERTON, CA SITE ID = 09 04
                                  CRP# 160313
  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)



                                                                                                                                    $222,990.48
 Prejudgment Interest ...........................................................................................................................................

 Total Site Costs:                                                                                                                  $1,354,024.78




                                                                           Exhibit 4-B
                                                                             0594
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                                           #:7402
                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                                  CRP# 160313
  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
ADAMS, ELIZABETH                                     2005     14        2.00       155.38
CHIEF, SITE CLEANUP BRANCH                                    25        3.00       232.26
                                                                        5.00      $387.64

BALL, HAROLD                                         2012     27        1.50       122.44
SUPERVISOR ENVIRONMENTAL PROTECTION
                                                                        1.50      $122.44

BERG, ELIZABETH                                      2004     22        3.00        184.51
ATTORNEY-ADVISOR                                              23       27.00      1,660.65
                                                     2005     02       25.00      1,543.72
                                                              03       24.00      1,499.45
                                                              04        5.00        302.50
                                                              07        9.00        571.95
                                                              10       17.00      1,127.76
                                                              12        6.00        398.04
                                                              13        8.00        530.73
                                                              14        5.00        331.71
                                                              19        1.00         66.34
                                                              23       12.00        796.08
                                                              24       12.00        796.08
                                                              27       23.00      1,525.81
                                                     2006     04        7.00        442.06
                                                              09        8.00        551.73
                                                              10        8.00        551.73
                                                              11        4.00        275.86
                                                              12       15.00      1,034.50
                                                              13       44.00      3,034.51
                                                                      263.00    $17,225.72

BERGES, JACK                                         2012     19        1.00        69.85
CHEMIST
                                                                        1.00       $69.85

BLACK, NED                                           2007     11        2.00       131.93
BLACK, JAMES P.                                               13       14.00       923.50

                                              Exhibit 4-B
                                                0595
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                                           #:7403
                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                                  CRP# 160313
  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
ENVIRONMENTAL ENGINEER                               2007     17        1.00       67.70
                                                                       17.00    $1,123.13

CHAN, ELAINE                                         2006     09        0.50       26.51
YEE, ELAINE
ENVIRON. PROTECTION SPECIALIST
                                                                        0.50      $26.51

COOPER, DAVID                                        2008     04        0.50       31.08
COMMUNITY RELATIONS SPECIALIST                                06        0.50       30.85
                                                              09        0.50       32.39
                                                              10        5.00      320.03
                                                              12        0.25       16.19
                                                              15        0.50       32.39
                                                              17        1.50       98.69
                                                              18        2.75      178.11
                                                              19        0.50       32.39
                                                     2012     08        0.50       35.84
                                                              24        2.75      202.53
                                                     2013     02        0.50       36.83
                                                                       15.75    $1,047.32

CORDINI, ALFRED                                      2011     15        1.00       57.33
PROPERTY ACCOUNTABLE OFFICER
                                                                        1.00      $57.33

FITZGERALD, ROBERT                                   2004     22       18.00     1,073.96
ACTING CHIEF, CLEANUP SECTION 2                      2005     07        0.50        29.97
                                                              08        1.00        59.92
                                                              10        1.00        62.43
                                                              13        0.50        32.17
                                                              14        3.50       225.19
                                                              15        0.50        32.16
                                                              16        1.00        64.34
                                                              17        1.00        64.35
                                                              18        1.00        64.33
                                                              19        2.00       128.68
                                              Exhibit 4-B     22        1.00        64.34
                                                0596
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
FITZGERALD, ROBERT                                   2005     23        1.00       64.35
                                                              24        2.00      128.68
                                                              26        1.00       64.96
                                                     2006     02        1.00       65.97
                                                              11        1.00       66.66
                                                                       37.00    $2,292.46

FONG, YVONNE                                         2005     02       12.50      642.64
COST ACCOUNTANT                                               03        8.25      424.12
                                                                       20.75    $1,066.76

GARCIA, JOSE                                         2007     14        1.00       30.54
Community Involvement Specialist                              15        0.25        7.27
                                                              17        3.75      112.17
                                                              18        5.00      148.48
                                                              19       13.00      391.99
                                                              21        3.50      131.31
                                                              22        0.50       18.43
                                                              23        1.00       37.14
                                                              24        1.00       37.91
                                                              25        1.00       39.42
                                                                       30.00     $954.66

HARRIS-BISHOP, RUSSELL                               2007     03        9.00       509.44
ENVIRONMENTAL ENGINEER                                        05       12.00       679.26
                                                              06        7.00       396.25
                                                              07        1.00        56.45
                                                              08       13.00       749.87
                                                              09       20.00     1,149.54
                                                              10        5.00       287.72
                                                              11        1.00        57.54
                                                              12        3.00       171.08
                                                              13       20.00     1,156.46
                                                              14        8.00       457.71
                                                              15        3.00       173.47
                                                              16       10.00       574.10
                                                              17       12.00       693.86
                                              Exhibit 4-B
                                                0597
                                                              18        1.00        58.27
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                                  CRP# 160313
  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
HARRIS-BISHOP, RUSSELL                               2007     19       10.00      616.14
                                                              20        3.00      172.64
                                                              21       14.00      803.74
                                                              22        2.00      116.22
                                                              23        1.00       58.98
                                                              24       12.00      688.93
                                                              25       11.00      632.99
                                                              26        8.00      466.14
                                                     2008     01        3.00      174.80
                                                              03        1.00       58.27
                                                              04        2.00      116.52
                                                              05       20.00    1,151.23
                                                              06       16.00      909.98
                                                              07        2.00      116.53
                                                              08        1.00       60.91
                                                              09        5.00      304.51
                                                              10       11.00      669.89
                                                              11        6.00      365.42
                                                              13       12.00      730.80
                                                              14        5.00      304.51
                                                              15        2.00      121.81
                                                              16        9.00      548.10
                                                              18        3.50      213.16
                                                              19       14.00      857.96
                                                              20        1.00       59.76
                                                              22        2.00      121.81
                                                              23        2.00      121.81
                                                              25        2.00      125.40
                                                              26        1.00       62.70
                                                     2009     02        3.00      188.08
                                                              03        2.00      125.40
                                                              05       40.00    2,507.99
                                                              08       24.00    1,571.29
                                                              10        2.00      130.94
                                                              13        1.00       65.47
                                                              16        4.00      261.87
                                              Exhibit 4-B     17        5.00      327.35
                                                0598
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                                  CRP# 160313
  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                   Fiscal     Pay     Payroll      Payroll
Employee Name                                      Year      Period   Hours        Costs
HARRIS-BISHOP, RUSSELL                              2009      20        1.00         65.47
                                                              25        1.00         65.47
                                                    2010      07        1.00         65.47
                                                              08        8.00        535.60
                                                              14       16.00      1,075.02
                                                    2011      10        1.00         69.36
                                                              11        2.00        138.70
                                                              12        9.00        628.51
                                                              15       16.00      1,109.70
                                                              23        1.00         69.37
                                                    2012      08        2.00        141.13
                                                              12       24.00      1,670.59
                                                              19       20.00      1,395.99
                                                              20        2.00        139.22
                                                              22        1.00         69.61
                                                              23        2.00        139.22
                                                              24       14.00      1,001.58
                                                              25        3.00        214.61
                                                              26        2.00        143.08
                                                              27       11.00        786.96
                                                    2013      01        4.00        286.16
                                                              02        4.00        286.18
                                                                      532.50    $33,198.07

JOHNSON, SHARON                                     2004      20        8.50        453.76
ENVIRONMENTAL PROTECTION SPECIALIST                           22        0.75         40.03
                                                              23       13.50        720.67
                                                              25        0.50         26.75
                                                              26       33.00      1,766.46
                                                              27       40.50      2,162.04
                                                    2005      01        6.00        320.30
                                                              03       38.50      2,063.21
                                                              09        2.00        128.23
                                                              10        8.00        467.62
                                                              14        3.00        175.36
                                                              25        1.50         87.68
                                              Exhibit 2006
                                                      4-B     09        2.00        121.66
                                                0599
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
JOHNSON, SHARON                                      2006     10        3.00       182.50
                                                              12        3.75       229.73
                                                              13       13.75       836.44
                                                              14        1.00        60.82
                                                              23        8.00       486.64
                                                                      187.25    $10,329.90

MAGNUSON, JANET                                      2004     21        5.00        316.12
Attorney-Adviser                                              22        2.00        126.44
                                                              23       20.00      1,264.47
                                                              24        1.00         65.04
                                                              25        5.00        325.25
                                                              27        2.50        162.62
                                                     2005     01        5.00        325.25
                                                              02        1.00         65.30
                                                              03        7.00        435.55
                                                              09        5.00        340.31
                                                              10       11.00        748.68
                                                              11        8.50        578.53
                                                              12        6.50        442.40
                                                              13        2.00        136.13
                                                              23        1.50        102.09
                                                              24       10.50        714.65
                                                              25        4.00        277.15
                                                              26       10.00        680.61
                                                              27       11.50        777.62
                                                     2006     05        7.50        485.66
                                                              06        6.00        388.53
                                                              09        2.00        141.36
                                                              11        2.00        141.37
                                                              12       11.00        777.47
                                                              13       15.00      1,060.19
                                                              22        2.00        141.37
                                                              23        3.00        212.04
                                                     2007     04        4.00        276.54
                                                              05        5.00        345.67
                                              Exhibit 4-B     08        2.00        148.37
                                                0600
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
MAGNUSON, JANET                                      2007     10        2.00        149.08
                                                              11        2.00        148.37
                                                              18        4.00        304.30
                                                              21        5.00        371.42
                                                     2009     05        4.00        297.98
                                                              14        7.50        612.75
                                                              15       12.50      1,021.25
                                                              16        6.50        531.06
                                                              17        2.50        204.25
                                                     2011     10        1.00         85.99
                                                     2012     07        1.00         86.15
                                                              23        3.00        265.69
                                                              24       10.00        885.66
                                                              25        4.00        354.27
                                                     2013     06        2.00        168.63
                                                                      245.50    $17,489.63

MALDONADO, LEWIS                                     2005     14        1.25        97.37
ATTORNEY ADVISOR (GENERAL)                                    20        0.25        19.46
                                                     2006     12        2.00       162.02
                                                              13        3.00       243.01
                                                              14        1.00        81.01
                                                              15        1.25       101.26
                                                     2007     18        0.75        65.43
                                                     2008     01        0.75        62.49
                                                              02        0.50        41.54
                                                              10        2.50       228.97
                                                     2012     13        0.25        24.39
                                                              25        0.25        24.48
                                                                       13.75     $1,151.43

MEDNICK, RICHARD                                     2007     24        7.00       454.64
GENERAL ATTORNEY                                              25        5.00       328.76
                                                     2008     01        2.00       131.50
                                                              10        8.00       544.09
                                                              12        5.00       340.05

                                              Exhibit 4-B
                                                0601
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                                   Regional Payroll Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                                  CRP# 160313
  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
MEDNICK, RICHARD                                     2008     14        1.00       68.02
                                                                       28.00    $1,867.06

SETER, DAVID                                         2004     22       13.00       797.43
ENVIRONMENTAL ENGINEER                                        24        2.00       122.69
                                                     2005     05       17.00       996.09
                                                              06        4.00       234.37
                                                              09       26.00     1,671.10
                                                              10        4.50       289.23
                                                              11        4.00       257.10
                                                              12        5.00       321.37
                                                              13       10.00       642.74
                                                              14       10.00       642.72
                                                              15        9.00       578.45
                                                              16        5.00       321.36
                                                              17        7.50       482.05
                                                              18       15.50       996.22
                                                              19        8.00       514.17
                                                              20        3.00       189.76
                                                              21        3.00       189.77
                                                              22        5.50       347.93
                                                              23        3.50       221.39
                                                              24       28.50     1,802.83
                                                              26        4.50       287.67
                                                     2006     02        7.00       442.79
                                                              03        4.00       244.08
                                                              06        6.00       366.92
                                                              07        4.00       257.10
                                                              08        7.00       449.91
                                                              09       12.00       800.72
                                                              10       27.00     1,801.60
                                                              12        4.00       266.90
                                                              13        8.00       533.82
                                                              14        4.50       300.26
                                                              15        3.50       233.54
                                                              16        3.00       200.18
                                              Exhibit 4-B     17        2.50       166.81
                                                0602
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                                        Regional Payroll Costs
                               MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                         Fiscal    Pay      Payroll        Payroll
Employee Name                                            Year     Period    Hours          Costs
SETER, DAVID                                              2006     18         3.50        233.54
                                                                   20         2.50        166.84
                                                                   22         2.00        133.45
                                                                   25         2.00        134.08
                                                                            291.00     $18,638.98

STERN, ALLYN                                              2004     27         0.25          18.43
ATTORNEY ADVISOR (ENVIRONMENTAL LAW)
                                                                              0.25        $18.43

SUER, ANNA                                                2009     15         0.25          18.28
ENVIRONMENTAL SCIENTIST                                   2010     09         0.25          18.71
                                                                              0.50        $36.99

VILLASENOR, ANDRE                                         2005     26         1.50         44.73
COMMUNITY RELATIONS SPECIALIST                                     27         1.00         29.83
                                                          2006     02         1.50         44.72
                                                                   03         1.00         29.82
                                                                   04         1.00         29.81
                                                                   05         4.50        137.62
                                                                   06         2.00         61.17
                                                                   07         4.00        122.28
                                                                             16.50       $499.98

WETMORE, CYNTHIA                                          2007     02         2.00        126.36
ENVIRONMENTAL ENGINEER                                             05         7.00        443.60
                                                                   20         3.00        195.55
                                                                   21         2.00        131.17
                                                          2012     08         2.00        150.31
                                                                   14         1.00         75.15
                                                                   19         0.50         37.65
                                                                   25         5.00        375.77
                                                                   27         1.00         75.15
                                                                             23.50      $1,610.71


Total Regional Payroll Costs                                               1,731.25   $109,215.00
                                                   Exhibit 4-B
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                                   Headquarters Payroll Costs
                           MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                      Fiscal     Pay     Payroll    Payroll
Employee Name                                         Year      Period   Hours      Costs
HOVIS, JENNIFER                                        2005      23        1.50      76.30
GRIESERT, JENNIFER L.                                  2007      23        4.75     274.27
ENVIRONMENTAL PROTECTION SPECIALIST
                                                                           6.25    $350.57

YOUNG, CHARLES                                         2006      03        0.50      33.23
SUPERVISORY ACCOUNTANT                                           04        1.25      83.06
                                                                           1.75    $116.29


Total Headquarters Payroll Costs                                           8.00    $466.86




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                                                  0604
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                                         #:7412
                                   Regional Travel Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                                  CRP# 160313
  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                                       Treasury
                                       Travel               Treasury   Schedule
Traveler/Vendor Name                   Number               Schedule     Date       Travel Costs

BLACK, NED                          TM0500926              ACHC07113   04/25/2007        340.50
BLACK, JAMES P.
ENVIRONMENTAL ENGINEER

                                                                                        $340.50

FITZGERALD, ROBERT                  TM0230250              ACHA04203   07/23/2004        642.57
ACTING CHIEF, CLEANUP SECTION 2 TM0230250                  ACHC04203   07/23/2004        116.70

                                                                                        $759.27

GARCIA, JOSE                        TM0527974              ACHA07178   06/29/2007        333.28
Community Involvement Specialist

                                                                                        $333.28

HARRIS-BISHOP, RUSSELL              TM0464816              ACHA06334   12/04/2006        424.48
ENVIRONMENTAL ENGINEER              TM0489839              ACHA07043   02/14/2007        479.24
                                    TM0507030              ACHA07102   04/16/2007        669.69
                                    TM0519675              ACHA07150   06/01/2007        376.42
                                    TM0527230              ACHA07184   07/06/2007        251.50
                                    TM0556104              ACHA08029   01/31/2008        725.39
                                    TM0571064              ACHA08035   02/06/2008        761.71
                                    TM0584516              ACHA08105   04/16/2008        604.80
                                    0ONXVW                 ACHA08190   07/10/2008        216.51
                                    0ONXVW                 ACHC08190   07/10/2008        500.00
                                    0P56P8                 ACHA09069   03/12/2009      1,133.93
                                    0OX8G7                 ACHA09155   06/08/2009      1,523.91
                                    0Q5OGZ                 ACHC10025   01/27/2010        102.34
                                    0Q5OGZ                 ACHA10025   01/27/2010        134.93
                                    0QD88P                 ACHC10127   05/11/2010        700.00
                                    0QD88P                 ACHA10127   05/11/2010         75.19

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                                               0605
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                                         #:7413
                                       Regional Travel Costs
                              MCCOLL, FULLERTON, CA SITE ID = 09 04
                                  CRP# 160313
  COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                                           Treasury
                                           Travel               Treasury   Schedule
Traveler/Vendor Name                       Number               Schedule     Date       Travel Costs
HARRIS-BISHOP, RUSSELL                  0RE1UK                 ACHC11105   04/19/2011        349.25
                                        0RIWCV                 ACHA11151   06/02/2011         44.93
                                        0RIWCV                 ACHC11151   06/02/2011        500.00
                                        0SC5TE                 AVC120101   05/09/2012      1,000.00
                                        0SC5TE                 AMP120089   05/09/2012        112.24
                                        0SLFXL                 AVC120137   06/29/2012         91.75
                                        0SLFXL                 AMP120125   06/29/2012        644.08

                                                                                         $11,422.29

MEDNICK, RICHARD                        TM0547362              ACHA07253   09/12/2007        652.00
GENERAL ATTORNEY

                                                                                            $652.00

SETER, DAVID                            TM0228907              ACHA04203   07/23/2004        427.40
ENVIRONMENTAL ENGINEER                  TM0274795              ACHA05026   01/28/2005        485.91
                                        TM0343300              ACHA05235   08/25/2005        408.07
                                        TM0390689              ACHA06039   02/10/2006        485.87

                                                                                          $1,807.25


Total Regional Travel Costs                                                              $15,314.59




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                                                   0606
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                                       Contract Costs
                        MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
Contractor Name:                 ICF INCORPORATED
EPA Contract Number:             EPW06041
Project Officer(s):              FONG, ROSE
Dates of Service:                From: 06/26/2006     To: 06/30/2012
Summary of Service:              SAMPLING ANALYSIS
Total Costs:                           $5,388.14
Voucher                Voucher          Voucher        Treasury Schedule           Site        Annual
Number                   Date           Amount      Number    and Date            Amount      Allocation
26                    07/07/2008      190,332.14    R8F21            08/06/2008      579.04       253.27
1                     08/05/2008      121,154.30    R8F95            09/04/2008      840.19       367.50
22                    05/07/2010      164,426.57    R0745            06/07/2010      371.52       233.75
10                    05/06/2011      133,682.46    R1820            06/06/2011    1,121.87       564.67
12                    07/06/2012      155,245.01    AVC120162        08/06/2012      702.66       353.67

                                                                      Total:      $3,615.28    $1,772.86




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                                                         0607
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                                       Contract Costs
                        MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)


ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
Contractor Name:           ICF INCORPORATED
EPA Contract Number:       EPW06041
Project Officer(s):        FONG, ROSE
Dates of Service:          From: 06/26/2006   To: 06/30/2012
Summary of Service:        SAMPLING ANALYSIS
Total Costs:                      $5,388.14

                                                                                      Annual
Voucher Number            Schedule Number      Rate Type                         Allocation Rate
 26                        R8F21               Final                                  0.437397
 1                         R8F95               Final                                  0.437397
 22                        R0745               Final                                  0.629162
 10                        R1820               Provisional                            0.503330
 12                        AVC120162           Provisional                            0.503330




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                                                 0608
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                                            #:7416
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 DEPARTMENT OF JUSTICE
IAG Number:                     DOJ
Project Officer(s):
Dates of Service:               From: 07/01/2004      To: 12/29/2012
Summary of Service:             LITIGATION SUPPORT
Total Costs:                           $318,230.79


Voucher                    Voucher            Voucher             Treasury Schedule              Site
Number                       Date              Amount        Number      and     Date         Amount
FY2004                    03/04/2013          68,678.30      DOJ SUMMARY       09/30/2004     68,678.30
FY2005                    03/04/2013          42,084.27      DOJ SUMMARY       09/30/2005     42,084.27
FY2006                    03/04/2013         110,605.47      DOJ SUMMARY       09/30/2006    110,605.47
FY2007                    03/04/2013          39,138.88      DOJ SUMMARY       09/30/2007     39,138.88
FY2008                    03/04/2013          27,021.52      DOJ SUMMARY       09/30/2008     27,021.52
FY2009                    03/04/2013           4,636.70      DOJ SUMMARY       09/30/2009      4,636.70
FY2010                    03/04/2013          11,713.74      DOJ SUMMARY       09/30/2010     11,713.74
FY2011                    03/04/2013           8,460.16      DOJ SUMMARY       09/30/2011      8,460.16
FY2012                    03/04/2013           5,238.89      DOJ SUMMARY       09/30/2012      5,238.89
FY2013                    03/04/2013             652.86      DOJ SUMMARY       12/29/2012        652.86

                                                                               Total:       $318,230.79




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96922738
Project Officer(s):             GARUFI, KATHERINE
Dates of Service:               From: 01/31/2012     To: 11/01/2012
Summary of Service:             FIVE-YEAR REVIEW SUPPORT
Total Costs:                           $40,134.33


Voucher                    Voucher           Voucher             Treasury Schedule             Site
Number                       Date             Amount        Number      and     Date        Amount
47049553                  04/19/2012          5,824.89      AVC120096         05/02/2012     5,824.89
47049965                  04/19/2012         10,254.35      AVC120096         05/02/2012    10,254.35
47050647                  09/25/2012          4,389.62      AVC130011         10/10/2012     4,389.62
47050854                  09/25/2012         10,267.44      AVC130011         10/10/2012    10,267.44
47051381                  09/25/2012          1,319.45      AVC130011         10/10/2012     1,319.45
47051931                  09/25/2012          4,444.93      AVC130011         10/10/2012     4,444.93
47052400                  11/06/2012          1,400.99      AVC130049         11/16/2012     1,400.99
47053212                  11/06/2012          1,617.74      AVC130049         11/16/2012     1,617.74
47053498                  11/06/2012             14.86      AVC130049         11/16/2012        14.86
47053609                  11/19/2012            600.06      AVC130060         11/29/2012       600.06

                                                                              Total:       $40,134.33




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
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      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96955452
Project Officer(s):             SETER, DAVID
Dates of Service:               From: 08/09/2004     To: 03/01/2005
Summary of Service:             COST ADJUSTMENT
Total Costs:                           $-2,794.74


Voucher                    Voucher           Voucher             Treasury Schedule             Site
Number                       Date            Amount         Number      and     Date        Amount
51017649                  08/17/2004         -2,894.75      REFUND            08/17/2004    -2,894.75
51019009                  03/07/2005            100.01      000A05095         04/07/2005       100.01

                                                                              Total:       $-2,794.74




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96955536
Project Officer(s):             SETER, DAVID
Dates of Service:               From: 01/02/2004     To: 05/03/2004
Summary of Service:             FIVE-YEAR REVIEW SUPPORT
Total Costs:                           $2,894.75


Voucher                    Voucher           Voucher             Treasury Schedule            Site
Number                       Date            Amount         Number      and     Date       Amount
51016715                  05/07/2004          2,894.75      000A04231         08/20/2004    2,894.75

                                                                              Total:       $2,894.75




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96955588
Project Officer(s):             HARRISBISHOP, RUSSELL
Dates of Service:               From: 06/01/2004      To: 09/21/2008
Summary of Service:             FEDERAL OPERATIONS & MAINTENANCE OVERSIGHT/ENFORCEMENT
                                ACTIVITIES
Total Costs:                           $277,761.32


Voucher                    Voucher            Voucher             Treasury Schedule            Site
Number                       Date             Amount         Number      and     Date       Amount
51017233                  07/19/2004           4,033.89      000A04208         07/28/2004    4,033.89
51017466                  08/09/2004           4,678.35      000A04231         08/20/2004    4,678.35
51017680                  09/13/2004           6,673.20      000A04265         09/23/2004    6,673.20
51018278                  11/09/2004           5,865.90      000A04335         12/02/2004    5,865.90
51018445                  12/13/2004           4,618.02      000A04364         01/03/2005    4,618.02
51018645                  01/12/2005           4,122.66      000A05025         01/27/2005    4,122.66
51018843                  02/09/2005           3,924.83      000A05059         03/02/2005    3,924.83
51019014                  03/07/2005           3,971.78      000A05070         03/15/2005    3,971.78
51017918                  04/01/2005           8,316.99      000A05102         04/14/2005    8,316.99
51019190                  04/14/2005           5,043.59      000A05112         04/26/2005    5,043.59
51019401                  05/09/2005           4,857.13      000A05143         05/25/2005    4,857.13
51019591                  06/10/2005           9,342.04      ACHC05173         06/24/2005    9,342.04
51019802                  07/14/2005           2,833.26      ACHC05203         07/26/2005    2,833.26
51020024                  08/08/2005           4,734.67      ACHC05228         08/18/2005    4,734.67
51020216                  09/09/2005           4,927.51      ACHC05262         09/21/2005    4,927.51
51020446                  10/13/2005           6,202.01      ACHC05298         10/27/2005    6,202.01
51020661                  10/13/2005           1,362.00      ACHC05298         10/27/2005    1,362.00
51020784                  11/14/2005           5,104.00      ACHC05326         11/25/2005    5,104.00
51020946                  12/27/2005           2,971.42      ACHC06011         01/13/2006    2,971.42
51021133                  01/12/2006           4,236.45      ACHC06027         01/31/2006    4,236.45
51021331                  02/09/2006           3,165.16      ACHC06054         02/27/2006    3,165.16
51021525                  03/07/2006           4,829.14      ACHC06082         03/27/2006    4,829.14
51021706                  04/07/2006           5,669.45      ACHC06111         04/25/2006    5,669.45
51021920                  05/08/2006           6,306.14      ACHC06139         05/23/2006    6,306.14
51022139                  06/09/2006           8,661.39      ACHC06171         06/22/2006    8,661.39
51022369                  07/17/2006           6,042.13      ACHC06212         08/02/2006    6,042.13
51022576                  09/11/2006           5,687.84      ACHC06268         09/27/2006    5,687.84
51022780                  09/11/2006           5,413.75      ACHC06268         09/27/2006    5,413.75
51023042                  10/11/2006           8,431.61      ACHC06297         10/26/2006    8,431.61

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                                       Contract Costs
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      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96955588
Project Officer(s):             HARRISBISHOP, RUSSELL
Dates of Service:               From: 06/01/2004        To: 09/21/2008
Summary of Service:             FEDERAL OPERATIONS & MAINTENANCE OVERSIGHT/ENFORCEMENT
                                ACTIVITIES
Total Costs:                           $277,761.32


Voucher                    Voucher            Voucher             Treasury Schedule            Site
Number                       Date             Amount         Number      and    Date         Amount
51023323                  10/11/2006           1,520.00      ACHC06297        10/26/2006      1,520.00
51023425                  11/20/2006           5,913.97      ACHC06335        12/05/2006      5,913.97
51023598                  12/07/2006           4,529.68      ACHC06353        12/21/2006      4,529.68
51023992                  02/12/2007             727.70      ACHC07058        03/01/2007        727.70
51024214                  03/08/2007           2,882.39      ACHC07079        03/22/2007      2,882.39
51024464                  04/12/2007           4,025.09      ACHC07121        05/03/2007      4,025.09
51024738                  05/14/2007             738.78      ACHC07149        05/31/2007        738.78
51024968                  06/20/2007           4,386.81      ACHC07180        07/03/2007      4,386.81
51025211                  07/13/2007          22,944.22      ACHC07205        07/26/2007     22,944.22
51025439                  08/17/2007          12,979.90      ACHC07240        08/30/2007     12,979.90
51025650                  09/11/2007           2,879.63      ACHC07268        09/27/2007      2,879.63
51025903                  10/16/2007           3,545.53      ACHC07303        11/01/2007      3,545.53
51026139                  10/16/2007           2,853.33      ACHC07303        11/01/2007      2,853.33
51026236                  11/16/2007           3,981.73      ACHC07345        12/13/2007      3,981.73
51026438                  12/12/2007           5,488.80      ACHC08004        01/08/2008      5,488.80
51026676                  01/16/2008           6,392.16      ACHC08032        02/05/2008      6,392.16
51026902                  02/14/2008           4,822.36      ACHC08064        03/06/2008      4,822.36
51027152                  03/14/2008          15,582.98      ACHC08085        03/27/2008     15,582.98
51027692                  04/29/2008          -3,466.49      REFUND           04/29/2008     -3,466.49
51027719                  05/12/2008           6,991.00      ACHC08169        06/19/2008      6,991.00
51027993                  06/17/2008           2,877.70      ACHC08190        07/10/2008      2,877.70
51028249                  07/14/2008           5,547.37      ACHC08218        08/07/2008      5,547.37
51028552                  08/11/2008           1,087.36      ACHC08239        08/28/2008      1,087.36
51029098                  09/18/2008          -2,081.36      REFUND           09/18/2008     -2,081.36
51029171                  11/21/2008           9,394.70      ACHC08344        12/11/2008      9,394.70
REFUND                    03/02/2010            -810.33      REFUND           03/02/2010       -810.33

                                                                               Total:      $277,761.32


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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
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      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

OTHER
Contractor Name:                U.S. GOVERNMENT PRINTING OFFICE
EPA Contract Number:            1963S60038
Project Officer(s):             BONIFACIO, ANITA E
Dates of Service:               From: 06/11/2008     To: 06/11/2008
Summary of Service:             PRINT ORDER FOR FIVE-YEAR REVIEW FACTSHEETS
Total Costs:                           $2,132.00


Voucher                    Voucher           Voucher             Treasury Schedule            Site
Number                       Date            Amount         Number      and     Date       Amount
00178552                  07/15/2008          5,297.00      270859190         09/05/2008    2,132.00

                                                                              Total:       $2,132.00




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

OTHER
Contractor Name:                THE BAKERSFIELD CALIF NEWSPAPER
EPA Contract Number:            A8BK0000022
Project Officer(s):             BONIFACIO, ANITA E
Dates of Service:               From: 09/06/2007     To: 09/06/2007
Summary of Service:             PUBLIC NOTICE/ADVERTISING ORDER FOR THE FIVE-YEAR REVIEW
Total Costs:                            $184.24


Voucher                    Voucher         Voucher             Treasury Schedule           Site
Number                       Date           Amount        Number      and     Date       Amount
937322                    10/11/2007      136,821.61      ACHC07290         10/19/2007     184.24

                                                                            Total:        $184.24




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

OTHER
Contractor Name:                DAILY JOURNAL CORPORATION
EPA Contract Number:            A8BK0000470
Project Officer(s):             BONIFACIO, ANITA E
Dates of Service:               From: 06/12/2008     To: 06/12/2008
Summary of Service:             PUBLIC NOTICE/ADVERTISING ORDER FOR THE FIVE-YEAR REVIEW
Total Costs:                            $307.06


Voucher                    Voucher         Voucher             Treasury Schedule           Site
Number                       Date           Amount        Number      and     Date       Amount
1042625                   09/11/2008      166,280.78      ACHC08267         09/25/2008     307.06

                                                                            Total:        $307.06




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

OTHER
Contractor Name:                DAILY JOURNAL CORPORATION
EPA Contract Number:            B2BK0000983
Project Officer(s):             BONIFACIO, ANITA E
Dates of Service:               From: 08/29/2012     To: 08/29/2012
Summary of Service:             PUBLIC NOTICE/ADVERTISING ORDER FOR THE FIVE-YEAR REVIEW
Total Costs:                            $623.52


Voucher                    Voucher         Voucher             Treasury Schedule           Site
Number                       Date           Amount        Number      and     Date       Amount
1440395                   09/21/2012       38,189.67      AVC130003         10/02/2012     623.52

                                                                            Total:        $623.52




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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                ASRC AEROSPACE CORP.
EPA Contract Number:            68-R9-0101
Project Officer(s):             CHAN, ELAINE
Dates of Service:               From: 04/26/2004      To: 07/30/2006
Summary of Service:             RECORDS MANAGEMENT SUPPORT SERVICES
Total Costs:                           $25,574.67


Voucher                    Voucher            Voucher             Treasury Schedule             Site
Number                       Date              Amount        Number      and     Date        Amount
38                        06/11/2004         216,387.37      R4504             07/08/2004       223.17
39                        07/09/2004         152,633.90      R4554             08/04/2004       283.02
40                        08/03/2004         152,217.32      R4609             09/02/2004        19.03
41                        09/03/2004         203,987.36      R5026             10/15/2004       691.76
43                        11/04/2004          89,817.01      R5154             12/14/2004     1,005.67
44                        11/04/2004          68,267.31      R5163             12/16/2004       338.39
45                        12/07/2004         133,129.82      R5189             01/04/2005        12.75
46                        01/13/2005         174,836.61      R5266             02/11/2005        58.67
47                        02/10/2005         146,192.15      R5317             03/08/2005        72.96
48                        03/08/2005         143,445.99      R5365             04/01/2005       335.27
49                        04/04/2005         144,032.58      R5418             04/28/2005     4,507.66
50                        05/04/2005         158,728.68      R5485             06/03/2005     3,291.76
51                        06/09/2005         191,508.24      R5549             07/07/2005     8,822.25
52                        07/06/2005         150,823.77      R5602             08/03/2005        96.07
53                        08/10/2005         181,689.72      R5668             09/07/2005        44.06
54                        09/07/2005         154,944.40      R6005             10/05/2005       860.40
55                        10/14/2005         178,491.58      R6072             11/09/2005     1,020.58
56                        11/07/2005          83,912.67      R6119             12/01/2005       737.91
58                        12/16/2005         142,412.19      R6210             01/13/2006       166.94
59                        01/17/2006         171,741.97      R6263             02/10/2006       906.30
60                        01/10/2006         144,001.64      R6320             03/08/2006       177.82
61                        03/06/2006         151,044.29      R6366             03/30/2006       286.36
62                        04/05/2006         154,589.69      R6422             05/02/2006       575.91
63                        05/08/2006         185,495.64      R6484             06/01/2006       559.93
64                        06/05/2006         144,609.23      R6544             06/29/2006       269.64
65                        07/07/2006         148,961.34      R6612             08/03/2006       101.30
66                        08/09/2006         179,069.93      R6684             09/05/2006       109.09

                                                                               Total:       $25,574.67


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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                GRB ENVIRONMENTAL SERVICES INC.
EPA Contract Number:            EPR90603
Project Officer(s):             CHAN, ELAINE
                                PENNINGTON, GREG
Dates of Service:               From: 03/01/2007    To: 10/31/2012
Summary of Service:             RECORDS MANAGEMENT SUPPORT SERVICES
Total Costs:                           $1,356.65


Voucher                    Voucher          Voucher             Treasury Schedule           Site
Number                       Date            Amount        Number      and     Date       Amount
6                         04/12/2007       174,550.50      R7E64             04/30/2007      35.64
7                         05/16/2007       156,247.37      R7F54             06/11/2007      43.69
8                         06/15/2007       177,028.58      R7G16             07/11/2007      51.60
9                         07/13/2007       168,810.14      R7G69             08/07/2007     184.14
10                        08/17/2007       170,643.69      R7H34             09/06/2007      32.43
11                        09/17/2007       183,962.25      R8183             10/11/2007      10.32
14                        11/16/2007        76,144.63      R8484             12/17/2007      10.36
21                        06/10/2008       169,714.27      R8E51             07/09/2008      38.54
23                        08/06/2008       192,631.49      R8F98             09/04/2008      74.32
25                        10/09/2008       178,459.62      R9531             11/07/2008      20.73
26R-OPTION1               11/14/2008       101,171.99      R9621             12/10/2008        3.21
30                        03/04/2009       166,615.18      R9919             04/01/2009      66.73
31                        04/08/2009       205,000.62      R9A09             05/05/2009        7.28
32                        05/07/2009       195,353.26      R9A82             06/01/2009      87.07
33                        06/05/2009       179,121.07      R9B78             07/07/2009     109.26
34                        07/07/2009       204,787.83      R9C65             08/04/2009      37.24
36                        09/10/2009       192,937.48      R0007             10/06/2009      69.44
38                        10/26/2009        83,964.57      R0131             11/16/2009        6.77
41                        01/06/2010       207,035.71      R0320             01/14/2010      41.14
42                        02/04/2010       169,902.61      R0407             02/12/2010      24.38
43                        03/03/2010       170,845.73      R0513             03/19/2010      62.45
44                        04/02/2010       181,625.68      R0628             04/29/2010      32.88
46                        06/07/2010       179,454.34      R0829             06/30/2010      24.38
47                        07/08/2010       181,369.26      R0921             07/28/2010      39.51
52                        11/05/2010        81,957.66      R1149             11/19/2010      23.13
61                        08/12/2011       169,929.26      R1B26             08/29/2011      25.91
74                        09/17/2012       182,306.28      AVC120198         09/26/2012      50.12



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                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
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      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                GRB ENVIRONMENTAL SERVICES INC.
EPA Contract Number:            EPR90603
Project Officer(s):             CHAN, ELAINE
                                PENNINGTON, GREG
Dates of Service:               From: 03/01/2007      To: 10/31/2012
Summary of Service:             RECORDS MANAGEMENT SUPPORT SERVICES
Total Costs:                           $1,356.65


Voucher                    Voucher          Voucher             Treasury Schedule          Site
Number                       Date           Amount         Number      and    Date       Amount
76                        11/08/2012       148,463.44      AVC130057        11/27/2012     143.98

                                                                             Total:      $1,356.65




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                                       Contract Costs
                        MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

RESPONSE ACTION CONTRACT (RAC)
Contractor Name:                 CH2M HILL, INC
EPA Contract Number:             68-W9-8225
Project Officer(s):              NANBU, LINDA
Dates of Service:                From: 10/01/2005     To: 01/31/2009
Summary of Service:              COMMUNITY RELATIONS SUPPORT
Total Costs:                             $845.35
Voucher                Voucher          Voucher        Treasury Schedule           Site      Annual
Number                   Date           Amount      Number    and Date            Amount    Allocation
178                   01/20/2006     1,167,173.64   R6280            02/17/2006    263.11          6.58
181                   02/20/2006     1,173,737.54   R6343            03/21/2006    325.94          8.15
189                   05/20/2006     1,233,555.74   R6517            06/16/2006     -0.84         -0.02
206                   10/27/2006             0.00   JVG0562          12/05/2006    211.12          4.20
213Z                  12/29/2006       -62,005.15   07C62            01/22/2007     -7.10         -0.18
JVH0763               01/03/2008             0.00   H0763            01/03/2008     -2.19         -0.04
253                   02/20/2008     1,275,235.97   R8C12            03/24/2008      0.09          0.00
259Z                  03/28/2008        19,015.20   R8C82            04/24/2008      2.18          0.04
278                   10/24/2008             0.00   JVJ1119          01/21/2009      1.29          0.03
291                   04/24/2009     2,013,619.55   R9A69            05/27/2009     23.99          0.48
307                   12/20/2009             0.00   JVK0925          01/28/2010      8.35          0.17

                                                                      Total:      $825.94       $19.41




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                                       Contract Costs
                        MCCOLL, FULLERTON, CA SITE ID = 09 04
                                      CRP# 160313
      COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)


RESPONSE ACTION CONTRACT (RAC)
Contractor Name:           CH2M HILL, INC
EPA Contract Number:       68-W9-8225
Project Officer(s):        NANBU, LINDA
Dates of Service:          From: 10/01/2005   To: 01/31/2009
Summary of Service:        COMMUNITY RELATIONS SUPPORT
Total Costs:                       $845.35

                                                                                      Annual
Voucher Number            Schedule Number     Rate Type                          Allocation Rate
 178                       R6280              Final                                   0.024990
 181                       R6343              Final                                   0.024990
 189                       R6517              Final                                   0.024990
 206                       JVG0562            Provisional                             0.019897
 213Z                      07C62              Final                                   0.024871
 JVH0763                   H0763              Provisional                             0.019897
 253                       R8C12              Provisional                             0.019897
 259Z                      R8C82              Provisional                             0.019897
 278                       JVJ1119            Provisional                             0.019897
 291                       R9A69              Provisional                             0.019897
 307                       JVK0925            Provisional                             0.019897




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                           MCCOLL, FULLERTON, CA SITE ID = 09 04
                                    CRP# 160313
    COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)


          Fiscal Year            Direct Costs             Indirect Rate( %)   Indirect Costs
              2004                 97,062.95                      36.58%          35,505.65
              2005                157,065.03                      42.41%          66,611.29
              2006                202,294.18                      43.94%          88,888.04
              2007                131,749.43                      35.15%          46,309.95
              2008                 97,633.98                      45.07%          44,003.64
              2009                 25,041.45                      47.71%          11,947.27
              2010                 14,525.41                      36.19%           5,256.73
              2011                 13,248.88                      45.79%           6,066.65
              2012                 32,759.97                      45.96%          15,056.46
              2013                 26,253.25                      52.39%          13,754.09
                                  797,634.53

Total EPA Indirect Costs                                                        $333,399.77




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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)


                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                    Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                       Year     Period              Costs        (%)       Costs
BERG, ELIZABETH                     2004        22                   184.51   36.58%          67.49
                                                23                 1,660.65   36.58%         607.47
                                                                   1,845.16              $674.96


FITZGERALD, ROBERT                  2004        22                 1,073.96   36.58%         392.85
                                                                   1,073.96              $392.85


JOHNSON, SHARON                     2004        20                   453.76   36.58%         165.99
                                                22                    40.03   36.58%          14.64
                                                23                   720.67   36.58%         263.62
                                                25                    26.75   36.58%           9.79
                                                26                 1,766.46   36.58%         646.17
                                                27                 2,162.04   36.58%         790.87
                                                                   5,169.71            $1,891.08


MAGNUSON, JANET                     2004        21                   316.12   36.58%         115.64
                                                22                   126.44   36.58%          46.25
                                                23                 1,264.47   36.58%         462.54
                                                24                    65.04   36.58%          23.79
                                                25                   325.25   36.58%         118.98
                                                27                   162.62   36.58%          59.49
                                                                   2,259.94              $826.69


SETER, DAVID                        2004        22                   797.43   36.58%         291.70
                                                24                   122.69   36.58%          44.88
                                                                     920.12              $336.58




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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                          Ind.
                                           Fiscal      Pay                    Payroll     Rate     Indirect
Employee Name                              Year       Period                  Costs       (%)       Costs
STERN, ALLYN                               2004         27                        18.43   36.58%         6.74
                                                                                  18.43                $6.74



      Total Fiscal Year 2004 Payroll Direct Costs:                            11,287.32            $4,128.90

                                          TRAVEL DIRECT COSTS

                                                              Treasury                    Ind.
                                           Travel             Schedule        Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date          Costs       (%)       Costs
FITZGERALD, ROBERT                         TM0230250         07/23/2004          116.70   36.58%       42.69
                                                                                 642.57   36.58%      235.06
                                                                                 759.27              $277.75


SETER, DAVID                               TM0228907         07/23/2004          427.40   36.58%      156.35
                                                                                 427.40              $156.35



       Total Fiscal Year 2004 Travel Direct Costs:                             1,186.67              $434.10

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site            Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount             Costs    (%)        Costs
68-R9-0101       38                      07/08/2004                 223.17         0.00   36.58%       81.64
                 39                      08/04/2004                 278.67         0.00   36.58%      101.94
                                                                      4.35         0.00   36.58%        1.59
                 40                      09/02/2004                  19.03         0.00   36.58%        6.96
                                                                    525.22         0.00              $192.13




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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                               Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site               Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount                Costs    (%)           Costs
DOJ              FY2004                  09/30/2004             68,678.30                0.00   36.58%    25,122.52
                                                                68,678.30                0.00            $25,122.52


DW96955452       51017649                08/17/2004                 -2,894.75            0.00   36.58%    -1,058.90
                                                                    -2,894.75            0.00            $-1,058.90


DW96955536       51016715                08/20/2004                 2,894.75             0.00   36.58%     1,058.90
                                                                    2,894.75             0.00             $1,058.90


DW96955588       51017233                07/28/2004                 4,033.89             0.00   36.58%     1,475.60
                 51017466                08/20/2004                 4,678.35             0.00   36.58%     1,711.34
                 51017680                09/23/2004                 6,673.20             0.00   36.58%     2,441.06
                                                                15,385.44                0.00             $5,628.00



       Total Fiscal Year 2004 Other Direct Costs:               84,588.96                0.00            $30,942.65

                      Total Fiscal Year 2004:                              97,062.95                     $35,505.65


                                         PAYROLL DIRECT COSTS
                                                                                                Ind.
                                          Fiscal       Pay                       Payroll        Rate     Indirect
Employee Name                             Year        Period                     Costs          (%)       Costs
ADAMS, ELIZABETH                          2005          14                             155.38   42.41%        65.90
                                                        25                             232.26   42.41%        98.50
                                                                                       387.64              $164.40


BERG, ELIZABETH                           2005          02                         1,543.72     42.41%      654.69
                                                        03                         1,499.45     42.41%      635.92
                                                        04                           302.50     42.41%      128.29
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                    Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                       Year     Period              Costs        (%)       Costs
BERG, ELIZABETH                     2005        07                   571.95   42.41%         242.56
                                                10                 1,127.76   42.41%         478.28
                                                12                   398.04   42.41%         168.81
                                                13                   530.73   42.41%         225.08
                                                14                   331.71   42.41%         140.68
                                                19                    66.34   42.41%          28.13
                                                23                   796.08   42.41%         337.62
                                                24                   796.08   42.41%         337.62
                                                27                 1,525.81   42.41%         647.10
                                                                   9,490.17            $4,024.78


FITZGERALD, ROBERT                  2005        07                    29.97   42.41%          12.71
                                                08                    59.92   42.41%          25.41
                                                10                    62.43   42.41%          26.48
                                                13                    32.17   42.41%          13.64
                                                14                   225.19   42.41%          95.50
                                                15                    32.16   42.41%          13.64
                                                16                    64.34   42.41%          27.29
                                                17                    64.35   42.41%          27.29
                                                18                    64.33   42.41%          27.28
                                                19                   128.68   42.41%          54.57
                                                22                    64.34   42.41%          27.29
                                                23                    64.35   42.41%          27.29
                                                24                   128.68   42.41%          54.57
                                                26                    64.96   42.41%          27.55
                                                                   1,085.87              $460.51


FONG, YVONNE                        2005        02                   642.64   42.41%         272.54
                                                03                   424.12   42.41%         179.87
                                                                   1,066.76              $452.41




                                              Exhibit 4-B
                                                0628
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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                    Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                       Year     Period              Costs        (%)       Costs
HOVIS, JENNIFER                     2005        23                    76.30   42.41%          32.36
                                                                      76.30                  $32.36


JOHNSON, SHARON                     2005        01                   320.30   42.41%         135.84
                                                03                 2,063.21   42.41%         875.01
                                                09                   128.23   42.41%          54.38
                                                10                   467.62   42.41%         198.32
                                                14                   175.36   42.41%          74.37
                                                25                    87.68   42.41%          37.19
                                                                   3,242.40            $1,375.11


MAGNUSON, JANET                     2005        01                   325.25   42.41%         137.94
                                                02                    65.30   42.41%          27.69
                                                03                   435.55   42.41%         184.72
                                                09                   340.31   42.41%         144.33
                                                10                   748.68   42.41%         317.52
                                                11                   578.53   42.41%         245.35
                                                12                   442.40   42.41%         187.62
                                                13                   136.13   42.41%          57.73
                                                23                   102.09   42.41%          43.30
                                                24                   714.65   42.41%         303.08
                                                25                   277.15   42.41%         117.54
                                                26                   680.61   42.41%         288.65
                                                27                   777.62   42.41%         329.79
                                                                   5,624.27            $2,385.26


MALDONADO, LEWIS                    2005        14                    97.37   42.41%          41.29
                                                20                    19.46   42.41%           8.25
                                                                     116.83                  $49.54


SETER, DAVID                        2005        05                   996.09   42.41%         422.44
                                              Exhibit 4-B
                                                0629
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                     Ind.
                                           Fiscal     Pay                Payroll     Rate     Indirect
Employee Name                              Year      Period              Costs       (%)       Costs
SETER, DAVID                               2005        06                   234.37   42.41%       99.40
                                                       09                 1,671.10   42.41%      708.71
                                                       10                   289.23   42.41%      122.66
                                                       11                   257.10   42.41%      109.04
                                                       12                   321.37   42.41%      136.29
                                                       13                   642.74   42.41%      272.59
                                                       14                   642.72   42.41%      272.58
                                                       15                   578.45   42.41%      245.32
                                                       16                   321.36   42.41%      136.29
                                                       17                   482.05   42.41%      204.44
                                                       18                   996.22   42.41%      422.50
                                                       19                   514.17   42.41%      218.06
                                                       20                   189.76   42.41%       80.48
                                                       21                   189.77   42.41%       80.48
                                                       22                   347.93   42.41%      147.56
                                                       23                   221.39   42.41%       93.89
                                                       24                 1,802.83   42.41%      764.58
                                                       26                   287.67   42.41%      122.00
                                                                         10,986.32             $4,659.31


VILLASENOR, ANDRE                          2005        26                    44.73   42.41%        18.97
                                                       27                    29.83   42.41%        12.65
                                                                             74.56               $31.62



      Total Fiscal Year 2005 Payroll Direct Costs:                       32,151.12            $13,635.30

                                          TRAVEL DIRECT COSTS

                                                             Treasury                Ind.
                                           Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number              Date      Costs       (%)       Costs
SETER, DAVID                               TM0274795        01/28/2005      485.91   42.41%      206.07


                                                     Exhibit 4-B
                                                       0630
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
SETER, DAVID                               TM0343300         08/25/2005            408.07   42.41%      173.06
                                                                                   893.98              $379.13



       Total Fiscal Year 2005 Travel Direct Costs:                                 893.98              $379.13

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-R9-0101       41                      10/15/2004                   656.56         0.00   42.41%       278.45
                                                                       35.20         0.00   42.41%        14.93
                 43                      12/14/2004                 1,005.67         0.00   42.41%       426.50
                 44                      12/16/2004                   338.39         0.00   42.41%       143.51
                 45                      01/04/2005                    12.75         0.00   42.41%         5.41
                 46                      02/11/2005                    58.67         0.00   42.41%        24.88
                 47                      03/08/2005                    72.96         0.00   42.41%        30.94
                 48                      04/01/2005                   335.27         0.00   42.41%       142.19
                 49                      04/28/2005                 4,507.66         0.00   42.41%     1,911.70
                 50                      06/03/2005                   564.29         0.00   42.41%       239.32
                                                                    2,727.47         0.00   42.41%     1,156.72
                 51                      07/07/2005                 4,479.53         0.00   42.41%     1,899.77
                                                                    1,074.31         0.00   42.41%       455.61
                                                                    3,268.41         0.00   42.41%     1,386.13
                 52                      08/03/2005                    96.07         0.00   42.41%        40.74
                 53                      09/07/2005                    44.06         0.00   42.41%        18.69
                                                                19,277.27            0.00             $8,175.49


DOJ              FY2005                  09/30/2005             42,084.27            0.00   42.41%    17,847.94
                                                                42,084.27            0.00            $17,847.94




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                                                        0631
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                                            EPA Indirect Costs
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate       Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)         Costs
DW96955452       51019009                04/07/2005                  100.01           0.00   42.41%        42.41
                                                                     100.01           0.00               $42.41


DW96955588       51018278                12/02/2004                 5,865.90          0.00   42.41%     2,487.73
                 51018445                01/03/2005                 4,618.02          0.00   42.41%     1,958.50
                 51018645                01/27/2005                 4,122.66          0.00   42.41%     1,748.42
                 51018843                03/02/2005                 3,098.45          0.00   42.41%     1,314.05
                                                                      826.38          0.00   42.41%       350.47
                 51019014                03/15/2005                 3,971.78          0.00   42.41%     1,684.43
                 51017918                04/14/2005                 8,316.99          0.00   42.41%     3,527.24
                 51019190                04/26/2005                 5,043.59          0.00   42.41%     2,138.99
                 51019401                05/25/2005                 4,857.13          0.00   42.41%     2,059.91
                 51019591                06/24/2005                 9,342.04          0.00   42.41%     3,961.96
                 51019802                07/26/2005                 2,833.26          0.00   42.41%     1,201.59
                 51020024                08/18/2005                 4,734.67          0.00   42.41%     2,007.97
                 51020216                09/21/2005                 4,927.51          0.00   42.41%     2,089.76
                                                                62,558.38             0.00            $26,531.02



       Total Fiscal Year 2005 Other Direct Costs:              124,019.93             0.00            $52,596.86

                      Total Fiscal Year 2005:                            157,065.03                   $66,611.29


                                         PAYROLL DIRECT COSTS
                                                                                             Ind.
                                          Fiscal       Pay                      Payroll      Rate     Indirect
Employee Name                             Year        Period                    Costs        (%)       Costs
BERG, ELIZABETH                           2006          04                          442.06   43.94%      194.24
                                                        09                          551.73   43.94%      242.43
                                                        10                          551.73   43.94%      242.43
                                                        11                          275.86   43.94%      121.21
                                                        12                        1,034.50   43.94%      454.56

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                                                        0632
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                                      EPA Indirect Costs
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                    Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                       Year     Period              Costs        (%)       Costs
BERG, ELIZABETH                     2006        13                 3,034.51   43.94%    1,333.36
                                                                   5,890.39            $2,588.23


CHAN, ELAINE                        2006        09                    26.51   43.94%          11.65
                                                                      26.51                  $11.65


FITZGERALD, ROBERT                  2006        02                    65.97   43.94%          28.99
                                                11                    66.66   43.94%          29.29
                                                                     132.63                  $58.28


JOHNSON, SHARON                     2006        09                   121.66   43.94%          53.46
                                                10                   182.50   43.94%          80.19
                                                12                   229.73   43.94%         100.94
                                                13                   836.44   43.94%         367.53
                                                14                    60.82   43.94%          26.72
                                                23                   486.64   43.94%         213.83
                                                                   1,917.79              $842.67


MAGNUSON, JANET                     2006        05                   485.66   43.94%         213.40
                                                06                   388.53   43.94%         170.72
                                                09                   141.36   43.94%          62.11
                                                11                   141.37   43.94%          62.12
                                                12                   777.47   43.94%         341.62
                                                13                 1,060.19   43.94%         465.85
                                                22                   141.37   43.94%          62.12
                                                23                   212.04   43.94%          93.17
                                                                   3,347.99            $1,471.11


MALDONADO, LEWIS                    2006        12                   162.02   43.94%          71.19
                                                13                   243.01   43.94%         106.78
                                              Exhibit 4-B
                                                0633
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                                      EPA Indirect Costs
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
MALDONADO, LEWIS                     2006       14                    81.01   43.94%          35.60
                                                15                   101.26   43.94%          44.49
                                                                     587.30              $258.06


SETER, DAVID                         2006       02                   253.04   43.94%      111.19
                                                                     189.75   43.94%       83.38
                                                03                   244.08   43.94%      107.25
                                                06                   366.92   43.94%      161.22
                                                07                   257.10   43.94%      112.97
                                                08                   449.91   43.94%      197.69
                                                09                   800.72   43.94%      351.84
                                                10                 1,801.60   43.94%      791.62
                                                12                   266.90   43.94%      117.28
                                                13                   533.82   43.94%      234.56
                                                14                   300.26   43.94%      131.93
                                                15                   233.54   43.94%      102.62
                                                16                   200.18   43.94%       87.96
                                                17                   166.81   43.94%       73.30
                                                18                   233.54   43.94%      102.62
                                                20                   166.84   43.94%       73.31
                                                22                   133.45   43.94%       58.64
                                                25                   134.08   43.94%       58.91
                                                                   6,732.54             $2,958.29


VILLASENOR, ANDRE                    2006       02                    44.72   43.94%          19.65
                                                03                    29.82   43.94%          13.10
                                                04                    29.81   43.94%          13.10
                                                05                   137.62   43.94%          60.47
                                                06                    61.17   43.94%          26.88
                                                07                   122.28   43.94%          53.73
                                                                     425.42              $186.93


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                                                0634
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                          Ind.
                                           Fiscal      Pay                    Payroll     Rate     Indirect
Employee Name                              Year       Period                  Costs       (%)       Costs
YOUNG, CHARLES                             2006         03                        33.23   43.94%       14.60
                                                        04                        83.06   43.94%       36.50
                                                                                 116.29               $51.10



      Total Fiscal Year 2006 Payroll Direct Costs:                            19,176.86            $8,426.32

                                          TRAVEL DIRECT COSTS

                                                              Treasury                    Ind.
                                           Travel             Schedule        Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date          Costs       (%)       Costs
SETER, DAVID                               TM0390689         02/10/2006          485.87   43.94%      213.48
                                                                                 485.87              $213.48



       Total Fiscal Year 2006 Travel Direct Costs:                               485.87              $213.48

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site            Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount             Costs    (%)        Costs
68-R9-0101       54                      10/05/2005                 163.88         0.00   43.94%       72.01
                                                                    696.52         0.00   43.94%      306.05
                 55                      11/09/2005                 252.96         0.00   43.94%      111.15
                                                                    767.62         0.00   43.94%      337.29
                 56                      12/01/2005                  30.35         0.00   43.94%       13.34
                                                                    707.56         0.00   43.94%      310.90
                 58                      01/13/2006                 166.94         0.00   43.94%       73.35
                 59                      02/10/2006                 906.30         0.00   43.94%      398.23
                 60                      03/08/2006                 156.96         0.00   43.94%       68.97
                                                                     20.86         0.00   43.94%        9.17
                 61                      03/30/2006                  91.56         0.00   43.94%       40.23
                                                                    194.80         0.00   43.94%       85.60
                 62                      05/02/2006                 575.91         0.00   43.94%      253.05
                                                      Exhibit 4-B
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                                      EPA Indirect Costs
                            MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                     OTHER DIRECT COSTS
Contract,                            Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher             Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                Date             Amount               Costs    (%)        Costs
68-R9-0101       63                 06/01/2006                  559.93          0.00   43.94%      246.03
                 64                 06/29/2006                  269.64          0.00   43.94%      118.48
                 65                 08/03/2006                  101.30          0.00   43.94%       44.51
                 66                 09/05/2006                  109.09          0.00   43.94%       47.93
                                                               5,772.18         0.00             $2,536.29


68-W9-8225       178                02/17/2006                  263.11          6.58   43.94%      118.50
                 181                03/21/2006                  325.94          8.15   43.94%      146.80
                 189                06/16/2006                   -0.84         -0.02   43.94%       -0.38
                                                                588.21         14.71              $264.92


DOJ              FY2006             09/30/2006            110,605.47            0.00   43.94%    48,600.04
                                                          110,605.47            0.00            $48,600.04


DW96955588       51020446           10/27/2005                 6,202.01         0.00   43.94%     2,725.16
                 51020661           10/27/2005                 1,362.00         0.00   43.94%       598.46
                 51020784           11/25/2005                 5,104.00         0.00   43.94%     2,242.70
                 51020946           01/13/2006                 2,971.42         0.00   43.94%     1,305.64
                 51021133           01/31/2006                 4,236.45         0.00   43.94%     1,861.50
                 51021331           02/27/2006                 3,165.16         0.00   43.94%     1,390.77
                 51021525           03/27/2006                 4,829.14         0.00   43.94%     2,121.92
                 51021706           04/25/2006                 5,669.45         0.00   43.94%     2,491.16
                 51021920           05/23/2006                 6,306.14         0.00   43.94%     2,770.92
                 51022139           06/22/2006                 8,661.39         0.00   43.94%     3,805.81
                 51022369           08/02/2006                 1,674.71         0.00   43.94%       735.87
                                                               4,367.42         0.00   43.94%     1,919.04
                 51022576           09/27/2006                 5,687.84         0.00   43.94%     2,499.24




                                                 Exhibit 4-B
                                                   0636
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                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)           Costs
DW96955588       51022780                09/27/2006                 5,413.75            0.00   43.94%     2,378.80
                                                                65,650.88               0.00            $28,846.99



       Total Fiscal Year 2006 Other Direct Costs:              182,616.74              14.71            $80,248.24

                      Total Fiscal Year 2006:                            202,294.18                     $88,888.04


                                         PAYROLL DIRECT COSTS
                                                                                               Ind.
                                          Fiscal       Pay                      Payroll        Rate     Indirect
Employee Name                             Year        Period                    Costs          (%)       Costs
BLACK, NED                                2007          11                            131.93   35.15%       46.37
                                                        13                            923.50   35.15%      324.61
                                                        17                             67.70   35.15%       23.80
                                                                                  1,123.13                $394.78


GARCIA, JOSE                              2007          14                             30.54   35.15%       10.73
                                                        15                              7.27   35.15%        2.56
                                                        17                            112.17   35.15%       39.43
                                                        18                            148.48   35.15%       52.19
                                                        19                            391.99   35.15%      137.78
                                                        21                            131.31   35.15%       46.16
                                                        22                             18.43   35.15%        6.48
                                                        23                             37.14   35.15%       13.05
                                                        24                             37.91   35.15%       13.33
                                                        25                             39.42   35.15%       13.86
                                                                                      954.66              $335.57


HARRIS-BISHOP, RUSSELL                    2007          03                            509.44   35.15%      179.07
                                                        05                            679.26   35.15%      238.76
                                                        06                            396.25   35.15%      139.28
                                                      Exhibit 4-B
                                                        0637
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL               2007       07                    56.45   35.15%       19.84
                                                08                   749.87   35.15%      263.58
                                                09                 1,149.54   35.15%      404.06
                                                10                   287.72   35.15%      101.13
                                                11                    57.54   35.15%       20.23
                                                12                   171.08   35.15%       60.13
                                                13                 1,156.46   35.15%      406.50
                                                14                   457.71   35.15%      160.89
                                                15                   173.47   35.15%       60.97
                                                16                   574.10   35.15%      201.80
                                                17                   693.86   35.15%      243.89
                                                18                    58.27   35.15%       20.48
                                                19                   616.14   35.15%      216.57
                                                20                   172.64   35.15%       60.68
                                                21                   803.74   35.15%      282.51
                                                22                   116.22   35.15%       40.85
                                                23                    58.98   35.15%       20.73
                                                24                   688.93   35.15%      242.16
                                                25                   632.99   35.15%      222.50
                                                26                   466.14   35.15%      163.85
                                                                  10,726.80             $3,770.46


HOVIS, JENNIFER                      2007       23                   274.27   35.15%          96.41
                                                                     274.27               $96.41


MAGNUSON, JANET                      2007       04                   276.54   35.15%       97.20
                                                05                   345.67   35.15%      121.50
                                                08                   148.37   35.15%       52.15
                                                10                   149.08   35.15%       52.40
                                                11                   148.37   35.15%       52.15
                                                18                   304.30   35.15%      106.96



                                              Exhibit 4-B
                                                0638
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                     Ind.
                                           Fiscal     Pay                Payroll     Rate     Indirect
Employee Name                              Year      Period              Costs       (%)       Costs
MAGNUSON, JANET                            2007        21                   371.42   35.15%      130.55
                                                                          1,743.75              $612.91


MALDONADO, LEWIS                           2007        18                    65.43   35.15%       23.00
                                                                             65.43               $23.00


MEDNICK, RICHARD                           2007        24                   454.64   35.15%      159.81
                                                       25                   328.76   35.15%      115.56
                                                                            783.40              $275.37


WETMORE, CYNTHIA                           2007        02                   126.36   35.15%       44.42
                                                       05                   443.60   35.15%      155.93
                                                       20                   195.55   35.15%       68.74
                                                       21                   131.17   35.15%       46.11
                                                                            896.68              $315.20



      Total Fiscal Year 2007 Payroll Direct Costs:                       16,568.12            $5,823.70

                                          TRAVEL DIRECT COSTS

                                                             Treasury                Ind.
                                           Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number              Date      Costs       (%)       Costs
BLACK, NED                                 TM0500926        04/25/2007      340.50   35.15%      119.69
                                                                            340.50              $119.69


GARCIA, JOSE                               TM0527974        06/29/2007      333.28   35.15%      117.15
                                                                            333.28              $117.15


HARRIS-BISHOP, RUSSELL                     TM0464816        12/04/2006      424.48   35.15%      149.20
                                                     Exhibit 4-B
                                                       0639
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     TM0489839         02/14/2007            479.24   35.15%      168.46
                                           TM0507030         04/16/2007            669.69   35.15%      235.40
                                           TM0519675         06/01/2007            376.42   35.15%      132.31
                                           TM0527230         07/06/2007            251.50   35.15%       88.40
                                                                                 2,201.33              $773.77


MEDNICK, RICHARD                           TM0547362         09/12/2007            652.00   35.15%      229.18
                                                                                   652.00              $229.18



       Total Fiscal Year 2007 Travel Direct Costs:                               3,527.11             $1,239.79

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
68-W9-8225       206                     12/05/2006                  211.12          4.20   35.15%        75.68
                 213Z                    01/22/2007                   -7.10         -0.18   35.15%        -2.56
                                                                     204.02          4.02               $73.12


DOJ              FY2007                  09/30/2007             39,138.88            0.00   35.15%    13,757.32
                                                                39,138.88            0.00            $13,757.32


DW96955588       51023042                10/26/2006                 8,431.61         0.00   35.15%     2,963.71
                 51023323                10/26/2006                 1,520.00         0.00   35.15%       534.28
                 51023425                12/05/2006                 5,913.97         0.00   35.15%     2,078.76
                 51023598                12/21/2006                 4,529.68         0.00   35.15%     1,592.18
                 51023992                03/01/2007                   727.70         0.00   35.15%       255.79
                 51024214                03/22/2007                 2,882.39         0.00   35.15%     1,013.16
                 51024464                05/03/2007                 4,025.09         0.00   35.15%     1,414.82
                 51024738                05/31/2007                   738.78         0.00   35.15%       259.68

                                                      Exhibit 4-B
                                                        0640
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                            Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site            Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount             Costs    (%)           Costs
DW96955588       51024968                07/03/2007              4,386.81             0.00   35.15%     1,541.96
                 51025211                07/26/2007              5,048.00             0.00   35.15%     1,774.37
                                                                13,828.55             0.00   35.15%     4,860.74
                                                                 4,067.67             0.00   35.15%     1,429.79
                 51025439                08/30/2007             12,979.90             0.00   35.15%     4,562.43
                 51025650                09/27/2007              2,879.63             0.00   35.15%     1,012.19
                                                                71,959.78             0.00            $25,293.86


EPR90603         6                       04/30/2007                  35.64            0.00   35.15%        12.53
                 7                       06/11/2007                  43.69            0.00   35.15%        15.36
                 8                       07/11/2007                  51.60            0.00   35.15%        18.14
                 9                       08/07/2007                 184.14            0.00   35.15%        64.73
                 10                      09/06/2007                  32.43            0.00   35.15%        11.40
                                                                    347.50            0.00              $122.16



       Total Fiscal Year 2007 Other Direct Costs:              111,650.18             4.02            $39,246.46

                      Total Fiscal Year 2007:                          131,749.43                     $46,309.95


                                         PAYROLL DIRECT COSTS
                                                                                             Ind.
                                          Fiscal       Pay                    Payroll        Rate     Indirect
Employee Name                             Year        Period                  Costs          (%)       Costs
COOPER, DAVID                             2008          04                           31.08   45.07%       14.01
                                                        06                           30.85   45.07%       13.90
                                                        09                           32.39   45.07%       14.60
                                                        10                          320.03   45.07%      144.24
                                                        12                           16.19   45.07%        7.30
                                                        15                           32.39   45.07%       14.60
                                                        17                           98.69   45.07%       44.48
                                                        18                          178.11   45.07%       80.27

                                                      Exhibit 4-B
                                                        0641
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                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                     Fiscal    Pay                Payroll     Rate     Indirect
Employee Name                        Year     Period              Costs       (%)       Costs
COOPER, DAVID                        2008       19                    32.39   45.07%          14.60
                                                                     772.12              $348.00


HARRIS-BISHOP, RUSSELL               2008       01                   174.80   45.07%       78.78
                                                03                    58.27   45.07%       26.26
                                                04                   116.52   45.07%       52.52
                                                05                 1,151.23   45.07%      518.86
                                                06                   909.98   45.07%      410.13
                                                07                   116.53   45.07%       52.52
                                                08                    60.91   45.07%       27.45
                                                09                   304.51   45.07%      137.24
                                                10                   669.89   45.07%      301.92
                                                11                   365.42   45.07%      164.69
                                                13                   730.80   45.07%      329.37
                                                14                   304.51   45.07%      137.24
                                                15                   121.81   45.07%       54.90
                                                16                   548.10   45.07%      247.03
                                                18                   213.16   45.07%       96.07
                                                19                   857.96   45.07%      386.68
                                                20                    59.76   45.07%       26.93
                                                22                   121.81   45.07%       54.90
                                                23                   121.81   45.07%       54.90
                                                25                   125.40   45.07%       56.52
                                                26                    62.70   45.07%       28.26
                                                                   7,195.88             $3,243.17


MALDONADO, LEWIS                     2008       01                    62.49   45.07%       28.16
                                                02                    41.54   45.07%       18.72
                                                10                   228.97   45.07%      103.20
                                                                     333.00              $150.08


MEDNICK, RICHARD                     2008       01                   131.50   45.07%          59.27
                                              Exhibit 4-B
                                                0642
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                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                             Ind.
                                           Fiscal      Pay                      Payroll      Rate     Indirect
Employee Name                              Year       Period                    Costs        (%)       Costs
MEDNICK, RICHARD                           2008         10                         544.09    45.07%      245.22
                                                        12                         340.05    45.07%      153.26
                                                        14                          68.02    45.07%       30.66
                                                                                 1,083.66               $488.41



      Total Fiscal Year 2008 Payroll Direct Costs:                               9,384.66             $4,229.66

                                          TRAVEL DIRECT COSTS

                                                              Treasury                       Ind.
                                           Travel             Schedule          Travel       Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs        (%)       Costs
HARRIS-BISHOP, RUSSELL                     TM0556104         01/31/2008            725.39    45.07%      326.94
                                           TM0571064         02/06/2008            761.71    45.07%      343.30
                                           TM0584516         04/16/2008            604.80    45.07%      272.59
                                           0ONXVW            07/10/2008            500.00    45.07%      225.34
                                                                                   216.51    45.07%       97.58
                                                                                 2,808.41             $1,265.75



       Total Fiscal Year 2008 Travel Direct Costs:                               2,808.41             $1,265.75

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate       Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)         Costs
1963S60038       00178552                09/05/2008                 2,132.00         0.00    45.07%      960.89
                                                                    2,132.00         0.00               $960.89


68-W9-8225       JVH0763                 01/03/2008                    -2.19         -0.04   45.07%        -1.01
                 253                     03/24/2008                     0.09          0.00   45.07%         0.04



                                                      Exhibit 4-B
                                                        0643
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                                      EPA Indirect Costs
                            MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                     OTHER DIRECT COSTS
Contract,                            Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher             Schedule            Site            Allocation Rate      Indirect
Misc.NO          Number                Date             Amount             Costs    (%)        Costs
68-W9-8225       259Z               04/24/2008                   2.18         0.04   45.07%         1.00
                                                                 0.08         0.00                $0.03


A8BK0000022      937322             10/19/2007                 184.24         0.00   45.07%        83.04
                                                               184.24         0.00               $83.04


A8BK0000470      1042625            09/25/2008                 307.06         0.00   45.07%      138.39
                                                               307.06         0.00              $138.39


DOJ              FY2008             09/30/2008             27,021.52          0.00   45.07%    12,178.60
                                                           27,021.52          0.00            $12,178.60


DW96955588       51025903           11/01/2007              3,545.53          0.00   45.07%     1,597.97
                 51026139           11/01/2007              2,853.33          0.00   45.07%     1,286.00
                 51026236           12/13/2007              3,981.73          0.00   45.07%     1,794.57
                 51026438           01/08/2008              5,488.80          0.00   45.07%     2,473.80
                 51026676           02/05/2008              6,392.16          0.00   45.07%     2,880.95
                 51026902           03/06/2008              4,822.36          0.00   45.07%     2,173.44
                 51027152           03/27/2008              2,402.97          0.00   45.07%     1,083.02
                                                           13,180.01          0.00   45.07%     5,940.23
                 51027692           04/29/2008             -3,466.49          0.00   45.07%    -1,562.35
                 51027719           06/19/2008              3,466.49          0.00   45.07%     1,562.35
                                                            3,524.51          0.00   45.07%     1,588.50
                 51027993           07/10/2008              2,877.70          0.00   45.07%     1,296.98
                 51028249           08/07/2008              5,547.37          0.00   45.07%     2,500.20
                 51028552           08/28/2008              1,087.36          0.00   45.07%       490.07
                 51029098           09/18/2008             -2,081.36          0.00   45.07%      -938.07
                                                           53,622.47          0.00            $24,167.66


EPR90603         11                 10/11/2007                  10.32         0.00   45.07%         4.65
                                                 Exhibit 4-B
                                                   0644
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)           Costs
EPR90603         14                      12/17/2007                   10.36             0.00   45.07%         4.67
                 21                      07/09/2008                   38.54             0.00   45.07%        17.37
                 23                      09/04/2008                   74.32             0.00   45.07%        33.50
                                                                     133.54             0.00               $60.19


EPW06041         26                      08/06/2008                  579.04           253.27   45.07%      375.12
                 1                       09/04/2008                  840.19           367.50   45.07%      544.31
                                                                    1,419.23          620.77              $919.43



       Total Fiscal Year 2008 Other Direct Costs:               84,820.14             620.77            $38,508.23

                      Total Fiscal Year 2008:                             97,633.98                     $44,003.64


                                         PAYROLL DIRECT COSTS
                                                                                               Ind.
                                          Fiscal       Pay                      Payroll        Rate     Indirect
Employee Name                             Year        Period                    Costs          (%)       Costs
HARRIS-BISHOP, RUSSELL                    2009          02                          188.08     47.71%        89.73
                                                        03                          125.40     47.71%        59.83
                                                        05                        2,507.99     47.71%     1,196.56
                                                        08                        1,571.29     47.71%       749.66
                                                        10                          130.94     47.71%        62.47
                                                        13                           65.47     47.71%        31.24
                                                        16                          261.87     47.71%       124.94
                                                        17                          327.35     47.71%       156.18
                                                        20                           65.47     47.71%        31.24
                                                        25                           65.47     47.71%        31.24
                                                                                  5,309.33               $2,533.09


MAGNUSON, JANET                           2009          05                            297.98   47.71%      142.17
                                                        14                            612.75   47.71%      292.34
                                                      Exhibit 4-B
                                                        0645
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                                            EPA Indirect Costs
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                         Ind.
                                           Fiscal      Pay                   Payroll     Rate     Indirect
Employee Name                              Year       Period                 Costs       (%)       Costs
MAGNUSON, JANET                            2009         15                    1,021.25   47.71%      487.24
                                                        16                      531.06   47.71%      253.37
                                                        17                      204.25   47.71%       97.45
                                                                              2,667.29            $1,272.57


SUER, ANNA                                 2009         15                       18.28   47.71%         8.72
                                                                                 18.28                $8.72



      Total Fiscal Year 2009 Payroll Direct Costs:                            7,994.90            $3,814.38

                                          TRAVEL DIRECT COSTS

                                                              Treasury                   Ind.
                                           Travel             Schedule       Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date         Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     0P56P8            03/12/2009       1,133.93   47.71%      540.99
                                           0OX8G7            06/08/2009       1,523.91   47.71%      727.05
                                                                              2,657.84            $1,268.04



       Total Fiscal Year 2009 Travel Direct Costs:                            2,657.84            $1,268.04

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                          Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site           Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount            Costs    (%)        Costs
68-W9-8225       278                     01/21/2009                  1.29         0.03   47.71%         0.63
                 291                     05/27/2009                 23.99         0.48   47.71%        11.67
                                                                    25.28         0.51               $12.30




                                                      Exhibit 4-B
                                                        0646
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate       Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)         Costs
DOJ              FY2009                  09/30/2009                 4,636.70          0.00   47.71%     2,212.17
                                                                    4,636.70          0.00            $2,212.17


DW96955588       51029171                12/11/2008                 9,394.70          0.00   47.71%     4,482.21
                                                                    9,394.70          0.00            $4,482.21


EPR90603         25                      11/07/2008                   20.73           0.00   47.71%        9.89
                 26R-OPTION1             12/10/2008                    3.21           0.00   47.71%        1.53
                 30                      04/01/2009                   66.73           0.00   47.71%       31.84
                 31                      05/05/2009                    7.28           0.00   47.71%        3.47
                 32                      06/01/2009                   61.16           0.00   47.71%       29.18
                                                                      25.91           0.00   47.71%       12.36
                 33                      07/07/2009                   78.79           0.00   47.71%       37.59
                                                                      30.47           0.00   47.71%       14.54
                 34                      08/04/2009                   37.24           0.00   47.71%       17.77
                                                                     331.52           0.00              $158.17



       Total Fiscal Year 2009 Other Direct Costs:               14,388.20             0.51            $6,864.85

                      Total Fiscal Year 2009:                             25,041.45                   $11,947.27


                                         PAYROLL DIRECT COSTS
                                                                                             Ind.
                                          Fiscal       Pay                      Payroll      Rate     Indirect
Employee Name                             Year        Period                    Costs        (%)       Costs
HARRIS-BISHOP, RUSSELL                    2010          07                           65.47   36.19%       23.69
                                                        08                          535.60   36.19%      193.83
                                                        14                        1,075.02   36.19%      389.05
                                                                                  1,676.09              $606.57



                                                      Exhibit 4-B
                                                        0647
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                         Ind.
                                           Fiscal      Pay                   Payroll     Rate     Indirect
Employee Name                              Year       Period                 Costs       (%)       Costs
SUER, ANNA                                 2010         09                       18.71   36.19%         6.77
                                                                                 18.71                $6.77



      Total Fiscal Year 2010 Payroll Direct Costs:                            1,694.80              $613.34

                                          TRAVEL DIRECT COSTS

                                                              Treasury                   Ind.
                                           Travel             Schedule       Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date         Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     0Q5OGZ            01/27/2010         102.34   36.19%       37.04
                                                                                134.93   36.19%       48.83
                                           0QD88P            05/11/2010         700.00   36.19%      253.33
                                                                                 75.19   36.19%       27.21
                                                                              1,012.46              $366.41



       Total Fiscal Year 2010 Travel Direct Costs:                            1,012.46              $366.41

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                          Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site           Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount            Costs    (%)        Costs
68-W9-8225       307                     01/28/2010                 8.35          0.17   36.19%         3.08
                                                                    8.35          0.17                $3.08


DOJ              FY2010                  09/30/2010             11,713.74         0.00   36.19%    4,239.20
                                                                11,713.74         0.00            $4,239.20




                                                      Exhibit 4-B
                                                        0648
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site             Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount              Costs    (%)           Costs
DW96955588       REFUND                  03/02/2010                 -810.33            0.00   36.19%     -293.26
                                                                    -810.33            0.00             $-293.26


EPR90603         36                      10/06/2009                  69.44             0.00   36.19%       25.13
                 38                      11/16/2009                   6.77             0.00   36.19%        2.45
                 41                      01/14/2010                  41.14             0.00   36.19%       14.89
                 42                      02/12/2010                  24.38             0.00   36.19%        8.82
                 43                      03/19/2010                  62.45             0.00   36.19%       22.60
                 44                      04/29/2010                  32.88             0.00   36.19%       11.90
                 46                      06/30/2010                  24.38             0.00   36.19%        8.82
                 47                      07/28/2010                  39.51             0.00   36.19%       14.30
                                                                    300.95             0.00              $108.91


EPW06041         22                      06/07/2010                 371.52           233.75   36.19%      219.05
                                                                    371.52           233.75              $219.05



       Total Fiscal Year 2010 Other Direct Costs:               11,584.23            233.92            $4,276.98

                      Total Fiscal Year 2010:                            14,525.41                     $5,256.73


                                         PAYROLL DIRECT COSTS
                                                                                              Ind.
                                          Fiscal       Pay                     Payroll        Rate     Indirect
Employee Name                             Year        Period                   Costs          (%)       Costs
CORDINI, ALFRED                           2011          15                            57.33   45.79%       26.25
                                                                                      57.33               $26.25


HARRIS-BISHOP, RUSSELL                    2011          10                            69.36   45.79%       31.76
                                                        11                           138.70   45.79%       63.51
                                                        12                           628.51   45.79%      287.79
                                                      Exhibit 4-B
                                                        0649
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                                            Ind.
                                           Fiscal      Pay                      Payroll     Rate     Indirect
Employee Name                              Year       Period                    Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     2011         15                       1,109.70   45.79%      508.13
                                                        23                          69.37   45.79%       31.76
                                                                                 2,015.64              $922.95


MAGNUSON, JANET                            2011         10                          85.99   45.79%       39.37
                                                                                    85.99               $39.37



      Total Fiscal Year 2011 Payroll Direct Costs:                               2,158.96              $988.57

                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     0RE1UK            04/19/2011            349.25   45.79%      159.93
                                           0RIWCV            06/02/2011             44.93   45.79%       20.57
                                                                                   500.00   45.79%      228.95
                                                                                   894.18              $409.45



       Total Fiscal Year 2011 Travel Direct Costs:                                 894.18              $409.45

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
DOJ              FY2011                  09/30/2011                 8,460.16         0.00   45.79%    3,873.91
                                                                    8,460.16         0.00            $3,873.91


EPR90603         52                      11/19/2010                   23.13          0.00   45.79%       10.59



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                                                        0650
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)           Costs
EPR90603         61                      08/29/2011                   25.91             0.00   45.79%        11.86
                                                                      49.04             0.00               $22.45


EPW06041         10                      06/06/2011                 1,121.87          564.67   45.79%      772.27
                                                                    1,121.87          564.67              $772.27



       Total Fiscal Year 2011 Other Direct Costs:                   9,631.07          564.67            $4,668.63

                      Total Fiscal Year 2011:                             13,248.88                     $6,066.65


                                         PAYROLL DIRECT COSTS
                                                                                               Ind.
                                          Fiscal       Pay                      Payroll        Rate     Indirect
Employee Name                             Year        Period                    Costs          (%)       Costs
BALL, HAROLD                              2012          27                            122.44   45.96%       56.27
                                                                                      122.44               $56.27


BERGES, JACK                              2012          19                             69.85   45.96%       32.10
                                                                                       69.85               $32.10


COOPER, DAVID                             2012          08                             35.84   45.96%       16.47
                                                        24                            202.53   45.96%       93.08
                                                                                      238.37              $109.55


HARRIS-BISHOP, RUSSELL                    2012          08                          141.13     45.96%       64.86
                                                        12                        1,670.59     45.96%      767.80
                                                        19                        1,395.99     45.96%      641.60
                                                        20                          139.22     45.96%       63.99
                                                        22                           69.61     45.96%       31.99
                                                      Exhibit 4-B
                                                        0651
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                         PAYROLL DIRECT COSTS
                                                                               Ind.
                                           Fiscal     Pay          Payroll     Rate     Indirect
Employee Name                              Year      Period        Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     2012        23             139.22   45.96%       63.99
                                                       24           1,001.58   45.96%      460.33
                                                       25             214.61   45.96%       98.63
                                                       26             143.08   45.96%       65.76
                                                       27             786.96   45.96%      361.69
                                                                    5,701.99            $2,620.64


MAGNUSON, JANET                            2012        07              86.15   45.96%       39.59
                                                       23             265.69   45.96%      122.11
                                                       24             885.66   45.96%      407.05
                                                       25             354.27   45.96%      162.82
                                                                    1,591.77              $731.57


MALDONADO, LEWIS                           2012        13              24.39   45.96%         11.21
                                                       25              24.48   45.96%         11.25
                                                                       48.87               $22.46


WETMORE, CYNTHIA                           2012        08             150.31   45.96%       69.08
                                                       14              75.15   45.96%       34.54
                                                       19              37.65   45.96%       17.30
                                                       25             375.77   45.96%      172.70
                                                       27              75.15   45.96%       34.54
                                                                      714.03              $328.16



      Total Fiscal Year 2012 Payroll Direct Costs:                  8,487.32            $3,900.75




                                                     Exhibit 4-B
                                                       0652
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                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          TRAVEL DIRECT COSTS

                                                              Treasury                      Ind.
                                           Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                       Number               Date            Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     0SC5TE            05/09/2012          1,000.00   45.96%      459.59
                                                                                   112.24   45.96%       51.59
                                           0SLFXL            06/29/2012            644.08   45.96%      296.02
                                                                                    91.75   45.96%       42.17
                                                                                 1,848.07              $849.37



       Total Fiscal Year 2012 Travel Direct Costs:                               1,848.07              $849.37

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
DOJ              FY2012                  09/30/2012                 5,238.89         0.00   45.96%    2,407.79
                                                                    5,238.89         0.00            $2,407.79


DW96922738       47049553                05/02/2012                 5,824.89         0.00   45.96%    2,677.12
                 47049965                05/02/2012                 4,175.11         0.00   45.96%    1,918.88
                                                                    6,079.24         0.00   45.96%    2,794.02
                                                                16,079.24            0.00            $7,390.02


EPR90603         74                      09/26/2012                   50.12          0.00   45.96%       23.04
                                                                      50.12          0.00               $23.04




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                                                        0653
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                   CRP# 160313
   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                           Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site            Allocation Rate         Indirect
Misc.NO          Number                     Date             Amount             Costs    (%)           Costs
EPW06041         12                      08/06/2012                 702.66          353.67   45.96%      485.49
                                                                    702.66          353.67              $485.49



       Total Fiscal Year 2012 Other Direct Costs:               22,070.91           353.67            $10,306.34

                      Total Fiscal Year 2012:                           32,759.97                     $15,056.46


                                         PAYROLL DIRECT COSTS
                                                                                             Ind.
                                           Fiscal      Pay                    Payroll        Rate     Indirect
Employee Name                              Year       Period                  Costs          (%)       Costs
COOPER, DAVID                              2013         02                           36.83   52.39%        19.30
                                                                                     36.83               $19.30


HARRIS-BISHOP, RUSSELL                     2013         01                          286.16   52.39%      149.92
                                                        02                          286.18   52.39%      149.93
                                                                                    572.34              $299.85


MAGNUSON, JANET                            2013         06                          168.63   52.39%        88.35
                                                                                    168.63               $88.35



      Total Fiscal Year 2013 Payroll Direct Costs:                                  777.80              $407.50




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                                                        0654
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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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   COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                          OTHER DIRECT COSTS
Contract,                                Treasury                            Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site            Allocation Rate        Indirect
Misc.NO          Number                    Date              Amount             Costs    (%)          Costs
B2BK0000983      1440395                 10/02/2012                 623.52          0.00   52.39%       326.66
                                                                    623.52          0.00               $326.66


DOJ              FY2013                  12/29/2012                 652.86          0.00   52.39%       342.03
                                                                    652.86          0.00               $342.03


DW96922738       47051931                10/10/2012              4,444.93           0.00   52.39%      2,328.70
                 47050647                10/10/2012              4,389.62           0.00   52.39%      2,299.72
                 47051381                10/10/2012              1,319.45           0.00   52.39%        691.26
                 47050854                10/10/2012             10,267.44           0.00   52.39%      5,379.11
                 47053498                11/16/2012                 14.86           0.00   52.39%          7.79
                 47053212                11/16/2012              1,617.74           0.00   52.39%        847.53
                 47052400                11/16/2012              1,400.99           0.00   52.39%        733.98
                 47053609                11/29/2012                600.06           0.00   52.39%        314.37
                                                                24,055.09           0.00             $12,602.46


EPR90603         76                      11/27/2012                  24.79          0.00   52.39%         12.99
                                                                     15.55          0.00   52.39%          8.15
                                                                    103.64          0.00   52.39%         54.30
                                                                    143.98          0.00                $75.44



       Total Fiscal Year 2013 Other Direct Costs:               25,475.45           0.00             $13,346.59

                      Total Fiscal Year 2013:                           26,253.25                    $13,754.09



Total EPA Indirect Costs                                                                            $333,399.77




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                                                        0655
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                                                                 Detailed Interest Cost
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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per      Cost Per                     Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item          Date       Prior Balance      Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2004 (Annual Rate: 1.27%)

Demand Letter Date                                                 0.00             0.00         0.00   07/01/2004 07/06/2004      5       0.00           0.00
Indirect                FY 2004 PP 20               165.99                                              07/06/2004
Payroll                 FY 2004 PP 20               453.76       619.75             0.00      619.75    07/06/2004 07/08/2004      2       0.04           0.04
Voucher Schedule Date   68-R9-0101 38               223.17                                              07/08/2004
Indirect Voucher        68-R9-0101 38                81.64       304.81          619.75       924.56    07/08/2004 07/20/2004     12       0.38           0.42
Indirect                FY 2004 PP 21               115.64                                              07/20/2004
Payroll                 FY 2004 PP 21               316.12       431.76          924.56      1,356.32   07/20/2004 07/23/2004      3       0.14           0.56
Travel                  TM0230250                   116.70                                              07/23/2004
Indirect Travel         TM0228907                   156.35     1,620.77        1,356.32      2,977.09   07/23/2004 07/28/2004      5       0.52           1.08
Indirect Travel         TM0230250                   235.06                                              07/23/2004
Travel                  TM0230250                   642.57                                              07/23/2004
Indirect Travel         TM0230250                    42.69                                              07/23/2004
Travel                  TM0228907                   427.40                                              07/23/2004
Voucher Schedule Date   DW96955588 51017233       4,033.89                                              07/28/2004
Indirect Voucher        DW96955588 51017233       1,475.60     5,509.49        2,977.09      8,486.58   07/28/2004 08/03/2004      6       1.77           2.85
Indirect                FY 2004 PP 22               812.93                                              08/03/2004
Payroll                 FY 2004 PP 22             2,222.37     3,035.30        8,486.58     11,521.88   08/03/2004 08/04/2004      1       0.40           3.25
Voucher Schedule Date   68-R9-0101 39               283.02                                              08/04/2004
Indirect Voucher        68-R9-0101 39               101.94       386.55      11,521.88      11,908.43   08/04/2004 08/17/2004     13       5.37           8.62
Indirect Voucher        68-R9-0101 39                 1.59                                              08/04/2004
Voucher Schedule Date   DW96955452 51017649       -2,894.75                                             08/17/2004
Indirect                FY 2004 PP 23             1,333.63                                              08/17/2004
Payroll                 FY 2004 PP 23             3,645.79                                              08/17/2004

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                                                                            0656
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                                 COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                  Cost Per      Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category             Cost Reference           Item          Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2004 (Annual Rate: 1.27%)

Indirect Voucher          DW96955452 51017649       -1,058.90    1,025.77      11,908.43     12,934.20   08/17/2004 08/20/2004      3       1.35           9.97
Voucher Schedule Date     DW96955536 51016715       2,894.75                                             08/20/2004
Voucher Schedule Date     DW96955588 51017466       4,678.35                                             08/20/2004
Indirect Voucher          DW96955536 51016715       1,058.90    10,343.34      12,934.20     23,277.54   08/20/2004 08/31/2004     11       8.88          18.85
Indirect Voucher          DW96955588 51017466       1,711.34                                             08/20/2004
Indirect                  FY 2004 PP 24                68.67                                             08/31/2004
Payroll                   FY 2004 PP 24               187.73       256.40      23,277.54     23,533.94   08/31/2004 09/02/2004      2       1.63          20.48
Voucher Schedule Date     68-R9-0101 40                19.03                                             09/02/2004
Indirect Voucher          68-R9-0101 40                 6.96        25.99      23,533.94     23,559.93   09/02/2004 09/14/2004     12       9.81          30.29
Indirect                  FY 2004 PP 25               128.77                                             09/14/2004
Payroll                   FY 2004 PP 25               352.00       480.77      23,559.93     24,040.70   09/14/2004 09/23/2004      9       7.51          37.80
Voucher Schedule Date     DW96955588 51017680       6,673.20                                             09/23/2004
Indirect Voucher          DW96955588 51017680       2,441.06     9,114.26      24,040.70     33,154.96   09/23/2004 09/28/2004      5       5.75          43.55
Indirect                  FY 2004 PP 26               646.17                                             09/28/2004
Payroll                   FY 2004 PP 26             1,766.46     2,412.63      33,154.96     35,567.59   09/28/2004 09/30/2004      2       2.47          46.02
Voucher Schedule Date     DOJ FY2004               68,678.30                                             09/30/2004
Indirect Voucher          DOJ FY2004               25,122.52    93,800.82      35,567.59    129,368.41   09/30/2004 10/01/2004      1       4.49          50.51

   Totals for Fiscal Year 2004                    129,368.41                                                                               50.51          50.51


   Fiscal Year 2005 (Annual Rate: 2.21%)

Prior FY Interest                                      50.51        50.51     129,368.41    129,418.92   10/01/2004 10/12/2004     11      86.20          86.20
Indirect                  FY 2005 PP 01               273.78                                             10/12/2004
Indirect                  FY 2004 PP 27               857.10                                             10/12/2004
                                                                            Exhibit 4-B
                                                                              0657
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                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2005 (Annual Rate: 2.21%)

Payroll                 FY 2004 PP 27             2,343.09                                            10/12/2004
Payroll                 FY 2005 PP 01               645.55    4,119.52     129,418.92    133,538.44   10/12/2004 10/15/2004      3      24.26         110.46
Voucher Schedule Date   68-R9-0101 41               691.76                                            10/15/2004
Indirect Voucher        68-R9-0101 41               278.45                                            10/15/2004
Indirect Voucher        68-R9-0101 41                14.93      985.14     133,538.44    134,523.58   10/15/2004 10/26/2004     11      89.60         200.06
Indirect                FY 2005 PP 02               954.92                                            10/26/2004
Payroll                 FY 2005 PP 02             2,251.66    3,206.58     134,523.58    137,730.16   10/26/2004 11/09/2004     14     116.75         316.81
Indirect                FY 2005 PP 03             1,875.52                                            11/09/2004
Payroll                 FY 2005 PP 03             4,422.33    6,297.85     137,730.16    144,028.01   11/09/2004 11/23/2004     14     122.09         438.90
Indirect                FY 2005 PP 04               128.29                                            11/23/2004
Payroll                 FY 2005 PP 04               302.50      430.79     144,028.01    144,458.80   11/23/2004 12/02/2004      9      78.72         517.62
Voucher Schedule Date   DW96955588 51018278       5,865.90                                            12/02/2004
Indirect Voucher        DW96955588 51018278       2,487.73    8,353.63     144,458.80    152,812.43   12/02/2004 12/07/2004      5      46.26         563.88
Indirect                FY 2005 PP 05               422.44                                            12/07/2004
Payroll                 FY 2005 PP 05               996.09    1,418.53     152,812.43    154,230.96   12/07/2004 12/14/2004      7      65.37         629.25
Voucher Schedule Date   68-R9-0101 43             1,005.67                                            12/14/2004
Indirect Voucher        68-R9-0101 43               426.50    1,432.17     154,230.96    155,663.13   12/14/2004 12/16/2004      2      18.85         648.10
Voucher Schedule Date   68-R9-0101 44               338.39                                            12/16/2004
Indirect Voucher        68-R9-0101 44               143.51      481.90     155,663.13    156,145.03   12/16/2004 12/21/2004      5      47.27         695.37
Indirect                FY 2005 PP 06                99.40                                            12/21/2004
Payroll                 FY 2005 PP 06               234.37      333.77     156,145.03    156,478.80   12/21/2004 01/03/2005     13     123.17         818.54
Voucher Schedule Date   DW96955588 51018445       4,618.02                                            01/03/2005
Indirect Voucher        DW96955588 51018445       1,958.50    6,576.52     156,478.80    163,055.32   01/03/2005 01/04/2005      1       9.87         828.41

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                                                                Detailed Interest Cost
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                                              Interest Accrued beginning 07/01/2004 through 07/31/2018
                                                              CRP# 160313
                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2005 (Annual Rate: 2.21%)

Voucher Schedule Date   68-R9-0101 45                12.75                                            01/04/2005
Indirect                FY 2005 PP 07               255.27                                            01/04/2005
Payroll                 FY 2005 PP 07               601.92                                            01/04/2005
Indirect Voucher        68-R9-0101 45                 5.41      875.35     163,055.32    163,930.67   01/04/2005 01/18/2005     14     138.96         967.37
Indirect                FY 2005 PP 08                25.41                                            01/18/2005
Payroll                 FY 2005 PP 08                59.92       85.33     163,930.67    164,016.00   01/18/2005 01/27/2005      9      89.38       1,056.75
Voucher Schedule Date   DW96955588 51018645       4,122.66                                            01/27/2005
Indirect Voucher        DW96955588 51018645       1,748.42    5,871.08     164,016.00    169,887.08   01/27/2005 01/28/2005      1      10.29       1,067.04
Travel                  TM0274795                   485.91      691.98     169,887.08    170,579.06   01/28/2005 02/01/2005      4      41.31       1,108.35
Indirect Travel         TM0274795                   206.07                                            01/28/2005
Indirect                FY 2005 PP 09               907.42                                            02/01/2005
Payroll                 FY 2005 PP 09             2,139.64    3,047.06     170,579.06    173,626.12   02/01/2005 02/11/2005     10     105.13       1,213.48
Voucher Schedule Date   68-R9-0101 46                58.67                                            02/11/2005
Indirect Voucher        68-R9-0101 46                24.88       83.55     173,626.12    173,709.67   02/11/2005 02/15/2005      4      42.07       1,255.55
Indirect                FY 2005 PP 10             1,143.26                                            02/15/2005
Payroll                 FY 2005 PP 10             2,695.72    3,838.98     173,709.67    177,548.65   02/15/2005 03/01/2005     14     150.50       1,406.05
Indirect                FY 2005 PP 11               354.39                                            03/01/2005
Payroll                 FY 2005 PP 11               835.63    1,190.02     177,548.65    178,738.67   03/01/2005 03/02/2005      1      10.82       1,416.87
Voucher Schedule Date   DW96955588 51018843       3,924.83                                            03/02/2005
Indirect Voucher        DW96955588 51018843         350.47    5,589.35     178,738.67    184,328.02   03/02/2005 03/08/2005      6      66.96       1,483.83
Indirect Voucher        DW96955588 51018843       1,314.05                                            03/02/2005
Voucher Schedule Date   68-R9-0101 47                72.96                                            03/08/2005
Indirect Voucher        68-R9-0101 47                30.94      103.90     184,328.02    184,431.92   03/08/2005 03/15/2005      7      78.17       1,562.00

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                                                                Detailed Interest Cost
                                                    MCCOLL, FULLERTON, CA SITE ID = 09 04
                                              Interest Accrued beginning 07/01/2004 through 07/31/2018
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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2005 (Annual Rate: 2.21%)

Voucher Schedule Date   DW96955588 51019014       3,971.78                                            03/15/2005
Indirect                FY 2005 PP 12               492.72                                            03/15/2005
Payroll                 FY 2005 PP 12             1,161.81                                            03/15/2005
Indirect Voucher        DW96955588 51019014       1,684.43    7,310.74     184,431.92    191,742.66   03/15/2005 03/29/2005     14     162.53       1,724.53
Indirect                FY 2005 PP 13               569.04                                            03/29/2005
Payroll                 FY 2005 PP 13             1,341.77    1,910.81     191,742.66    193,653.47   03/29/2005 04/01/2005      3      35.18       1,759.71
Voucher Schedule Date   68-R9-0101 48               335.27                                            04/01/2005
Indirect Voucher        68-R9-0101 48               142.19      477.46     193,653.47    194,130.93   04/01/2005 04/07/2005      6      70.53       1,830.24
Voucher Schedule Date   DW96955452 51019009         100.01                                            04/07/2005
Indirect Voucher        DW96955452 51019009          42.41      142.42     194,130.93    194,273.35   04/07/2005 04/12/2005      5      58.81       1,889.05
Indirect                FY 2005 PP 14               690.32                                            04/12/2005
Payroll                 FY 2005 PP 14             1,627.73    2,318.05     194,273.35    196,591.40   04/12/2005 04/14/2005      2      23.81       1,912.86
Voucher Schedule Date   DW96955588 51017918       8,316.99                                            04/14/2005
Indirect Voucher        DW96955588 51017918       3,527.24   11,844.23     196,591.40    208,435.63   04/14/2005 04/26/2005     12     151.44       2,064.30
Voucher Schedule Date   DW96955588 51019190       5,043.59                                            04/26/2005
Indirect                FY 2005 PP 15               258.96                                            04/26/2005
Payroll                 FY 2005 PP 15               610.61                                            04/26/2005
Indirect Voucher        DW96955588 51019190       2,138.99    8,052.15     208,435.63    216,487.78   04/26/2005 04/28/2005      2      26.22       2,090.52
Voucher Schedule Date   68-R9-0101 49             4,507.66                                            04/28/2005
Indirect Voucher        68-R9-0101 49             1,911.70    6,419.36     216,487.78    222,907.14   04/28/2005 05/10/2005     12     161.96       2,252.48
Indirect                FY 2005 PP 16               163.58                                            05/10/2005
Payroll                 FY 2005 PP 16               385.70      549.28     222,907.14    223,456.42   05/10/2005 05/24/2005     14     189.42       2,441.90
Indirect                FY 2005 PP 17               231.73                                            05/24/2005

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                                                                Detailed Interest Cost
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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2005 (Annual Rate: 2.21%)

Payroll                 FY 2005 PP 17               546.40      778.13     223,456.42    224,234.55   05/24/2005 05/25/2005      1      13.58       2,455.48
Voucher Schedule Date   DW96955588 51019401       4,857.13                                            05/25/2005
Indirect Voucher        DW96955588 51019401       2,059.91    6,917.04     224,234.55    231,151.59   05/25/2005 06/03/2005      9     125.96       2,581.44
Voucher Schedule Date   68-R9-0101 50             3,291.76                                            06/03/2005
Indirect Voucher        68-R9-0101 50               239.32                                            06/03/2005
Indirect Voucher        68-R9-0101 50             1,156.72    4,687.80     231,151.59    235,839.39   06/03/2005 06/07/2005      4      57.12       2,638.56
Indirect                FY 2005 PP 18               449.78                                            06/07/2005
Payroll                 FY 2005 PP 18             1,060.55    1,510.33     235,839.39    237,349.72   06/07/2005 06/21/2005     14     201.19       2,839.75
Indirect                FY 2005 PP 19               300.76                                            06/21/2005
Payroll                 FY 2005 PP 19               709.19    1,009.95     237,349.72    238,359.67   06/21/2005 06/24/2005      3      43.30       2,883.05
Voucher Schedule Date   DW96955588 51019591       9,342.04                                            06/24/2005
Indirect Voucher        DW96955588 51019591       3,961.96   13,304.00     238,359.67    251,663.67   06/24/2005 07/05/2005     11     167.61       3,050.66
Indirect                FY 2005 PP 20                88.73                                            07/05/2005
Payroll                 FY 2005 PP 20               209.22      297.95     251,663.67    251,961.62   07/05/2005 07/07/2005      2      30.51       3,081.17
Voucher Schedule Date   68-R9-0101 51             8,822.25                                            07/07/2005
Indirect Voucher        68-R9-0101 51               455.61   12,563.76     251,961.62    264,525.38   07/07/2005 07/19/2005     12     192.20       3,273.37
Indirect Voucher        68-R9-0101 51             1,386.13                                            07/07/2005
Indirect Voucher        68-R9-0101 51             1,899.77                                            07/07/2005
Indirect                FY 2005 PP 21                80.48                                            07/19/2005
Payroll                 FY 2005 PP 21               189.77      270.25     264,525.38    264,795.63   07/19/2005 07/26/2005      7     112.23       3,385.60
Voucher Schedule Date   DW96955588 51019802       2,833.26                                            07/26/2005
Indirect Voucher        DW96955588 51019802       1,201.59    4,034.85     264,795.63    268,830.48   07/26/2005 08/02/2005      7     113.94       3,499.54
Indirect                FY 2005 PP 22               174.85                                            08/02/2005

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                                 COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                  Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category             Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2005 (Annual Rate: 2.21%)

Payroll                   FY 2005 PP 22               412.27      587.12     268,830.48    269,417.60   08/02/2005 08/03/2005      1      16.31       3,515.85
Voucher Schedule Date     68-R9-0101 52                96.07                                            08/03/2005
Indirect Voucher          68-R9-0101 52                40.74      136.81     269,417.60    269,554.41   08/03/2005 08/16/2005     13     212.17       3,728.02
Indirect                  FY 2005 PP 23               534.46                                            08/16/2005
Payroll                   FY 2005 PP 23             1,260.21    1,794.67     269,554.41    271,349.08   08/16/2005 08/18/2005      2      32.86       3,760.88
Voucher Schedule Date     DW96955588 51020024       4,734.67                                            08/18/2005
Indirect Voucher          DW96955588 51020024       2,007.97    6,742.64     271,349.08    278,091.72   08/18/2005 08/25/2005      7     117.87       3,878.75
Travel                    TM0343300                   408.07                                            08/25/2005
Indirect Travel           TM0343300                   173.06      581.13     278,091.72    278,672.85   08/25/2005 08/30/2005      5      84.37       3,963.12
Indirect                  FY 2005 PP 24             1,459.85                                            08/30/2005
Payroll                   FY 2005 PP 24             3,442.24    4,902.09     278,672.85    283,574.94   08/30/2005 09/07/2005      8     137.36       4,100.48
Voucher Schedule Date     68-R9-0101 53                44.06                                            09/07/2005
Indirect Voucher          68-R9-0101 53                18.69       62.75     283,574.94    283,637.69   09/07/2005 09/13/2005      6     103.04       4,203.52
Indirect                  FY 2005 PP 25               253.23                                            09/13/2005
Payroll                   FY 2005 PP 25               597.09      850.32     283,637.69    284,488.01   09/13/2005 09/21/2005      8     137.80       4,341.32
Voucher Schedule Date     DW96955588 51020216       4,927.51                                            09/21/2005
Indirect Voucher          DW96955588 51020216       2,089.76    7,017.27     284,488.01    291,505.28   09/21/2005 09/27/2005      6     105.90       4,447.22
Indirect                  FY 2005 PP 26               457.17                                            09/27/2005
Payroll                   FY 2005 PP 26             1,077.97    1,535.14     291,505.28    293,040.42   09/27/2005 09/30/2005      3      53.23       4,500.45
Voucher Schedule Date     DOJ FY2005               42,084.27                                            09/30/2005
Indirect Voucher          DOJ FY2005               17,847.94   59,932.21     293,040.42    352,972.63   09/30/2005 10/01/2005      1      21.37       4,521.82

   Totals for Fiscal Year 2005                    223,553.71                                                                           4,521.82       4,572.33


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                                                                Detailed Interest Cost
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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2006 (Annual Rate: 4.11%)

Prior FY Interest                                 4,521.82    4,521.82     352,972.63    357,494.45   10/01/2005 10/05/2005      4     161.02         161.02
Voucher Schedule Date   68-R9-0101 54               860.40                                            10/05/2005
Indirect Voucher        68-R9-0101 54               306.05    1,238.46     357,494.45    358,732.91   10/05/2005 10/11/2005      6     242.37         403.39
Indirect Voucher        68-R9-0101 54                72.01                                            10/05/2005
Indirect                FY 2005 PP 27               989.54                                            10/11/2005
Payroll                 FY 2005 PP 27             2,333.26    3,322.80     358,732.91    362,055.71   10/11/2005 10/25/2005     14     570.76         974.15
Indirect                FY 2006 PP 02               243.21                                            10/25/2005
Payroll                 FY 2006 PP 02               553.48      796.69     362,055.71    362,852.40   10/25/2005 10/27/2005      2      81.72       1,055.87
Voucher Schedule Date   DW96955588 51020446       6,202.01                                            10/27/2005
Voucher Schedule Date   DW96955588 51020661       1,362.00                                            10/27/2005
Indirect Voucher        DW96955588 51020661         598.46                                            10/27/2005
Indirect Voucher        DW96955588 51020446       2,725.16   10,887.63     362,852.40    373,740.03   10/27/2005 11/08/2005     12     505.01       1,560.88
Indirect                FY 2006 PP 03               134.95                                            11/08/2005
Payroll                 FY 2006 PP 03               307.13      442.08     373,740.03    374,182.11   11/08/2005 11/09/2005      1      42.13       1,603.01
Voucher Schedule Date   68-R9-0101 55             1,020.58                                            11/09/2005
Indirect Voucher        68-R9-0101 55               111.15    1,469.02     374,182.11    375,651.13   11/09/2005 11/22/2005     13     549.89       2,152.90
Indirect Voucher        68-R9-0101 55               337.29                                            11/09/2005
Indirect                FY 2006 PP 04               243.84                                            11/22/2005
Payroll                 FY 2006 PP 04               554.93      798.77     375,651.13    376,449.90   11/22/2005 11/25/2005      3     127.17       2,280.07
Voucher Schedule Date   DW96955588 51020784       5,104.00                                            11/25/2005
Indirect Voucher        DW96955588 51020784       2,242.70    7,346.70     376,449.90    383,796.60   11/25/2005 12/01/2005      6     259.30       2,539.37
Voucher Schedule Date   68-R9-0101 56               737.91                                            12/01/2005
Indirect Voucher        68-R9-0101 56                13.34    1,062.15     383,796.60    384,858.75   12/01/2005 12/06/2005      5     216.68       2,756.05

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                                                                Detailed Interest Cost
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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic    Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest      Interest

   Fiscal Year 2006 (Annual Rate: 4.11%)

Indirect Voucher        68-R9-0101 56               310.90                                            12/01/2005
Indirect                FY 2006 PP 05               273.87                                            12/06/2005
Payroll                 FY 2006 PP 05               623.28      897.15     384,858.75    385,755.90   12/06/2005 12/20/2005     14     608.12       3,364.17
Indirect                FY 2006 PP 06               358.82                                            12/20/2005
Payroll                 FY 2006 PP 06               816.62    1,175.44     385,755.90    386,931.34   12/20/2005 01/03/2006     14     609.97       3,974.14
Indirect                FY 2006 PP 07               166.70                                            01/03/2006
Payroll                 FY 2006 PP 07               379.38      546.08     386,931.34    387,477.42   01/03/2006 01/13/2006     10     436.31       4,410.45
Voucher Schedule Date   DW96955588 51020946       2,971.42                                            01/13/2006
Voucher Schedule Date   68-R9-0101 58               166.94                                            01/13/2006
Indirect Voucher        DW96955588 51020946       1,305.64    4,517.35     387,477.42    391,994.77   01/13/2006 01/17/2006      4     176.56       4,587.01
Indirect Voucher        68-R9-0101 58                73.35                                            01/13/2006
Indirect                FY 2006 PP 08               197.69                                            01/17/2006
Payroll                 FY 2006 PP 08               449.91      647.60     391,994.77    392,642.37   01/17/2006 01/31/2006     14     618.98       5,205.99
Voucher Schedule Date   DW96955588 51021133       4,236.45                                            01/31/2006
Indirect                FY 2006 PP 09               721.49                                            01/31/2006
Payroll                 FY 2006 PP 09             1,641.98                                            01/31/2006
Indirect Voucher        DW96955588 51021133       1,861.50    8,461.42     392,642.37    401,103.79   01/31/2006 02/10/2006     10     451.65       5,657.64
Voucher Schedule Date   68-R9-0101 59               906.30                                            02/10/2006
Indirect Travel         TM0390689                   213.48    2,003.88     401,103.79    403,107.67   02/10/2006 02/14/2006      4     181.56       5,839.20
Travel                  TM0390689                   485.87                                            02/10/2006
Indirect Voucher        68-R9-0101 59               398.23                                            02/10/2006
Indirect                FY 2006 PP 10             1,114.24                                            02/14/2006
Payroll                 FY 2006 PP 10             2,535.83    3,650.07     403,107.67    406,757.74   02/14/2006 02/17/2006      3     137.41       5,976.61

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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2006 (Annual Rate: 4.11%)

Voucher Schedule Date   68-W9-8225 178              269.69                                            02/17/2006
Indirect Voucher        68-W9-8225 178              118.50      388.19     406,757.74    407,145.93   02/17/2006 02/27/2006     10     458.46        6,435.07
Voucher Schedule Date   DW96955588 51021331       3,165.16                                            02/27/2006
Indirect Voucher        DW96955588 51021331       1,390.77    4,555.93     407,145.93    411,701.86   02/27/2006 02/28/2006      1      46.36        6,481.43
Indirect                FY 2006 PP 11               212.62                                            02/28/2006
Payroll                 FY 2006 PP 11               483.89      696.51     411,701.86    412,398.37   02/28/2006 03/08/2006      8     371.50        6,852.93
Voucher Schedule Date   68-R9-0101 60               177.82                                            03/08/2006
Indirect Voucher        68-R9-0101 60                 9.17      255.96     412,398.37    412,654.33   03/08/2006 03/14/2006      6     278.80        7,131.73
Indirect Voucher        68-R9-0101 60                68.97                                            03/08/2006
Indirect                FY 2006 PP 12             1,085.59                                            03/14/2006
Payroll                 FY 2006 PP 12             2,470.62    3,556.21     412,654.33    416,210.54   03/14/2006 03/21/2006      7     328.07        7,459.80
Voucher Schedule Date   68-W9-8225 181              334.09                                            03/21/2006
Indirect Voucher        68-W9-8225 181              146.80      480.89     416,210.54    416,691.43   03/21/2006 03/27/2006      6     281.52        7,741.32
Voucher Schedule Date   DW96955588 51021525       4,829.14                                            03/27/2006
Indirect Voucher        DW96955588 51021525       2,121.92    6,951.06     416,691.43    423,642.49   03/27/2006 03/28/2006      1      47.70        7,789.02
Indirect                FY 2006 PP 13             2,508.08                                            03/28/2006
Payroll                 FY 2006 PP 13             5,707.97    8,216.05     423,642.49    431,858.54   03/28/2006 03/30/2006      2      97.26        7,886.28
Voucher Schedule Date   68-R9-0101 61               286.36                                            03/30/2006
Indirect Voucher        68-R9-0101 61                85.60      412.19     431,858.54    432,270.73   03/30/2006 04/11/2006     12     584.10        8,470.38
Indirect Voucher        68-R9-0101 61                40.23                                            03/30/2006
Indirect                FY 2006 PP 14               194.25                                            04/11/2006
Payroll                 FY 2006 PP 14               442.09      636.34     432,270.73    432,907.07   04/11/2006 04/25/2006     14     682.45        9,152.83
Voucher Schedule Date   DW96955588 51021706       5,669.45                                            04/25/2006

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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                     Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date        Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2006 (Annual Rate: 4.11%)

Indirect                FY 2006 PP 15               147.11                                             04/25/2006
Payroll                 FY 2006 PP 15               334.80                                             04/25/2006
Indirect Voucher        DW96955588 51021706       2,491.16    8,642.52      432,907.07    441,549.59   04/25/2006 05/02/2006      7     348.04        9,500.87
Voucher Schedule Date   68-R9-0101 62               575.91                                             05/02/2006
Indirect Voucher        68-R9-0101 62               253.05      828.96      441,549.59    442,378.55   05/02/2006 05/09/2006      7     348.69        9,849.56
Indirect                FY 2006 PP 16                87.96                                             05/09/2006
Payroll                 FY 2006 PP 16               200.18      288.14      442,378.55    442,666.69   05/09/2006 05/23/2006     14     697.84       10,547.40
Voucher Schedule Date   DW96955588 51021920       6,306.14                                             05/23/2006
Indirect                FY 2006 PP 17                73.30                                             05/23/2006
Payroll                 FY 2006 PP 17               166.81                                             05/23/2006
Indirect Voucher        DW96955588 51021920       2,770.92    9,317.17      442,666.69    451,983.86   05/23/2006 06/01/2006      9     458.05       11,005.45
Voucher Schedule Date   68-R9-0101 63               559.93                                             06/01/2006
Indirect Voucher        68-R9-0101 63               246.03      805.96      451,983.86    452,789.82   06/01/2006 06/06/2006      5     254.93       11,260.38
Indirect                FY 2006 PP 18               102.62                                             06/06/2006
Payroll                 FY 2006 PP 18               233.54      336.16      452,789.82    453,125.98   06/06/2006 06/16/2006     10     510.23       11,770.61
Voucher Schedule Date   68-W9-8225 189               -0.86                                             06/16/2006
Indirect Voucher        68-W9-8225 189               -0.38        -1.24     453,125.98    453,124.74   06/16/2006 06/22/2006      6     306.14       12,076.75
Voucher Schedule Date   DW96955588 51022139       8,661.39                                             06/22/2006
Indirect Voucher        DW96955588 51022139       3,805.81   12,467.20      453,124.74    465,591.94   06/22/2006 06/29/2006      7     366.99       12,443.74
Voucher Schedule Date   68-R9-0101 64               269.64                                             06/29/2006
Indirect Voucher        68-R9-0101 64               118.48      388.12      465,591.94    465,980.06   06/29/2006 07/04/2006      5     262.35       12,706.09
Indirect                FY 2006 PP 20                73.31                                             07/04/2006
Payroll                 FY 2006 PP 20               166.84      240.15      465,980.06    466,220.21   07/04/2006 08/01/2006     28   1,469.93       14,176.02

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                                                Interest Accrued beginning 07/01/2004 through 07/31/2018
                                                                 CRP# 160313
                                 COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                  Cost Per      Cost Per                     Cumulative   Date of      Interest          Periodic      Cumulative
Cost Category             Cost Reference           Item          Date        Prior Balance     Total    Recognition    Through    Days   Interest        Interest

   Fiscal Year 2006 (Annual Rate: 4.11%)

Indirect                  FY 2006 PP 22               120.76                                              08/01/2006
Payroll                   FY 2006 PP 22               274.82       395.58      466,220.21    466,615.79   08/01/2006 08/02/2006      1      52.54        14,228.56
Voucher Schedule Date     DW96955588 51022369        6,042.13                                             08/02/2006
Indirect Voucher          DW96955588 51022369        1,919.04     8,697.04     466,615.79    475,312.83   08/02/2006 08/03/2006      1      53.52        14,282.08
Indirect Voucher          DW96955588 51022369         735.87                                              08/02/2006
Voucher Schedule Date     68-R9-0101 65               101.30                                              08/03/2006
Indirect Voucher          68-R9-0101 65                44.51       145.81      475,312.83    475,458.64   08/03/2006 08/15/2006     12     642.46        14,924.54
Indirect                  FY 2006 PP 23               307.00                                              08/15/2006
Payroll                   FY 2006 PP 23               698.68      1,005.68     475,458.64    476,464.32   08/15/2006 09/05/2006     21    1,126.67       16,051.21
Voucher Schedule Date     68-R9-0101 66               109.09                                              09/05/2006
Indirect Voucher          68-R9-0101 66                47.93       157.02      476,464.32    476,621.34   09/05/2006 09/12/2006      7     375.68        16,426.89
Indirect                  FY 2006 PP 25                58.91                                              09/12/2006
Payroll                   FY 2006 PP 25               134.08       192.99      476,621.34    476,814.33   09/12/2006 09/27/2006     15     805.36        17,232.25
Voucher Schedule Date     DW96955588 51022576        5,687.84                                             09/27/2006
Voucher Schedule Date     DW96955588 51022780        5,413.75                                             09/27/2006
Indirect Voucher          DW96955588 51022576        2,499.24    15,979.63     476,814.33    492,793.96   09/27/2006 09/30/2006      3     166.47        17,398.72
Indirect Voucher          DW96955588 51022780        2,378.80                                             09/27/2006
Voucher Schedule Date     DOJ FY2006               110,605.47                                             09/30/2006
Indirect Voucher          DOJ FY2006               48,600.04    159,205.51     492,793.96    651,999.47   09/30/2006 10/01/2006      1      73.42        17,472.14

   Totals for Fiscal Year 2006                    294,505.02                                                                             17,472.14       22,044.47


   Fiscal Year 2007 (Annual Rate: 5.02%)

Prior FY Interest                                  17,472.14     17,472.14     651,999.47    669,471.61   10/01/2006 10/26/2006     25    2,301.88        2,301.88
                                                                             Exhibit 4-B
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                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2007 (Annual Rate: 5.02%)

Voucher Schedule Date   DW96955588 51023042       8,431.61                                            10/26/2006
Voucher Schedule Date   DW96955588 51023323       1,520.00                                            10/26/2006
Indirect Voucher        DW96955588 51023323         534.28   13,449.60     669,471.61    682,921.21   10/26/2006 11/07/2006     12   1,127.10        3,428.98
Indirect Voucher        DW96955588 51023042       2,963.71                                            10/26/2006
Indirect                FY 2007 PP 02                44.42                                            11/07/2006
Payroll                 FY 2007 PP 02               126.36      170.78     682,921.21    683,091.99   11/07/2006 11/21/2006     14   1,315.28        4,744.26
Indirect                FY 2007 PP 03               179.07                                            11/21/2006
Payroll                 FY 2007 PP 03               509.44      688.51     683,091.99    683,780.50   11/21/2006 12/04/2006     13   1,222.56        5,966.82
Indirect Travel         TM0464816                   149.20      573.68     683,780.50    684,354.18   12/04/2006 12/05/2006      1      94.12        6,060.94
Travel                  TM0464816                   424.48                                            12/04/2006
Voucher Schedule Date   DW96955588 51023425       5,913.97                                            12/05/2006
Voucher Schedule Date   68-W9-8225 206              215.32                                            12/05/2006
Indirect                FY 2007 PP 04                97.20                                            12/05/2006
Payroll                 FY 2007 PP 04               276.54                                            12/05/2006
Indirect Voucher        68-W9-8225 206               75.68    8,657.47     684,354.18    693,011.65   12/05/2006 12/19/2006     14   1,334.38        7,395.32
Indirect Voucher        DW96955588 51023425       2,078.76                                            12/05/2006
Indirect                FY 2007 PP 05               516.19                                            12/19/2006
Payroll                 FY 2007 PP 05             1,468.53    1,984.72     693,011.65    694,996.37   12/19/2006 12/21/2006      2     191.17        7,586.49
Voucher Schedule Date   DW96955588 51023598       4,529.68                                            12/21/2006
Indirect Voucher        DW96955588 51023598       1,592.18    6,121.86     694,996.37    701,118.23   12/21/2006 01/02/2007     12   1,157.13        8,743.62
Indirect                FY 2007 PP 06               139.28                                            01/02/2007
Payroll                 FY 2007 PP 06               396.25      535.53     701,118.23    701,653.76   01/02/2007 01/16/2007     14   1,351.02       10,094.64
Indirect                FY 2007 PP 07                19.84                                            01/16/2007

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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                     Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date        Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2007 (Annual Rate: 5.02%)

Payroll                 FY 2007 PP 07                56.45       76.29      701,653.76    701,730.05   01/16/2007 01/22/2007      6     579.07       10,673.71
Voucher Schedule Date   68-W9-8225 213Z              -7.28                                             01/22/2007
Indirect Voucher        68-W9-8225 213Z              -2.56        -9.84     701,730.05    701,720.21   01/22/2007 01/30/2007      8     772.08       11,445.79
Indirect                FY 2007 PP 08               315.73                                             01/30/2007
Payroll                 FY 2007 PP 08               898.24    1,213.97      701,720.21    702,934.18   01/30/2007 02/13/2007     14   1,353.49       12,799.28
Indirect                FY 2007 PP 09               404.06                                             02/13/2007
Payroll                 FY 2007 PP 09             1,149.54    1,553.60      702,934.18    704,487.78   02/13/2007 02/14/2007      1      96.89       12,896.17
Travel                  TM0489839                   479.24      647.70      704,487.78    705,135.48   02/14/2007 02/27/2007     13   1,260.74       14,156.91
Indirect Travel         TM0489839                   168.46                                             02/14/2007
Indirect                FY 2007 PP 10               153.53                                             02/27/2007
Payroll                 FY 2007 PP 10               436.80      590.33      705,135.48    705,725.81   02/27/2007 03/01/2007      2     194.12       14,351.03
Voucher Schedule Date   DW96955588 51023992         727.70                                             03/01/2007
Indirect Voucher        DW96955588 51023992         255.79      983.49      705,725.81    706,709.30   03/01/2007 03/13/2007     12   1,166.36       15,517.39
Indirect                FY 2007 PP 11               118.75                                             03/13/2007
Payroll                 FY 2007 PP 11               337.84      456.59      706,709.30    707,165.89   03/13/2007 03/22/2007      9     875.34       16,392.73
Voucher Schedule Date   DW96955588 51024214       2,882.39                                             03/22/2007
Indirect Voucher        DW96955588 51024214       1,013.16    3,895.55      707,165.89    711,061.44   03/22/2007 03/27/2007      5     488.98       16,881.71
Indirect                FY 2007 PP 12                60.13                                             03/27/2007
Payroll                 FY 2007 PP 12               171.08      231.21      711,061.44    711,292.65   03/27/2007 04/10/2007     14   1,369.58       18,251.29
Indirect                FY 2007 PP 13               731.11                                             04/10/2007
Payroll                 FY 2007 PP 13             2,079.96    2,811.07      711,292.65    714,103.72   04/10/2007 04/16/2007      6     589.28       18,840.57
Indirect Travel         TM0507030                   235.40      905.09      714,103.72    715,008.81   04/16/2007 04/24/2007      8     786.71       19,627.28
Travel                  TM0507030                   669.69                                             04/16/2007

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                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2007 (Annual Rate: 5.02%)

Indirect                FY 2007 PP 14               171.62                                            04/24/2007
Payroll                 FY 2007 PP 14               488.25      659.87     715,008.81    715,668.68   04/24/2007 04/25/2007      1      98.43       19,725.71
Indirect Travel         TM0500926                   119.69      460.19     715,668.68    716,128.87   04/25/2007 04/30/2007      5     492.46       20,218.17
Travel                  TM0500926                   340.50                                            04/25/2007
Voucher Schedule Date   EPR90603 6                   35.64                                            04/30/2007
Indirect Voucher        EPR90603 6                   12.53       48.17     716,128.87    716,177.04   04/30/2007 05/03/2007      3     295.50       20,513.67
Voucher Schedule Date   DW96955588 51024464       4,025.09                                            05/03/2007
Indirect Voucher        DW96955588 51024464       1,414.82    5,439.91     716,177.04    721,616.95   05/03/2007 05/08/2007      5     496.24       21,009.91
Indirect                FY 2007 PP 15                63.53                                            05/08/2007
Payroll                 FY 2007 PP 15               180.74      244.27     721,616.95    721,861.22   05/08/2007 05/22/2007     14   1,389.93       22,399.84
Indirect                FY 2007 PP 16               201.80                                            05/22/2007
Payroll                 FY 2007 PP 16               574.10      775.90     721,861.22    722,637.12   05/22/2007 05/31/2007      9     894.49       23,294.33
Voucher Schedule Date   DW96955588 51024738         738.78                                            05/31/2007
Indirect Voucher        DW96955588 51024738         259.68      998.46     722,637.12    723,635.58   05/31/2007 06/01/2007      1      99.52       23,393.85
Travel                  TM0519675                   376.42      508.73     723,635.58    724,144.31   06/01/2007 06/05/2007      4     398.38       23,792.23
Indirect Travel         TM0519675                   132.31                                            06/01/2007
Indirect                FY 2007 PP 17               307.12                                            06/05/2007
Payroll                 FY 2007 PP 17               873.73    1,180.85     724,144.31    725,325.16   06/05/2007 06/11/2007      6     598.54       24,390.77
Voucher Schedule Date   EPR90603 7                   43.69                                            06/11/2007
Indirect Voucher        EPR90603 7                   15.36       59.05     725,325.16    725,384.21   06/11/2007 06/19/2007      8     798.12       25,188.89
Indirect                FY 2007 PP 18               202.63                                            06/19/2007
Payroll                 FY 2007 PP 18               576.48      779.11     725,384.21    726,163.32   06/19/2007 06/29/2007     10     998.72       26,187.61
Indirect Travel         TM0527974                   117.15      450.43     726,163.32    726,613.75   06/29/2007 07/03/2007      4     399.74       26,587.35

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                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2007 (Annual Rate: 5.02%)

Travel                  TM0527974                   333.28                                            06/29/2007
Voucher Schedule Date   DW96955588 51024968       4,386.81                                            07/03/2007
Indirect                FY 2007 PP 19               354.35                                            07/03/2007
Payroll                 FY 2007 PP 19             1,008.13                                            07/03/2007
Indirect Voucher        DW96955588 51024968       1,541.96    7,291.25     726,613.75    733,905.00   07/03/2007 07/06/2007      3     302.81       26,890.16
Travel                  TM0527230                   251.50      339.90     733,905.00    734,244.90   07/06/2007 07/11/2007      5     504.92       27,395.08
Indirect Travel         TM0527230                    88.40                                            07/06/2007
Voucher Schedule Date   EPR90603 8                   51.60                                            07/11/2007
Indirect Voucher        EPR90603 8                   18.14       69.74     734,244.90    734,314.64   07/11/2007 07/17/2007      6     605.96       28,001.04
Indirect                FY 2007 PP 20               129.42                                            07/17/2007
Payroll                 FY 2007 PP 20               368.19      497.61     734,314.64    734,812.25   07/17/2007 07/26/2007      9     909.56       28,910.60
Voucher Schedule Date   DW96955588 51025211      22,944.22                                            07/26/2007
Indirect Voucher        DW96955588 51025211       1,429.79   31,009.12     734,812.25    765,821.37   07/26/2007 07/31/2007      5     526.63       29,437.23
Indirect Voucher        DW96955588 51025211       4,860.74                                            07/26/2007
Indirect Voucher        DW96955588 51025211       1,774.37                                            07/26/2007
Indirect                FY 2007 PP 21               505.33                                            07/31/2007
Payroll                 FY 2007 PP 21             1,437.64    1,942.97     765,821.37    767,764.34   07/31/2007 08/07/2007      7     739.16       30,176.39
Voucher Schedule Date   EPR90603 9                  184.14                                            08/07/2007
Indirect Voucher        EPR90603 9                   64.73      248.87     767,764.34    768,013.21   08/07/2007 08/14/2007      7     739.40       30,915.79
Indirect                FY 2007 PP 22                47.33                                            08/14/2007
Payroll                 FY 2007 PP 22               134.65      181.98     768,013.21    768,195.19   08/14/2007 08/28/2007     14   1,479.14       32,394.93
Indirect                FY 2007 PP 23               130.19                                            08/28/2007
Payroll                 FY 2007 PP 23               370.39      500.58     768,195.19    768,695.77   08/28/2007 08/30/2007      2     211.44       32,606.37

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                                                  Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic      Cumulative
Cost Category             Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest        Interest

   Fiscal Year 2007 (Annual Rate: 5.02%)

Voucher Schedule Date     DW96955588 51025439      12,979.90                                            08/30/2007
Indirect Voucher          DW96955588 51025439       4,562.43   17,542.33     768,695.77    786,238.10   08/30/2007 09/06/2007      7     756.94        33,363.31
Voucher Schedule Date     EPR90603 10                  32.43                                            09/06/2007
Indirect Voucher          EPR90603 10                  11.40       43.83     786,238.10    786,281.93   09/06/2007 09/11/2007      5     540.70        33,904.01
Indirect                  FY 2007 PP 24               415.30                                            09/11/2007
Payroll                   FY 2007 PP 24             1,181.48    1,596.78     786,281.93    787,878.71   09/11/2007 09/12/2007      1     108.36        34,012.37
Indirect Travel           TM0547362                   229.18      881.18     787,878.71    788,759.89   09/12/2007 09/25/2007     13    1,410.26       35,422.63
Travel                    TM0547362                   652.00                                            09/12/2007
Indirect                  FY 2007 PP 25               351.92                                            09/25/2007
Payroll                   FY 2007 PP 25             1,001.17    1,353.09     788,759.89    790,112.98   09/25/2007 09/27/2007      2     217.34        35,639.97
Voucher Schedule Date     DW96955588 51025650       2,879.63                                            09/27/2007
Indirect Voucher          DW96955588 51025650       1,012.19    3,891.82     790,112.98    794,004.80   09/27/2007 09/30/2007      3     327.61        35,967.58
Voucher Schedule Date     DOJ FY2007               39,138.88                                            09/30/2007
Indirect Voucher          DOJ FY2007               13,757.32   52,896.20     794,004.80    846,901.00   09/30/2007 10/01/2007      1     116.48        36,084.06

   Totals for Fiscal Year 2007                    177,429.39                                                                           36,084.06       58,128.53


   Fiscal Year 2008 (Annual Rate: 4.34%)

Prior FY Interest                                  36,084.06   36,084.06     846,901.00    882,985.06   10/01/2007 10/09/2007      8     837.63           837.63
Indirect                  FY 2007 PP 26               163.85                                            10/09/2007
Payroll                   FY 2007 PP 26               466.14      629.99     882,985.06    883,615.05   10/09/2007 10/11/2007      2     209.56         1,047.19
Voucher Schedule Date     EPR90603 11                  10.32                                            10/11/2007
Indirect Voucher          EPR90603 11                   4.65       14.97     883,615.05    883,630.02   10/11/2007 10/19/2007      8     838.24         1,885.43
Voucher Schedule Date     A8BK0000022 937322          184.24                                            10/19/2007
                                                                           Exhibit 4-B
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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                     Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date        Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2008 (Annual Rate: 4.34%)

Indirect Voucher        A8BK0000022 937322           83.04      267.28      883,630.02    883,897.30   10/19/2007 10/23/2007      4     419.25        2,304.68
Indirect                FY 2008 PP 01               166.21                                             10/23/2007
Payroll                 FY 2008 PP 01               368.79      535.00      883,897.30    884,432.30   10/23/2007 11/01/2007      9     943.88        3,248.56
Voucher Schedule Date   DW96955588 51025903       3,545.53                                             11/01/2007
Voucher Schedule Date   DW96955588 51026139       2,853.33                                             11/01/2007
Indirect Voucher        DW96955588 51025903       1,597.97    9,282.83      884,432.30    893,715.13   11/01/2007 11/06/2007      5     529.88        3,778.44
Indirect Voucher        DW96955588 51026139       1,286.00                                             11/01/2007
Indirect                FY 2008 PP 02                18.72                                             11/06/2007
Payroll                 FY 2008 PP 02                41.54       60.26      893,715.13    893,775.39   11/06/2007 11/20/2007     14   1,483.76        5,262.20
Indirect                FY 2008 PP 03                26.26                                             11/20/2007
Payroll                 FY 2008 PP 03                58.27       84.53      893,775.39    893,859.92   11/20/2007 12/04/2007     14   1,483.91        6,746.11
Indirect                FY 2008 PP 04                66.53                                             12/04/2007
Payroll                 FY 2008 PP 04               147.60      214.13      893,859.92    894,074.05   12/04/2007 12/13/2007      9     954.17        7,700.28
Voucher Schedule Date   DW96955588 51026236       3,981.73                                             12/13/2007
Indirect Voucher        DW96955588 51026236       1,794.57    5,776.30      894,074.05    899,850.35   12/13/2007 12/17/2007      4     426.81        8,127.09
Voucher Schedule Date   EPR90603 14                  10.36                                             12/17/2007
Indirect Voucher        EPR90603 14                   4.67       15.03      899,850.35    899,865.38   12/17/2007 12/18/2007      1     106.71        8,233.80
Indirect                FY 2008 PP 05               518.86                                             12/18/2007
Payroll                 FY 2008 PP 05             1,151.23    1,670.09      899,865.38    901,535.47   12/18/2007 01/01/2008     14   1,496.65        9,730.45
Indirect                FY 2008 PP 06               424.03                                             01/01/2008
Payroll                 FY 2008 PP 06               940.83    1,364.86      901,535.47    902,900.33   01/01/2008 01/03/2008      2     214.13        9,944.58
Voucher Schedule Date   68-W9-8225 JVH0763           -2.23                                             01/03/2008
Indirect Voucher        68-W9-8225 JVH0763           -1.01        -3.24     902,900.33    902,897.09   01/03/2008 01/08/2008      5     535.32       10,479.90

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                                              Interest Accrued beginning 07/01/2004 through 07/31/2018
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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2008 (Annual Rate: 4.34%)

Voucher Schedule Date   DW96955588 51026438       5,488.80                                            01/08/2008
Indirect Voucher        DW96955588 51026438       2,473.80    7,962.60     902,897.09    910,859.69   01/08/2008 01/15/2008      7     756.06       11,235.96
Indirect                FY 2008 PP 07                52.52                                            01/15/2008
Payroll                 FY 2008 PP 07               116.53      169.05     910,859.69    911,028.74   01/15/2008 01/29/2008     14   1,512.41       12,748.37
Indirect                FY 2008 PP 08                27.45                                            01/29/2008
Payroll                 FY 2008 PP 08                60.91       88.36     911,028.74    911,117.10   01/29/2008 01/31/2008      2     216.08       12,964.45
Travel                  TM0556104                   725.39    1,052.33     911,117.10    912,169.43   01/31/2008 02/05/2008      5     540.82       13,505.27
Indirect Travel         TM0556104                   326.94                                            01/31/2008
Voucher Schedule Date   DW96955588 51026676       6,392.16                                            02/05/2008
Indirect Voucher        DW96955588 51026676       2,880.95    9,273.11     912,169.43    921,442.54   02/05/2008 02/06/2008      1     109.26       13,614.53
Indirect Travel         TM0571064                   343.30    1,105.01     921,442.54    922,547.55   02/06/2008 02/12/2008      6     656.37       14,270.90
Travel                  TM0571064                   761.71                                            02/06/2008
Indirect                FY 2008 PP 09               151.84                                            02/12/2008
Payroll                 FY 2008 PP 09               336.90      488.74     922,547.55    923,036.29   02/12/2008 02/26/2008     14   1,532.34       15,803.24
Indirect                FY 2008 PP 10               794.58                                            02/26/2008
Payroll                 FY 2008 PP 10             1,762.98    2,557.56     923,036.29    925,593.85   02/26/2008 03/06/2008      9     987.81       16,791.05
Voucher Schedule Date   DW96955588 51026902       4,822.36                                            03/06/2008
Indirect Voucher        DW96955588 51026902       2,173.44    6,995.80     925,593.85    932,589.65   03/06/2008 03/11/2008      5     552.93       17,343.98
Indirect                FY 2008 PP 11               164.69                                            03/11/2008
Payroll                 FY 2008 PP 11               365.42      530.11     932,589.65    933,119.76   03/11/2008 03/24/2008     13   1,438.43       18,782.41
Voucher Schedule Date   68-W9-8225 253                0.09                                            03/24/2008
Indirect Voucher        68-W9-8225 253                0.04        0.13     933,119.76    933,119.89   03/24/2008 03/25/2008      1     110.65       18,893.06
Indirect                FY 2008 PP 12               160.56                                            03/25/2008

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                                                Cost Per      Cost Per                     Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item          Date        Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2008 (Annual Rate: 4.34%)

Payroll                 FY 2008 PP 12               356.24       516.80      933,119.89    933,636.69   03/25/2008 03/27/2008      2     221.42       19,114.48
Voucher Schedule Date   DW96955588 51027152      15,582.98                                              03/27/2008
Indirect Voucher        DW96955588 51027152       5,940.23    22,606.23      933,636.69    956,242.92   03/27/2008 04/08/2008     12   1,360.69       20,475.17
Indirect Voucher        DW96955588 51027152       1,083.02                                              03/27/2008
Indirect                FY 2008 PP 13               329.37                                              04/08/2008
Payroll                 FY 2008 PP 13               730.80     1,060.17      956,242.92    957,303.09   04/08/2008 04/16/2008      8     908.13       21,383.30
Travel                  TM0584516                   604.80       877.39      957,303.09    958,180.48   04/16/2008 04/22/2008      6     681.72       22,065.02
Indirect Travel         TM0584516                   272.59                                              04/16/2008
Indirect                FY 2008 PP 14               167.90                                              04/22/2008
Payroll                 FY 2008 PP 14               372.53       540.43      958,180.48    958,720.91   04/22/2008 04/24/2008      2     227.37       22,292.39
Voucher Schedule Date   68-W9-8225 259Z               2.22                                              04/24/2008
Indirect Voucher        68-W9-8225 259Z               1.00         3.22      958,720.91    958,724.13   04/24/2008 04/29/2008      5     568.42       22,860.81
Voucher Schedule Date   DW96955588 51027692       -3,466.49                                             04/29/2008
Indirect Voucher        DW96955588 51027692       -1,562.35    -5,028.84     958,724.13    953,695.29   04/29/2008 05/06/2008      7     791.62       23,652.43
Indirect                FY 2008 PP 15                69.50                                              05/06/2008
Payroll                 FY 2008 PP 15               154.20       223.70      953,695.29    953,918.99   05/06/2008 05/20/2008     14   1,583.61       25,236.04
Indirect                FY 2008 PP 16               247.03                                              05/20/2008
Payroll                 FY 2008 PP 16               548.10       795.13      953,918.99    954,714.12   05/20/2008 06/03/2008     14   1,584.93       26,820.97
Indirect                FY 2008 PP 17                44.48                                              06/03/2008
Payroll                 FY 2008 PP 17                98.69       143.17      954,714.12    954,857.29   06/03/2008 06/17/2008     14   1,585.17       28,406.14
Indirect                FY 2008 PP 18               176.34                                              06/17/2008
Payroll                 FY 2008 PP 18               391.27       567.61      954,857.29    955,424.90   06/17/2008 06/19/2008      2     226.59       28,632.73
Voucher Schedule Date   DW96955588 51027719       6,991.00                                              06/19/2008

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                                                Cost Per     Cost Per                    Cumulative   Date of      Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance     Total    Recognition    Through    Days   Interest       Interest

   Fiscal Year 2008 (Annual Rate: 4.34%)

Indirect Voucher        DW96955588 51027719       1,562.35   10,141.85     955,424.90    965,566.75   06/19/2008 07/01/2008     12   1,373.95       30,006.68
Indirect Voucher        DW96955588 51027719       1,588.50                                            06/19/2008
Indirect                FY 2008 PP 19               401.28                                            07/01/2008
Payroll                 FY 2008 PP 19               890.35    1,291.63     965,566.75    966,858.38   07/01/2008 07/09/2008      8     917.19       30,923.87
Voucher Schedule Date   EPR90603 21                  38.54                                            07/09/2008
Indirect Voucher        EPR90603 21                  17.37       55.91     966,858.38    966,914.29   07/09/2008 07/10/2008      1     114.66       31,038.53
Voucher Schedule Date   DW96955588 51027993       2,877.70                                            07/10/2008
Travel                  0ONXVW                      216.51    5,214.11     966,914.29    972,128.40   07/10/2008 07/15/2008      5     576.37       31,614.90
Indirect Travel         0ONXVW                      225.34                                            07/10/2008
Indirect Travel         0ONXVW                       97.58                                            07/10/2008
Travel                  0ONXVW                      500.00                                            07/10/2008
Indirect Voucher        DW96955588 51027993       1,296.98                                            07/10/2008
Indirect                FY 2008 PP 20                26.93                                            07/15/2008
Payroll                 FY 2008 PP 20                59.76       86.69     972,128.40    972,215.09   07/15/2008 08/06/2008     22   2,536.26       34,151.16
Voucher Schedule Date   EPW06041 26                 832.31                                            08/06/2008
Indirect Voucher        EPW06041 26                 375.12    1,207.43     972,215.09    973,422.52   08/06/2008 08/07/2008      1     115.43       34,266.59
Voucher Schedule Date   DW96955588 51028249       5,547.37                                            08/07/2008
Indirect Voucher        DW96955588 51028249       2,500.20    8,047.57     973,422.52    981,470.09   08/07/2008 08/12/2008      5     581.91       34,848.50
Indirect                FY 2008 PP 22                54.90                                            08/12/2008
Payroll                 FY 2008 PP 22               121.81      176.71     981,470.09    981,646.80   08/12/2008 08/26/2008     14   1,629.64       36,478.14
Indirect                FY 2008 PP 23                54.90                                            08/26/2008
Payroll                 FY 2008 PP 23               121.81      176.71     981,646.80    981,823.51   08/26/2008 08/28/2008      2     232.85       36,710.99
Voucher Schedule Date   DW96955588 51028552       1,087.36                                            08/28/2008

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                                 COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                  Cost Per      Cost Per                      Cumulative   Date of       Interest          Periodic      Cumulative
Cost Category             Cost Reference           Item          Date        Prior Balance      Total    Recognition     Through    Days   Interest        Interest

   Fiscal Year 2008 (Annual Rate: 4.34%)

Indirect Voucher          DW96955588 51028552         490.07     1,577.43      981,823.51     983,400.94    08/28/2008 09/04/2008      7     816.28        37,527.27
Voucher Schedule Date     EPW06041 1                1,207.69                                                09/04/2008
Voucher Schedule Date     EPR90603 23                  74.32                                                09/04/2008
Indirect Voucher          EPR90603 23                  33.50     1,859.82      983,400.94     985,260.76    09/04/2008 09/05/2008      1     116.83        37,644.10
Indirect Voucher          EPW06041 1                  544.31                                                09/04/2008
Voucher Schedule Date     1963S60038 00178552       2,132.00                                                09/05/2008
Indirect Voucher          1963S60038 00178552         960.89     3,092.89      985,260.76     988,353.65    09/05/2008 09/18/2008     13    1,523.58       39,167.68
Voucher Schedule Date     DW96955588 51029098       -2,081.36                                               09/18/2008
Indirect Voucher          DW96955588 51029098        -938.07     -3,019.43     988,353.65     985,334.22    09/18/2008 09/23/2008      5     584.20        39,751.88
Indirect                  FY 2008 PP 25                56.52                                                09/23/2008
Payroll                   FY 2008 PP 25               125.40       181.92      985,334.22     985,516.14    09/23/2008 09/25/2008      2     233.72        39,985.60
Voucher Schedule Date     A8BK0000470 1042625         307.06                                                09/25/2008
Indirect Voucher          A8BK0000470 1042625         138.39       445.45      985,516.14     985,961.59    09/25/2008 09/30/2008      5     584.57        40,570.17
Voucher Schedule Date     DOJ FY2008               27,021.52                                                09/30/2008
Indirect Voucher          DOJ FY2008               12,178.60    39,200.12      985,961.59    1,025,161.71   09/30/2008 10/01/2008      1     121.56        40,691.73

   Totals for Fiscal Year 2008                    142,176.65                                                                               40,691.73       98,820.26


   Fiscal Year 2009 (Annual Rate: 2.15%)

Prior FY Interest                                  40,691.73    40,691.73    1,025,161.71    1,065,853.44   10/01/2008 10/07/2008      6     376.70           376.70
Indirect                  FY 2008 PP 26                28.26                                                10/07/2008
Payroll                   FY 2008 PP 26                62.70        90.96    1,065,853.44    1,065,944.40   10/07/2008 11/04/2008     28    1,758.08        2,134.78
Indirect                  FY 2009 PP 02                89.73                                                11/04/2008
Payroll                   FY 2009 PP 02               188.08       277.81    1,065,944.40    1,066,222.21   11/04/2008 11/07/2008      3     188.41         2,323.19
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                                                 Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference            Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 2009 (Annual Rate: 2.15%)

Voucher Schedule Date   EPR90603 25                   20.73                                              11/07/2008
Indirect Voucher        EPR90603 25                    9.89       30.62   1,066,222.21    1,066,252.83   11/07/2008 11/18/2008     11     690.87        3,014.06
Indirect                FY 2009 PP 03                 59.83                                              11/18/2008
Payroll                 FY 2009 PP 03                125.40      185.23   1,066,252.83    1,066,438.06   11/18/2008 12/10/2008     22   1,381.99        4,396.05
Voucher Schedule Date   EPR90603 26R-OPTION1           3.21                                              12/10/2008
Indirect Voucher        EPR90603 26R-OPTION1           1.53        4.74   1,066,438.06    1,066,442.80   12/10/2008 12/11/2008      1      62.82        4,458.87
Voucher Schedule Date   DW96955588 51029171        9,394.70                                              12/11/2008
Indirect Voucher        DW96955588 51029171        4,482.21   13,876.91   1,066,442.80    1,080,319.71   12/11/2008 12/16/2008      5     318.18        4,777.05
Indirect                FY 2009 PP 05              1,338.73                                              12/16/2008
Payroll                 FY 2009 PP 05              2,805.97    4,144.70   1,080,319.71    1,084,464.41   12/16/2008 01/21/2009     36   2,299.66        7,076.71
Voucher Schedule Date   68-W9-8225 278                 1.32                                              01/21/2009
Indirect Voucher        68-W9-8225 278                 0.63        1.95   1,084,464.41    1,084,466.36   01/21/2009 01/27/2009      6     383.28        7,459.99
Indirect                FY 2009 PP 08                749.66                                              01/27/2009
Payroll                 FY 2009 PP 08              1,571.29    2,320.95   1,084,466.36    1,086,787.31   01/27/2009 02/24/2009     28   1,792.45        9,252.44
Indirect                FY 2009 PP 10                 62.47                                              02/24/2009
Payroll                 FY 2009 PP 10                130.94      193.41   1,086,787.31    1,086,980.72   02/24/2009 03/12/2009     16   1,024.44       10,276.88
Indirect Travel         0P56P8                       540.99    1,674.92   1,086,980.72    1,088,655.64   03/12/2009 04/01/2009     20   1,282.53       11,559.41
Travel                  0P56P8                     1,133.93                                              03/12/2009
Voucher Schedule Date   EPR90603 30                   66.73                                              04/01/2009
Indirect Voucher        EPR90603 30                   31.84       98.57   1,088,655.64    1,088,754.21   04/01/2009 04/07/2009      6     384.79       11,944.20
Indirect                FY 2009 PP 13                 31.24                                              04/07/2009
Payroll                 FY 2009 PP 13                 65.47       96.71   1,088,754.21    1,088,850.92   04/07/2009 04/21/2009     14     897.93       12,842.13
Indirect                FY 2009 PP 14                292.34                                              04/21/2009

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                                               Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference          Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 2009 (Annual Rate: 2.15%)

Payroll                 FY 2009 PP 14              612.75      905.09   1,088,850.92    1,089,756.01   04/21/2009 05/05/2009     14     898.68       13,740.81
Voucher Schedule Date   EPR90603 31                  7.28                                              05/05/2009
Indirect                FY 2009 PP 15              495.96                                              05/05/2009
Payroll                 FY 2009 PP 15            1,039.53                                              05/05/2009
Indirect Voucher        EPR90603 31                  3.47    1,546.24   1,089,756.01    1,091,302.25   05/05/2009 05/19/2009     14     899.95       14,640.76
Indirect                FY 2009 PP 16              378.31                                              05/19/2009
Payroll                 FY 2009 PP 16              792.93    1,171.24   1,091,302.25    1,092,473.49   05/19/2009 05/27/2009      8     514.81       15,155.57
Voucher Schedule Date   68-W9-8225 291              24.47                                              05/27/2009
Indirect Voucher        68-W9-8225 291              11.67       36.14   1,092,473.49    1,092,509.63   05/27/2009 06/01/2009      5     321.77       15,477.34
Voucher Schedule Date   EPR90603 32                 87.07                                              06/01/2009
Indirect Voucher        EPR90603 32                 12.36      128.61   1,092,509.63    1,092,638.24   06/01/2009 06/02/2009      1      64.36       15,541.70
Indirect Voucher        EPR90603 32                 29.18                                              06/01/2009
Indirect                FY 2009 PP 17              253.63                                              06/02/2009
Payroll                 FY 2009 PP 17              531.60      785.23   1,092,638.24    1,093,423.47   06/02/2009 06/08/2009      6     386.44       15,928.14
Indirect Travel         0OX8G7                     727.05    2,250.96   1,093,423.47    1,095,674.43   06/08/2009 07/07/2009     29   1,871.65       17,799.79
Travel                  0OX8G7                   1,523.91                                              06/08/2009
Voucher Schedule Date   EPR90603 33                109.26                                              07/07/2009
Indirect Voucher        EPR90603 33                 14.54      161.39   1,095,674.43    1,095,835.82   07/07/2009 07/14/2009      7     451.84       18,251.63
Indirect Voucher        EPR90603 33                 37.59                                              07/07/2009
Indirect                FY 2009 PP 20               31.24                                              07/14/2009
Payroll                 FY 2009 PP 20               65.47       96.71   1,095,835.82    1,095,932.53   07/14/2009 08/04/2009     21   1,355.65       19,607.28
Voucher Schedule Date   EPR90603 34                 37.24                                              08/04/2009
Indirect Voucher        EPR90603 34                 17.77       55.01   1,095,932.53    1,095,987.54   08/04/2009 09/22/2009     49   3,163.35       22,770.63

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                                                 Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic      Cumulative
Cost Category             Cost Reference          Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest        Interest

   Fiscal Year 2009 (Annual Rate: 2.15%)

Indirect                  FY 2009 PP 25               31.24                                              09/22/2009
Payroll                   FY 2009 PP 25               65.47       96.71   1,095,987.54    1,096,084.25   09/22/2009 09/30/2009      8     516.51        23,287.14
Voucher Schedule Date     DOJ FY2009               4,636.70                                              09/30/2009
Indirect Voucher          DOJ FY2009               2,212.17    6,848.87   1,096,084.25    1,102,933.12   09/30/2009 10/01/2009      1      64.97        23,352.11

   Totals for Fiscal Year 2009                    37,079.68                                                                             23,352.11      122,172.37


   Fiscal Year 2010 (Annual Rate: 2.24%)

Prior FY Interest                                 23,352.11   23,352.11   1,102,933.12    1,126,285.23   10/01/2009 10/06/2009      5     345.60           345.60
Voucher Schedule Date     EPR90603 36                 69.44                                              10/06/2009
Indirect Voucher          EPR90603 36                 25.13       94.57   1,126,285.23    1,126,379.80   10/06/2009 11/16/2009     41   2,834.16         3,179.76
Voucher Schedule Date     EPR90603 38                  6.77                                              11/16/2009
Indirect Voucher          EPR90603 38                  2.45        9.22   1,126,379.80    1,126,389.02   11/16/2009 01/12/2010     57   3,940.20         7,119.96
Indirect                  FY 2010 PP 07               23.69                                              01/12/2010
Payroll                   FY 2010 PP 07               65.47       89.16   1,126,389.02    1,126,478.18   01/12/2010 01/14/2010      2     138.26         7,258.22
Voucher Schedule Date     EPR90603 41                 41.14                                              01/14/2010
Indirect Voucher          EPR90603 41                 14.89       56.03   1,126,478.18    1,126,534.21   01/14/2010 01/26/2010     12     829.62         8,087.84
Indirect                  FY 2010 PP 08              193.83                                              01/26/2010
Payroll                   FY 2010 PP 08              535.60      729.43   1,126,534.21    1,127,263.64   01/26/2010 01/27/2010      1      69.18         8,157.02
Indirect Travel           0Q5OGZ                      37.04      323.14   1,127,263.64    1,127,586.78   01/27/2010 01/28/2010      1      69.20         8,226.22
Indirect Travel           0Q5OGZ                      48.83                                              01/27/2010
Travel                    0Q5OGZ                     102.34                                              01/27/2010
Travel                    0Q5OGZ                     134.93                                              01/27/2010
Voucher Schedule Date     68-W9-8225 307               8.52                                              01/28/2010
                                                                          Exhibit 4-B
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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                               Cost Per     Cost Per                      Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference          Item         Date        Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 2010 (Annual Rate: 2.24%)

Indirect Voucher        68-W9-8225 307               3.08       11.60    1,127,586.78    1,127,598.38   01/28/2010 02/09/2010     12     830.41        9,056.63
Indirect                FY 2010 PP 09                6.77                                               02/09/2010
Payroll                 FY 2010 PP 09               18.71       25.48    1,127,598.38    1,127,623.86   02/09/2010 02/12/2010      3     207.61        9,264.24
Voucher Schedule Date   EPR90603 42                 24.38                                               02/12/2010
Indirect Voucher        EPR90603 42                  8.82       33.20    1,127,623.86    1,127,657.06   02/12/2010 03/02/2010     18   1,245.67       10,509.91
Voucher Schedule Date   DW96955588 REFUND         -810.33                                               03/02/2010
Indirect Voucher        DW96955588 REFUND         -293.26    -1,103.59   1,127,657.06    1,126,553.47   03/02/2010 03/19/2010     17   1,175.32       11,685.23
Voucher Schedule Date   EPR90603 43                 62.45                                               03/19/2010
Indirect Voucher        EPR90603 43                 22.60       85.05    1,126,553.47    1,126,638.52   03/19/2010 04/20/2010     32   2,212.53       13,897.76
Indirect                FY 2010 PP 14              389.05                                               04/20/2010
Payroll                 FY 2010 PP 14            1,075.02    1,464.07    1,126,638.52    1,128,102.59   04/20/2010 04/29/2010      9     623.08       14,520.84
Voucher Schedule Date   EPR90603 44                 32.88                                               04/29/2010
Indirect Voucher        EPR90603 44                 11.90       44.78    1,128,102.59    1,128,147.37   04/29/2010 05/11/2010     12     830.81       15,351.65
Indirect Travel         0QD88P                     253.33    1,055.73    1,128,147.37    1,129,203.10   05/11/2010 06/07/2010     27   1,871.07       17,222.72
Indirect Travel         0QD88P                      27.21                                               05/11/2010
Travel                  0QD88P                     700.00                                               05/11/2010
Travel                  0QD88P                      75.19                                               05/11/2010
Voucher Schedule Date   EPW06041 22                605.27                                               06/07/2010
Indirect Voucher        EPW06041 22                219.05      824.32    1,129,203.10    1,130,027.42   06/07/2010 06/30/2010     23   1,595.04       18,817.76
Voucher Schedule Date   EPR90603 46                 24.38                                               06/30/2010
Indirect Voucher        EPR90603 46                  8.82       33.20    1,130,027.42    1,130,060.62   06/30/2010 07/28/2010     28   1,941.85       20,759.61
Voucher Schedule Date   EPR90603 47                 39.51                                               07/28/2010
Indirect Voucher        EPR90603 47                 14.30       53.81    1,130,060.62    1,130,114.43   07/28/2010 09/30/2010     64   4,438.72       25,198.33

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                                 COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                 Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic      Cumulative
Cost Category             Cost Reference          Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest        Interest

   Fiscal Year 2010 (Annual Rate: 2.24%)

Voucher Schedule Date     DOJ FY2010              11,713.74                                              09/30/2010
Indirect Voucher          DOJ FY2010               4,239.20   15,952.94   1,130,114.43    1,146,067.37   09/30/2010 10/01/2010      1      70.33        25,268.66

   Totals for Fiscal Year 2010                    19,782.14                                                                             25,268.66      147,441.03


   Fiscal Year 2011 (Annual Rate: 0.69%)

Prior FY Interest                                 25,268.66   25,268.66   1,146,067.37    1,171,336.03   10/01/2010 11/19/2010     49    1,085.01        1,085.01
Voucher Schedule Date     EPR90603 52                 23.13                                              11/19/2010
Indirect Voucher          EPR90603 52                 10.59       33.72   1,171,336.03    1,171,369.75   11/19/2010 02/22/2011     95    2,103.65        3,188.66
Indirect                  FY 2011 PP 10               71.13                                              02/22/2011
Payroll                   FY 2011 PP 10              155.35      226.48   1,171,369.75    1,171,596.23   02/22/2011 03/08/2011     14     310.07         3,498.73
Indirect                  FY 2011 PP 11               63.51                                              03/08/2011
Payroll                   FY 2011 PP 11              138.70      202.21   1,171,596.23    1,171,798.44   03/08/2011 03/22/2011     14     310.13         3,808.86
Indirect                  FY 2011 PP 12              287.79                                              03/22/2011
Payroll                   FY 2011 PP 12              628.51      916.30   1,171,798.44    1,172,714.74   03/22/2011 04/19/2011     28     620.74         4,429.60
Indirect Travel           0RE1UK                     159.93      509.18   1,172,714.74    1,173,223.92   04/19/2011 05/03/2011     14     310.50         4,740.10
Travel                    0RE1UK                     349.25                                              04/19/2011
Indirect                  FY 2011 PP 15              534.38                                              05/03/2011
Payroll                   FY 2011 PP 15            1,167.03    1,701.41   1,173,223.92    1,174,925.33   05/03/2011 06/02/2011     30     666.33         5,406.43
Indirect Travel           0RIWCV                     228.95      794.45   1,174,925.33    1,175,719.78   06/02/2011 06/06/2011      4      88.90         5,495.33
Indirect Travel           0RIWCV                      20.57                                              06/02/2011
Travel                    0RIWCV                      44.93                                              06/02/2011
Travel                    0RIWCV                     500.00                                              06/02/2011
Voucher Schedule Date     EPW06041 10              1,686.54                                              06/06/2011
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                                 COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                  Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category             Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 2011 (Annual Rate: 0.69%)

Indirect Voucher          EPW06041 10                 772.27    2,458.81   1,175,719.78    1,178,178.59   06/06/2011 08/23/2011     78   1,737.25        7,232.58
Indirect                  FY 2011 PP 23                31.76                                              08/23/2011
Payroll                   FY 2011 PP 23                69.37      101.13   1,178,178.59    1,178,279.72   08/23/2011 08/29/2011      6     133.65        7,366.23
Voucher Schedule Date     EPR90603 61                  25.91                                              08/29/2011
Indirect Voucher          EPR90603 61                  11.86       37.77   1,178,279.72    1,178,317.49   08/29/2011 09/30/2011     32     712.80        8,079.03
Voucher Schedule Date     DOJ FY2011                8,460.16                                              09/30/2011
Indirect Voucher          DOJ FY2011                3,873.91   12,334.07   1,178,317.49    1,190,651.56   09/30/2011 10/01/2011      1      22.51        8,101.54

   Totals for Fiscal Year 2011                     19,315.53                                                                             8,101.54      155,542.57


   Fiscal Year 2012 (Annual Rate: 0.74%)

Prior FY Interest                                   8,101.54    8,101.54   1,190,651.56    1,198,753.10   10/01/2011 01/10/2012    101   2,447.95        2,447.95
Indirect                  FY 2012 PP 07                39.59                                              01/10/2012
Payroll                   FY 2012 PP 07                86.15      125.74   1,198,753.10    1,198,878.84   01/10/2012 01/24/2012     14     339.35        2,787.30
Indirect                  FY 2012 PP 08               150.41                                              01/24/2012
Payroll                   FY 2012 PP 08               327.28      477.69   1,198,878.84    1,199,356.53   01/24/2012 03/20/2012     56   1,357.96        4,145.26
Indirect                  FY 2012 PP 12               767.80                                              03/20/2012
Payroll                   FY 2012 PP 12             1,670.59    2,438.39   1,199,356.53    1,201,794.92   03/20/2012 04/03/2012     14     340.18        4,485.44
Indirect                  FY 2012 PP 13                11.21                                              04/03/2012
Payroll                   FY 2012 PP 13                24.39       35.60   1,201,794.92    1,201,830.52   04/03/2012 04/17/2012     14     340.19        4,825.63
Indirect                  FY 2012 PP 14                34.54                                              04/17/2012
Payroll                   FY 2012 PP 14                75.15      109.69   1,201,830.52    1,201,940.21   04/17/2012 05/02/2012     15     364.52        5,190.15
Voucher Schedule Date     DW96922738 47049553       5,824.89                                              05/02/2012
Voucher Schedule Date     DW96922738 47049965      10,254.35                                              05/02/2012
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                              COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category           Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 2012 (Annual Rate: 0.74%)

Indirect Voucher        DW96922738 47049553       2,677.12   23,469.26   1,201,940.21    1,225,409.47   05/02/2012 05/09/2012      7     173.43        5,363.58
Indirect Voucher        DW96922738 47049965       2,794.02                                              05/02/2012
Indirect Voucher        DW96922738 47049965       1,918.88                                              05/02/2012
Indirect Travel         0SC5TE                      459.59    1,623.42   1,225,409.47    1,227,032.89   05/09/2012 06/26/2012     48   1,190.83        6,554.41
Indirect Travel         0SC5TE                       51.59                                              05/09/2012
Travel                  0SC5TE                    1,000.00                                              05/09/2012
Travel                  0SC5TE                      112.24                                              05/09/2012
Indirect                FY 2012 PP 19               691.00                                              06/26/2012
Payroll                 FY 2012 PP 19             1,503.49    2,194.49   1,227,032.89    1,229,227.38   06/26/2012 06/29/2012      3      74.56        6,628.97
Indirect Travel         0SLFXL                       42.17    1,074.02   1,229,227.38    1,230,301.40   06/29/2012 07/10/2012     11     273.62        6,902.59
Indirect Travel         0SLFXL                      296.02                                              06/29/2012
Travel                  0SLFXL                       91.75                                              06/29/2012
Travel                  0SLFXL                      644.08                                              06/29/2012
Indirect                FY 2012 PP 20                63.99                                              07/10/2012
Payroll                 FY 2012 PP 20               139.22      203.21   1,230,301.40    1,230,504.61   07/10/2012 08/06/2012     27     671.73        7,574.32
Voucher Schedule Date   EPW06041 12               1,056.33                                              08/06/2012
Indirect Voucher        EPW06041 12                 485.49    1,541.82   1,230,504.61    1,232,046.43   08/06/2012 08/07/2012      1      24.91        7,599.23
Indirect                FY 2012 PP 22                31.99                                              08/07/2012
Payroll                 FY 2012 PP 22                69.61      101.60   1,232,046.43    1,232,148.03   08/07/2012 08/21/2012     14     348.77        7,948.00
Indirect                FY 2012 PP 23               186.10                                              08/21/2012
Payroll                 FY 2012 PP 23               404.91      591.01   1,232,148.03    1,232,739.04   08/21/2012 09/04/2012     14     348.94        8,296.94
Indirect                FY 2012 PP 24               960.46                                              09/04/2012
Payroll                 FY 2012 PP 24             2,089.77    3,050.23   1,232,739.04    1,235,789.27   09/04/2012 09/18/2012     14     349.80        8,646.74

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                                 COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                  Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic     Cumulative
Cost Category             Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest       Interest

   Fiscal Year 2012 (Annual Rate: 0.74%)

Indirect                  FY 2012 PP 25               445.40                                              09/18/2012
Payroll                   FY 2012 PP 25               969.13    1,414.53   1,235,789.27    1,237,203.80   09/18/2012 09/26/2012      8     200.12        8,846.86
Voucher Schedule Date     EPR90603 74                  50.12                                              09/26/2012
Indirect Voucher          EPR90603 74                  23.04       73.16   1,237,203.80    1,237,276.96   09/26/2012 09/30/2012      4     100.06        8,946.92
Voucher Schedule Date     DOJ FY2012                5,238.89                                              09/30/2012
Indirect Voucher          DOJ FY2012                2,407.79    7,646.68   1,237,276.96    1,244,923.64   09/30/2012 10/01/2012      1      25.17        8,972.09

   Totals for Fiscal Year 2012                     46,170.54                                                                             8,972.09      164,514.66


   Fiscal Year 2013 (Annual Rate: 0.78%)

Prior FY Interest                                   8,972.09    8,972.09   1,244,923.64    1,253,895.73   10/01/2012 10/02/2012      1      26.80           26.80
Voucher Schedule Date     B2BK0000983 1440395         623.52                                              10/02/2012
Indirect                  FY 2012 PP 26                65.76                                              10/02/2012
Payroll                   FY 2012 PP 26               143.08                                              10/02/2012
Indirect Voucher          B2BK0000983 1440395         326.66    1,159.02   1,253,895.73    1,255,054.75   10/02/2012 10/10/2012      8     214.56          241.36
Voucher Schedule Date     DW96922738 47050647       4,389.62                                              10/10/2012
Voucher Schedule Date     DW96922738 47050854      10,267.44                                              10/10/2012
Voucher Schedule Date     DW96922738 47051381       1,319.45                                              10/10/2012
Voucher Schedule Date     DW96922738 47051931       4,444.93                                              10/10/2012
Indirect Voucher          DW96922738 47050854       5,379.11   31,120.23   1,255,054.75    1,286,174.98   10/10/2012 10/16/2012      6     164.91          406.27
Indirect Voucher          DW96922738 47051381         691.26                                              10/10/2012
Indirect Voucher          DW96922738 47051931       2,328.70                                              10/10/2012
Indirect Voucher          DW96922738 47050647       2,299.72                                              10/10/2012
Indirect                  FY 2013 PP 01               149.92                                              10/16/2012
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                                 COSTS FROM 7/1/2004 TO 12/31/2012 WITH INTEREST COSTS (7/1/2004 TO 7/31/2018)

                                                  Cost Per     Cost Per                     Cumulative   Date of       Interest          Periodic      Cumulative
Cost Category             Cost Reference           Item         Date       Prior Balance      Total    Recognition     Through    Days   Interest        Interest

   Fiscal Year 2013 (Annual Rate: 0.78%)

Indirect                  FY 2012 PP 27               452.50                                              10/16/2012
Payroll                   FY 2013 PP 01               286.16    1,873.13   1,286,174.98    1,288,048.11   10/16/2012 10/30/2012     14     385.36           791.63
Payroll                   FY 2012 PP 27               984.55                                              10/16/2012
Indirect                  FY 2013 PP 02               169.23                                              10/30/2012
Payroll                   FY 2013 PP 02               323.01      492.24   1,288,048.11    1,288,540.35   10/30/2012 11/16/2012     17     468.11         1,259.74
Voucher Schedule Date     DW96922738 47052400       1,400.99                                              11/16/2012
Voucher Schedule Date     DW96922738 47053212       1,617.74                                              11/16/2012
Voucher Schedule Date     DW96922738 47053498          14.86                                              11/16/2012
Indirect Voucher          DW96922738 47052400         733.98    4,622.89   1,288,540.35    1,293,163.24   11/16/2012 11/27/2012     11     303.98         1,563.72
Indirect Voucher          DW96922738 47053212         847.53                                              11/16/2012
Indirect Voucher          DW96922738 47053498           7.79                                              11/16/2012
Voucher Schedule Date     EPR90603 76                 143.98                                              11/27/2012
Indirect Voucher          EPR90603 76                  12.99      219.42   1,293,163.24    1,293,382.66   11/27/2012 11/29/2012      2      55.28         1,619.00
Indirect Voucher          EPR90603 76                   8.15                                              11/27/2012
Indirect Voucher          EPR90603 76                  54.30                                              11/27/2012
Voucher Schedule Date     DW96922738 47053609         600.06                                              11/29/2012
Indirect Voucher          DW96922738 47053609         314.37      914.43   1,293,382.66    1,294,297.09   11/29/2012 12/24/2012     25     691.47         2,310.47
Indirect                  FY 2013 PP 06                88.35                                              12/24/2012
Payroll                   FY 2013 PP 06               168.63      256.98   1,294,297.09    1,294,554.07   12/24/2012 12/29/2012      5     138.32         2,448.79
Voucher Schedule Date     DOJ FY2013                  652.86                                              12/29/2012
Indirect Voucher          DOJ FY2013                  342.03      994.89   1,294,554.07    1,295,548.96   12/29/2012 10/01/2013    276    7,641.25       10,090.04

   Totals for Fiscal Year 2013                     41,653.23                                                                             10,090.04      174,604.70


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                                                 Cost Per     Cost Per                     Cumulative   Date of      Interest           Periodic      Cumulative
Cost Category             Cost Reference          Item         Date       Prior Balance      Total    Recognition    Through     Days   Interest        Interest

   Fiscal Year 2014 (Annual Rate: 0.81%)

Prior FY Interest                                 10,090.04   10,090.04   1,295,548.96    1,305,639.00   10/01/2013 10/01/2014    365   10,575.68       10,575.68

   Totals for Fiscal Year 2014                         0.00                                                                             10,575.68      185,180.38


   Fiscal Year 2015 (Annual Rate: 0.75%)

Prior FY Interest                                 10,575.68   10,575.68   1,305,639.00    1,316,214.68   10/01/2014 10/01/2015    365    9,871.61        9,871.61

   Totals for Fiscal Year 2015                         0.00                                                                              9,871.61      195,051.99


   Fiscal Year 2016 (Annual Rate: 0.67%)

Prior FY Interest                                  9,871.61    9,871.61   1,316,214.68    1,326,086.29   10/01/2015 10/01/2016    366    8,884.78        8,884.78

   Totals for Fiscal Year 2016                         0.00                                                                              8,884.78      203,936.77


   Fiscal Year 2017 (Annual Rate: 0.7%)

Prior FY Interest                                  8,884.78    8,884.78   1,326,086.29    1,334,971.07   10/01/2016 10/01/2017    365    9,344.80        9,344.80

   Totals for Fiscal Year 2017                         0.00                                                                              9,344.80      213,281.57


   Fiscal Year 2018 (Annual Rate: 0.87%)

Prior FY Interest                                  9,344.80    9,344.80   1,334,971.07    1,344,315.87   10/01/2017 07/31/2018    303    9,708.91        9,708.91

   Totals for Fiscal Year 2018                         0.00                                                                              9,708.91      222,990.48




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      Fiscal                                       Interest                          Cumulative
      Year                          Costs ($)     Rate (%)           Interest ($)    Interest ($)

      2004                         129,368.41       1.27%                 50.51           50.51
      2005                         223,553.71       2.21%              4,521.82        4,572.33
      2006                         294,505.02       4.11%             17,472.14       22,044.47
      2007                         177,429.39       5.02%             36,084.06       58,128.53
      2008                         142,176.65       4.34%             40,691.73       98,820.26
      2009                          37,079.68       2.15%             23,352.11      122,172.37
      2010                          19,782.14       2.24%             25,268.66      147,441.03
      2011                          19,315.53       0.69%              8,101.54      155,542.57
      2012                          46,170.54       0.74%              8,972.09      164,514.66
      2013                          41,653.23       0.78%             10,090.04      174,604.70
      2014                               0.00       0.81%             10,575.68      185,180.38
      2015                               0.00       0.75%              9,871.61      195,051.99
      2016                               0.00       0.67%              8,884.78      203,936.77
      2017                               0.00       0.70%              9,344.80      213,281.57
      2018                               0.00       0.87%              9,708.91      222,990.48

 Total Interest Costs           $1,131,034.30                      $222,990.48




                                                     Exhibit 4-B
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                                 EXHIBIT C




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                                                                                                                           $40,981.70
 REGIONAL PAYROLL COSTS ........................................................................................................................................


                                                                                                                               $3,971.11
 REGIONAL TRAVEL COSTS ...........................................................................................................................................

 ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
                                                                                                                        $2,239.45
           ICF INCORPORATED (EPW06041) .....................................................................................................................
                                                                                                                        $2,511.49
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 INTERAGENCY AGREEMENT (IAG)
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           DEPARTMENT OF JUSTICE (DOJ) .....................................................................................................................
                                                                                                          $1,310.77
           US ARMY CORPS OF ENGINEERS (DW96922738) ...........................................................................................
                                                                                                           $39,053.29
           ARMY CORPS OF ENGINEERS (DW96957990) ................................................................................................

 OTHER
                                                                                                      $1,895.56
           U.S. GOVERNMENT PUBLISHING OFFICE (1963S80105) ................................................................................

 RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
                                                                                                     $49,960.34
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 CONTRACT LAB PROGRAM (CLP) COSTS
                                                                                                                           $2,928.09
           FINANCIAL COST SUMMARY .............................................................................................................................


                                                                                                                                $118,765.40
 EPA INDIRECT COSTS ...........................................................................................................................................

 Total Site Costs:                                                                                                                 $337,587.49




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                                   Regional Payroll Costs
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                                                    Fiscal    Pay     Payroll     Payroll
Employee Name                                       Year     Period   Hours       Costs
BAUER, RICHARD                                      2017      22        1.00       83.48
ENVIRONMENTAL SCIENTIST
                                                                        1.00      $83.48

BERG, ELIZABETH                                     2013      10        0.50       46.60
ATTORNEY-ADVISOR
                                                                        0.50      $46.60

GALLO, MADELINE                                     2016      03        4.00      207.53
                                                              04        2.00      103.78
                                                              08        3.00      155.65
                                                    2017      07        0.50       31.12
                                                              14        1.50       96.37
                                                              23        2.50      188.62
                                                                       13.50     $783.07

HARRIS-BISHOP, RUSSELL                              2013      18       32.00    2,248.86
ENVIRONMENTAL ENGINEER                                        26        2.00      143.29
                                                    2014      05        1.00       71.65
                                                              19       18.00    1,303.21
                                                              24        1.00       72.39
                                                              25        2.00      144.81
                                                    2015      08        1.00       73.13
                                                              17        1.00       73.94
                                                              19        1.00       75.89
                                                              23        3.00      221.81
                                                    2016      03        3.00      228.63
                                                              08        1.00       76.22
                                                              18        1.00       80.58
                                                              19       16.00    1,288.14
                                                              27        2.00      161.01
                                                    2017      08        2.00      161.02
                                                              15        3.00      248.37
                                                              17        3.00      248.37
                                                              20       10.00      827.87
                                                              22        5.00      414.02
                                                              23        2.00      165.57
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                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
HARRIS-BISHOP, RUSSELL                              2017      24        7.00        579.51
                                                              25        6.00        496.71
                                                    2018      20        8.00        677.35
                                                              21       22.00      1,862.67
                                                                      153.00    $11,945.02

HIETT, RICHARD                                      2017      27        2.00       190.30
Environmental Engineer
                                                                        2.00      $190.30

HUANG, MIAO LING                                    2013      10       10.00        557.28
Accountant                                                    11        5.50        306.49
                                                              12        5.50        330.31
                                                              14       17.00      1,020.95
                                                              15       13.50        810.75
                                                              16        4.50        265.13
                                                              17        3.00        176.76
                                                              22        7.00        401.45
                                                    2014      13        2.00        115.92
                                                              14        7.50        434.76
                                                                       75.50    $4,419.80

MAGNUSON, JANET                                     2013      09        9.50        843.45
Attorney-Adviser                                              10       22.50      1,997.62
                                                              11        5.00        443.91
                                                              12       10.50        932.23
                                                              13        8.00        714.56
                                                              14       10.50        932.22
                                                              15        6.00        532.70
                                                              17        8.50        738.34
                                                              18        1.00         85.80
                                                              26        2.00        177.57
                                                              27        5.50        488.97
                                                    2014      05        8.00        676.64
                                                              06        7.50        634.34
                                                              09        6.00        537.65
                                                              10        8.00        716.87
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                                                              11        3.00        268.83
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                                                    Fiscal    Pay     Payroll      Payroll
Employee Name                                       Year     Period   Hours        Costs
MAGNUSON, JANET                                     2014      12        1.00        89.60
                                                              17        3.50       313.64
                                                                      126.00    $11,124.94

MAK, MAGDALEN                                       2017      07        9.75       605.85
Accountant
                                                                        9.75      $605.85

MALDONADO, LEWIS                                    2013      10        4.00       392.09
ATTORNEY ADVISOR (GENERAL)                          2014      09        1.50       148.72
                                                              10        0.50        49.59
                                                    2015      11        1.00       101.20
                                                                        7.00      $691.60

MARTINEZ LEON, YARISSA                              2015      25       10.00       646.22
Environmental Engineer
                                                                       10.00      $646.22

OUYANG, LISA                                        2013      09        1.25         89.29
ENVIRONMENTAL PROTECTION SPECIALIST                           10        9.50        678.56
                                                              12        2.50        178.57
                                                              15       11.50        821.42
                                                              16        6.00        428.57
                                                              17       20.00      1,428.56
                                                              22        2.00        142.86
                                                              25        4.00        286.35
                                                              26        3.50        250.55
                                                              27        4.00        286.35
                                                    2014      05        1.00         71.60
                                                              06        6.50        465.32
                                                              10       13.75        991.45
                                                              11        2.00        144.22
                                                              12        1.00         72.10
                                                              13        1.00         72.10
                                                              25        0.50         36.07
                                                              27        1.00         72.34

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                                 COSTS FROM 1/1/2013 TO 7/31/2018

                                                         Fiscal    Pay     Payroll      Payroll
Employee Name                                            Year     Period   Hours        Costs
OUYANG, LISA                                             2017      07        3.50       270.81
                                                                            94.50     $6,787.09

STURGES, SUSAN                                           2013      18        1.00        64.27
Life Scientist
                                                                             1.00       $64.27

WETMORE, CYNTHIA                                         2017      04        1.00         81.32
ENVIRONMENTAL ENGINEER                                             08        1.00         81.32
                                                                   11        1.00         83.67
                                                                   13        0.50         41.85
                                                                   15        2.00        167.36
                                                                   16        2.50        209.20
                                                                   17        5.50        460.24
                                                                   21        9.50        794.94
                                                                   22        2.00        167.36
                                                                   26        6.00        502.07
                                                                   27       12.00      1,004.13
                                                                            43.00     $3,593.46


Total Regional Payroll Costs                                               536.75    $40,981.70




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                                                                           Treasury
                                           Travel               Treasury   Schedule
Traveler/Vendor Name                       Number               Schedule     Date       Travel Costs

HARRIS-BISHOP, RUSSELL                  0TDSF9                 AMP130221   08/14/2013        156.18
ENVIRONMENTAL ENGINEER                  0TDSF9                 AVC130246   08/14/2013      1,001.31
                                        0U1ZKH                 AVC140185   06/19/2014        245.64
                                        TAA031TY               AVC160220   07/29/2016        879.21
                                        TAA031TY               AMP160205   07/29/2016        106.26
                                        TAA03ZCL               AMP170085   02/02/2017         77.40
                                        TAA03ZCL               AVC170100   02/02/2017      1,007.71
                                        TAA04MEP               AVC170207   06/29/2017        479.40
                                        TAA04MEP               AMP170189   06/29/2017         18.00

                                                                                          $3,971.11


Total Regional Travel Costs                                                               $3,971.11




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ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
Contractor Name:                 ICF INCORPORATED
EPA Contract Number:             EPW06041
Project Officer(s):              FONG, ROSE
Dates of Service:                From: 05/25/2013     To: 07/26/2013
Summary of Service:              SAMPLING ANALYSIS
Total Costs:                           $2,239.45
Voucher                Voucher          Voucher        Treasury Schedule           Site        Annual
Number                   Date           Amount      Number    and Date            Amount      Allocation
12                    07/08/2013      151,209.49 AVC130239           08/06/2013    1,440.39       724.99
13                    08/05/2013      119,642.07 AVC130251           08/21/2013       49.27        24.80

                                                                      Total:      $1,489.66     $749.79




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ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
Contractor Name:           ICF INCORPORATED
EPA Contract Number:       EPW06041
Project Officer(s):        FONG, ROSE
Dates of Service:          From: 05/25/2013   To: 07/26/2013
Summary of Service:        SAMPLING ANALYSIS
Total Costs:                      $2,239.45

                                                                                      Annual
Voucher Number            Schedule Number      Rate Type                         Allocation Rate
 12                        AVC130239           Provisional                            0.503330
 13                        AVC130251           Provisional                            0.503330




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ENVIRONMENTAL SERVICES ASSISTANCE TEAMS (ESAT)
Contractor Name:                ICF INCORPORATED
EPA Contract Number:            EPW13029
Project Officer(s):             BAUER, RICHARD
                                WILLIAMSON, DERRICK
Dates of Service:               From: 05/24/2014      To: 07/31/2017
Summary of Service:             ENVIRON SERVICES ASSIST TEAMS(SUB-REDI)
Total Costs:                             $2,511.49


Voucher                    Voucher            Voucher             Treasury Schedule           Site
Number                       Date              Amount        Number      and     Date       Amount
11                        07/07/2014         181,340.56      AVC140205         07/18/2014     377.79
12                        08/15/2014         134,145.96      AVC140304         09/03/2014     275.36
Y3-011                    07/07/2016         168,648.03      AVC160213         07/20/2016     462.04
Y4-011                    07/10/2017         186,975.66      AVC170225         07/26/2017     660.18
Y4-012                    08/09/2017         152,843.71      AVC170247         08/25/2017     736.12

                                                                               Total:       $2,511.49




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INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 DEPARTMENT OF JUSTICE
IAG Number:                     DOJ
Project Officer(s):
Dates of Service:               From: 01/01/2013      To: 09/30/2018
Summary of Service:             LITIGATION SUPPORT
Total Costs:                            $73,970.29


Voucher                    Voucher            Voucher             Treasury Schedule             Site
Number                       Date              Amount        Number      and     Date        Amount
FY2013                    02/18/2019          23,672.49      DOJ SUMMARY       09/30/2013    23,672.49
FY2014                    02/18/2019           8,582.20      DOJ SUMMARY       09/30/2014     8,582.20
FY2015                    02/18/2019           8,164.60      DOJ SUMMARY       09/30/2015     8,164.60
FY2016                    02/18/2019          26,017.95      DOJ SUMMARY       09/30/2016    26,017.95
FY2017                    02/18/2019           4,740.35      DOJ SUMMARY       09/30/2017     4,740.35
FY2018                    02/18/2019           2,792.70      DOJ SUMMARY       07/31/2018     2,792.70

                                                                               Total:       $73,970.29




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INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 US ARMY CORPS OF ENGINEERS
IAG Number:                     DW96922738
Project Officer(s):             KATHERINE GARUFI
Dates of Service:               From: 11/01/2012     To: 01/02/2013
Summary of Service:             FIVE-YEAR REVIEW SUPPORT
Total Costs:                             $1,310.77


Voucher                    Voucher            Voucher            Treasury Schedule           Site
Number                       Date             Amount        Number      and     Date       Amount
47054027                  12/20/2012            630.12      AVC130087         01/04/2013     630.12
47054439                  01/23/2013            680.65      AVC130109         02/05/2013     680.65

                                                                              Total:       $1,310.77




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INTERAGENCY AGREEMENT (IAG)
Federal Agency:                 ARMY CORPS OF ENGINEERS
IAG Number:                     DW96957990
Project Officer(s):             KATHERINE GARUFI
Dates of Service:               From: 10/17/2016      To: 09/01/2017
Summary of Service:             TECHNICAL SUPPORT
Total Costs:                            $39,053.29


Voucher                    Voucher            Voucher             Treasury Schedule             Site
Number                       Date             Amount         Number      and     Date        Amount
47076171                  11/18/2016             414.78      AVC170047         11/30/2016       414.78
47076618                  12/12/2016           4,056.30      AVC170067         12/19/2016     4,056.30
47077041                  01/11/2017           5,513.70      AVC170093         01/24/2017     5,513.70
47077517                  02/09/2017           8,987.10      AVC170112         02/17/2017     8,987.10
47077991                  03/16/2017           7,375.82      AVC170136         03/23/2017     7,375.82
47078551                  04/12/2017           3,750.53      AVC170161         04/25/2017     3,750.53
47079075                  05/16/2017           3,236.21      AVC170182         05/24/2017     3,236.21
47079704                  06/09/2017           4,666.55      AVC170204         06/26/2017     4,666.55
47080264                  07/05/2017              27.03      AVC170222         07/21/2017        27.03
47080805                  08/17/2017             864.77      AVC170251         08/30/2017       864.77
47081346                  09/14/2017             160.50      AVC170268         09/21/2017       160.50

                                                                               Total:       $39,053.29




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OTHER
Contractor Name:                U.S. GOVERNMENT PUBLISHING OFFICE
EPA Contract Number:            1963S80105
Project Officer(s):             ANITA BONIFACIO
Dates of Service:               From: 08/03/2017      To: 08/03/2017
Summary of Service:             SUPERFUND FACTSHEETS
Total Costs:                             $1,895.56


Voucher                    Voucher            Voucher             Treasury Schedule            Site
Number                       Date             Amount         Number      and     Date       Amount
02197608                  09/05/2017           6,910.96      271717363         09/20/2017    1,895.56

                                                                               Total:       $1,895.56




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RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                TOEROEK - HERNDON JOINT VENTURE
EPA Contract Number:            EPR91202
Project Officer(s):             CHAN, ELAINE
                                WONG, LINDA
Dates of Service:               From: 01/27/2013      To: 04/30/2018
Summary of Service:             RECORDS MANAGEMENT
Total Costs:                            $49,960.34


Voucher                    Voucher            Voucher             Treasury Schedule            Site
Number                       Date              Amount        Number      and     Date       Amount
4                         03/15/2013         104,766.56      AVC130160         04/18/2013      380.27
6                         05/15/2013         113,748.74      AVC130187         05/28/2013      980.56
7                         06/14/2013         128,716.88      AVC130211         06/27/2013    1,537.98
8                         07/12/2013         150,269.32      AVC130230         07/26/2013      105.85
9                         08/12/2013         118,114.76      AVC130254         08/26/2013      372.59
10                        09/12/2013         121,353.81      AVC130279         09/27/2013      768.04
11                        10/24/2013         170,881.68      AVC140024         11/06/2013    1,950.97
12                        11/14/2013          87,097.77      AVC140045         12/05/2013      105.85
1                         12/12/2013         110,881.38      AVC140067         01/08/2014       29.71
9                         08/08/2014         103,479.07      AVC140297         08/22/2014      146.26
12                        11/14/2014          89,020.92      AVC150048         12/08/2014      137.25
13                        12/12/2014         107,648.07      AVC150063         12/29/2014      546.79
1                         05/04/2015          75,815.42      AVC150164         05/22/2015       64.71
2R                        05/29/2015         124,048.63      AVC150178         06/12/2015      206.46
3                         06/26/2015         114,464.35      AVC150207         07/23/2015      346.00
4                         07/24/2015         110,372.87      AVC150219         08/10/2015       35.11
5                         08/21/2015         121,920.43      AVC150237         09/03/2015      728.95
6                         09/18/2015         122,487.26      AVC160001         10/01/2015       46.88
8                         11/11/2015         114,325.37      AVC160037         11/24/2015      409.38
9                         12/11/2015         107,936.87      AVC160069         01/08/2016      350.87
10                        01/08/2016         113,237.76      AVC160082         01/28/2016      860.76
11                        02/05/2016         104,035.52      AVC160102         02/26/2016      101.03
12                        03/01/2016         108,869.76      AVC160124         03/25/2016       21.57
14                        04/27/2016         119,860.53      AVC160166         05/13/2016       34.51
16                        06/22/2016         109,838.79      AVC160209         07/14/2016    1,780.34
17                        07/20/2016         104,238.84      AVC160222         08/02/2016    1,983.27
18                        08/17/2016         123,543.78      AVC160242         08/30/2016    5,101.33
19                        09/15/2016         130,486.30      AVC170004         10/05/2016    4,477.55
20                        10/12/2016         116,763.45      AVC170031         11/08/2016    4,710.89

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                                            #:7512
                                       Contract Costs
                                 MCCOLL, FULLERTON, CA SITE ID = 09 04
                                                CRP# 178614
                                       COSTS FROM 1/1/2013 TO 7/31/2018

RECORDS MANAGEMENT SUPPORT SERVICES (RMSS)
Contractor Name:                TOEROEK - HERNDON JOINT VENTURE
EPA Contract Number:            EPR91202
Project Officer(s):             CHAN, ELAINE
                                WONG, LINDA
Dates of Service:               From: 01/27/2013        To: 04/30/2018
Summary of Service:             RECORDS MANAGEMENT
Total Costs:                            $49,960.34


Voucher                    Voucher            Voucher             Treasury Schedule           Site
Number                       Date             Amount         Number      and    Date        Amount
21                        11/09/2016         107,790.50      AVC170041        11/22/2016     4,020.65
22                        11/17/2016           5,577.22      AVC170047        11/30/2016       534.93
1                         12/07/2016          93,979.00      AVC170069        12/20/2016     6,254.83
2                         01/11/2017         127,447.57      AVC170093        01/24/2017     1,510.30
4                         03/01/2017         125,218.47      AVC170133        03/20/2017     2,200.14
5                         03/28/2017         115,237.46      AVC170150        04/10/2017     1,553.04
7                         05/24/2017         132,292.51      AVC170190        06/06/2017       303.54
8                         06/23/2017         117,919.01      AVC170215        07/12/2017        92.44
10                        08/16/2017         119,984.14      AVC170250        08/29/2017        91.48
11R                       09/15/2017         113,373.64      AVC170276        09/29/2017        84.44
12                        10/11/2017         105,683.73      AVC180027        11/01/2017       661.48
14                        12/11/2017         108,359.36      AVC180084        12/28/2017       119.63
15                        01/04/2018         115,808.54      AVC180102        01/17/2018     1,946.86
16                        02/01/2018         105,623.51      AVC180124        02/14/2018        70.37
17                        02/28/2018         127,810.24      AVC180146        03/13/2018     1,147.03
18                        03/29/2018         123,238.33      AVC180174        04/11/2018       909.11
19                        04/25/2018         119,519.75      AVC180210        05/14/2018       117.23
20                        05/04/2018          68,109.67      AVC180214        05/17/2018        21.11

                                                                               Total:      $49,960.34




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                       Financial Cost Summary for the Contract Lab Program
                              MCCOLL, FULLERTON, CA SITE ID = 09 04
                                          CRP# 178614
                                 COSTS FROM 1/1/2013 TO 7/31/2018

CONTRACT LAB PROGRAM (CLP) COSTS




            Total Routine Analytical Services (RAS) Costs                        $2,928.09

                            Total Financial Cost Summary                         $2,928.09




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                        Financial Cost Summary for the Contract Lab Program
                               MCCOLL, FULLERTON, CA SITE ID = 09 04
                                             CRP# 178614
                                    COSTS FROM 1/1/2013 TO 7/31/2018

CONTRACT LAB PROGRAM (CLP) COSTS

Routine Analytical Services (RAS)

Total Costs:      $2,928.09


Voucher              Voucher          Voucher       Treasury Schedule         Site         SMO
Number                 Date           Amount      Number    and Date        Amount        Amount
Case Number: 00001

EPA Contract Number: EPW06046, COMPUTER SCIENCE CORP.
4791.3-0010      03/01/2013     866,541.61 AVC130139 03/20/2013                890.84       1,548.23
4791.3-0011      04/05/2013   1,122,835.23 AVC130166 04/26/2013                178.61         310.41

                                         Totals for EPW06046:               $1,069.45      $1,858.64

                                Totals for Case Number 00001:               $1,069.45      $1,858.64


        Totals for Routine Analytical Services:                             $1,069.45      $1,858.64




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                       Financial Cost Summary for the Contract Lab Program
                            MCCOLL, FULLERTON, CA SITE ID = 09 04
                                        CRP# 178614
                               COSTS FROM 1/1/2013 TO 7/31/2018

CONTRACT LAB PROGRAM (CLP) COSTS

          Fiscal                                                                         SMO
          Year                           Rate Type                                        Rate
          2013                           Final                                         1.737940




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                                                   EPA Indirect Costs
                                  MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                      COSTS FROM 1/1/2013 TO 7/31/2018


           Fiscal Year                      Direct Costs                 Indirect Rate( %)      Indirect Costs
                2013                            54,696.26                          52.39%           28,655.36
                2014                            19,217.60                          59.51%           11,436.44
                2015                            11,422.06                          64.80%            7,401.50
                2016                            40,456.94                          59.70%           24,152.80
                2017                            82,703.69                          50.65%           41,889.42
                2018                            10,325.54                          50.65% *          5,229.88
                                               218,822.09

Total EPA Indirect Costs                                                                          $118,765.40


 * Rates are PROVISIONAL and subject to change when actual rates are calculated and approved.




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                                      EPA Indirect Costs
                          MCCOLL, FULLERTON, CA SITE ID = 09 04
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                            COSTS FROM 1/1/2013 TO 7/31/2018


                                   PAYROLL DIRECT COSTS
                                                                              Ind.
                                    Fiscal    Pay                Payroll      Rate     Indirect
Employee Name                       Year     Period              Costs        (%)       Costs
BERG, ELIZABETH                     2013        10                    46.60   52.39%          24.41
                                                                      46.60                  $24.41


HARRIS-BISHOP, RUSSELL              2013        18                 2,248.86   52.39%    1,178.18
                                                26                   143.29   52.39%       75.07
                                                                   2,392.15            $1,253.25


HUANG, MIAO LING                    2013        10                   557.28   52.39%         291.96
                                                11                   306.49   52.39%         160.57
                                                12                   330.31   52.39%         173.05
                                                14                 1,020.95   52.39%         534.88
                                                15                   810.75   52.39%         424.75
                                                16                   265.13   52.39%         138.90
                                                17                   176.76   52.39%          92.60
                                                22                   401.45   52.39%         210.32
                                                                   3,869.12            $2,027.03


MAGNUSON, JANET                     2013        09                   843.45   52.39%      441.88
                                                10                 1,997.62   52.39%    1,046.55
                                                11                   443.91   52.39%      232.56
                                                12                   932.23   52.39%      488.40
                                                13                   714.56   52.39%      374.36
                                                14                   932.22   52.39%      488.39
                                                15                   532.70   52.39%      279.08
                                                17                   738.34   52.39%      386.82
                                                18                    85.80   52.39%       44.95
                                                26                   177.57   52.39%       93.03
                                                27                   488.97   52.39%      256.17
                                                                   7,887.37            $4,132.19




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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                         PAYROLL DIRECT COSTS
                                                                                     Ind.
                                           Fiscal     Pay                Payroll     Rate     Indirect
Employee Name                              Year      Period              Costs       (%)       Costs
MALDONADO, LEWIS                           2013        10                   392.09   52.39%      205.42
                                                                            392.09              $205.42


OUYANG, LISA                               2013        09                    89.29   52.39%       46.78
                                                       10                   678.56   52.39%      355.50
                                                       12                   178.57   52.39%       93.55
                                                       15                   821.42   52.39%      430.34
                                                       16                   428.57   52.39%      224.53
                                                       17                 1,428.56   52.39%      748.42
                                                       22                   142.86   52.39%       74.84
                                                       25                   286.35   52.39%      150.02
                                                       26                   250.55   52.39%      131.26
                                                       27                   286.35   52.39%      150.02
                                                                          4,591.08             $2,405.26


STURGES, SUSAN                             2013        18                    64.27   52.39%        33.67
                                                                             64.27               $33.67



      Total Fiscal Year 2013 Payroll Direct Costs:                       19,242.68            $10,081.23

                                          TRAVEL DIRECT COSTS

                                                             Treasury                Ind.
                                           Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number              Date      Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     0TDSF9           08/14/2013      156.18   52.39%       81.82
                                                                          1,001.31   52.39%      524.58
                                                                          1,157.49              $606.40



      Total Fiscal Year 2013 Travel Direct Costs:                         1,157.49              $606.40


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                                       EPA Indirect Costs
                            MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                     OTHER DIRECT COSTS
Contract,                            Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher             Schedule             Site              Allocation Rate      Indirect
Misc.NO          Number                Date              Amount               Costs    (%)        Costs
DOJ              FY2013              09/30/2013             23,672.49            0.00   52.39%    12,402.02
                                                            23,672.49            0.00            $12,402.02


DW96922738       47054027            01/04/2013                  630.12          0.00   52.39%      330.12
                 47054439            02/05/2013                  680.65          0.00   52.39%      356.59
                                                                1,310.77         0.00              $686.71


EPR91202         4                   04/18/2013                   312.10         0.00   52.39%      163.51
                                                                   68.17         0.00   52.39%       35.71
                 6                   05/28/2013                   980.56         0.00   52.39%      513.72
                 7                   06/27/2013                   204.93         0.00   52.39%      107.36
                                                                  134.83         0.00   52.39%       70.64
                                                                1,198.22         0.00   52.39%      627.75
                 8                   07/26/2013                   105.85         0.00   52.39%       55.45
                 9                   08/26/2013                   372.59         0.00   52.39%      195.20
                 10                  09/27/2013                    39.98         0.00   52.39%       20.95
                                                                  728.06         0.00   52.39%      381.43
                                                                4,145.29         0.00             $2,171.72


EPW06041         12                  08/06/2013                 1,440.39       724.99   52.39%     1,134.44
                 13                  08/21/2013                    49.27        24.80   52.39%        38.81
                                                                1,489.66       749.79             $1,173.25


EPW06046         4791.3-0010         03/20/2013                  890.84      1,548.23   52.39%     1,277.83




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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                 COSTS FROM 1/1/2013 TO 7/31/2018

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)           Costs
EPW06046         4791.3-0011             04/26/2013                  178.61           310.41   52.39%      256.20
                                                                    1,069.45      1,858.64               $1,534.03



       Total Fiscal Year 2013 Other Direct Costs:               31,687.66         2,608.43              $17,967.73

                      Total Fiscal Year 2013:                             54,696.26                     $28,655.36


                                         PAYROLL DIRECT COSTS
                                                                                               Ind.
                                          Fiscal       Pay                      Payroll        Rate     Indirect
Employee Name                             Year        Period                    Costs          (%)       Costs
HARRIS-BISHOP, RUSSELL                    2014          05                           71.65     59.51%       42.64
                                                        19                        1,303.21     59.51%      775.54
                                                        24                           72.39     59.51%       43.08
                                                        25                          144.81     59.51%       86.18
                                                                                  1,592.06                $947.44


HUANG, MIAO LING                          2014          13                            115.92   59.51%       68.98
                                                        14                            434.76   59.51%      258.73
                                                                                      550.68              $327.71


MAGNUSON, JANET                           2014          05                            676.64   59.51%      402.67
                                                        06                            634.34   59.51%      377.50
                                                        09                            537.65   59.51%      319.96
                                                        10                            716.87   59.51%      426.61
                                                        11                            268.83   59.51%      159.98
                                                        12                             89.60   59.51%       53.32
                                                        17                            313.64   59.51%      186.65
                                                                                  3,237.57               $1,926.69



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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                         PAYROLL DIRECT COSTS
                                                                                     Ind.
                                           Fiscal     Pay                Payroll     Rate     Indirect
Employee Name                              Year      Period              Costs       (%)       Costs
MALDONADO, LEWIS                           2014        09                   148.72   59.51%       88.50
                                                       10                    49.59   59.51%       29.51
                                                                            198.31              $118.01


OUYANG, LISA                               2014        05                    71.60   59.51%       42.61
                                                       06                   465.32   59.51%      276.91
                                                       10                   991.45   59.51%      590.01
                                                       11                   144.22   59.51%       85.83
                                                       12                    72.10   59.51%       42.91
                                                       13                    72.10   59.51%       42.91
                                                       25                    36.07   59.51%       21.47
                                                       27                    72.34   59.51%       43.05
                                                                          1,925.20            $1,145.70



      Total Fiscal Year 2014 Payroll Direct Costs:                        7,503.82            $4,465.55

                                          TRAVEL DIRECT COSTS

                                                             Treasury                Ind.
                                           Travel            Schedule    Travel      Rate     Indirect
Traveler/Vendor Name                       Number              Date      Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     0U1ZKH           06/19/2014      245.64   59.51%      146.19
                                                                            245.64              $146.19



      Total Fiscal Year 2014 Travel Direct Costs:                           245.64              $146.19




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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                 COSTS FROM 1/1/2013 TO 7/31/2018

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)           Costs
DOJ              FY2014                  09/30/2014                 8,582.20            0.00   59.51%     5,107.27
                                                                    8,582.20            0.00            $5,107.27


EPR91202         11                      11/06/2013                   349.65            0.00   59.51%      208.08
                                                                    1,601.32            0.00   59.51%      952.95
                 12                      12/05/2013                   105.85            0.00   59.51%       62.99
                 1                       01/08/2014                    29.71            0.00   59.51%       17.68
                 9                       08/22/2014                    89.12            0.00   59.51%       53.04
                                                                       57.14            0.00   59.51%       34.00
                                                                    2,232.79            0.00            $1,328.74


EPW13029         11                      07/18/2014                  377.79             0.00   59.51%      224.82
                 12                      09/03/2014                  275.36             0.00   59.51%      163.87
                                                                     653.15             0.00              $388.69



       Total Fiscal Year 2014 Other Direct Costs:               11,468.14               0.00            $6,824.70

                      Total Fiscal Year 2014:                             19,217.60                     $11,436.44


                                         PAYROLL DIRECT COSTS
                                                                                               Ind.
                                          Fiscal       Pay                      Payroll        Rate     Indirect
Employee Name                             Year        Period                    Costs          (%)       Costs
HARRIS-BISHOP, RUSSELL                    2015          08                             73.13   64.80%       47.39
                                                        17                             73.94   64.80%       47.91
                                                        19                             75.89   64.80%       49.18
                                                        23                            221.81   64.80%      143.73
                                                                                      444.77              $288.21




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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                 COSTS FROM 1/1/2013 TO 7/31/2018

                                         PAYROLL DIRECT COSTS
                                                                                            Ind.
                                           Fiscal      Pay                      Payroll     Rate     Indirect
Employee Name                              Year       Period                    Costs       (%)       Costs
MALDONADO, LEWIS                           2015         11                         101.20   64.80%       65.58
                                                                                   101.20               $65.58


MARTINEZ LEON, YARISSA                     2015         25                         646.22   64.80%      418.75
                                                                                   646.22              $418.75



      Total Fiscal Year 2015 Payroll Direct Costs:                               1,192.19              $772.54

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
DOJ              FY2015                  09/30/2015                 8,164.60         0.00   64.80%    5,290.66
                                                                    8,164.60         0.00            $5,290.66


EPR91202         12                      12/08/2014                  117.64          0.00   64.80%       76.23
                                                                      19.61          0.00   64.80%       12.71
                 13                      12/29/2014                  546.79          0.00   64.80%      354.32
                 1                       05/22/2015                   64.71          0.00   64.80%       41.93
                 2R                      06/12/2015                  206.46          0.00   64.80%      133.79
                 3                       07/23/2015                  346.00          0.00   64.80%      224.21
                 4                       08/10/2015                   35.11          0.00   64.80%       22.75
                 5                       09/03/2015                   30.20          0.00   64.80%       19.57
                                                                      30.20          0.00   64.80%       19.57




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                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate         Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)           Costs
EPR91202         5                       09/03/2015                  668.55             0.00   64.80%      433.22
                                                                    2,065.27            0.00            $1,338.30



       Total Fiscal Year 2015 Other Direct Costs:               10,229.87               0.00            $6,628.96

                      Total Fiscal Year 2015:                             11,422.06                     $7,401.50


                                         PAYROLL DIRECT COSTS
                                                                                               Ind.
                                           Fiscal      Pay                      Payroll        Rate     Indirect
Employee Name                              Year       Period                    Costs          (%)       Costs
GALLO, MADELINE                            2016         03                            207.53   59.70%      123.90
                                                        04                            103.78   59.70%       61.96
                                                        08                            155.65   59.70%       92.92
                                                                                      466.96              $278.78


HARRIS-BISHOP, RUSSELL                     2016         03                          228.63     59.70%      136.49
                                                        08                           76.22     59.70%       45.50
                                                        18                           80.58     59.70%       48.11
                                                        19                        1,288.14     59.70%      769.02
                                                        27                          161.01     59.70%       96.12
                                                                                  1,834.58              $1,095.24



      Total Fiscal Year 2016 Payroll Direct Costs:                                2,301.54              $1,374.02

                                          TRAVEL DIRECT COSTS

                                                              Treasury                         Ind.
                                           Travel             Schedule           Travel        Rate     Indirect
Traveler/Vendor Name                       Number               Date             Costs         (%)       Costs
HARRIS-BISHOP, RUSSELL                     TAA031TY          07/29/2016               106.26   59.70%       63.44

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                                           EPA Indirect Costs
                            MCCOLL, FULLERTON, CA SITE ID = 09 04
                                         CRP# 178614
                                COSTS FROM 1/1/2013 TO 7/31/2018

                                         TRAVEL DIRECT COSTS

                                                             Treasury                      Ind.
                                          Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                      Number               Date            Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                    TAA031TY          07/29/2016            879.21   59.70%      524.89
                                                                                  985.47              $588.33



      Total Fiscal Year 2016 Travel Direct Costs:                                 985.47              $588.33

                                         OTHER DIRECT COSTS
Contract,                                Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                    Date             Amount               Costs    (%)        Costs
DOJ              FY2016                 09/30/2016             26,017.95            0.00   59.70%    15,532.72
                                                               26,017.95            0.00            $15,532.72


EPR91202         6                      10/01/2015                    46.88         0.00   59.70%        27.99
                 8                      11/24/2015                   409.38         0.00   59.70%       244.40
                 9                      01/08/2016                   350.87         0.00   59.70%       209.47
                 10                     01/28/2016                   860.76         0.00   59.70%       513.87
                 11                     02/26/2016                    12.94         0.00   59.70%         7.73
                                                                      88.09         0.00   59.70%        52.59
                 12                     03/25/2016                    21.57         0.00   59.70%        12.88
                 14                     05/13/2016                    34.51         0.00   59.70%        20.60
                 16                     07/14/2016                 1,780.34         0.00   59.70%     1,062.86
                 17                     08/02/2016                 1,983.27         0.00   59.70%     1,184.01
                 18                     08/30/2016                 5,101.33         0.00   59.70%     3,045.49
                                                               10,689.94            0.00             $6,381.89




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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
                                          CRP# 178614
                                 COSTS FROM 1/1/2013 TO 7/31/2018

                                          OTHER DIRECT COSTS
Contract,                                Treasury                            Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site            Allocation Rate         Indirect
Misc.NO          Number                    Date              Amount             Costs    (%)           Costs
EPW13029         Y3-011                  07/20/2016                 462.04            0.00   59.70%      275.84
                                                                    462.04            0.00              $275.84



       Total Fiscal Year 2016 Other Direct Costs:               37,169.93             0.00            $22,190.45

                      Total Fiscal Year 2016:                           40,456.94                     $24,152.80


                                         PAYROLL DIRECT COSTS
                                                                                             Ind.
                                          Fiscal       Pay                    Payroll        Rate     Indirect
Employee Name                             Year        Period                  Costs          (%)       Costs
BAUER, RICHARD                            2017          22                           83.48   50.65%        42.28
                                                                                     83.48               $42.28


GALLO, MADELINE                           2017          07                           31.12   50.65%        15.76
                                                        14                           96.37   50.65%        48.81
                                                        23                          188.62   50.65%        95.54
                                                                                    316.11              $160.11


HARRIS-BISHOP, RUSSELL                    2017          08                          161.02   50.65%       81.56
                                                        15                          248.37   50.65%      125.80
                                                        17                          248.37   50.65%      125.80
                                                        20                          662.30   50.65%      335.45
                                                                                    165.57   50.65%       83.86
                                                        22                          414.02   50.65%      209.70
                                                        23                          165.57   50.65%       83.86
                                                        24                          248.37   50.65%      125.80
                                                                                    331.14   50.65%      167.72




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                                            EPA Indirect Costs
                             MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                         PAYROLL DIRECT COSTS
                                                                                Ind.
                                           Fiscal     Pay           Payroll     Rate     Indirect
Employee Name                              Year      Period         Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     2017        25              496.71   50.65%      251.58
                                                                     3,141.44            $1,591.13


HIETT, RICHARD                             2017        27              190.30   50.65%        96.39
                                                                       190.30               $96.39


MAK, MAGDALEN                              2017        07              605.85   50.65%      306.86
                                                                       605.85              $306.86


OUYANG, LISA                               2017        07              270.81   50.65%      137.17
                                                                       270.81              $137.17


WETMORE, CYNTHIA                           2017        04               81.32   50.65%       41.19
                                                       08               81.32   50.65%       41.19
                                                       11               83.67   50.65%       42.38
                                                       13               41.85   50.65%       21.20
                                                       15              167.36   50.65%       84.77
                                                       16              209.20   50.65%      105.96
                                                       17              460.24   50.65%      233.11
                                                       21              794.94   50.65%      402.64
                                                       22              167.36   50.65%       84.77
                                                       26              502.07   50.65%      254.30
                                                       27            1,004.13   50.65%      508.59
                                                                     3,593.46            $1,820.10



      Total Fiscal Year 2017 Payroll Direct Costs:                   8,201.45            $4,154.04




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                            MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                COSTS FROM 1/1/2013 TO 7/31/2018

                                         TRAVEL DIRECT COSTS

                                                             Treasury                      Ind.
                                          Travel             Schedule          Travel      Rate     Indirect
Traveler/Vendor Name                      Number               Date            Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                    TAA03ZCL          02/02/2017             77.40   50.65%       39.20
                                                                                1,007.71   50.65%      510.41
                                          TAA04MEP          06/29/2017             18.00   50.65%        9.12
                                                                                  479.40   50.65%      242.82
                                                                                1,582.51              $801.55



      Total Fiscal Year 2017 Travel Direct Costs:                               1,582.51              $801.55

                                         OTHER DIRECT COSTS
Contract,                                Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                    Date             Amount               Costs    (%)        Costs
1963S80105       02197608               09/20/2017                 1,895.56         0.00   50.65%      960.10
                                                                   1,895.56         0.00              $960.10


DOJ              FY2017                 09/30/2017                 4,740.35         0.00   50.65%    2,400.99
                                                                   4,740.35         0.00            $2,400.99


DW96957990       47076171               11/30/2016                   414.78         0.00   50.65%      210.09
                 47076618               12/19/2016                 4,056.30         0.00   50.65%    2,054.52
                 47077041               01/24/2017                 5,513.70         0.00   50.65%    2,792.69
                 47077517               02/17/2017                 8,987.10         0.00   50.65%    4,551.97
                 47077991               03/23/2017                 7,375.82         0.00   50.65%    3,735.85
                 47078551               04/25/2017                 3,750.53         0.00   50.65%    1,899.64
                 47079075               05/24/2017                 3,236.21         0.00   50.65%    1,639.14
                 47079704               06/26/2017                   637.44         0.00   50.65%      322.86
                                                                   4,029.11         0.00   50.65%    2,040.74
                 47080264               07/21/2017                    27.03         0.00   50.65%       13.69
                 47080805               08/30/2017                   864.77         0.00   50.65%      438.01



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                                             EPA Indirect Costs
                              MCCOLL, FULLERTON, CA SITE ID = 09 04
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                                           OTHER DIRECT COSTS
Contract,                                 Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule             Site              Allocation Rate       Indirect
Misc.NO          Number                     Date              Amount               Costs    (%)         Costs
DW96957990       47081346                 09/21/2017                  160.50           0.00   50.65%        81.29
                                                                 39,053.29             0.00            $19,780.49


EPR91202         19                       10/05/2016                 4,443.66          0.00   50.65%     2,250.71
                                                                        33.89          0.00   50.65%        17.17
                 20                       11/08/2016                 4,710.89          0.00   50.65%     2,386.07
                 21                       11/22/2016                   319.24          0.00   50.65%       161.70
                                                                     3,701.41          0.00   50.65%     1,874.76
                 22                       11/30/2016                   534.93          0.00   50.65%       270.94
                 1                        12/20/2016                 6,254.83          0.00   50.65%     3,168.07
                 2                        01/24/2017                 1,299.19          0.00   50.65%       658.04
                                                                       211.11          0.00   50.65%       106.93
                 4                        03/20/2017                 2,200.14          0.00   50.65%     1,114.37
                 5                        04/10/2017                 1,553.04          0.00   50.65%       786.61
                 7                        06/06/2017                   303.54          0.00   50.65%       153.74
                 8                        07/12/2017                    92.44          0.00   50.65%        46.82
                 10                       08/29/2017                    21.11          0.00   50.65%        10.69
                                                                        70.37          0.00   50.65%        35.64
                 11R                      09/29/2017                    84.44          0.00   50.65%        42.77
                                                                 25,834.23             0.00            $13,085.03


EPW13029         Y4-011                   07/26/2017                  660.18           0.00   50.65%      334.38
                 Y4-012                   08/25/2017                  736.12           0.00   50.65%      372.84
                                                                     1,396.30          0.00              $707.22



       Total Fiscal Year 2017 Other Direct Costs:                72,919.73             0.00            $36,933.83

                       Total Fiscal Year 2017:                             82,703.69                   $41,889.42




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                                                         0722
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                                         PAYROLL DIRECT COSTS
                                                                                            Ind.
                                           Fiscal      Pay                      Payroll     Rate     Indirect
Employee Name                              Year       Period                    Costs       (%)       Costs
HARRIS-BISHOP, RUSSELL                     2018         20                         677.35   50.65%      343.08
                                                        21                       1,862.67   50.65%      943.44
                                                                                 2,540.02            $1,286.52



      Total Fiscal Year 2018 Payroll Direct Costs:                               2,540.02            $1,286.52

                                          OTHER DIRECT COSTS
Contract,                                 Treasury                             Annual/SMO Ind.
IAG, SCA,        Voucher                  Schedule            Site              Allocation Rate      Indirect
Misc.NO          Number                     Date             Amount               Costs    (%)        Costs
DOJ              FY2018                  07/31/2018                 2,792.70         0.00   50.65%    1,414.50
                                                                    2,792.70         0.00            $1,414.50


EPR91202         12                      11/01/2017                   661.48         0.00   50.65%      335.04
                 14                      12/28/2017                   119.63         0.00   50.65%       60.59
                 15                      01/17/2018                   844.44         0.00   50.65%      427.71
                                                                    1,102.42         0.00   50.65%      558.38
                 16                      02/14/2018                    70.37         0.00   50.65%       35.64
                                                                       70.37         0.00   50.65%       35.64
                                                                      -70.37         0.00   50.65%      -35.64
                 17                      03/13/2018                    77.41         0.00   50.65%       39.21
                                                                    1,069.62         0.00   50.65%      541.76
                 18                      04/11/2018                   909.11         0.00   50.65%      460.46
                 19                      05/14/2018                   117.23         0.00   50.65%       59.38




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                                 COSTS FROM 1/1/2013 TO 7/31/2018

                                          OTHER DIRECT COSTS
Contract,                                Treasury                              Annual/SMO Ind.
IAG, SCA,        Voucher                 Schedule             Site              Allocation Rate        Indirect
Misc.NO          Number                    Date              Amount               Costs    (%)          Costs
EPR91202         20                      05/17/2018                    21.11          0.00   50.65%         10.69
                                                                    4,992.82          0.00              $2,528.86



       Total Fiscal Year 2018 Other Direct Costs:                   7,785.52          0.00              $3,943.36

                      Total Fiscal Year 2018:                             10,325.54                     $5,229.88



Total EPA Indirect Costs                                                                              $118,765.40




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